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     Defendant’s Exhibit 1
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                             IN THE UNITED STATES DISTRICT COURT
                            FOR THE EASTERN DISTRICT OF NEW YORK

     In the matter of American Arbitration                 )
     Association Arb. No. 01-20-0005-2715                  )
                                                           ) CASE NO.
     GEIS CONSTRUCTION SOUTH, LLC,
                                                           )
                              Claimant                     )
     v.                                                    )
                                                           )
     MDC HOME IMPROVEMENTS, INC.,                          )
                                                           )
                                                           )

                               Respondent

          NOTICE OF FILING OF APPLICATION TO CONFIRM ARBITRATION AWARD

                    MDC Home Improvements, Inc.
                    c/o Mr. Jaime Delahunt
                    5 Stone Road
                    Plainview, NY 11803-6017
                    jaimemdcinc@gmail.com
    TO THE ABOVE-NAMED RESPONDENT:

             Pursuant to 9 U.S.C. § 9, you are hereby notified that an Application to Confirm Arbitration

    Award naming you as the Respondent has been filed in this Court pursuant to 9 U.S.C. §§ 9 and

    13. A copy of the Application, along with an accompanying Civil Cover Sheet, is being served on

    you with this notice.
             Within 21 days after service of this notice, you must file a response with the Clerk of Court,

    United States District Court, Eastern District of New York, Long Island Courthouse, 100 Federal

    Plaza, Central Islip, NY 11722. If you do not timely file a response, judgment by default may be

    rendered against you for the relief demanded in the Application.

    Dated: April 30, 2021




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                                         Respectfully Submitted,

                                         /s/ Christopher Nucifora (New York No. 5473384)
                                         Kaufman Dolowich Voluck LLP
                                         25 Main Street, Suite 500
                                         Hackensack, New Jersey 07601
                                         Phone: (201) 488-6655
                                         Fax: (201) 488-6652
                                         Email: cnucifora@kdvlaw.com

                                                and

                                         Aaron S. Evenchik (Ohio Bar No. 0073809) (pro
                                         hac vice application to be filed)
                                         Charles W. Pugh (Ohio Bar No. 0078145)
                                         (pro hac vice application to be filed)
                                         HAHN LOESER & PARKS LLP
                                         200 Public Square, Suite 2800
                                         Cleveland, Ohio 44114
                                         Phone: (216) 621-0150
                                         Fax: (216) 241-2824
                                         Email: cpugh@hahnlaw.com
                                                aevenchik@hahnlaw.com


                                         Counsel for Claimant, Geis Construction South,
                                         LLC




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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF NEW YORK

    In the matter of American Arbitration              )
    Association Arb. No. 01-20-0005-2715               )
                                                       ) CASE NO.
    GEIS CONSTRUCTION SOUTH, LLC,
                                                       )
                           Claimant                    )
    v.                                                 )
                                                       )
    MDC HOME IMPROVEMENTS, INC.,                       )
                                                       )
                            Respondent                 )


                    GEIS CONSTRUCTION SOUTH, LLC’S APPLICATION
                          TO CONFIRM ARBITRATION AWARD
           Pursuant to the Federal Arbitration Act, 9 U.S.C. §§ 9 and 13, Claimant, Geis Construction

    South, LLC (“Geis”) hereby respectfully applies the Court for an order confirming an American

    Arbitration Association arbitration award in the principal amount of $10,021,831.10 in favor of

    Geis and against MDC Home Improvements, Inc. (“MDC”).

                                              PARTIES

           1.     Geis is an Ohio limited liability company.         Geis’s sole member is Geis

     Construction, Inc., which is an Ohio corporation with its principal place of business at 10020

     Aurora-Hudson Road, Streetsboro, Ohio 44241.

           2.     MDC is a New York corporation which, upon information and belief (according to

     the New York State Department of State, Division of Corporations, Entity Information accessed

     on 4.15.2021), has a principal place of business at 17B Seaman Avenue, Bethpage, New York

     11714.

                                            THE DISPUTE

           3.     This dispute arises from Geis’s work on the Wonder Lofts Project at 720 Clinton
     Street in Hoboken, New Jersey 07030 (the “Project”). In need of a concrete and masonry

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     subcontractor for the Project, Geis ultimately signed two subcontracts with MDC.               On

     approximately June 20, 2019, Geis signed a subcontract agreement with MDC in connection with

     the Project for the concrete, masonry and earthworks scope of work. See June 20, 2019 Geis-

     MDC Subcontract, attached as Exhibit A. On approximately October 22, 2019, Geis signed a

     second subcontract agreement with MDC in connection with the Project for the masonry and

     brick repair scope of work. See October 22, 2019 Geis-MDC Subcontract, attached hereto as

     Exhibit B. Collectively, the June 20, 2019 and October 22, 2019 subcontracts are referred to as

     the “Subcontracts.”

           4.      The Subcontracts contain an arbitration provision, providing in pertinent part as

     follows:

           10.8 In Contractor’s sole discretion, any and all claims or disputes between
           Contractor and Subcontractor arising out or relating to this Agreement or the
           Contract Documents, or the breach thereof, shall be decided by arbitration in
           accordance with the Construction Industry Arbitration Rules of the American
           Arbitration Association currently in effect, unless the parties mutually agree
           otherwise. Notice of the demand for arbitration shall be filed in writing with the
           other party to this Agreement and with the American Arbitration Association and
           shall be made within a reasonable time after the dispute has arisen. The award
           rendered by the arbitrator or arbitrators shall be final, and judgment may be entered
           upon it in accordance with applicable law in any court having jurisdiction thereof.
           Contractor, at its sole option, shall have the right to join in such proceedings any
           person or entity that is substantially involved in a common question of fact or law,
           and Subcontractor hereby waives the right to challenge Contractor s decisions
           relative to joinder. This agreement to arbitrate and any other written agreement to
           arbitrate referred to herein shall be specifically enforceable under applicable law in
           any court having jurisdiction thereof. Any arbitration or other dispute resolution
           shall be exclusively venued in Cleveland, Ohio unless Contractor, in its sole
           discretion, elects another venue.
    See June 20, 2019 Geis-MDC Subcontract, at ¶ 10.8; See October 22, 2019 Geis-MDC

    Subcontract, at ¶ 10.8.

           5.      Certain disputes arose between Geis and MDC relating to the Project.

                                          THE ARBITRATION

           6.      As a result of the parties’ dispute, pursuant to the Subcontracts, on or about May
     14, 2020, Geis commenced an arbitration against MDC with the American Arbitration

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     Association pursuant to the Construction Industry Arbitration Rules of the American Arbitration

     Association then in effect (the “Arbitration”).

           7.      A panel of three arbitrators was subsequently appointed by the AAA: Donald W.

     Gregory, Joseph B. Jerome and David A. Schaefer.

           8.      MDC did not respond to the arbitration demand.

           9.      Pursuant to Section 10.8 of the Subcontracts, the arbitration was held in Cleveland,

     Ohio via videoconference on March 11, 2021. MDC declined to participate in the Arbitration.

           10.     On April 1, 2021, the Panel issued its reasoned award (the “Award”). See Final

     Arbitration Award, attached as Ex. C.

           11.     The arbitration panel concluded that MDC “was properly served with Claimant’s

     Demand for Arbitration.” Id. at 2. The arbitration panel further stated that: (i) MDC “never

     responded to [Geis’s arbitration] demand”; (ii) MDC “failed to appear after due notice by mail in

     accordance with the Rules of the American Arbitration Association”; and (iii) the arbitration panel

     “proceeded to hear testimony after a sufficient period of time to allow [MDC’s] representatives

     to appear.”

           12.     The Award stated that “[t]he Panel finds that [Geis] proved it was damaged in the

     amount of $9,954,713.86….” See id.

           13.     The arbitration panel also credited the materials admitted into evidence
     “establishing that [Geis’s] attorney’s fees total $45,139.75.” Id. Additionally, “[t]he Panel finds

     that both the hourly rates charged and the amount of work done by [Geis’s] law firm were

     reasonable and necessary. [Geis], therefore, is entitled to recover its attorney’s fees.” Id.

           14.     Finally, the arbitration panel stated that “[t]he administrative fees of the American

     Arbitration Association totaling $14,700 and the compensation of the Arbitrators totaling

     $7,277.50, shall be borne by [MDC]” and “[t]herefore, [MDC] shall reimburse [Geis] the sum of

     $21,977.50, representing that portion of said fees and expenses in excess of the apportioned costs

     previously incurred by [Geis].” Id.
           15.     Accordingly, the arbitration panel awarded Geis: (i) damages, (ii) attorney’s fees,

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     and (iii) arbitration fees against MDC in the total amount of $10,021,831.10.

            16.     The Award stated that “[t]he above sums are to be paid on or before ten (10) days

     from the date of this Award. Thereafter, interest shall accrue at the statutory rate then in effect.”

     Id. The Award further stated that “[t]his Award is in full settlement of all claims submitted to

     this Arbitration. All claims not expressly granted herein are hereby denied.” Id.

            17.     As of the date of this Application, MDC paid nothing to Geis.

                                          JURISDICTION AND VENUE

            18.     This Court has subject-matter jurisdiction under 28 U.S.C.A. § 1332, as the parties

     are citizens of different states and the amount in controversy, exclusive of interest and costs,

     exceeds $75,000.

            19.     Venue is proper in this district as the Subcontracts specifically provide that an

     award can be confirmed in any court of competent jurisdiction. [See Subcontracts at ¶ 10.8 (“[t]he

     award rendered by the arbitrator or arbitrators shall be final, and judgment may be entered upon

     it in accordance with applicable law in any court having jurisdiction thereof”)]. Additionally,

     venue is proper in this district under U.S.C. § 1391(b)(1), as MDC resides in this district. As one

     federal district court has stated:

            Taylor appears to challenge the venue of these proceedings, arguing that the
            judgment should not be confirmed in South Carolina but rather in Raleigh, North
            Carolina, where the arbitration occurred. ECF No. 27 at 4. The undersigned finds
            that venue is proper in this Court. “[V]enue in an action
            to confirm an arbitration award may be established either under the FAA's special
            venue statute or under the general venue statute.” U.S. Ship Mgmt., Inc. v. Maersk
            Line, Ltd., 357 F. Supp. 2d 924, 935 (E.D. Va. 2005); see Cortez Byrd Chips v. Bill
            Harbert Constr. Co., 529 U.S. 193, 198, 204 (2000) (holding that the venue
            provisions of the FAA, including sections 9 and 10, should be read permissively
            such that they supplement, but do not supplant, the general venue provision). The
            FAA provides that if no court is specified in the agreement of the parties, an
            application to confirm, vacate or modify an arbitration award may be brought in the
            district in which the award was made. See 9 U.S.C. §§ 9–11. Meanwhile, under
            the general venue statute, venue is proper in “a judicial district in which any
            defendant resides, if all defendants are residents of the State in which the district is
            located.” 28 U.S.C. § 1391(b)(1). In this case, venue is proper in the District of
            South Carolina under both the FAA's special venue statute and
            the general venue statute. First, the parties’ agreements to arbitrate provide that

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           “[j]udgment upon any award rendered by an arbitration panel may be entered in
           any state or federal court of competent jurisdiction.” 2009 Promissory Note, ECF
           No. 29-1 at 9; 2011 Promissory Note, ECF No. 29-1 at 13; 2012 Promissory Note,
           ECF No. 29-1 at 17–18. Thus, the parties agreed that a motion to confirm could
           be brought in any federal court, including this Court. Second, venue is also
           proper in this Court under 28 U.S.C. § 1391(b)(1). In his Answer, Taylor admitted
           that he is a citizen of South Carolina….Thus, the undersigned concludes that venue
           is proper in this Court because Taylor is the only defendant and he resides in this
           District. See 28 U.S.C. § 1391(b)(1).
    Wells Fargo Clearing Servs., LLC v. Taylor, No. CV 2:20-1103-BHH-MHC, 2020 WL 8713811,

    at *2–3 (D.S.C. Nov. 23, 2020), report and recommendation adopted, No. CV 2:20-1103-BHH,

    2021 WL 321102 (D.S.C. Feb. 1, 2021) (emphasis added).
                                     CONFIRMATION OF AWARD

           20.     Geis and MDC’s Arbitration proceedings are governed and controlled by the

     Federal Arbitration Act, 9 U.S.C. §§ 1-16, as the Subcontracts giving rise to the Arbitration

     evidence transactions involving commerce among various states.

           21.     Pursuant to 9 U.S.C. § 9, the Court must confirm an arbitration award unless the

     award is vacated, modified, or corrected.

           22.     No notice of a motion to vacate, modify, or correct the Award has been filed.

           23.     MDC has not yet paid the Award, in whole or in part.

           24.     Accordingly, Geis respectfully requests that the Court issue an Order: (i)

     confirming the Award in the principal amount of $10,021,831.10, along with “interest…at the

     statutory rate then in effect” starting on April 11, 2021; and (ii) enter a judgment in favor of Geis

     and against MDC in the same amount.

          WHEREFORE, Geis respectfully requests that the Court enter an Order: (i) confirming the

    Award in the principal amount of $10,021,831.10, along with “interest…at the statutory rate then

    in effect” starting on April 11, 2021; and (ii) enter a judgment in favor of Geis and against MDC

    in the same amount.




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    Dated: April 30, 2021


                                        Respectfully Submitted,


                                        /s/ Christopher Nucifora (New York No. 5473384)
                                        Kaufman Dolowich Voluck LLP
                                        25 Main Street, Suite 500
                                        Hackensack, New Jersey 07601
                                        Phone: (201) 488-6655
                                        Fax: (201) 488-6652
                                        Email: cnucifora@kdvlaw.com

                                               and

                                        Aaron S. Evenchik (Ohio Bar No. 0073809) (pro
                                        hac vice application to be filed)
                                        Charles W. Pugh (Ohio Bar No. 0078145)
                                        (pro hac vice application to be filed)
                                        HAHN LOESER & PARKS LLP
                                        200 Public Square, Suite 2800
                                        Cleveland, Ohio 44114
                                        Phone: (216) 621-0150
                                        Fax: (216) 241-2824
                                        Email: cpugh@hahnlaw.com
                                               aevenchik@hahnlaw.com


                                        Counsel for Claimant, Geis Construction South,
                                        LLC




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Congratulations on being awarded the contract for the Wonder Lofts Project. We look forward
to working with you.

Your Project Manager is Kevin Watts. He can be reached at 440-454-5195.

Our insurance certificates are reviewed and monitored by myCOI. You will receive an automated
email from myCOI within 48 hours. The email will contain a portal link which will allow you to
view a sample certificate of insurance and upload your certificate of insurance for review. We
recommend you forward the email to your insurance broker so they can upload the correct
information. If your insurance certificate does not meet the minimum requirements, it will be
marked non-compliant and you will receive an automated email from myCOI with detailed non-
compliance notes. Please amend your certificate of insurance and upload it into myCOI for
review. If you have any questions, please contact the myCOI Customer Care Team Monday
through Friday, between the hours of 8am-6pm EST.

                                 myCOI Customer Care Team
                                 support@mycoitracking.com
                                    1-317-759-9426 ext 105
                 Certificates can be sent to: certificates@myCOItracking.com

Please note that if your subcontract is unsigned or your insurance is non-compliant your payment
may be withheld. Please sign your agreement as soon as possible.

Please log on to https://app.procore.com/account/login to verify that you have the latest version
of drawings for this project.

If you have any questions regarding payments, please contact Phil Teaford. If you have any
questions regarding your subcontract, please contact me at the information listed below.

Thank You,
Debra Gipson
Debra Gipson
debra@geisco.net
Geis Companies
10020 Aurora-Hudson Rd.
Streetsboro, OH. 44241
330-528-3500 / 216-860-6201




                   10020 AURORA HUDSON ROAD . STREETSBORO . OHIO . 44241 . 330.528.3500 PH 330.528.0008 FX GEIS-COMPANIES.COM
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                                                        P.O. No.:                             1900290-001
                                                   Project Name:                             Wonder Lofts
                                                        Address:                         720 Clinton Street
                                                                                 Hoboken, New Jersey 07030
                                                         Job No:                                 19-00-290

             10020 Aurora    Hudson Road Streetsboro, Ohio 44241 Phone: (330) 528-3500 Fax: (330) 528-0008




                                        SUBCONTRACT AGREEMENT


M.D.C.                                                                June 20, 2019
151 S. 11th Street
Lindenhurst, New York 11757


The undersigned subcontractor shall furnish all labor, material, and equipment to complete work in accordance with the Prime
Contract which will be placed on Procore once fully executed, the terms of the attached proposal dated on or before June 11,
2019, not in conflict with this Agreement, and the terms of the attached Agreement, and the


                                      Cost Codes, Descriptions and Amounts totaling: $7,678,660.00



               RETAINAGE         Ten Percent (10%), or the amount withheld from Contractor by the Owner.
               NOTE:       All permits required by State, City, or other jurisdictional authorities are the
               Subcontractor s responsibility, as it pertains to the attached scope of work. Subcontractor shall also
               be responsible for the continuous cleanup of all debris related to the attached scope of work.
               By signing this Agreement or commencing or supplying the work described in this Agreement, you
               agree to adhere to all the conditions as noted in this Agreement. Failure to do so could result in
               termination of your contract. No changes to this document are valid unless signed and accepted in
               writing by an authorized representative of Geis Construction South, LLC.


               Contracted By: M.D.C.
               Signed By: {{_es_:signer1:signature}}
               Geis Construction South, LLC.
               Signed By: {{_es_:signer2:signature}}
               Signed By: {{_es_:signer3:signature}}




                                                                                   Subcontractor    {{_es_:signer1:initials}}
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               Geis Construction South, LLC.


Geis form subcontract (Rev. 2019-4)
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                                                          P.O. No.:                                1900290-001
                                                     Project Name:                                Wonder Lofts
                                                          Address:                            720 Clinton Street
                                                                                      Hoboken, New Jersey 07030
                                                            Job No:                                   19-00-290

        This Subcontract Agreement (the Agreement ) is entered into this 6th day of June 2019, by and between Geis
Construction South, LLC., an Ohio Corporation, 10020 Aurora Hudson Road, Streetsboro, Ohio 44241 ( Contractor ), and
M.D.C. ( Subcontractor ), having an address at 151 S. 11th Street , North Carolina 28677.



                                                     ARTICLE 1
                                             THE WORK OF THIS AGREEMENT
1.1       Definitions. For purposes of this Agreement, the term Subcontractor
agents; Owner means the customer with which Contractor has entered into a contract relating to the Project and that is
identified in Section 1.3 and, if such customer is not the owner of the Project, shall include the Project owner; Project
means the project described on Schedule 1 attached hereto and includes the premises on which the Project is located;
 Work                                     materials, construction, and services related to the Project that is the subject matter of
this Agreement, whether completed or partially completed, and includes all other labor, materials, equipment, and services
                                                                                              Lower Tier
entity that has a direct contract with Subcontractor, or is otherwise in privity with Subcontractor, to furnish or perform a
portion of the Work,
their respective subcontractors, suppliers, and vendors.
1.2      Scope of Work. The Subcontractor shall execute the Work as described in the Contract Documents (as hereinafter
defined) and as detailed more fully in Contractor s agreement with the Owner (the Prime Contract ) and/or the attached
proposal, which is incorporated by reference to the extent it does not conflict with this Agreement, except to the extent
specifically indicated in this Agreement to be the responsibility of others.
1.3     The Project and Project Owner. The Project, of which the Work may constitute the whole or a part, is described on
Schedule 1 attached hereto and made part. The Project Owner, or person or entity contracting for the improvements, is Prism
Construction Management, LLC having an address at 200 Broadacres Drive Suite 180, Bloomfield, NJ 07003.
1.4      Architect/Engineer. The Architect or Engineer for the Project is GLSD Architects, LLC 10020 Aurora Hudson,
Streetsboro, Ohio 44241. In the event that no architect or engineer is named, then all references in this Agreement to the
 Architect or Engineer shall be understood to refer to Contractor.
1.5     Project Schedule. The Project schedule applicable to the Subcontractor s work shall be the schedule dated as of the
most current version on Procore (the Project Schedule ), which is incorporated by reference, as the same may be amended
from time to time in the Contractor s sole discretion. If no Project Schedule exists as of the date of this Agreement, then
Subcontractor shall be bound by the milestone and completion dates set forth in the Prime Contract and Contract Documents
and any subsequently published schedule of Contractor, as the same may be amended or supplemented by Contractor in
Contractor s sole discretion.
                                              ARTICLE 2
                            DATE OF COMMENCEMENT AND SUBSTANTIAL COMPLETION
2.1       Date of Commencement. The date of commencement shall be the date of this Agreement, as first written above, or
the date listed in a Notice to Commence.
2.2       Substantial Completion. Subcontractor shall achieve Substantial Completion of the entire Work not later than as set
forth in the Project Schedule, subject to adjustments as provided in the Contract Documents, or such other time as required by
the Contractor. Substantial Completion shall be that point in time when the Work of Subcontractor has been completed with
the exception of minor punch list items, the Work has been accepted by Contractor in writing, Subcontractor has obtained all
necessary permits and inspections, and the Work is legally available for uninterrupted beneficial use and occupancy by
Contractor and Owner without inconvenience.


                                                                                        Subcontractor    {{_es_:signer1:initials}}
                                                             2                                Initials
              Geis Construction South, LLC.


Geis form subcontract (Rev. 2019-4)
10935544.1
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                                                        P.O. No.:                               1900290-001
                                                   Project Name:                               Wonder Lofts
                                                        Address:                           720 Clinton Street
                                                                                   Hoboken, New Jersey 07030
                                                          Job No:                                  19-00-290

2.3      Schedule and Reporting. Scheduling and reporting requirements of Subcontractor are detailed in the Prime Contract
and/or the attached Schedule, which is incorporated by reference into this Agreement.
                                                       ARTICLE 3
                                                     CONTRACT SUM
3.1      Contract Sum. Contractor, subject to the other terms and conditions of this Agreement, shall pay Subcontractor in
current funds for Subcontractor s full performance of the Agreement the Contract Sum as set forth on page one and if
applicable as detailed on Schedule 3 attached hereto and made part hereof (the Contract Sum ). To the fullest extent
permitted by applicable law, Contractor s obligation to pay Subcontractor shall be conditioned upon Contractor s receipt of
payment for the same from Owner .
                                                      ARTICLE 4
                                                  PROGRESS PAYMENTS
4.1       Invoicing Procedure. All Applications for Payment are to be filled out and submitted through www.procore.com.
Applications for Payment may not be accepted via any other method. Subcontractor will receive an invitation to submit an
Application for Payment through www.procore.com via email on the 18th day of every month. If Subcontractor is going to
be billing that month, Subcontractor must respond affirmatively to that invitation. Subcontractor must provide the Contractor
Project Manager a name and valid email address for its Account Receivable/Invoice contact person to be added to the Procore
Directory. Applications for Payment submitted through www.procore.com after the 25th of the month will not be processed
until the following month s billing cycle. Payments generally will be made after Contractor s billing to Owner for
Subcontractor s Work and within seven (7) days of Contractor s receipt of payment for that work from Owner, subject to the
provisions in ARTICLE 15. Training on how to prepare the Application for Payment (or Requisition ) in www.procore.com
is offered free through videos available on https://support.procore.com/. The link to submit a Requisition as a Subcontractor
is found at https://support.procore.com/products/online/user-guide/project-level/commitments/tutorials/submit-a-requisition-
as-a-subcontractor

4.2     Progress Payments. Based upon Applications for Payment submitted to Contractor by Subcontractor, required to be
submitted through www.procore.com, and Certificates for Payment issued by the Architect/Engineer, Contractor shall make
progress payments on account of the Contract Sum to Subcontractor as provided below and elsewhere in the Contract
Documents. The period covered by each Application for Payment shall be one calendar month ending on the 25th day of the
month. Contractor will withhold retainage as set forth in the Contract Documents.
4.3       Late Payments. Payments due and unpaid under the Agreement by Contractor to Subcontractor shall bear no
interest.
                                                        ARTICLE 5
                                                     FINAL PAYMENT
5.1       Final Payment. Subject to the requirements and conditions below, final payment, constituting the entire unpaid
balance of the Contract Sum, shall be made by Contractor to Subcontractor when the Work has been fully completed to the
satisfaction of Contractor and Owner, the Agreement has been fully performed, a Final Certificate for Payment has been
issued by the Architect/Engineer and Owner for the Work and Project, and Contractor has received its final payment from
Owner, including retainage. A lien waiver must be returned before final payment is released, as set forth in Paragraph 15.1.
                                                  ARTICLE 6
                                      ENUMERATION OF CONTRACT DOCUMENTS
6.1      Contract Documents. The Contract Documents consist of this Agreement, any documents listed in any
Schedules to this Agreement, Contractor s Subcontractor/Vendor Handbook (the Handbook ), the Prime Contract, and any
other documents referenced in, incorporated into, or otherwise made a part of this Agreement or the Prime Contract, including
but not limited to Project bid requirements, general conditions, special conditions, supplementary conditions, drawings,
specifications, addenda, and change orders. In the event of any conflict, inconsistency, or ambiguity between the terms of this
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Agreement and any of the other Contract Documents, including the Handbook, or within this Agreement or any of the
Contract Documents, then the provision imposing the higher quality, greater quantity, or greater duty or obligation on
Subcontractor, or granting greater rights or remedies to Contractor or Owner, shall govern.
Subcontractor s quote(s), proposals, bids, assumptions, and qualifications shall not be considered part of this Agreement
unless specifically identified herein. In the event that a proposal or bid of Subcontractor is referenced in this Agreement, it is
understood and agreed that the terms of this Agreement shall in all instances control in the event of any discrepancy,
inconsistency, or ambiguity.
6.2     Additional Provisions. Schedule 5 attached hereto and made part hereof contains additional terms and conditions of
the Agreement.
                                                       ARTICLE 7
                                                   GENERAL PROVISIONS
7.1      The intent of the Contract Documents is to include all permits, items, labor, materials, equipment, and services
necessary for the proper execution and completion of the Work by Subcontractor. The Contract Documents are
complementary and what is required by one shall be as binding as if required by all. Performance by Subcontractor shall be
required to the extent consistent with the Contract Documents and reasonably inferable from them as being necessary to
produce the intended results. It is understood and agreed that the Contract Documents are incorporated into this Agreement
by reference, and that Subcontractor hereby assumes toward Contractor all the responsibilities, duties, and obligations that
Contractor assumes toward Owner under the Contract Documents with regard to the Project and the scope of Work that is the
subject of this Agreement. Contractor, in addition to all rights of Contractor in this Agreement or at law, shall have against
Subcontractor all rights and remedies of Owner against Contractor.
7.2       This Agreement and the Contract Documents shall not be construed to create a contractual relationship of any kind
(1) between Owner and Subcontractor, (2) between Contractor any Lower Tier of Subcontractor, or (3) between any persons
or entities other than the Contractor and Subcontractor. Subcontractor covenants and agrees to make no claims against Owner
or the Architect/Engineer concerning the Project except as provided in this Agreement and, in such instances, only with
Contractor s prior written consent. Subcontractor further releases any and all extra-contractual claims against Contractor,
Owner, and Architect/Engineer, it being understood and agreed that all of Subcontractor s claims and rights shall be governed
exclusively by this Agreement.
7.3      Execution of the Agreement or commencement or supply of Work by Subcontractor is a representation that
Subcontractor has visited the Project site and become familiar with the physical and other conditions under which the Work is
to be performed, including the local markets, labor pool, site conditions, restrictions affecting the Work, and other matters
potentially affecting Subcontractor s performance.
                                                         ARTICLE 8
                                                        CONTRACTOR
8.1     Contractor, upon Subcontractor s written request, shall furnish to Subcontractor surveys, layouts, and other
documentation in Contractor s possession, but Subcontractor shall be solely responsible for verifying the accuracy and
completeness of the information and documentation to the extent that it affects Subcontractor s Work.
8.2     Subcontractor is responsible for all fees and permits as noted above. Contractor shall secure and pay for all other
necessary approvals, easements, assessments, and charges required to complete the Work, the construction, use, or occupancy
of permanent structures or permanent changes in existing facilities, but only to the extent not applicable to the Work.
                                                        ARTICLE 9
                                                     SUBCONTRACTOR
9.1      Subcontractor shall supervise and direct the Work using the highest level of skill and attention. Subcontractor shall
be solely responsible for and have control over construction means, methods, techniques, sequences and procedures and for


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coordinating all portions of the Work under this Agreement, unless the Contract Documents give other specific instructions
concerning these matters.
9.2      Unless otherwise provided in the Contract Documents, Subcontractor shall provide and pay, as bills are received by
Subcontractor, for labor, materials, equipment, tools, construction equipment and machinery, water, heat, utilities, hoisting,
transportation, and other facilities and services necessary for the proper execution and completion of the Work, whether
temporary or permanent and whether or not incorporated or to be incorporated in the Work, to prevent Subcontractor s Lower
Tiers from placing a lien against the Project.
9.3      Subcontractor represents and warrants to Contractor that it and all of its employees, agents, and Lower Tiers, as
applicable, are duly licensed, authorized, and qualified to perform the Work in the jurisdiction(s) where the Project is located
and in which a license, authorization, or qualification is required for their performance in connection with the Project and
transaction of business of the character transacted by them. Subcontractor shall comply with any and all rules and
regulations, statutes and ordinances, whether state, federal, or local, applicable to the Work and the Project, whether required
by the Contract Documents or otherwise, including without limitation equal employment opportunity, prevailing wage,
occupational safety and health, minority and disadvantaged business, and other requirements.
9.4       Subcontractor shall enforce strict discipline and good order among Subcontractor s employees and other persons
carrying out the Work, and in that regard: (i) Subcontractor shall not permit employment of unfit persons or persons not
skilled in tasks assigned to them; (ii) Subcontractor shall require its employees, agents, and Lower Tiers at the Project to wear
and use safety and health equipment, to work in harmony with others working at the Premises, and to comply with Owner s
and Contractor s regulations, and the rules and regulations imposed by law covering working conditions; (iii) Contractor shall
have the right to furnish any safety or health equipment that Subcontractor fails to provide promptly, and Subcontractor shall
upon demand pay Contractor s cost thereof plus twenty percent (20%) for Contractor s overhead and other indirect costs;
(iv) Subcontractor shall indemnify Contractor and Owner for fines, penalties, corrective measures, and damages, and shall
reimburse Contractor and Owner for costs and expenses, including attorney fees, that result from acts or omissions by
Subcontractor, its Lower Tiers, or their respective employees and agents in failing to complying with such safety rules and
regulations; (v) Subcontractor, immediately after the occurrence of any accident involving injury to or death of any person, or
damage to the Project or any property at the Project or in any way relating to the Work, shall deliver to Contractor s Project
Manager and Safety Director a written report thereof, which may be a copy of any accident report delivered to its insurance
carrier; (vi) Contractor mandates a drug-free and alcohol-free Project, and Subcontractor shall comply with these
requirements, and Subcontractor shall take appropriate precautions (including all requirements applicable to the Project under
controlling law) and implement reasonable measures to ensure compliance by Subcontractor s employees and Lower Tiers;
(vii) Subcontractor shall furnish to Contractor a copy of Subcontractor s safety plans, including, without limitation, plans for
general safety, MSDS, Right to Know, and Drug and Alcohol Abuse; and (viii) Subcontractor and its employees and
independent contractors to attend all jobsite Safety Meetings as Contractor may request from time to time. Contractor shall
have the right to demand removal or replacement of any employee of Subcontractor or its Lower Tiers that are working on the
Project in Contractor s sole discretion.
9.5       Subcontractor warrants to Contractor that materials and equipment furnished under this Agreement will be of good
quality and new unless otherwise required or permitted by the Contract Documents, that the Work will be free from defects
not inherent in the quality required or permitted, and that the Work will strictly conform to the requirements of the Contract
Documents. Work not conforming to these requirements, including substitutions not properly approved and authorized, shall
be considered defective. If required by the Architect/Engineer, Owner, or Contractor, Subcontractor shall furnish satisfactory
evidence as to the kind and quality of materials and equipment. Manufacturer s warranties on materials and equipment
purchased and installed by Subcontractor shall be assigned by Subcontractor to Contractor and Owner for their benefit prior
to final payment.
9.6      Unless otherwise provided in the Contract Documents, Subcontractor shall pay sales, consumer, use, and other
similar taxes which are legally enacted when bids are received or negotiations concluded, whether or not yet effective or
merely scheduled to go into effect, and shall secure and pay for the building permit and other permits and governmental fees,
licenses and inspections necessary for proper execution and completion of the Work.

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9.7      Subcontractor shall comply with and give notices required by laws, ordinances, rules, regulations, and lawful orders
of public authorities bearing on performance of the Work. Subcontractor shall promptly notify the Architect/Engineer and
Contractor in writing, within two (2) days of discovery, if the Drawings and Specifications are at variance therewith, or if
Subcontractor discovers or reasonably should have discovered other errors or omissions or other problems, affecting the
Work or the Project.
9.8      Subcontractor shall be responsible to Contractor for the acts and omissions of Subcontractor s employees and Lower
Tiers, and their respective agents and employees, and other persons performing portions of the Work under a contract with the
Subcontractor or its Lower Tiers.
9.9      It is understood and agreed that the relationship of Contractor to Subcontractor shall be that of independent
contractors. Nothing contained herein or inferable here from shall be deemed or construed to (a) make Subcontractor the
agent, servant, or employee of Contractor or (b) create any partnership, joint venture, or other association between
Subcontractor and Contractor. Any direction or instruction by Contractor in respect of the Work shall relate to the results
Contractor desires to obtain from the Work and shall in no way affect Subcontractor s independent contractor status as
described herein. Subcontractor shall prevent any of its employees from representing himself or herself to be an employee of
Contractor. Subcontractor shall be solely responsible for its sequences, means, methods and techniques, and those of its
Lower Tiers.
9.10     Subcontractor shall review, approve, and submit to Contractor and Architect/Engineer complete and accurate Shop
Drawings, Product Data, Samples, and similar submittals required by the Contract Documents with reasonable promptness, so
as not to delay progress of the Work. The Work shall be in accordance only with approved submittals, which shall be
evidenced exclusively by Contractor s stamp on such documents. When professional certification of performance criteria of
materials, systems, or equipment is required of Subcontractor by the Contract Documents, the Architect/Engineer and
Contractor shall be entitled to rely upon the accuracy and completeness of such certifications. All submittals, shop drawings,
and related materials shall strictly comply with project requirements.
9.11     Subcontractor shall provide Contractor and Architect/Engineer with Record Drawings prior to final payment.
9.12     Subcontractor shall, under the direction of Contractor, furnish three complete sets of manuals, containing the
manufacturer s instructions for maintenance and operation of each item of equipment and apparatus furnished under the
Contract Documents and any additional data specifically requested under the various sections of the Specifications for each
division of the Work. The manuals shall be arranged in proper order, indexed, and suitably bound.
9.13     All plans, drawings, reports, manuals, specifications, test data, or other documents or information prepared by
Subcontractor pursuant to this Agreement shall be furnished to Contractor and shall be the joint property of Contractor and
Subcontractor. Contractor shall have the unlimited right to publish, transfer, sell, license, and use all or any part of such
documents or information without additional payment to Subcontractor. Subcontractor grants Contractor an irrevocable,
royalty-free license for such purposes.
9.14    During the progress of the Work, Subcontractor shall keep the premises and surrounding area free from
accumulation of waste materials or rubbish caused by operations under the Agreement. At completion of the Work,
Subcontractor shall remove from and about the Project waste materials, rubbish, and Subcontractor s tools, construction
equipment, machinery, and surplus materials.
9.15     Subcontractor shall, at all times, provide Contractor and Architect/Engineer access to the Work wherever located.
9.16      Subcontractor shall pay all royalties and license fees relating to its Work, shall defend suits or claims of infringement
by the Work of                   intellectual property rights, and shall indemnify, defend, and hold Contractor harmless from
loss on account thereof, but shall not be responsible for such defense or loss when a particular design, process, or product of a
particular manufacturer or manufacturers is required by the Contract Documents, unless Subcontractor has reason to believe
that there is an infringement of patent and fails to notify Contractor in writing prior to furnishing the Work.
9.17     To the fullest extent permitted by law, Subcontractor shall defend, indemnify, and hold harmless Contractor,
Architect/Engineer, Owner, and the Owner s lessees, and each of them, and their respective agents and employees of any of
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them from and against claims, liens, damages, losses and expenses (including but not limited to attorneys fees and expert and
consulting costs), penalties, fines, assessments, arising out of or resulting from performance of the Work, including, without
limitation, damage, loss or expense attributable to defective workmanship, non-conforming Work, non-conforming
submittals, OSHA fines and assessments, bodily injury, sickness, disease or death, or injury to or destruction of tangible
property, including loss of use resulting there from, but only to the extent caused in whole or in part by acts or omissions of
the Subcontractor, Subcontractor s Lower Tiers, anyone directly or indirectly employed by them or anyone for whose acts
they may be liable. Subcontractor shall defend and indemnify Contractor and hold Contractor harmless from the above-
referenced claims regardless of whether such claim is caused or alleged to be caused in part by any joint or concurrent
negligent act (either active or passive) or omission by a party indemnified hereunder; provided however, that Subcontractor
shall not be obligated to indemnify for those claims to the extent that the same arise from the sole negligence or willful
misconduct of Contractor or Contractor s agents, servants or independent contractors who are directly responsible to
Contractor, excluding Subcontractor herein,. Such obligation shall not be construed to negate, abridge, or reduce other rights
or obligations of indemnity that would otherwise exist as to a party or person described in this Paragraph. To the fullest
extent permitted by applicable law, the Subcontractor shall further indemnify and hold harmless the Contractor,
Architect/Engineer and Owner from and against any and all costs, loss and expense, liability, damages, settlements, or claims
for damages (including attorneys fees and costs for defending any action) suffered, incurred or arising from mechanics liens
by Subcontractor, or liens or other payment claims by Subcontractor s laborers, unions, or Lower Tiers. In the event that a
Lower Tier of Subcontractor files a mechanics lien against the Project or Property of Owner, Subcontractor shall,
immediately upon demand of Contractor, promptly cause such lien to be formally released, bonded off in accordance with
applicable statutes, or otherwise satisfied. Until Subcontractor satisfies its obligations under this paragraph, Contractor shall
be entitled to retain from any sums due Subcontractor, an amount equal to two (2) times the amount of any such claim,
demand, damage, fine, assessment, penalty, lien or other potential liability. If Subcontractor fails to immediately remove or
satisfy a Lower Tier lien, then Contractor has the right to settle, pay, remove, or bond off Subcontractor s Lower Tier
lien/claim and deduct that payment and/or all associated administrative costs, attorney s fees, and bond premium from the
Subcontract balance. If the Subcontract balance is deficient then Subcontractor must immediately refund the deficiency to
Contractor.
9.18     In claims against any person or entity indemnified under Paragraph 9.17 by an employee of the Subcontractor,
anyone directly or indirectly employed by them or anyone for whose acts Subcontractor may be liable, the indemnification
obligation shall not be limited by any limitation on amount or type of damages, compensation or benefits payable by or for
the Subcontractor under workers or workmen s compensation acts, disability benefit acts or other employee benefit acts,
such immunity and related defenses being hereby expressly waived. All such immunity and/or limitations of liability,
including without limitation any such immunity or liability limitation defenses under Ohio Constitution Article 2, Section 35
and Ohio Revised Code, Workers Compensation Act section 4123.74, are hereby waived by Subcontractor.
                                                  ARTICLE 10
                                        ADMINISTRATION OF THE AGREEMENT
10.1     Contractor will provide administration of the Agreement (1) during construction, (2) until final payment is due, and
(3) with Subcontractor s concurrence, from time to time during the correction period described in Paragraph 18.1.
10.2     Notwithstanding anything in this Agreement or the Contract Documents to the contrary, Contractor reserves the right
to permit the Architect to handle review and certification of Applications for Payment and inspections (including, without
limitation, for purposes of establishing Substantial Completion and Final Completion) directly. Contractor shall be entitled,
without limitation, to all the Architect/Engineer s rights under the Contract Documents to delay or refuse to certify
Applications for Payment or Certificates for Payment or to determine whether and to what extent the Work or any designated
portion thereof has achieved Substantial Completion or Final Completion.
10.3     Contractor shall have the unrestricted right to visit the Project site and access the Work (a) at all reasonable times to
assess the progress of the Work, and (b) at any time, including without limitation on weekends or after hours, as may be
necessary in the case of an emergency, work stoppage, or at any other time(s) that Contractor, in its sole discretion, requires
such access. Without limiting the foregoing, Contractor will visit the Project site at intervals appropriate to the stage of

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construction to become generally familiar with the progress and quality of the completed Work and to determine in general if
the Work is being performed in a manner indicating that the Work, when completed, will be in accordance with the Contract
Documents. However, Contractor will not be required to make exhaustive or continuous on-site inspections to check quality
or quantity of the Work.
10.4      Contractor will not have control over or charge of and will not be responsible for construction means, methods,
techniques, sequences or procedures, or for safety precautions and programs in connection with the Work, since these are
solely Subcontractor s responsibility as provided in this Agreement. The Architect/Engineer will not be responsible to
Subcontractor for Subcontractor s failure to carry out the Work in accordance with the Contract Documents. Subcontractor
shall not be entitled to rely on Contractor s inspections to insure compliance with this Agreement. Subcontractor shall be
solely responsible for such compliance and quality control.
10.5     Contractor will interpret and decide matters concerning performance under any requirements of the Agreement and
the Contract Documents on written request of Subcontractor. All decisions of the Architect/Engineer that are final and
binding on Contractor shall equally bind Subcontractor.
10.6     Contractor will have authority to reject Work that does not conform to the Contract Documents.
10.7     Contractor will review and approve or take other appropriate action upon Subcontractor s submittals such as Shop
Drawings, Product Data and Samples, but only for the limited purpose of checking for conformance with information given
and the design concept expressed in the Contract Documents.
10.8      In Contractor s sole discretion, any and all claims or disputes between Contractor and Subcontractor arising out or
relating to this Agreement or the Contract Documents, or the breach thereof, shall be decided by arbitration in accordance
with the Construction Industry Arbitration Rules of the American Arbitration Association currently in effect, unless the
parties mutually agree otherwise. Notice of the demand for arbitration shall be filed in writing with the other party to this
Agreement and with the American Arbitration Association and shall be made within a reasonable time after the dispute has
arisen. The award rendered by the arbitrator or arbitrators shall be final, and judgment may be entered upon it in accordance
with applicable law in any court having jurisdiction thereof. Contractor, at its sole option, shall have the right to join in such
proceedings any person or entity that is substantially involved in a common question of fact or law, and Subcontractor hereby
waives the right to challenge Contractor s decisions relative to joinder. This agreement to arbitrate and any other written
agreement to arbitrate referred to herein shall be specifically enforceable under applicable law in any court having jurisdiction
thereof. Any arbitration or other dispute resolution shall be exclusively venued in Cleveland, Ohio unless Contractor, in its
sole discretion, elects another venue.
10.9      This Project will utilize Procore s (www.procore.com) project management and collaboration system for all Project
documentation. Subcontractor will be invited to, and is required to create a Procore username (email) and password if it does
not already have one. Subcontractor must obtain drawings, sketches, RFIs, the Project Schedule (and any updates thereto),
meeting minutes, coordination drawings, change information, etc. by using Procore. Contractor may notify Subcontractor as
relevant items are added or revised; however, it will be the responsibility of Subcontractor to regularly check and review
documents as they are added or updated. If Subcontractor does not promptly notify Contractor of any objection to an update
to the Project Schedule, Subcontractor shall be deemed to have agreed to such updated Project Schedule. Applicable team
members of Subcontractor are required to complete a free, one-hour subcontractor training certification course located at
http://learn.procore.com/procore-certification-subcontractor within (2) two weeks following execution of this Agreement.
There will be no cost to Subcontractor for use of Procore.
It is mandatory that Subcontractor provide mobile iOS or Android devices with the Procore App installed to on-site staff to
provide real-time access to current posted drawings, specifications, RFIs, submittals, the Project Schedule, Change Orders,
Commitments, project documents, as well as any deficient observations or punch list items. Providing mobile access will
improve communication, efficiency, and productivity for all parties.
Failure to use Procore is a breach of this Agreement, and Subcontractor agrees to reimburse Contractor $65 an hour for
administrative help and any direct costs (equipment purchases for subcontractor s benefit) Contractor incurs due to
Subcontractor s failure to use Procore. Contractor may deduct these costs from amounts due Subcontractor.
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                                                        ARTICLE 11
                                                      SUBCONTRACTS
11.1     Subcontractor, as soon as practicable after award of the Agreement, shall furnish in writing to Contractor the names
of the Lower Tier subcontractors for each of the principal portions of the Work. Proposed Lower Tiers shall be established,
reputable firms of recognized standing with a record of successful and satisfactory past performance with the type of work
and/or items proposed to be provided or furnished by them. Subcontractor shall not contract with any lower-tier
subcontractor to whom Contractor, Owner, or Architect/Engineer has made reasonable and timely objection. Contracts
between Subcontractor and any Lower Tier shall (a) require each Lower Tier, to the extent of the Work to be performed by
the Lower Tier, to be bound to Subcontractor by the terms of this Agreement and the Contract Documents and to assume
toward Subcontractor all the obligations and responsibilities that Subcontractor, by the Contract Documents and this
Agreement, assumes toward Contractor, and (2) to the maximum extent permitted by applicable law, prohibit the filing of
mechanic s liens against the Project and property of Owner.
                                                   ARTICLE 12
                                         CONSTRUCTION BY CONTRACTOR OR
                                          BY SEPARATE SUBCONTRACTORS
12.1     Contractor reserves the right to perform construction or operations related to the Project with Contractor s own
forces, and to award separate subcontracts in connection with other portions of the Project or other construction or operations
on the Project site under conditions of the contract substantially similar to these, including those portions related to insurance
and waiver of subrogation. If Subcontractor claims that delay, hindrance, interference, or additional cost is involved because
of such action by Contractor, Subcontractor shall make such claim in writing within two (2) days of the occurrence giving rise
to the claim, as provided herein or in the Contract Documents, otherwise Subcontractor waives such claim. Subcontractor
acknowledges and agrees that Subcontractor s recovery of damages on account of any claims for delay, disruption, hindrance,
interference, extra work, or other impact costs or damages shall be limited to the amounts actually paid by Owner or other
subcontractor to Contractor as a result thereof, all other rights and claims being hereby expressly waived.
12.2     Subcontractor shall afford Contractor and separate subcontractors of Contractor reasonable opportunity for the
introduction and storage of their materials and equipment and performance of their activities, and shall connect and
coordinate Subcontractor s construction and operations with theirs as required by the Contract Documents and Project
Schedule.
12.3    Costs caused by delays, hindrance, interference, improperly timed activities, or defective construction shall be borne
by Subcontractor.
                                                     ARTICLE 13
                                            CHANGES IN THE WORK / CLAIMS
13.1    A Change Order is a written order signed by Contractor and Subcontractor authorizing a change in the Work and/or
adjustment in the Contract Sum or Substantial Completion Date. The Contract Sum and Substantial Completion Date may be
changed only by a signed Change Order.
13.2     Contractor may order changes in the Work within the general scope of the Agreement consisting of additions,
deletions, or other revisions, and the Contract Sum and Substantial Completion Date may be adjusted accordingly so long as
Subcontractor notifies Contractor in writing within two (2) days that the proposed change order will require an adjustment to
the Contract Sum or Substantial Completion Date and provides Contractor with information necessary to support
Subcontractor s request, and if Contractor agrees with Subcontractor s request and then memorializes the same in the written
Change Order. Such changes in the Work shall be authorized by Change Order prior to making the change or performing
additional work, and shall be performed under applicable conditions of the Contract Documents. If after receipt of written
notice from Subcontractor, there is the absence of complete or partial agreement relative to the adjustment of the Contract
Sum or the Substantial Completion Date, the Contractor may direct the changed work to proceed by way of a written
Construction Change Directive, which will advise Subcontractor of Contractor s selected method for pricing the change in
accordance with this ARTICLE 13.
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13.3     Subcontractor s failure to obtain a signed Change Order or Construction Change Directive prior to commencing or
completing any extra work, or incurring any additional cost shall conclusively constitute a waiver of any and all claims for
additional compensation or extension of time. The cost of any work, or the extension of time, reflected in any Change Order
or Construction Change Directive that is signed by Contractor and Subcontractor shall represent a full accord and satisfaction
of any and all claims for additional time or compensation relating directly or indirectly to the work described therein,
including ripple effect or cumulative impact costs.
13.4  The cost or credit to Contractor resulting from any change in the Work shall be in accordance with the Contract
Documents, or if not identified in the Contract Documents, determined as follows:
         (a)      The cost of such changed Work shall be determined on the basis of reasonable expenditures and savings of
                  those performing the Work attributable to the change, including the expenditures for design services and
                  revisions to the Contract Documents. In case of an increase in the Contract Sum, Subcontractor shall be
                  entitled to a maximum ten percent (10%) mark-up on cost as Subcontractor s fee for its overhead and profit.
                  Subcontractor shall keep and present an itemized accounting together with appropriate supporting data for
                  inclusion in a Change Order. In case of a decrease in the Contract Sum, Contractor shall be entitled to ten
                  percent (10%) increase over Subcontractor s cost as reimbursement for Subcontractor s savings on
                  overhead and profit. Unless otherwise provided in the Contract Documents, cost shall be limited to the
                  following: cost of materials, including sales tax and cost of delivery; cost of labor, including social
                  security, old age and unemployment insurance, and fringe benefits required by agreement or custom;
                  workers or workmen s compensation insurance; bond premiums; rental value of equipment and machinery;
                  additional costs of supervision and field office personnel directly attributable to the change; and fees paid to
                  design professionals, engineers, and other professionals; or
         (b)      The unit costs, if any, contained in the Contract Documents or negotiated between the parties and confirmed
                  in writing; or
         (c)      An agreed upon lump sum price; or
         (d)      With respect to additional design services provided by Subcontractor s own employees and personnel,
                  Subcontractor agrees to charge, and Contractor agrees to pay, for such services according to the rate
                  schedule attached as Exhibit E, without additional mark-up for overhead and profit. It is understood and
                  agreed that the hourly rates in Exhibit E are inclusive of all overhead and profit for such additional hourly
                  services.
13.5    Pending final agreement on the total cost of a Construction Change Directive, amounts not in dispute for such
changes in the Work shall be included in applications for payment accompanied by a Change Order indicating the parties
agreement with all or part of the costs.
13.6     If concealed or unknown conditions of an unusual nature affect the performance of the Work or are encountered
above or below ground or in an existing structure other than the Work, which conditions are not ordinarily found to exist or
which differ materially from those generally recognized as inherent in Work of the character provided for in the Contract
Documents, then written notice by the observing party shall be given promptly to the other party and, if possible, before
conditions are disturbed, and in no event later than forty eight (48) hours after first observance of the conditions. To the
extent permitted by the Contract Documents, the Contract Sum may be equitably adjusted for such concealed or unknown
conditions by Change Order upon claim by either party made in writing within forty eight (48) hours after the claimant
becomes aware of the conditions. In the event that the Contract Documents transfer the risk of differing or changed
conditions to Contractor, and Contractor has no recourse against Owner with regard thereto, then Subcontractor hereby
assumes the risk of differing or changed conditions and waives such claims against Contractor.
13.7    To the maximum extent permitted by applicable law, Subcontractor agrees that it shall not be entitled to recover any
damages from Contractor on account of claims for additional compensation of whatever kind or description unless and until
Contractor recovers and collects such damages from Owner, it being agreed that such recovery and collection from Owner is
an absolute condition precedent to Subcontractor s right of recovery from Contractor. Contractor shall act as a conduit for
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Subcontractor s claims, and Subcontractor shall be obligated to compensate Contractor for all costs and expenses, including
legal and consulting fees and administrative expenses, that Contractor incurs to present Subcontractor s claims to Owner for
consideration or payment or to arbitrate, mediate, or litigate such claims. Subcontractor shall furnish all required testimony
and documentation to support its claims. Contractor assumes no fiduciary responsibility for prosecution and recovery on
Subcontractor s behalf. In the event that Contractor recovers and collects damages from Owner on account of
Subcontractor s claims through negotiation, litigation, mediation, or arbitration, then Contractor shall tender to Subcontractor
the amount actually recovered and collected less the cost of prosecution and administration, and Subcontractor shall accept
that amount as payment in full for its claims and damages releasing Contractor from any additional liability or damages on the
claims. If the claim is denied or the amount claimed or recovered is not collected, Subcontractor shall release Contractor
from any and all liability for the claims and damages.
13.8     It is understood and agreed that Subcontractor shall present all claims in strict accordance with the time limits and
documentation requirements in this Agreement and in the Contract Documents, so as to permit Contractor to mitigate
damages and advise the Owner. To the extent not covered elsewhere in the Agreement, all claims or requests relating to the
Contract Sum or schedule of the Work must be made in writing with supporting detail and documentation within four (4)
days of Subcontractor s discovery of the claim, or when Subcontractor otherwise should have discovered the claim with the
exercise of reasonable diligence, whichever is earlier. Subcontractor s failure to strictly comply with this provision, and
similar provisions in this Agreement and the Contract Documents, shall be conclusively presumed to constitute a waiver of
Subcontractor s rights and claim.
13.9     To the extent any notice is required under this Agreement, Subcontractor shall give the Project Manager and
Contractor President such written notice, of any and all claims related to the Work, with supporting detail and documentation,
within the time required but no later than four (4) days of the occurrence of the event for which the claim is made; otherwise,
such claims shall be deemed waived.
                                                         ARTICLE 14
                                                           TIME
14.1     Subcontractor shall provide services as expeditiously as is consistent with the standards of skill and care set forth in
this Agreement applicable to the Work, and the orderly progress of design and construction.
14.2     Time limits stated in the Contract Documents are of the essence of this Agreement. The Work to be performed
under this Agreement shall commence upon execution of this Agreement and, subject to authorized modifications, Substantial
Completion shall be achieved on or before the Substantial Completion Date. Dates set forth on the Project Schedule shall not
be modified without Contractor s prior written approval.
14.3     If Subcontractor fails to achieve Substantial Completion on or before the Substantial Completion Date,
Subcontractor shall pay to Contractor (by direct payment or offset from the Contract Sum, at Contractor s sole option) the
amount of $1,000.00 per day for each day that the Work is not substantially completed after the Substantial Completion Date,
or any Milestone Date. Contractor and Subcontractor agree that the foregoing liquidated damages are reasonable and bear a
relationship to the damages that Contractor might sustain for unanticipated Project-related administrative costs on account of
Subcontractor s failure to timely complete the Work. The parties agree that the liquidated damages are not intended to be,
and in no event shall be construed to be, a penalty, but are intended as fixed damages agreed to by the parties as settlement of
damages in advance in the event of Subcontractor s failure to timely complete the Work. The foregoing liquidated damages
are intended only to cover the Project-related administrative damages suffered by the Contractor as a result of delay and shall
not be deemed to cover the cost of completion of the Work, damages resulting from defective Work, damages suffered by
others who then seek to recover damages from Contractor (for example, liquidated damages of Owner, or delay claims of
other contractors or subcontractors), and defense costs thereof or any other damages available to Contractor at law, in equity,
or under the Agreement (the delay claims ). All other delay claims of Contractor are reserved and will be resolved in
accordance with the provisions in this Agreement.
14.4    If Subcontractor is delayed in the progress of the Project by acts or neglect of Contractor, Contractor s employees,
changes ordered in the Work not caused by the fault of Subcontractor, fire, unusual and adverse weather conditions,

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unavoidable casualties, delay authorized by Contractor, code or building/zoning/occupancy permit-related delays beyond
Subcontractor s reasonable control, or another cause that Contractor agrees is justifiable, or by any other reason beyond the
reasonable control of Subcontractor, then the Substantial Completion Date may be equitably extended by Change Order;
provided that (a) Subcontractor gives Contractor timely notice of the delay, (b) the Owner permits the Substantial Completion
Date to be extended, and (c) the delay was to critical path Work.
14.5      Subcontractor expressly waives its right to recover extended home office overhead damages, extended field office
overhead damages, additional supervision costs, additional equipment costs, or any other indirect expenses arising from or
relating to a delay, disruption, suspension, hindrance or interference for which Contractor or Owner is responsible. In the
event of an excusable delay, suspension or disruption of Subcontractor s work, Subcontractor s claim for additional
compensation shall be limited only to additional costs associated with escalation of material costs or escalation of hourly
labor costs, and Subcontractor agrees to accept such damages as its sole remedy.
                                                   ARTICLE 15
                                             PAYMENTS AND COMPLETION
15.1     Payments shall be made as provided in ARTICLE 4 and ARTICLE 5 of this Agreement. Concurrent with the
submittal of each Application for Payment, Subcontractor shall furnish Affidavits and Waivers of Lien by Subcontractor and
all of Subcontractor s Lower Tiers evidencing that all wages for labor and all invoices for material or services that were
included in the previous Application for Payment for which payment was made, have been paid in full. Furnishing of such
Affidavits and Waivers of Lien, in the form approved by Contractor, shall be a condition to payment. Unconditional Lien
Waivers from Subcontractor and all lower tiers shall be submitted with Subcontractor s Application for Final Payment.
15.2      Payments may be withheld on account of (a) defective Work not remedied, (b) claims filed by third parties,
(c) failure of Subcontractor to make payments properly to its Lower Tiers, (d) reasonable evidence that the Work cannot be
completed for the unpaid balance of the Contract Sum, (e) damage to Contractor, Owner, or another subcontractor of
Contractor, (f) reasonable evidence that the Work will not be completed within the Contract Time and that the unpaid balance
would not be adequate to cover actual or liquidated damages for the anticipated delay, (g) failure to carry out the Work in
accordance with the Agreement or the Contract Documents, or (h) failure to carry and maintain the insurance coverage
required by the Agreement. Contractor may also nullify a previously authorized payment in whole or in part, to such extent

15.3     When Contractor agrees that the Work is substantially complete, Contractor will, upon Subcontractor s written
request and in Contractor s discretion, issue a Certificate of Substantial Completion. If a certificate of occupancy is required
by law in order for the Owner to lawfully occupy the Project, then the Work shall not be deemed substantially complete
unless and until such certificate of occupancy is issued to the extent applicable to Subcontractor s Work.
15.4      Final payment shall not become due until Subcontractor has delivered to the Contractor all Warranties, Operating &
Maintenance Manuals, test data and other close-out documents applicable to the Work, a complete release of all liens arising
out of this Agreement or receipts and Waivers in full covering all labor, materials and equipment for which a lien could be
filed, or a bond satisfactory to Contractor to indemnify Contractor and Owner against such lien. If such lien remains
unsatisfied after payments are made, Subcontractor shall refund to Contractor all money that Contractor may be compelled to
pay in discharging such lien, including all costs, bond premiums, and reasonable attorneys fees.
15.5     The making of final payment by Contractor shall not constitute a waiver of any rights or claims Contractor may have
against Subcontractor, including those arising from:
         (a)      liens, claims, security interests or encumbrances arising out of the Agreement and unsettled;
         (b)      failure of the Work to comply with the requirements of the Agreement and the Contract Documents; or
         (c)      terms of special warranties required by the Contract Documents.



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15.6 Acceptance of final payment by Subcontractor shall constitute a waiver of claims by Subcontractor of all claims,
demands and damages of Subcontractor, except those previously made in writing and identified by Subcontractor as unsettled
at the time of submission of the final Application for Payment.
15.7 Subcontractor acknowledges and agrees that, any payment that is allegedly due from Contractor to Subcontractor,
whether for the original scope of Work or for any extra work or impact or schedule damage claims, are expressly conditioned
upon Contractor s receipt of payment from Owner. To the maximum extent permitted by applicable law, Contractor s
obligation to pay Subcontractor expressly is contingent and conditioned on Contractor s actual receipt of payment from
Owner for Subcontractor s Work or claims. Subcontractor voluntarily assumes the risks associated with the creditworthiness
of Owner, or Contractor s ability to actually recover damages from Owner for any reason.
                                                    ARTICLE 16
                                        PROTECTION OF PERSONS AND PROPERTY
16.1      Subcontractor shall be responsible for initiating, maintaining, and supervising all safety precautions and programs in
connection with the performance of the Work required by this Agreement. Subcontractor shall take reasonable precautions
for safety of, and shall provide reasonable protection to prevent damage, injury, or loss to:
         (a)       employees engaged in the Work and other persons who may be affected thereby;
         (b)       the Work and materials and equipment to be incorporated therein; and
         (c)       other property at the Project site or adjacent thereto.
Subcontractor shall give notices and comply with applicable laws, ordinances, rules, regulations, and lawful orders of public
authorities bearing on safety of persons and property and their protection from damage, injury, or loss. Subcontractor shall
promptly remedy damage and loss to property at the site caused in whole or in part by Subcontractor, a Lower Tier, or anyone
directly or indirectly employed by any of them, or by anyone for whose acts they may be liable and for which Subcontractor
is responsible, except for damage or loss attributable to acts or omissions of Contractor, or by anyone for whose acts
Contractor may be liable, and not attributable in any way to any fault or negligence or omission of Subcontractor. The
foregoing obligations of Subcontractor are in addition to Subcontractor s obligations under ARTICLE 9.
                                                           ARTICLE 17
                                                           INSURANCE
17.1     Subcontractor shall purchase and maintain insurance for protection from claims under workers or workmen s
compensation acts and other employee benefit acts which are applicable, claims for damages because of bodily injury,
including death, and from claims for damages, other than to the Work itself, to property that may arise out of or result from
Subcontractor s operations under the Agreement, whether such operations be by Subcontractor, a lower-tier of Subcontractor,
or anyone directly or indirectly employed by any of them. This insurance shall be written for not less than limits of liability
specified in Schedule 6 attached hereto and made a part hereof, and shall include contractual liability insurance applicable to
Subcontractor s obligations under ARTICLE 9.
17.2      myCOI REQUIREMENT. Contractor s insurance is managed and monitored through myCOI. Subcontractor agrees
to utilize myCOI in connection with this Agreement. Subcontractor or Subcontractor s insurance agent/broker will contact
myCOI at support@mycoitracking.com and will timely respond to all emails, notices, and inquiries from myCOI within
forty-eight (48) hours of receipt.
17.3      In addition to the coverage listed in Schedule 6, Subcontractor, at its expense, shall obtain prior to the
commencement of the Work and maintain in effect (and furnish Contractor certificates in triplicate or, if requested by
Contractor, copies of the policies evidencing that it has in effect), the following insurance coverages and minimum limits with
insurance carriers acceptable to Contractor:
         (a)       Commercial General Liability - This insurance shall be written on an occurrence basis with limits not less
                   than $1,000,000.00 per occurrence and $2,000,000.00 annual aggregate. The policy shall include coverage
                   for Premises/Operations, Independent Contractors, Contractual Liability (sufficient to cover the liability
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                  assumed by the Subcontractor under the Agreement), Property Damage arising out of the XCU hazards,
                  Completed Operations, Products Liability, Broad Form Property Damage, and Personal Injury. The
                  Completed Operations coverage shall be maintained for at least three (3) years after the final completion of
                  the Project of which the Work are a part. If the policy contains a general aggregate limitation, then the
                  policy shall be endorsed to provide a $1,000,000.00 specific aggregate for the Work under this Agreement.
         (b)      Business Automobile Liability - The policy shall contain limits of not less than $1,000,000.00 Combined
                  Single Limit and include coverage for all Owned, Hired and Non-owned automobiles.
         (c)      Excess/Umbrella Liability - The policy(ies) shall be written with limits of not less than $2,000,000.00
                  Combined Single Limit and shall be endorsed in the same form and manner as the Commercial General
                  Liability, Business Automobile Liability, and Employer s Liability coverages.
         (d)      Professional Liability - If Subcontractor is performing design or other professional Services, professional
                  liability (errors and omissions) coverage with a minimum limit of $2,000,000 for each occurrence and
                  $2,000,000 annual aggregate. If the professional liability (errors and omissions) insurance is written on a
                  claims made basis, then such insurance shall have a retroactive date no later than the date of the Agreement
                  and shall include a supplemental extended reporting period provision. Subcontractor shall require each of
                  its subcontractors and consultants providing engineering or architectural services to maintain separate errors
                  and omissions (professional liability) insurance coverages to protect against claims or damages arising out
                  of the performance of their respective services in furtherance of the Agreement.
The policies of insurance and coverage forms shall be in a form acceptable to Contractor and Contractor s agent and shall be
written by carriers who are duly licensed to provide coverage in the jurisdiction(s) where the Project is located (and the Work
is performed, if different). Each policy (with the exception of any policies for professional liability) shall be properly
endorsed to name Contractor as an additional insured for liabilities, claims, or risks arising out of the Work.
insurance policies and coverages also shall be endorsed so as to primary and noncontributory to any liability insurance carried
by Contractor for the same risk. No policy of insurance naming Contractor as an additional insured shall contain any
exclusion or prohibition against first-party claims or claims by any party named as an additional insured. In lieu of naming
Contractor as an additional insured as required herein, and with Contractor s express written consent, Subcontractor, at its
sole cost and expense, may purchase an Owner s & Contractor s Protective Liability Policy on behalf of Contractor, all in
form and substance acceptable to Contractor. Certificates of Insurance, and copies of policies if requested, acceptable to the
Contractor shall be delivered to the Contractor prior to commencement of the Work. Any insurance policies required by this
paragraph shall not be canceled or allowed to expire until at least thirty days (30) prior written notice has been given to
Contractor. The foregoing insurance coverages are required to remain in full force and effect for a period of three (3) years
after final payment by Contractor to Subcontractor, and an additional certificate evidencing continuation of such coverage
shall be submitted to the Contractor prior to final payment. Contractor or Subcontractor, as appropriate, shall require from its
Lower Tiers by appropriate agreements, written where legally required for validity, similar waivers each in favor of other
parties enumerated in this Paragraph.
17.4     Contractor and Subcontractor waive all rights against each other
and the Owner, Architect/Engineer, Architect/Engineer s consultants, and separate subcontractors described in Article 12, if
any, for damages caused by fire or other perils to the extent covered by property insurance applicable to the Project or the
Work, if any, except such rights as they may have to the proceeds of such insurance. Subcontractor shall require similar
waivers in favor of Contractor and Owner from Subcontractor s Lower Tiers.
                                                     ARTICLE 18
                                                 CORRECTION OF WORK
18.1      Subcontractor shall (a) promptly correct Work rejected by Contractor or known by Subcontractor to be defective or
failing to conform to the Contract Documents, whether observed before or after Substantial Completion and whether or not
fabricated, installed or completed, and (b) correct Work found to be defective or nonconforming within a period of one (1)


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year from the date of Substantial Completion of the Work or within such longer period provided by controlling law or any
applicable warranty in the Contract Documents.
18.2     Nothing contained in this Agreement shall be construed to either (a) establish a period of limitation with respect to
other obligations of Subcontractor, or (b) otherwise limit or waive any of Contractor s claims, rights, or remedies under this
Agreement, at law, or in equity. Paragraph 18.1 relates only to the specific obligation of Subcontractor to correct the Work
and has no relationship to the time within which the obligation to comply with the Contract Documents may be sought to be
enforced, nor to the time within which proceedings may be commenced to establish Subcontractor s liability with respect to
Subcontractor s obligations other than correction of the Work.
18.3     If Subcontractor fails to correct Work that is not in accordance with the requirements of this Agreement and the
Contract Documents, fails to adequately staff or man the Project, or fails to carry out Work in accordance with the Contract
Documents or Project Schedule, then Contractor, by written order signed personally or by an agent specifically so empowered
by Contractor in writing, and without waiving any of its other rights and remedies under this Agreement, at law, or in equity,
may order Subcontractor to stop the Work or any portion thereof until the cause for such order has been eliminated, or
Contractor may supplement Subcontractor s forces to complete or correct the defective Work and deduct all associated costs,
including administrative and legal fees, from the balance of the Subcontract Sum; however, Contractor s right to stop the
Work or supplement Subcontractors forces shall not give rise to a duty on the part of the Contractor to exercise the right for
benefit of the Subcontractor or other persons or entities. Contractor shall not be liable for damages on account of such
suspension or stop work order.
18.4     If Subcontractor defaults or neglects to carry out the Work in accordance with the Contract Documents and fails
within forty eight (48) hours after receipt of written notice from Contractor to commence and continue correction of such
default or neglect with diligence and promptness, Contractor may, without prejudice to other remedies the Contractor may
have, correct such deficiencies. In such case an appropriate Change Order shall be issued deducting from payments then or
thereafter due to Subcontractor the costs of correcting such deficiencies. If the payments then or thereafter due to
Subcontractor are not sufficient to cover the amount of the deduction, Subcontractor shall pay the difference to Contractor.
Such action by Contractor shall be without prejudice to any other rights or remedies of Contractor including, without
limitation, those set forth in ARTICLE 9 and ARTICLE 10.
Furthermore, with regard to any loss covered or paid under any policy of insurance of Subcontractor, Subcontractor, for itself
and its insurer, waive and release any and all claims of subrogation against Contractor and Contractor s insurer(s).
                                                      ARTICLE 19
                                               MISCELLANEOUS PROVISIONS
19.1     This Agreement shall be governed by the law of the State of Ohio.
19.2     Should any workers performing the Work engage in a strike or other work stoppage or cease to work due to
picketing or a labor dispute of any kind (except those to which Contractor is a party), Contractor may, at its option and
without prejudice to any other remedies it may have, after five (5) five days notice to Subcontractor and opportunity to cure,
provide any such labor and deduct the cost thereof from any monies then due or thereafter to become due Subcontractor.
Further, Contractor may at its option, without prejudice to any other remedies it may have, after five (5) days notice to
Subcontractor and opportunity to cure, terminate this Agreement pursuant to ARTICLE 20.
19.3      (a) All rights granted to Contractor hereunder shall be in addition to, and not in lieu of, Contractor s rights arising by
operation of law or in equity; (b) any provisions of this Agreement that are typewritten or handwritten by Contractor and
initialed by Contractor shall supersede any contrary or inconsistent printed provisions; (c) no modification of the terms of this
Agreement shall be valid unless in writing and signed by Contractor; (d) should any of the provisions of this Agreement be
declared by a court of competent jurisdiction or any arbitrator to be invalid, such decision shall not affect the validity of any
remaining provisions; (e) all of the terms herein shall apply to additional quantities of merchandise or services or work
ordered by Contractor except to the extent covered by a new Agreement; (f) the failure of Contractor to enforce at any time or
for any period of time any of the provisions hereof shall not be construed to be a waiver of such provisions or of the right of
Contractor at any time to enforce each and every such provision, and (g) this Agreement, together with any information or
                                                                                        Subcontractor    {{_es_:signer1:initials}}
                                                             15                               Initials
              Geis Construction South, LLC.


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                                                           Job No:                                  19-00-290

documents incorporated herein by reference, shall be deemed to contain the entire agreement between Contractor and
Subcontractor and to constitute the complete and exclusive expression of the terms of the agreement, all prior or
contemporaneous written or oral agreements or negotiations with respect to the subject matter hereof being merged herein.
19.4     For good and valuable consideration, including the negotiated price for the Work, under this Agreement, and to the
maximum extent permitted by applicable law, Subcontractor unconditionally waives and releases any and all mechanics lien
rights or claims of lien rights against the property or project or Contractor, or any and all attested account rights. To the
maximum extent permitted by applicable law, Subcontractor agrees not to file any mechanics liens or attested accounts to
secure payment under this Agreement. Subcontractor further agrees that any such lien shall be void and unenforceable and
shall constitute a substantial and material breach of this Agreement. Contractor shall be entitled to set off against any sums
due or to become due Subcontractor under this Purchase Order an amount equal to two times the amount of the lien claim of
Subcontractor or any of Subcontractor s Lower Tiers. Contractor shall be entitled to recover from Subcontractor the
attorneys fees, bond premiums, and expenses that Contractor incurs to defend and/or discharge any such mechanics lien.
19.5      Subcontractor shall not discriminate against any employee or applicant for employment because of race, religion,
color, sex, sexual orientation, national origin, disability, age, ethnic group, military status, Vietnam era or disabled veteran
status or ancestry. Subcontractor shall take affirmative action to ensure that applicants for employment are considered for
employment, and that employees are treated during employment, without regard to their race, religion, color, sex, sexual
orientation, national origin, disability, age, ethnic group, military status, Vietnam era or disabled veteran status or ancestry.
 Treated means and includes, without limitation, the following: recruited, whether by advertising or by other means;
compensated, whether in the form of rates of pay or other forms of compensation; selected for training, including
apprenticeship; promoted; upgraded; demoted; downgraded; transferred; laid off and terminated. Subcontractor will
incorporate the requirements of this paragraph in all of its contracts for any of the work undertaken on the Project (other than
contracts for standard commercial supplies or raw materials).
                                                   ARTICLE 20
                                           TERMINATION OF THE CONTRACT
20.1     If Subcontractor defaults or fails or neglects to carry out the Work in accordance with the Contract Documents or is
in default of any provision of the Agreement, Contractor, after three (3) days written notice to Subcontractor, and without
prejudice to any other remedy Contractor may have under this Agreement, at law, or in equity, may make good such
deficiencies and may deduct the cost thereof, including compensation for the Architect/Engineer s and Contractor s services
and expenses made necessary thereby, from the payment then or thereafter due to Subcontractor. Alternatively, at
Contractor s option, Contractor may terminate the Agreement and take possession of the site and of all materials, equipment,
tools, and construction equipment and machinery thereon owned by Subcontractor and may finish the Work by whatever
method Contractor may deem expedient. If the unpaid balance of the Contract Sum exceeds costs of finishing the Work,
including compensation for the Architect/Engineer s services and Contractor s Services, together with a 25% markup for
overhead and profit, and expenses made necessary thereby, such excess shall be paid to Subcontractor, but if such costs
exceed such unpaid balance, Subcontractor shall pay the difference to Contractor, together with any legal fees incurred by
Contractor in enforcing the Agreement. Any default termination under this Paragraph that subsequently may be determined
to be unjustified or unwarranted shall be treated solely as a convenience termination under Paragraph 20.2, and
Subcontractor s damages shall be limited accordingly, all other claims and rights of Subcontractor being expressly waived.
20.2     Contractor may terminate this Agreement at any time for Contractor s convenience, and without cause. In such
event, Subcontractor shall not be entitled to recover any anticipated lost profits on Work non-performed. Subcontractor shall
only be entitled to recover the value of Work properly completed and stored as of the date of Contractor s written notice to
Subcontractor of Contractor s intent to terminate the Agreement, plus any additional work performed thereafter at the written
request of Contractor, together with the cost incurred to secure the site, and the cost of any previously fabricated and stored
materials that Contractor desires to retain, plus reasonable restocking charges actually paid by Subcontractor to third parties
and approved by Contractor. Cancellation costs are not permitted or compensable.



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              Geis Construction South, LLC.


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                                                 ARTICLE 21
                                        OTHER CONDITIONS OR PROVISIONS
See Schedule 5 for additional Terms and Conditions, if applicable.



Contractor: Geis Construction South, LLC.

By: {{_es_:signer2:signature}}

Title: President



Subcontractor:     M.D.C.

By: {{_es_:signer1:signature}}

Title: {{_es_signer1:title}}




                                                                      Subcontractor    {{_es_:signer1:initials}}
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              Geis Construction South, LLC.


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                                                  SCHEDULE 1


         Contractor Contact Person:

         Project Manager: Kevin Watts
         Phone: 440-454-5195

         Procore Questions: melissah@geisco,net

         Contract Questions: debra@geisco.net

         Submit All Documentation To:

         Geis Construction South, LLC.
         C/O Construction Accounting
         10020 Aurora Hudson Road
         Streetsboro, OH 44241

         Phone: (330)528-3500
         Facsimile: (330)528-0008




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              Geis Construction South, LLC.


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                                                       SCHEDULE 2

                                                Milestone Dates Schedule

                  Milestone Date                                                 Date
                                                     To be Determined

Construction Schedule
Within one week of the date of this Agreement, Subcontractor shall deliver to Contractor a construction schedule relating to
Subcontractor s Work. Contractor, in its discretion, will incorporate the information provided if acceptable to Contractor into
the project construction schedule (the Construction Schedule ) consistent with the Milestone Dates Schedule and the Master
Project Schedule. The Construction Schedule information furnished by Subcontractor shall be a detailed and comprehensive
schedule utilizing a critical path method (CPM) arrow diagram network that (a) shows all major elements and phases of the
Project, (b) breaks down each element or phase by trade and (c) otherwise is in a form satisfactory to Contractor.
Subcontractor shall investigate and recommend a schedule for the purchase of materials and equipment requiring long lead
time procurement, and shall coordinate the schedule with the early preparation of the Construction Schedule. The
Subcontractor shall update the information relating to its work in relation to the Construction Schedule no less than every two
weeks throughout the duration of the Project, and with each payment application.



Meetings; Reports; Schedule Updates
Subcontractor shall attend pre-construction, construction and progress meetings to discuss such matters as procedures,
progress, problems and scheduling as required and/or requested.

Subcontractor shall update and distribute, on a monthly basis, information incorporating the activities of Subcontractors and
Sub-subcontractors on the Project, including processing of Shop Drawings and similar required submittals and delivery of
products requiring long lead time procurement and showing current conditions and revisions required by actual experience.
Subcontractor shall include the Project occupancy requirements showing portions of the Project having occupancy priority, as
directed by Contractor. Subcontractor shall maintain the progress of all Work in accordance with the Construction Schedule.

Subcontractor shall submit to Contractor a form of monthly progress report for use on the Project for Contractor s review,
comment, and acceptance. Upon acceptance by Contractor, the form of monthly Project progress report shall establish the
standard for detail required for the remainder of the Project. At a minimum, the monthly Progress Report will contain the
following: (a) listing of actual costs for completed activities and estimates for uncompleted tasks, (b) include the updated
Construction Schedule, (c) progress photos, (d) an executive summary, (e) a discussion of pending items and existing or
anticipated problems, status of RFIs, (f) a safety and accident report, (g) information on each Subcontractor and each
Subcontractor s work as well as the entire Project, showing percentages of completion and the number and amounts of
Change Orders and relating such information to the Construction Schedule, (h) if necessary, the schedule and action plan
required by the Agreement and (i) such other relevant information as may be required by Contractor from time to time. The
Progress Report shall be indexed, bound and tabulated in a manner acceptable to Contractor.

Subcontractor shall keep a daily log containing a record of weather, Subcontractor s Work on the site number of workers,
Work accomplished, problems encountered, and other similar relevant data as Contractor may require. Subcontractor shall
provide a copy of the log to Contractor upon request.




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              Geis Construction South, LLC.


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                                                           Job No:                         19-00-290

                                                         SCHEDULE 3

                                                         Contract Sum



REFERENCE NO. /            ITEM                                  UNIT OF                      UNIT
                                           DESCRIPTION                     QUANTITY                          TOTAL
     COST                   NO.                                 MEASURE                      PRICE




 TOTAL SHEET 1




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                                                     Job No:                             19-00-290

                                                  SCHEDULE 4

                                            List of Contract Documents

              1.   Affidavit of Sub (original) Contractor
              2.   Prime Contract documents (See ProCore for Copies)




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                                                   SCHEDULE 5
                                                      PART 1
  1. Pay Applications are to be submitted on the approved Contractor Pay Application Form.

  2. Original Notarized Waivers of Lien are required to be submitted with each and every Pay Application from this
  Subcontractor, as well as this Subcontractor s Lower Tiers,

  3. Insurance Requirements as outlined in this Agreement

  4. DAMAGE OR DESTRUCTION: Subcontractor shall cover and at all times adequately protect the work and
  the Materials or Services from damage until final acceptance by Contractor s customer, and shall properly store and
  protect its own materials furnished to it by others. Subcontractor shall be responsible for any damage to or
  destruction of the work, the Materials or Services, and any other equipment, tools and personal property at the
  premises, whether owned, rented or used by Subcontractor or anyone performing any of the work. Subcontractor at
  its expense shall, as directed by Contractor, replace, repair, or restore any thereof which are damaged or destroyed,
  whether such destruction or damage results from acts of God, fire, public enemy, civil commotion, vandalism, acts
  of omission or commission by any person, firm, or corporation. Risk of loss with respect to the work, Materials, or
  Services shall remain with Subcontractor until final acceptance of the completed work and the Materials or Services.
  Until such final acceptance, any damage or destruction of the work or the Materials or Services, however caused,
  shall be made good by Subcontractor at no extra charge or cost to Contractor. Such rework at Subcontractor s
  expense shall not preclude Subcontractor from making a claim under any insurance maintained for the benefit of
  Subcontractor, but the right to make or the pendency of such claim shall not give cause to Subcontractor to delay the
  commencement or completion of such rework.

  5. PRECEDING WORK: Subcontractor, before beginning the Work, shall carefully examine the work of others
  which may affect the work or the Materials or Services, determine whether it is in a fit, ready and suitable condition
  for the proper and accurate performance of the work and furnishing of the Materials or Services, use all means
  necessary to discover defects in such other work, and notify Contractor in writing of any claimed deficiencies which
  may affect the work or Materials or Services. If such notice is not so given, all such work shall be deemed
  acceptable to Subcontractor. In case of a dispute as to whether such other work is deficient, Subcontractor
  nevertheless shall proceed immediately with the Work when notified by Contractor to proceed.

  6. DEDUCTIONS AND SET-OFF: Any sums payable to Subcontractor shall be subject to all claims and
  defenses of Contractor or any of its affiliated companies, whether arising from this or any other transaction or
  occurrence, and Contractor may set-off and deduct against any such sums all present and future indebtedness of
  Subcontractor or any of its affiliated companies to Contractor or any of its affiliated companies.

  7. SHOP DRAWINGS: Subcontractor shall, at its own expense, prepare and submit to Contractor such shop
  drawings, samples, models and other submittals for the Materials or Services as may be requested by Contractor.
  Subcontractor must identify in writing any adjustments or modifications of the Contract requirements reflected in
  Subcontractor s shop drawings. Such shop drawings, samples, models, and other submittals shall be approved in
  writing by such persons as Contractor may designate before Subcontractor proceeds under this Agreement. No
  approval of any submittals nor the making of any payment to Subcontractor shall constitute an acceptance of any
  Materials or Services or impair Contractor s right of inspection or rejection or any other rights or remedies to which
  Contractor may be entitled, or relieve Subcontractor from any of its obligations or warranties hereunder.



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  8. NO ASSIGNMENT: Absent Contractor s written consent, Subcontractor may not assign any rights or delegate
  any duties that Subcontractor may have under this Agreement, in whole or in part. Any assignments or delegation in
  violation of the foregoing is void and not binding on Contractor. No such assignment or delegation shall bar
  Contractor from asserting against Subcontractor, or the transferee, or both, any claim or rights that Contractor may
  have against Subcontractor, including rights of recoupment or set-off.




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                                                    SCHEDULE 5
                                                      PART 2

  CONTRACTOR HOLD HARMLESS AND INDEMNITY

  Subcontractor has agreed that from time to time it will perform as an independent contractor certain work for Geis
  Construction South, LLC. hereinafter referred to as the Contractor. The Subcontractor agrees to do the work in a
  prudent manner, be responsible for the condition of the work site and take all proper steps to carry out the work in a
  safe manner. Contractor and Subcontractor further agree as follows:

  INDEMNIFICATION

  1.        (a) To the fullest extent permitted by law, Subcontractor shall defend, indemnify and hold harmless
  Contractor and any related entities ( Indemnitees ) from any damages or liabilities which may be incurred by any
  Indemnitee due to personal injury or death, damage to property or violation by subcontractor of any governmental
  law, rule or regulation which is in any way connected with Subcontractor s performance of the work, except to the
  extent caused by the negligence or willful misconduct of an Indemnitee.
            (b) In addition, to the fullest extent permitted by the law Subcontractor agrees to indemnify and hold
  harmless the Indemnitees against all claims for damages, losses, liens, causes of action or suits, brought by
  employees of Subcontractor to the extent such are caused by, or alleged to have been caused by, in whole or part the
  negligence of Subcontractor, Contractor s negligence in its decision to hire Subcontractor, and/or Contractor s
  failure to adequately supervise Subcontractor or subcontractor s employees.

  2.       To the fullest extent permitted by law, Subcontractor shall indemnify and hold harmless all Indemnitees
  against all liens, claims, and demands which arise in connection with the work or materials supplied by
  Subcontractor and, upon request by Contractor, Subcontractor shall furnish Contractor with any evidence that it may
  require to satisfy itself that all such claims, liens or demands have been paid and discharged.

  3.      To the fullest extent permitted by law, Subcontractor shall defend, protect, indemnify and hold harmless the
  Indemnitees against claimed or actual infringement or contributory infringement of any patent or infringement of
  any copyright or trademark arising from Subcontractor s work.

  4.       Subcontractor s indemnity obligations shall not limit and shall not be limited by the insurance coverages set
  forth anywhere else in this Agreement or any other Agreement.

  This Agreement will cover all business relations and transactions between the parties until revoked by written notice
  in writing to Contractor. Please sign and return this form to Contractor.


  Subcontractor: M.D.C.                                          General Contractor: Geis Construction South, LLC.

  By {{_es_:signer1:signature}}                                  By {{_es_:signer2:signature}}

           Authorized Representative

  151 S. 11th Street, Lindenhurst, New York 11757



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  Geis Construction South, LLC.


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                                                    SCHEDULE 6

                     INSURANCE AND WORKER S COMPENSATION REQUIREMENTS:

  All subcontractors shall purchase and maintain insurance of the following types of coverage and limits of liability
  (Section 17.2 of the Agreement shall govern over any inconsistent provision below). These coverages shall be
  primary and non-contributory:

  1.   Commercial General Liability (CGL) with limits of Insurance of not less than $1,000,000 each occurrence and
       $2,000,000 Annual Aggregate.
           a. If the CGL coverage contains a General Aggregate Limit, such General Aggregate shall apply
               separately to each project.
           b. CGL coverage shall be written on ISO Occurrence from CG 00 01 1093 or a substitute form providing
               equivalent coverage and shall cover liability arising from premises, operations, independent
               contractors, products-completed operations, and personal and advertising injury.
           c. Contractor, Owner, and all other parties required of the Contractor, shall be included as insured on
               CGL, using ISO Additional Insured Endorsement CG 2010 and CG 2037 04/13 or their equivalent.
               This insurance for the additional insureds shall be as broad as the coverage provided for the named
               insured subcontractor. It shall apply as primary and non-contributing insurance before any other
               insurance or self-insurance, including any deductible, maintained by, or provided to, the additional
               insured.
           d. Subcontractor shall maintain CGL coverage for itself and all additional insureds for the duration of the
               project and maintain Completed Operations coverage for itself and each additional insured for at least
               3 years after completion of the Work.
  2.   Automobile Liability
           a. Business Auto Liability with limits of at least $1,000,000 each accident.
           b. Business Auto coverage must include coverage for liability arising out of all owned, leased, hired and
               non-owned automobiles.
           c. Contractor, Owner, and all other parties required of the Contractor, shall be included as insureds on the
               auto policy.
  3.   Commercial Umbrella
           a. Umbrella Limits must be at least $2,000,000.
           b. Umbrella coverage must include as insureds all entities that are additional insureds on the CGL.
           c. Umbrella coverage for such additional insureds shall apply as primary before any other insurance of
               self-insurance, including any deductible, maintained by, or provided to, the additional insured other
               than the CGL, Auto Liability and Employers Liability coverages maintained by the Subcontractor.
  4.   Workers Compensation and Employers Liability
           a. Employers Liability Insurance limits of at least $500,000 each accident for bodily injury by accident
               and $500,000 each employee for injury by disease.
           b. Where applicable, U.S. Longshore and Harbor Workers Compensation Act Endorsement shall be
               attached to the policy.
           c. Where applicable, the Maritime Coverage Endorsement shall be attached to the policy.

  5.   Waiver of Subrogation. Subcontractor waives all rights against Contractor, Owner, and Architect and their
       agents, officers, directors and employees for recovery of damages to the extent these damages are covered by
       commercial general liability, commercial umbrella liability, business auto liability or workers compensation and
       employers liability insurance maintained per requirements stated above.


                                                                                               {{_es_:signer1:initials}}
                                                       26                           Initials
  Geis Construction South, LLC.


  Geis Form Rev. 2018-3
  10935544.1
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                                     1087
                                                          P.O. No.:                              1900290-001
                                                     Project Name:                              Wonder Lofts
                                                          Address:                          720 Clinton Street
                                                                                    Hoboken, New Jersey 07030
                                                            Job No:                                 19-00-290

  6.   Attached to each certificate of insurance shall be a copy of the Additional Insured Endorsement that is part of
       the Subcontractor s Commercial General Liability Policy. These certificates and the insurance policies shall
       contain a provision that coverage under the policies will not be canceled or allowed to expire until at least 30
       days prior written notice has been given to the Contractor.




                                                                                               {{_es_:signer1:initials}}
                                                       27                           Initials
  Geis Construction South, LLC.


  Geis Form Rev. 2018-3
  10935544.1
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             EIO                                                                                                       Contract
        COMPANIES
                                                                                                                    1900290-001
Geis Companies                                                                                                  Project: 19-00-290 - Wonder Lofts
10020 Aurora Hudson                                                                                                             720 Clinton Street
Streetsboro, Ohio 44241                                                                                              Hoboken, New Jersey 07030
Phone: (330) 528-3500
Fax: (330) 528-0008

                                           Concrete Masonry & Earthworks
DATE CREATED:                                   06/20/2019
CONTRACT COMPANY:                               M.D.C.                             CREATED BY:                 Kevin Watts (Geis Construction)
                                                151 S 11th Street                                              10020 Aurora Hudson Road
                                                Lindenhurst, New York 11757                                    Streetsboro, 44241
                                                Phone: (631) 592-8072
CONTRACT STATUS:                                Approved                           EXECUTED:                   No
START DATE:                                     06/24/2019                         ESTIMATED COMPLETION DATE: 01/24/2020
SIGNED CONTRACT RECEIVED DATE:                                                     ACTUAL COMPLETION DATE:
                                       .    .        .

DEFAULT RETAINAGE:                              10.0%
DESCRIPTION:
Concrete, Masonry, and Earthworks

INCLUSIONS:
The concrete scope to include the following for A, B, C, D & E Buildings:

    •   All pile caps & grade beams
    •   Matt slabs
    •   All doweling, rebar, epoxy, expansion bolts, chairs, hangers, accessories, ect
    •   All flat plate concrete
    •   New Concrete Columns
    •   Raised concrete slabs
    •   Shear walls
    •   Elevator pits
    •   All slab on grade concrete
    •   Slab on Comm-slab concrete
    •   Metal pan stair concrete
    •   All concrete column reinforcing/encasement
    •   Cast in place stairs for the D & E buildings (may be value engineered out for a credit?)
    •   Shoring of C-building facade wall
    •   All excavation and backfill for your work
    •   All layout for your work
    •   Control and Benchmarks by owner
    •   All equipment, tools, and formwork as required
    •   All shoring as required for your work
    •   Submittals, shop drawwings, and details as required
    •   Taxes
    •   Freight

The Masonry Scope to include the following for the A, B, C, D & E building:

    •   All CMU block
    •   All Masonry reinforced as required
    •   All mortar, grout and additive as required
    •   Equipment tools scaffolding etc as required for your work
    •   Taxes
    •   Freight

The Demolition scope to include the following for the A, B & C building

    •   Demolition and removal of the 4th floor slab and beams
    •   Demolition of brick parapets and wall sections per bid drawings -
    •   Provide all equipment, tools, and trucking for your work
    •   Demolition of curbs and sidewalks as required for new installation of same

The Sitework scope shall include the following for the A, B, C, D & .E buildings

    • All concrete curbs


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                                                                                                                                         Contract
                                    COMPANIES
                                                                                                                                      1900290-001
                                •   All asphalt patching
                                •   Excavation and backfill for your work
                                •   314 clean stone under sidewalks
                                •   ADA ramps with ADA tactile inserts
                                •   Relocate storm drain
                                •   Planter Walls
                                •   Traffic control as required for your scope of work
                                •   Trees, soil and plantings by others
..•.,•
             ..•..•...••..•••
                                                     ,••.•,•••••
         EXCLUSIONS:

                                •   Permits
                                •   inspection fees
                                •   Tress soil and plantings by others
                                •   Lead, asbestos and any other abatements
           • •• ••—• •
     ATTACHMENTS:
     MDC SOV.pdf MDC Proposat_odf Surety Bond.pdf attachment_gaerformance and_productivity_pdf Itemized Estirnate.pdf OCIP Subcontractor
     Instructions Wonder Lofts-Dl.pdf Attachment E General Conditionspdf Attachment F - Safety_pcif Attachment H - General Rep_PCM WL.pdf
     Attachment K WL.odf GEIS -WI_ revised with all attachments.pdf



          #                                      COST CODE                                     DESCRIPTION             TYPE                    AMOUNT
         1                      01-010 - Mobilization,Shop Drawings,Sub        Mobilization,Shop Drawings,Sub       Subcontract                     $ 200,000.00
          2                     01-011 - Demolition (Brick                     Demolition (Brick)                   Subcontract                      $ 65,840.00
          3                     01-012 - Demolition (4th FIr)                  Demolition (4th Fir)                 Subcontract                      $ 66,600.00
         4                      01-015 - Concrete Pile Caps                    Concrete Pile Caps                   Subcontract                    $ 1,379,375.00
         5                      01-021 - Concrete Salb on Grade                Concrete Slab on Grade               Subcontract                     $ 438,739.00
         6                      01.022 - Concrete Salb on Deck/Com-            Concrete Slab on Deck/Com-Slab       Subcontract                     $ 178,323.00
                                Slab
         7                      01-023 - Shear Walls                           Shear Walls                          Subcontract                     $ 428,340.00
         8                      01-024 - Elevator Pits                         Elevator Pits                        Subcontract                      $ 30,000.00
         9                      01-025 - Metal Pan Stairs                      Metal Pan Stairs                     Subcontract                     $ 112,500.00
         10 01-026 - Column Reinforcing                                        Column Reinforcing                   Subcontract                     $ 170,400.00
         11 01-027 - Concrete Struct:Deck/Slab/CIm                             Concrete Struct:Deck/Slab/Clm        Subcontract                   $ 2,245,375.00
         12 01-028 - CMU Masonry                                               CMU Masonry                          Subcontract                     $ 387,945.00
         13 02-011 - Mobilization,Shop Drawings/Sub                            Mobilization,Shop Drawings/Sub       Subcontract                      $ 25,000.00
         14 02-020 - Demolition (MC)                                           Demolition (NIC)                     Subcontract                            $ 0.00
         15 02-021 - Concrete Pile Caps                                        Concrete Pile Caps                   Subcontract                     $ 243,763.00
         16 02-022 - Concrete Salb on Grade                                    Concrete Slab on Grade               Subcontract                      $ 87,716.00
         17 02-023 - Shear Walls                                               Shear Walls                          Subcontract                      $ 56,640.00
         18 02-030 - Cast in Place Stairs                                      Cast in Place Stairs                 Subcontract                      $ 50,000.00
         19 02-050 - Soncrete Struct;Decks,Sabs,Clm Concrete Struct;Decks,Slabs,Clm                                 Subcontract                     $ 522,963.00
         20 02-052 - CMU Masonry                                               CMU Masonry                          Subcontract                      $ 89,347.00
         21 04-020 - Mobilization,Shop Drawings,Sub                            Mobilization,Shop Drawings,Sub       Subcontract                      $ 25,000.00
         22 04-021 - Demolition (MC)                                           Demolition (NIC)                 ,   Subcontract                           $ 0.00
         23 04-022 - Concrete Pile Caps                                        Concrete Pile Caps                   Subcontract                     $ 111,700.00
         24 04-029 - Concrete Slab on Grade                                    Concrete Slab on Grade               Subcontract                      $ 34,456.00
         25 04-030 - Shear Walls                                              ,, Shear Walls                        Subcontract                      $ 68,440.00
         26 04-031 - Cast in Place Stairs                                      Cast in Place Stairs                 Subcontract                      $ 50,000.00
         27 04-032 - Column Reinforcing                                        Column Reinforcing                   Subcontract                     $ 218,990.00
         28 04-033 - CMU Masonry                                               CMU Masonry                          Subcontract                      $ 77,708.00
         29 05-010 - Site Demo                                                 Site Demo                            Subcontract                      $ 38,014.00

Geis Companies                                                                                 Page 2 of 3                    Printed On: 06/21/2019 12:11 PM
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           EIO                                                                                            Contract
      COMPANIES
                                                                                                       1990290-001
 30 05-011 - Concrete Curb         Concrete Curb                                    Subcontract                       $ 23,450.00
 31 05-012 - Concrete Side Walks   Concrete Side Walks                              Subcontract                      $ 237,891.00
 32 05-013 - Paving                Paving                                           Subcontract                       $ 14,145.00
                                                                                        Grand Total:               $ 7,678,660.00




Geis Companies                                                   M.D.C.
10020 Aurora Hudson                                              151 S 11th Street
Streetsboro, Ohio 44241                                          Lindenhurst, New York 11757




SIGNATURE                                   DATE                 SIGNATURE                                                 DATE



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                             Job Number 19-00-290
                            Contract #: 1900290-001
                               Task Codes Below

   Cost Code                   Description of Work                 Scheduled
       #                                                             Value
                                    Building A B C
01-010         Mobilization, Shop Drawings, Submittals                       200,000.00
01.011         Demolition (Brick)                                             65,840.00
01-012         Demolition (4th Fl)                                            66,600.00,
01-015         Concrete pile caps                                          1,379,375.00
01-021         Concrete slab on grade                                        438,739.00
01-022         Concrete slab on deck / Comm-Slab                             178,323.00
01-023         Shear Walls                                                   428,340.00
01-024         Elevator pits                                                  30,000.00
01.025         Metal pan stairs                                              112,500.00
01-026         Column reinforcing                                            170,400.00
01-027         Concrete Structure;Decks, Slabs & Columns                   2,245,375.00
01-028         CMU Masonry                                                   387,945.00
                                     Building D
02-011         Mobilization, Shop Drawings, Submittals                          25,000.00
02-020         Demolition                                                            NIC
02-021         Concrete pile caps                                              243,763.00
02-022         Concrete slab on grade                                           87,716.00
02-023         Shear Walls                                                      56,640.00
02-030         Cast in Place Stairs                                             50,000.00
02-050         Concrete Structure;Decks, Slabs & Columns                       522,963.00
02-052         CMU Masonry                                                      89,347.00
                                     Building E
04.020         Mobilization, Shop Drawings, Submittals                          25,000.00
04-021         Demolition                                                            MC
04-022         Concrete pile caps                                              111,700.00
04-029         Concrete slab on grade                                           34,456.00
04-030         Shear Walls                                                      68,440.00
04-031         Cast in Place Stairs                                             50,000.00
04-032         Column reinforcing                                              218,990.00
04.033         CMU Masonry                                                      77,708.00
                                      Site work
05-010              Site Demo                                                   38,014.00
05-011              Concrete Curb                                               23,450.00
05-012              Concrete side walks                                        237,891.00
05-013              Paving                                                      14,145.00

                                     Totals                                7,678,660.00
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                                                                                         151 S 11th St
                                                                          Lindenhurst, New York 11757
                                                                                         United States
       •
                                                                               Phone: (631) 592-8072
                                                                               Mobile: (516)468-2032
                                                                         JAIMEMIDCINC@GMAIL. COM


 BILL TO                                                     Estimate Number: 0020
 Geis Construction
                                                                Estimate Date: June 11, 2019
                                                                   Expires On: November 11, 2019
                                                            Grand Total (USD): $7,558,221.00




 Concrete                                           1              $6,689,721.00     4-7 $6,689,721,00
 Concrete foundation/ structure and related work.

SIDEWALKS / PLANTERS AND CURBS                                      $313,500.00 44-1...p $313,500.00

emu                                                                 $555,000.00 ot   3   .7).   $555,000.00

Demo                                                1                     $0.00                      $0.00
ADD /ALT
Demo brick
$65840.00

 leafed                                             1                     $0.00                      $0.00
 ADD/ ALT
/DEMO
 $471600.00/1


                                                                          Total:          $7,558,221.00


                                                              Grand Total (USD):          $7,558,221.00
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                                                                            Lindenhurst, New York 11757
                                                                                           United States

                                                                                 Phone: (631) 592-8072
                                                                                 Mobile: (516)465-2032
                                                                           JAINIEMDCINC@GMAILCOM


BILL TO                                                        Estimate Number: -0013
Geis Construction
                                                                  Estimate Date: May 22, 2019
                                                                     Expires On: November 22, 2019
                                                               Grand Total (USD): $393,100.00




  •,„:;i7,1;aj •                                                             ,4P.M:to

demo                                                    3700               $18.00           $00,600.€0
4th floor demo
trucks and dump
price per sqft

side w lk I planters                                                  $338,500,00          $338,500,00
demo and install all side walks and planters
-planters to be non decorative(rough concrete finish)

credit                                                                ($12,000.00) i*      012,000,00)
not using gravel under snag but blinding with blend
(d.e.c.nianifest)


                                                                            Total:         $393,100.00


                                                                Grand Total (USD):         $393,100.00
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                                                                                    Lindenhurst, New York 11757
                                                                                                   United States
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                                                                                         Phone: (631) 592-8072
                                                                                         Mobile: (516)468-2032
                                                                                    JA1MEMDCINC@GMAIL.COM


  BILL TO                                                               Estimate Number: 0017
  Geis Construction
                                                                           Estimate Date: May 30, 2019
                                                                              Expires On: November 30, 2019
                                                                        Grand Total (USD): $471,600.00



                                                                                                           04.

  C BUILDING                                             1                     $175,000.00         $175,000.00
  DEMO AS PER D101-D103
  -INCLUDES TRUCK AND DUMP
  -EXCLUDES LEAD, ASBESTOS, AND ANY OTHER
  ABATEMENTS
  -DUST CONTROL WITH WATER
  -WATER AND/OR ACCESS TO WATER TO BE
  SUPPLIED BY OWNER
  -WILL BE DONE IN CONJUNCTION WITH SHEAR
  WALLS
  -EXCLUDES SHORING

/ 4TH FLOOR                                                                     $66,600.00          $66,600.0€
  DEMO ENTIRE 4TH FLOOR
  €DEMO AS PER L1101-D103
  -INCLUDES TRUCK AND DUMP
  -EXCLUDES 'LEAD, ASBESTOS, AND ANY OTHER
  ABATEMENTS
  -DUST CONTROL WITH WATER
  -WATER AND/OR ACCESS TO WATER TO BE
  SUPPLIED BY OWNER
  -EXCLUDES SHORING

 D UILDING                                               1                     $195,000.00         $195,000.00
 DEMO 100%100
 INCLUDES TRUCK AND DUMP
 -EXCLUDES LEAD, ASBESTOS, AND ANY OTHER
 ABATEMENTS
 -DUST CONTROL WITH WATER
 -WATER AND/OR ACCESS TO WATER TO BE
 SUPPLIED BY OWNER
 -PRICE GOOD FOR 30 DAYS DUE TO C&D COST
 FLUXUATION'
 -EXCLUDES SHORING




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      ex)                                                                     ESTIMATE
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                                                                                               151 5 11th St
                                                                                Lindenhurst, New York 11757
                                                                                               United States

                                                                                     Phone: (631) 592-8072
                                                                                      Mobile: (516)468-2032
                                                                                JAIMEMDCINC@GMAILCOM



                                                       11

E BUILDING                                                                  $35,000.00           $35,000,00
EBUILDING/PARKING LOT
43)X1001
-REMOVE ASPHALT
-THICKNESS UNKNOWN
-ALLOWANCE FOR 6"
-INCLUDES TRUCK AND DUMP
-EXCLUDES LEAD, ASBESTOS, AND ANY OTHER
ABATEMENTS
-DUST CONTROL WITH WATER
-WATER AND/OR ACCESS TO WATER TO BE
SUPPLIED BY OWNER


                                                                                               $471,600.00


                                                                     Grand Total (USD):        $471,600.00

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                      EDWARDS AND COMPANY

         l'-!STRUCTiO j L/       A   FSTAT'Z. P          T I CIE



    June 14, 2019

    GEIS Companies
    10020 Aurora Hudson
    Streetsboro OH, 44241

    Attention: To whom this may concern
    RE: MDC HI, Inc.

    Please accept this letter as verification that MDC HI Inc. has a Surety Bond Program with a
    $10,000,000.00 aggregate limit procured through Edwards & Company Insurance Brokerage placed with
    Liberty Mutual.

    There are currently no open bonds outstanding at this time. 2018 tax returns and current interm
    financials have been reviewed as of June 1, 2019 and this program is active.

    If you should have any questions please feel free to contact me. I look forward to continuing a long a
    prosperous business relationship with Mr. Delahunt and his organization.

    Respe




    Sean P. Flaherty, CRIS
    Senior Vice President
    Edwards & Company Insurance
    Construction & Real Estate Practice Group
    0.; (531) 472-8423     •
    C; 016) 445-1018 -
    sflahertyeedwardsandco.net


    Cc; File




    140 Greene Ave., Sayville, NY 11782   1 sflahertreedwardsandco.net I   (0) 631472-8423   (C) 516-445-1018
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                                         ATTACHMENT "G"
                              Performance and Productivity information



    Provide all of the open items in the box below:

    Submittal Lead Time:
    Indicate the amount of time from notification to proceed, to prepare and furnish all of the required
    shop drawings, cut sheets, specification data sheets, samples, etc. Submit separate lead time
    information for each major corriponent of the work.

    Material. Lead Time:
    Indicate the days/weeks for fabrication, shipping, and delivery of equipment and materials to the
    job site. Submit separate lead time information is to be submitted for each major component of the
    work.

    Installation Duration:
    Indicate the number of days/weeks that it will take to start and complete the work of each activity.

    Crew Size:
    Indicate the crew size for each specific project activity.

    Quantities;
    List the quantity of materials required for each work activity.

       ACTIVITY         SUBMITTAL        MATERIAL           INSTALL   CREW       QUANTITY       UNIT-7
                        LEAD TIME        LEAD TIME         DURATION    SIZE
          c...,




                                                       L
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                                                                                                                                    1098
                                                                                                                                 Wonder Lofts                                       6/1E2019
                                                                                                                                 Hoboken, NJ.




                                                                                        GEIS CONSTRUCTION SOUTH



                                                                                       MDC Demolition! Sidewalk! Concrete! CMU Block




                                                                                  Section                     Trade                                        Amount
                                                                                  02060 Demolition 4th Floor Building A                                    66,600
                                                                                  02060 Demolition Brick Façade                                            65,840
                                                                                          Credit Gravel                                             $     (12,000)
                                                                                  02200 Sidewalks & Curbs                                           $     313,500
                                                                                  00000 Demolition Brick Façade                                     $   6,689,721
                                                                                  04200 C.M.U. Block                                                $     555,000
                                                                                          M.D.C. Direct Trade Total




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                                                                 107                              Case 2:20-cv-03834-MKB-JMW Document 27-1 Filed 04/11/22 Page 50 of 392 PageID #:
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                                                                                                                                                                  Hoboken, NJ.




                                                                                             B CONSTRUCTION SCIUTH, LIZ




                                                                                       02060 Demolition 4th Floor Building A
                                                                                                               Building A, 4th. Fir. Demo slab & beams                                                             LS         66,600       66,600
                                                                                                  1Demolition 4th Floor Building A                                                                                                                     $       66,600
                                                                                       02060 Demolition Brick Façade
                                                                                                             1Building C, Brick Facade                                                                             LS         65,840 $     65,840
                                                                                                  IDemolition Brick Façade                                                                                                                                     65,840
                                                                                                    Credit Gravel
                                                                                                             !Building A, B, C, eliminate gravel under S.O.G,                                                      LS         (12,000). $ (12,000)
                                                                                                  [Demolition Brick Facade                                                                                                                             $       (12,000)
                                                                                                             ;Foundation & Concrete Structure
                                                                                                                                                   Building A
                                                                                                               Building A, excavate in existing bUilding, small machine & hand excavate in .
                                                                                                                                                                                              1       316 CY            1$       250 $     79,000 •
                                                                                                             !confined space                                                                           —
                                                                                                         _ Excets fill dispose off site                                                               316 CY                      40 1 $ 12,640
                                                                                                  I             Concrete Wash Stations                                                                  1 _ EA                 3,500 1 $   3,500
                                                                                                             ,Pile Caps                                                                               275 i       CY    . $     .750 • $ 206,250
                                                                                                  1-W Grade Beam GBM1-1, 223 If.                         1                                             21 I,. CY        ,$       750. . $ 18750            •
                                                                                                              ,Mat Slab 36" thk                                                                                   CY
                                                                                                                                                                                            -.1i       12 '                      500 ,, $  6,000 . •
                                                                                                              1Drill # 6 re bar, 30" long into ex pile caps, embed 7", 8 per side              1       48         EA     $       125 $     6,000
                                                                                               ......._ ,      Form   &  pour elev pits .                                                      !        2         EA          12,500 j $ 25,000
                                                                                                         --iUnder Slab Vapor Barrier 8 mil polyethelene;                                            3,660         SF    '$      1.75 ! $   6,405 .
                                                                                                              iCrystaline waterproofing interior sides of pits; wails & floors;                .      520.,.. ... SF      $       13 $     6,500
                                                                                                             1Surface/Rain Water - Local Dewatering                                            „        1         LS    ( $   15,000 . $ 15,000
                                                                                                                                                                       Foundation Building A                            1                                      382,045
                                                                                                                                                   Building B                                            .              I              i
                                                                                                                Building B, excavate in existing building, small machine & hand excavate in           419:         CY   •$         250 $ 104,750
                                                                                                             !confined space. •                                                                                                                   . „
                                                                                                   . . i Excess fill dispose off site                                                          i      419 1,       CY     $         40 . $ 16,760 ,1
                                                                                                              1PC P3A ..& P61 4-,0 ' " thk                                                  1.1.      162 t    •   CY   1          750 i $ 121,500 •
                                                                                   ,..,......     1._..__...:. .PC P3B & PC 3C 3'-6" thk                                               .       i       18. 1       CY   I$         750 1 $ 13,500
                                                                                              . I               PC P5,P6, P7, P11, PISA,- P15B, P17, P25 V-9" thk                               '     221 i        CY   1$       . 750 1 $ 165„750


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                                                                                                                                                        Wonder Lofts
                                                                                                                                                        Hoboken, NJ.




                                                                                        GEIS CONSTRUCT!                SOUTH, I-LO




                                                                                                        TI303 38" X 36", 25 If                                                               CY              750....;....$     6,750
                                                                                                        TB02 48" X 40", 1411                                                           7     CY              750 . $           5,250
                                                                                                 1      TB01 42" X 40", 5 if                                                           2     CY              750 I $           1,500
                                                                                                     • lUnder Slab Vapor Barrier 6 mil polyethelene;                                 231     SF              1.75 . $            404
                                                                                                                                                            Foundation Building B.                                                           436,164
                                                                                                                                         Building C
                                                                                                       Building C, excavate in existing building, small machine & hand excavate in
                                                                                                                                                                                      498      CY   I $      250       $ 124,500
                                                                                                       confined space
                                                                                                      'Excess fill dispose off site                                                   498      CY      $      . 40 I $        19,920 .
                                                                                                       PC P14A & P23 4'-6" thk                                                        119      CY   ! $        750 $          89,250
                                                                                                      1PC P2, P4, P6, P12 3'-6" thk                                                 • 182      CY      $       750 • $       136,500
                                                                                                      1PC P79 5'43" thk,                                                              168 j    CY      $       750 $.        126,000
                                                                                                      1-11303 60" X 24", 28 If                                                         1p_.. CY        $       750 I $         7,500
                                                                                                       TB02 16" X 30", 47 If                                                            6      CY   I. $       750 $           4,500
                                                                                                       TB01 16" X 24", 129. If                                                         13      CY      $       750 I $        .9,750
                                                                                           •     I    ITB04 48" X 24", 13 If                                                            4      CY     $      _750: $           3,000
                                                                                                   _--GB 18" X 24", 19 If                                                               2      CY     $        750 $           1,500
                                                                                                      ,GB 18" X 18", 28 If                                                              2      CY              750. $          1,500
                                                                                                       Under Slab Vapor Barrier 6 mil poiyethelene-,                               12,712      SF           . 1.75 $          22,246
                                                                                                       Surface/Rain Water - Local Dewatering                                            1    . LS          15,000 $           15,000
                                                                                                                                                             Foundation Building C                                                       $   561,166
                                                                                                                                          Building
                                                                                                      iBuilding CI, excavate pile caps, grade beams & elev pit                        233      CY              40      $         9,320
                                                                                                      IConcrete Wash Stations                                                           1.     EA           3,500      $         3,500 •
                                                                                                      !Excess fill dispose off site                                                   233:     CY              40      $         9,320.
                                                                                                       Backfill & compaction clean fill                                               225      CY              50      $_.......11,250
                                                                                                       GB 18" X 36", 225 If                                                            38 1 . CY              750      $ 28,500 •
                                                                                                       PC 3_ 4'-O" thk                                                                 48 •    CY   !$        750    r s 36,000
                                                                                                       PC 4 ; 31-6" thk                                                                67 •    CY     $       750      $ 50,250
                                                                                                       PC SW; 41-0" thk                                                                70 ;    CY     $       750      $ 52,500
                                                                                                       Form & pour elev pit                                                             1I     EA   i $    12,500      $ 12,500 I



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                                                                                                                                                              Hoboken, NJ.




                                                                                          GEIS CONSTRUCTION! SOUTH, LLC.




                                                                                            —i1•       Under Slab Vapor Barrier 6 mil polyethelene;                                         7,356 •       SF   I. $     1.75       12,873
                                                                                             !.         Crystaline waterproofing interior sides of pits; walls & floors;                      220         SF      $       13 : $    2,750
                                                                                                      'Surface/Rain Water..- Local Dewatering                                                    1        LS      $   15,000 $     15,000
                                                                                                      i                                                         Foundation Building D              ,           —                             :$    243,763
                                                                                                                                           Building E
                                                                                                        Building E,•excavate.pile caps, grade. beams & elev pit                                 97 1      CY   ;          40 1       3,880
                                                                                                 I      Excess fill dispose off site                                                            97        CY   !          40 1       3,880
                                                                                                        Backfill & compaction clean fill                                                        75        CY              so-1       3;750
                                                                                                                                                                                                                                      .    .
                                                                                                     . GB 12 X 36, 186 If           •                                                           20 1      CY            750 $       15,000
                                                                                      •          •     PC 2; 7-6"w X 5`-6"1 X 3c6"d                                                             22 1      CY   1        750 , $     16,500.
                                                                                                                                                                                       ‘
                                                                                                        pc 43 & PC4A 3'-6" thk                                                                 4 1        CY   1        750 1 $     33,750 ,
                                                                                                       Form & Our elev pit •                                                                     1        EA   :     12,500 1       i2,500
                                                                                                        Under Slab Vapor Barrier 6 mil polyethelene;                                     . ..2,663:       SF    ' $    1.75]         4,660
                                                                                                        Crystalint waterproofing interior sides of pits; walls & floors;                      228 :       SF      $   12.50 $        2,850 i.
                                                                                                     • Surface/Rain Water - Local Pewatwing                                                      11       LS   i $15,000.00 $       15,000
                                                                                                                                                                 Foundation Building El            ,                                              1 1,770
                                                                                                                                                                                                   I           i

                                                                                      033001Conerete Superstructure.
                                                                                                Building A
                                                                                                Comslab lst.fir 11-1/2"                                                                           798     SF              14 $      11,172
                                                                                                Raised Cone Slab over existing 2'-4"                                                            7,569     SF   •          20 $     151,380
                                                                                                Cone slab 10"thk, 3660 sf.                                                                        136     CY             485 $      65,960
                                                                                                Shear Walls 12" thk.                                                                              324     CY             590 $     191,160 •
                                                                                               Leone Beams & Link Beams                                                                           143 :   CY   F$        590.: $    84,370
                                                                                                Cone Columns                                                                            •


                                                                                                                                                                                        •




                                                                                                                                                                                            •




                                                                                                                                                                                            •
                                                                                                                                                                                                  133 •   CY     $       590 1 $    78,470
                                                                                                Com Slab 11:5" ( deck & studs & pour stops by:others)                                           9,123     SF   . $        15 $     136,845
                                                                                                3-1/2" Lt Wt Conc on Q deck (..deck F&I by others)                                                586     SF .            12 $       7,032.:
                                                                                               ;Raised Conc in-fill slab over existing, 1'-6" thk                                                 720     SF . 1          20 . $    14,400
                                                                                                Lt Wt Structural Cone Slab thk.11,323 sf                                                          280 1   CY             485 $     135,800
                                                                                               ILt Wt Structural.Cone Slab 9" thk.29,842 sf                                                       829:    CY             485 1 $   402,065
                                                                                           :   ILt Wt Structural Cone Slab 10-1/2" thk.26,706 Sf                                                  793     CY     $       485 I     384,605
                                                                                                Lt Wt Structural Cone Slab 14" thk.4,150 sf                                                       179     CY     $       485 1      86,815


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                                                                                                                                                                        Hoboken, NJ.




                                                                                         GS1S, CONSTRUCTION SOUTH, LIM



                                                                                                                        .._.
                                                                                                               Encase Existing .columns w/ 4" thk cone/ rebar                                        I     56        EA     L$          2,500 I         140,000
                                                                                                         ' Conc fill in metal pan stairs & landings, (metal pan stairs by others)                          14  :     LVL    !$          2,500 I          35,000. •
                                                                                                 I          —                 •--
                                                                                                                                                                       Building A Concrete structure.:                                                                  1,925,074
                                                                                                               Building B
                                                                                                               SOG 11" thk, 231 CY                                                                      6 814        SF                    14       $     95,396
                                                                                                             : Gravel base 6" thk (deleted by credit)                                                                CY
                                                                                              T              :Shear Walls 10" thk                                                                         185        CY             $
                                                                                                                                                                                                                                    590
                                                                                                                                                                                                                                      0                 . 199,150
                                                                                                 I                                12" X 22", 827 If
                                                                                                               Columns 20" X 20", 42 If
                                                                                                                                                                                                           56
                                                                                                                                                                                                            4 •      CY
                                                                                                                                                                                                                                    59
                                                                                                                                                                                                                                    590
                                                                                                                                                                                                                                                           33,040
                                                                                                                                                                                                                                                           • 2,360: •
                                                                                                              Column 18"r. 83 If                                                                            7 1i     CY             590             I        4,130
                                                                                                             ;Column Type 6 repair, 10"r encased w/ 4"thk conc, 182 If                               1     207i      EA             950                    19,000 .
                                                                                                               Column Type A repair, 12"r encased w/ 4"thk conc, 112 If                                    12 1,      A             950         i          11,400
                                                                                                             1Conc Beams & Link beams s                                                                    20        CY      .      590         :          11,800 .
                                                                                                 .           iConc
                                                                                                             ,               Structural slab 11" Lt Wt,•1st Level Mezz 6,678 sf                      •    227,       CY      •$ •   485         •         110,095 _i.
                                                                                                               Cone Structural slab 11". LA Wt, 5th, 6th, 7th. Levels 20,022 sf                           680 I      CY             485          $        329,800
                                                                                                               Conc Structural slab 6" Lt Wt, Roof Level 224 sf                                      1      4 I, _   CY      '      485         1$           1,940.
                                                                                                               3-1/2" Lt Wt Conc on 0 deck (deck F&l by others)                                      1 1,602 1       SF              12         1$         19,224
                                                                                                               Corn Slab 11.5" ( deck & studs & pour stops by others)                                     270        SF      !       15         I$           4,050.
                                                                                                               Conc fill in metal pan stairs & landings, (metal pan stairs by others)                       7. ,     LVL   •      2,500          $         17,500
                                                                                                                                                                        Building B Concrete Structurel                                                                   768,885
                                                                                           • :               : Building C                                                                                                   -1.-.
                                                                                         .      1            , SOG 8" thk, 314 CY                  _                                                   12,712 •      SF I                  11 $ • 177,563
                                                                                       . . .. ...            :Gravel base 6" thk (deleted by credit)                                                      235 •      C
                                                                                                 . ...     _ •Shear Wallis 12"                                                                            217 :      CY ' $               .590. $ 128,030
                                                                                                               Columns 12" X 22"', 1,2511f                                                           I     85 I      CY I $                590: $ 50,150::
                                                                                      _..._          •    • _.,............
                                                                                                             !Columns 12" X65", 15 If                                                                       2        CY I $             • 590 i $   1,180
                                                                                                               Conc Beams & Link beams                                                               I     39        CYI$ •                590 [ $ 23,010
                                                                                                             ;Conc Structural slab•8" Lt        .__...Wt, 1st Level Mezz 7,887 sf                         195:       CY   $                485 1   94,575
                                                                                                         . Conc Structural slab              9" Lt   Wt,  ist•Level Mezz .4,546 sf                        127.       CY . $                485 . $ 61,595 ;
                                                                                                             ;Conc Structural slab 8" Lt Wt, 2nd fir 9,431 sf                 .                         . 233 I      CY . $                485 $ 113,005
                                                                                                                                                                                                               ,
                                                                                                               Conc Structural slab 9" Lt Wt, 2nd fIr 3,579 sf                                             99 I      CY I $                485 $ 48,015 !


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                                                                                                                                                               Wonder Lofts                                                                  Date Created: 6/1,812019
                                                                                                                                                               Hoboken, NJ.




                                                                                        GEIS CONSTRUCTION SOUTH, LLC.




                                                                                                           Cone Structural slab 8" Lt Wt, 3rd, 4th, 5th firs 18,726 sf                      462        CY                485 ; $ 224,070
                                                                                                           Cone Structural slab 14" Lt Wt, 5th fir 2,234 sf                                  97        CY                485 $ 47,045
                                                                                                            Cone Structural slab 9" Lt Wt, 6th fir 5,958 sf                                 165        CY                485 $ 80,025
                                                                                                 r
                                                                                                           Conc Structural slab 6" Lt Wt, 7th fir 138 sf                                      3        CY                485 $     1,455
                                                                                                           Form & Pour Conc stairs                                                            6I       LVL            10,000 $ 60,000
                                                                                                                                                           Building C Concrete Structure                                                            $ 1,109,718
                                                                                                     .   ; Building b.
                                                                                                           SOG 1st Fir, 8" thk; 182 CY                                                     7,356       SF              11 $ 80,916
                                                                                                         [GraVel base 6" thk .                                                               136       CY              50 1 $            6,800
                                                                                                           Shear wails 1 & 5 12" thk .                                                        43 I •   CY    •      - 590 • $ 25,370.1
                                                                                                            Shear walls 2, 3, 4 10" thk                                                       53       CY             590 $ 31,270 I
                                                                                                           Columns 12" X 22"; 1,598 If                                                       108 I     CY             590 1 $ 63,720
                                                                                                           Columns 12" X 12",' 118 If.                                                         4       CY             590: $             2,360
                                                                                                         i2nd FIr Cone Slab 8" thk, 7,275 sf .                                               179       CY             485 I $ 86,815
                                                                                                            3rd Fir
                                                                                                                _..... Conc Slab 8" thk, 7,211 sf                                            178       CY             485 I $ 86,330.
                                                                                                         14th Fir Cone Slab 8" thk, 7,212 sf                                                 178 •     CY             485 $ 86,330 •
                                                                                                            5th FIr Cone•Slab 8" thk; 3,331 sf                                                82 I     CY     ! $     485 • $ 39,770
                                                                                                         15th FIr Cone Slab 12" thk, 3,876 sf                                                1441      CY             485 $ 69,840
                                                                                                         'Roof Level Cone Slab 8" thk, 7272 sf                                               180 1     CY             485 1...$.........._87,300....... . .
                                                                                                            Bulkhead. Level Cone Slab 8" thk, 936 sf                                          23       CY             485 1 $ 11,155
                                                                                                          . Beam •10" X 16", 271 If                                                           11 1     CY        $    590 1 $            6,490
                                                                                                            Beam 12" X 1.8", 105 If                                                            6 :     CY             590 $               3,540
                                                                                                         lBeam 12'' X 24", 170.If                                                             13 1     CY        $    590 $              7,670
                                                                                                                                                                                                       CY        $
                                                                                                         ]  LB Beam 12"X 18"; 1621f
                                                                                                            Beam 8" X le", 27 If
                                                                                                            Beam 48" X 24", 18 If
                                                                                                            Form & Pour Cone.stairs
                                                                                                                                                                                               9
                                                                                                                                                                                               11
                                                                                                                                                                                               $
                                                                                                                                                                                                       CY
                                                                                                                                                                                                       CY
                                                                                                                                                                                                              I$ •
                                                                                                                                                                                                                 $
                                                                                                                                                                                                                      590 $
                                                                                                                                                                                                                      590 . $
                                                                                                                                                                                                                      590 $
                                                                                                                                                                                                                                          5,032
                                                                                                                                                                                                                                            390.::
                                                                                                                                                                                                                                          2,950 .
                                                                                                                                                                                                       LVL _--F1 $ 10,000 1 $ 50,000
                                                                                                                                                           Building D Concrete Structure          •                                                     $ 754,248
                                                                                                            Building E
                                                                                                            SOG 1st fir, 9" thk, 74 cu yds                                                 2,663 :     SF                  12 1 $....._....31,956
                                                                                                            Gravel base 6" thk                                                                50I      CY                  50 $           2,500


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                                                                                                                                                             Wonder Lofts
                                                                                                                                                             Hoboken, N.I.



                                                                                         vo,,,e,010

                                                                                        GEIS CONSTRUCTION SOUTH, LLC.




                                                                                                 .    .,...Shear .walls'l
                                                                                                                  ..      0" thk X 50 ft h                                             I        116    i   CV .                590 . $ 68,440
                                                                                                 1       Columns. 12" X 24" X 50 ft h 12 ea .                                          !         44    L   CV . ,         .._.._590 . . $ 25,960 . •
                                                                                                  •   :2nd, 3rd, 4th & 5th floors slabs 9" thk, 9,776 sf                                i       272    1   CY 1                590 l $ 160,480
                                                                                                         2nd, 3rd, 4th & 5th floors beams 12" X 24" , 428 lf                                     32        CV I $              590 il'$ 18,880
                                                                                                      I
                                                                                                       IFtoof slabs 9" thk,'2,527 sf                                                             70    .   CV ! $             485 $ 33,950
                                                                                                       ;ROof Cone Bean's 12" X 24", 114•If                                                        8    .   CV     $            590: $      4,720 . •
                                                                                            I • IFormi,Pour Conc stairs                                                                          •5    I   LVL    $       10,000 . $ 50,000
                                                                                                                                                       Building E Concrete Structure !                                                             $ 396,886
                                                                                                                                                               Total Concrete Stucture                                                             $ 4,954,811
                                                                                             Demolition Brick Façade                                                                                                                               $ 6,689,720
                                                                                      02200 Sidewalks & Curbs
                                                                                                         Building A, 13, C- 720 Clinton St
                                                                                                         Demo curb & asphalt - saw cut road 2 ft from curb                                       651 i     LF               5.40 $           3,515 i
                                                                                                         Conc Curb                                                                               651       LF   I $        25.00 . $        16,275 1
                                                                                                         Asphalt Patch 2ft wide; 2" thk top course, 10" thk. asphalt base, compacted 1—
                                                                                                                                                                                        1        656       LF              16.00: $          9,€340
                                                                                           .1          ! course acigreoate                                                              i
                                                                                                                                                              720 Clinton - Curbs Total                                            .•                        29,630
                                                                                                         Demo sidewalks                                                                        7,519       SF               3.00     $      22,557.., .._
                                                                                                         Conc Sidewalk 6" thk. at vehicle drives                                                 908 i     SF     $        15.00     $      13,620
                                                                                              ......_    Install  Conc Sidewalk 4"-thk.                                                        6,611 ;     SF   , $        13.50     $      89,249
                                                                                                         Aggregate base 4" thk over compacted base                                             7,519 1     SF   I $         5.00     $      37,595
                                                                                              ••..... .Trece  •                                                                            .      16. E    EA   I            MC    i •          NIC
                                                                                                         ADA Ramp w/ ADA Tactile insert                                                            4 j     EA   1$         1,800   1$         7,200 ;
                                                                                          4            1P-lacitiRg-Beils—pla-R-t-meellum&draiftacie•                                           1,128       SF                MC    i         • NIC .
                                                                                                       iTherffleislast         eisswalric                                                          4       EA                NIC                MC
                                                                                                         Planter walls •                                                                :        472 I     LF         $    20.00        $     9,440
                                                                                                                                                         720 Clinton - Sidewalks Total._ii            !                                                $    179,661
                                                                                                         Building D - 727 - 733 Clinton St                                                            r1        1-1                :
                                                                                                                                                                                        ,                       I
                                                                                                         Demo curb & asphalt - saw cut, road 2 ft from curb                                      243 i     LF   1$          5.40 1 $         1,312
                                                                                                         Cone Curb                                                                               243 .     LF   !$         25.00 I $         6,075
                                                                                                       !Asphalt Patch 2ft wide; 2" thk top course, 10" thk. asphalt base, compacted
                                                                                                                                                                                                 243       LF         $    15.00        $    3,645
                                                                                                       'course aggregate

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                                                                                                                                                           Hoboken, NJ.




                                                                                        GEIS CONSTRUCTION SOUTH, LI—.




                                                                                                                                                    727-73 Clinton - Curbs Totali          • I            I                                  :..,$    11,032
                                                                                                 •Demo sidewalks                                                                   I . 2,897        SF    !.         3.00        $     8,691
                                                                                                     r
                                                                                                  rrees (not included)
                                                                                                  Relocate Storm drain
                                                                                                                                                                                           6 •
                                                                                                                                                                                           1 ,1
                                                                                                                                                                                                    EA
                                                                                                                                                                                                    EA
                                                                                                                                                                                                         i
                                                                                                                                                                                                         . $
                                                                                                                                                                                                                      NIC
                                                                                                                                                                                                                   10,017
                                                                                                                                                                                                                            1.
                                                                                                                                                                                                                                 $
                                                                                                                                                                                                                                         MC . . .
                                                                                                                                                                                                                                     10,017 ''
                                                                                                                                                                                  1
                                                                                                 iADA Ramp wiTactile                                                                       2 ..!I   EA    i$        1,800   :          3,600
                                                                                                                                                                                                                                     •     •
                                                                                                 1-pjaritins-Sesis—Marit-mesituffi-&-ciratinage                                    :1    209        SF    1           NIC   1            MC
                                                                                                 !Conc Sidewalk 6" thk. at vehicle drives •
                                                                                                  Conc Sidewalk 4" thk.
                                                                                                  Aggregate base 4" thk over compacted base
                                                                                                 :Tic                                   Jude}                                              2        EA               NIC                NIC
                                                                                                 •Planter walls                                                                           99        LF              20.00 I $         1,980
                                                                                                                                            727 - 733 Clinton St Sidewalks Total                                                                      78,129
                                                                                                  Building E - 72"I Clinton St
                                                                                                  Conc Curb                                                                               44 I      LF         $    25.00 $           1,100
                                                                                                  Demo curb & asphalt - saw cut road 2 ft from curb                                       44 ,      LF         $     5.40 $             238
                                                                                                  Asphalt Patch 2ft wide; 2" thk top course, 10" thk. asphalt base, compacted
                                                                                                                                                                                          44        LF         $    15.00 I $           660
                                                                                                  course aggregate
                                                                                                                                                         721 Clinton - Curbs.Total'                                                                     1,998
                                                                                                  Demo sidewalks                                                                    •    567        SF               3.00. .     $    1,701
                                                                                                                                                                                  .i.
                                                                                                                                                                                          76        SF    I          MC                 NIC • '
                                                                                                  Conc Sidewalk 4" thk.                                                            i     567        SF    1$        13.60        $    7,655 •
                                                                                                 :Aggregate base 4" thk over compacted base                                         1    567 I      SF    i$         5.00 [      $    2,835
                                                                                                  Planter walls, 8" thk. X 16" h.                                                         43 :      LF    '         20.00'       $      860
                                                                                                                                                  721 Clinton St - Sidewalks Tota                                                                      13,051
                                                                                                  MDC bid $338,500
                                                                                             Sidewalks & Curbs                                                                                                                                        313,500
                                                                                      04200 i_C.M.y. Block
                                                                                                  Building A         .
                                                                                                 'Partition Type 19, Chia.) 8" .thk..                                                  6,534:       SF         $    15.00 $ 98,010
                                                                                                  Partition Type 19-E, CMU 8" thk; Filled solid                                       11,586        SF         $    17.75 $ 205,652
                                                                                                                                                          Building A Total C.M.U. I                                                               $   303,662


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Case 2:21-cv-02407-LDH-ST Document 1-2 Filed 04/30/21 Page 48 of                                                                                         Wonder Lofts                                                 Date Created: 61',! 8/2019
                                                                                                                                                         Hoboken, NJ,




                                                                                        GEIS CONSTRUCTION BOUT                   LLC.




                                                                                                      Building
                                                                                                      Partition Type 19, CMU 8" thk,                                                1,537     SF   $   15.00       23,055
                                                                                                                                                        Building B Total C.M.U.                                             $      23,065
                                                                                                       Building C
                                                                                                       Partition Type 17, CMU 4" thk.                                                 436     SF   $   13.00 1 $    5,668
                                                                                                      'Partition Type 19, CMU 8" thk.                                               3,704     SF   $   15.00 $     55,560
                                                                                                                                                          Building C Total C.M.U.                                           $      61,228
                                                                                                     ,Building                                                                                                 [
                                                                                                       Partition Type 18, CMU 6" thk.                                               3,000     SF       14.00 $     42,000
                                                                                                       Partition Type 19, CMU 8" thk.                                               1,890     SF       15.00 1 $   28,350
                                                                                                     !Partition Type 19, CMU 8" thk. ( under windows 3',-6" h)                        299-r   SF       15.00 $      4,485
                                                                                                      .Roof top parapet, 8" cmu X 4'h. (Oat 2/406 & 1/402), 141 If                    563     SF       16.00 $      9,008
                                                                                                      [Roof top parapet, 8" cmu X 16"h. (Det 2/402 & 2/403), 258 If                   344     SF   $   16.00 $      5,504
                                                                                                                                                          Building D Total C.M.U.                                                  89,347
                                                                                                       Building E
                                                                                                      ,Partition Type 19, CMU 8" thk. ( angle cut tops)                             3,9831    SF       16,00 $     63,728
                                                                                                       Roof top parapet, 8" crnu X 5'h.                                               932     SF       15.00 $     13,980
                                                                                                                                                          Building E Total C.M.U.                                           $      77,708
                                                                                                 IC.M.U. Block                                                                                                              $     555,000




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                       Wonder Lofs Owner, LLC
    General Liability Owner Controlled Insurance Program (OCIP)
                        Project: Wonder Lofts
   The Owner has implemented a General Liability Owner Controlled Insurance Program (OCIP) for the
   West Orange Redevelopment project. Bidders are required to INCLUDE their normal insurance costs
   in their bids for this project. Please refer to the OCIP Insurance Manual dated 08/27/2018 for more
   information on the program. The manual is available on the Prism Box.Net website. Please note that
   the OCIP Insurance manual is a contract document.

      1) Upon award of a contract you will be provided with the OCIP enrollment form package. The
         forms are also available on the Box.net site for review. The forms are to be submitted to the
         OCIP administrator, Turner Surety and Insurance Brokerage (TSIB), as noted on the next page.
         You are also to submit your Certificate of Insurance to TSIB for review and processing. TSIB will
         monitor all certificates for compliance with your contractual requirements. The Enrollment
         Form 1GL and Certificate of Insurance are required prior to starting work onsite.

              A. FORM -1GL Application for Enrollment
              The Form-1GL enrolls the Contractor in the OCIP program & provides the Contractor with
              General Liability coverage on site. Please complete the Form prior to working on site.

              B. FORM- 2GL Insurance Cost Worksheet
              The Form 2GL will calculate the cost of insurance that you would have paid your insurance
              carrier if you had not participated in the OCIP. Please contact your insurance broker for
              assistance & copies of your General and Excess/Umbrella rating pages.

              C.   FORM- 3GL Quarterly On-Site Payroll Report
              If your General Liability cost is rated on your onsite payroll exposure you will be required to
              submit quarterly payrolls identifying your payroll expended onsite during execution of your
              work. TSIB will follow up for this documentation with all contractors who will be required to
              submit payrolls.

              D. FORM-LIGL Work Completion Form
              The Form-4GL is completed when your work is complete on site. This form is to be
              completed then forwarded to Prism Construction Management for approval prior to
              processing by TSIB.

      2) Upon receipt and processing of the Form 1GL, TSIB will issue a welcome letter to each
         participant and include the OCIP GL certificate of insurance. Please keep this certificate as you
         will need it to document your coverage under the OCIP to your Insurance Carriers.

      3   Upon receipt of the Form 2GL and rate pages, TSIB will evaluate the information and issue an
          Insurance Credit letter. The letter will identify the cost of insurance that you would have paid if
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          you were not enrolled in the OOP. Since this cost is included in your Contract Price, Prism
          Construction management will issue a credit change order to deduct this from your contract
          price.

      4) Change orders: All change orders shall be priced to INCLUDE the cost of your insurance. If your
         general liability is rated on payroll you will also be required to identify your payroll associated
         with the changed work. Insurance Cost adjustments to your contract price associated with
         change orders will be reconciled by Prism Construction Management at close out of your
          contract. The adjustments will be based on your changes in exposure due to change orders and
          the rating information provided with your Form 2 GL.

      5) Form. 3GL Payrolls will be collected from all subs whose GL cost is based on their payroll
         exposure. TSIB will capture this information and follow up with the contractors for any missing
         data. The payroll data will be used in conjunction with change order payroll data to determine
         the contractors final credit owed for participation in the OCIP.

      6) Contact Information:

     Forms and OCIP Insurance Manual are available on the Prism Partners Website:
                               WWW.Prisrnpartners.net
              (Please contact Prism Partner for a Username & Password)

                                    Please send all the Forms to the:
                 Turner Surety and Insurance Brokerage Wrap-Up Service (TSIB)
                                Email: Smartwrap@tsibincacom
                                           Fax: 1-203-666-4352
                                             35 Nutmeg Drive, Suite 300
                                            Trumbull, CT 06611

                                    For assistance please contact TSIB:

         Service Center Quality Assurance Specialist               Regional Wrap-Up Manager
         Eva Hobson                                                Denise Bianchi
         Email: hobson@tsihinc.com                                 Email: dbianchi@tsibinc.com
         Direct Phone: (203) 283-2007                              Direct Phone: (201) 574-3885
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                                ATTACHMENT E
           SUPPLEMENTARY GENERAL CONDITIONS FOR BUILDINGS OWNED BY PRISM


    1. If any of the Work to be performed by Trade Contractor is in or adjacent to a building occupied
       by tenants, the convenience and comfort of the tenants shall take priority over the construction
       operations. While some tenant inconvenience is anticipated, Trade Contractor shall be
       considerate of the tenants in all cases, as more specifically set forth below.

    2. The loading of materials, tools, etc., in common areas, such as the lobby, shall be performed
       cleanly, quietly, and inconspicuously.

    3. Any core drilling, impact fastening, or work in an existing tenant's ceiling plenum shall be
       performed after working hours, when possible. If such operations are attempted during regular
       working hours, and a tenant complaint is registered, the Work shall cease immediately and be
       rescheduled for a time, which is more convenient to the tenant.

    4. Finished areas of the building must be protected and restored to good condition when affected
       by Trade Contractor's construction activity. Clean-up shall be performed on a daily basis, and
       Trade Contractor shall be backcharged if Construction Manager performs the clean -up.

    5. Trade Contractor is responsible for the conduct and attitude of its employees.

    6. Due to the constraints imposed by working in an occupied building, Trade Contractor shall
       perform the Work in a diligent, expeditious fashion, such that working operations shall not be
       prolonged for an unacceptable length of time.

    7. Trade Contractor shall direct its employees to park in an area designated by Construction
       Manager after unloading materials, etc., and Trade Contractor shall not leave vehicles in
       unloading zones or visitor parking areas.

    8. Building's dumpster shall NOT be used to dispose of construction debris.

    9. Key(s) (and all copies thereof) issued or loaned to Trade Contractor for the purpose of locking
       and/or unlocking any part or portion of the Project's site are to be safeguarded at all times and
       returned to the party issuing said key(s) immediately upon demand by said issuing party.

   10. Special working hours (le, nights, weekends, etc.) shall be arranged in advance with
       Construction Manager.

   11. Trade Contractor shall be CONSCIOUS of other building tenants with regard to noise, debris,
       and disruptions.

   12. Elevator walls and floors shall be protected prior to construction materials being delivered.

   13. Trade Contractor shall protect hallway walls, doors, etc., when delivering materials.

   14. Trade Contractor shall only use designated areas for ingress and egress of construction
       personnel and materials.

   15. Entry doors shall be properly held open.

   16. Trade Contractor shall NOT use cleaning service's vacuums, etc.

   17. Slop sinks may be available by arrangement with Construction Manager. Trade Contractor
       shall NOT use lavatory sinks to wash/clean contracting materials.

   18. Suite doors to lobbies shall be kept closed during construction.

   19. Materials and tools shall not be stored in hallways.


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                                ATTACHMENT E
           SUPPLEMENTARY GENERAL CONDITIONS FOR BUILDINGS OWNED BY PRISM


   20. All mechanical and electrical rooms shall be locked at 4:00 PM unless prior arrangements have
        been made.

   21. Any questions arising throughout the day shall be directed to Construction Manager.

   22. Any construction activity that shall take place in a tenant-occupied area shall be pre-arranged
       and scheduled through Construction Manager.

   23. The shut down of any mechanical equipment shall be pre-arranged with Construction
       Manager.

   24. A designated lavatory for Trade Contractor's employees shall be identified by Construction
       Manager and scheduled through same.

   25. The main lobby shall not be used for ingress/egress by Trade Contractor's employees.

   26. Trade Contractor shall be responsible for the appropriate attire of its employees (ie, without
       limitation, no cutoff jeans, shorts and/or sleeveless T-shirts, in a tenant occupied building.




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           SAFETY REQUIREMENTS
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                                              ATTACHMENT F
                       SUPPLEMENT TO TRADE CONTRACT CONCERNING SAFETY


   PROJECT:                               Wonder Lofts
                                          Clinton Street, Hoboken, NJ


     IN THE EVENT OF ANY INCONSISTENCIES BETWEEN THE ATTACHMENT F AND THE CONTRACT TO
     WHICH THE ATTACHMENT F IS ATTACHED, THEN, THE TERMS OF THE CONTRACT SHALL GOVERN,
                                    PREVAIL AND CONTROL.

   The Trade Contract or is hereby notified that it is the policy of Contractor to provide a safe and healthful
   work environment. The Trade Contractor's signature below indicates acceptance of and agreement to the
   following:

       A.    Adhere to the Safety and Health Policy Statement, which follows as part of
             Attachment F.

       B     Adhere to the full Project Safety Manual, which is available for review at the Prism
             Construction Management, LLC offices and at the jobsite.

       C.    Adhere to the Contractors Safety Handbook, which follows as part of Attachment
             F.

      D.     Acknowledgment and Acceptance of Safety and Health Enforcement Practices
             (Attachment F-1) by Prism Construction Management, LLC (for completion and
             signature)

      E.     Adhere to the Personal Protective Equipment Safety Guideline that all trade
             contractors and their employees and visitors wear hard hats and Safety glasses
             at all times (Attachment F, page F-5).

       F.    All Trade Contractors and their on site employees are required to attend the
             Prism Construction Management, LLC's job site safety orientation (Attachment
             F, page 3).

      G.     All Trade Contractors are required to provide a copy of the job specific Hazard
             Communication (MSDS, Material Safety Data Sheets) binder to the project site
             superintendent. This information is required before any contractor can start work.

      H.     All Trade Contractors understand that fines of $1,000.00 and or removal from site
             will be the consequence for non-compliance with the project's safety
             requirements, at the sole discretion of Prism Wonder Lofts Construction, LLC or
             the Project Owner.




   Signature of Authorized Company Representative                                      Date




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                                       ATTACHMENT F
                    SUPPLEMENT TO TRADE CONTRACT CONCERNING SAFETY


   SAFETY AND HEALTH POLICY STATEMENT

  It is the policy of Prism Construction Management, LLC to provide a safe and healthful work
  environment for subcontractors' site workers at every level through the awareness
  and prevention of occupational injuries and illness.

  The objective of Prism Construction Management LLC's Build Safe is to eliminate work-related
  accidents (thereby injuries) and illness and to promote safety and health in every
  task undertaken by workers involved with projects managed by Prism Wonder
  Lofts Construction, LLC. To this end, Prism Construction Management, LLC's Build Safe will
  include:
  A. Implementation of a Trade Contractor safety committee for overseeing all aspects of
        safety and health activities at each project.

       Implementation of a program for conducting routine safety and health inspections to
       identify and eliminate unsafe working conditions or practices and control health hazards.

  C.   A comprehensive list of safety and health training requirements for all contractors and
       subcontractors' personnel.

       Provisions for the use of personal protective equipment by contracted employees as
       identified by their respective job task requirements.

  E.   Provisions for mechanical and physical safeguards to the maximum extent possible.

  F.   Trade Contractor safety and health policies, requiring every site worker of the various
       companies to comply with these policies as a condition of their contract.

  G.   Provisions for a thorough and prompt investigation of every accident to determine its
       cause, correct the problem and reduce the likelihood of it happening again.

  H.   Trade Contractor shall implement a safety incentive program for promoting safety and
       health, encouraging the active participation of all site workers and acknowledging through
       rewards individuals whose safety record exemplifies the standards set forth in this
       program. Trade Contractors shall provide a copy of their safety incentive program to
       Prism Construction Management, LLC upon request.




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                      SUPPLEMENT TO TRADE CONTRACT CONCERNING SAFETY


   CONTRACTOR'S SAFETY HANDBOOK

   Introduction
   Prism Wonder Lofts Construction, LLC is committed to providing a work environment which
   promotes the health, safety and well-being of employees of our company and those of our
   Trade Contractors. To this end, sound safety practices are the responsibility of every site
   worker working on this project.

  This Safety Handbook outlines the rules and regulations that the employees of Trade
  Contractors must adhere to at all times. Prism Wonder Lofts Construction, LLC does not permit
  nor tolerate unsafe working conditions or practices that might compromise the safety of
  employees, visitors or property.

  It is the responsibility of Trade Contractors and their employees to read this handbook and
  familiarize themselves with the rules and regulations as they apply to the work to be performed
  on this project.

  Site Safety Orientation- It is the responsibility of Trade Contractors and their employees
  to attend the Prism Wonder Lofts Construction Site Safety Orientation. The site
  Superintendent with the support of Prism Wonder Lofts Construction will provide this on
  site training. A form will be signed by each worker to verify the training and a Prism Site
  Safety sticker will be placed on their helmet to show their attendance. The orientation
  provides an overview of the site safety requirements and pertinent OSHA regulations to
  all contractors personnel prior to entry onto our sites.

  Rules of Conduct
  •    Never bring alcoholic beverages, illegal drugs, explosives, guns, knives, ammunition or
       other weapons on the project site.

   •   Comply with all posted notices at all times.
   o   Always wear protective equipment such as hard hats, safety goggles, gloves or respirators
       if required by the job you are performing.
  •    Never work alone in a hazardous area. Always employ the buddy system.

  Compliance
  •    Trade Contractors must have in place, prior to beginning work on this project, OSHA-
       required and other regulatory agency required written programs as dictated by the work
       they are to perform on this project. Copies of said programs shall be forwarded to Prism
       Wonder Lofts Construction, LLC Project Safety Coordinator upon request.
  •    Trade Contractors shall ensure that their site workers comply with policies and procedures
       outlined in their written programs as well as with the policies and procedures set forth in
       Prism Wonder Lofts Construction, LLC's BuildSafe.

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                      SUPPLEMENT TO TRADE CONTRACT CONCERNING SAFETY


   Housekeeping
   o   Trade Contractors shall ensure that all aisles and work areas are kept clear of obstructions.

   •   Trade Contractors shall remove or bend all protruding nails.

   •   Trade Contractors shall keep all emergency equipment readily available for use.
       Emergency equipment includes fire extinguishers, SCBA's, blankets, first aid supplies,
       emergency eyewash stations, stairways, fixed ladders and the like.

   •   Trade. Contractors shall ensure that all broken glass is swept and discarded in designated
       containers as soon as the breakage occurs.

   •   Trade Contractors shall always store materials, equipment and tools in their designated
       storage areas.

   *   Trade Contractors shall ensure that materials, tools or equipment are never stored in
       stairwells or beneath stairways.

   •   Trade Contractors shall ensure that all scrap, metal, and trash is removed from the site at
       the end of each shift.

  •    Trade Contractors shall ensure that all secondary containers under their control are labeled.

  Fire Safety
   •   Trade Contractors shall ensure that all emergency equipment be inspected on a monthly
       basis.

  •    Trade Contractors shall ensure that site workers have been trained in the selection, use and
       inspection of fire extinguishers including fire classifications.

  •    Trade Contractors shall ensure site workers have been trained in project site evacuation
       and reassembly procedures.

  •    Trade Contractors shall ensure that site workers have been familiarized with Prism Wonder
       Lofts Construction, LLC's Emergency Fire Protection and Prevention Plan.

  •    Trade Contractors shall ensure that they have posted emergency numbers and evacuation
       routes throughout their work area.

  •    Trade Contractors shall ensure that fire extinguishers are kept charged and are inspected
       on a monthly basis by on-site personnel, and annually by an outside source.

  Hazard Communication
  •    Trade Contractors shall ensure that a list of all chemicals brought on site have been
       identified and listed on the form located in Section 7.4 of Prism Wonder Lofts Construction,
       LLC's BuildSafe.



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                     SUPPLEMENT TO TRADE CONTRACT CONCERNING SAFETY


   •   Trade Contractors shall ensure that a copy of all MSDS's have been forwarded to Prism
       Wonder Lofts Construction, LLC's Project Safety Coordinator for insertion into the Project
       MSDS Control Book.

   •   Trade Contractors shall ensure that site workers maintain a list of all approved chemicals in
       their tool boxes.

   •   Trade Contractors shall ensure that they maintain an MSDS binder with copies of all of their
       MSDS's.

   •   Trade Contractors shall ensure that they compile a list of non-routine tasks that may be
       performed by site workers and submit a copy of this list to Prism Wonder Lofts
       Construction, LLC.

   •   Trade Contractors shall ensure that they adopt Prism Wonder Lofts Construction, LLC's
       Hazard Communication Program or provide a copy of their own program to be maintained
       on the project site for the duration of the project.

   •   Trade Contractors shall ensure that if they do not adopt the NFPA labeling system, they will
       forward a description of their labeling requirements to Prism Wonder Lofts Construction,
       LLC's Project Safety Coordinator.

   Warning Signs
   •   Trade Contractors are required to comply with all warning signs.

  Protective Clothing and Equipment
   It is the responsibility of Trade Contractors to provide their employees with Personal Protective
   Clothing and Equipment as dictated by the job to be performed. Employees are required to
   wear personal protective equipment and clothing required by the job to be performed.

       Hard Hat Requirement
       It is mandatory that all Contractors and their employees wear hard hats on all Prism
       Wonder Lofts Construction, LLC's sites. It is the responsibility of all Trade
       Contractors to provide their employees with helmets and that they are worn at all
       times. Workers are not permitted on Prism Wonder Lofts Construction, LLC's sites
       without this equipment. Protective hats shall be in accordance with the provisions of
       ANSI 289.31971 Industrial Protective Helmets for Electrical Workers, Class B, and
       shall be worn at the jobsite by employees who are exposed to the hazards of falling
       objects, electric shock, or burns.

       Eye Protection
       It is the responsibility of Trade Contractors to provide their employees with eye
       protection. All workers and visitors are required to wear eye protection that will
       comply with ANSI Z87.1-1989.


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                      SUPPLEMENT TO TRADE CONTRACT CONCERNING SAFETY


   Hearing Protection
   Hearing protection is required in all posted areas and whenever noise levels exceed 85
   decibels. It is the responsibility of Trade Contractors to provide their employees with hearing
   protection as required.

   Safety Shoes
   Trade Contractors shall ensure that sturdy shoes are worn by all project personnel. Whenever
   there is the potential for injury to toes, safety shoes with toe protection are required.

   Chemical Protective, Chemical Resistant Suits and Rubber Boots
   It is the responsibility of Trade Contractors to provide employees with the necessary protective
   suits, gloves and boots whenever their job requires the handling of chemicals or hazardous
   materials.

   Overhead Work
   Prior to performing any overhead work that requires the use of a ladder, Trade Contractors are
   required to barricade the area, and evacuate the area of all non-essential personnel. Note:
   Prior to barricading an area that restricts aisles or access routes, be sure to provide for
   alternate routes or ensure that the area has been vacated.

   Ladders
   •   Prior to using ladders, Trade Contractors are required to inspect them for defects such as
       broken or loose steps or rungs, cracks or weak side rails, frayed rope on extension ladders,
       and damaged feet on extension ladders.

   •   Prior to using an extension ladders, Trade Contractors are required to secure them from
       slipping, shifting or other potential hazards.

   •   Prior to using step ladders, Trade Contractors are required to prevent them from slipping,
       shifting or other potential hazards.

   •   Trade Contractors are prohibited from separating extension ladders.

   •   Trade Contractors are required to extend ladders a minimum of 36 inches (3 rungs) above
       the level to be reached. If this cannot be accomplished, Trade Contractors shall ensure that
       a grab rail is accessible.

   •   Trade Contractors are prohibited from using stepladders as straight ladders.

   •   Trade Contractors are required to secure unopened ladders, left leaning against a wall, to
       keep from falling.

   •   Trade Contractors shall ensure that site workers always face the ladder when climbing up or
       down.



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   4   Trade Contractors shall ensure that all materials are hoisted or lowered in a safe manner to
       prevent dropping.

   Floor Openings and Stairs
   e   It is the responsibility of Trade Contractors to ensure that all floor openings are guarded with
       barriers on all exposed sides.
   •   Trade Contractors shall ensure that temporary hatchways and floor openings are guarded
       by a hinged cover or a removable standard railing with toe board on no more than two
       sides.
   •   Trade Contractors shall ensure that all stairs with four or more risers be equipped with
       handrails approximately 34 inches from the tread.
   •   Trade Contractors shall ensure that stairs intended for two-way passage be a minimum of
       44 inches wide with maximum 12 feet height between landings,

  Scaffolds
   •   Trade Contractors shall always inspect upright scaffolds to ensure they are plumb, secure
       and have firm footing.

   e   Trade Contractors shall always secure stationary upright scaffolds to a building or other
       structure.

   •   Trade Contractors shall ensure that all portable maintenance staging be outfitted with
       outriggers.

   e   Trade Contractors shall ensure that scaffold planks or platforms be designed to hold a
       minimum of four times the weight they are intended to hold.
   e   Trade Contractors shall ensure that platform planks be overlapped by a minimum of twelve
       inches or secured.
   e   Trade Contractors shall always provide for safe access to work platforms.

   e   Trade Contractors shall ensure that scaffolds less than 45 inches wide and more than 4 feet
       above the ground be equipped with guardrails.
   e   Trade Contractors shall ensure that scaffolds more than 8 feet above ground be equipped
       with guardrails and toe boards on all open sides and ends.

   e   Trade Contractors are required to provide safety harnesses for all work performed on
       swinging or portable scaffolds and on all scaffolds 8 feet above ground level.
  •    Trade Contractors shall ensure that all swinging scaffolds are anchored and suspension
       ropes be designed to hold a minimum of 6 times the weight intended to hold.



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   •   Trade Contractors are required to provide guardrails, intermediate rails and toe boards on
       all open sides of scaffolds ten feet above ground level.
   *   Trade Contractors shall ensure that strong, secure locations are selected as anchors for
       suspension ropes and lifelines.
       Trade Contractors are required to provide safety harnesses whenever employees are
       suspended from lifelines that are anchored independently.

   Compressed Air, Compressed Nitrogen or Other Gases
   •   Eye protection is required for all work performed using compressed air. It is the
       responsibility of Trade Contractors to provide their employees with eye protection.
   •   Trade Contractors when using compressed air for cleaning purposes shall do so only when
       employing the safest work practices.
   •   Trade Contractors are required to always direct air stream away from face or other
       individuals.
   •   Trade Contractors shall ensure that pressure relief valves on air gun nozzles are never
       blocked.

  Compressed Gas Cylinders
   •   Employees of Trade Contractors are required to immediately report cylinder leaks, to their
       Manager/Supervisor/Foreman, and are prohibited from moving leaking cylinders.
   •   Trade Contractors shall ensure that compressed gas cylinders are always maintained in an
       upright position and secured by strap, chain bar or other rigid retaining device.

       Trade Contractors shall ensure that compressed gas cylinders are kept free from rust and
       leaks.
  •    Cylinders are outfitted with regulators to reduce compressed gases to safe operating levels.
       Trade Contractors shall ensure that regulators are marked for only one type of gas cylinder
       and will be used for that purpose only.
  •    Trade Contractors shall ensure that all cylinders are permanently labeled in accordance with
       American National Standards Institute (ANSI) to identify the type of gas in the cylinder.

       Trade Contractors shall ensure that cylinders are stored in a safe manner in their
       designated storage area only.
  •    Trade Contractors shall ensure that grease or oil is never used to lubricate the valve or
       joints of compressed gas cylinders. Oxygen and oil react violently under pressure. Using
       grease to lubricate an oxygen valve can result in an explosion.

  •    Trade Contractors shall ensure that oxygen and acetylene cylinders are stored a minimum
       of 20 feet apart in an upright position only.


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   o   Trade Contractors shall ensure that cylinder valves are closed tightly when not in use as
       well as at the end of each work day, and that protective caps are placed on cylinders when
       not in use.

   o   Trade Contractors shall ensure that prior to moving cylinders, regulators are removed and
       caps are securely fastened.

   o   Trade Contractors shall ensure that cylinders are not subjected to dropping, bumping or to
       atmospheres or cylinder temperatures exceeding 130 degrees.

  Hand and Power Tools
   o   Trade Contractors shall ensure that they have familiarized themselves with Prism Wonder
       Lofts Construction, LLC's general safety policies set forth in Section 9.1 of the BuildSafe.

   •   Trade Contractors shall ensure that hand and power tools are inspected prior to use to
       ensure safe operating condition.

   4   Prior to using hand or power tools, Trade Contractors shall ensure that their employees
       have received proper training for safe operation, Certification of training shall be provided
       to Prism Wonder Lofts Construction, LLC upon request.

   o   Trade Contractors shall ensure that tools are not over strained to accomplish work they are
       not intended for.

   4   Trade Contractors shall ensure that tools are not left on stepladders, scaffolds, stairs or any
       place where they may become dislodged and fall.

  o    Trade Contractors shall ensure that only non-sparking tools be used in areas where
       flammables are handled or where sparks could create an explosion.

  o    Trade Contractors shall ensure that pneumatic or air-powered tools are handled with care
       and that air hoses are turned off when not in use.

  o    When operating a jack-hammer, hearing protection and metal toe guards are required. It is
       the responsibility of Trade Contractors to provide their employees with protective
       equipment,

  o    Trade Contractors shall ensure that all pneumatic impact (percussion) tools be outfitted with
       safety clips or retainers to prevent attachments from being ejected.

  Grinding
  o    Trade Contractors are required to provide their employees with goggles prior to their
       performing grinding, buffing or working with wire brushes.

  o    Trade Contractors are required to provide their employees with face shields whenever the
       potential for flying objects presents itself.



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   4   Trade Contractors shall ensure that grinding wheels or buffers be equipped with safety
       guards prior to operation.

   Smoking and Using Open Flames
   Trade Contractors shall ensure that smoking policies are adhered to and that employees never
   smoke or use open flames in areas where flammable liquids, gases or highly combustible
   materials are stored, handled, or processed.

   Gas Heaters, Burning, Welding, Cutting or Grinding
   •   It is the responsibility of Trade Contractors to ensure that they familiarized themselves with
       the policies set forth in Section 10.1 of Prism Wonder Lofts Construction, LLC's BuildSafe
       entitled Welding, Cutting and Brazing.

   o   It is the responsibility of Trade Contractors to provide their employees with adequate
       training prior to their use of open-flame or spark-producing equipment for the purpose of
       burning, soldering, cutting, grinding or prior to operating gas heaters or salamanders.
       Certification of training shall be provided to Prism Wonder Lofts Construction, LLC upon
       request.

   *   Whenever burning, welding, cutting or grinding operations are performed in and around
       combustible materials, Trade Contractors must first ensure that a fire watch be assigned
       and maintained for a period of one-half hour upon completion of the job.

  •    Prior to welding or cutting operations, Trade Contractors shall ensure that the immediate
       area is wetted down.

  •    Trade Contractors shall ensure that a fire watch is provided on both sides of the roof or wall
       prior to cutting through or welding an existing roof or wall.

       Trade Contractors are required to provide welding shields or screens whenever employees
       may be exposed to flash burns, and they shall ensure that this protective equipment is worn
       by employees.

   ®   It is the responsibility of Trade Contractors to provide their employees with fire extinguisher
       training including the proper selection and use of fire extinguishers prior to engaging in any
       operation utilizing equipment that produces open flames or sparks. Certification of training
       shall be provided to Prism Wonder Lofts Construction, LLC upon request.

  Mobile Cranes
  •    Trade Contractors shall ensure that proper clearance from overhead electrical power lines
       be maintained prior to operating cranes, derricks, power shovels or similar equipment.

  4    Trade Contractors engaged in crane operations shall ensure that all cranes are certified
       annually.    Copies of certification shall be forwarded to Prism Wonder Lofts
       Construction, LLC upon request.


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   •   Trade Contractors shall ensure that all backhoes and other excavating equipment are
       certified annually whenever this equipment is used as a crane. Copies of certification shall
       be forwarded to Prism Wonder Lofts Construction, LLC upon request.

   .   Trade Contractors shall ensure that loads are not lifted over the front area of a truck-
       mounted crane unless approval is granted by the manufacturer of the crane.

   Excavations and Trenching
   •   Prior to the start of any excavation, Trade Contractors are responsible for identifying the
       location of all underground utilities by calling DIGSAFE (1-800-272-1000), the utility
       companies or other appropriate agency.
   *   Trade Contractors are required to brace or slope holes, when 5 feet deep or more, to
       prevent cave-ins.

   •   Trade Contractors are required to use additional bracing whenever excavations are subject
       to vibration from vehicles or machinery.

   o   Whenever working in trenches more than 4 feet deep, Trade Contractors are required to
       provide for exiting via ladders or steps.
   *   Whenever excavating in or around a structure, Trade Contractors are required to exercise
       caution so as not to weaken the structure.
   •   Trade Contractors are required to barricade and restrict access to excavations.

   *   Trade Contractors are required to use warning lights, outdoors, by excavation and trenches.
   •   Trade Contractors shall ensure that whenever walkways are installed over open trenches,
       the walkways will be strong enough to handle pedestrian traffic, and will be equipped with
       guardrails on both sides which are bevelled to the ground on both ends.

  Safety Harnesses
   •   OSHA and ANSI standards are being revised and may change in the near future. Trade
       Contractor shall strictly abide by all of said revisions and changes.
   •   Trade Contractors shall ensure that employees performing confined space entry are
       provided with and required to wear safety harnesses with 0 rings.
   *   Trade Contractors are required to provide safety harnesses with a minimum of 1/2 inch
       diameter nylon lanyard. Safety harnesses must have a suitable means for adjustment and
       a minimum breaking strength of 5,400 pounds.
  •    Trade Contractors shall ensure that safety harnesses are inspected for damage or worn
       parts prior to each use,




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       Trade Contractors are required to provide lifelines for all work performed on roofs within 10
       feet of an unprotected edge and shall ensure that an attendant be present under these
       circumstances. Whenever lifelines are impractical, a safety net must be used.

   Confined Spaces
   •   Prior to performing confined space entry work, Trade Contractors must provide Prism
       Wonder Lofts Construction, LLC with a copy of their Confined Space Safety Program.

       Prior to allowing entry into a confined space, Trade Contractors must first secure a permit to
       ensure the atmosphere is safe for entry.

   •   Trade Contractors shall ensure that their site workers have been trained to perform the
       confined space entry operations.

   e   Whenever required, Trade Contractors must provide for atmospheric testing.

   •   Trade Contractors must always use the entry-attendant system when entering confined
       spaces. Trade Contractors must ensure that their entry attendant never enters a confined
       space,

   •   Trade Contractors shall ensure that the entry attendant outside the confined space is
       responsible for maintaining constant verbal communication with his/her coworker inside the
       confined space.

   •   Trade Contractors shall provide a two-way radio or other communication device whenever
       access to a telephone is restricted.

   •   Trade Contractors shall ensure that confined spaces have positive ventilation prior to entry.

  Performing Electrical Work
   •   All electrical work regardless of the nature must be approved by Prism Wonder Lofts
       Construction, LLC or the project electrical Trade Contractor.

  •    Trade Contractors shall ensure that, prior to working on any system greater than 120
       volts, the system be totally de-energized, properly grounded out and tested dead.

   *   Trade Contractors shall ensure that "do not operate" tags are placed on all electrical
       switches or circuit breakers used to de-energize a system.

       Trade Contractors are required to make available lockout devices for placement on energy
       isolating devices to hold them in a safe position.

   o   Trade Contractors shall ensure that employees never remove covers or panels from any
       compartment in which there are exposed energized connections greater than 600 volts.

   e   Trade Contractors shall ensure that, prior to working on any system less than 600 volts,
       power is turned off to the maximum extent possible.


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       Trade Contractors shall ensure that the scope of work to be performed is approved by
       Prism Wonder Lofts Construction, LLC prior to beginning work.

       Trade Contractors shall ensure that only employees who are qualified electricians,
       journeymen or master electricians are permitted to perform electrical work.

       Trade Contractors shall ensure that only qualified authorized personnel be allowed in the
       work area.

       Trade Contractors are required to barricade the area prior to work commencing.

       Trade Contractors are required to provide their employees with safety glasses for all
       electrical work.

       Trade Contractors shall ensure that only proper tools that are in good repair are used.

       Trade Contractors shall ensure that Prism Wonder Lofts Construction, LLC be notified of
       any changes to the sequence of work prior to implementing the change.

       When working in high-voltage rooms, Trade Contractors shall ensure that aisles with
       switches and controls be kept free from tools and equipment at all times.

       Trade Contractors are required to provide proper protective equipment and clothing and
       ensure its use by employees working on electrical equipment. Such equipment and clothing
       may include:
        - Rubber Gloves                 — Rubber Blankets           — Safety Glasses
        — Glow Lamp Tester              — Grounding Sets            — Hot Sticks
        — Glow Tector                   — Tags and Lockouts         — High-Dielectric Safety Helmets

   Tarpaulins
   Trade Contractors shall ensure that tarpaulins be flame resistant (asbestos free) and in good
   condition.

   Salamanders
   4   Trade Contractors shall ensure that salamanders be positioned away from all combustible
       materials.

       Trade Contractors shall ensure that salamanders are equipped with overheating and tip-
       over protection devices.

  Combustible Trash
  Trade Contractors are required to remove all combustible trash from work areas and store it a
  safe distance from all buildings at the end of each workday.




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   Emergency Equipment
   Trade Contractors are required to label all emergency equipment and store it in a readily
   accessible location.

   Chemicals and Paints
   •   Trade Contractors shall ensure that all containers are properly labeled with the original
       manufacturer's label and includes the chemical name and its hazards.

   •   Trade Contractors shall ensure that employees take all precautions when handling
       chemicals and that they review the MSDS prior to handling chemicals.

   •   Trade Contractors shall ensure that all chemical waste or empty chemical containers are
       disposed of in accordance with the standards set forth in Prism Wonder Lofts Construction,
       LLC's BuildSafe.

   •   Contractor/Trade Contractor employees must report all chemical spills immediately to their
       Manager/Supervisor/Foreman. Contractor/Trade Contractor Manager/Supervisor/ Foreman
       must report all chemical spills to Prism Wonder Lofts Construction, LLC as soon as
       possible.

  Transporting Material and Equipment
   •   Prism Wonder Lofts Construction, LLC recommends that when carrying pipe or conduit in
       excess of ten feet in length, the services of two men is employed.

   •   Trade Contractors shall ensure that carts, tools, equipment or materials are never left
       unattended in aisles unless providing for a barricade.

  Motor Vehicle Requirements
  •    Trade Contractors are required to park vehicles in designated parking areas.

   a   Trade Contractors shall ensure that vehicles do not block exits, fire hydrants, walkways or
       emergency equipment.

       Trade Contractors shall ensure that speed limits are obeyed at all times.

   •   Trade Contractors are required to enforce the wearing of safety belts by employees
       whenever operating a company vehicle on the project premises.

  •    Trade Contractors shall ensure that all vehicles used on the project are equipped with
       emergency equipment.

  SITE SAFETY ENFORCEMENT PRACTICES




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   Policy Statement
  The Occupational Safety and Health Administration (OSHA) establishes minimum regulatory
  requirements under 29 CFR 1926 for the construction industry. Trade Contractor shall adhere
  to these standards during all construction activities. The Environmental Protection Agency
  (EPA) also establishes minimum environmental standards that have been adopted by every
  State in the country. It is the responsibility of every Trade Contractor to be knowledgeable of
  these regulations and know which regulations need to be followed based on the activities of
  their employees. Prism Wonder Lofts Construction provides Trade Contractor with
  guidance documents which are intended to provide compliance assistance and are not
  substitutes for the necessary regulatory knowledge and understanding that each Trade
  Contractor is responsible to have concerning their employees activities.

   Trade Contractor Accountability
  Included with this Contract is the Trade Contractor Project Information Form. This
  document must be filled out for each project and returned to Prism Wonder Lofts
  Construction. When these forms are returned, Prism Wonder Lofts Construction will send you
  the Prism Wonder Lofts Construction Project Information Form which will provide particular site
  specific safety information about the project. Each Prism Wonder Lofts Construction Project
  Manager will maintain a copy of the Project Safety Manual for your review.

  Enforcement Practices
  As stated previously, each subcontractor is responsible for following the necessary safety and
  health practices specific to OSHA. Trade Contractor shall adhere to these standards. Trade
  Contractor may be requested to furnish written programs, training documentation and records
  as required by OSHA. In addition, subcontractor employees will be expected to comply with
  these requirements and you will be held accountable for their actions.

  Prism Wonder Lofts Construction Job Superintendent may report any violations to the Prism
  Wonder Lofts Construction Project Manager who will be required to take one of two options;
  issue a written warning to the subcontractor Project Manager/Supervisor, or issue a Violation
  Report to Prism Wonder Lofts Construction Corporate Offices where fines will be assessed
  based on frequency and severity. Non-Serious Violations (not an imminent threat to an
  employee(s) health and safety but a violation of OSHA standards or activities that resulted in
  the injury of an employee(s)) will carry a $100.00 fine. Repeat non-serious violations will be
  added to previous fines.

  Serious Violations (an imminent threat to the health and safety of an employee(s) or actions
  which have resulted in the injury of an employee(s)) will carry a fine of $500.00, Repeat
  violations of the same offense will be added to previous fines and may be grounds for dismissal
  from the project. All fines will be subtracted from monies owed to the Trade Contractor
  by Prism Wonder Lofts Construction, LLC.




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   It is sincerely hoped that this course of action is not necessary and we can all work together to
   provide a quality product as safely as possible. Any questions regarding this policy should be
   directed to Prism Wonder Lofts Construction 973-562-9580.




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                               Prism Wonder Lofts Construction, LLC
                         TRADE CONTRACTOR PROJECT INFORMATION FORM


  Subcontractor Name:                                            Date:
   Address:                                                      Project Number:




  Project Manager Name:
  Telephone Number:


  Chemical List:

                  Product Name                                           Manufacturer
     1.
     2.
     3.
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  ATTENTION: Provide the Prism Wonder Lofts Construction Site Superintendent with the job specific MSDS
             Binder. The Binder will be returned at the end of the project.




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                                 ATTACHMENT H
                        PRISM WONDER LOFTS CONSTRUCTION, LLC

                            GENERAL PROJECT REQUIREMENTS
                               FOR TRADE CONTRACTORS

   L   CONTRACT ADMINISTRATION REQUIREMENTS

       A. Contract Documents
          The form of contract shall be Prism Wonder Lofts Construction, LLC (hereafter referred to as
          "Contractor") "Form of Trade Contract between Contractor and Trade Contractor". By submitting a
          bid, the trade contractor acknowledges receipt and review of the contract form and agrees to be
          bound by its terms and to satisfy all requirements of the contract and its•aftachments.

       B. Insurance
          Trade contractor shall satisfy the insurance requirements as described in Article 9 and Attachment


       C. Invoicing
          All billings are to be in accordance with the "Invoicing Requirements" attachment to the contract,
          and are to be submitted on the forms provided.

  II. COORDINATION REQUIREMENTS

       A. Design Clarifications
          Any design clarifications and/or supplemental information required to facilitate proper execution of
          the subcontract work are to be requested in writing by the trade contractor in a timely, expeditious,
          and specific manner so as to avoid delays to execution of the work.

       B. Layout
          All trade contractors are responsible for laying out their own work. Start of work by this Trade
          Contractor signifies acceptance of all work in place by others.

       C. Work Hours
          Normal jobsite work hours are 8:00 AM to 4:00 PM Monday through Friday.

       D. Overall Coordination
          Trade contractor shall coordinate its work with the work of all adjoining and interfacing trades.
          Trade contractor is obligated to review and understand the intent of all of the design documents,
          and shall maintain its own complete set of drawings at the jobsite for reference purposes. Any
          questions and clarifications (conflicts of available space, interface discrepancies, etc.) are to be
          requested well in advance of the execution of the work. Any work that proceeds without
          appropriate consideration and coordination of other trades is to be removed and/or modified as
          required at the trade contractor's expense.

       E. Delays
          Any delays to the progress schedule which are caused by a trade contractor's failure to perform or
          satisfy the contract requirements shall be the sole responsibility of that trade contractor, and any
          costs associated with the delays will be assigned to that trade contractor.

       F. Progress Meetings
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           All trade contractors shall attend and participate in the coordination and progress meetings as
           requested and required by Contractor. All contractors are required to have an approved
           representative of the company attend all meetings. The approved individual shall be empowered
           to represent the company and make decisions for the company. The approved individual must
           remain the same throughout the project unless otherwise requested or approved by Contractor.
           Failure to attend any meeting will be considered a delay to the project.

      G. Inspections, Permits, & Approvals
           Trade contractor shall cooperate and coordinate its work with all applicable inspectors and/or
           testing agencies. This includes local code officials and inspectors, and independent testing
           agencies. Trade contractor is responsible for obtaining its own inspections and approvals from
           authorities having jurisdiction. Trade contractor shall provide all necessary documentation relative
           to its work that may be required for permitting, approvals, or inspections. Permit fees will be paid
           by others.

      H. Material & Equipment Storage
           Storage of material and equipment at the site shall be permitted only to the extent approved in
           advance by Contractor. If anything so stored obstructs the progress of any portion of work, it shall
           be promptly removed or relocated by the subcontractor without reimbursement. Facilities for
           storage at the site will be limited and it shall be the subcontractor's responsibility to make
           whatever arrangements may be necessary to ensure proper material availability for maintenance
           of job progress. This includes items furnished by other contractors.

      I.   Trade Contractor Trailers
           The Trade Contractor shall place and relocate its trailers when and where directed by Contractor.
           The Trade Contractor is responsible for the acquisition, maintenance, and removal of all utilities
           and telephone services required for its trailers. All energy charges for same will be the Trade
           Contractors responsibility. The Trade Contractor shall be responsible to replace, at no cost to the
           project, any trailer determined to be in a condition unacceptable for the Project.

  III. MANPOWER AN❑ EQUIPMENT REQUIREMENTS

      A. Field Supervision
           All subcontractors shall provide adequate field supervision.

      B. Tools & Equipment
           All trade contractors are responsible for providing all necessary tools, equipment, scaffolding, etc.
           required to execute the work. Trade contractors are responsible for reasonable safeguarding of
           their own tools, equipment, and materials.

      C. Labor
           All jobsite labor shall be competent and fully qualified to perform the work.

      D. Temporary Power
           Temporary power is to be 110 volt only provided between the hours of 8:00 AM to 4:00 PM
           weekdays. Any other voltage or times of operation will be at the Trade Contractor's expense. Any
           Trade Contractors working at the site prior to the establishment of temporary construction power
           are responsible for providing their own power at their own expense.

      E. Access To Jobsite
           Normal jobsite work hours are 8:00 AM to 4:00 PM Monday to Friday. Trade Contractor is
           responsible for any costs of standby trades should work be performed other than during normal
           working hours or on Saturdays, Sundays, and Holidays. All trade contractors shall keep their
           materials, equipment, workers, and representatives within the limits of the work area only, and
           shall access the site only from the construction entrances provided. Trade contractors are strictly
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          prohibited from accessing adjoining properties. An trade contractors shall comply. Violators will be
          subject to dismissal and banishment from the jobsite.

      F. Schedule
         Contractor shall establish the construction schedule and sequence, which will be updated and
         modified periodically. All trade contractors shall submit specific man-day and proposed crew size
         information for discrete work activities, as determined and requested by Contractor. Trade
         contractor shall supply adequate manpower and supervision, and expedite all materials and
         equipment as necessary, to meet the schedule requirements. All "float" belongs to Contractor.


  IV. PERFORMANCE REQUIREMENTS

      A. Daily Cleanup
         All trade contractors are responsible for clean up of their own work, and shall place their debris on
         a daily basis in dumpsters provided by Contractor. All Hazardous waste must be disposed of from
         the jobsite, by approved methods and personnel, at the expense of the Trade Contractor.

      B. Accessories
         All accessory and appurtenant items necessary for a complete installation of the trade contractor's
         work, and work "normal to the trade", are included in the subcontract price; whether or not such
         items are specifically noted on the contract documents.

      C. Safety
         All trade contractors are to comply with all applicable state and federal safety guidelines and
         regulations. All requirements of Attachment "F" to the contract, "Supplement to Trade Contract
         Concerning Safety", are to be fulfilled and strictly adhered to by the trade contractor.

      D. Existing Conditions
         Trade contractor has visited the site and familiarized himself to all existing conditions that may
         affect the work of this subcontract.

      E. Cutting & Patching
         All subcontractors are responsible for their own cutting, patching, core drilling, and fire stopping.

      F. Finishes
         Subcontractor is to clean and protect all finished surfaces and equipment that are to remain.
         Provide temporary protection of all surfaces installed by this subcontractor for the duration of the
         project. This Trade Contractor is responsible for protecting the work of others from damage due
         to this Trade Contractor's operations.

      G. Deliveries
         Subcontractors are solely responsible for ordering and accepting delivery of their own material.

     H. •Workmanship
         All work is to be performed in a professional and workman-like manner.

  V. SUBMITTAL / SHOP DRAWING REQUIREMENTS

     A. Submittals
         All submittals are to be made by the trade contractor expeditiously upon contract award, and in a
         timely, complete, and coordinated manner, so as to avoid delays to material fabrication and
         execution of the work.
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      B. Design Clarification
         Any design clarifications and/or supplemental information required to facilitate proper execution of
         the subcontract work are to be requested in writing by the trade contractor in a timely, expeditious,
         and specific manner so as to avoid delays to execution of the work.

      C. Submittals
         Submittals are to be submitted to the Contractor as follows:
         1. Shop Drawings — Reproducible Transparencies and six (6) folded 81/2" x 11" size) black line
            prints.
         2. Catalog Cuts, Brochures, etc. — six (6) copies for approvals, ten (10) copies for distribution.
         3. Samples — Four (4) each.

      D. Substitution Process
         1. Submission of request for substitution shall constitute a representation that the entity making
            the request:
             a. Has investigated the proposed product and determined that it is equal to or better than the
                specified product.
             b. Will provide the same warranty for the proposed product as for the specified product.
             c. Will coordinate the installation and make other changes which may be required for the
                work to be complete in all respects, including;
                  ➢ Re-design.
                  ➢   Additional components and capacity required by other work affected by the change.
                  ➢ Waives all claims for additional costs and time extensions which subsequently may
                    become apparent and which are caused by the change.
                  ➢   Will reimburse the Owner for additional costs for evaluation of the substitution
                      request, redesign by the Architect if required, and re-approval by authorities having
                      jurisdiction if required.
             d. Substitutions will not be considered when acceptance would require substantial revision of
                the contract documents.
             e. Substitutions will not be considered when they are indicated or implied on shop drawing or
                product data Submittals without separate written request.
             f.   Substitution requests will not be considered when submitted directly by sub-
                  Subcontractor, supplier or vendor.
             g. Substitution Request Procedure: Submit written request with complete date sustaining
                compliance of the proposed product with the requirements of the contract documents.
             h. Submit request within 15 days of the issuance of construction documents by Contractor.
             i.   Submit request to Contractor.
             j.   Submittal quantities must be in accordance with the requirements of Section 5.3.
             k. Submit request accompanied by the "Request for Substitution" form included in the
                Project Manual.
         2. The Architect will determine acceptability of the proposed substitution.

     E. As-Builts
         Provide final as-builts, warranties, guarantees, part lists, owner manuals, maintenance guides,
         instruction manuals, user manuals, etc. for equipment provided and as required by the Contract
         Documents.
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                                       ATTACHMENT "K"
                                  SUPPLEMENTAL INFORMATION


   The following supplementary project requirements have been developed to ensure proper
   coordination of the project and apply to all trade contractors. Prism Wonder Lofts Construction,
   LLC reserves the right to amend these requirements as needed:

          Construction activities are only permitted as follows:

            -   Monday through Friday 8:00 AM — 4:00 PM

          No heavy equipment shall be permitted to arrive or depart outside of the above listed
          hours.

  2.      Subcontractor employees shall sign in and out of the site daily.

  3.      Excavation of any kind shall require a permit issued by Prism Construction Management.

  4.      Subcontractor employees shall park in areas designated by Prism Wonder Lofts
          Construction, LLC. Failure to park in designated areas will result in permanent dismissal
          from the Project.

  5.      All subcontractor invoices/requisitions must be submitted to Prism Wonder Lofts
          Construction by the 20th of each month — no exceptions. See Attachment C "Invoicing
          Requirements" in the contract for detailed information.

  6.      All subcontractors are responsible for hoisting their materials into the building.
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 Sheet Name    Version                                     Description
 A-000         Architectural-720 Clinton                   Title Sheet/Tax Map/General Notes/Drawing List    02/26/19
 A-100         Architectural-720 Clinton                   Site & Impact Plans                               02/26/19
 A-101         Architectural-720 Clinton                   Site Circulation & Lighting Plans                 02/26/19
 A-102         Architectural-720 Clinton                   Site Landscaping & Topography Plan                02/26/19
 A-103         Architectural-720 Clinton                   Flood Proofing Plan                               02/26/19
A-150          Architectural-720 RFI-34 Updated            Wall Partition Types/Floor Assemblies             03/29/19
A-151          Architectural-720 Cli€nton                 Soundproofing/Signage                              02/26/19
A-200         Architectural-720 Clinton                   Architectural Plan Floor 0 (basement)              02/26/19
A-201         Architectural-720 Clinton                   Architectural Plan Floor 1                         02/26/19
A-201.1       Architectural-720 RFI-8                     Architectural Plan 1st Floor Partial Plan          03/19/19
A-201.2       Architectural-720 Clinton                   Architectural Plan 1st Floor Partial Plan          02/26/19
A-201.3       Architectural-720 RFl 31                    Architectural Plan 1st Floor Partial Plan          03/12/19
A-201.4       Architectural-RFIs Misc.                    Architectural Plan 1st Floor Partial Plan          03/12/19
A-201M        Architectural-720 .RFI 31                   Architectural PlanFloor 1M Upper Parking           03/12/19
A-202         Architectural-720 Clinton                   Architectural Plan Floor 2                         02/25/19
A-202.1       Architectural-720 RF1-1                     Architectural Plan 2nd Floor Partial Plan          03/12/19
A-202.2       Architectural-720 Clinton                   Architectural Plan 2nd Floor Partial Plan         02/26/19
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A-202.4       Architectural-720 Clinton                   Architectural Plan 2nd Floor Partial Plan         02/26/19
A-203         Architectural-720 Clinton                   Architectural Plan 3rd                            02/26/19
A-203.1       Architectural-720 Clinton                   Architectural Plan 3rd Floor Partial Plan         02/ 26/19
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A-203.3       Architectural-720 Clinton                   Architectural Plan 3rd Floor Partial Plan.        02/26/19
A-204         Architectural-720 Clinton                   Architectural Plan 4th Floor                      02/26/19
A-204.1       Arch-5/15/19-Misc. Revisions                Architectural Plan 4th Floor Partial Plan         05/15/19
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A-204.3       Architectural-720 Clinton                   Architectural Plan 4th Floor Partial Plan         02/26/19
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A-205         Architectural-720 Clinton                   Architectural Plan Floor 5                        02/26/19
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A-205.3       Architectural-720 Clinton                   Architectural Plan 4th Floor Partial Plan         02/26/19
A-205.4       Architectural-720 Clinton                   Architectural Plan 4th Floor Partial Plan         02/26/19
A-206         Architectural-720 Clinton                   Architectural Plan Floor 6                        02/26/19
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A-207         Architectural-720 Clinton                   Architectural Plan Floor 7                        02/26/19
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A-207.2       Architectural-REV30                         Architectural Plan 7th Floor Partial Plan         04/16/19
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A-208         Architectural-720 RFI-50                    Architectural Plan Floor 8-Bulkhead Plan          04/16/19
A-211         Architectural-720 Clinton                   Roof Details                                      02/26/19
A-212         Architectural-720 Clinton                   Roof Details/Extensive Green Roof                 02/26/19
A-213         Architectural-720 RFI-48                    Roof Details/Pedestal System Details              04/10/19
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A-221.4       Architectural-720 Clinton                   Reflected Ce€ling Plan 1st F€oor                  02/26/19
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A-223.1       Architectural-720 Clinton                   Reflected Ceiling Plan 3rd Floor Partial Plan     02/26/19
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A-224.1       Architectural-720 Clinton                   Reflected Ceiling Plan 4th Floor Partial Plan     02/26/19
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A-228         Architectural-720 Clinton                       Reflected Ceiling Plan 8th Floor                                02/26/19
A-230         Architectural-720 Clinton                       ANSI Compliant Bathrooms & Details                              02/26/19
A-240         Architectural-720 Clinton                       ANSI Compliant Kitchen & Details                                02/26/19
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A-301         Architectural-06/14/19 Updates                  Building Elevations Eighth Street                               06/14/19
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A-303.        Architectural-06/14/19 Updates                  Building Elevations South Building A Interior                   06/14/19
A-304         Architectural-720 Clinton                       Building Elevations/Sections -Section AA (Building A)           02/26/19
A-305         Architectural-720 Clinton                       Building Elevations/Sections -Section BB (Building A)           02/26/19
A-306         Architectural-720 Clinton                       Building Elevations/Sections -Section CC (Building B/C/Court)   02/26/19
A-307         Architectural-720 Clinton                       Building Elevations/Sections -Section DD (Building A/B)         02/26/19
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A-312         Architectural-5/30/019 Updates                  Glazing Schedule (Continued)                                    05/30/19
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A-320         Architectural-06/14/19 Updates                  Brick Repair Details                                            06/14/19
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A-413         Architectural-720 Clinton                       Wall Sections-Building C                                        02/26/19
A-414         Architectural-720 RFI-2                         Wall Sections Building C                                        03/12/19
A-415         Architectural-720 Clinton                       Section Details                                                 02/26/19
A-416         Architectural-720 RFI 10                        Enlarged Sections-Building A                                    03/22/19
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A-421         Architectural-720 Clinton                       Enlarged North East Stair Plans-Building A                      02/26/19
A-422         Architectural-720 Clinton                       Enlarged South West Stair Plans-Building B                      02/26/19
A-423         Architectural-720 Clinton                       Enlarged South East Stair Plans-Building C                      02/26/19
A-424         Architectural-720 RF1-13                        Enlarged Typical Unit interior Stairs                           03/12/19
A-500         Architectural-720 Clinton                       Door Schedule-1st & 2nd Floor                                   02/26/19
A-501         Architectural-720 Clinton                       Door Schedule-3rd Floor                                         02/26/19
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A-510         Architectural-720 Clinton                       Title Sheet/Tax Map/General Notes/Drawing List                  02/26/19
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A-601         Archltectural-720 Clinton                       Metal Stud Framing Details                                      02/26/19
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E-002         MEP-Electrical Updates 4/29/19                  Electrical Specifications                                       04/29/19
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E-101         MEP-Electrical Updates 4/29/19                  Electrical Lighting Plan-Mezzanine                              04/29/19
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 E-106           MEP-Electrical Updates 4/29/19                 Electrical Lighting Plan-Sixth Floor                04/29/19
 E-107           MEP-Electrical Updates 4/29/19                 Electrical Lighting Plan-Seventh Floor              04/29/19
 E-108           MEP-Electrical Updates 4/29/19                 Electrical Lighting Plan-Roof                       04/29/19
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 E-202          MEP-Electrical Updates 4/29/19                  Electrical Power Plan-Second Floor                  04/29/19
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 E-204          MEP-Electrical Updates 4/29/19                  Electrical Power Plan-Fourth Floor                  04/29/19
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 E-207          MEP-Electrical Updates 4/29/19                  Electrical Power Plan-Seventh Floor                 04/29/19
 E-208          MEP-Electrical. Updates 4/29/19                 Electrical Power Plan-Roof                          04/29/19
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FA-100          MEP-Fire Alarm Updates 4/29/19                 Fire Alarm Riser & Notes                             04/29/19
FA-200          MEP-Fire Alarm Updates 4/29/19                 Fire Alarm Plan-First Floor                          04/29/19
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FA-202          MEP-Fire Alarm Updates 4/29/19                 Fire Alarm Plan-Second Floor                        04/29/19
FA-203          MEP-Fire Alarm Updates 4/29/19                 Fire Alarm Plan-Third Floor                         04/29/19
FA-204          MEP-Fire Alarm Updates 4/29/19                 Fire Alarm Plan-Fourth Floor                        04/29/19
FA-205          MEP-Fire Alarm Updates 4/29/19                 Fire Alarm Plan-Fifth Floor                         04/29/19
FA-206          MEP-Fire Alarm Updates 4/29/19                 Fire Alarm Plan-Sixth Floor                         04/29/19
FA-207          MEP-Fire Alarm Updates 4/29/19                 Fire Alarm Plan-Seventh Floor                    • 04/29/19
FA-208          MEP-Fire Alarm Updates 4/29/19                 Fire Alarm Plan-Eighth Floor                        04/29/19
FP-001.00       MEP-Fire Protection Updates 4/29/19            Fire Protection Details & Notes-1                   04/29/19
FP-001.00-720   MEP-Fire Protection                            Fire Protection Details & Notes-1                   02/26/19
FP-002.00       MEP-Fire Protection Updates 4/29/1 9           Fire Protection Details & Notes-2                   04/29/19
FP-002.00-720   MEP-Fire Protection                            Fire Protection De₹ails & Notes-2                   02/26/19
FP-003.00       MEP-Fire Protection Updates 4/29/19            Fire Protection Details & Notes-3                   04/29/19
FP-003,00-720   MEP-Fire Protection                            Fire Protection Details & Notes-3                   02/26/19
FP-100.00       MEP-Fire Protection Updates 4/29/19            Fire Protection Plan-1st Floor                      04/29/19
FP-100.00-720   MEP-Fire Protection                            Fire Protection Plan-1st Floor                      02/26/19
FP-110.00       MEP-Fire Protection Updates 4/29/19            Fire Protection Plan-1st Floor & Mezzanine          04/29/19
FP-110.00-720   MEP-Fire Protection                            Fire Protection Plan-1st Floor & Mezzanine          02/26/19
FP-200.00       MEP-Fire Protection Updates 4/29/19            Fire Protection Plan-2nd Floor                      04/29/19
FP-200.00-720   MEP-Fire Protection                            Fire Protection Plan-2nd floor                      02/26/19
FP-300.00       MEP-Fire Protection Updates 4/29/19            Fire Protection Plan-3rd Floor                      04/29/19
FP-300.00-720   MEP-Fire Protection                            Fire Protection Plan-3rd floor                      02/26/19
FP-400.00       MEP-Fire Protection Updates 4/29/19            Fire Protection Plan-4th Floor                      04/29/19
FP-400.00-720   MEP-Fire Protection                            Fire Protection Plan-4th floor                      02/26/19
FP-500.00       MEP-Fire Protection Updates 4/29/19            Fire Protection Plan-5th Floor                      04/29/19
FP-500.00-720   MEP-Fire Protection                            Fire Protection Plan-5th floor                      02/26/19
FP-600.00       MEP-Fire Protection Updates 4/29/19            Fire Protection Plan-6th Floor                      04/29/19
FP-600.00-720   MEP-Fire Protection                            Fire Protection Plan-6th floor                      02/ 26/19
FP-700.00       MEP-Fire Protection Updates 4/29/19            Fire Protection Plan-Penthouse Floor                04/29/19
FP-700.00-720   MEP-Fire Protection                            Fire Protection Plan-Penthouse Floor                02/26/19
FP-800.00       MEP-Fire.Protection Updates 4/29/19            Fire Protection Plan-Roof                         . 04/29/19
FP-800.00-720   MEP-Fire Protection                            Fire Protection Plan-Roof                           02/26/19
FP-901.00       MEP-Fire Protection Updates 4/29/19            Fire Protection Riser Diagram & Details-1           04/29/19
FP-901.00-720   MEP-Fire Protection                            Fire Protection Riser Diagram & Details-1           02/26/19
FP-902.00       MEP-Fire Protection Updates 4/29/19            Fire Protection Riser Diagram & Details-2           04/29/19
FP-902.00-720   MEP-Fire Protection                            Fire Protection Riser Diagram & Details-2           02/26/19
H-100           MEP-HVAC 4/29/19 Updates                       HVAC Notes, Symbols, & Abbreviations                05/29/19
H-210           MEP-HVAC 4/29/19 Updates                       HVAC 1st Floor Plan                                 05/29/19
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 H-215            MEP-HVAC 4/29/19 Updates               HVAC 1st Floor Parking Mezzanine Plan                  05/29/19
 H-220            MEP-HVAC 4/29/19 Updates               HVAC 2nd Floor Plan                                    05/29/19
 H-230            MEP-HVAC 4/29/19 Updates               HVAC 3rd Floor Plan                                    05/29/19
 H-240            MEP-HVAC 4/29/19 Updates               HVAC 4th Floor Plan                                    05/29/ 19
 H-250            MEP-HVAC 4/29/19 Updates               HVAC 5th Floor Plan                                    05/29/19
 H-260            MEP-HVAC 4/29/19 Updates               HVAC 6th Floor Plan                                    05/29/19
 H-270            MEP-HVAC 4/29/19 Updates               HVAC 7th Floor Plan                                    05/29119
 H-280            MEP-HVAC 4/ 29/19 Updates              HVAC 8th Floor Plan                                    05/29/19
 H-290            MEP-HVAC 4/29/19 Updates               HVAC 8th Floor Roof Plan                               05/29/19
 H-300            MEP-HVAC 4/29/19 Updates               HVAC Schedules-Sheet 1                                 05/29/19
H-310             MEP-HVAC 4/29/19 Updates               HVAC Schedules-Sheet 2                                 05/29/19
H-320             MEP-HVAC 4/29/19 Updates              Ventilation Schedules Sheet 1                           05/29/19
H-330            MEP-HVAC 4/29/19 Updates               Ventilation Schedules Sheet 2                           05/29/19
H-350            MEP-HVAC 4/29/19 Updates               HVAC Diagrams                                           05/29/19
H-400            MEP-HVAC 4/29/19 Updates               HVAC Details                                            05/29/19
OA-018           MEP-Plumbing                           Plumbing Details-2                                      02/26/19
P-001            MEP-Plumbing Updates 4/29/19           Plumbing Specification 1 of 3                           04/29/19
P-001.00         MEP-Plumbing                           Plumbing Specifications 1 of 4                          02/26/19
P-001.00 (729)   MEP-Plumbing                           Plumbing Notes & Abbreviations                          02/26/19
P-002            MEP-Plumbing Updates 4/29/19           Plumb€ng Specification 2 of 3                           04/29/19
P-002.00         MEP-Plumbing                           Plumbing Specifications 2 of 4                          02/26/19
P-002.00 (729)   MEP-Plumbing                           Plumbing Fixtures Schedule                              02/26/19
P-003            MEP-Plumbing Updates 4/29/19           Plumbing Specification 3 of 3                           04/29/19
P-003.00         MEP-Plumbing                           Plumbing Specifications 3 of 4                         02/26/19
P-003.00 (729)   MEP-Plumbing                           Plumbing Specifications 1                               02/26/19
P-004.00         MEP-Plumbing                           Plumbing Specifications 4 of 4                         02/26/19
P-004.00 (729)   MEP-Plumbing                           Plumbing Specifications 2                              02/26/19
P-005.00         MEP-Plumbing                           Schedules Plumbing                                     02/26/19
P-005.00 (729)   MEP-Plumbing                           Plumbing Specifications 3                              02/26/19
P-098            MEP-Plumbing Updates 4/29/19           Plumbing Legends, Notes & Schedules                    04/29/19
P-099            MEP-Plumbing Updates 4/29/19           Plumbing Schedule                                      04/29/19
P-099.00         MEP-Plumbing                           1st Floor Plumbing Sanitary & Storm Underground Plan   02/26/19
P-100.00         MEP-Plumbing Updates 4/29/19           1st Floor Plumbing Sanitary                            04/29/19
P-100.00 (720)   MEP-Plumbing                           1st Floor Plumbing Sanitary                            02/26/19
P-101.00         MEP-Plumbing Updates 4/29/19           1st Floor Mezz Plumbing Sanitary                       04/29/19
P-101.00 (720)   MEP-Plumbing                           1st Floor Mezz Plumbing Sanitary                       02/26/19
P-101.01         MEP-Plumbing                           Plumbing 1st Floor Sanitary Plan                       02/26/19
P-102.00         MEP-Plumbing Updates 4/29/19           2nd Floor Plumbing Sanitary                            04/29/19
P-102.00 (720)   MEP-Plumbing                           2nd Floor Plumbing Sanitary                            02/26/19
P-102.00 (729)   MEP-Plumbing                           Plumbing 2nd Floor Sanitary & Storm Plan               02/26/19
P-103,00         MEP-Plumbing Updates 4/29/19           Plumbing 3rd Floor Sanitary Plan                       04/29/19
P-103.00 (720)   MEP-Plumbing                           3rd Floor Plumbing Sanitary                            02/26/19
P-103.00 (729)   MEP-Plumbing                           Plumbing 3rd Floor Sanitary & Storm Plan               02/26/19
P-104.00         MEP-Plumbing Updates 4/29/19           4th Floor Plumbing Sanitary                            04/29/19
P-104.00 (720)   MEP-Plumbing                           4th Floor Plumbing Sanitary                            02/26/19
P-104.00 (729)   MEP-Plumbing                           Plumbing 4th Floor Sanitary & Storm Plan               02/26/19
P-105.00         MEP-Plumbing Updates 4/29/19           5th Floor Plumbing Sanitary                            04/29/19
P-105.00 (720)   MEP-Plumbing                           5th Floor Plumbing Sanitary                            02/26/19
P-105.00 (729)   MEP-Plumbing                           Plumbing 5th Floor Sanitary & Storm Plan               02/26/19
P-106.00         MEP-Plumbing Updates 4/29/19           6th Floor Plumbing Sanitary                            04/29/19
P-106.00 (720)   MEP-Plumbing                           6th Floor Plumbing Sanitary                            02/26/19
P-106.00 (729)   MEP-Plumbing                           Plumbing Roof Sanitary & Storm Plan                    02/26/19
P-106.00-729     MEP-Fire Protection                                                                           02/26/19
P-107.00         MEP-Plumbing Updates 4/29/19           7th Floor Plumbing Sanitary Plan                       04/29/19
P-107.00 (720)   MEP-Plumbing                           7th Floor Plumbing Sanitary                            02/26/19
P-108.00         MEP-Plumbing Updates 4/29/19           Roof Plumbing Sanitary                                 04/29/19
P-199            MEP-Plumbing Updates 4/29/19           Basement Water & Gas Plan                              04/29/19
P-200            MEP-Plumbing Updates 4/29/19           1st Floor Domestic Water & Gas Plan                    04/29/19
P-200,00         MEP-Plumbing                           Plumbing Details                                       02/26/19
P-201            MEP-Plumbing Updates 4/29/19           1st Floor Mezzanine Domestic Water & Gas Plan          04/29/19
P-201.00         MEP-Plumbing                           1st Floor Domestic Water & Gas Plan                    02/26/19
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 P-201.00 (729)    MEP-Plumbing                            1st Floor Domestic Water & Gas Plan           02/26/19
 P-202             MEP-Plumbing Updates 4/29/19            2nd Floor Domestic Water & Gas Plan           04/29/19
 P-202.00          MEP-Plumbing                            2nd Floor Domestic Water & Gas Plan           02/26/19
 P-202.00 (729)    MEP-Plumbing                            2nd Floor Domestic Water & Gas Plan           02/26/19
 P-203            MEP-Plumbing Updates 4/29/19             3rd Floor Domestic Water & Gas Plan           04/29/19
 P-203.00         MEP-Plumbing                             3rd Floor Domestic Water & Gas Plan           02/26/19
 P-203.00 (729)   MEP-Plumbing                             3rd Floor Domestic Water & Gas Plan           02/26/19
 P-204            MEP-Plumbing Updates 4/29/19             4th Floor Domestic Water & Gas Plan           04/29/19
 P-204.00         MEP-Plumbing                             4th Floor Domestic Water & Gas Plan           02/26/19.
 P-204.00 (729)   MEP-Plumbing                             4th Floor Domestic Water & Gas Plan           02/26/19
P-205             MEP-Plumbing Updates 4/29/19             5th Floor Domestic Water & Gas Plan           04/29/19
P-205.00          MEP-Plumbing                             5th Floor Domestic Water & Gas Plan           02/26/19
P-205.00 (729)    MEP-Plumbing                             5th Floor Domestic Water & Gas Plan           02/26/19
P-206             MEP-Plumbing Updates 4/29/19             6th Floor Domestic Water & Gas Plan         • 04/29/19
P-206.00          MEP-Plumbing                             Roof Domestic Water & Gas Plan                02/26/19
P-206.00 (729)    MEP-Plumbing                             Roof Domestic Water & Gas Plan                02/26/19
P-207             MEP-Plumbing Updates 4/29/19            7th Floor Domestic Water & Gas Plan            04/29/19
P-208             MEP-Plumbing Updates 4/29/19             Penthouse Level Domestic Water & Gas Plan     04/29/19
P-300.00          MEP-Plumbing                            Plumbing Sanitary Riser Diagram                02/26/19
P-300.00 (729)    MEP-Plumbing                            Plumbing Sanitary Risers                      02/26/19
P-301             MEP-Plumbing Updates 4/29/19            Water Riser Part 1                             04/29/19
P-301.00          MEP-Plumbing                            Plumbing Water Riser Diagram                   02/26/19
P-301.00 (729)    MEP-Plumbing                            Water Risers-Bldg 729                         02/26/19
P-302             MEP-Plumbing Updates 4/29/19            Water Riser Part 2                            04/29/19
P-302.00          MEP-Plumbing                            Gas Supply Riser Diagram                      02/26/19
P-302,00 (729)    MEP-Plumbing                            Gas Risers-Bldg 729                           02/26/19
P-303             MEP-Plumbing Updates 4/29/ 19           Water Riser Part 3                            04/29/19
P-303.00          MEP-Plumbing                            Plumbing Storm Riser Diagram                  02/26/19
P-303.00 (729)    MEP-Plumbing                            Plumbing Storm Risers                         02/26/19
P-304             MEP-Plumbing Updates 4/29/19            Water Riser Part 4                            04/29/19
P-305             MEP-Plumbing Updates 4/29/19            Water Riser Part 5                            04/29/19
P-306             MEP-Plumbing Updates 4/29/19            Water Riser Part 6                            04/29/19
P-307             MEP-Plumbing Updates 4/29/19            Water Riser Part 7                            04/29/19
P-308             MEP-Plumbing Updates 4/29/19            Water Riser Part 8                            04/29/19
P-400             MEP-Plumbing Updates 4/29/19            Pluming Sanitary Riser Part 1                 04/29/19
P-401             MEP-Plumbing Updates 4/29/19            Pluming Sanitary Riser Part 2                 04129/19
P-402             MEP-Plumbing Updates 4/29/19            Pluming Sanitary Riser Part 3                 04129/19
P-403             MEP-Plumbing Updates 4/29/19            Pluming Sanitary Riser Part 4                 04/29/19
P-404             MEP-Plumbing Updates 4/29/19            Pluming Sanitary Riser Part 5                 04/29/19
P-405             MEP-Plumbing Updates 4/29/19            Pluming Sanitary Riser Part 6                 04129/19
P-406             MEP-Plumbing Updates 4/29/19            Pluming Sanitary Riser Part 7                 04/29/19
P-407             MEP-Plumbing Updates 4/29/19.           Pluming Sanitary Riser Part 8                 04/29/19
P-408             MEP-Plumbing Updates 4/29/19            Pluming Sanitary Riser Part 9                 04/29/19
P-409             MEP-Plumbing Updates 4/29/19            Pluming Sanitary Riser Part 10                04/29/19
P-410             MEP-Plumbing Updates 4/29/19            Pluming Sanitary Riser Part 11                04/29/19
P-411             MEP-Plumbing Updates 4/29/19            Pluming Sanitary Riser Part 12                04/29/19
P-412             MEP-Plumbing Updates 4/29/19            Pluming Sanitary Riser Part 13                04/29/19
P-499,00          MEP-Plumbing Updates 4/29/19            1st Floor Plumbing Utility Plan               04/29/19
P-499A.00         MEP-Plumbing Updates 4/29/19            Plumbing Sanitary & Storm Utility Plan        04/29/19
P-499B..00        MEP-Plumbing Updates 4/29/19            Plumbing Details                              04/29/19
P-500             MEP-Plumbing                            1st Floor Storm Plan                          02/26/19
P-501             MEP-Plumbing                            1st Floor Storm Plan                          02/26/19
P-501.00          MEP-Plumbing Updates 4/29/19            1st Floor Mezzanine Storm Plan                04/29/19
P-502             MEP-Plumbing                            2nd Floor Storm Plan                          02/26/19
P-502.00          MEP-Plumbing Updates 4/29/19            2nd Floor Storm Plan                         04129/19
P-503             MEP-Plumbing                            3rd Floor Storm Plan                         02/26/19
P-503.00          MEP-Plumbing Updates 4/29/19            3rd Floor Storm Plan                         04/29/19.
P-504             MEP-Plumbing                            4th Floor Storm Plan                         02/26/19
P-504.00          MEP-Plumbing Updates 4/29/19            4th Floor Storm Plan                         04/29/19
P-505             MEP-Plumbing                            5th Floor Storm Plan                         02/26/19
P-505.00          MEP-Plumbing Updates 4/29/19            5th Floor Storm Plan                         04/29/19
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 P-506         MEP-Plumbing                             6th Floor Storm Plan                                               02/26/19
 P-506.00      MEP-Plumbing Updates 4/29/19             6th Floor Storm Plan                                               04/29/19
P-507          MEP-Plumbing                             7th Floor Storm Plan                                               02/26/19
 P-507.00      MEP-Plumbing Updates 4/29/19             7th Floor Storm Plan                                               04/29/ 19
P-508         MEP-Plumbing                              Penthouse Floor Storm Plan                                         02/26/19
P-508.00      MEP-Plumbing Updates 4/29/19              Roof Storm Plan                                                    04/29/19
P-530         MEP-Plumbing Updates 4/29/19              Gas Riser-Part 1                                                   04/29/19
P-531         MEP-Plumbing Updates 4/29/19              Gas Riser-Part 2                                                   04/29/19
P-532         MEP-Plumbing Updates 4/29/19              Gas Riser-Part 3                                                   04/29/19
P-630         MEP-Plumbing Updates 4/29/19              Storm Riser-Part 1                                                 04/29/19
P-631         MEP-Plumbing Updates 4/29/19              Storm Riser-Part 2                                                 04/29/19
P-632         MEP-Plumbing Updates 4/29/19             Storm Riser-Part 3                                                  04/29/19
P-920         MEP-Plumbing Updates 4/29/19              Plumbing Details-1                                                 04/29/19
P-920 (729)   MEP-Plumbing                              Plumbing Details-1                                                 02/26/19
P-921         MEP-Plumbing Updates 4/29/19              Plumbing Details-2                                                 04/29/19
S-02          USG DRYWALL SUSPENSION SYSTEM DETAILS     USG Drywall Suspension System Details                              06/05/17
S-100         Structural-Revised Piles                  Cellar & Foundation Plan                                           04/23/19
S-101         Structural-5/24/19 Updates               First Floor Framing Plan (revised Foundations B&C 05.02.19)         05/24/19
S-101A        Structural-5/24/19 Updates               Building A-Pile Caps Sections & Details                             05/24/19
S-101M        Structural-5/24/19 Updates               First Floor Mezzanine Framing Plan                                  05/24/19
S-102         Structural-5/24/19 Updates               Building A Second Floor Framing Plan                                05/24/19
S-1.03        Structural-Updates 2                     Third Floor Framing Plan                                            04/05/19
S-104         Structural-Updates 2                     Fourth Floor Framing Plan                                           04/05/19
S-105         Structural-Updates 2                     Fifth Floor Framing Plan                                            04/05/19
S-106         Structural-Updates 2                     Sixth Floor Framing Plan                                           04/05/19
5-107         Structural-Updates 2                     Seventh Floor Framing Plan                                         04/05/19
S-108         Structural-Updates 2                     High Roof Framing Plan                                             04/05/19
S-109         Structural-Updates 2                     Building A Bulkhead & Dunnage Framing Plan                         04/05/19
S-201         Structural-Updates 2                     Sections I                                                         04/05/19
S-202         Structural                               Sections II                                                        12/14/18
S-210         Structural-5/24/19 Updates               Pile Cap Details and Sections                                      05/24/19
S-211         Structural-5/24/19 Updates               Building. B Pile Cap Detai€s and Sections                          05/24/19
5-401         Structural-Revised Piles                 Beam Schedule                                                      04/23/19
S-500         Structural-Updates 2                     Building A Existing Column Schedule                                04/05/19
S-501         Structural-Updates 2                     Building A Column Schedule I                                       04/05/19
S-502         Structural-Updates 2                     Building A Column Schedule II & Sear Walls Loads                   04/05/19
S-503         Structural-Updates 2                     Building B Existing & New Column Schedule                          04/05/19
S-504         Structural-Updates 2                     Building C Column Schedule                                         04/05/19
S-510         Structural-Updates 2                     Building A Columns Details                                         04/05/19
S-520         Structural-Updates 2                     Building A Details                                                 04/05/19
S-521.        Structural-Updates 2                     Building B Shear Rails Details                                     04/05/19
S-522         Structural-Updates 2                     Building C Shear Rails Details                                     04/05/19
S-530         Structural-Updates 2                     Building A Shear Wall Details                                      04/05/19
5-531         Structural-Updates 2                     Building B Shear Wall Details                                      04/05/19
S-532         Structural-Updates 2                     Building C Shear Wall Details & Beam Schedule                      04/05/19
S-601         Structural-Updates 2                     Typical Repair Details                                             04/05/19
S-700         Structural-Updates 2                     Building A General Notes & Design Criteria                         04/05/19
S-701         Structural-Updates 2                     Building A Typical Details I                                       04/05/19
S-702         Structural-Updates 2                     Building A Typical Details II                                      04/05/19
S-703         Structural-Updates 2                     Building A Typical Details Ill                                     04/05/19
S-704         Structural-Updates 2                     Building A Typical Details IV                                      04/05/19
S-705         Structural-Updates 2                     Building A Typical Details V                                       04/05/19
S-706         Structural-Updates 2                     Building A Typical Details VI                                      04/05/19 •
S-707         Structural-Updates 2                     Building A Typical Details VII                                     04/05/19
S-708         Structural-Updates 2                     Building A Typical Details VIII                                    04/05/19
                                                       Building C-Found, lst,2nd,3rd fir Framing Plans-Partial Demo Phi
S-800         Structural-Updates 2                     Construction at Facade                                             04/05/19
S-801         Structural -04.26.19                     Building C-Partial Demo & Ph 1 Construction Facade Bracing         04/26/19
S02           Architectural-720 Clinton                USG Drywall Suspension System Details                              02/20.9
SD-100        Structural-Updates 2                     Cellar & Foundation Demolition Plan                                04/05/19
SD-101        Structural-Updates 2                     First F€oor Demolition Plan                                        04/05/19.
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SD-102          Structural-Updates 2                             Existing Second Floor Demolition Plan               04/05/19
5D-103          Structural-Updates 2                             Existing Third Floor Demolition Plan                04/05/19
SD-104          Structural-Updates 2.                            Building A Existing 4th Floor Demolition Plan       04/05/19
SD-105          Structural-Updates 2                             Existing 5th Floor Demolition Plan                  04/05/ 19
SD-106          Structural-Updates 2                             Existing Roof Demolition Plan                       04/05/19
SP-001.00-729   MEP-Fire Protection                              Fire Protection Notes, Symbols & Details            02/26/19
SP-002.00-729   MEP-Fire Protection                              Fire Protection Specifications 1-2                  02/26/19
SP-003.00-729   MEP-Fire Protection                              Fire Protection Specifications 2-2                  02/26/19
SP-100,00-731   MEP-Fire Protection                              Fire Protection Notes and Details                   02/26/19
SP-101.00-729   MEP-Fire Protection                              1st Floor Fire Sprinkler Plan                       02/26/19
SP-101.00-731   MEP-Fire Protection                              1st Floor Fire Sprinkler Plan                       02/26/19
SP-102.00-729   MEP-Fire Protection                              2nd Floor Fire Sprinkler Plan                       02/26/19
SP-102.00-731   MEP-Fire Protection                              2nd Floor Fire Sprinkler Plan                       02/26/19
SP-103.00-729   MEP-Fire Protection                              3rd Floor Fire Sprinkler Plan                       02/26/19
SP-103.00-731   MEP-Fire Protection                              3rd Floor Fire Sprinkler Plan                       02/26/19
SP-104.00-729   MEP-Fire Protection                              4th Floor Fire Sprinkler Plan                       02/26/19
SP-104.00-731   MEP-Fire Protection                              4th Floor Fire Sprinkler Plan                       02/26/19
SP-105.00-729   MEP-Fire Protection                                                                                  02/26/19
SP-105.00-731   MEP-Fire Protection                             5th Floor Fire Sprinkler Plan                        02/26/19
SP-106.00-731   MEP-Fire Protection                             Roof Fire Sprinkler Plan                             02/26/19
Z-48            Landscaping-Pool Relocation Revisions           Proposed Landscaping Plans & Details (Upper Roof)    03/05/19
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 A-102         Architectural-721 Clinton        Site Details                                                             02/26/19
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 A-151-2       Architectural-721 Clinton        Soundproofing/Signage                                                    02/26/19
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 A-202         Architectural-721 Clinton       Third & Fourth Floor Plans                                                02/26/19
 A-203         Architectural-721 Clinton        Fifth Floor Plan & Roof Plan                                             02/26/19
 A-204         Architectural-721 Clinton        Bulkhead Plan & Details                                                  02/26/19
 A-221         Architectural-721 Clinton        First & Second Floor Plans                                               02/26/19
 A-222         Architectural-721 Clinton       Third & Fourth Floor Plans                                                02/26/19
 A-223         Architectural-721 Clinton        Fifth & Roof Plans                                                       02/26/19
 A-230         Architectural-721 Clinton       ANSI Compliant Bathroom Plans                                             02/26/19
A-231         Architectural-721 Clinton        ANSI Compliant Bathrooms & Details                                        02/26/19
A-240         Architectural-721 Clinton        ANSI Compliant Kitchen Plans                                              02/26/19
A-241         Architectural-721 Clinton        ANSI Compliant Kitchen & Details                                          02/26/19
 A-300        Architectural-721 Clinton        Building Elevations                                                       02/26/19
A-301         Architectural-721 Clinton        Glazing Schedule                                                          02/26/19
A-400         Architectural-721 Clinton        Building Section AA                                                       02/26/19
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A-500         Architectural-721 Clinton        Door Schedule & Hardware Schedule                                         02/26/19
A-501         Architectural-721 Clinton        Door Types & Door Details                                                 02/26/19
A-520         Architectural-721 Clinton        Fire Protection Details/Radon Protection Details                         02/26/19
A-521         Architectural-721 Clinton        Metal Stud Framing.Details                                               02/26/19
A-603         Architectural-721 Clinton        Miscellaneous Details                                                    02/26/19
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 D-444        Interior Design                  Lounge Elevations                                                        02/27/19
E-001         MEP-Electrical-5/1/19 Updates    Electrical Symbol List & General Notes                                   05/01/19
E-002         MEP-Electrical-5/1/19 Updates    Electrical Notes & Specifications                                        05/01/19
E-003         MEP-Electrical-5/1/19 Updates    Electrical Notes & Specifications                                        05/01/19
E-100         MEP-Electrical-5/1/19 Updates    Electrical Lighting Plan-First & Second Floor                            05/01/19
E-101         MEP-Electrical-5/1/19 Updates    Electrical Lighting Plan-Third & Fourth Floor                            05/01/19
E-102         MEP-Electrical-5/1/19 Updates    Electrical Lighting Plan-Fifth Floor & Roof                              05/01/19
E-200         MEP-Electrical-5/1/19 Updates    Electrical Power Plan-First & Second Floor                               05/01/19
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E-300         MEP-Electrical-5/1/19 Updates    Electrical Panel Schedules                                               05/01/19
E-400         MEP-Electrical-5/1/19 Updates    Electrical Riser Diagram & House Panel Schedule                          05/01/19
FA-001        MEP-Fire Alarm-5/1/19 Updates    Fire Alarm Riser, Legend & Notes                                         05/01/19
FA-100        MEP-Fire Alarm-5/1/19 Updates    Fire Alarm Plan-First & Second Floor                                     05/01/19
FA-101        MEP-Fire Alarm-5/1/19 Updates    Fire Alarm Plan-Third & Fourth Floor                                     05/01/19
FA-102        MEP-Fire Alarm-5/1/19 Updates    Fire Alarm Plan-Fifth Floor & Roof                                       05/01/19
H-100         MEP-HVAC 5/1/19 Updates          HVAC Notes, Symbols & Abbreviations                                      05/01/19
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ID-000        Interior Design                  Cover Sheet                                                              02/27/19
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  10-120          Interior Design               720 Clinton Lobby-Finish Floor Plan & Furniture Plan             02/27/19
  1D-121          Interior Design               720 Clinton Lobby-Reflected Ceiling & Power/Lighting Plan        02/27/19
  ID-130          Interior Design               Typical Corridor-Finish Floor/RCP/Lighting/Power Plan            02/27/19
  ID-140          Interior Design               Lounge & Kids Room-Finish Floor Plan & Furniture Plan            02/27/19
  iD-141          Interior Design               Lounge & Kids Room-Reflected Ceiling & Power/Lighting Plan       02/27/19
  ID-150          Interior Design               Gym-Finish Floor Plan & Furniture Plan                           02/27/19
  ID-151          Interior Design               Gym-Reflected Ceiling & Power/Lighting Plan                      02/27/19
  ID-160          Interior Design               Rooftop/Pool-Finish Floor Plan & Furniture Plan                  02/27/19
  ID-161          Interior Design               Rooftop/Pool-Reflected Ceiling & Power/Lighting Plan             02/27/19
 ID-170           Interior Design               Model Unit#310-Finish Floor Plan & Furniture Plan                02/27/19
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  iD-400          interior Design               731 Clinton Lobby-Elevations                                     02/27/19
 ID-410           interior Design               731 Clinton Lobby-Elevations                                     02/27/19
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 1D-421           Interior Design               720 Clinton Lobby-Elevations                                     02/27/19
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 ID-430          Interior Design                720 Clinton-Typical Corridor & Elevator Vestibule Elevs.         02/27/19
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10-440           interior Design                Lounge Elevations                                               02/27/19
 ID-441          Interior Design                Lounge Elevations                                               02/27/19
1D-442           interior Design                Lounge Elevations                                               02/27/19
ID-443           Interior Design                Lounge Elevations                                               02/27/19
 iD-450          Interior Design                Gym/Yoga Elevations                                             02/27/19
ID-451           interior Design                Gym/Yoga Elevations                                             02/27/19
ID-452           Interior Design                Gym/Yoga Elevations                                             02/27/19
1D-460           Interior Design                Rooftop/Pool Elevations                                         02/27/19
ID-461           Interior Design                Rooftop/Pool Elevations                                         02/27/19
1D-470           Interior Design                Bathroom Plans & Elevations                                     02/27/19
1D-471           interior Design                Kitchen Elevations                                              02/27/19
1D-500           interior Design               Schedules-Appliances, Electrical & Lighting                      02/27/19
ID-501           Interior Design               Schedules-Plumbing                                               02/27/19
1D-502           Interior Design               Schedules-Accessories, Cabinetry Hardware & Door Hardware        02/27/19
ID-503           Interior Design               Schedules-Finishes                                               02/27/19
1D-700           Interior Design               Amenities Details-Door Schedules, Elevations, & Details          02/27/19
1D-701           Interior Design               Lobby Details                                                    02/27/19
ID-702           interior Design               Lounge Details                                                   02/27/19
ID-703           Interior Design               Typical Details-Apartment                                        02/27/19
ID-704           Interior Design               Typical Details-Apartment                                        02/27/19
10-705           Interior Design               Bathroom Details                                                 02/27/19
ID-706           Interior Design               Kitchen Details                                                  02/27/19
P-001.00         MEP-Plumbing-5/1/19 Updates   Plumbing Notes & Abbreviations                                   05/01/19
P-001.00 (731)   MEP-Plumbing                  Plumbing Specifications 1 of 4                                   02/26/19
P-002.00         MEP-Plumbing-5/1/19 Updates   Plumbing Fixtures Schedule                                       05/01/19
P-002.00 (731)   MEP-Plumbing                  Plumbing Specifications 2 of 4                                   02/26/19
P-003.00         MEP-Plumbing-5/1/19 Updates   Plumbing Specifications 1                                        05/01/19
P-003.00 (731)   MEP-Plumbing                  Plumbing Specifications 3 of 4.                                  02/26/19
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P-004.00 (731)   MEP-Plumbing                  Plumbing Specifications 4 of 4                                   02/26/19
P-005.00         MEP-Plumbing-5/1/19 Updates   Plumbing Specifications 3                                        05/01/19
P-005.00 (731)   MEP-Plumbing                  Schedules Plumbing                                               02/26/19
P-099.00         MEP-Plumbing-5/1/19 Updates   1st Floor Plumbing Utility Plan                                  05/01/19
P-100.00         MEP-Plumbing-5/1/19 Updates   Plumbing 1st Floor Sanitary & Storm Plan                         05/01/19
P-100.00 (720)   MEP-Plumbing                  1st Floor Plumbing Sanitary                                      02/26/19
P-101.00 (720)   MEP-Plumbing                  1st Floor Mezz Plumbing Sanitary                                 02/26/19
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 P-101.00 (731)    MEP-Plumbing                    Plumbing 1st Floor Sanitary Plan                02/26/19
 P-101.01          MEP-Plumbing                    Plumbing 1st Floor Sanitary Plan                02/26/19
 P-102.00          MEP-Plumbing-5/1/19 Updates     Plumbing 2nd Floor Sanitary &Storm Plan         05/01/19
 P402.00 (720)     MEP-Plumbing                    2nd Floor Plumbing Sanitary                     02/26/19
 P-102.00 (731)    MEP-Plumbing                    Plumbing 2nd Floor Sanitary Plan                02/26/19
 P-103.00          MEP-Plumbing-5/1/19 Updates     Plumbing 3rd Floor Sanitary & Storm Plan        05/01/19
 P-103.00 (720)    MEP-Plumbing                    3rd Floor Plumbing Sanitary                     02/26/19
 P-103.00 (731)   MEP-Plumbing                     Plumbing 3rd Floor Sanitary Plan.               02/26/19
P404.00           MEP-Plumbing-5/1/19 Updates      Plumbing 4th Floor Sanitary & Storm Plan        05/01/19
P-104.00 (720)    MEP-Plumbing                    4th Floor Plumbing Sanitary                      02/26/19
P-104.00 (731).   MEP-Plumbing                    Plumbing 4th Floor Sanitary Plan                 02/26/19
P-105,00          MEP-Plumbing-5/1/19 Updates     Plumbing 5th Floor Sanitary & Storm Plan         05/01/19
P-105.00 (720)    MEP-Plumbing                    5th Floor Plumbing Sanitary                      02/26/19
P-105.00 (731)    MEP-Plumbing                    Plumbing 5th Floor Sanitary Plan                 02/26/19
P406.00           MEP-PIumbing-5/1/19 Updates     Plumbing Roof Sanitary & Storm Plan              05/01/19
P-106.00 (720)    MEP-Plumbing                    6th Floor Plumbing Sanitary                      02/26/19
P-106.00 (731)    MEP-Plumbing                    Plumbing Roof Sanitary Plan                      02/26/19
P-107.00          MEP-Plumbing                    7th Floor Plumbing Sanitary                      02/26/19
P-108.00          MEP-Plumbing                    Roof Plumbing Sanitary                          02/26/19
13-200            MEP-Plumbing                    1st Floor Domestic Water & Gas Plan             02/26/19
P-200,00 (731)    MEP-Plumbing                    Plumbing Details                                02/26/19
P-201             MEP-Plumbing                    1st Floor Mezzanine Domestic Water & Gas Plan   02/26/19
P-201,00          MEP-Plumbing-5/1/19 Updates     1st Floor Domestic Water & Gas Plan             05/01/19
P-201.00 (731)    MEP-Plumbing                    1st Floor Domestic Water & Gas Plan             02/26/19
P-202             MEP-Plumbing                    2nd Floor Domestic Water & Gas Plan             02/26/19
P-202.00          MEP-Plumbing-5/1/19 Updates     2nd Floor Domestic Water & Gas Plan             05/01/19
P-202.00 (731)    MEP-Plumbing                    2nd Floor Domestic Water & Gas Plan             02/26/19
P-203             MEP-Plumbing                    3rd Floor Domestic Water & Gas Plan             02/26/19
P-203.00          MEP-Plumbing-5/1/19 Updates     3rd Floor Domestic Water & Gas Plan             05/01/19
P-203.00 (731)    MEP-Plumbing                    3rd Floor Domestic Water & Gas Plan             02/26/19
P-204             MEP-Plumbing                    4th Floor Domestic Water & Gas Plan             02/26/19
P-204.00          MEP-Plumbing-5/1/19 Updates     4th Floor Domestic Water & Gas Plan             05/01/19
P-204.00 (731)    MEP-Plumbing                    4th Floor Domestic Water & Gas Plan             02/26/19
P-205             MEP-Plumbing                    5th Floor Domestic Water & Gas Plan             02/26/19
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P-205.00 (731)    MEP-Plumbing                    5th Floor Domestic Water & Gas Plan             02/26/19
P-206             MEP-Plumbing                    6th Floor Domestic Water & Gas Plan             02/26/19
P-206.00          MEP-Plumbing-5/1/19 Updates     Roof Domestic Water & Gas Plan                  05/01/19
P-206.00 (731)    MEP-Plumbing                    Roof Domestic Water & Gas Plan                  02/26/19
P-207             MEP-Plumbing                    7th Floor Domestic Water & Gas Plan             02/26/19
P-208             MEP-Plumbing                    Penthouse Level Domestic Water & Gas Plan       02/26/19
P-300.00          MEP-Plumbing-5/1/19 Updates     Plumbing Sanitary Risers                        05/01/19
P-300.00 (731)    MEP-Plumbing                    Plumbing Sanitary Riser Diagram                 02/26/19
P-301             MEP-Plumbing                    Water Riser Part 1                              02/26/19
P-301.00          MEP-Plumbing-5/1/19 Updates     Water Risers Bldg 729                           05/01/19
P-301.00 (731)    MEP-Plumbing                    Plumbing Water Riser Diagram                    02/26/19
P-302             MEP-Plumbing                    Water Riser Part 2                              02/26/19
P-302.00          MEP-Plumbing-5/1/19 Updates     Gas Risers Bldg 729                             05/01/19
P-302.00 (731)    MEP-Plumbing                    Gas Supply Riser Diagram                        02/26/19
P-303             MEP-Plumbing                    Water Riser Part 3                              02/26/19
P-303.00          MEP-Plumbing-5/1/19 Updates     Plumbing Storm Risers                           05/01/19
P-303.00 (731)    MEP-Plumbing                    Plumbing Storm Riser Diagram                    02/26/19
P-304             MEP-Plumbing                    Water Riser Part 4                              02/26/19
P-305             MEP-Plumbing                    Water Riser Part 5                              02/26/19
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P-307             MEP-Plumbing                    Water Riser Part 7                              02/26/19
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P-403           MEP-Plumbing                           Plumbing Sanitary Riser-Part 4                                    02/26/19
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P-411           MEP-Plumbing                           Plumbing Sanitary Riser-Part 12                                   02/26/19
P-412           MEP-Plumbing                           Plumbing Sanitary Riser-Part 13                                   02/26/19
P-500           MEP-Plumbing                          1st Floor Storm Plan                                               02/26/19
P-501           MEP-Plumbing                          1st Floor& Mezzanine Storm Plan                                    02/26/19
P-502           MEP-Plumbing                           2nd Floor Storm Plan                                              02/26/19
P-503           MEP-Plumbing                           3rd Floor Storm Plan                                              02/26/19
P-504           MEP-Plumbing                          4th Floor Storm Plan                                               02/26/19
P-505           MEP-Plumbing                          5th Floor Storm Plan                                               02/26/19
P-506           MEP-Plumbing                          6th Floor Storm Plan                                               02/26/19
P-507           MEP-Plumbing                          7th Floor Storm Plan                                               02/26/19
P-508           MEP-Plumbing                          Penthouse Floor Storm Plan                                         02/26/19
P-530           MEP-Plumbing                          Gas Riser-Part 1                                                   02/26/19
P-531           MEP-Plumbing                          Gas Riser-Part 2                                                   02/26/19
P-532           MEP-Plumbing                          Gas Riser-Part 3                                                   02/26/19
P-630           MEP-Plumbing                          Storm Riser-Part 1                                                 02/26/19
P-531           MEP-Plumbing                          Storm Riser-Part 2                                                 02/26/19
P-632           MEP-Plumbing                          Storm Riser-Part 3                                                 02/26/19
P-920           MEP-Plumbing-5/1/19 Updates           Plumbing Details-1                                                 05/01/19
P-920 (720)     MEP-Plumbing                          Plumbing Details-1                                                 02/26/19
P-921           MEP-Plumbing-5/1/19 Updates           Plumbing Details-2                                                 05/01/19
P-921(729)      MEP-Plumbing                          Plumbing Details-2                                                 02/26/19
S-101           Structural-04/29/19 100% CD           Building E-Foundation Plan, 1st to 5th Floor and Roof Framing      04/29/19
5-102           Structural-04/29/19 100% CD           Building E-Foundation Plan, 1st to 5th Floor and Roo€ Framing      04/29/19
5-210           Structural-04/29/19 100% CD           Building E-Pile Cap Details                                        04/29/19
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5-500           Structural-04/29/19 100% CD           Details                                                            04/29/19
S-700           Structural-04/29/19 100% CD           Building E-General Notes & Design Criteria                         04/29/19
S-701           Structural-04/29/19 100% CD           Building E-Typical Details I                                       04/29/19
S-702           Structural-04/29/19 100% CD           Building E-Typical Details iI                                      04/29/19
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SP-003.00       MEP-Fire Protection-5/1/19 Updates    Fire Protection Specifications 2-2                                 05/{}1/19
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SP-101.00       MEP-Fire Protection-5/1/19 Updates    1st Floor Sprinkler Plan                                           05/01/19
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SP-102.00       MEP-Fire Protection-5/1/19 Updates    1st Floor Fire Sprinkler Plan                                      05/01/19
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A-000          Architectural-731 Clinton (Building D)   List/General Notes                                   02/26/19
A-100          Architectural-731 Clinton (Building D)   Site Plans                                           02/26/19
                                                        Circulation Lighting & Landscaping Plan
A-101         Architectural-731 Clinton (Building D)    Signage/Flood Vent System                            02/26/19
A-102         Architectural-731 Clinton (Building D)    Site Details                                         02/26/19
A-150         Architectural-731Clinton (Building D)     Wall Partition Types/Floor Assemblies                02/26/19
A-151         Architectural-731 Clinton (Building D)    Soundproofing/Signage                                02/26/19
A-201         Architectural-731 Clinton (Building D)    Architectural Plan Floor 1                           02/26/19
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A-203         Architectural-731 Clinton (Building D)    Architectural Plan Floor 3                           02/26/19
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SP-106.00     MEP-Fire Protection Updates 5/1/19    Roof Fire Sprinkler Plan              05/01/19
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ID                                           Task Name                                      Duration     Start            Finish                1st uarter         l3rd quarter                  1st uarter               3rd 8 art              1.524101ter       3rd uarter          1st r uarter
                                                                                                                                        —Nov     Jan    Mar May       Jul 1 Sep           Nov     Jan    Mar        May     Jul ' Sep ' Nov        Jan ! Mar l May   Jut   Se•   Nov    Jan      Mar
     1 Design / Budget /Permits                                                             397.5 days   Tue 1/2/18 Thu 7/11/19          ---- P
_2       Arch, Struct and MEP Drawings -ABC Bldg                                            301 days     Tue 1/2/18 Tue 2/26/19           1/2.,                           iilil                         u- 2/26
     7   Shoring Permit                                                                     3 wks        Mon 4/30/18 Fri 5/18/18                        4/30 I. 5/18
     3   Footing and Foundation Drawings - ABC Bldg                                         41.5 wks     Tue 5/22/18 Thu 3/7/19                            cm),                                         IP
    4    Building D & E Design Drawings                                                     35 wks       Mon 6/18/18 Fri 2/15/19                               6/18 r
     5   Set Internal GMP                                                                   56 days      Wed 2/27/19 Wed 5/15/19                                                                 2/27
     8   Footing and Foundation Permit                                                      4 wks        Thu 4/4/19 Thu 5/2/19                                                                          4/4     5/2
     9   Building ABC Full Permits                                                          5 wks        Thu 5/2/19 Thu 6/6/19                                                                             5/2      /6
    6    Building D & E Full Permits                                                        5 wks        Thu 6/6/19 Thu 7/11/19                                                                                6/6 cop 7/1
    10 Building ABC                                                                         741days      Mon 2/26/18 Mon 12/28/20                   iiim . -
    11   Lead Paint remediation                                                             10 wks       Mon 2/26/18 Fri 5/4/18                 2/26 goomi 5/4
    12   Asbestos removal                                                                   6 wks        Mon 4/9/18 Fri 5/18/18                        4/        5/18
    13   Scaffolding installation                                                           6 wks        Mon 5/21/18 Fri 6/29/18                          5/21        6/29
    14   Demolition B-Bldg shafts & slab                                                    3 wks        Wed 6/13/18 Tue 7/3/18                              6/13     7/3
    21   Shoring A-Bldg at corners                                                          6 wks        Wed 6/20/18 Tue 7/31/18                              6/2         7/31
    20   Environmental Remediation                                                          12 mons      Wed 6/27/18 Tue 5/28/19                               6/11of                                                  5/28
    15   Demo A Building elevator shafts, water tower                                       35.5 wks     Wed 7/4/18 Fri 3/8/19                                   7/4                                     )3/8
    19   Load testing B & C buildings                                                       6 wks        Wed 8/15/18 Tue 9/25/18                                   —144
    16   Demolition A-Bldg 5th floor                                                        3 wks        Wed 10/10/1E Mon 3/18/19                                              74
                                                                                                                                                                               1      25—            a ''-118
    24   Parapet demolition                                                                 9 wks        Fri 10/26/18 Thu 12/27/18                                               10/26 BM= 12/27
    25   Load test piles A building                                                         9 wks        Wed 12/5/18 Tue 2/5/19                                                        12/ST     S /im
    22   Building C Shoring Foundations                                                     15 wks       Mon 1/21/19 Fri 5/3/19                                                            1/21 ---             1/3
    18   Additional demo for shear walls                                                    7 wks        Mon 3/18/19 Mon 5/6/19                                                                  3/18 ii    iii 5/6
    26   Facade Repair                                                                      40 wks       Wed 5/1/19 Tue 2/4/20
    27   Driving Piles                                                                      10 wks       Wed 5/15/19 Tue 7/23/19                                                                             5/15             7/23
    29   Foundations and Pile Caps                                                          16 wks       Mon 6/24/19 Fri 10/11/19                                                                                    6/24,1iiiMilliail 10/11
    28   Misc Concrete Repair                                                               3 mons       Wed 6/26/19 Tue 9/17/19                                                                                     -81-2,11=11111= 9/17
... 23   Shoring C-Bldg                                                                     11wks        Mon 7/8/19 Fri 9/20/19                                                                                           7/4MINN= 9/20
    31   Structural Concrete / Flat Plate                                                   6 mom        Mon 7/15/19 Fri 12/27/19                                                                                 .---7011.5.4                   12/27
    17   Demolition A-Bldg 4th floor                                                        3 wks        Mon 7/8/19 Mon 7/29/19                                                                                           7/18.% 7/29
    32   Structural Steel                                                                   8 wks        Mon 7/29/19 Fri 9/20/19                                                                                           2/ 261IMMI 9/20
    34   Windows                                                                            6 mons       Mon 8/12/19 Fri 1/24/20                                                                                              8 /120              ' 1/24
    35   Sales Center                                                                       10 wks       Mon 8/12/19 Fri 10/18/19                                                                                             8/12       10/18
    37   Exterior Framing                                                                   4 mons       Mon 9/23/19 Fri 1/10/20                                                                                              `11211              1/10
    33   Masonry / Metal pane                                                               7 mons       Mon 9/30/19 Fri 4/10/20                                                                                                lii •u—                        4/10

                                                                           Task                                  Project Summary      4.---Y              Inactive Milestone                            Manual Summary Rollup                       Deadline            +
Project: Wonder Lofts Project                                              Split                                 External Tasks       lim....=mi.,        Inactive Summary          I-,          - )    Manual Summary               VI'         9 Progress
Date: May 3, 2019                                                          Milestone        .                    External Milestone   •i>                 Manual Task               Milillilli    iii   Start-only                   E
                                                                           Summary          wiliei               Inactive Task                       __   Duration-only                                 Finish-only                  3

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                                                                                                                                            WONDER LOFTS
                                                                                                                                                             Hoboken, NJ
ID                                               Task Name                                   Duration   Start            Finish                   1st uarter               3rd uarte           1st arter                     3rd Quarter               1st Quarter      13rd quarter                               1st Quarter
                                                                                                                                            Nov    Jan    Mar      May       Jul   Sep   Nov    Jan   Mar      May             Jul    Sep      Nov      Jan     Mar May    Jul    Sep                     Nov       Jan    Mar
                                                                                                                                                                                                                                  in ificof                        3/30
 36   Interior Framing                                                                       6 mans     Tue 10/15/19 Mon 3/30/20
 30   Roofing                                                                                8 wks      Mon 10/21/15 Fri 12/13/19                                                                                                   1°/211, 12/13
 38   MEP Roughing                                                                           7 mans     Tue 11/12/19 Mon 5/25/20                                                                                                      11 r               5/25
                                                                                             6 mons                                                                                                                                      I ¶ 1-14,424r__      7/6
 39   Gyp Board                                                                                         Tue 1/21/20 Mon 7/6/20
 40   Finish Work                                                                            41wks      Tue 3/17/20 Mon 12/28/20
 41 Building E                                                                               340 days   Mon 7/8/19 Fri 10/23/20                                                                                          ►
 42   Piles / Foundations                                                                    4 wks      Mon 7/8/19 Fri 8/2/19                                                                                       7     — 82
 43   Structure (steel and concrete)                                                         4 mons     Mon 8/5/19 Fri 11/22/19                                                                                          8/5                        11/22
 44   Roofing                                                                                2 wks      Mon 11/25/15Fri 12/6/19                                                                                                           11/25      12/6
 45   Masonry                                                                                2 mons     Mon 11/25/15 Fri 1/17/20                                                                                                          11/25             1/17
 46   Windows                                                                                1mon       Mon 1/20/20 Fri 2/14/20                                                                                                                     1/20       2/14
 47   Interior Framing                                                                       5 wks      Mon 2/3/20 Fri 3/6/20                                                                                                                          2          3/6
 48   MEP Roughing                                                                           2 mons     Mon 2/17/20 Fri 4/10/20                                                                                                                        2/                4/10
 49   Gyp Board                                                                              2.5 mons   Mon 4/13/20 Fri 6/19/20                                                                                                                                 4/1
 50   Finish Work                                                                            5 mons     Mon 6/8/20 Fri 10/23/20                                                                                                                                                                      10/23
 51 Building D                                                                               410 days   Mon 7/29/19 Fri 2/19/21                                                                                               ►
 52 _ Demolition of existing structure                                                       4 wks      Mon 7/29/19 Fri 8/23/19                                                                                         7/          8/23
—53   Piles / Foundations                                                                    6 wks      Mon 8/26/19      Fri 10/4/19                                                                                         8/26           10/4
 54   Structure (steel and concrete)                                                         4 mons     Mon 9/23/19      Fri 1/10/20                                                                                            9            ------ - 1/10
 55   Roofing                                                                                3 wks      Mon 1/13/20      Fri 1/31/20                                                                                                             1/13   1/31
 56   Masonry                                                                                3 mons     Mon 1/13/20      Fri 4/3/20                                                                                                              1/13          4/3
 57   Windows                                                                                2 mons     Mon 4/6/20       Fri 5/29/20                                                                                                                       4/6                  5/29
 58   Interior Framing                                                                       3 mons     Mon 4/6/20       Fri 6/26/20                                                                                                                       4/6                     6/26
 59   MEP Roughing                                                                           4 mons     Mon 6/1/20       Fri 9/18/20                                                                                                                            6/                             9/11
 60   Gyp Board                                                                              3 mons     Mon 7/27/20      Fri 10/16/20                                                                                                                                                             10/16
 61   Finish Work                                                                            6 mons     Mon 9/7/20       Fri 2/19/21                                                                                                                                                 Q/ 701111111111111                1 2/19




                                                                            Task             r                  Project Summary         V               V    Inactive Milestone                       Manual Summary Rollup 1...              ...           , Deadline                    4-
                                                                            Split                               External Tasks          ". ......m........   Inactive Summary       , ----- - - —'a manual Summary                   g        ola=,           Progress                    .        ,=,..........
Project Wonder Lofts Project
Date: May 3, 2019                                                           Milestone        •                  External Milestone      v                    Manual Task                 illaiii=1111 Start-only                     C
                                                                            Summary          •            4, Inactive Task                               . Duration-only                              Finish-only                     3

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      Case
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                                            1156
                         CONTRACTUAL INSURANCE REQUIREMENTS
The information contained herein is to describe the contractual requirements that Geis Companies has indicated to myCOl. These contractual requirements
should NOT be used to provide inaccurate information regarding current insurance policies. Questions regarding interpretation of this document can be
directed to our support team at 888-692-6448 x105.


 INSURED NAME                                                                                       CARRIER REQUIREMENTS




                   POLICY LINE                     POLICY LIMITS REQ D BY CONTRACT                                  OTHER CONTRACTUAL REQUIREMENTS
                                                  EACH OCCURRENCE                      $1,000,000        Ad0011111111Atired applies to General Liability. Waiver of
                                                  DAMAGE TO RENTED                                       Subrogation is required for General Liability. General Liability is
                                                  PREMISES (Ea occurrence)             $100,000
                                                                                                         Primary and Non-contributory.
                 CLAIMS MADE                      MED EXP (Any one person)             $5,000
GENERAL
LIABILITY X      OCCUR                            PERSONAL & ADV INJURY                $1,000,000
                                                  GENERAL AGGREGATE                    $2,000,000
             GEN'L AGGREGATE LIMIT APPLIES PER:   PRODUCTS - COMP/OP AGG               $2,000,000
                 POLICY X      !zRET-      LOC

                                                  COMBINED SINGLE LIMIT                $ 1,00            Additional Insured applies to Automobile. Waiver of Subrogation is
             X   ANY AUTO                         (Ea accident)
                                                                                                         required for Automobile.
                 ALL OVVNED
                          AUTOS                   BODILY INJURY
AUTO             SCHEDULED AUTOS                  (Per person)
LIABILITY
                 HIRED AUTOS
                                                  BODILY INJURY
                                                                                       S
                 NON-OWNED AUTOS                  (Per accident)

                                                  PROPERTY OAMAQE                      $
                                                  (Per accident)
                                                                        -..
                                                  AUTO ONLY - EA ACCIDENT              $
GARAGE
                 ANY AUTO                                                     EA ACC   $ ,
LIABILITY                                         OTHER      !
                                                                                        -1
                                                  AUTO                          AGG    $
                                                  EACH   WIRRENCE                      12,000,000        Additional Insured applies to Umbrella. Waiver of Subrogation is
             X                                                                                           required for Umbrella. Umbrella Liability is Primary and Non
                 OCCUR                            ADOREC',ATE                          $ 2,000,000
EXCESS/                                                                                                  contributory.
UMBRELLA         CLAIMS MADE
LIABILITY



                                                  #7               .8           OTH-
                                                                                 ER
                                                                                                         Waiver of Subrogation is required for Workers Comp.
WORK COMP
AND                                                        ACCIDENT                    $500,000
EMPLOYERS'
LIABILITY                                         E.L. DISEASE - EA EMPLOYEE $500,000
                                                  E.L. DISEASE - POLICY LIMIT          $500,000




                                        CERTIFICATE HOLDER

                                        Geis Construction South, LLC

                                        C/0: myCOl
                                        1075 Broad Ripple Ave, Suite 313
                                        Indianapolis, IN 46220
   Case
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                                         1157
                  CONTRACTUAL INSURANCE REQUIREMENTS
The information contained herein is to describe the contractual requirements that Geis Companies has indicated to myCOl. These contractual requirements
should NOT be used to provide inaccurate information regarding current insurance policies. Questions regarding interpretation of this document can be
directed to our support team at 888-692-6448 x105.


Division Name: [Template - Geis Construction South, LLC]. Endorsement(s) required: CG 2010 10 01 or its equivalent; CG
2037 10 01 or its equivalent. Additional Insured Names: Geis Construction South, LLC, owners, lessees or contractors.. 30
Days Notice of Cancellation Required. Waiver of Subrogation applies in favor of: Geis Construction South, LLC, Owner and
Architect and their agents, officers, directors and employees..

General Liability: Additional Insured Endorsement Forms (CG 2010 07/04 and CG 2037 07/04 or their equivalent) are
required.
Umbrella/Excess: Coverage must extend over general liability, automobile liability and employers liability.
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                             AFFIDAVIT OF (SUB ORIGINAL) CONTRACTOR

                                                                       Ohio,                               20

  STATE OF OHIO,                                 COUNTY, ss:

                                                                       being first duly sworn, says that he is
                                                 of                                                              the
  Sub
  Original   Contractor having a contract with

  the

  for
  situated on or around or in front of the following described property:


  whereof                                                              was the owner, part owner or lessee.

  Affiant further says that the following shows the names of every sub-contractor in employ of said
                                     Giving the amount, if any, which is due, or to become due, to them, or any of
  them, for work done or machinery, material or fuel furnished to date hereof, under said contracts.

  NOTE: This statement must be accompanied by a similar sworn statement signed by each of the sub-
  contractors listed below.
                                           SUB-CONTRACTORS
                                                                   Amount due or to become due for work
               NAME                         TRADE
                                                                    and material furnished to date hereof.




  Said affiant further says that the following shows the names of every person furnishing machinery, material or
  fuel, to
  Giving the amount, if any, which is due, or to become due, to them or any of them, for machinery, material or
  Fuel furnished to date hereof, under said contracts.
                                                    MATERIAL MEN
                                                                       Amount due or to become due for work
                NAME                              TRADE
                                                                       and material furnished to date hereof.
Case
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  Said affiant further says that the following shows the names of every unpaid laborer in the employ of
                                                  Furnishing labor under said contract, giving the amount, if any.
  which is due, or to become due for labor done to date hereof:

                                                       LABOR
                                                Amount due or to become due for labor
         NAME                   HOURS
                                                furnished to date hereof.




 That the amounts due or to become due to said sub-contractors, material men and laborers, for work done, or

  machinery, material or fuel furnished to the date hereof, to
  Is fully and correctly set forth opposite their names, respectively, in the aforesaid statements, and further by
  certificates of every person furnishing machinery, material or fuel, hereto attached, and made a part hereof.

  Affiant further says that
  has not employed or purchased or procured machinery, material or fuel from, or sub-contracted with any
  person, firm or corporation, other than those above mentioned, and owes for no labor performed, or
  machinery, material or fuel furnished under said contracts, other than above set forth.




  SWORN TO BEFORE ME AND SUBSCRIBED IN MY PRESENCE, at
  Ohio, this           day of                                       A.D., 20


                                                                        Notary Public

                                            CERTIFICTE OF MATERIAL MEN

                                                                        Ohio                     20

 The undersigned certify that to the date hereof they have furnished machinery, material or fuel as set out herein
 to                                                                                                            for



  Situated on or around or in front of the property described I the foregoing affidavit; that the nature of said
  machinery, material or fuel furnished, the date when they commenced furnishing the same and the amount
  now due or owing to each of them, is correctly stated and set opposite their respective names or they have
  been paid in full, if so acknowledged hereon.

                                    Machinery, materials or fuel     Commenced          Amount due or to become
              NAME
                                     and nature of the same.          Furnishing          due to date hereof.
GEIS PAYMENT APPLICATION
JOB:                                                                    Contract No:                                  Period From:                               CONTRACTOR
JOB #:                                                              Invoice Number:                                          Thru:                                  ADDRESS

             1
            ORIGINAL CONTRACT SUM                                                                      $0.00                                                               PHONE
             2
            Net change by Change Orders                                                                $0.00                                                                   FAX
             3
            CONTRACT SUM TO DATE (Line 1 +/- 2)                                                        $0.00                                                                E-MAIL
                                                                                                                                                                                                                    Case



             4
            TOTAL COMPLETED & STORED TO DATE                                                           $0.00
             5
            RETAINAGE:
            a. _________ % of Completed Work                                 $0.00
            (Columns D + E)
            b._________% of Stored Material                                  $0.00
            (Column F)
            Total in Column I
          6 TOTAL EARNED LESS RETAINAGE                                                                $0.00
            (Line 4 less Line 5 Total)
          7 LESS PREVIOUS CERTIFICATES FOR PAYMENT                                                     $0.00
            (Line 6 from prior Certificate)
          8 CURRENT PAYMENT DUE                                                                        $0.00
          9 BALANCE TO FINISH, INCLUDING RETAINAGE                                                     $0.00
            (Line 3 less Line 6)
GENERAL NOTES:
            Breakdown of contract needs to be submitted to the Geis office within one week of receiving purchase order. Failure to do so will result in the purchase order being voided.
                                                                                                                                                                                                                    Case 2:21-cv-02407-LDH-ST




            Only concern yourself with the items that pertain to your scope of work. This form is intended to be a supplement to your proposal which list items that are included and excluded.
            Invoices MUST be received in our office no later than the 25th of the month in order to be processed the following month.
            Conditional Lien Waivers and Affidavits must be submitted with each draw request.
            We must have a current insurance certificate and workers compensation certificate on file in our office.
     A                               B                                   C                       D                      E                     F                        G                              H
   ITEM                                                                                      WORK PERFORMED                               Materials                 TOTAL                  %      BALANCE
    NO                 DESCRIPTION OF WORK                        SCHEDULED            FROM PREVIOUS                                  Presently Stored          COMPLETED                         TO FINISH
                                                                      VALUE              APPLICATION              THIS PERIOD          (Not IN D OR E)          AND STORED
                                                                                                                                                                                                                         2:20-cv-03834-MKB-JMWDocument




                                                                                                                                                                   (D+E+F)               (G/C)      (C-G)
         1                                                                   $0.00                     $0.00                $0.00                   $0.00                    $0.00      #DIV/0!             $0.00
                                                                                                                                                                                                                                                Document




         2                                                                   $0.00                     $0.00                $0.00                   $0.00                    $0.00      #DIV/0!             $0.00
         3                                                                   $0.00                     $0.00                $0.00                   $0.00                    $0.00      #DIV/0!             $0.00
         4                                                                   $0.00                     $0.00                $0.00                   $0.00                    $0.00      #DIV/0!             $0.00
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         5                                                                   $0.00                     $0.00                $0.00                   $0.00                    $0.00      #DIV/0!             $0.00
         6                                                                   $0.00                     $0.00                $0.00                   $0.00                    $0.00      #DIV/0!             $0.00
         7                                                                   $0.00                     $0.00                $0.00                   $0.00                    $0.00      #DIV/0!             $0.00
         8                                                                   $0.00                     $0.00                $0.00                   $0.00                    $0.00      #DIV/0!             $0.00
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         9                                                                   $0.00                     $0.00                $0.00                   $0.00                    $0.00      #DIV/0!             $0.00
        10                                                                   $0.00                     $0.00                $0.00                   $0.00                    $0.00      #DIV/0!             $0.00
        11                                                                   $0.00                     $0.00                $0.00                   $0.00                    $0.00      #DIV/0!             $0.00
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        12                                                                   $0.00                     $0.00                $0.00                   $0.00                    $0.00      #DIV/0!             $0.00
        13                                                                   $0.00                     $0.00                $0.00                   $0.00                    $0.00      #DIV/0!             $0.00
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        14                                                                   $0.00                     $0.00                $0.00                   $0.00                    $0.00      #DIV/0!             $0.00
        15                                                                   $0.00                     $0.00                $0.00                   $0.00                    $0.00      #DIV/0!             $0.00
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        16                                                                   $0.00                     $0.00                $0.00                   $0.00                    $0.00      #DIV/0!             $0.00
        17                                                                   $0.00                     $0.00                $0.00                   $0.00                    $0.00      #DIV/0!             $0.00
        18                                                                   $0.00                     $0.00                $0.00                   $0.00                    $0.00      #DIV/0!             $0.00
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        19                                                                   $0.00                     $0.00                $0.00                   $0.00                    $0.00      #DIV/0!             $0.00
        20                                                                   $0.00                     $0.00                $0.00                   $0.00                    $0.00      #DIV/0!             $0.00
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        21                                                                   $0.00                     $0.00                $0.00                   $0.00                    $0.00      #DIV/0!             $0.00
        22                                                                   $0.00                     $0.00                $0.00                   $0.00                    $0.00      #DIV/0!             $0.00
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        23                                                                   $0.00                     $0.00                $0.00                   $0.00                    $0.00      #DIV/0!             $0.00
        24                                                                   $0.00                     $0.00                $0.00                   $0.00                    $0.00      #DIV/0!             $0.00
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        25                                                                   $0.00                     $0.00                $0.00                   $0.00                    $0.00      #DIV/0!             $0.00
            Total Base Contract                                              $0.00                     $0.00                $0.00                   $0.00                    $0.00      #DIV/0!             $0.00
CHANGES                   CHANGES ORDERS
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                                                                             $0.00                     $0.00                $0.00                                            $0.00      #DIV/0!             $0.00
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                                              Total Changes
                                                      $0.00                                                                 $0.00                   $0.00
                                                                                                                                                                                                                                                                                                        #:
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             TOTAL CONTRACT                                                  $0.00                     $0.00                $0.00                   $0.00                    $0.00      #DIV/0!             $0.00
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Form
(Rev. December 2014)
                                       W-9                                             Request for Taxpayer
                                                                              Identification Number and Certification
                                                                                                                                                                                        Give Form to the
                                                                                                                                                                                        requester. Do not
Department of the Treasury                                                                                                                                                              send to the IRS.
Internal Revenue Service
                                       1 Name (as shown on your income tax return). Name is required on this line; do not leave this line blank.


                                       2 Business name/disregarded entity name, if different from above
See Specific Instructions on page 2.




                                       3 Check appropriate box for federal tax classification; check only one of the following seven boxes:                            4 Exemptions (codes apply only to
                                                                                                                                                                       certain entities, not individuals; see
                                        11111 Individual/sole proprietor or      •    C Corporation      . S Corporation •        Partnership       I. Trust/estate    instructions on page 3):
           Print or type




                                              single-member LLC
                                                                                                                                                                       Exempt payee code (if any)
                                        IIII Limited liability company. Enter the tax classification (C=C corporation, S=S corporation, P=partnership)lo-
                                            Note. For a single-member LLC that is disregarded, do not check LLC; check the appropriate box in the line above for       Exemption from FATCA reporting
                                            the tax classification of the single-member owner.                                                                         code (if any)
                                        III Other (see instructions) IP-                                                                                               (Applies to accounts maintained outside the U.S.)

                                       5 Address (number, street, and apt. or suite no.)                                                           Requester's name and address (optional)


                                       6 City, state, and ZIP code


                                       7 List account number(s) here (optional)


        Part I                                  Taxpayer Identification Number (TIN)
Enter your TIN in the appropriate box. The TIN provided must match the name given on line 1 to avoid                                                       Social security number
backup withholding. For individuals, this is generally your social security number (SSN). However, for a
resident alien, sole proprietor, or disregarded entity, see the Part I instructions on page 3. For other
entities, it is your employer identification number (EIN). If you do not have a number, see How to get a
TIN on page 3.                                                                                                                                            or
Note. If the account is in more than one name, see the instructions for line 1 and the chart on page 4 for                                                 Employer identification number
guidelines on whose number to enter.


   Part II                                      Certification
Under penalties of perjury, I certify that:
1. The number shown on this form is my correct taxpayer identification number (or I am waiting for a number to be issued to me); and
2. I am not subject to backup withholding because: (a) I am exempt from backup withholding, or (b) I have not been notified by the Internal Revenue
   Service (IRS) that I am subject to backup withholding as a result of a failure to report all interest or dividends, or (c) the IRS has notified me that I am
   no longer subject to backup withholding; and

3. I am a U.S. citizen or other U.S. person (defined below); and
4. The FATCA code(s) entered on this form (if any) indicating that I am exempt from FATCA reporting is correct.
Certification instructions. You must cross out item 2 above if you have been notified by the IRS that you are currently subject to backup withholding
because you have failed to report all interest and dividends on your tax return. For real estate transactions, item 2 does not apply. For mortgage
interest paid, acquisition or abandonment of secured property, cancellation of debt, contributions to an individual retirement arrangement (IRA), and
generally, payments other than interest and dividends, you are not required to sign the certification, but you must provide your correct TIN. See the
instructions on page 3.
Sign                                        Signature of
Here                                        U.S. person 0-                                                                                    Date 0-

General Instructions                                                                                                     • Form 1098 (home mortgage interest), 1098-E (student loan interest), 1098-T
                                                                                                                         (tuition)
Section references are to the Internal Revenue Code unless otherwise noted.                                              • Form 1099-C (canceled debt)
Future developments. Information about developments affecting Form W-9 (such                                             • Form 1099-A (acquisition or abandonment of secured property)
as legislation enacted after we release it) is at www.irs.gov/fw9.
                                                                                                                           Use Form W-9 only if you are a U.S. person (including a resident alien), to
Purpose of Form                                                                                                          provide your correct TIN.
An individual or entity (Form W-9 requester) who is required to file an information                                        If you do not return Form W-9 to the requester with a TIN, you might be subject
return with the IRS must obtain your correct taxpayer identification number (TIN)                                        to backup withholding. See What is backup withholding? on page 2.
which may be your social security number (SSN), individual taxpayer identification                                        By signing the filled-out form, you:
number (ITIN), adoption taxpayer identification number (ATIN), or employer
                                                                                                                          1. Certify that the TIN you are giving is correct (or you are waiting for a number
identification number (EIN), to report on an information return the amount paid to
                                                                                                                        to be issued),
you, or other amount reportable on an information return. Examples of information
returns include, but are not limited to, the following:                                                                    2. Certify that you are not subject to backup withholding, or
• Form 1099-INT (interest earned or paid)                                                                                 3. Claim exemption from backup withholding if you area U.S. exempt payee. If
                                                                                                                        applicable, you are also certifying that as a U.S. person, your allocable share of
• Form 1099-DIV (dividends, including those from stocks or mutual funds)
                                                                                                                        any partnership income from a U.S. trade or business is not subject to the
• Form 1099-MISC (various types of income, prizes, awards, or gross proceeds)                                           withholding tax on foreign partners' share of effectively connected income, and
• Form 1099-B (stock or mutual fund sales and certain other transactions by                                               4. Certify that FATCA code(s) entered on this form (if any) indicating that you are
brokers)                                                                                                                exempt from the FATCA reporting, is correct. See What is FATCA reporting? on
• Form 1099-S (proceeds from real estate transactions)                                                                  page 2 for further information.
• Form 1099-K (merchant card and third party network transactions)

                                                                                                             Cat. No. 10231X                                                         Form W-9 (Rev. 12-2014)
     Case
     Case 2:21-cv-02407-LDH-ST
          2:20-cv-03834-MKB-JMWDocument
                                 Document
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                                           1162
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Note. If you are a U.S. person and a requester gives you a form other than Form              3. The IRS tells the requester that you furnished an incorrect TIN,
W-9 to request your TIN, you must use the requester's form if it is substantially
                                                                                             4. The IRS tells you that you are subject to backup withholding because you did
similar to this Form W-9.
                                                                                           not report all your interest and dividends on your tax return (for reportable interest
Definition of a U.S. person. For federal tax purposes, you are considered a U.S.           and dividends only), or
person if you are:
                                                                                              5. You do not certify to the requester that you are not subject to backup
• An individual who is a U.S. citizen or U.S. resident alien;                              withholding under 4 above (for reportable interest and dividend accounts opened
• A partnership, corporation, company, or association created or organized in the          after 1983 only).
United States or under the laws of the United States;                                        Certain payees and payments are exempt from backup withholding. See Exempt
• An estate (other than a foreign estate); or                                              payee code on page 3 and the separate Instructions for the Requester of Form
                                                                                           W-9 for more information.
• A domestic trust (as defined in Regulations section 301.7701-7).
                                                                                             Also see Special rules for partnerships above.
Special rules for partnerships. Partnerships that conduct a trade or business in
the United States are generally required to pay a withholding tax under section            What is FATCA reporting?
1446 on any foreign partners' share of effectively connected taxable income from
such business. Further, in certain cases where a Form W-9 has not been received,           The Foreign Account Tax Compliance Act (FATCA) requires a participating foreign
the rules under section 1446 require a partnership to presume that a partner is a          financial institution to report all United States account holders that are specified
foreign person, and pay the section 1446 withholding tax. Therefore, if you are a          United States persons. Certain payees are exempt from FATCA reporting. See
U.S. person that is a partner in a partnership conducting a trade or business in the       Exemption from FATCA reporting code on page 3 and the Instructions for the
United States, provide Form W-9 to the partnership to establish your U.S. status           Requester of Form W-9 for more information.
and avoid section 1446 withholding on your share of partnership income.
   In the cases below, the following person must give Form W-9 to the partnership
                                                                                           Updating Your Information
for purposes of establishing its U.S. status and avoiding withholding on its               You must provide updated information to any person to whom you claimed to be
allocable share of net income from the partnership conducting a trade or business          an exempt payee if you are no longer an exempt payee and anticipate receiving
in the United States:                                                                      reportable payments in the future from this person. For example, you may need to
• In the case of a disregarded entity with a U.S. owner, the U.S. owner of the             provide updated information if you are a C corporation that elects to be an S
disregarded entity and not the entity;                                                     corporation, or if you no longer are tax exempt. In addition, you must furnish a new
                                                                                           Form W-9 if the name or TIN changes for the account; for example, if the grantor
• In the case of a grantor trust with a U.S. grantor or other U.S. owner, generally,       of a grantor trust dies.
the U.S. grantor or other U.S. owner of the grantor trust and not the trust; and
• In the case of a U.S. trust (other than a grantor trust), the U.S. trust (other than a   Penalties
grantor trust) and not the beneficiaries of the trust.
                                                                                           Failure to furnish TIN. If you fail to furnish your correct TIN to a requester, you are
Foreign person. If you are a foreign person or the U.S. branch of a foreign bank           subject to a penalty of $50 for each such failure unless your failure is due to
that has elected to be treated as a U.S. person, do not use Form W-9. Instead, use         reasonable cause and not to willful neglect.
the appropriate Form W-8 or Form 8233 (see Publication 515, Withholding of Tax
                                                                                           Civil penalty for false information with respect to withholding. If you make a
on Nonresident Aliens and Foreign Entities).
                                                                                           false statement with no reasonable basis that results in no backup withholding,
Nonresident alien who becomes a resident alien. Generally, only a nonresident              you are subject to a $500 penalty.
alien individual may use the terms of a tax treaty to reduce or eliminate U.S. tax on
                                                                                           Criminal penalty for falsifying information. Willfully falsifying certifications or
certain types of income. However, most tax treaties contain a provision known as
                                                                                           affirmations may subject you to criminal penalties including fines and/or
a "saving clause." Exceptions specified in the saving clause may permit an
                                                                                           imprisonment.
exemption from tax to continue for certain types of income even after the payee
has otherwise become a U.S. resident alien for tax purposes.                               Misuse of TINs. If the requester discloses or uses TINs in violation of federal law,
                                                                                           the requester may be subject to civil and criminal penalties.
   If you are a U.S. resident alien who is relying on an exception contained in the
saving clause of a tax treaty to claim an exemption from U.S. tax on certain types
of income, you must attach a statement to Form W-9 that specifies the following            Specific Instructions
five items:
  1. The treaty country. Generally, this must be the same treaty under which you           Line 1
claimed exemption from tax as a nonresident alien.                                         You must enter one of the following on this line; do not leave this line blank. The
  2. The treaty article addressing the income.                                             name should match the name on your tax return.
  3. The article number (or location) in the tax treaty that contains the saving             If this Form W-9 is for a joint account, list first, and then circle, the name of the
clause and its exceptions.                                                                 person or entity whose number you entered in Part I of Form W-9.
  4. The type and amount of income that qualifies for the exemption from tax.                a. Individual. Generally, enter the name shown on your tax return. If you have
                                                                                           changed your last name without informing the Social Security Administration (SSA)
  5. Sufficient facts to justify the exemption from tax under the terms of the treaty      of the name change, enter your first name, the last name as shown on your social
article.                                                                                   security card, and your new last name.
   Example. Article 20 of the U.S.-China income tax treaty allows an exemption             Note. ITIN applicant: Enter your individual name as it was entered on your Form
from tax for scholarship income received by a Chinese student temporarily present          W-7 application, line la. This should also be the same as the name you entered on
in the United States. Under U.S. law, this student will become a resident alien for        the Form 1040/1040A/1040EZ you filed with your application.
tax purposes if his or her stay in the United States exceeds 5 calendar years.
However, paragraph 2 of the first Protocol to the U.S.-China treaty (dated April 30,         b. Sole proprietor or single-member LLC. Enter your individual name as
1984) allows the provisions of Article 20 to continue to apply even after the              shown on your 1040/1040A/1040EZ on line 1. You may enter your business, trade,
Chinese student becomes a resident alien of the United States. A Chinese student           or "doing business as" (DBA) name on line 2.
who qualifies for this exception (under paragraph 2 of the first protocol) and is            c. Partnership, LLC that is not a single-member LLC, C Corporation, or S
relying on this exception to claim an exemption from tax on his or her scholarship         Corporation. Enter the entity's name as shown on the entity's tax return on line 1
or fellowship income would attach to Form W-9 a statement that includes the                and any business, trade, or DBA name on line 2.
information described above to support that exemption.
                                                                                             d. Other entities. Enter your name as shown on required U.S. federal tax
  If you are a nonresident alien or a foreign entity, give the requester the               documents on line 1. This name should match the name shown on the charter or
appropriate completed Form W-8 or Form 8233.                                               other legal document creating the entity. You may enter any business, trade, or
                                                                                           DBA name on line 2.
Backup Withholding                                                                            e. Disregarded entity. For U.S. federal tax purposes, an entity that is
What is backup withholding? Persons making certain payments to you must                    disregarded as an entity separate from its owner is treated as a "disregarded
under certain conditions withhold and pay to the IRS 28% of such payments. This            entity." See Regulations section 301.7701-2(c)(2)(1i1). Enter the owner's name on
is called "backup withholding." Payments that may be subject to backup                     line 1. The name of the entity entered on line 1 should never be a disregarded
withholding include interest, tax-exempt interest, dividends, broker and barter            entity. The name on line 1 should be the name shown on the income tax return on
exchange transactions, rents, royalties, nonemployee pay, payments made in                 which the income should be reported. For example, if a foreign LLC that is treated
settlement of payment card and third party network transactions, and certain               as a disregarded entity for U.S. federal tax purposes has a single owner that is a
payments from fishing boat operators. Real estate transactions are not subject to          U.S. person, the U.S. owner's name is required to be provided on line 1. If the
backup withholding.                                                                        direct owner of the entity is also a disregarded entity, enter the first owner that is
  You will not be subject to backup withholding on payments you receive if you             not disregarded for federal tax purposes. Enter the disregarded entity's name on
                                                                                           line 2, "Business name/disregarded entity name." If the owner of the disregarded
give the requester your correct TIN, make the proper certifications, and report all
your taxable interest and dividends on your tax return.                                    entity is a foreign person, the owner must complete an appropriate Form W-8
                                                                                           instead of a Form W-9. This is the case even if the foreign person has a U.S. TIN.
Payments you receive will be subject to backup withholding if:
  1. You do not furnish your TIN to the requester,
   2. You do not certify your TIN when required (see the Part II instructions on page
3 for details),
    Case
    Case 2:21-cv-02407-LDH-ST
         2:20-cv-03834-MKB-JMWDocument
                                Document
                                       1-227-1
                                            FiledFiled
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Line 2                                                                                2 However, the following payments made to a corporation and reportable on Form
If you have a business name, trade name, DBA name, or disregarded entity name,          1099-MISC are not exempt from backup withholding: medical and health care
you may enter it on line 2.                                                             payments, attorneys' fees, gross proceeds paid to an attorney reportable under
                                                                                        section 6045(f), and payments for services paid by a federal executive agency.
Line 3                                                                                Exemption from FATCA reporting code. The following codes identify payees
Check the appropriate box in line 3 for the U.S. federal tax classification of the    that are exempt from reporting under FATCA. These codes apply to persons
person whose name is entered on line 1. Check only one box in line 3.                 submitting this form for accounts maintained outside of the United States by
                                                                                      certain foreign financial institutions. Therefore, if you are only submitting this form
Limited Liability Company (LLC). If the name on line 1 is an LLC treated as a
                                                                                      for an account you hold in the United States, you may leave this field blank.
partnership for U.S. federal tax purposes, check the "Limited Liability Company"      Consult with the person requesting this form if you are uncertain if the financial
box and enter "P" in the space provided. If the LLC has filed Form 8832 or 2553 to
                                                                                      institution is subject to these requirements. A requester may indicate that a code is
be taxed as a corporation, check the "Limited Liability Company" box and in the       not required by providing you with a Form W-9 with "Not Applicable" (or any
space provided enter "C" for C corporation or "S" for S corporation. If it is a
                                                                                      similar indication) written or printed on the line for a FATCA exemption code.
single-member LLC that is a disregarded entity, do not check the "Limited Liability
Company" box; instead check the first box in line 3 "Individual/sole proprietor or       A—An organization exempt from tax under section 501(a) or any individual
single-member LLC."                                                                   retirement plan as defined in section 7701(a)(37)
                                                                                        B —The United States or any of its agencies or instrumentalities
Line 4, Exemptions
                                                                                        C —A state, the District of Columbia, a U.S. commonwealth or possession, or
If you are exempt from backup withholding and/or FATCA reporting, enter in the
                                                                                      any of their political subdivisions or instrumentalities
appropriate space in line 4 any code(s) that may apply to you.
                                                                                        D—A corporation the stock of which is regularly traded on one or more
Exempt payee code.
                                                                                      established securities markets, as described in Regulations section
• Generally, individuals (including sole proprietors) are not exempt from backup      1.1472-1(c)(1)(i)
withholding.
                                                                                        E —A corporation that is a member of the same expanded affiliated group as a
• Except as provided below, corporations are exempt from backup withholding           corporation described in Regulations section 1.1472-1(c)(1)(1)
for certain payments, including interest and dividends.
                                                                                         F—A dealer in securities, commodities, or derivative financial instruments
• Corporations are not exempt from backup withholding for payments made in            (including notional principal contracts, futures, forwards, and options) that is
settlement of payment card or third party network transactions.                       registered as such under the laws of the United States or any state
• Corporations are not exempt from backup withholding with respect to attorneys'        G —A real estate investment trust
fees or gross proceeds paid to attorneys, and corporations that provide medical or
                                                                                        H—A regulated investment company as defined in section 851 or an entity
health care services are not exempt with respect to payments reportable on Form
1099-MISC.                                                                            registered at all times during the tax year under the Investment Company Act of
                                                                                      1940
  The following codes identify payees that are exempt from backup withholding.
Enter the appropriate code in the space in line 4.                                      I —A common trust fund as defined in section 584(a)
                                                                                        J—A bank as defined in section 581
  1—An organization exempt from tax under section 501(a), any IRA, or a
custodial account under section 403(b)(7) if the account satisfies the requirements     K —A broker
of section 401(f)(2)                                                                    L—A trust exempt from tax under section 664 or described in section 4947(a)(1)
  2 —The United States or any of its agencies or instrumentalities                      M —A tax exempt trust under a section 403(b) plan or section 457(g) plan
  3—A state, the District of Columbia, a U.S. commonwealth or possession, or          Note. You may wish to consult with the financial institution requesting this form to
any of their political subdivisions or instrumentalities                              determine whether the FATCA code and/or exempt payee code should be
  4—A foreign government or any of its political subdivisions, agencies, or           completed.
instrumentalities
                                                                                      Line 5
  5—A corporation
                                                                                      Enter your address (number, street, and apartment or suite number). This is where
  6—A dealer in securities or commodities required to register in the United
                                                                                      the requester of this Form W-9 will mail your information returns.
States, the District of Columbia, or a U.S. commonwealth or possession
  7—A futures commission merchant registered with the Commodity Futures               Line 6
Trading Commission                                                                    Enter your city, state, and ZIP code.
  8—A real estate investment trust
 9 —An entity registered at all times during the tax year under the Investment        Part I. Taxpayer Identification Number (TIN)
Company Act of 1940                                                                   Enter your TIN in the appropriate box. If you area resident alien and you do not
  10—A common trust fund operated by a bank under section 584(a)                      have and are not eligible to get an SSN, your TIN is your IRS individual taxpayer
                                                                                      identification number (ITIN). Enter it in the social security number box. If you do not
  11—A financial institution
                                                                                      have an ITIN, see How to get a TIN below.
  12—A middleman known in the investment community as a nominee or
                                                                                        If you are a sole proprietor and you have an EIN, you may enter either your SSN
custodian                                                                             or EIN. However, the IRS prefers that you use your SSN.
  13—A trust exempt from tax under section 664 or described in section 4947
                                                                                         If you are a single-member LLC that is disregarded as an entity separate from its
  The following chart shows types of payments that may be exempt from backup          owner (see Limited Liability Company (LLC) on this page), enter the owner's SSN
withholding. The chart applies to the exempt payees listed above, 1 through 13.       (or EIN, if the owner has one). Do not enter the disregarded entity's EIN. If the LLC
                                                                                      is classified as a corporation or partnership, enter the entity's EIN.
IF the payment is for ...                   THEN the payment is exempt for ...        Note. See the chart on page 4 for further clarification of name and TIN
                                                                                      combinations.
Interest and dividend payments              All exempt payees except                  How to get a TIN. If you do not have a TIN, apply for one immediately. To apply
                                            for 7                                     for an SSN, get Form SS-5, Application for a Social Security Card, from your local
                                                                                      SSA office or get this form online at www.ssa.gov. You may also get this form by
Broker transactions                         Exempt payees 1 through 4 and 6           calling 1-800-772-1213. Use Form W-7, Application for IRS Individual Taxpayer
                                            through 11 and all C corporations. S      Identification Number, to apply for an ITIN, or Form SS-4, Application for Employer
                                            corporations must not enter an exempt     Identification Number, to apply for an EIN. You can apply for an EIN online by
                                            payee code because they are exempt        accessing the IRS website at www.irs.govibusinesses and clicking on Employer
                                            only for sales of noncovered securities   Identification Number (EIN) under Starting a Business. You can get Forms W-7 and
                                            acquired prior to 2012.                   SS-4 from the IRS by visiting IRS.gov or by calling 1-800-TAX-FORM
                                                                                      (1-800-829-3676).
Barter exchange transactions and            Exempt payees 1 through 4                   If you are asked to complete Form W-9 but do not have a TIN, apply for a TIN
patronage dividends
                                                                                      and write "Applied For" in the space for the TIN, sign and date the form, and give it
                                                                                      to the requester. For interest and dividend payments, and certain payments made
Payments over $600 required to be           Generally, exempt payees
reported and direct sales over $5,0001      1 through e                               with respect to readily tradable instruments, generally you will have 60 days to get
                                                                                      a TIN and give it to the requester before you are subject to backup withholding on
                                                                                      payments. The 60-day rule does not apply to other types of payments. You will be
Payments made in settlement of              Exempt payees 1 through 4                 subject to backup withholding on all such payments until you provide your TIN to
payment card or third party network                                                   the requester.
transactions                                                                          Note. Entering "Applied For" means that you have already applied for a TIN or that
                                                                                      you intend to apply for one soon.
1See Form 1099-MISC, Miscellaneous Income, and its instructions.
                                                                                      Caution: A disregarded U.S. entity that has a foreign owner must use the
                                                                                      appropriate Form W-8.
      Case
      Case 2:21-cv-02407-LDH-ST
           2:20-cv-03834-MKB-JMWDocument
                                  Document
                                         1-227-1
                                              FiledFiled
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Part II. Certification                                                                             3 You must show your individual name and you may also enter your business or DBA name on
                                                                                                     the "Business name/disregarded entity" name line. You may use either your SSN or EIN (if you
To establish to the withholding agent that you are a U.S. person, or resident alien,                 have one), but the IRS encourages you to use your SSN.
sign Form W-9. You may be requested to sign by the withholding agent even if
items 1, 4, or 5 below indicate otherwise.                                                           List first and circle the name of the trust, estate, or pension trust. (Do not furnish the TIN of the
                                                                                                     personal representative or trustee unless the legal entity itself is not designated in the account
  For a joint account, only the person whose TIN is shown in Part I should sign                      title.) Also see Special rules for partnerships on page 2.
(when required). In the case of a disregarded entity, the person identified on line 1              *Note. Grantor also must provide a Form W-9 to trustee of trust.
must sign. Exempt payees, see Exempt payee code earlier.                                           Note. If no name is circled when more than one name is listed, the number will be
Signature requirements. Complete the certification as indicated in items 1                         considered to be that of the first name listed.
through 5 below.
  1. Interest, dividend, and barter exchange accounts opened before 1984
                                                                                                   Secure Your Tax Records from Identity Theft
and broker accounts considered active during 1983. You must give your                              Identity theft occurs when someone uses your personal information such as your
correct TIN, but you do not have to sign the certification.                                        name, SSN, or other identifying information, without your permission, to commit
   2. Interest, dividend, broker, and barter exchange accounts opened after                        fraud or other crimes. An identity thief may use your SSN to get a job or may file a
1983 and broker accounts considered inactive during 1983. You must sign the                        tax return using your SSN to receive a refund.
certification or backup withholding will apply. If you are subject to backup                          To reduce your risk:
withholding and you are merely providing your correct TIN to the requester, you
                                                                                                   • Protect your SSN,
must cross out item 2 in the certification before signing the form.
                                                                                                   • Ensure your employer is protecting your SSN, and
   3. Real estate transactions. You must sign the certification. You may cross out
item 2 of the certification.                                                                       • Be careful when choosing a tax preparer.
   4. Other payments. You must give your correct TIN, but you do not have to sign                    If your tax records are affected by identity theft and you receive a notice from
the certification unless you have been notified that you have previously given an                  the IRS, respond right away to the name and phone number printed on the IRS
incorrect TIN. "Other payments" include payments made in the course of the                         notice or letter.
requester's trade or business for rents, royalties, goods (other than bills for                      If your tax records are not currently affected by identity theft but you think you
merchandise), medical and health care services (including payments to                              are at risk due to a lost or stolen purse or wallet, questionable credit card activity
corporations), payments to a nonemployee for services, payments made in                            or credit report, contact the IRS Identity Theft Hotline at 1-800-908-4490 or submit
settlement of payment card and third party network transactions, payments to                       Form 14039.
certain fishing boat crew members and fishermen, and gross proceeds paid to
attorneys (including payments to corporations).                                                      For more information, see Publication 4535, Identity Theft Prevention and Victim
                                                                                                   Assistance.
  5. Mortgage interest paid by you, acquisition or abandonment of secured
property, cancellation of debt, qualified tuition program payments (under                            Victims of identity theft who are experiencing economic harm or a system
section 529), IRA, Coverdell ESA, Archer MSA or HSA contributions or                               problem, or are seeking help in resolving tax problems that have not been resolved
distributions, and pension distributions. You must give your correct TIN, but you                  through normal channels, may be eligible for Taxpayer Advocate Service (TAS)
do not have to sign the certification.                                                             assistance. You can reach TAS by calling the TAS toll-free case intake line at
                                                                                                   1-877-777-4778 or TTY/TDD 1-800-829-4059.
What Name and Number To Give the Requester                                                         Protect yourself from suspicious emails or phishing schemes. Phishing is the
                                                                                                   creation and use of email and websites designed to mimic legitimate business
         For this type of account:                         Give name and SSN of:                   emails and websites. The most common act is sending an email to a user falsely
                                                                                                   claiming to be an established legitimate enterprise in an attempt to scam the user
  1. Individual                                    The individual                                  into surrendering private information that will be used for identity theft.
  2. Two or more individuals (joint                The actual owner of the account or,
      account)                                     if combined funds, the first                      The IRS does not initiate contacts with taxpayers via emails. Also, the IRS does
                                                                                                   not request personal detailed information through email or ask taxpayers for the
                                                   individual on the account'                      PIN numbers, passwords, or similar secret access information for their credit card,
  3. Custodian account of a minor                  The minor'                                      bank, or other financial accounts.
     (Uniform Gift to Minors Act)                                                                    If you receive an unsolicited email claiming to be from the IRS, forward this
  4. a. The usual revocable savings                The grantor-trustee'                            message to phishing@irs.gov. You may also report misuse of the IRS name, logo,
     trust (grantor is also trustee)                                                               or other IRS property to the Treasury Inspector General for Tax Administration
     b. So-called trust account that is            The actual owner'                               (TIGTA) at 1-800-366-4484. You can forward suspicious emails to the Federal
     not a legal or valid trust under                                                              Trade Commission at: spam@uce.gov or contact them at www.ftc.goyficitheft or
     state law                                                                                     1-877-IDTHEFT (1-877-438-4338).
  5. Sole proprietorship or disregarded            The owner'                                        Visit IRS.gov to learn more about identity theft and how to reduce your risk.
     entity owned by an individual
  6. Grantor trust filing under Optional           The grantor*                                    Privacy Act Notice
     Form 1099 Filing Method 1 (see
     Regulations section 1.671-4(b)(2)(i)                                                          Section 6109 of the Internal Revenue Code requires you to provide your correct
     (A))                                                                                          TIN to persons (including federal agencies) who are required to file information
                                                                                                   returns with the IRS to report interest, dividends, or certain other income paid to
         For this type of account:                         Give name and EIN of:                   you; mortgage interest you paid; the acquisition or abandonment of secured
 7. Disregarded entity not owned by an             The owner                                       property; the cancellation of debt; or contributions you made to an IRA, Archer
    individual                                                                                     MSA, or HSA. The person collecting this form uses the information on the form to
 8. A valid trust, estate, or pension trust        Legal entity4                                   file information returns with the IRS, reporting the above information. Routine uses
                                                                                                   of this information include giving it to the Department of Justice for civil and
 9. Corporation or LLC electing                    The corporation                                 criminal litigation and to cities, states, the District of Columbia, and U.S.
    corporate status on Form 8832 or                                                               commonwealths and possessions for use in administering their laws. The
    Form 2553                                                                                      information also may be disclosed to other countries under a treaty, to federal and
10. Association, club, religious,                  The organization                                state agencies to enforce civil and criminal laws, or to federal law enforcement and
    charitable, educational, or other tax-                                                         intelligence agencies to combat terrorism. You must provide your TIN whether or
    exempt organization                                                                            not you are required to file a tax return. Under section 3406, payers must generally
                                                                                                   withhold a percentage of taxable interest, dividend, and certain other payments to
11. Partnership or multi-member LLC                The partnership
                                                                                                   a payee who does not give a TIN to the payer. Certain penalties may also apply for
12. A broker or registered nominee                 The broker or nominee                           providing false or fraudulent information.
13. Account with the Department of                 The public entity
    Agriculture in the name of a public
    entity (such as a state or local
    government, school district, or
    prison) that receives agricultural
    program payments
14. Grantor trust filing under the Form            The trust
    1041 Filing Method or the Optional
    Form 1099 Filing Method 2 (see
    Regulations section 1.671-4(b)(2)(i)
    (B))
  List first and circle the name of the person whose number you furnish. If only one person on a
  joint account has an SSN, that person's number must be furnished.
2 Circle the minor's name and furnish the minor's SSN.
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M.D.C. 1900290-001
Final Audit Report                                                                               2019-07-16

     Created:             2019-06-24

     By:                 Debra Gipson (debra@gelsco.net)

     Status:             Signed

     Transaction ID:      CI3JCHBCAABAA5Y_Bb7IcHtLaYGF5Majv70JuiCwc2z1V1k4




"M.D.C. 1900290-001" History
      Document created by Debra Gipson (debra@geisco.net)
      2019-06-24 - 6:09:33 PM GMT- IP address. 70.62.248.227


      Document emailed to Jaime Delahunt (jaimemdcinc@gmail.com) for signature
      2019-06-24 - 6:10:01 PM GMT


      Email viewed by Jaime Delahunt (jaimemdcinc@gmail.com)
      2019-06-24 - 7:53:37 PM GMT- IP address: 66.102.8.174


ii>a. Document e-signed by Jaime Delahunt (jaimemdcinc@gmail.com)
      Signature Date: 2019-07-16 - 2:29:04 PM GMT - Time Source: server- IP address: 69.123.234.40


E     Document emailed to Jeff Martin am@geisco.net) for signature
      2019-07-16 - 2:29:08 PM GMT


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      2019-07-16 - 4:27:00 PM GMT- IP address: 174.20214.94


60 Document e-signed by Jeff Martin Om©geisco.net)
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Cw Document emailed to Kevin Watts (kevinw@geisco.net) for signature
      2019-07-16 - 4:27:19 PM GMT


i     Email viewed by Kevin Watts (kevinw@geisco.net)
      2019-07-16 - 5:02:4-6 PM GMT- IP address: 70.62.248.227


de. Document e-signed by Kevin Watts (kevinw@geisco.net)
      Signature Date: 2019-07-16 - 5:03:33 PM GMT - lime Source: server- IP address: 70.62.248.227


Cr Signed document emailed to Jaime Delahunt (jaimemdcinc@gmail.com), Debra Gipson (debra@geisco.net),
   Kevin Watts (kevinw@geisco.net), and Jeff Martin am@geisco.net)
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Congratulations on being awarded the contract for the Wonder Lofts Project. We look forward
to working with you.

Your Project Manager is Kevin Watts. He can be reached at 440-454-5195.

Our insurance certificates are reviewed and monitored by myCOI. You will receive an automated
email from myCOI within 48 hours. The email will contain a portal link which will allow you to
view a sample certificate of insurance and upload your certificate of insurance for review. We
recommend you forward the email to your insurance broker so they can upload the correct
information. If your insurance certificate does not meet the minimum requirements, it will be
marked non-compliant and you will receive an automated email from myCOI with detailed non-
compliance notes. Please amend your certificate of insurance and upload it into myCOI for
review. If you have any questions, please contact the myCOI Customer Care Team Monday
through Friday, between the hours of 8am-6pm EST.

                                 myCOI Customer Care Team
                                 support@mycoitracking.com
                                    1-317-759-9426 ext 105
                 Certificates can be sent to: certificates@myCOItracking.com

Please note that if your subcontract is unsigned or your insurance is non-compliant your payment
may be withheld. Please sign your agreement as soon as possible.

Please log on to https://app.procore.com/account/login to verify that you have the latest version
of drawings for this project.

If you have any questions regarding payments, please contact Phil Teaford. If you have any
questions regarding your subcontract, please contact me at the information listed below.

Thank You,
Debra Gipson
Debra Gipson
debra@geisco.net
Geis Companies
10020 Aurora-Hudson Rd.
Streetsboro, OH. 44241
330-528-3500 / 216-860-6201




                   10020 AURORA HUDSON ROAD . STREETSBORO . OHIO . 44241 . 330.528.3500 PH 330.528.0008 FX GEIS-COMPANIES.COM
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                                                        P.O. No.:                             1900290-002
                                                   Project Name:                             Wonder Lofts
                                                        Address:                         720 Clinton Street
                                                                                 Hoboken, New Jersey 07030
                                                         Job No:                                 19-00-290

             10020 Aurora    Hudson Road Streetsboro, Ohio 44241 Phone: (330) 528-3500 Fax: (330) 528-0008




                                        SUBCONTRACT AGREEMENT


M.D.C.                                                                October 22, 2019
151 S. 11th Street
Lindenhurst, New York 11757


The undersigned subcontractor shall furnish all labor, material, and equipment to complete work in accordance with the Prime
Contract which will be placed on Procore once fully executed, the terms of the attached proposal dated on or before July 8,
2019, not in conflict with this Agreement, and the terms of the attached Agreement, and the


                                      Cost Codes, Descriptions and Amounts totaling: $1,013,758.22



               RETAINAGE         Ten Percent (10%), or the amount withheld from Contractor by the Owner.
               NOTE:       All permits required by State, City, or other jurisdictional authorities are the
               Subcontractor s responsibility, as it pertains to the attached scope of work. Subcontractor shall also
               be responsible for the continuous cleanup of all debris related to the attached scope of work.
               By signing this Agreement or commencing or supplying the work described in this Agreement, you
               agree to adhere to all the conditions as noted in this Agreement. Failure to do so could result in
               termination of your contract. No changes to this document are valid unless signed and accepted in
               writing by an authorized representative of Geis Construction South, LLC.


               Contracted By: M.D.C.
               Signed By: {{_es_:signer1:signature}}
               Geis Construction South, LLC.
               Signed By: {{_es_:signer2:signature}}
               Signed By: {{_es_:signer3:signature}}




                                                                                   Subcontractor    {{_es_:signer1:initials}}
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               Geis Construction South, LLC.


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                                                     Project Name:                                Wonder Lofts
                                                          Address:                            720 Clinton Street
                                                                                      Hoboken, New Jersey 07030
                                                            Job No:                                   19-00-290

        This Subcontract Agreement (the Agreement ) is entered into this 22nd day of October 2019, by and between Geis
Construction South, LLC., an Ohio Corporation, 10020 Aurora Hudson Road, Streetsboro, Ohio 44241 ( Contractor ), and
M.D.C. ( Subcontractor ), having an address at 151 S. 11th Street, Lindenhurst, New York 11757.



                                                     ARTICLE 1
                                             THE WORK OF THIS AGREEMENT
1.1       Definitions. For purposes of this Agreement, the term Subcontractor
agents; Owner means the customer with which Contractor has entered into a contract relating to the Project and that is
identified in Section 1.3 and, if such customer is not the owner of the Project, shall include the Project owner; Project
means the project described on Schedule 1 attached hereto and includes the premises on which the Project is located;
 Work                                     materials, construction, and services related to the Project that is the subject matter of
this Agreement, whether completed or partially completed, and includes all other labor, materials, equipment, and services
                                                                                              Lower Tier
entity that has a direct contract with Subcontractor, or is otherwise in privity with Subcontractor, to furnish or perform a
portion of the Work,
their respective subcontractors, suppliers, and vendors.
1.2      Scope of Work. The Subcontractor shall execute the Work as described in the Contract Documents (as hereinafter
defined) and as detailed more fully in Contractor s agreement with the Owner (the Prime Contract ) and/or the attached
proposal, which is incorporated by reference to the extent it does not conflict with this Agreement, except to the extent
specifically indicated in this Agreement to be the responsibility of others.
1.3     The Project and Project Owner. The Project, of which the Work may constitute the whole or a part, is described on
Schedule 1 attached hereto and made part. The Project Owner, or person or entity contracting for the improvements, is Prism
Construction Management, LLC having an address at 200 Broadacres Drive Suite 180, Bloomfield, NJ 07003.
1.4      Architect/Engineer. The Architect or Engineer for the Project is GLSD Architects, LLC 10020 Aurora Hudson,
Streetsboro, Ohio 44241. In the event that no architect or engineer is named, then all references in this Agreement to the
 Architect or Engineer shall be understood to refer to Contractor.
1.5     Project Schedule. The Project schedule applicable to the Subcontractor s work shall be the schedule dated as of the
most current version on Procore (the Project Schedule ), which is incorporated by reference, as the same may be amended
from time to time in the Contractor s sole discretion. If no Project Schedule exists as of the date of this Agreement, then
Subcontractor shall be bound by the milestone and completion dates set forth in the Prime Contract and Contract Documents
and any subsequently published schedule of Contractor, as the same may be amended or supplemented by Contractor in
Contractor s sole discretion.
                                              ARTICLE 2
                            DATE OF COMMENCEMENT AND SUBSTANTIAL COMPLETION
2.1       Date of Commencement. The date of commencement shall be the date of this Agreement, as first written above, or
the date listed in a Notice to Commence.
2.2       Substantial Completion. Subcontractor shall achieve Substantial Completion of the entire Work not later than as set
forth in the Project Schedule, subject to adjustments as provided in the Contract Documents, or such other time as required by
the Contractor. Substantial Completion shall be that point in time when the Work of Subcontractor has been completed with
the exception of minor punch list items, the Work has been accepted by Contractor in writing, Subcontractor has obtained all
necessary permits and inspections, and the Work is legally available for uninterrupted beneficial use and occupancy by
Contractor and Owner without inconvenience.


                                                                                        Subcontractor    {{_es_:signer1:initials}}
                                                             2                                Initials
              Geis Construction South, LLC.


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                                                                                   Hoboken, New Jersey 07030
                                                          Job No:                                  19-00-290

2.3      Schedule and Reporting. Scheduling and reporting requirements of Subcontractor are detailed in the Prime Contract
and/or the attached Schedule, which is incorporated by reference into this Agreement.
                                                       ARTICLE 3
                                                     CONTRACT SUM
3.1      Contract Sum. Contractor, subject to the other terms and conditions of this Agreement, shall pay Subcontractor in
current funds for Subcontractor s full performance of the Agreement the Contract Sum as set forth on page one and if
applicable as detailed on Schedule 3 attached hereto and made part hereof (the Contract Sum ). To the fullest extent
permitted by applicable law, Contractor s obligation to pay Subcontractor shall be conditioned upon Contractor s receipt of
payment for the same from Owner .
                                                      ARTICLE 4
                                                  PROGRESS PAYMENTS
4.1       Invoicing Procedure. All Applications for Payment are to be filled out and submitted through www.procore.com.
Applications for Payment may not be accepted via any other method. Subcontractor will receive an invitation to submit an
Application for Payment through www.procore.com via email on the 18th day of every month. If Subcontractor is going to
be billing that month, Subcontractor must respond affirmatively to that invitation. Subcontractor must provide the Contractor
Project Manager a name and valid email address for its Account Receivable/Invoice contact person to be added to the Procore
Directory. Applications for Payment submitted through www.procore.com after the 25th of the month will not be processed
until the following month s billing cycle. Payments generally will be made after Contractor s billing to Owner for
Subcontractor s Work and within seven (7) days of Contractor s receipt of payment for that work from Owner, subject to the
provisions in ARTICLE 15. Training on how to prepare the Application for Payment (or Requisition ) in www.procore.com
is offered free through videos available on https://support.procore.com/. The link to submit a Requisition as a Subcontractor
is found at https://support.procore.com/products/online/user-guide/project-level/commitments/tutorials/submit-a-requisition-
as-a-subcontractor

4.2     Progress Payments. Based upon Applications for Payment submitted to Contractor by Subcontractor, required to be
submitted through www.procore.com, and Certificates for Payment issued by the Architect/Engineer, Contractor shall make
progress payments on account of the Contract Sum to Subcontractor as provided below and elsewhere in the Contract
Documents. The period covered by each Application for Payment shall be one calendar month ending on the 25th day of the
month. Contractor will withhold retainage as set forth in the Contract Documents.
4.3       Late Payments. Payments due and unpaid under the Agreement by Contractor to Subcontractor shall bear no
interest.
                                                        ARTICLE 5
                                                     FINAL PAYMENT
5.1       Final Payment. Subject to the requirements and conditions below, final payment, constituting the entire unpaid
balance of the Contract Sum, shall be made by Contractor to Subcontractor when the Work has been fully completed to the
satisfaction of Contractor and Owner, the Agreement has been fully performed, a Final Certificate for Payment has been
issued by the Architect/Engineer and Owner for the Work and Project, and Contractor has received its final payment from
Owner, including retainage. A lien waiver must be returned before final payment is released, as set forth in Paragraph 15.1.
                                                  ARTICLE 6
                                      ENUMERATION OF CONTRACT DOCUMENTS
6.1      Contract Documents. The Contract Documents consist of this Agreement, any documents listed in any
Schedules to this Agreement, Contractor s Subcontractor/Vendor Handbook (the Handbook ), the Prime Contract, and any
other documents referenced in, incorporated into, or otherwise made a part of this Agreement or the Prime Contract, including
but not limited to Project bid requirements, general conditions, special conditions, supplementary conditions, drawings,
specifications, addenda, and change orders. In the event of any conflict, inconsistency, or ambiguity between the terms of this
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              Geis Construction South, LLC.


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Agreement and any of the other Contract Documents, including the Handbook, or within this Agreement or any of the
Contract Documents, then the provision imposing the higher quality, greater quantity, or greater duty or obligation on
Subcontractor, or granting greater rights or remedies to Contractor or Owner, shall govern.
Subcontractor s quote(s), proposals, bids, assumptions, and qualifications shall not be considered part of this Agreement
unless specifically identified herein. In the event that a proposal or bid of Subcontractor is referenced in this Agreement, it is
understood and agreed that the terms of this Agreement shall in all instances control in the event of any discrepancy,
inconsistency, or ambiguity.
6.2     Additional Provisions. Schedule 5 attached hereto and made part hereof contains additional terms and conditions of
the Agreement.
                                                       ARTICLE 7
                                                   GENERAL PROVISIONS
7.1      The intent of the Contract Documents is to include all permits, items, labor, materials, equipment, and services
necessary for the proper execution and completion of the Work by Subcontractor. The Contract Documents are
complementary and what is required by one shall be as binding as if required by all. Performance by Subcontractor shall be
required to the extent consistent with the Contract Documents and reasonably inferable from them as being necessary to
produce the intended results. It is understood and agreed that the Contract Documents are incorporated into this Agreement
by reference, and that Subcontractor hereby assumes toward Contractor all the responsibilities, duties, and obligations that
Contractor assumes toward Owner under the Contract Documents with regard to the Project and the scope of Work that is the
subject of this Agreement. Contractor, in addition to all rights of Contractor in this Agreement or at law, shall have against
Subcontractor all rights and remedies of Owner against Contractor.
7.2       This Agreement and the Contract Documents shall not be construed to create a contractual relationship of any kind
(1) between Owner and Subcontractor, (2) between Contractor any Lower Tier of Subcontractor, or (3) between any persons
or entities other than the Contractor and Subcontractor. Subcontractor covenants and agrees to make no claims against Owner
or the Architect/Engineer concerning the Project except as provided in this Agreement and, in such instances, only with
Contractor s prior written consent. Subcontractor further releases any and all extra-contractual claims against Contractor,
Owner, and Architect/Engineer, it being understood and agreed that all of Subcontractor s claims and rights shall be governed
exclusively by this Agreement.
7.3      Execution of the Agreement or commencement or supply of Work by Subcontractor is a representation that
Subcontractor has visited the Project site and become familiar with the physical and other conditions under which the Work is
to be performed, including the local markets, labor pool, site conditions, restrictions affecting the Work, and other matters
potentially affecting Subcontractor s performance.
                                                         ARTICLE 8
                                                        CONTRACTOR
8.1     Contractor, upon Subcontractor s written request, shall furnish to Subcontractor surveys, layouts, and other
documentation in Contractor s possession, but Subcontractor shall be solely responsible for verifying the accuracy and
completeness of the information and documentation to the extent that it affects Subcontractor s Work.
8.2     Subcontractor is responsible for all fees and permits as noted above. Contractor shall secure and pay for all other
necessary approvals, easements, assessments, and charges required to complete the Work, the construction, use, or occupancy
of permanent structures or permanent changes in existing facilities, but only to the extent not applicable to the Work.
                                                        ARTICLE 9
                                                     SUBCONTRACTOR
9.1      Subcontractor shall supervise and direct the Work using the highest level of skill and attention. Subcontractor shall
be solely responsible for and have control over construction means, methods, techniques, sequences and procedures and for


                                                                                       Subcontractor    {{_es_:signer1:initials}}
                                                            4                                Initials
              Geis Construction South, LLC.


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                                                   Project Name:                                Wonder Lofts
                                                        Address:                            720 Clinton Street
                                                                                    Hoboken, New Jersey 07030
                                                           Job No:                                  19-00-290

coordinating all portions of the Work under this Agreement, unless the Contract Documents give other specific instructions
concerning these matters.
9.2      Unless otherwise provided in the Contract Documents, Subcontractor shall provide and pay, as bills are received by
Subcontractor, for labor, materials, equipment, tools, construction equipment and machinery, water, heat, utilities, hoisting,
transportation, and other facilities and services necessary for the proper execution and completion of the Work, whether
temporary or permanent and whether or not incorporated or to be incorporated in the Work, to prevent Subcontractor s Lower
Tiers from placing a lien against the Project.
9.3      Subcontractor represents and warrants to Contractor that it and all of its employees, agents, and Lower Tiers, as
applicable, are duly licensed, authorized, and qualified to perform the Work in the jurisdiction(s) where the Project is located
and in which a license, authorization, or qualification is required for their performance in connection with the Project and
transaction of business of the character transacted by them. Subcontractor shall comply with any and all rules and
regulations, statutes and ordinances, whether state, federal, or local, applicable to the Work and the Project, whether required
by the Contract Documents or otherwise, including without limitation equal employment opportunity, prevailing wage,
occupational safety and health, minority and disadvantaged business, and other requirements.
9.4       Subcontractor shall enforce strict discipline and good order among Subcontractor s employees and other persons
carrying out the Work, and in that regard: (i) Subcontractor shall not permit employment of unfit persons or persons not
skilled in tasks assigned to them; (ii) Subcontractor shall require its employees, agents, and Lower Tiers at the Project to wear
and use safety and health equipment, to work in harmony with others working at the Premises, and to comply with Owner s
and Contractor s regulations, and the rules and regulations imposed by law covering working conditions; (iii) Contractor shall
have the right to furnish any safety or health equipment that Subcontractor fails to provide promptly, and Subcontractor shall
upon demand pay Contractor s cost thereof plus twenty percent (20%) for Contractor s overhead and other indirect costs;
(iv) Subcontractor shall indemnify Contractor and Owner for fines, penalties, corrective measures, and damages, and shall
reimburse Contractor and Owner for costs and expenses, including attorney fees, that result from acts or omissions by
Subcontractor, its Lower Tiers, or their respective employees and agents in failing to complying with such safety rules and
regulations; (v) Subcontractor, immediately after the occurrence of any accident involving injury to or death of any person, or
damage to the Project or any property at the Project or in any way relating to the Work, shall deliver to Contractor s Project
Manager and Safety Director a written report thereof, which may be a copy of any accident report delivered to its insurance
carrier; (vi) Contractor mandates a drug-free and alcohol-free Project, and Subcontractor shall comply with these
requirements, and Subcontractor shall take appropriate precautions (including all requirements applicable to the Project under
controlling law) and implement reasonable measures to ensure compliance by Subcontractor s employees and Lower Tiers;
(vii) Subcontractor shall furnish to Contractor a copy of Subcontractor s safety plans, including, without limitation, plans for
general safety, MSDS, Right to Know, and Drug and Alcohol Abuse; and (viii) Subcontractor and its employees and
independent contractors to attend all jobsite Safety Meetings as Contractor may request from time to time. Contractor shall
have the right to demand removal or replacement of any employee of Subcontractor or its Lower Tiers that are working on the
Project in Contractor s sole discretion.
9.5       Subcontractor warrants to Contractor that materials and equipment furnished under this Agreement will be of good
quality and new unless otherwise required or permitted by the Contract Documents, that the Work will be free from defects
not inherent in the quality required or permitted, and that the Work will strictly conform to the requirements of the Contract
Documents. Work not conforming to these requirements, including substitutions not properly approved and authorized, shall
be considered defective. If required by the Architect/Engineer, Owner, or Contractor, Subcontractor shall furnish satisfactory
evidence as to the kind and quality of materials and equipment. Manufacturer s warranties on materials and equipment
purchased and installed by Subcontractor shall be assigned by Subcontractor to Contractor and Owner for their benefit prior
to final payment.
9.6      Unless otherwise provided in the Contract Documents, Subcontractor shall pay sales, consumer, use, and other
similar taxes which are legally enacted when bids are received or negotiations concluded, whether or not yet effective or
merely scheduled to go into effect, and shall secure and pay for the building permit and other permits and governmental fees,
licenses and inspections necessary for proper execution and completion of the Work.

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9.7      Subcontractor shall comply with and give notices required by laws, ordinances, rules, regulations, and lawful orders
of public authorities bearing on performance of the Work. Subcontractor shall promptly notify the Architect/Engineer and
Contractor in writing, within two (2) days of discovery, if the Drawings and Specifications are at variance therewith, or if
Subcontractor discovers or reasonably should have discovered other errors or omissions or other problems, affecting the
Work or the Project.
9.8      Subcontractor shall be responsible to Contractor for the acts and omissions of Subcontractor s employees and Lower
Tiers, and their respective agents and employees, and other persons performing portions of the Work under a contract with the
Subcontractor or its Lower Tiers.
9.9      It is understood and agreed that the relationship of Contractor to Subcontractor shall be that of independent
contractors. Nothing contained herein or inferable here from shall be deemed or construed to (a) make Subcontractor the
agent, servant, or employee of Contractor or (b) create any partnership, joint venture, or other association between
Subcontractor and Contractor. Any direction or instruction by Contractor in respect of the Work shall relate to the results
Contractor desires to obtain from the Work and shall in no way affect Subcontractor s independent contractor status as
described herein. Subcontractor shall prevent any of its employees from representing himself or herself to be an employee of
Contractor. Subcontractor shall be solely responsible for its sequences, means, methods and techniques, and those of its
Lower Tiers.
9.10     Subcontractor shall review, approve, and submit to Contractor and Architect/Engineer complete and accurate Shop
Drawings, Product Data, Samples, and similar submittals required by the Contract Documents with reasonable promptness, so
as not to delay progress of the Work. The Work shall be in accordance only with approved submittals, which shall be
evidenced exclusively by Contractor s stamp on such documents. When professional certification of performance criteria of
materials, systems, or equipment is required of Subcontractor by the Contract Documents, the Architect/Engineer and
Contractor shall be entitled to rely upon the accuracy and completeness of such certifications. All submittals, shop drawings,
and related materials shall strictly comply with project requirements.
9.11     Subcontractor shall provide Contractor and Architect/Engineer with Record Drawings prior to final payment.
9.12     Subcontractor shall, under the direction of Contractor, furnish three complete sets of manuals, containing the
manufacturer s instructions for maintenance and operation of each item of equipment and apparatus furnished under the
Contract Documents and any additional data specifically requested under the various sections of the Specifications for each
division of the Work. The manuals shall be arranged in proper order, indexed, and suitably bound.
9.13     All plans, drawings, reports, manuals, specifications, test data, or other documents or information prepared by
Subcontractor pursuant to this Agreement shall be furnished to Contractor and shall be the joint property of Contractor and
Subcontractor. Contractor shall have the unlimited right to publish, transfer, sell, license, and use all or any part of such
documents or information without additional payment to Subcontractor. Subcontractor grants Contractor an irrevocable,
royalty-free license for such purposes.
9.14    During the progress of the Work, Subcontractor shall keep the premises and surrounding area free from
accumulation of waste materials or rubbish caused by operations under the Agreement. At completion of the Work,
Subcontractor shall remove from and about the Project waste materials, rubbish, and Subcontractor s tools, construction
equipment, machinery, and surplus materials.
9.15     Subcontractor shall, at all times, provide Contractor and Architect/Engineer access to the Work wherever located.
9.16      Subcontractor shall pay all royalties and license fees relating to its Work, shall defend suits or claims of infringement
by the Work of                   intellectual property rights, and shall indemnify, defend, and hold Contractor harmless from
loss on account thereof, but shall not be responsible for such defense or loss when a particular design, process, or product of a
particular manufacturer or manufacturers is required by the Contract Documents, unless Subcontractor has reason to believe
that there is an infringement of patent and fails to notify Contractor in writing prior to furnishing the Work.
9.17     To the fullest extent permitted by law, Subcontractor shall defend, indemnify, and hold harmless Contractor,
Architect/Engineer, Owner, and the Owner s lessees, and each of them, and their respective agents and employees of any of
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them from and against claims, liens, damages, losses and expenses (including but not limited to attorneys fees and expert and
consulting costs), penalties, fines, assessments, arising out of or resulting from performance of the Work, including, without
limitation, damage, loss or expense attributable to defective workmanship, non-conforming Work, non-conforming
submittals, OSHA fines and assessments, bodily injury, sickness, disease or death, or injury to or destruction of tangible
property, including loss of use resulting there from, but only to the extent caused in whole or in part by acts or omissions of
the Subcontractor, Subcontractor s Lower Tiers, anyone directly or indirectly employed by them or anyone for whose acts
they may be liable. Subcontractor shall defend and indemnify Contractor and hold Contractor harmless from the above-
referenced claims regardless of whether such claim is caused or alleged to be caused in part by any joint or concurrent
negligent act (either active or passive) or omission by a party indemnified hereunder; provided however, that Subcontractor
shall not be obligated to indemnify for those claims to the extent that the same arise from the sole negligence or willful
misconduct of Contractor or Contractor s agents, servants or independent contractors who are directly responsible to
Contractor, excluding Subcontractor herein,. Such obligation shall not be construed to negate, abridge, or reduce other rights
or obligations of indemnity that would otherwise exist as to a party or person described in this Paragraph. To the fullest
extent permitted by applicable law, the Subcontractor shall further indemnify and hold harmless the Contractor,
Architect/Engineer and Owner from and against any and all costs, loss and expense, liability, damages, settlements, or claims
for damages (including attorneys fees and costs for defending any action) suffered, incurred or arising from mechanics liens
by Subcontractor, or liens or other payment claims by Subcontractor s laborers, unions, or Lower Tiers. In the event that a
Lower Tier of Subcontractor files a mechanics lien against the Project or Property of Owner, Subcontractor shall,
immediately upon demand of Contractor, promptly cause such lien to be formally released, bonded off in accordance with
applicable statutes, or otherwise satisfied. Until Subcontractor satisfies its obligations under this paragraph, Contractor shall
be entitled to retain from any sums due Subcontractor, an amount equal to two (2) times the amount of any such claim,
demand, damage, fine, assessment, penalty, lien or other potential liability. If Subcontractor fails to immediately remove or
satisfy a Lower Tier lien, then Contractor has the right to settle, pay, remove, or bond off Subcontractor s Lower Tier
lien/claim and deduct that payment and/or all associated administrative costs, attorney s fees, and bond premium from the
Subcontract balance. If the Subcontract balance is deficient then Subcontractor must immediately refund the deficiency to
Contractor.
9.18     In claims against any person or entity indemnified under Paragraph 9.17 by an employee of the Subcontractor,
anyone directly or indirectly employed by them or anyone for whose acts Subcontractor may be liable, the indemnification
obligation shall not be limited by any limitation on amount or type of damages, compensation or benefits payable by or for
the Subcontractor under workers or workmen s compensation acts, disability benefit acts or other employee benefit acts,
such immunity and related defenses being hereby expressly waived. All such immunity and/or limitations of liability,
including without limitation any such immunity or liability limitation defenses under Ohio Constitution Article 2, Section 35
and Ohio Revised Code, Workers Compensation Act section 4123.74, are hereby waived by Subcontractor.
                                                  ARTICLE 10
                                        ADMINISTRATION OF THE AGREEMENT
10.1     Contractor will provide administration of the Agreement (1) during construction, (2) until final payment is due, and
(3) with Subcontractor s concurrence, from time to time during the correction period described in Paragraph 18.1.
10.2     Notwithstanding anything in this Agreement or the Contract Documents to the contrary, Contractor reserves the right
to permit the Architect to handle review and certification of Applications for Payment and inspections (including, without
limitation, for purposes of establishing Substantial Completion and Final Completion) directly. Contractor shall be entitled,
without limitation, to all the Architect/Engineer s rights under the Contract Documents to delay or refuse to certify
Applications for Payment or Certificates for Payment or to determine whether and to what extent the Work or any designated
portion thereof has achieved Substantial Completion or Final Completion.
10.3     Contractor shall have the unrestricted right to visit the Project site and access the Work (a) at all reasonable times to
assess the progress of the Work, and (b) at any time, including without limitation on weekends or after hours, as may be
necessary in the case of an emergency, work stoppage, or at any other time(s) that Contractor, in its sole discretion, requires
such access. Without limiting the foregoing, Contractor will visit the Project site at intervals appropriate to the stage of

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construction to become generally familiar with the progress and quality of the completed Work and to determine in general if
the Work is being performed in a manner indicating that the Work, when completed, will be in accordance with the Contract
Documents. However, Contractor will not be required to make exhaustive or continuous on-site inspections to check quality
or quantity of the Work.
10.4      Contractor will not have control over or charge of and will not be responsible for construction means, methods,
techniques, sequences or procedures, or for safety precautions and programs in connection with the Work, since these are
solely Subcontractor s responsibility as provided in this Agreement. The Architect/Engineer will not be responsible to
Subcontractor for Subcontractor s failure to carry out the Work in accordance with the Contract Documents. Subcontractor
shall not be entitled to rely on Contractor s inspections to insure compliance with this Agreement. Subcontractor shall be
solely responsible for such compliance and quality control.
10.5     Contractor will interpret and decide matters concerning performance under any requirements of the Agreement and
the Contract Documents on written request of Subcontractor. All decisions of the Architect/Engineer that are final and
binding on Contractor shall equally bind Subcontractor.
10.6     Contractor will have authority to reject Work that does not conform to the Contract Documents.
10.7     Contractor will review and approve or take other appropriate action upon Subcontractor s submittals such as Shop
Drawings, Product Data and Samples, but only for the limited purpose of checking for conformance with information given
and the design concept expressed in the Contract Documents.
10.8      In Contractor s sole discretion, any and all claims or disputes between Contractor and Subcontractor arising out or
relating to this Agreement or the Contract Documents, or the breach thereof, shall be decided by arbitration in accordance
with the Construction Industry Arbitration Rules of the American Arbitration Association currently in effect, unless the
parties mutually agree otherwise. Notice of the demand for arbitration shall be filed in writing with the other party to this
Agreement and with the American Arbitration Association and shall be made within a reasonable time after the dispute has
arisen. The award rendered by the arbitrator or arbitrators shall be final, and judgment may be entered upon it in accordance
with applicable law in any court having jurisdiction thereof. Contractor, at its sole option, shall have the right to join in such
proceedings any person or entity that is substantially involved in a common question of fact or law, and Subcontractor hereby
waives the right to challenge Contractor s decisions relative to joinder. This agreement to arbitrate and any other written
agreement to arbitrate referred to herein shall be specifically enforceable under applicable law in any court having jurisdiction
thereof. Any arbitration or other dispute resolution shall be exclusively venued in Cleveland, Ohio unless Contractor, in its
sole discretion, elects another venue.
10.9      This Project will utilize Procore s (www.procore.com) project management and collaboration system for all Project
documentation. Subcontractor will be invited to, and is required to create a Procore username (email) and password if it does
not already have one. Subcontractor must obtain drawings, sketches, RFIs, the Project Schedule (and any updates thereto),
meeting minutes, coordination drawings, change information, etc. by using Procore. Contractor may notify Subcontractor as
relevant items are added or revised; however, it will be the responsibility of Subcontractor to regularly check and review
documents as they are added or updated. If Subcontractor does not promptly notify Contractor of any objection to an update
to the Project Schedule, Subcontractor shall be deemed to have agreed to such updated Project Schedule. Applicable team
members of Subcontractor are required to complete a free, one-hour subcontractor training certification course located at
http://learn.procore.com/procore-certification-subcontractor within (2) two weeks following execution of this Agreement.
There will be no cost to Subcontractor for use of Procore.
It is mandatory that Subcontractor provide mobile iOS or Android devices with the Procore App installed to on-site staff to
provide real-time access to current posted drawings, specifications, RFIs, submittals, the Project Schedule, Change Orders,
Commitments, project documents, as well as any deficient observations or punch list items. Providing mobile access will
improve communication, efficiency, and productivity for all parties.
Failure to use Procore is a breach of this Agreement, and Subcontractor agrees to reimburse Contractor $65 an hour for
administrative help and any direct costs (equipment purchases for subcontractor s benefit) Contractor incurs due to
Subcontractor s failure to use Procore. Contractor may deduct these costs from amounts due Subcontractor.
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                                                        ARTICLE 11
                                                      SUBCONTRACTS
11.1     Subcontractor, as soon as practicable after award of the Agreement, shall furnish in writing to Contractor the names
of the Lower Tier subcontractors for each of the principal portions of the Work. Proposed Lower Tiers shall be established,
reputable firms of recognized standing with a record of successful and satisfactory past performance with the type of work
and/or items proposed to be provided or furnished by them. Subcontractor shall not contract with any lower-tier
subcontractor to whom Contractor, Owner, or Architect/Engineer has made reasonable and timely objection. Contracts
between Subcontractor and any Lower Tier shall (a) require each Lower Tier, to the extent of the Work to be performed by
the Lower Tier, to be bound to Subcontractor by the terms of this Agreement and the Contract Documents and to assume
toward Subcontractor all the obligations and responsibilities that Subcontractor, by the Contract Documents and this
Agreement, assumes toward Contractor, and (2) to the maximum extent permitted by applicable law, prohibit the filing of
mechanic s liens against the Project and property of Owner.
                                                   ARTICLE 12
                                         CONSTRUCTION BY CONTRACTOR OR
                                          BY SEPARATE SUBCONTRACTORS
12.1     Contractor reserves the right to perform construction or operations related to the Project with Contractor s own
forces, and to award separate subcontracts in connection with other portions of the Project or other construction or operations
on the Project site under conditions of the contract substantially similar to these, including those portions related to insurance
and waiver of subrogation. If Subcontractor claims that delay, hindrance, interference, or additional cost is involved because
of such action by Contractor, Subcontractor shall make such claim in writing within two (2) days of the occurrence giving rise
to the claim, as provided herein or in the Contract Documents, otherwise Subcontractor waives such claim. Subcontractor
acknowledges and agrees that Subcontractor s recovery of damages on account of any claims for delay, disruption, hindrance,
interference, extra work, or other impact costs or damages shall be limited to the amounts actually paid by Owner or other
subcontractor to Contractor as a result thereof, all other rights and claims being hereby expressly waived.
12.2     Subcontractor shall afford Contractor and separate subcontractors of Contractor reasonable opportunity for the
introduction and storage of their materials and equipment and performance of their activities, and shall connect and
coordinate Subcontractor s construction and operations with theirs as required by the Contract Documents and Project
Schedule.
12.3    Costs caused by delays, hindrance, interference, improperly timed activities, or defective construction shall be borne
by Subcontractor.
                                                     ARTICLE 13
                                            CHANGES IN THE WORK / CLAIMS
13.1    A Change Order is a written order signed by Contractor and Subcontractor authorizing a change in the Work and/or
adjustment in the Contract Sum or Substantial Completion Date. The Contract Sum and Substantial Completion Date may be
changed only by a signed Change Order.
13.2     Contractor may order changes in the Work within the general scope of the Agreement consisting of additions,
deletions, or other revisions, and the Contract Sum and Substantial Completion Date may be adjusted accordingly so long as
Subcontractor notifies Contractor in writing within two (2) days that the proposed change order will require an adjustment to
the Contract Sum or Substantial Completion Date and provides Contractor with information necessary to support
Subcontractor s request, and if Contractor agrees with Subcontractor s request and then memorializes the same in the written
Change Order. Such changes in the Work shall be authorized by Change Order prior to making the change or performing
additional work, and shall be performed under applicable conditions of the Contract Documents. If after receipt of written
notice from Subcontractor, there is the absence of complete or partial agreement relative to the adjustment of the Contract
Sum or the Substantial Completion Date, the Contractor may direct the changed work to proceed by way of a written
Construction Change Directive, which will advise Subcontractor of Contractor s selected method for pricing the change in
accordance with this ARTICLE 13.
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13.3     Subcontractor s failure to obtain a signed Change Order or Construction Change Directive prior to commencing or
completing any extra work, or incurring any additional cost shall conclusively constitute a waiver of any and all claims for
additional compensation or extension of time. The cost of any work, or the extension of time, reflected in any Change Order
or Construction Change Directive that is signed by Contractor and Subcontractor shall represent a full accord and satisfaction
of any and all claims for additional time or compensation relating directly or indirectly to the work described therein,
including ripple effect or cumulative impact costs.
13.4  The cost or credit to Contractor resulting from any change in the Work shall be in accordance with the Contract
Documents, or if not identified in the Contract Documents, determined as follows:
         (a)      The cost of such changed Work shall be determined on the basis of reasonable expenditures and savings of
                  those performing the Work attributable to the change, including the expenditures for design services and
                  revisions to the Contract Documents. In case of an increase in the Contract Sum, Subcontractor shall be
                  entitled to a maximum ten percent (10%) mark-up on cost as Subcontractor s fee for its overhead and profit.
                  Subcontractor shall keep and present an itemized accounting together with appropriate supporting data for
                  inclusion in a Change Order. In case of a decrease in the Contract Sum, Contractor shall be entitled to ten
                  percent (10%) increase over Subcontractor s cost as reimbursement for Subcontractor s savings on
                  overhead and profit. Unless otherwise provided in the Contract Documents, cost shall be limited to the
                  following: cost of materials, including sales tax and cost of delivery; cost of labor, including social
                  security, old age and unemployment insurance, and fringe benefits required by agreement or custom;
                  workers or workmen s compensation insurance; bond premiums; rental value of equipment and machinery;
                  additional costs of supervision and field office personnel directly attributable to the change; and fees paid to
                  design professionals, engineers, and other professionals; or
         (b)      The unit costs, if any, contained in the Contract Documents or negotiated between the parties and confirmed
                  in writing; or
         (c)      An agreed upon lump sum price; or
         (d)      With respect to additional design services provided by Subcontractor s own employees and personnel,
                  Subcontractor agrees to charge, and Contractor agrees to pay, for such services according to the rate
                  schedule attached as Exhibit E, without additional mark-up for overhead and profit. It is understood and
                  agreed that the hourly rates in Exhibit E are inclusive of all overhead and profit for such additional hourly
                  services.
13.5    Pending final agreement on the total cost of a Construction Change Directive, amounts not in dispute for such
changes in the Work shall be included in applications for payment accompanied by a Change Order indicating the parties
agreement with all or part of the costs.
13.6     If concealed or unknown conditions of an unusual nature affect the performance of the Work or are encountered
above or below ground or in an existing structure other than the Work, which conditions are not ordinarily found to exist or
which differ materially from those generally recognized as inherent in Work of the character provided for in the Contract
Documents, then written notice by the observing party shall be given promptly to the other party and, if possible, before
conditions are disturbed, and in no event later than forty eight (48) hours after first observance of the conditions. To the
extent permitted by the Contract Documents, the Contract Sum may be equitably adjusted for such concealed or unknown
conditions by Change Order upon claim by either party made in writing within forty eight (48) hours after the claimant
becomes aware of the conditions. In the event that the Contract Documents transfer the risk of differing or changed
conditions to Contractor, and Contractor has no recourse against Owner with regard thereto, then Subcontractor hereby
assumes the risk of differing or changed conditions and waives such claims against Contractor.
13.7    To the maximum extent permitted by applicable law, Subcontractor agrees that it shall not be entitled to recover any
damages from Contractor on account of claims for additional compensation of whatever kind or description unless and until
Contractor recovers and collects such damages from Owner, it being agreed that such recovery and collection from Owner is
an absolute condition precedent to Subcontractor s right of recovery from Contractor. Contractor shall act as a conduit for
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Subcontractor s claims, and Subcontractor shall be obligated to compensate Contractor for all costs and expenses, including
legal and consulting fees and administrative expenses, that Contractor incurs to present Subcontractor s claims to Owner for
consideration or payment or to arbitrate, mediate, or litigate such claims. Subcontractor shall furnish all required testimony
and documentation to support its claims. Contractor assumes no fiduciary responsibility for prosecution and recovery on
Subcontractor s behalf. In the event that Contractor recovers and collects damages from Owner on account of
Subcontractor s claims through negotiation, litigation, mediation, or arbitration, then Contractor shall tender to Subcontractor
the amount actually recovered and collected less the cost of prosecution and administration, and Subcontractor shall accept
that amount as payment in full for its claims and damages releasing Contractor from any additional liability or damages on the
claims. If the claim is denied or the amount claimed or recovered is not collected, Subcontractor shall release Contractor
from any and all liability for the claims and damages.
13.8     It is understood and agreed that Subcontractor shall present all claims in strict accordance with the time limits and
documentation requirements in this Agreement and in the Contract Documents, so as to permit Contractor to mitigate
damages and advise the Owner. To the extent not covered elsewhere in the Agreement, all claims or requests relating to the
Contract Sum or schedule of the Work must be made in writing with supporting detail and documentation within four (4)
days of Subcontractor s discovery of the claim, or when Subcontractor otherwise should have discovered the claim with the
exercise of reasonable diligence, whichever is earlier. Subcontractor s failure to strictly comply with this provision, and
similar provisions in this Agreement and the Contract Documents, shall be conclusively presumed to constitute a waiver of
Subcontractor s rights and claim.
13.9     To the extent any notice is required under this Agreement, Subcontractor shall give the Project Manager and
Contractor President such written notice, of any and all claims related to the Work, with supporting detail and documentation,
within the time required but no later than four (4) days of the occurrence of the event for which the claim is made; otherwise,
such claims shall be deemed waived.
                                                         ARTICLE 14
                                                           TIME
14.1     Subcontractor shall provide services as expeditiously as is consistent with the standards of skill and care set forth in
this Agreement applicable to the Work, and the orderly progress of design and construction.
14.2     Time limits stated in the Contract Documents are of the essence of this Agreement. The Work to be performed
under this Agreement shall commence upon execution of this Agreement and, subject to authorized modifications, Substantial
Completion shall be achieved on or before the Substantial Completion Date. Dates set forth on the Project Schedule shall not
be modified without Contractor s prior written approval.
14.3     If Subcontractor fails to achieve Substantial Completion on or before the Substantial Completion Date,
Subcontractor shall pay to Contractor (by direct payment or offset from the Contract Sum, at Contractor s sole option) the
amount of $1,000.00 per day for each day that the Work is not substantially completed after the Substantial Completion Date,
or any Milestone Date. Contractor and Subcontractor agree that the foregoing liquidated damages are reasonable and bear a
relationship to the damages that Contractor might sustain for unanticipated Project-related administrative costs on account of
Subcontractor s failure to timely complete the Work. The parties agree that the liquidated damages are not intended to be,
and in no event shall be construed to be, a penalty, but are intended as fixed damages agreed to by the parties as settlement of
damages in advance in the event of Subcontractor s failure to timely complete the Work. The foregoing liquidated damages
are intended only to cover the Project-related administrative damages suffered by the Contractor as a result of delay and shall
not be deemed to cover the cost of completion of the Work, damages resulting from defective Work, damages suffered by
others who then seek to recover damages from Contractor (for example, liquidated damages of Owner, or delay claims of
other contractors or subcontractors), and defense costs thereof or any other damages available to Contractor at law, in equity,
or under the Agreement (the delay claims ). All other delay claims of Contractor are reserved and will be resolved in
accordance with the provisions in this Agreement.
14.4    If Subcontractor is delayed in the progress of the Project by acts or neglect of Contractor, Contractor s employees,
changes ordered in the Work not caused by the fault of Subcontractor, fire, unusual and adverse weather conditions,

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unavoidable casualties, delay authorized by Contractor, code or building/zoning/occupancy permit-related delays beyond
Subcontractor s reasonable control, or another cause that Contractor agrees is justifiable, or by any other reason beyond the
reasonable control of Subcontractor, then the Substantial Completion Date may be equitably extended by Change Order;
provided that (a) Subcontractor gives Contractor timely notice of the delay, (b) the Owner permits the Substantial Completion
Date to be extended, and (c) the delay was to critical path Work.
14.5      Subcontractor expressly waives its right to recover extended home office overhead damages, extended field office
overhead damages, additional supervision costs, additional equipment costs, or any other indirect expenses arising from or
relating to a delay, disruption, suspension, hindrance or interference for which Contractor or Owner is responsible. In the
event of an excusable delay, suspension or disruption of Subcontractor s work, Subcontractor s claim for additional
compensation shall be limited only to additional costs associated with escalation of material costs or escalation of hourly
labor costs, and Subcontractor agrees to accept such damages as its sole remedy.
                                                   ARTICLE 15
                                             PAYMENTS AND COMPLETION
15.1     Payments shall be made as provided in ARTICLE 4 and ARTICLE 5 of this Agreement. Concurrent with the
submittal of each Application for Payment, Subcontractor shall furnish Affidavits and Waivers of Lien by Subcontractor and
all of Subcontractor s Lower Tiers evidencing that all wages for labor and all invoices for material or services that were
included in the previous Application for Payment for which payment was made, have been paid in full. Furnishing of such
Affidavits and Waivers of Lien, in the form approved by Contractor, shall be a condition to payment. Unconditional Lien
Waivers from Subcontractor and all lower tiers shall be submitted with Subcontractor s Application for Final Payment.
15.2      Payments may be withheld on account of (a) defective Work not remedied, (b) claims filed by third parties,
(c) failure of Subcontractor to make payments properly to its Lower Tiers, (d) reasonable evidence that the Work cannot be
completed for the unpaid balance of the Contract Sum, (e) damage to Contractor, Owner, or another subcontractor of
Contractor, (f) reasonable evidence that the Work will not be completed within the Contract Time and that the unpaid balance
would not be adequate to cover actual or liquidated damages for the anticipated delay, (g) failure to carry out the Work in
accordance with the Agreement or the Contract Documents, or (h) failure to carry and maintain the insurance coverage
required by the Agreement. Contractor may also nullify a previously authorized payment in whole or in part, to such extent

15.3     When Contractor agrees that the Work is substantially complete, Contractor will, upon Subcontractor s written
request and in Contractor s discretion, issue a Certificate of Substantial Completion. If a certificate of occupancy is required
by law in order for the Owner to lawfully occupy the Project, then the Work shall not be deemed substantially complete
unless and until such certificate of occupancy is issued to the extent applicable to Subcontractor s Work.
15.4      Final payment shall not become due until Subcontractor has delivered to the Contractor all Warranties, Operating &
Maintenance Manuals, test data and other close-out documents applicable to the Work, a complete release of all liens arising
out of this Agreement or receipts and Waivers in full covering all labor, materials and equipment for which a lien could be
filed, or a bond satisfactory to Contractor to indemnify Contractor and Owner against such lien. If such lien remains
unsatisfied after payments are made, Subcontractor shall refund to Contractor all money that Contractor may be compelled to
pay in discharging such lien, including all costs, bond premiums, and reasonable attorneys fees.
15.5     The making of final payment by Contractor shall not constitute a waiver of any rights or claims Contractor may have
against Subcontractor, including those arising from:
         (a)      liens, claims, security interests or encumbrances arising out of the Agreement and unsettled;
         (b)      failure of the Work to comply with the requirements of the Agreement and the Contract Documents; or
         (c)      terms of special warranties required by the Contract Documents.



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                                                                                   Hoboken, New Jersey 07030
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15.6 Acceptance of final payment by Subcontractor shall constitute a waiver of claims by Subcontractor of all claims,
demands and damages of Subcontractor, except those previously made in writing and identified by Subcontractor as unsettled
at the time of submission of the final Application for Payment.
15.7 Subcontractor acknowledges and agrees that, any payment that is allegedly due from Contractor to Subcontractor,
whether for the original scope of Work or for any extra work or impact or schedule damage claims, are expressly conditioned
upon Contractor s receipt of payment from Owner. To the maximum extent permitted by applicable law, Contractor s
obligation to pay Subcontractor expressly is contingent and conditioned on Contractor s actual receipt of payment from
Owner for Subcontractor s Work or claims. Subcontractor voluntarily assumes the risks associated with the creditworthiness
of Owner, or Contractor s ability to actually recover damages from Owner for any reason.
                                                    ARTICLE 16
                                        PROTECTION OF PERSONS AND PROPERTY
16.1      Subcontractor shall be responsible for initiating, maintaining, and supervising all safety precautions and programs in
connection with the performance of the Work required by this Agreement. Subcontractor shall take reasonable precautions
for safety of, and shall provide reasonable protection to prevent damage, injury, or loss to:
         (a)       employees engaged in the Work and other persons who may be affected thereby;
         (b)       the Work and materials and equipment to be incorporated therein; and
         (c)       other property at the Project site or adjacent thereto.
Subcontractor shall give notices and comply with applicable laws, ordinances, rules, regulations, and lawful orders of public
authorities bearing on safety of persons and property and their protection from damage, injury, or loss. Subcontractor shall
promptly remedy damage and loss to property at the site caused in whole or in part by Subcontractor, a Lower Tier, or anyone
directly or indirectly employed by any of them, or by anyone for whose acts they may be liable and for which Subcontractor
is responsible, except for damage or loss attributable to acts or omissions of Contractor, or by anyone for whose acts
Contractor may be liable, and not attributable in any way to any fault or negligence or omission of Subcontractor. The
foregoing obligations of Subcontractor are in addition to Subcontractor s obligations under ARTICLE 9.
                                                           ARTICLE 17
                                                           INSURANCE
17.1     Subcontractor shall purchase and maintain insurance for protection from claims under workers or workmen s
compensation acts and other employee benefit acts which are applicable, claims for damages because of bodily injury,
including death, and from claims for damages, other than to the Work itself, to property that may arise out of or result from
Subcontractor s operations under the Agreement, whether such operations be by Subcontractor, a lower-tier of Subcontractor,
or anyone directly or indirectly employed by any of them. This insurance shall be written for not less than limits of liability
specified in Schedule 6 attached hereto and made a part hereof, and shall include contractual liability insurance applicable to
Subcontractor s obligations under ARTICLE 9.
17.2      myCOI REQUIREMENT. Contractor s insurance is managed and monitored through myCOI. Subcontractor agrees
to utilize myCOI in connection with this Agreement. Subcontractor or Subcontractor s insurance agent/broker will contact
myCOI at support@mycoitracking.com and will timely respond to all emails, notices, and inquiries from myCOI within
forty-eight (48) hours of receipt.
17.3      In addition to the coverage listed in Schedule 6, Subcontractor, at its expense, shall obtain prior to the
commencement of the Work and maintain in effect (and furnish Contractor certificates in triplicate or, if requested by
Contractor, copies of the policies evidencing that it has in effect), the following insurance coverages and minimum limits with
insurance carriers acceptable to Contractor:
         (a)       Commercial General Liability - This insurance shall be written on an occurrence basis with limits not less
                   than $1,000,000.00 per occurrence and $2,000,000.00 annual aggregate. The policy shall include coverage
                   for Premises/Operations, Independent Contractors, Contractual Liability (sufficient to cover the liability
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                  assumed by the Subcontractor under the Agreement), Property Damage arising out of the XCU hazards,
                  Completed Operations, Products Liability, Broad Form Property Damage, and Personal Injury. The
                  Completed Operations coverage shall be maintained for at least three (3) years after the final completion of
                  the Project of which the Work are a part. If the policy contains a general aggregate limitation, then the
                  policy shall be endorsed to provide a $1,000,000.00 specific aggregate for the Work under this Agreement.
         (b)      Business Automobile Liability - The policy shall contain limits of not less than $1,000,000.00 Combined
                  Single Limit and include coverage for all Owned, Hired and Non-owned automobiles.
         (c)      Excess/Umbrella Liability - The policy(ies) shall be written with limits of not less than $2,000,000.00
                  Combined Single Limit and shall be endorsed in the same form and manner as the Commercial General
                  Liability, Business Automobile Liability, and Employer s Liability coverages.
         (d)      Professional Liability - If Subcontractor is performing design or other professional Services, professional
                  liability (errors and omissions) coverage with a minimum limit of $2,000,000 for each occurrence and
                  $2,000,000 annual aggregate. If the professional liability (errors and omissions) insurance is written on a
                  claims made basis, then such insurance shall have a retroactive date no later than the date of the Agreement
                  and shall include a supplemental extended reporting period provision. Subcontractor shall require each of
                  its subcontractors and consultants providing engineering or architectural services to maintain separate errors
                  and omissions (professional liability) insurance coverages to protect against claims or damages arising out
                  of the performance of their respective services in furtherance of the Agreement.
The policies of insurance and coverage forms shall be in a form acceptable to Contractor and Contractor s agent and shall be
written by carriers who are duly licensed to provide coverage in the jurisdiction(s) where the Project is located (and the Work
is performed, if different). Each policy (with the exception of any policies for professional liability) shall be properly
endorsed to name Contractor as an additional insured for liabilities, claims, or risks arising out of the Work.
insurance policies and coverages also shall be endorsed so as to primary and noncontributory to any liability insurance carried
by Contractor for the same risk. No policy of insurance naming Contractor as an additional insured shall contain any
exclusion or prohibition against first-party claims or claims by any party named as an additional insured. In lieu of naming
Contractor as an additional insured as required herein, and with Contractor s express written consent, Subcontractor, at its
sole cost and expense, may purchase an Owner s & Contractor s Protective Liability Policy on behalf of Contractor, all in
form and substance acceptable to Contractor. Certificates of Insurance, and copies of policies if requested, acceptable to the
Contractor shall be delivered to the Contractor prior to commencement of the Work. Any insurance policies required by this
paragraph shall not be canceled or allowed to expire until at least thirty days (30) prior written notice has been given to
Contractor. The foregoing insurance coverages are required to remain in full force and effect for a period of three (3) years
after final payment by Contractor to Subcontractor, and an additional certificate evidencing continuation of such coverage
shall be submitted to the Contractor prior to final payment. Contractor or Subcontractor, as appropriate, shall require from its
Lower Tiers by appropriate agreements, written where legally required for validity, similar waivers each in favor of other
parties enumerated in this Paragraph.
17.4     Contractor and Subcontractor waive all rights against each other
and the Owner, Architect/Engineer, Architect/Engineer s consultants, and separate subcontractors described in Article 12, if
any, for damages caused by fire or other perils to the extent covered by property insurance applicable to the Project or the
Work, if any, except such rights as they may have to the proceeds of such insurance. Subcontractor shall require similar
waivers in favor of Contractor and Owner from Subcontractor s Lower Tiers.
                                                     ARTICLE 18
                                                 CORRECTION OF WORK
18.1      Subcontractor shall (a) promptly correct Work rejected by Contractor or known by Subcontractor to be defective or
failing to conform to the Contract Documents, whether observed before or after Substantial Completion and whether or not
fabricated, installed or completed, and (b) correct Work found to be defective or nonconforming within a period of one (1)


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year from the date of Substantial Completion of the Work or within such longer period provided by controlling law or any
applicable warranty in the Contract Documents.
18.2     Nothing contained in this Agreement shall be construed to either (a) establish a period of limitation with respect to
other obligations of Subcontractor, or (b) otherwise limit or waive any of Contractor s claims, rights, or remedies under this
Agreement, at law, or in equity. Paragraph 18.1 relates only to the specific obligation of Subcontractor to correct the Work
and has no relationship to the time within which the obligation to comply with the Contract Documents may be sought to be
enforced, nor to the time within which proceedings may be commenced to establish Subcontractor s liability with respect to
Subcontractor s obligations other than correction of the Work.
18.3     If Subcontractor fails to correct Work that is not in accordance with the requirements of this Agreement and the
Contract Documents, fails to adequately staff or man the Project, or fails to carry out Work in accordance with the Contract
Documents or Project Schedule, then Contractor, by written order signed personally or by an agent specifically so empowered
by Contractor in writing, and without waiving any of its other rights and remedies under this Agreement, at law, or in equity,
may order Subcontractor to stop the Work or any portion thereof until the cause for such order has been eliminated, or
Contractor may supplement Subcontractor s forces to complete or correct the defective Work and deduct all associated costs,
including administrative and legal fees, from the balance of the Subcontract Sum; however, Contractor s right to stop the
Work or supplement Subcontractors forces shall not give rise to a duty on the part of the Contractor to exercise the right for
benefit of the Subcontractor or other persons or entities. Contractor shall not be liable for damages on account of such
suspension or stop work order.
18.4     If Subcontractor defaults or neglects to carry out the Work in accordance with the Contract Documents and fails
within forty eight (48) hours after receipt of written notice from Contractor to commence and continue correction of such
default or neglect with diligence and promptness, Contractor may, without prejudice to other remedies the Contractor may
have, correct such deficiencies. In such case an appropriate Change Order shall be issued deducting from payments then or
thereafter due to Subcontractor the costs of correcting such deficiencies. If the payments then or thereafter due to
Subcontractor are not sufficient to cover the amount of the deduction, Subcontractor shall pay the difference to Contractor.
Such action by Contractor shall be without prejudice to any other rights or remedies of Contractor including, without
limitation, those set forth in ARTICLE 9 and ARTICLE 10.
Furthermore, with regard to any loss covered or paid under any policy of insurance of Subcontractor, Subcontractor, for itself
and its insurer, waive and release any and all claims of subrogation against Contractor and Contractor s insurer(s).
                                                      ARTICLE 19
                                               MISCELLANEOUS PROVISIONS
19.1     This Agreement shall be governed by the law of the State of Ohio.
19.2     Should any workers performing the Work engage in a strike or other work stoppage or cease to work due to
picketing or a labor dispute of any kind (except those to which Contractor is a party), Contractor may, at its option and
without prejudice to any other remedies it may have, after five (5) five days notice to Subcontractor and opportunity to cure,
provide any such labor and deduct the cost thereof from any monies then due or thereafter to become due Subcontractor.
Further, Contractor may at its option, without prejudice to any other remedies it may have, after five (5) days notice to
Subcontractor and opportunity to cure, terminate this Agreement pursuant to ARTICLE 20.
19.3      (a) All rights granted to Contractor hereunder shall be in addition to, and not in lieu of, Contractor s rights arising by
operation of law or in equity; (b) any provisions of this Agreement that are typewritten or handwritten by Contractor and
initialed by Contractor shall supersede any contrary or inconsistent printed provisions; (c) no modification of the terms of this
Agreement shall be valid unless in writing and signed by Contractor; (d) should any of the provisions of this Agreement be
declared by a court of competent jurisdiction or any arbitrator to be invalid, such decision shall not affect the validity of any
remaining provisions; (e) all of the terms herein shall apply to additional quantities of merchandise or services or work
ordered by Contractor except to the extent covered by a new Agreement; (f) the failure of Contractor to enforce at any time or
for any period of time any of the provisions hereof shall not be construed to be a waiver of such provisions or of the right of
Contractor at any time to enforce each and every such provision, and (g) this Agreement, together with any information or
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documents incorporated herein by reference, shall be deemed to contain the entire agreement between Contractor and
Subcontractor and to constitute the complete and exclusive expression of the terms of the agreement, all prior or
contemporaneous written or oral agreements or negotiations with respect to the subject matter hereof being merged herein.
19.4     For good and valuable consideration, including the negotiated price for the Work, under this Agreement, and to the
maximum extent permitted by applicable law, Subcontractor unconditionally waives and releases any and all mechanics lien
rights or claims of lien rights against the property or project or Contractor, or any and all attested account rights. To the
maximum extent permitted by applicable law, Subcontractor agrees not to file any mechanics liens or attested accounts to
secure payment under this Agreement. Subcontractor further agrees that any such lien shall be void and unenforceable and
shall constitute a substantial and material breach of this Agreement. Contractor shall be entitled to set off against any sums
due or to become due Subcontractor under this Purchase Order an amount equal to two times the amount of the lien claim of
Subcontractor or any of Subcontractor s Lower Tiers. Contractor shall be entitled to recover from Subcontractor the
attorneys fees, bond premiums, and expenses that Contractor incurs to defend and/or discharge any such mechanics lien.
19.5      Subcontractor shall not discriminate against any employee or applicant for employment because of race, religion,
color, sex, sexual orientation, national origin, disability, age, ethnic group, military status, Vietnam era or disabled veteran
status or ancestry. Subcontractor shall take affirmative action to ensure that applicants for employment are considered for
employment, and that employees are treated during employment, without regard to their race, religion, color, sex, sexual
orientation, national origin, disability, age, ethnic group, military status, Vietnam era or disabled veteran status or ancestry.
 Treated means and includes, without limitation, the following: recruited, whether by advertising or by other means;
compensated, whether in the form of rates of pay or other forms of compensation; selected for training, including
apprenticeship; promoted; upgraded; demoted; downgraded; transferred; laid off and terminated. Subcontractor will
incorporate the requirements of this paragraph in all of its contracts for any of the work undertaken on the Project (other than
contracts for standard commercial supplies or raw materials).
                                                   ARTICLE 20
                                           TERMINATION OF THE CONTRACT
20.1     If Subcontractor defaults or fails or neglects to carry out the Work in accordance with the Contract Documents or is
in default of any provision of the Agreement, Contractor, after three (3) days written notice to Subcontractor, and without
prejudice to any other remedy Contractor may have under this Agreement, at law, or in equity, may make good such
deficiencies and may deduct the cost thereof, including compensation for the Architect/Engineer s and Contractor s services
and expenses made necessary thereby, from the payment then or thereafter due to Subcontractor. Alternatively, at
Contractor s option, Contractor may terminate the Agreement and take possession of the site and of all materials, equipment,
tools, and construction equipment and machinery thereon owned by Subcontractor and may finish the Work by whatever
method Contractor may deem expedient. If the unpaid balance of the Contract Sum exceeds costs of finishing the Work,
including compensation for the Architect/Engineer s services and Contractor s Services, together with a 25% markup for
overhead and profit, and expenses made necessary thereby, such excess shall be paid to Subcontractor, but if such costs
exceed such unpaid balance, Subcontractor shall pay the difference to Contractor, together with any legal fees incurred by
Contractor in enforcing the Agreement. Any default termination under this Paragraph that subsequently may be determined
to be unjustified or unwarranted shall be treated solely as a convenience termination under Paragraph 20.2, and
Subcontractor s damages shall be limited accordingly, all other claims and rights of Subcontractor being expressly waived.
20.2     Contractor may terminate this Agreement at any time for Contractor s convenience, and without cause. In such
event, Subcontractor shall not be entitled to recover any anticipated lost profits on Work non-performed. Subcontractor shall
only be entitled to recover the value of Work properly completed and stored as of the date of Contractor s written notice to
Subcontractor of Contractor s intent to terminate the Agreement, plus any additional work performed thereafter at the written
request of Contractor, together with the cost incurred to secure the site, and the cost of any previously fabricated and stored
materials that Contractor desires to retain, plus reasonable restocking charges actually paid by Subcontractor to third parties
and approved by Contractor. Cancellation costs are not permitted or compensable.



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                                                 ARTICLE 21
                                        OTHER CONDITIONS OR PROVISIONS
See Schedule 5 for additional Terms and Conditions, if applicable.



Contractor: Geis Construction South, LLC.

By: {{_es_:signer2:signature}}

Title: President



Subcontractor:     M.D.C.

By: {{_es_:signer1:signature}}

Title: {{_es_signer1:title}}




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                                                  SCHEDULE 1


         Contractor Contact Person:

         Project Manager: Kevin Watts
         Phone: 440-454-5195

         Procore Questions: melissah@geisco,net

         Contract Questions: debra@geisco.net

         Submit All Documentation To:

         Geis Construction South, LLC.
         C/O Construction Accounting
         10020 Aurora Hudson Road
         Streetsboro, OH 44241

         Phone: (330)528-3500
         Facsimile: (330)528-0008




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                                                       SCHEDULE 2

                                                Milestone Dates Schedule

                  Milestone Date                                                 Date
                                                     To be Determined

Construction Schedule
Within one week of the date of this Agreement, Subcontractor shall deliver to Contractor a construction schedule relating to
Subcontractor s Work. Contractor, in its discretion, will incorporate the information provided if acceptable to Contractor into
the project construction schedule (the Construction Schedule ) consistent with the Milestone Dates Schedule and the Master
Project Schedule. The Construction Schedule information furnished by Subcontractor shall be a detailed and comprehensive
schedule utilizing a critical path method (CPM) arrow diagram network that (a) shows all major elements and phases of the
Project, (b) breaks down each element or phase by trade and (c) otherwise is in a form satisfactory to Contractor.
Subcontractor shall investigate and recommend a schedule for the purchase of materials and equipment requiring long lead
time procurement, and shall coordinate the schedule with the early preparation of the Construction Schedule. The
Subcontractor shall update the information relating to its work in relation to the Construction Schedule no less than every two
weeks throughout the duration of the Project, and with each payment application.



Meetings; Reports; Schedule Updates
Subcontractor shall attend pre-construction, construction and progress meetings to discuss such matters as procedures,
progress, problems and scheduling as required and/or requested.

Subcontractor shall update and distribute, on a monthly basis, information incorporating the activities of Subcontractors and
Sub-subcontractors on the Project, including processing of Shop Drawings and similar required submittals and delivery of
products requiring long lead time procurement and showing current conditions and revisions required by actual experience.
Subcontractor shall include the Project occupancy requirements showing portions of the Project having occupancy priority, as
directed by Contractor. Subcontractor shall maintain the progress of all Work in accordance with the Construction Schedule.

Subcontractor shall submit to Contractor a form of monthly progress report for use on the Project for Contractor s review,
comment, and acceptance. Upon acceptance by Contractor, the form of monthly Project progress report shall establish the
standard for detail required for the remainder of the Project. At a minimum, the monthly Progress Report will contain the
following: (a) listing of actual costs for completed activities and estimates for uncompleted tasks, (b) include the updated
Construction Schedule, (c) progress photos, (d) an executive summary, (e) a discussion of pending items and existing or
anticipated problems, status of RFIs, (f) a safety and accident report, (g) information on each Subcontractor and each
Subcontractor s work as well as the entire Project, showing percentages of completion and the number and amounts of
Change Orders and relating such information to the Construction Schedule, (h) if necessary, the schedule and action plan
required by the Agreement and (i) such other relevant information as may be required by Contractor from time to time. The
Progress Report shall be indexed, bound and tabulated in a manner acceptable to Contractor.

Subcontractor shall keep a daily log containing a record of weather, Subcontractor s Work on the site number of workers,
Work accomplished, problems encountered, and other similar relevant data as Contractor may require. Subcontractor shall
provide a copy of the log to Contractor upon request.




                                                                                     Subcontractor    {{_es_:signer1:initials}}
                                                          19                               Initials
              Geis Construction South, LLC.


Geis form subcontract (Rev. 2019-4)
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                                                          P.O. No.:                     1900290-002
                                                     Project Name:                     Wonder Lofts
                                                          Address:                 720 Clinton Street
                                                                           Hoboken, New Jersey 07030
                                                           Job No:                         19-00-290

                                                         SCHEDULE 3

                                                         Contract Sum



REFERENCE NO. /            ITEM                                  UNIT OF                      UNIT
                                           DESCRIPTION                     QUANTITY                          TOTAL
     COST                   NO.                                 MEASURE                      PRICE




 TOTAL SHEET 1




                                                                            Subcontractor    {{_es_:signer1:initials}}
                                                           20                     Initials
                   Geis Construction South, LLC.


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                                   P.O. No.:                         1900290-002
                                              Project Name:                          Wonder Lofts
                                                   Address:                      720 Clinton Street
                                                                         Hoboken, New Jersey 07030
                                                     Job No:                             19-00-290

                                                  SCHEDULE 4

                                            List of Contract Documents

              1.   Affidavit of Sub (original) Contractor
              2.   Prime Contract documents (See ProCore for Copies)




                                                                                          {{_es_:signer1:initials}}
                                                     21                        Initials
             Geis Construction South, LLC


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                                                          P.O. No.:                                1900290-002
                                                     Project Name:                                Wonder Lofts
                                                          Address:                            720 Clinton Street
                                                                                      Hoboken, New Jersey 07030
                                                             Job No:                                  19-00-290

                                                   SCHEDULE 5
                                                      PART 1
  1. Pay Applications are to be submitted on the approved Contractor Pay Application Form.

  2. Original Notarized Waivers of Lien are required to be submitted with each and every Pay Application from this
  Subcontractor, as well as this Subcontractor s Lower Tiers,

  3. Insurance Requirements as outlined in this Agreement

  4. DAMAGE OR DESTRUCTION: Subcontractor shall cover and at all times adequately protect the work and
  the Materials or Services from damage until final acceptance by Contractor s customer, and shall properly store and
  protect its own materials furnished to it by others. Subcontractor shall be responsible for any damage to or
  destruction of the work, the Materials or Services, and any other equipment, tools and personal property at the
  premises, whether owned, rented or used by Subcontractor or anyone performing any of the work. Subcontractor at
  its expense shall, as directed by Contractor, replace, repair, or restore any thereof which are damaged or destroyed,
  whether such destruction or damage results from acts of God, fire, public enemy, civil commotion, vandalism, acts
  of omission or commission by any person, firm, or corporation. Risk of loss with respect to the work, Materials, or
  Services shall remain with Subcontractor until final acceptance of the completed work and the Materials or Services.
  Until such final acceptance, any damage or destruction of the work or the Materials or Services, however caused,
  shall be made good by Subcontractor at no extra charge or cost to Contractor. Such rework at Subcontractor s
  expense shall not preclude Subcontractor from making a claim under any insurance maintained for the benefit of
  Subcontractor, but the right to make or the pendency of such claim shall not give cause to Subcontractor to delay the
  commencement or completion of such rework.

  5. PRECEDING WORK: Subcontractor, before beginning the Work, shall carefully examine the work of others
  which may affect the work or the Materials or Services, determine whether it is in a fit, ready and suitable condition
  for the proper and accurate performance of the work and furnishing of the Materials or Services, use all means
  necessary to discover defects in such other work, and notify Contractor in writing of any claimed deficiencies which
  may affect the work or Materials or Services. If such notice is not so given, all such work shall be deemed
  acceptable to Subcontractor. In case of a dispute as to whether such other work is deficient, Subcontractor
  nevertheless shall proceed immediately with the Work when notified by Contractor to proceed.

  6. DEDUCTIONS AND SET-OFF: Any sums payable to Subcontractor shall be subject to all claims and
  defenses of Contractor or any of its affiliated companies, whether arising from this or any other transaction or
  occurrence, and Contractor may set-off and deduct against any such sums all present and future indebtedness of
  Subcontractor or any of its affiliated companies to Contractor or any of its affiliated companies.

  7. SHOP DRAWINGS: Subcontractor shall, at its own expense, prepare and submit to Contractor such shop
  drawings, samples, models and other submittals for the Materials or Services as may be requested by Contractor.
  Subcontractor must identify in writing any adjustments or modifications of the Contract requirements reflected in
  Subcontractor s shop drawings. Such shop drawings, samples, models, and other submittals shall be approved in
  writing by such persons as Contractor may designate before Subcontractor proceeds under this Agreement. No
  approval of any submittals nor the making of any payment to Subcontractor shall constitute an acceptance of any
  Materials or Services or impair Contractor s right of inspection or rejection or any other rights or remedies to which
  Contractor may be entitled, or relieve Subcontractor from any of its obligations or warranties hereunder.



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                                                        22                            Initials
  Geis Construction South, LLC.


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                                                         P.O. No.:                               1900290-002
                                                    Project Name:                               Wonder Lofts
                                                         Address:                           720 Clinton Street
                                                                                    Hoboken, New Jersey 07030
                                                           Job No:                                  19-00-290

  8. NO ASSIGNMENT: Absent Contractor s written consent, Subcontractor may not assign any rights or delegate
  any duties that Subcontractor may have under this Agreement, in whole or in part. Any assignments or delegation in
  violation of the foregoing is void and not binding on Contractor. No such assignment or delegation shall bar
  Contractor from asserting against Subcontractor, or the transferee, or both, any claim or rights that Contractor may
  have against Subcontractor, including rights of recoupment or set-off.




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  Geis Construction South, LLC.


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                                                          P.O. No.:                               1900290-002
                                                     Project Name:                               Wonder Lofts
                                                          Address:                           720 Clinton Street
                                                                                     Hoboken, New Jersey 07030
                                                            Job No:                                  19-00-290

                                                    SCHEDULE 5
                                                      PART 2

  CONTRACTOR HOLD HARMLESS AND INDEMNITY

  Subcontractor has agreed that from time to time it will perform as an independent contractor certain work for Geis
  Construction South, LLC. hereinafter referred to as the Contractor. The Subcontractor agrees to do the work in a
  prudent manner, be responsible for the condition of the work site and take all proper steps to carry out the work in a
  safe manner. Contractor and Subcontractor further agree as follows:

  INDEMNIFICATION

  1.        (a) To the fullest extent permitted by law, Subcontractor shall defend, indemnify and hold harmless
  Contractor and any related entities ( Indemnitees ) from any damages or liabilities which may be incurred by any
  Indemnitee due to personal injury or death, damage to property or violation by subcontractor of any governmental
  law, rule or regulation which is in any way connected with Subcontractor s performance of the work, except to the
  extent caused by the negligence or willful misconduct of an Indemnitee.
            (b) In addition, to the fullest extent permitted by the law Subcontractor agrees to indemnify and hold
  harmless the Indemnitees against all claims for damages, losses, liens, causes of action or suits, brought by
  employees of Subcontractor to the extent such are caused by, or alleged to have been caused by, in whole or part the
  negligence of Subcontractor, Contractor s negligence in its decision to hire Subcontractor, and/or Contractor s
  failure to adequately supervise Subcontractor or subcontractor s employees.

  2.       To the fullest extent permitted by law, Subcontractor shall indemnify and hold harmless all Indemnitees
  against all liens, claims, and demands which arise in connection with the work or materials supplied by
  Subcontractor and, upon request by Contractor, Subcontractor shall furnish Contractor with any evidence that it may
  require to satisfy itself that all such claims, liens or demands have been paid and discharged.

  3.      To the fullest extent permitted by law, Subcontractor shall defend, protect, indemnify and hold harmless the
  Indemnitees against claimed or actual infringement or contributory infringement of any patent or infringement of
  any copyright or trademark arising from Subcontractor s work.

  4.       Subcontractor s indemnity obligations shall not limit and shall not be limited by the insurance coverages set
  forth anywhere else in this Agreement or any other Agreement.

  This Agreement will cover all business relations and transactions between the parties until revoked by written notice
  in writing to Contractor. Please sign and return this form to Contractor.


  Subcontractor: M.D.C.                                          General Contractor: Geis Construction South, LLC.

  By {{_es_:signer1:signature}}                                  By {{_es_:signer2:signature}}

           Authorized Representative

  151 S. 11th Street, Lindenhurst, New York 11757



                                                                                                {{_es_:signer1:initials}}
                                                       24                            Initials
  Geis Construction South, LLC.


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                                           P.O. No.:                     1900290-002
                                      Project Name:                     Wonder Lofts
                                           Address:                 720 Clinton Street
                                                            Hoboken, New Jersey 07030
                                            Job No:                         19-00-290




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  Geis Construction South, LLC.


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                                                     Project Name:                              Wonder Lofts
                                                          Address:                          720 Clinton Street
                                                                                    Hoboken, New Jersey 07030
                                                            Job No:                                 19-00-290

                                                    SCHEDULE 6

                     INSURANCE AND WORKER S COMPENSATION REQUIREMENTS:

  All subcontractors shall purchase and maintain insurance of the following types of coverage and limits of liability
  (Section 17.2 of the Agreement shall govern over any inconsistent provision below). These coverages shall be
  primary and non-contributory:

  1.   Commercial General Liability (CGL) with limits of Insurance of not less than $1,000,000 each occurrence and
       $2,000,000 Annual Aggregate.
           a. If the CGL coverage contains a General Aggregate Limit, such General Aggregate shall apply
               separately to each project.
           b. CGL coverage shall be written on ISO Occurrence from CG 00 01 1093 or a substitute form providing
               equivalent coverage and shall cover liability arising from premises, operations, independent
               contractors, products-completed operations, and personal and advertising injury.
           c. Contractor, Owner, and all other parties required of the Contractor, shall be included as insured on
               CGL, using ISO Additional Insured Endorsement CG 2010 and CG 2037 04/13 or their equivalent.
               This insurance for the additional insureds shall be as broad as the coverage provided for the named
               insured subcontractor. It shall apply as primary and non-contributing insurance before any other
               insurance or self-insurance, including any deductible, maintained by, or provided to, the additional
               insured.
           d. Subcontractor shall maintain CGL coverage for itself and all additional insureds for the duration of the
               project and maintain Completed Operations coverage for itself and each additional insured for at least
               3 years after completion of the Work.
  2.   Automobile Liability
           a. Business Auto Liability with limits of at least $1,000,000 each accident.
           b. Business Auto coverage must include coverage for liability arising out of all owned, leased, hired and
               non-owned automobiles.
           c. Contractor, Owner, and all other parties required of the Contractor, shall be included as insureds on the
               auto policy.
  3.   Commercial Umbrella
           a. Umbrella Limits must be at least $2,000,000.
           b. Umbrella coverage must include as insureds all entities that are additional insureds on the CGL.
           c. Umbrella coverage for such additional insureds shall apply as primary before any other insurance of
               self-insurance, including any deductible, maintained by, or provided to, the additional insured other
               than the CGL, Auto Liability and Employers Liability coverages maintained by the Subcontractor.
  4.   Workers Compensation and Employers Liability
           a. Employers Liability Insurance limits of at least $500,000 each accident for bodily injury by accident
               and $500,000 each employee for injury by disease.
           b. Where applicable, U.S. Longshore and Harbor Workers Compensation Act Endorsement shall be
               attached to the policy.
           c. Where applicable, the Maritime Coverage Endorsement shall be attached to the policy.

  5.   Waiver of Subrogation. Subcontractor waives all rights against Contractor, Owner, and Architect and their
       agents, officers, directors and employees for recovery of damages to the extent these damages are covered by
       commercial general liability, commercial umbrella liability, business auto liability or workers compensation and
       employers liability insurance maintained per requirements stated above.


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  Geis Construction South, LLC.


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                                                     Project Name:                              Wonder Lofts
                                                          Address:                          720 Clinton Street
                                                                                    Hoboken, New Jersey 07030
                                                            Job No:                                 19-00-290

  6.   Attached to each certificate of insurance shall be a copy of the Additional Insured Endorsement that is part of
       the Subcontractor s Commercial General Liability Policy. These certificates and the insurance policies shall
       contain a provision that coverage under the policies will not be canceled or allowed to expire until at least 30
       days prior written notice has been given to the Contractor.




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  Geis Construction South, LLC.


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gr,                                                                                                                              Contract
       COMPANIES
                                                                                                                              1900290-002
 Geis Companies                                                                                                        Project: 19-00-290 - Wonder Lofts
 10020 Aurora Hudson                                                                                                                   720 Clinton Street
 Streetsboro, Ohio 44241                                                                                                    Hoboken, New Jersey 07030
 Phone: (330) 528-3500
 Fax: (330) 528-0008

                                                Masonry/ rick Repair
DATE CREATED:                         10/22/2019
 CONTRACT COMPANY:                    M.D.C.                                CREATED BY:                               Kevin Watts (Geis Construction)
                                      151 S 11th Street                                                               10020 Aurora Hudson Road
                                      Lindenhurst, New York 11757                                                     Streetsboro, 44241
                                      Phone: (631) 592-8072
                                               .                                                     .          .                                   .
CONTRACT STATUS:                      Approved                              EXECUTED:                                 No
                                  . .                     .                              .                                     .        .
START DATE:                                                                 ESTIMATED COMPLETION DATE:
SIGNED CONTRACT RECEIVED DATE:                                              ACTUAL COMPLETION DATE:
                                                                                                                                                    .         .
DEFAULT RETAINAGE:                    10.0%
                                         --                                      .
DESCRIPTION:
              -        -                                                                                                            -           -
INCLUSIONS:
See attached Scope
                                                                 . .                                                           .    .       .
EXCLUSIONS:
                                                                       . .                                                                  .             .
ATTACHMENTS:
MDC Contract Backup..pdf Prism Contract Backup.pdf Facade Bid sheet MDC.doc



 #              SUB JOBS                   COST CODE                              DESCRIPTION                          TYPE                     AMOUNT
 1 Masonry Work                  01-010 - Mobilization                 Mobilization                                    Other                            $ 102,924.24
 2 Masonry Work                  01-011 - Brick Repainting per         2. Brick Repointing per drawing                 Other                             $ 32,338.34
                                 Drawing
 3 Masonry Work                  01-012 - Brick Replacement per Brick Replacement per drawing                          Other                            $ 395,272.87
                                 Drawing
 4 Masonry Work                  01-015 - Brick Arch                   Brick Arch Reconstruction                       Other                             $ 16,161.21
                                 Reconstruction
 5 Masonry Work                  01-021 - Pinning Brick to Struct- Pinning brick to structure at corners               Other                            $ 101,107.06
                                 Corner
 6 Masonry Work                  01-022 - Pining Brick to Struct-      Pinning Brick to Structure at Interior          Other                              $ 8,757.30
                                 Int Clm                               Columns
 7 Masonry Work                  01-023 - Replace Existing I-          Replace Existing I-Beam Lintels                Other                              $ 52,908.71
                                 Beam Lintel
 8 Masonry Work                  01-024 - Sandblast Stl                Sandblast Steel Beams and                      Other                              $ 19,047.14
                                 Beams/Clmns                           Columns
 9 Masonry Work                  01.025 - Lower Existing               Lower Existing Bluestone Sills                 Other                              $ 27,864.15
                                 Bluestone Sills
 1 Masonry Work                  01-026 - New Lintel                   New Lintel Replacement C Building              Other                              $ 55,987.04
 0                               Replacement C Bid
11 Masonry Work                  01-027 - Building B Parpet            Building B Parapet Reconstruction              Other                              $ 21,805.71
                                 Reconstruct
 1 Masonry Work                  01-028 - Demo-New Modified            Demolition of New and Modified                 Other                             $ 179,584.45
 2                               Openings                              Openings
                                                                                                                                    .
                                                                                                                     Grand Total:               $ 1,013,758.22




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      COMPANIES
                                                                                        1900290-002




Geis Companies                                        M.D.C.
10020 Aurora Hudson                                   151 S 11th Street
Streetsboro, Ohio 44241                               Lindenhurst, New York 11757




SIGNATURE                           DATE              SIGNATURE                                              DATE



Geis Companies                          Page 2 of 2                                 Printed On: 10/23/2019 08:26 AM
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            TODAY: 10/1/2019
  PREPARATION DATE: 06/29/2019
           PROJECT: WONDER LOFTS 720 CLINTON STREET, HOBOKEN, NJ                   LABOR STATUS:      0/Shop   PLA                PREVAILING WAGE NON-UNION(OSHOP)
            CLIENT:                                                                    INSURANCE:     OWN      CC1P               OCIP
     PROJECT SCOPE:                                                                    TAX STATUS:    YES      NO
        ATTENDANT:                                                                          BOND:     No       NO
        REFERENCES: ARCHITECTURAL DRAWINGS DATED 07/8/2019                     CERTIFIED PAYROLL:     No       NO
                                                                             WEATHER CONDITIONS:      EASY     MEDIUM            DIFFICULT
                                                                           ACCESSIBILITY/LOGISTICS:   EASY     MEDIUM            DIFFICULT
                                                                                       START DATE:

CAT                  TASK                                                                TAKEOFF                                 PRICE

                                                  TASK                              QUANTITY            UN         UNIT PRICE            TOTAL          REFERENCE
FACADE DEMOLITION
EIGHT STREET                                                                                                                                              A-301
BRICK FACADE DEMOLITION FOR BUILDING A
                     - DEMOLITION AND REMOVAL OF DEBRIS FROM SITE                     1600              SF     $         12.00    $       19,200.00
                                                                                                                                  $             -
CLINTON STREET                                                                                                                    $             -         A-302
BRICK FACADE DEMOLITION FOR BUILDING A                                                                                            $
                     - DEMOLITION AND REMOVAL OF DEBRIS FROM SITE                     1550              SF     $         12.00    $       18,600.00
                                                                                                                                  $             -
GRAND STREET                                                                                                                      $             -
BRICK FACADE DEMOLITION FOR BUILDING B                                                                                            $             -
                     - DEMOLITION AND REMOVAL OF DEBRIS FROM SITE
                                                                                     948.75             SF     $         12.00                            A-307
                      (PARAPET)                                                                                                   $       11,385.00
                                                                                                                                  $             -
EXISTING SECTION BUILDING A&COURTYARD(SECTION FF)                                                                                 $             -         A-309
ALSO REAR ELEVATION BUILDING B                                                                                                    $
                      - DEMOLITION AND REMOVAL OF DEBRIS FROM SITE                     950              SF     $         12.00    $       11,400.00
                                                                                                                                  $             -
EXISTING SECTION/ELEVATION-BUILDING A (SECTION AA)                                                                                $             -         A-304
WALL AT INTERIOR TO BE DEMOLISHED                                                                                                 $
                      - DEMOLITION AND REMOVAL OF DEBRIS FROM SITE                    1700              SF     $         12.00    $        20,400.00
                                                                                                                                  $              -
EXISTING ELEVATION                                                                                                                $              -        A-303
INTERIOR OF BUILDING A                                                                                                            $
                         - DEMOLITION AND REMOVAL OF DEBRIS FROM SITE                 4400              SF     $         12.00    $       52,800.00
                         - CHIMNEY RESTORATION(WHOLE CHIMNEY AREA)                     0                SF     $         60.00    $             -
                                                                                                                                  $             -
BRICK REPAIR AND RESTORATION (BR-1,3,4,5,6)                                                                                       $               -
EIGHT STREET                                                                                                                      $               -       A-301
EXISTING ELEVATION                                                                                                                $
                         - BR-1BRICK REPOINTING                                       1049              SF     $         11.50    $       12,063.50
                     - BR-2&4 TYPIC AL OUTERMOST COURSE BRICK REPLACEMENT
                                                                                       135              SF     $        100.00
                     &BRICK FACADE PINNING TO CONCRETE CORNER COLUMN
                                                                                                                                  $       13,500.00
                     - BR-2&11TYPIC AL OUTERMOST COURSE BRICK REPLACEMENT
                                                                                       135              SF     $         65.00
                     &SAND BLAST AND PAINT EXISTING STEEL BEAMS/COLUMNS
                                                                                                                                  $          8,775.00
                     - BR-5 BRICK FACADE PINNIN TO INTERIOR CONCRETE
                                                                                       70               SF     $         30.00
                       COLUMN                                                                                                     $        2,100.00
                     - BR-7 SUPPORT FOR NEW BRICK OPENINGS(I BEAMS)                   150               LF     $        145.00    $       21,750.00
                     - BR-8 SUPPORT FOR NEW BRICK OPENINGS(C CHANNEL)                 16                LF     $        145.00    $        2,320.00
                     - BR-11SAND BLAST&PAINT EXISTING STEEL BEAMS AND
                                                                                       32               LF     $         65.00
                     COLUMNS                                                                                                  $            2,080.00
                     - BR-12 LOWER EXISTING 8" BLUSTONE WINDOW SILL                    60               LF     $        105.00$            6,300.00
                     - NEW BRICK FOR EXISTING BUILDING                                2640              SF     $         45.00$          118,800.00 $        187,688.50
                                                                                                                              $                 -
CLINTON STREET                                                                                                                $                 -        A-302
EXISTING ELEVATION                                                                                                            $                 -
                     - BR-1BRICK REPOINTING                                           650               SF     $        11.50 $              7,475.00
                     - BR-2 TYPIC AL OUTERMOST COURSE BRICK REPLACEMENT               130               SF     $        55.00 $              7,150.00
                     - BR-2&4TYPIC AL OUTERMOST COURSE BRICK REPLACEMENT
                                                                                      190               SF     $       100.00
                     &BRICK FACADE PINNING TO CONCRETE CORNER COLUMN
                                                                                                                                  $       19,000.00
                     - BR-5 BRICK FACADE PINNIN TO INTERIOR CONCRETE
                                                                                      150               SF     $         30.00
                       COLUMN                                                                                                     $        4,500.00
                     - BR-7 SUPPORT FOR NEW BRICK OPENINGS(I BEAMS)                    70               LF     $       145.00     $       10,150.00
                     - BR-10 BRICK ARCH RECONSTRUCTION                                 70               SF     $       150.00     $       10,500.00
                     - BR-11SAND BLAST&PAINT EXISTING STEEL BEAMS AND
                                                                                      170               LF     $        12.00
                     COLUMNS                                                                                                      $        2,040.00
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CAT                 TASK                                                              TAKEOFF                                 PRICE

                                              TASK                                QUANTITY      UN           UNIT PRICE               TOTAL         REFERENCE
FACADE DEMOLITION

                    - BR-2&11TYPIC AL OUTERMOST COURSE BRICK REPLACEMENT
                                                                                    150         SF       $            65.00
                    &SAND BLAST AND PAINT EXISTING STEEL BEAMS/COLUMNS
                                                                                                                               $         9,750.00
                    - NEW BRICK FOR EXISTING BUILDING                               1600        SF       $            45.00    $        72,000.00

COURTYARD BLDG. A   - NEW BRICK FOR EXISTING BUILDING                                                             '       $                  -        A 309
                    BR1 BRICK REPOINTING                                            132         SF       $         11.50 $              1,518,00
                    BR2                                                              35         SF       $         55.00 $              1,925.00
                    BR3                                                              40         SF       $         36.00 $              1,440.00
                    BR6                                                              13         SF       $         33,00 $                429.00
                    BRS                                                             190         LF       $        145.00 $             27,550,00
                    BR10                                                             1          LS       $      1,680.00 $              1,680.00
                    BR11                                                            13          LF              65       —$               845.00
                    - NEW BRICK FOR EXISTING BUILDING                                40         SF       $         45.00 $              1,800.00
                                                                                                     -                    $                  -
                                                                       TOTALS:                                            $           501,225.50
                                                                CONTINGENCY:         5%                                   $            25,061.28
                                                                     Insurance     6.00%                                  $            31,577.21
                                           General Condition, Overhead & Profit     25%                                   $           139,466.00
                                                                        BOND:        0%                                   $                  -

                                                                 TOTAL PRICE:                                                  $      697,329.98

                                                                                                                       See Summary on pg 4
      Case
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            TODAY: 10/1/2019
  PREPARATION DATE: 08/24/2019
           PROJECT: WONDER LOFTS 720 CLINTON STREET, HOBOKEN, NJ                      LABOR STATUS:      0/Shop   0/Shop             PREVAILING WAGE NON-UNION(OSHOP)
            CLIENT:                                                                       INSURANCE:     OWN      CCIP               OCIP
     PROJECT SCOPE:                                                                      TAX STATUS:     YES      Yes
        ATTENDANT:                                                                             BOND:     No       NO
        REFERENCES: ARCHITECTURAL DRAWINGS DATED 07/8/2019                        CERTIFIED PAYROLL:     no       NO
                                                                                WEATHER CONDITIONS:      EASY     MEDIUM             DIFFICULT
                                                                              ACCESSIBILITY/LOGISTICS:   EASY     MEDIUM             DIFFICULT
                                                                                         START DATE:

CAT                  TASK                                                                  TAKEOFF                                  PRICE

                                                TASK                                  QUANTITY.            UN         UNIT PRICE            TOTAL               REFERENCE
FACADE DEMOLITION
GRAND STREET
BRICK FACADE DEMOLITION FOR BUILDING A and B
                     - DEMOLITION AND REMOVAL OF DEBRIS FROM SITE                                                                                                  A-300
                                                                                          130              SF     $         12.00    $           1,560.00
                       (PARAPET)                                                                                                                            EXISTING ELEVATION

BRICK REPAIR AND RESTORATION (BR-1,2,4,5,6,7,8,12)
EIGHT STREET                                                                                                                                                      A-300
EXISTING ELEVATION
                     - BR-1BRICK REPOINTING                                               200              SF     $         12.00    $        2,400.00      EXISTING ELEVATION
                     - BR-2 TYPICAL OUTERMOST COURSE BRICK REPLACEMENT                    405              SF     $         55.00    $       22,275.00      EXISTING ELEVATION
                     - BR-4&6 BRICK FACADE PINNING TO CONCRETE CORNER
                                                                                         130               SF     $         95.00    $       12,350.00      EXISTING ELEVATION
                     COLUMN&CRACK BRICK REPAIR REPAIR AT CORNERS
                     - BR-5 BRICK FACADE PINNIN TO INTERIOR CONCRETE
                                                                                         125               SF     $         30.00    $           3,750.00   EXISTING ELEVATION
                       COLUMN
                     - BR-7 SUPPORT FOR NEW BRICK OPENINGS(' BEAMS)                       55               LF     $        145.00    $        7,975.00      EXISTING ELEVATION
                     - BR-8 SUPPORT FOR NEW BRICK OPENINGS(C CHANNEL)                     85               LF     $        145.00    $       12,325.00      EXISTING ELEVATION
                     - BR-11SAND BLAST&PAINT EXISTING STEEL BEAMS AND
                                                                                         140               LF     $         12.00    $           1,680.00   EXISTING ELEVATION
                     COLUMNS
                     - BR-12 LOWER EXISTING 8" BLUSTONE WINDOW SILL                      140               LF     $        105.00    $       14,700.00

NEW BRICK                                                                                                                                                         A-300
PROPOSED ELEVATION
                     - RECONSTRUCTED BRICK                                               2340              SF     $         45.00    $      105,300.00      PROPOSED ELEVATION




                                                                         TOTALS:                                                     $      184,315.00
                                                                  CONTINGENCY:            5%                                         $        9,215.75
                                                                       Insurance        6.00%                                        $       11,611.85
                                             General Condition, Overhead & Profit:       25%                                         $       51,285.65
                                                                          BOND:           0%                                         $             -

                                                                    TOTAL PRICE:                                                     $      256,428.24

                                                                                                                               ee Summary on pg
 Case
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                                       1200


Kevin Watts

From:                 Iabroo anil <aiabroo@yahoo.com>
Sent:                 Wednesday, September 18, 2019 11:25 AM
To:                   Jaime Delahunt; Kevin Watts
Subject:              Fw: Wonder Loft Correction


Kevin,
Please see answers in Red,
Regds.
Anil



We need to make the following changes to the brick proposal



    1. Need a separate proposal for buildings D & E with costs for each separate. This is all of the brick and CMU
       pricing. (Lower Priority)
    2. On our existing proposal we need the following changes (HOT ITEM)
           a. Parapet wall was called to be poured in concrete. They have asked for this to be priced as CMU. Parapet
                was Priced as CMU only
            b. Need a unit price for lintels installed in $/113 Unit Price is around 2$ Per Lb
           c. We missed a wall in building Q. It is an. interior wall that is 100' x     It is a single layer brick veneer.
                The Cost would be around $ 60,000.00 for MOdular Brick



We need the brick price revised ASAP. The pricing for building D & E are less important at this time.


                                      720 Clinton Summary
Call with questions
                                      $697,329.98 Proposal #1
                                      $256,428.24 Proposal #2
                                      $60,000,00 Modular Brick shown on A-304 dated 7/8/19
Thanks,                               $1,013,758.22 Total for 720 Clinton

Kevin Watts

440-454-5195




From: jaimemdcinc <jaimemdcinc@gmail.com>
Sent: Thursday, September 12, 2019 7:57 PM
To: Kevin Watts <Kevinw@geisco.net>
Subject: Fwd: Re: Correction




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 Case
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                                       1201




Sent from my T-Mobile 4G LTE Device




      Original message

From: labroo anil <a labroo@yahoo.com>

Date: 9/12/19 4:14 PM (GMT-05:00)

To: Jaime Delahunt <jairnemdcinc,67).grnail.com>

Subject: Re: Correction




Jaime,

Please see attached Estimate Revised. Sorry for goof up

Regards,

Anil Labroo




                                                   2
 Case
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                                                                                            ESTIMATE
                                                                         Date 09/15/19                       Estimate #001


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                                                                                         Wonder Lofts, Hohaken, _A7

                1'57 South 1St Lindenhurst, NY

                        Description                              Units            city            Rate                Total
                   General Conditions
Mobilization / Demobilization                                    LS                      1.00     1,500.00              1,500.00
Shop Drawings & Sunmittals                                       LS                      1.00     2,000.00              2,000.00
Supervision                                                      LS                      1.00     7,500.00              7,500.00
                                                                                                                       11,000.00

                       Brick Veneer
Brick Veneer incl., Waterproofing, Rigid Insulation, Relieving
Angles etc. complete.                                          SF                 1,330.00           60.00             79,800.00
Extra for Expansion Joint & Recessed Brick Area                LF                   435.00           60.00             26,100.00
Scaffolding                                                    SF                                     5.00

                                     Subtotal Brick Veneer                                                             105,900,00

                             Subtotal General Conditions                                                      11,000.00
                                      Subtotal Removals                                                      105,900.00
                                               Insurance                                                       7,014.00
                                       Overhead & Profit                                                      18,587.10
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                                                 Total Add Alt

* PRICES BASED ON NON UNION RATES
** Prices Based on Sketch Dated 07.30.2018

*** Standard Modular Bricks will be used in Brick Veneer.
   * Anykind of CMU is not included


EXCLUSIONS: Anykind of Special Colored Bricks
                  NOTES / QUALIFICATIONS
Scope of work as specifically outlined in attached estimate.
All excavated mtrl presumed to be "clean" and uncontaminated. Estimate reflects using this material as backfill.
This estimate must be part of final contract. Any notes / qualifications / exclusions apply to our contract.
Security systems and/or guard services during construction are by owner/others.
All work performed during normal working hours (except as per bldg rules & regs).
No overtime work unless approved & agreed on.
All permits /building dept filing fees / inspections /expeditor fees are not included.
Architectural / engineering / consulting services by owner/tenant/others.
All pricing is valid for 30 days from our proposal date.
All SF costs are industry average. Actual cost may be adjusted depending on final design & specifications.
Supplier material deposits may be required (payment to M D C will have to occur before we pay vendor).
We reserve the right to review and recommend contract changes between MDC and client.
Labor rate increases dependent upon union contract renewal dates per trade.
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Alternates must be accepted at time of contract awards or modifications may be required.
Unit prices will vary depending on condition of project & sequencing at time of commencement.
Credits for deleted work will vary depending on condition of project & sequencing at time of commencement.
Restocking charge will apply @ a percentage.
All change orders & related schedule impact must be approved and signed before being implemented on site.
           EXCLUSIONS WORK NOT INCLUDED
Excavation in rock unless specifically noted.
Hazardous material conditions /mold/ asbestos abatement
Building "service charges" (i.e. elevators, shutdowns, engineer's standby, utility charges, etc.)
Unforseen conditions at areas not yet demolished / excavated.
Data / telecom I audiovisual wiring, devices, & programming.
Traffic control.
Mark outs.
Handling / relocating / protecting i installing of furniture & furnishings.
Updating code violations due to new permit filing.
Furnishing & installation of signage & graphics unless specifically mentioned in our proposal.
Phasing I sequencing unless specifically mentioned in our proposal.
Overtime work, except as specifically noted & agreed upon.
Testing /probes, site borings, surveying, etc.
All "standby" trades (such as plumber, electrical, teamster, etc.)
Costs for city agency coordination (i.e. MTA / ConEd / DOB /Landmarks, etc.)
All controlled inspections / PE monitoring.
Removal of owner supplied protection & packaging.
Landscaping /trees / mulch /soil/ etc. unless specifically mentioned in our proposal.
Testing of existing systems.
Repairs to existing conditions if unforseen and / or not indicated on drawings.
Delays due to inclement weather (i.e. snow, rain, wind, etc.) for exterior work.
Overtime permits as mandated by the city, SCA, DEP, and/or any other agencies.
Air quality testing & monitoring.
Temporary fence /protection & egress ways unless specifically included in our proposal.
Refurbishing / testing / modifying existing systems.
Dewatering / underpinning / rock excavation unless specifically included in our proposal.
Sidewalk sheds, bridges, scaffolding work unless specifically included in our proposal.
"Stripping", preparation of existing surfaces, or painting.
Inspections, certifications, and removal of contaminated soil unless specifically included in our proposal.
Waterproofing of any kind unless specifically noted.
Temporary water and power not included.




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                     MDC                                                 Date 09/15/19                     Ectimate XVOI

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                                                                         Prof Title: Building 731
                                                                                    11/Wonde.r Lofts, Hoboken, NT

                151 South 11St Lindenhurst, NV

                        Description                              Units         Qty             Rate                   Total
                                                                                          J               12252222,

                   General Conditions
Mobilization / Demobilization                                    LS                1.00        1,500.00                 1,500.00
Shop Drawings & Sunmittals                                       LS                1.00        2,000.00                 2,000.00
Supervision                                                      LS                1.00       10,000.00                10,000.00
                                                                                                                       13,500.00

                       Brick Veneer
Brick Veneer incl., Waterproofing, Rigid insulation, Relieving
Angles etc. complete.                                          SF             1,830.00           60.00                109,800.00
Extra for Expansion Joint & Recessed Brick Area                LF               740.00           60.00                 44,400.00
Scaffolding                                                    SF                                 5.00

                                     Subtotal Brick Veneer                                                             154,200.00

                             Subtotal General Conditions                                     13,500.00
                                      Subtotal Removals                                     154,200.00
                                               Insurance                                     10,062.00
                                       Overhead & Profit                                     26,664.30
                                        GRAND TOTA4H0 a Penino Prism —ha ge Order !WV 10,21 204,426.30

ADD ALT


                                                 Total Add Alt

* PRICES BASED ON NON UNION
                                  RATES
** Prices Based on Sketch Dated 02.26.2019

   Standard Modular Bricks will be used in Brick Veneer.
"*" Anykind of CMU is not Included


EXCLUSIONS : Anykind of Special Colored Bricks
                   NOTES / QUALIFICATIONS
Scope of work as specifically outlined in attached estimate.
All excavated mtrl presumed to be "clean" and uncontaminated. Estimate reflects using this material as backfill.
This estimate must be part of final contract. Any notes / qualifications / exclusions apply to our contract.
Security systems and/or guard services during construction are by owner/others.
All work performed during normal working hours (except as per bldg rules & regs).
No overtime work unless approved & agreed on.
All permits /building dept filing fees / inspections /expeditor fees are not included.
Architectural /engineering I consulting services by owner/tenant/others.
All pricing is valid for 30 days from our proposal date.
All SF costs are industry average. Actual cost may be adjusted depending on final design & specifications.
Supplier material deposits may be required (payment to M D C will have to occur before we pay vendor).
We reserve the right to review and recommend contract changes between MDC and client.
Labor rate increases dependent upon union contract renewal dates per trade.
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 Alternates must be accepted at time of contract awards or modifications may be required.
 Unit prices will vary depending on condition ofproject & sequencing at time of commencement.
 Credits for deleted work will vary depending on condition of project & sequencing at time of commencement.
Restocking charge will apply @ a percentage.
 All change orders & related schedule impact must be approved and signed before being implemented on site.
           EXCLUSIONS l WORK NOT INCLUDED
Excavation in rock unless specifically noted.
Hazardous material conditions / mold/ asbestos abatement
 Building "service charges" (i.e. elevators, shutdowns, engineer's standby, utility charges, etc.)
 Unforseen conditions at areas not yet demolished / excavated.
Data / telecom / audiovisual wiring, devices, & programming.
 Traffic control.
Mark outs.
Handling / relocating /protecting / installing of furniture & furnishings.
 Updating code violations due to new permit filing.
Furnishing & installation of signage & graphics unless specifically mentioned in our proposal.
Phasing /sequencing unless specifically mentioned in our proposal.
 Overtime work, except as specifically noted & agreed upon.
 Testing /probes, site borings, surveying, etc.
Al! "standby" trades (such as plumber, electrical, teamster, etc.)
 Costs for city agency coordination (i.e. MTA / ConEd / DOB / Landmarks, etc.)
All controlled inspections / PE monitoring.
Removal of owner supplied protection 8( packaging.
Landscaping /trees / mulch / soil/ etc. unless specifically mentioned in our proposal.
 Testing of existing systems.
Repairs to existing conditions if unforseen and / or not indicated on drawings.
Delays due to inclement weather (i.e. snow, rain, wind, etc.) for exterior work.
Overtime permits as mandated by the city, SCA, DEP, and / or any other agencies.
Air quality testing & monitoring.
 Temporary fence /protection & egress ways unless specifically included in our proposal.
Refurbishing / testing / modifying existing systems.
Dewatering /underpinning /rock excavation unless specifically included in our proposal.
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Inspections, certifications, and removal of contaminated soil unless specifically included in our proposal.
 Waterproofing of any kind unless specifically noted.
 Temporary water and power not included.




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                                                    EXHIBIT "A" Drawing Lis₹ -WONDER LOFTS-72.0 Clinton 1.0,10,19

  Sheet Name    Version                             Description                                                     Date Issued

   A-000         Architectural-Updates 08/19/19      Title Sheet/Tax Map/General Notes/Drawing List                   8/19/2019 0:02
   A-001         Architectural-Updates 08/19/19      Building Data                                                    8/19/2019 0:02
   A-100         Architectural-Updates 08/1.9119     Site & Impact Plans                                              8/19/2019 0:02
   A-101         Architectural-Updates 08/19/19     Site Circulation & Lighting Plans                                 8/19/2019 0:02
   A-102         Architectural-Updates 08/19/19      Site Landscaping &Topography Plan                                8/19/2019 0:02
   A-103         Architectural-Updates 08/19/19      Flood Proofing Plan                                              8/19/2019 0:02
   A-150        Architectural-Updates 08/19/19       Wall Partition Types/Floor AssernbIle-s                          8/19/2019 0;02
  A-151         Architectural-Updates 08/19/19      Soundproofing/Slgnage                                             8/19/2019 0:02
   A-200        Architectural-Updates 08/19/19      Architectural Plan Floor 0 (Basement)                             8/19/2019 0:02
  A-201         Architectural-Updates 08/19/19      Architectural Plan Floor 1                                        8/19/2019 0:02
  A-201,1       Architectural-Updates 08/19/19      Architectural Plan 1st Floor Partial Plan                         8/19/2019 0;02
   A-201.2      Architectural-Updates 08/19/19      Architectural Plan 1st Floor Partial Plan                         8/19/2019 0:02
   A-201.3      Architectural-Updates 08/19/19      Architectural Plan 1st Floor Partial Plan                         8/19/2019 0:02
  A-201.4       Architectural-Updates 08/19/19      Architectural Plan 1st Floor Partial Plan                         8/19/2019 0:02
  A-201M        Architectural-Updates 08/19/19      Architectural Plan Floor 1M Upper Parking                         8/19/2019 0:02
  A-201M.1      Architectural-Updates 08/19/19      Architectural Plan Floor 1M Upper Parking Partial Plan           8/19/2019 0:02
  A-201M,2      Architectural-Updates 08/19/19      Architectural Plan Floor 1M Upper Parking                        8/19/ 2019 0:02
  A-202         Architectural-Updates 08/19/19      Architectural Plan Floor 2                                       8/19/ 2019 0:02
  A-202.1       Architectural-Updates 08/19/19      Architectural Plan 2nd Floor Partial Plan                        8/19/2019 0:02
  A-2022        Architectural-Updates 08/19/19      Architectural Plan 2nd Floor Partial Plan                        8/19/2019 0:02
  A-202.3       Architectural-Updates 08/19/19      Architectural Plan 2nd Floor Partial Plan                        8/19/2019 0:02
  A-202.4       Architectural-Updates 08/19/19      Architectural Plan 2nd Floor Partial Plan                        8/19/2019 0:02
  A-203         Architectural-Updates 08/19/19      Architectural Plan 3rd '                                         8/1.9/2019 0:02
  A-203,1       Architectural-Updates 08/19/19      Architectural Plan 3rd Floor Partial Plan                        8/19/2019 0:02
  A-203,2       Architectural-Updates 08/19/19      Architectural Plan 3rd Floor Partial Plan                        8/19/2019 0:02
  A-203.3       Architectural-Updates 08/19/19      Architectural Plan 3rd Floor Partial Plan                        8/19/ 2019 0:02
  A-204         Architectural-Updates 08/19/19      Architectural Plan 4th Floor                                     8/14/2019 0:02
  A-204.1       Architectural-Updates 08/19/19      Architectural Plan 4th Floor Partial Plan                        8/19/ 2019 0:02
  A-204.2       Architectural-Updates 08/19/19      Architectural Plan 4th Floor Partial Plan                        8/19/2019 0:02.
  A-204.3       Architectural-Updates 08/19/19      Architectural PlanAth Floor Partial Plan                         8/19/2019 0:02
  A-204.4       Architectural-Updates 08/19/1.9     Architectural Plan 4th Floor Partial Plan                        8/19/2019 0:02
  A-205         Architectural-Updates 08/19/19      Architectural Plan'Fioor 5                                       8/19/2019 0:02
  A-205.1       Architectural-Updates 08/19/19      Architectural Plan 5th Floor Partial Plan                        8/19/2019 0;02
  A-205,2       Architectural-Updates 08/19/19      Architectural Plan 4th Floor Partial Plan                        8/19/2019 0:02
  A-205,3       Architectural-Updates 08/19/19      Architectural Plan 4th Floor Partial Plan                        8/19/ 2019 0:02
  A-205A        Architectural-Updates 08/19/19     Architectural Plan 4th Floor Partial Plan                         8/19/2019 0:02
  A-206         Architectural-Updates 08/19/19      ArChitectural Plan Floor 6                                       8/19/2019 0:02
  A-206.1       Architectural-Updates 08/19/19     Architectural Plan 6th Floor Partial Plan                         8/19/2019 0:02
  A-206.2       Architectural-Updates 08/19/19     Architectural Plan 6th Floor Partial Plan                         8/19/2019 0:02
 A-206.3        Architectural-Updates 08/1.9/19    Architectural Plan 6th Floor Partial Plan                         8/19/2019 0:02
 A-206.4        Architectural-Updates 08/19/19     Architectural Plan 6th Floor Partial Plan                         8/19/2019 0:02
 A-207         Architectural-Updates 08/19/19      Architectural Plan Floor 7                                        8119/2019 0:02
 A-207.1       Architectural-Updates 08/19/19      Architectural Plan 7th Floor Partial Plan                         8/19/2019 0:02
 A-207.2       Architectural-Updates 08/19/19      Architectural Plan 7th Floor Partial Plan                         8/19/20130:02
 A-207.3       Architectural-Updates 08/19/19      Architectural Plan 7th Floor Partial Plan                         8/19/2019 0:02'
 A-208         Architectural-Updates 08/19/19      Architectural Plan Floor 8-Bulkhead Plan                          8/19/2019 0:02
 A-211         Architectural-Updates 08/19/19      Roof Details                                                      8/19/2019 0:02
 A-212         Architectural-Updates 08/19/19      Roof Detalls/Extensive Green Roof                                 8/19/2019 0:02
 A-213         Architectural-Updates 08/19/19      Roof Details/Pedestal System Details                              8/19/2019 0:02
 A-221.1 ,     Architectural-Updates 08/19/19      Reflected Ceiling Plan 1st Floor                                  8/19/2019 0:02
 A-221.2       Architectural-Updates 08/19/19      Reflected Ceiling Plan 1st Floor                                 8/19/2019 0:02
 A-221.3       Architectural-Updates 08/19/19      Reflected Calling Plan 1st Floor                                 8/19/2019 0:02
 A-221.4       Architectural-Updates 08/19/19      Reflected Ceiling Plan 1st Floor                                 8/19/2019 0:02
 A-222.1       Architectural-Updates 08/19/19      Reflected Ceiling Plan 2nd Floor .                               8/19/2019 0:02
 A-222,2       Architectural-Updates 08/19/19      Reflected Ceiling Plan 2nd Floor                                 8/19/2019 0:02
 A-222,3       Architectural-Updates 08/19/19      Reflected Ceiling Plan 2nd Floor                                 8/19/2019 0:02
 A-222.4       Architectural-Updates 08/19/19      Reflected Ceiling Plan 2nd Floor                                 8/19/2019 0:02
 A-223.1       Architectural-Updates 08/19/19      Reflected Ceiling Plan 3rd Floor Partial Plan                    8/19/2019 0:02
 A-223.2       Architectural-Updates 08/19/19      Reflected Ceiling Plan 3rd Floor Partial Plan                    8/19/2019 0:02
 A-223.3       Architectural-Updates 08/19/19      Reflected Ceiling Plan 3rd Floor Partial Plan                    8/19/2019 0:02
 A-224,1       Architectural-Updates 08/19/19      Reflected Ceiling Plan 4th Floor Partial Plan                    8/19/2019 0:02
 A-224.2       Architectural-Updates 08/19/19      Reflected Ceiling Plan 4th Floor Partial Plan                    8/19/2019 0;02
 A-224.3       Archltectural-Updates 08/19/19      Reflected Ceiling Plan 4th Floor Partial Plan                    8/19/2019 0:02
 A-224.4       Architectural-Updates 08/19/19      Reflected Ceiling Plan 4th Floor Partial Plan                    8/19/201.9 0:02
 A-225.1       Architectural-Updates 08/19/19      Reflected Ceiling Plan 5th Floor Partial Plan                    8/19/2019 0:02
 A-225.2       Architectural-Updates 08/19/19      Reflected Ceiling Plan 5th Floor Partial Plan                    8/19/2019 0:02
 A-225.3       Architectural-Updates 08/19/19      Reflected Ceiling Plan 5th Floor Partial Plan                    8/19/2019 0:02
 A-225.4       Architectural-Updates 08/19/19      Reflected Ceiling Plan 5th Floor Partial Plan                    8/19/2019 0:02
 A-226.1       Architectural-Updates 08/19/19      Reflected Ceiling Plan 6th Floor Partial Plan                    8/19/2019 0:02
 A-226.2       Architectural-Updates 08/19/19      Reflected Ceiling Plan 6th Floor Partial Plan                    8/19/2019 0:02
 A-226.3       Architectural-Updates 08/19/19      Reflected Ceiling Plan 6th Floor Partial Plan                    8/19/2019 0;02
 A-22.6.4      Architectural-Updates 08/19/19      Reflected Ceiling Plan 6th Floor Partial Plan                    8/19/2019 0:02
 A-227         Architectural-Updates 08/19/19      Reflected Ceiling Plan Floor? Partial Plan                       8/19/2019 0:02
 A-227.1       Architectural-Updates 08/19/19      Reflected Ceiling Plan 7th Floor Partial Plan                    8/19/2019 0:02
 A-227.2       Architectural-Updates 08/19/19      Reflected Ceiling Plan 7th Floor Partial Plan                    8/19/2019 0:02
 A-227.3       Architectural-Updates 08/19/19      Reflected Ceiling Plan 7th Floor Partial Plan                    8/19/2019 0:02
 A-228         Architectural-Updates 08/19/19      Reflected Ceiling Plan 8th Floor                                 8/19/2019 0:02
 A-230         Architectural-Updates 08/19/19      ANSI Compliant Bathrooms & Details                               8/19/2019 0:02




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   A-240        Architectural-Updates 08/19/19       ANSI Compliant Kitchen & Details                                 8/19/2019 0:02
   A-900       Architectural-Updates 08/19/19        Building Elevations Grand Street                                 8/19/2019 0:02
   A-301        Architectural-Updates 08/19/19       Building Elevations Eighth Street                                8/19/2019 0:02
   A-302        Architectural-Updates 08/19/19       Building Elevations Clinton Street                               8/19/2019 0:02
   A-303       Architectural-Updates 08/19/19        Building Elevations South Building A Interior                    8/19/2019 0:02
   A-304       Architectural-Updates 08/19/19        Building Elevations/Sections -Section AA (Building A)            8/19/2019 0:02
   A-305       Architectural-Updates 08/19/19        Building Elevations/Sections -Section 1313 (Building A)          8/19/2019 0:02
   A-306       Architectural-Updates 08/19/19        Building Elevations/Sections-Section CC (Building B/C/Court)     8/19/2019 0:02
   A-807       Architectural-Updates 08/19/19        Building Elevations/Sections -Section DD (Building A/B)          8//9/2019 0:02
   A-308       Architectural-Updates 08/19/19        Building Elevations/Sections -Section EE (Building A/Court)     8/19/2019 0:02
   A-309       Architectural-Updates 08/19/19        Building Elevations/Sections -Section FF (Building A/Court)     8/19/2019 0:02
   A-310       Architectural-Updates 08/19/19        Building Elevations/Sections -Section GG (Building A/C)         8/19/2019 0:02
  A-311        Architectural-Updates 08/19/19        Glazing Schedule                                                8/19/2019 0:02
   A-312       Architectural-Updates 08/19/19        Glazing Schedule (Continued)                                    8/19/2019 0:02
   A-313       Architectural-Updates 08/19/19        Glazing Schedule-Commercial (Continued)                         8/19/2019 0:02
   A-320       Architectural-Updates 08/19/19        Brick Repair Details                                            8/19/2019 0:02
  A-411        Architectural-Updates 08/19/19        Wall Sections-Building A                                        8/19/2019 0:02.
   A-411A      Architectural-Updates 08/19/19                                                                        8/19/2019 0:02
  A-412        Architectural-Updates 08/19/19        Wall Sections-BulIdi08 8                                        8/19/2019 0:02
  A-413        Architectural-Updates 08/19/19        Wall Sections-Buliding C                                        8/19/2019 0:02
  A-414        Architectural-Updates 08/19/19        Wall Sections Building C                                        8/19/2019 0:02
  A-415        Architectural-Updates 08/19/19        Section Details                                                 8/19/2019 0:02
  A-416        Architectural-Updates 08/19/19        Enlarged Sections-Building A                                    8/19/2019 0;02
  A-417        Architectural-Updates 08/19/19                                                                        8/19/2019 0:02
  A-420        Architectural-Updates 08/19/19       Enlarged North West Stair Plans-Building A & Stair Details       8/19/2019 0:02
  A-421        Architectural-Updates 08/19/19       Enlarged North East Stair Plans-Building A                       8/19/2019 0;02
  A-422        Architectural-Updates 08/19/19       Enlarged South West Stair Plans-Building B                       8/19/2019 0:02
  A-423        Architectural-Updates 08/19/19       Enlarged South East Stair Plans-Building C                       8/19/2019 0:02
  A-424        Architectural-Updates 08/19/19       Enlarged typical unit interior Stairs                            8/19/2019 0:02
  A-425        Architectural-Updates 08/19/19       Stair Section                                                    8/19/2019 0:02
  A-426        Architectural-Updates 08/19/19       Stair Section                                                    8/19/2019 0:02
  A-500        Architectural-Updates 08/19/19       Door Scheclule-lst & 2nd Floor                                   8/19/2019 0;02
  A-501        Architectural-Updates 08/19/19       Door Schedule-3rd Floor                                          8/19/2019 0:02
  A-502        Architectural-Updates 08/19/19       Door Schedule-4th Floor                                          8/19/2019 0:02
  A-503       Architectural-Updates 08/19/19        Door Schedule-5th Floor                                          8/19/2019 0:02
  A-504       Architectural-Updates 08/19/19        Door Schedule-6th Floor                                          8/19/2019 0:02
  A-505       Architectural-Updates 08/19/19        Door Schedule-7th, 8th & 9th Floor & Hardware Schedule           8/19/2019 0:02
  A-506       Architectural-Updates 08/19/19        Door Types/Door Details                                          8/19/2019 0;02
  A-510       Architectural-Updates 08/19/19        Title Sheet/Tax Map/General Notes/Drawing List                   8/19/2019 0:02
  A-600       Architectural-Updates 08/19/19        Miscellaneous Details 1 & Masonry/Firestopping                   849/2019 0:02
 4601         Architectural-Updates 08/19/19        Metal Stud Framing Details                                       8/19/2019 0:02
  A-602       Architectural-Updates 08/19/19        ACM Panel Details                                                8/19/2019 0:02
  A•603       Architectural-Updates 08/19/19        Miscellaneous Details                                           8/19/ 2019 0:02
  A-604       Architectural-Updates 08/19/19                                                                        8/19/2019 0:02
  A-701.1     Architectural-Updates 08/19/19         SLAB PROFILE PLAN-1st FLR PARTIAL PLAN BUILDING A              8/19/2019 0:02
  A-701.2     Architectural-Updates 08/19/19         SLAB PROFILE PLAN-1st FLR PARTIAL PLAN BUILDING A              8/19/2019 0:02
 A-701.3      Architectural-Updates 08/19/19         SLAB PROFILE PLAN-1st FLR PARTIAL PLAN BUILDING C              8/19/2019 0:02
 4701.4       Architectural-Updates 08/19/19         SLAB PROFILE PLAN-1st FIR PARTIAL PLAN BUILDING B              8/19/2019 0:02
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 BC2-01-CS    Structural Updates-Rebar 7/29/19       2nd FLOOR BEAM REINFORCEMENT DETAILS BLDG-C                    7/29/2019 0:00
 BMA-01-CS    Shop Drawings-Rebar 08/12/19           BUILDING A-BEAM REINFORCEMENT DETAILS                          8/12/2019 0:00
 BMC-01-CS    Shop Drawings-Rebar 07.05.19          Building C-Tie Beam Grade Beam Reinforcement Details              7/5/2019 0:00
 CLA-10-CS    Shop Drawings-Rebar 09/18/19          Column Reinforcement Details                                    9/18/2019 0:00
 CLA-11-CS    Shop Drawings-Rebar 09/18/19          Column Reinforcement Details                                    9/18/2019 0:00
 CLA-12-CS    Shop Drawings•Rebar 09/18/19          Column Reinforcement Details                                    9/18/2019 0:00
 CLA-13-CS    Shop Drawings-Rebar 09/18/19          Column Reinforcement Details                                    9/18/2019 0:00
 CLA-14-CS    Shop Drawings-Rebar 09/18/19          Column Reinforcement Details                                    9/18/2019 0:00
 CLA-15-CS    Shop Drawings-Reber 09118/19          Column Reinforcement Details                                    9/18/2019 0:00
 CLA-1.6-CS   Shop Drawings-Rebar 09/18/19          Column Reinforcement Details                                    9/18/2019 0:00
 CLB-01-CS    Shop drawings-Reber 09/11/19          COLUMN REINFORCEMENT DETAILS BLDG-B                             9/11/2019 0:00
 CLB-02-CS    Shop drawings-Rebar 09/11/19          COLUMN REINFORCEMENT DETAILS BLDG-B                             9/11/2019 0:00
 CLB-03-CS    Shop drawings-Rebar 09/11/19          COLUMN REINFORCEMENT DETAILS BLDG-B                             9/11/2019 0:00
 CLB-04-CS    Shop drawings-Reber 09/11/19          COLUMN REINFORCEMENT DETAILS BLDG-B                             9/11/2019 0;00
 CLC-01-CS    Shop Drawings-Rebar 09/20/19          COLUMN REINFORCEMENT DETAILS BLDG-C                             9/20/2019 0;00
 CLC-02-CS    Shop Drawings•Rebar 09/20/19          COLUMN REINFORCEMENT DETAILS st.pG-c                            9/20/2019 0:00
 CLC-03-CS    Shop Drawings-Reber 09/20/19          COLUMN REINFORCEMENT DETAILS BLDG-C                             9/20/20/9 0:00
 CLC-04-C     Shop Drawings-Rebar 07/26/19          COLUMN REINFORCEMENT DETAILS BLDG-C                             7/26/2019 0:00
 CLC-04-05    Shop Drawings-Rebar 09/20/19          COLUMN REINFORCEMENT DETAILS BLDG-C                             9/20/2019 0:00
 CLC-05-CS    Shop Drawings-Rebar 09/20/19          COLUMN REINFORCEMENT DETAILS BLDG-C                             9/20/2019 0:00
 0-001        MEP-Electrical 07.08.19               Electrical Sybol List & General Notes                            7/8/2019 0:02
 0-002        MEP-Electrical 07.08.19               Electrical Specifications                                        7/8/2019 0:02
 0-003        MEP-Electrical 07,08.19               Electrical Specifications                                        7/8/2019 0:02
 0-100        MEP-Electrical 07.08.19               Electrical Lighting Plan-First Floor                             7/8/2019 0:02
 E-101        MEP-Electrical 07.08,19               Electrical Lighting Plan-Mezzanine                               7/8/2019 0;02
 0-102        MEP-Electrical 07.08.19               Electrical Lighting Plan-Second Floor                            7/8/2019 0:02
 E-103        MEP-Electrical 07.08.19               Electrical Lighting Plan-Third Floor                             7/8/2019 0;02
 E-104        MEP-Electrical 07.08.19               Electrical Lighting Plan-Fourth Floor                            7/8/2019 0:02.
 0-105        MEP-Electrical 07.08.19               Electrical Lighting Plan-Fifth Floor                             7/8/ 2019 0:02
 1-106        MEP-Electrical 07.08.19               Electricel Lighting Plan-Sixth Floor                             7/8/2019 0:02
 0-107        MEP-Electrical 07.08.19               Electrical Lighting Plan-Seventh Floor                           7/8/2019 0:02
 E-108        MEP-Electrical 07.08.19               Electrical Lighting Plan-Roof                                    7/8/2019 0:02
 E-200        MEP-Electrical 07.08.19               Electrical Power Plan-First Floor                                7/8/2019 0:02




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   E-201             MEP-Electrical 07,08.1.9                 Electrical Power Plan-Mezzanine                                       7/8/20190:02
   E-202             MOP-Electrical 07,08.19                 Electrical Power Plan-Second Floor                                     7/8/2019 0:02
    0-203            MEP-Electrical 07.08.19                 Electrical Power Plan-Third Floor                                      7/8/2019 0:02
   E-204             MEP-Electrical 07,08.19                 Electrical Power Plan-Fourth Floor                                     7/8/2019 0:02
   0-205             MEP-Electrlcal 07.08.19                 Electrical Power Plan-Fifth Floor                                      7/8/2019 0:02
   0-206             MOP-Electrical 07.08.19                 Electrical Power Plan-Sixth Floor                                      7/8/2019 0;02
   0-207             MEP-Electrical 07.08.19                 Electrical Power Plan-Seventh Floor                                    7/8/2019 0:02
   E-208             MEP-Electrical 07.08,19                 Electrical Power Plan-Roof                                             7/8/2019 0;02
   E-209             MOP-Electrical 07.08,19                 Electrical Power Plan-Bulkhead                                         7/8/2019 0:02
   0-300             MEP-Electrical 07.08.19                 Electrical Riser Diagram                                               7/8/ 2019 0:02
   0-310             MEP-Electrical 07.08,19                 Electrical Panel Schedules-Residential Typical                         7/8/2019 0:02
   0-313.            MEP-Electrical 07.08,19                 Electrical Panel Schedules                                             7/8/2019 0:02
   0-312             MEP-Electrical 07.08.19                 Electrical Panel Schedules                                             7/8/2019 0:02
   FA-100            MEP-Fire Alarm 07.08.19                 Fire Alarm Riser & Notes                                               7/8/2019 0:01
   FA-200            MEP-Fire Alarm 07.08.19                 Fire Alarm Plan-First Floor                                            7/8/2019 0:01
   FA-2.01           MEP-Fire Alarm 07.08.19                 Fire Alarm Plan-Mezzanine                                              7/8/2019 0:01
   FA-202            MEP-Fire Alarm 07.08.19                 Fire Alarm Plan-Second Floor                                           7/8/2019 0;01
   FA-203            MEP-Fire Alarm 07.08.19                 Fire Alarm Plan-Third Floor                                            7/8/ 2019 0:01
   FA-204            MEP-Fire Alarm 07.08,19                 Fire Alarm Plan-Fourth Floor                                           7/8/2019 0:01
   FA-205            MEP-Fire Alarm 07,08.3.9                Fire Alarm Plan-Fifth Floor                                            7/8/2019 0:01
   FA-206            MEP-Fire Alarm 07.08,19                 Fire Alarm Plan-Sixth Floor                                            7/8/203.90:01
   FA-207            MEP-Fire Alarm 07.08.19                 Fire Alarm Plan-Seventh Floor                                          7/8/2019 0:01
   FA-208            MEP-Fire Alarm 07.08.19                 Fire Alarm Plan-Eighth Floor                                           7/8/2019 0:01
   FP-001,00         MEP-Fire Protection Updates 07/08/19    Fire Protection Details & Notes-1                                      7/8/2019 0;04
   FP-001,00-720     MEP-Fire Protection                     Fire Protection Details & Notes-1                                    2/26/2019 0:06
   FP-002.00        MEP-Fire Protection Updates 07/08/19     Fire Protection Details a Notes-2                                      7/8/2019 0;04
   FP-002.00-720    MEP-Fire Protection                      Fire Protection Details & Notes-2                                    2/26/2019 0:06
  FP-003.00         MEP-Fire Protection Updates 07/08/19     Fire Protection Details & Notes-3                                      7/8/201.9 0:04
  FP-003.00-720     MEP-Fire Protection                      Fire Protection Details & Notes-3                                    2/26/2019 0:06
  FP-100.00         MEP-Fire Protection Updates 07/08/19                                                                            7/8/2019 0:04
  FP-100.00-720     MEP-Fire Protection                      Fire Protection Plan-1st Floor                                       2/26/2019 0:05
  FP-110.00         MEP-Fire Protection Updates 07/08/19     Fire Protection Plan-1st Floor & Mezzanine                             7/8/2019 0;04
  FP-11&00-720      MEP-Fire Protection                        Fire Protection Plan-lst Floor & Mezzanine                         2/26/2019 0:06
  FP-200.00         MEP-Fire Protection Updates 07/08/19       Fire Protection Plan-2nd Floor                                      7/8/ 2019 0:D4
  FP-200.00-720     MEP-Fire Protection                       Fire Protection Plan-2nd floor                                      2/26/2019 0;06
  FP-300.00         MEP-Fire Protection Updates 07/08/19      Fire Protection Plan-3rd Floor                                       7/8/2019 0:04
  FP-300.00-720     MEP-Fire Protection                       Fire Protection Plan-3rd floor                                      2/26/20190:06
  FP-400.00         MEP-Fire Protection Updates 07/08/19      Fire Protection Plan-4th Floor                                       7/8/2019 0:04
  FP-400,00-720     MEP-Fire Protection                     ' Fire Protection Plan-4th floor                                      2/26/2019 0:06
  FP-500,00         MEP-Fire Protection Updates 07/08/19      Fire Protection Plan-5th Floor                                       7/8/2019 0:04
  FP-500,00-720     MEP-Fire Protection                       Fire Protection Plan-5th floor                                      2/26/2019 0:06
  FP-600,00         MEP-Fire Protection Updates 07/08/19      Fire Protection Plan-6th Floor                                       7/8/2019 0:04
  FP-600.00-720     MEP-Fire Protection                       Fire Protection Plan-6th floor                                     2/26/20190:06
  FP-700.00         MEP-Fire Protection Updates 07/08/19      Fire Protection Plan-Penthouse Floor                                 7/8/2019 0:04
  FP-700.00-720     MEP-Fire Protection                       Fire Protection Plan-Penthouse Floor                               2/26/2019 0:06
  FP-800.00         MEP-Fire Protection Updates 07/08/19      Fire Protection Plan-Roof                                            7/8/2019 0:04
  FP-800.00-720     MEP-Fire Protection                       Fire Protection Plan-Roof                                          2/26/2019 0:06
  FP-901.00         MOP-Fire Protection Updates 07/08/19      Fire Protection Riser Diagram & Details-1                            7/8/2019 0;04
  FP-901.00-720     MOP-Fire Protection                       Fire Protection Riser Diagram & Details-1                          2/26/2019 0:06
  FP-902,00         MEP-Fire Protection Updates 07/08/19      Fire Protection Riser Diagram & Details-2                            7/8/2019 0:04
  FP-902.00-720     MEP-Fire Protection                       Fire Protection Riser Diagram & Details-2                          2/26/2019 0:06
  14-100            MEP-HVAC 07.08,19                         FIVAC Notes, Symbols, & Abbreviations                                6/8/2019 0:00 .
  H-210             MEP-HVAC 07.0&19                          HVAC 1st Floor Plan                                                  6/ 8/203.9 0:00
  H-215             MEP-HVAC 07,08.19                         HVAC 1st Floor Parking Mezzanine Plan                                6/8/2019 0:00
  H-220             MEP-HVAC 07,08.19                         HVAC 2nd Floor Plan                                                  6/8/2019 0:00
  H-230             MEP-HVAC 07.08.19                         HVAC 3rd Floor Plan                                                  6/8/2019 0:00
  H-240             MEP-HVAC 07,08.19                         HVAC 4th Floor Plan                                                  6/8/2019 0;00
  H-250             MEP-HVAC 07.08,19                         HVAC 5th Floor Plan                                                  6/8/2019 0:00
  H-260             MEP-HVAC 07,08.19                         HVAC 6th Floor Plan                                                  6/8/2019 0:00
  11-270            MEP-HVAC 07.08.19                         HVAC7th Floor Plan                                                   6/8/2019 0:00
  11-280            MEP-HVAC 07.08.19                         HVAC 8th Floor Plan                                                  6/8/2019 0:00
  H-290             MEP-HVAC 07.08.19                         HVAC 8th Floor Roof Plan                                             6/8/2019 0;00
 I-I-300            MEP-HVAC 07.08,19                         HVAC Schedules-Sheet 1                                               6/8/2019 0:00
 H-310              MEP-HVAC 4/29/19 Updates                  HVAC Schedules-Sheet 2                                             5/29/2019 0;00
 H-320              MEP-I-IVAC 07.08,19                       Ventilation Schedules Sheet 1                                        6/8/2019 0;00
 H-330              MEP-HVAC 07.08,1.9                        Ventilation Schedules Sheet 2                                        6/ 8/2019 0:00
 H-350              MEP-HVAC 07.08.19                         HVAC Diagrams                                                        6/8/2019 0:00
 11-400             MOP-HVAC 07.08.19                         HVAC Details                                                         6/8/2019 0:00
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 10-001            Interior Design                            General Notes                                                      2/27/2019 0:00
 ID-002            Interior Design-Full Set                   Safes Center Cover Sheet                                           1/25/2019 0;00
 1D-003            Interior Design-Full Set                  Sales Center General Notes                                          1/25/2019 0:00
 ID-100            Interior Design                            731Clinton Lobby Finish Floor/Furniture/RCP/Lighting/Power Plan    2/27/2019 0:00
 ID-110            interior Design                            731Clinton Typical Corridor Finish Floor/RCP/Lighting/Power Plan   2/27/2019 0:00
 10-120            interior Design                           720 Clinton Lobby Finish Floor Plan & Furniture Plan                2/27/2019 0:00
 10-121            Interior Design                            720 Clinton Lobby Reflected Ceiling & Power/Lighting Plan          2/27/2019 0:00
 ID-130            Interior Design                           Typical Corridor Finish Floor Plan/RCP/Lighting/Power Plan          2/27/2019 0:00
 ID-140            Interior Design                            Lounge & Kids Room Finish Floor Plan & Furniture Plan              2/27/2019 0:00
 ID-141            Interior Design                           Lounge & Kids Room Reflected Ceiling & Power/Lighting Plan          2/27/201.9 0:00
 ID-150            Interior Design                           Gym Finish Floor Plan & Furniture Plan                              2/27/2019 0:00
 ID-151            Interior Design                           GymReflected Ceiling & PoWer/Lighting Plan                          2/27/2019 0:00
 iD-160            interior Design                           Rooftop/Pool Finish Floor Plan & Furniture Plan                     2/27/2019 0:00




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  ID-161          Interior Design           Rooftop/Pool Reflected Ceiling & Power/Lighting Plan            2/27/2019 0:00
   10-170         Interior Design           Model Unit#310 Finish Floor Plan & Furniture Plan               2/27/2019 0:00
  ID-171          Interior Design           Model Unit #310 Reflected Ceiling Plan & Power/Lighting Plan    2/27/2019 0:00
  10-180          Interior Design-Add       Sales enter Finish Floor & Furniture Plan                       2/27/2019 0;01
  ID-181         Interior Design-Add        Sales Center Reflected Ceiling & Power/Lighting Plan            2/27/2019 0:01
   110-400        interior Design           731Clinton Lobby Elevations                                     2/27/2029 0:00
  ID-410          interior Design           731Clinton Lobby Elevations                                     2/27/2019 0:00
  ID-420          interior Design           720 Clinton Lobby Elevations                                    2/27/2019 0:00
   iD-421         interior Design           720 Clinton Lobby Elevations                                    2/27/2019 0:00
  ID-422         Interior Design            720 Clinton Lobby Elevations                                    2/27/2019 0:00
  1D-423         Interior Design            720 Clinton Lobby Elevations                                    2/27/2019 0:00
  1D-430         Interior Design            720 Clinton Typical Corridor & Elevator Vestibule Elevs         2/27/2019 0:00
  ID-431         Interior Design            720 Clinton Typical Corridor & Elevator Vestibule Elevs         2/27/2019 0:00
  ID-440         Interior Design           Lounge Elevations                                                2/27/2019 0:00
  ID-441         Interior Design            Lounge Elevations                                               2/27/2019 0:00
  ID-442         interior Design           Lounge Elevations                                                2/27/2019 0:00
  ID-443         Interior Design           Lounge Elevations                                                2/27/2019 0:00
  ID-444         Interior Design           Lounge Elevations                                                2/27/201.9 0:00
  10-450         interior Design            Gyrn/Yoga Elevations                                            2/27/2019 0:00
  1D-451         Interior Design            Gym/Yoga Elevations                                            2/27/2019 0:00
  ID-452         Interior Design           Gym/Yoga Elevations                                              2/27/2019 0:00
  ID-460         Interior Design           Rooftop/Pool Elevations                                         2/27/2019 0:00
  10.461        Interior Design            Rooftop/Pool Elevations                                          2/27/2019 0:00
  ID-470         interior Design           Bathroom Plans & Elevations                                     2/27/2019 0:00
  ID-471        Interior Design            Kitchen Elevations                                              2/27/2019 0:00
  iD-480        Interior Design-Full Set   Sales Center Elevations                                         1/25/2019 0:00
  i0-481        Interior Design-Full Set   Sales Center Elevations                                         1/25/2019 0:00
 10-482         Interior Design-Full Set   Sales Center Elevations                                         1/25/2019 0:00
 1D-483         Interior Design-Full Set   Sales Center Kitchen, Kitchenette, & Laundry Elevations         1/25/2019 0;00
 ID-484         interior Design-Full Set   Sales Center Elevations                                         1/25/2019 0:00
 ID-485         Interior Design-Full Set   Sales Center Bathroom Elevations                                1/25/2019 0:00
 ID-500         Interior Design            Schedules-Appliances, Electrical & Lighting                     2/27/201.9 0:00
 ID-501         Interior Design            Schedules-Plumbing                                              2/27/2019 0:0C)
 ID-502         Interior Design            Schedules-Accessories, Cabinetry Hardware, Door Hardware        2/27/2019 0:00
 ID-503         Interior Design            Schedules-Finishes                                              2/27/2019 0:00
 iD-504         Interior Design-Full Set   Schedules Appliances, Electrical & Lighting                     1/25/2019 0:00
 ID-SOS         Interior Design-Full Set   Schedules Plumbing                                              1/25/2019 0;00
 ID-506         Interior Design-Full Set   Schedules Accessories, Cabinetry Hardware, Door Hardware        1/25/2019 0:00
 ID-700         interior Design            Amenities Detail, Door Schedules, Elevations & Details          2/27/201.9 0:00
 ID-701         interior Design            Lobby Details                                                   2/27/2019 0:00
 ID-702         interior Design            Lounge Details                                                  2/27/2019 0:00
 ID-703         Interior Design            Typical Details-Apartment                                       2/27/2019 0:00
 ID-704         interior Design            Typical Details-Apartment                                       2/27/2019 0:00
 10-705         Interior Design            Bathroom Details                                                2/27/2019 0:00
 10-706         Interior Design            Kitchen Details                                                 2/27/2019 0;00
 ID-780         Interior Design-Full Set   Typical Details, Sales Center Door Schedule & Details           1/25/2019 0:00
 1D-781         interior Design-Full Set   Typical Details, Sales Center, Doors Schedule & Details         1/25/2019 0:00
 ID-782         Interior Design-Full Set   Typical Details Sales Center                                    1/25/2019 0;00
 iD-783         Interior Design-Full Set   Bathroom Details                                                1/25/2019 0:00
 ID-784         Interior Design-Full Set   Sales Center Kitchen Details                                    1/25/2019 0:00
 OA-018         MEP-Plumbing               PlumbingDetails-2                                               2/26/2019 0:08
 P-001          MEP-Plumbing Updates       Plumbing Specification 1 of 3                                     7/8/2019 0:03
 P-002          MEP-Plumbing Updates       Plumbing Specification 2 of 3                                     7/8/2019 0:03
 P-003          MEP-Plumbing Updates       Plumbing Specification 3 of 3                                     7/8/2019 0:03
 P-098          MEP-Plumbing Updates       Plumbing Legends, Notes and Schedules                             7/8/2019 0:03
 P-099          MEP-Plumbing Updates       Plumbing Schedule                                                 7/8/2019 0;03
 P-100          MEP-Plumbing Updates       1st Floor Plumbing Sanitary                                       7/8/2019 0:03
 PAMPA          MEP-Plumbing Updates       Underslab Plumbing Sanitary                                       7/8/2019 0:03
 P-101.         MEP-PlumbingUpdates        1st Floor Meat Plumbing Sanitary                                  7/8/2019 0:03
 P-102,00       MEP-Plumbing Updates       2nd Floor Plumbing Sanitary                                       7/8/2019 0;03
 P-103.00       MEP-Plumbing Updates       3rd Floor Plumbing Sanitary                                       7/8/2019 0:03
 P-104.00       MEP-Plumbing Updates       4th Floor Plumbing Sanitary                                      -7/8/2019 0:03
 P-105.00       MEP-Plumbing Updates       5th Floor Plumbing Sanitary                                       7/812019 0:03
 P-106.00       MEP-Plumbing Updates       6th Floor Plumbing Sanitary                                       7/8/2019 0:03
 P-106.00-729   MEP-Fire Protection                                                                        2/26/2019 0:06
 P-107.00       MEP-Plumbing Updates       7th Floor Plumbing Sanitary                                       7/8/2019 0:03
 P-108.00       MEP-Plumbing Updates       Roof Plumbing Sanitary                                            7/8/2019 0:03
 P-199          MEP-Plumbing Updates       Basement Water & Gas Plan                                         7/8/2.019 0:03
 P-200          MEP-Plumbing Updates       1st Floor Domestic Water & Gas Plan                               7/8/2019 0:03
 P-201          MEP-PIumbing Updates       1st Floor Mezzanine Domestic Water & Gas Plan                     7/8/2019 0:03
 P-202          MEP-Plumbing Updates       2nd Floor Domestic Water & Gas Plan                               7/8/2019 0:03
 P-203          MEP-Plumbing Updates       3rd Floor Domestic Water & Gas Plan                               7/8/2019 0:03
 P-204          MEP-Plumbing Updates       4th Floor Domestic Water & Gas Plan                               7/8/2019 0:03
 P-205          MEP-Plumbing Updates       5th Floor Domestic Water & Gas Plan                               7/8/2019 0;03
 P-206          MEP-Plumbing Updates       6th Floor Domestic Water & Gas Plan                               7/8/2019 0:03
 P-207          MEP-Plumbing Updates       7th Floor Domestic Water & Gas Plan                               7/8/2019 0:03
 P-208          MEP-Plumbing Updates       Penthouse Domestic Water & Gas Plan                               7/8/2019 0:03
 P-301          MEP-Plumbing Updates       Water Riser Part1                                                 7/8/2019 0:03
 P-302          MEP-Plumbing Updates       Water Riser Part 2                                                7/8/2019 0:03
 P-303          MEP-Plumbing Updates       Water Riser Part 3                                                7/8/2019 0;03
 P-304          MEP-Plumbing Updates       Water Riser Part 4                                               7/8/2019 0:03
 P-305          MEP-Plumbing Updates       Water Riser Part 5                                               7/8/2019 0;03




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  P-306                 MEP-PlumbingUpdates                     Water Riser Part 6                                              7/8/2019 0:03
  P-307                 MEP-Plumbing Updates                    Water Riser Part 7                                              7/8/2019 0:03
 P-308                 MEP-PlumbingUpdates                      Water Riser Part                                                7/8/2019 0:03
 P-400                 M£P-Plumbing Updates                     Plumbing Sanitary Riser-Part 1                                  7/8/2019 0:03
 P-401                 MEP-Plumbing Updates                     Plumbing Sanitary Riser-Part 2                                  7/8/2019 0:03
 P-402                 IMP-Plumbing Updates                     Plumbing Sanitary Riser-Part 3                                  7/8/2019 0:03
 P403                  MEP-Plumbing Updates                     Plumbing Sanitary Riser-Part 4                                  7/8/2019 0:03
 P-404                 MEP-Plumbing Updates                     Plumbing Sanitary Riser-Part 5                                  7/8/2019 0:03
 P-405                 MEP-Plumbing Updates                     Plumbing Sanitary Riser-Part 6                                  7/8/2019 0:03
 P-406                 MEP-Plumbing Updates                     Plumbing Sanitary Riser-Part 7                                  7/8/2019 0:03
 P-407                 MEP-Plumbing Updates                     Plumbing Sanitary Riser-Part 8                                  7/8/2019 0:03
 P-408                 MEP-Plumbing Updates                     Plumbing Sanitary Riser-Part 9                                  7/8/2019 0:03
 P-409                 MEP-Plumbing Updates                     Plumbing Sanitary Riser-Part 10                                 7/8/2019 0:03
 P-410                 MEP-Plumbing Updates                    Plumbing Sanitary Riser-Part 11                                  7/8/2019 0:03
 P-411                 MEP-Plumbing Updates                    PluMbingSanitaly Riser-Part 12                                   7/8/2019 0:03
 P-412                 MEP-Plumbing Updates                    Plumbing Sanitary Riser-Part 13                                  7/8/2019 0:03
 P-499.00              MOP-Plumbing Updates                    1st Floor Plumbing Utility Plan                                  7/8/2019 0;03
 P-499A.00             MEP-Plumbing Updates                    Plumbing Sanitary and Storm Utility Plan                         7/8/2019 0103
 P-4999.00             MEP-Plumbing Updates                    Plumbing Details                                                 7/8/2019 003
 P-501.00              MEP-Plumbing Updates                    1st Floor Mezzanine Storm Plan                                   7/8/2019 0:03
 P-502.00              MEP-Plumbing Updates                    2nd Floor Storm Plan                                             7/8/2019 0:03
 P-503.00              MEP-Plumbing Updates                    3rd Floor Storm Plan                                             7/8/2019 0:03
 P-504,00              MEP-PlumbingUpdates                     4th Floor Storm Plan                                             7/8/2019 0:03
 P-S05,00              MEP-Plumbing Updates                    5th Floor Storm Plan                                             7/8/2019 0:03
 P-506,00              MEP-Plumbing Updates                    6th Floor Storm Plan                                             7/8/2019 0:03
 P-507.00              MEP-Plumbing Updates                    7th Floor Storm Plan                                             7/8/2019 0:03
 P-508.00              MEP-Plumbing Updates                    Roof Storm Plan                                                  7/8/2019 0:03
 P-530                 MEP-Plumbing Updates                    Gas Riser-Part 1                                                 7/8/2019 0:03
 P-531                 MEP-PlumbingUpdates                     Gas Riser-Part 2                                                7/8/2019 0:03
 P-532                 MEP-Plumbing Updates                    Gas Riser-Part 3                                                 7/8/2019 0:03
 P-630                 MEP-Plumbing Updates                    Storm Riser-Part 1                                               7/8/2019 0:03
 P-631                 MEP-Plumbing Updates                    Stotm Riser-Part 2                                               7/8/2019 0:03
 P-632                 MEP-Plambir;g Updates                   Storm Riser-Part 3                                               7/8/2019 0:03
 P-920                 MEP-Plumbing Updates                    Plumbing Details-1                                               7/8/2019 0:03
 P-921                 MEP-Plumbing Updates                    Plumbing Details-2                                              7/8/2019 0:03
 PC-01-CS              Shop Drawings-07.11.3_9 Revisions       Building-A Plla Cap Reiff. Details                             7/11/2019 0:00
 PC-02-CS              Shop Drawings-07.11.19 Revisions        Building -A Pile Cap Relnf. Details                            7/11/20/3 0:00
 PC-03-CS              Shop Drawings-07.11.19 Revisions        Building-C Pile Cap Relnf Details                              7/11/2019 0:00
 PC-04-CS              Shop Drawings-07.04.19                  Building-B Pile Cap Relnf. details                              7/4/2019 0;00
 PC-05-CS              Shop Drawings-07.04.19                  Building-B Pile Cap Relnf. details                              7/4/2019 0:00
 PHA732-553-0038x4649 MEP-HVAC 07.08.19                        Garage Ventilation Control Diagram & Sequence of Operation       6/8/2019 0:00
 5-02                  USG DRYWALL SUSPENSION SYSTEM DETAILS   USG Drywall Suspension System Details                            6/5/2017 0:00
 S-100                 Structural-7/12/19 Updates              Cellar & Foundation Plan                                       7/12/2019 0:00
 3-101                 Structural Updates-7/30/19              First Floor Framing Plan (revised Foundations B&C 05.02.19)    7/30/2019 0:00
 3-101(PART 2)         Structural-7/12/19 Updates              First Floor Framing Plan                                       7/12/2019 0:00
 S-101(PART1)          Structural-7/12/19 Updates              First Floor Framing Plan                                       7/12/2019 0:00
 S-101A              , Structural Updates-7/30/19              Building A-Plie Caps Sections & Details                        7/30/2019 0;00
 S-101M                Structural Updates-08/14/19             First Floor Mezzanine Framing Plan                             8/14/2019 0:00
 5-102                 Structural Updates-08/14/19             BuildingA Second Floor Framing Plan                            8/14/2019 0:00
 5-103                 Structural-7/12/19 Updates              Third Floor Framing Plan                                       7/12/2019 0:00
 5-104                 Structural-7/12/19 Updates              Fourth Floor Framing Plan                                      7/12/2019 0:00
 S-105                 Structural-7/12/19 Updates              Fifth Floor Framing Plan                                       7/12/2019 0:00
 S-106                 Structural-7/12/19 Updates              Sixth Floor Framing Plan                                       7/12/2019 0:00
 5-107                 Structural-7112/19 Updates              Seventh Floor Framing Plan                                     7/12/2019 0:00
 S-108                 Structural-7/12/19 Updates              High Roof Framing Plan                                         7/12/2019 0:00
 3-109                 Structural-7/12/19 Updates              BuildingA Bulkhead & Dunnage Framing Plan                      7/12/2019 0:00
 5-201                 Structural Updates-08/14/19             Sections!                                                      8/14/2019 0:00
 5-202                 Structural                              Sections ii                                                   12/14/2018 0:00
 5-210                 Structural-7/12/19 Updates              Pile Cap Details and Sections                                  7/12/2019 0:00
 5-211                 Structural-7/12/19 Updates              Building B Pile Cap Details and Sections                       7/12/2819 0:00
 S-401                 Structural-7/12/19 Updates              Beam Schedule                                                  7/12/2019 0:00
 5-500                 Structural-7/12/19 Updates              BuildingA Existing Column Schedule                             7112/2019 0:00
 5-501                 Structural-7/12/3.9 Updates             BuildingA Column Schedule I                                    7/12/2019 0:00
 S-502                 Structural-7/12/19 Updates              Building A Column Schedule II & Sear Walls Loads               7/12/2019 0:00
 S-503                 Structural-7/12/19 Updates              Building B Existing & New Column Schedule                      7/12/2019 0:00
 5-504                 Structural-7/12/19 Updates              Building C Column Schedule                                     7/12/2019 0:00
 S-510                 Structural-7/12/19 Updates              Building A Columns Details                                     7/12/2019 0:00
 5-520                 Structural-7/12/19 Updates              BuildingA Details                                              7/12/2019 0:00
 5-521                 Structural Updates-08/14/19             Building B Shear Rails Details                                 8/1412019 0:00
 5-522                 Structural-7/12/19 Updates              Building C Shear Rails Details                                 7/12/2019 0:00
 S-530                 Structural-7/12/19 Updates              Building A Shear Wall Details                                  7/12/2019 0:00
 3-531                 Structural-7/12/19 Updates              Building B Shear Wall Details                                  7/12/2019 0:00
 S-532                 Structural-7/12/19 Updates              Building C Shear Wall Details & Beam Schedule                  7/12/2019 0:00
 5-601                 Structural-7/12/19 Updates              Typical Repair Details                                         7/12/2019 0:00
 S-700                 Structural-7/12/19 Updates              BuildingA General Notes & Design Criteria                      7/12/2019 0:00
 S-701                 Structural-7/12/19 Updates              Building ATypical Details l                                    7/12/2019 0:00
 3-702                 Structural-7112/19 Updates              BuildingA Typical Details ll                                   7/12/2019 0;00
 S-703                 Structural-7/12/19 Updates              Building ATypical Details ill                                  7/12/2019 0:00
 5-704                 Structural-7/12/19 Updates              Building ATypical Details IV                                   7/12/203.9 0:00
 5-705                 Structural-7/12/19 Updates              Building ATypical Details V                                    7/12/2019 0:00
 5-706                 Structural-7/12/19 Updates              Building A Typical Details VI                                  7/12/ 2019 0:00
 3-707                 Structural-7/12/19 Updates              Building ATypical Details VII                                  7/12/2019 0:00




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   9-708            Structural-7/12/19 Updates             Building A Typical Details VIII                                                            7/1.2/2019 0;00
   5-800            Structural-7/12/19 Updates .           Building C-Found, lst,2nd,3rd fir Framing Plans-Partial Demo Phi Construction at Facade    7/12/2019 0:00
   S-801            Structural Updates-7/24/19             Building C-Partial Demo & Ph 1 Construction Facade Bracing                                 7/24/2019 0:00
   502              Architectural-720 Clinton              USG Drywall Suspension System Details                                                      2/26/2019 0:00
   SA2-01-CS        Shop Drawings-Rebar 08/12/19           BUILDING A-2ND FLOOR SLAB REINF. DETAILS                                                   8/12/2019 0:00
   SA3-01-CS        Shop Drawings-Reber Updates 9/10/19    Building A-3rd Floor Slab Reinf. Details                                                   9/10/2019 0:00
   SA7-01-CS        Shop Drawings-Reber & Beam 09/30/19    Building A-7th Floor Slab Rein. Details                                                    9/30/2019 0:00
   SA7-02-CS        Shop Drawings-Rebar & Beam 09/30/19    Building A-7th Floor Slab Rein. Details                                                    9/30/2019 0:00
   SA7-03-CS        Shop Drawings-Reber & Beam 09/30/19    Building A-7th Floor Slab Rein. Details                                                    9/30/2019 0:00
   SA7-04-CS        Shop Drawings-Reber & Beam 09/30/19    Building A-7th Floor Slab Rein. Details                                                    9/30/2019 0:00
   S82--01-CS       Shop Drawings-Reber 09/19/19,          Building 8-2nd Floor Slab Reinforcement Details                                            9/19/2019 0:00
   SBM-01.-CS       Shop Drawings-Rebar Updates            BUILDING -1st MEZZANINE FLOOR SLAB REINFORCEMENT DETAILS                                   8/27/2019 0:00
   SBM-02-CS        Shop Drawings-Rebar Updates            BUILDING B-1ST MEZZANINE FLOOR SLAB REINFORCEMENT DETAILS                                  8/27/2019 0:00
   SBM-03-CS        Shop Drawings-Rebar Updates            BUILDING BAST MEZZANINE FLOOR SLAB REINFORCEMENT DETAILS                                   8/27/2019 0:00
  SBM-04-CS         Shop Drawings-Reber 09/12/19           BUILDING B-1st Mezzanine Floor Shear Reinf. Details                                        9/12/2019 0:00
   SC3-01-CS        Shop Drawings-Reber 09/17/19           Building C 3rd Floor Slab Reinforcement Details                                            9/17/2019 0:00
  SC3.02-CS         Shop Drawings-Reber 09/17/19           Building C 3rd Floor Slab Reinforcement Details                                            9/17/2019 0:00
  SCM-01-CS         Shop Drawings-Rebar 10/04/19           BUILDING C-1ST MOZZ FLOOR SLAB REINFORCEMENT DETAILS                                       10/4/2019 0:00
  SCM-02-CS         Shop Drawings-Rebar 10/04/19           BUILDING C-1ST MEZZ FLOOR SLAB REINFORCEMENT DETAILS                                       10/4/2019 0:00
  SCM-03-CS         Shop Drawings-Reber 10/04/19           BUILDING C-1ST MEZZ FLOOR SLAB REINFORCEMENT DETAILS                                      10/4/2019 0:00
  SCM-04-CS         Shop Drawings-Rebar 10/009             BUILDING C-1ST MEZZ FLOOR SLAB REINFORCEMENT DETAILS                                      10/4/2019 0:00
   SD-100           Structiral-7/12/19 Updates             Cellar & Foundation Demolition Plan                                                        7/12/2019 0:00
  SD-101            Structural-7/12/19 Updates             First Floor Demolition Plan                                                                7/12/2019 0:00
  5D-101(Part 1)    Structural-7112/19 Updates             1st Floor demolition                                                                       7/12/2019 0:00
  SD-102            Structural-7/12//9 Updates             EXisting Second Floor Demolition Plan                                                      7/1212019 0:00
 .50-103            Structural-7/12/19 Updates             Existing Third Floor Demolition Plan                                                       7/12/ 2019 0:00
  5D-104            Structural-7/12/19 Updates             Building A Existing 4th Floor Demolition Plan                                              7/12/2019 0:00
  SD-105            Structural-7/12/19 Updates             Existing 5th Floor Demolition Plan                                                        742/ 2019 0:00
  SD-106            Structural-7/12/19 Updates             Existing Roof Demolition Plan                                                             7/12/2019 0:00
  SD103A            Structural-7/12/19 Updates                                                                                                       7/12/2019 0:00
  5E3-01-CS        Shop Drawings-Reber Updates 9/10/19     BLDG E-3rd Floor Slab & Beam Reinforcement Details                                        9/10/2019 0:00
  SLA-01-CS        Shop Drawings-Reber.08/12/19            BUILDING A-SLAB ON GRADE REINFORCEMENT DETAILS                                            8/12/2019 0;00
  SLB-01-CS        Shop Drawings-Rebar 08/13/19 Updated    Building B-Slab on Grade Reinforcement Details                                            8/13/2019 0:02
  SLB-02-CS        Shop Drawings-Rebar 08/13/19 Updated    Building B-Slab on Grade Reinforcement Details                                            8/13/2019 0:02
  SLC-01-CS        Shop Drawings-Reber 08/13/19 Updated    Building C-ist floor Slab Reinforcement Details                                           8/13/2019 0:02
  SLC-02-CS        Shop Drawings-Rebar 08/13/19 Updated    Building C-lstfloor Slab Reinforcement Details                                            8/13/2019 0:02
  SIC-03-CS        Shop Drawings-R,bar 08/13/19 Updated    Building C-lstfloor Slab Reinforcement Details                                            8/13/2019 0:02
  SLC-04-CS        Shop Drawings-Rebar 08/13/19 Updated    Building C-lst floor Slab Reinforcement Details                                           8/13/2019 0:02
  SP-001.00-729    MEP-Fire Protection                     Fire Protection Notes, Symbols & Details                                                  2/26/2019 0:06
  SP-002.00-729    MEP-Fire Protection                     Fire Protection Specifications 1-2                                                        2/26/2019 0:06
  SP-003.00-729    MEP-Fire Protection                     Fire Protection Specifications 2-2                                                        2/26/2019 0:06
  SP-100.00-731    MEP-Fire Protection                     Fire Protection Notes and Details                                                         2/26/2019 0:06
  SP-101.00-729    MEP-Fire Protection                     1st Floor Fire Sprinkler Plan                                                             2/26/2019 0:06
  SP-101.00-731    MEP-Fire Protection                     1st Floor Fire Sprinkler Plan                                                             2/26/2019 0:06
  SP-102.00-729    MEP-Fire Protection                     2nd Floor Fire Sprinkler Plan                                                             2/26/2019 0:06
  SP-102.00-731    MEP-Fire Protection                     2nd Floor Fire Sprinkler Plan                                                             2/26/2019 0:06
  SP-103.00-729    MEP-fire Protection                     3rd Floor Fire Sprinkler Plan                                                             2/26/2019 0:06
  SP-103.00-731    MEP-fire Protection                     3rd Floor Fire Sprinkler Plan                                                             2/26/2019 0:06
  SP-104.00-729    MEP-Fire Protection                     4th Floor Fire Sprinkler Plan                                                             2126/2019 0;06
  SP-104.00-731    MEP-Fire Protection                     4th Floor Fire Sprinkler Plan                                                             2/26/2019 0:06
  SP-105.00-729    MEP-Fire Protection                                                                                                               2/26/2019 0:06
  SP-105.00-731    MEP-Fire Protection                     5th Floor Fire Sprinkler Plan                                                             2/26/ 2019 0:06
  SP-106.00-731    MEP-Fire Protection                     Roof Fire Sprinkler Plan                                                                  2/26/ 2019 0:06
  551(-1           Shop Drawings-Reber 08/12/19            PART-2ND FLOOR FRAMING PLAN                                                               8/12/ 2019 0:00
  SWA-01-CS        Structural Updates-Rebat 7/24/19        BLDG A-SHEAR WALL SUPP. 1ST TO ROOF FLOOR DETAILS                                         7/24/2019 0:01
  SWA-02-CS        Structural Updates-Reber 7/24/19        SHEAR WALL REINFORCEMENT DETAILS                                                          7/24/2019 0:01
  SWA-03-CS        Structural Updates-Rebar 7/24/19        BLDG A-SHEAR WAIISUPP. 1STTO ROOF FLOOR DETAILS                                           7/24/2019 0:01
  SWA-04-CS        Structural Updates-Reber 7/24/19        BLDG A-SHEAR WALL SUFF. 1STTO ROOF FLOOR DETAILS                                          7/24/2019 0;01
  SWB-01-CS        Shop Drawings-Reber Updates 9/10/19     BLDG 13-SHEAR WALL ist to 2nd FLOOR REINF                                                 9/10/2019 0:00
  SWB-02-CS        Shop Drawing-Rebar Updated 09/04/19     BLDG B-SHEAR WALL 3rd to HIGH ROOF REINF                                                   9/4/2019 0:00
  SWB-03-CS        Shop Drawing-Rebar Updated 09/04/19     BLDG B-SHEAR WALL 3rd TO HIGH ROOF REINF                                                   9/4/2019 0:00
 SWC-01-CS         Structural Updates-Rebar 7/24/19        BLDG-C SHEAR WALL SUPP. 2ND FLR REINF. DETAILS                                            7/24/2019 0:01
 SWC-02-CS         Shop Drawings-Rebar Updates 9/10/19     BLDG C-SHEAR WALL 2ND TO 3R FLOOR REINF. DETAILS                                          9/10/2019 0:00
 SWC-04-CS         Shop Drawings-Rebar Updates 09/16/19    BLDG C-SHEAR WALL 3rd to Roof Floor Reinf                                                 9/15/2019 0:00
 2-48              Landscaping-Pool Relocation Revisions   Proposed Landscaping Plans & Details (Upper Roof)                                          3/5/2019 0:01




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                                                EXHIBIT "A" Drawing List -WONDER LOFTS-721 (729) Clinton 10.10.19

  Sheet Narn Version                            Description                                                                        Date Issued

   A-000       Architectural-721. Clinton       Zoning Map                                                                          2/26/2019 0:01
   A-100       Architectural-721Clinton         Existing Demo & Stag€ng/Building Impact Plan                                       2/26/2019 0:01
   A-101       Architectural-721Clinton         Site Plans                                                                         2/26/2019 0:01
   A-102       Architectural-721Clinton         Site Details                                                                       2/26/2019 0:01
   A-105       Architectural-721Clinton         Flood Proofing Plan                                                                2/26/2019 0:01
   A-151-1     Architectural-721Clinton         Wall Partition Types/Signage Schedule                                              2/26/2019 0:01
   A-151-2     Architectural-721Clinton         Soundproofing/Signage                                                              2/26/2019 0:01
   A-201       Architectural-721Clinton         First & Second Floor Plans                                                         2/26/2019 0:01
   A-202       Architectural-721Clinton         Third & Fourth Floor Plans                                                         2/26/2019 0:01
  A-203        Architectural-721Clinton         Fifth Floor Plan & Roof Plan                                                       2/26/2019 0:01
  A-204        Architectural-721 Clinton        Bulkhead Pian & Details                                                            2/26/2019 0:01
  A-221        Architectural-721Clinton         First &.Second Floor Plans                                                         2/26/2019 0:01
   A-222       Architectural-721Clinton         Third & Fourth Floor Plans                                                         2/26/ 2019 0:01
  A-223        Architectural-721Clinton         Fifth & Roof Plans                                                                 2/26/2019 0:01
  A-230        Architectural-721Clinton         ANSI Compliant Bathroom Plans                                                      2/26/2019 0:01
  A-231        Architectural-721 Clinton        ANSI Compliant Bathrooms & Details                                                 2/26/2019 0:01
  A-240        Architectural-721Clinton         ANSI Compliant Kitchen Plans                                                       2/26/2019 0:01
  A-241       Architectural-721 Clinton         ANSI Compliant Kitchen & Details                                                   2/26/2019 0:01
  A-300        Architectural-721 Clinton        Building Elevations                                                                2/26/2019 0:01
  A-301       Architectural-721 Clinton         Glazing Schedule                                                                   2/26/2019 0:01
  A-400       Architectural-721Clinton          Building Section AA                                                                2/26/2019 0:01
  A-401       Architectural-721Clinton          Building Section BB                                                                2/26/2019 0:01
  A-402       Architectural-721Clinton          Building Section BB                                                                2/26/ 2019 0;01
  A-420       Arch€tectural-721 Clinton         Egress Staircase Plans & Details                                                   2/26/2019 0:01
  A-500       Architectural-721Clinton          Door Schedule & Hardware Schedule                                                  2/26/ 2019 0:01
  A-501       Architectural-721Clinton          Door Types & Door Details                                                          2/26/2019 0:01
  A-520       Architectural-721Clinton          Fire Protection Details/Radon Protection Details                                   2/26/203.9 0:01
  A-521       Architectural-721Clinton         Metal Stud Framing Details                                                          2/26/2019 0:01
  A-603       Architectural-721 Clinton        Miscellaneous Details                                                               2/26/2019 0:01
  A600        Architectural-721 Clinton        Miscellaneous Details                                                               2/26/2019 0:01
  D-444       Interior Design                  Lounge Elevations                                                                   2/27/2019 0:00
  E-001       MEP-Electrical-5/ 1/19 Updates   Electrical Symbol List & General Notes                                               5/1/2019 0:00
  E-002       MEP-Electrical-5/1/19 Updates    Electrical Notes & Specifications                                                    5/1/2019 0;00
  E-003       MEP-Electrical-5/1./19 Updates   Electrical Notes & Specifications                                                    5/1/2019 0:00
  E-100       MEP-Electrical-5/1/19 Updates    Electrical Lighting Plan-First & Second Floor                                        5/1/2019 0:00
  E-101       MEP-Electrical-5/1/19 Updates    Electrical Lighting Plan-Third & Fourth Floor                                        5/1/2019 0:00
 E-102        MEP-Electr€cal-5/1/19 Updates    Electrical Lighting Plan-Fifth Floor & Roof                                          5/1/2019 0:00
  E-200       MEP-Electrical-5/1/19 Updates    Electrical Power Plan-First & Second Floor                                           5/1/2019 0:00
  E-201.      MEP-Electrical-5/1/19 Updates    Electrical Power Plan-Third & Fourth Floor                                           5/1/2019 0:00
  E-202       MEP-Electrical-5/1/19 Updates    Electrical Power Plan-Fifth Floor & Roof                                             5/1/2019 0:00
  E-300       MEP-Electrical-5/1/19 Updates    Electrical Panel Schedules                                                           5/1/2019 0:00
  E-400       MEP-Electrical-S/1/19 Updates    Electrical Riser Diagram & House Panel Schedule                                      5/1/2019 0:00
  FA-001      MEP-Fire Alarm Updates 7/8/19    Fire Alarm Riser, Legend & Notes                                                     7/8/2019 0:03
  FA-100      MEP-Fire Alarm Updates 7/8/19    Fire Alarm Plan-First & Second Floor                                                 7/8/2019 0:03
 FA-101      MEP-Fire Alarm Updates 7/ 8/19    Fire Alarm Plan-Third & Fourth Floor                                                 7/8/2019 0:03
 FA-102      MEP-Fire Alarm Updates 7/8/19     Fire Alarm Plan-Fifth Floor & Roof                                                   7/8/201.9 0:03
 H-100       MEP-HVAC Updates 7/8/19           HVAC Notes, Symbols & Abbreviations                                                  7/8/ 2019 0:02
 H-200       MEP-HVAC Updates 7/8/19           HVAC Plans                                                                           7/8/2019 0:02
 H-300       MEP-HVAC Updates 7/8/19           HVAC Schedules & Details                                                             7/8/2019 0:02
 H-301       MEP-HVAC Updates 7/8/19           HVAC Details                                                                         7/8/2019 0:02
 ID-000      interior Design                   Cover Sheet                                                                        2/27/2019 0:00
 ID-001      Interior Design                   General Notes                                                                      2/27/2019 0:00
 1D-100      Interior Design                   731Clinton Lobby-Finish Floor/Furniture/RCP/Power/Lighting Plan                    2/27/2019 0:00
 ID-110      Interior Design                   731 Clinton-Typlical Corridor/Finish Floor/RCP/Lighting/Power Plan                 2/ 27/2019 0:00
 10-120      Interior Design                   720 Clinton Lobby-Finish Floor Plan & Furniture Plan                               2/27/2019 0:00
 ID-121      interior Design                   720 Clinton Lobby-Reflected Ceiling & Power/Lighting Plan                          2/27/2019 0:00
 ID-130      Interior Design                   Typical Corridor-Finish Floor/RCP/Lighting/Power Plan                              2/27/2019 0:00
 ID-140      Interior Design                   Lounge & Kids Room-Finish Floor Plan & Furniture Plan                              2/27/2019 0:00
 ID-141      interior Design                   Lounge & Kids Room-Reflected Ceiling & Power/Lighting Plan                         2/27/2019 0:00
 ID-150      Interior Design                   Gym-F€nish Floor Plan & Furniture Plan                                             2/27/2019 0:00
 10-151      Interior Design                   Gym-Reflected Ceiling & Power/Lighting Plan                                        2/27/2019 0:00
 10-160      Interior Design                   Rooftop/Pool-Finish Floor Plan & Furniture Plan                                    2/27/2019 0:00



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  ID-161     interior Design                      Rooftop/Pool-Reflected Ceiling & Power/Lighting Plan                               2/27/2019 0:00
  1D-170     Interior Design                      Model Unit#310-Finish Floor Plan & Furniture Plan                                  2/27/2019 0:00
  ID-171     interior Design                      Model Unit#310-Reflected Ceiling Plan & Power/Lighting Plan                        2/27/2019 0:00
  ID-400     Interior Design                      731 Clinton Lobby-Elevations                                                       2/27/2019 0:00
  1D-410     Interior Design                      731 Clinton Lobby-Elevations                                                       2/27/2019 0:00
  1D-420     interior Design                      720 Clinton Lobby-Elevations                                                       2/27/2019 0:00
  ID-421     Interior Design                      720 Clinton Lobby-Elevations                                                       2/27/2019 0:00
  ID-422     Interior Design                      720 Clinton Lobby-Elevations                                                       2/27/2019 0:00
  ID-423     interior Design                      720 Clinton Lobby-Elevations                                                       2/27/2019 0:00
  ID-430     Interior Design                      720 Clinton-Typical Corridor & Elevator Vestibule Elevs.                           2/27/2019 0;00
  1D-431     interior Design                     720 ClintonTypical Corridor & Elevator Vestibule Elevs.                             2/27/2019 0:00
  1D-440     Interior Design                     Lounge Elevations                                                                   2/27/2019 0:00
  1D-441     Interior Design                     Lounge Elevations                                                                   2/27/2019 0:00
  ID-442     Interior Design                     Lounge Elevations                                                                   2/27/2019 0:00
  ID-443     Interior Design                     Lounge Elevations                                                                   2/27/2019 0:00
  ID-450     Interior Design                     Gym/Yoga Elevations                                                                 2/27/2019 0:00
 ID-451     Interior Design                      Gyrn/Yoga Elevations                                                                2/27/2019 0:00
 1D-452     Interior Design                      Gym/Yoga Elevations                                                                 2/27/2019 0:00
 ID-460     Interior Design                      Rooftop/Pool Elevations                                                             2/27/2019 0:00
 ID-461     Interior Design                      Rooftop/Pool Elevations                                                             2/27/2019 0:00
 ID-470     Interior Design                      Bathroom Plans & Elevations                                                         2/27/2019 0:00
 ID-471     Interior Design                      Kitchen Elevations                                                                ' 2/27/2019 0:00
 ID-500     interior Design                      Schedules-Appliances, Electrical & Lighting                                         2/27/2019 0:00
 ID-501     interior Design                      Schedules-Plumbing                                                                  2/27/2019 0:00
 ID-502     interior Design                      Schedules-Accessories, Cabinetry Hardware & Door Hardware                           2/27/2019 0:00
 1D-503     Interior Design                      Schedules-Finishes                                                                  2/27/2019 0:00
 ID-700     Interior Design                      Amenities Details-Door Schedules, Elevations, & Details                             2/27/2019 0:00
 10-701     Interior Design                      Lobby Details                                                                       2/27/2019 0:00
 1D-702     Interior Design                      Lounge Details                                                                      2/27/2019 0:00
 1D-703     Interior Design                      Typical Details-Apartment                                                           2/27/2019 0:00
 1D-704     Interior Design                      Typical Details-Apartment                                                           2/27/2019 0:00
 ID-705     Interior Design                      Bathroom Details                                                                    2/27/2019 0:00
 1D-706     Interior Design                      Kitchen Details                                                                     2/27/2019 0:00
 P-001.00   MEP-Plumbing Updates                 Plumbing Notes &Abbreviations                                                        7/8/2019 0:00
 P-002.00   MEP-Plumbing Updates                 Plumbing Fixtures Schedule                                                           7/8/2019 0:00
 P-003.00   MEP-Plumbing Updates                 Plumbing Specifications 1                                                            7/8/2019 0:00
 P-004.00   MEP-Plumbing Updates                 Plumbing Specifications 2                                                            7/8/2019 0:00
 P-005.00   MEP-Plumbing Updates                 Plumbing Specifications 3                                                            7/8/2019 0:00
 P-099.00   MEP-Plumbing Updates                 1st Floor Plumbing Utility Plan                                                      7/8/2019 0:00
 P-100.00   MEP-Plumbing Updates                 Plumbing 1st Floor Sanitary and Storm Plan                                           7/8/2019 0:00
 P-102.00   MEP-Plumbing Updates                 Plumbing 2nd Floor Sanitary and Storm Plan                                           7/8/2019 0:00
 P-103.00   MEP-Plumbing Updates                 Plumbing 3rd Floor Sanitary and Storm Plan                                           7/8/2019 0:00
 P-104.00   MEP-Plumbing Updates                 Plumbing 4th Floor Sanitary and Storm Plan                                           7/8/2019 0:00
 P-105.00   MEP-Plumbing Updates                 Plumbing 5th Floor Sanitary and Storm Plan                                           7/8/2019 0:00
 P-106.00   MEP-Fire Protection Updates 7/8/19   Plumbing Roof Sanitary & Storm Plan                                                  7/8/2019 0:04
 P-201.00   MEP-Plumbing Updates                 1st Floor Domestic Water and Gas Plan                                                7/8/2019 0:00
 P-202.00   MEP -Plumbing Updates                2nd Floor Domestic Water and Gas Plan                                                7/8/2019 0:00
 P-203.00   MEP-Plumbing Updates                 3rd Floor Domestic Water and Gas Plan                                                7/8/2019 0:00
 P-204.00   MEP-Plumbing Updates                 4th Floor Domestic Water and Gas Plan                                                7/8/2019 0:00
 P-205L0    MEP-Plumbing Updates                 5th Floor Domestic Water and Gas Plan                                                7/8/2019 0:00
 P-206L0    MEP-Plumbing Updates                 Roof Domestic Water and Gas Plan                                                     7/8/2019 0:00
 P-30000    MEP-PIumbing Updates                 Plumbing Sanitary Risers                                                             7/8/2019 0:00
 P-301.00   MEP-Plumbing Updates                 Water Risers-Bldg 729                                                                7/8/2019 0:00
 P-302.00   MEP-Plumbing Updates                 Gas Risers-Bldg 729                                                                  7/8/2019 0:00
 P-303.00   MEP-Plumbing Updates                 Plumbing Storm Risers                                                                7/8/2019 0:00
 P-920      MEP-Plumbing Updates                 Plumbing Details-1                                                                   7/8/2019 0:00
 P-921      MEP-Plumbing Updates                 Plumbing Details-2                                                                   7/8/2019 0:00
 S-101      Structural-04/29/19 100% CD          Building 5-Foundation Plan, 1st to 5th Floor and Roof Framing Plans                4/29/2019 0:00
 S-102      Structural-04/29/19 100% CD          Building E-Foundation Plan, 1st to 5th Floor and Roof Framing Plans                4/29/2019 0:00
 5-210      Structural-04/29/19 100% CD          Building E-Pile Cap Details                                                        4/29/2019 0:00
 S-500      Structural-04/29/19 100% CD          Building 5-Column Schedule, Shear Walls & Punching Sheer Reinf. Details            4/29/2019 0:00
 S-700      Structural-04/29/19100% CD           Building E-General Notes & Design Criteria                                         4/29/2019 0:00
 S-701      Structural-04/29/19 100% CD          Building 5-Typical Details I                                                       4/29/2019 0:00
 S-702      Structural-04/29/19 100% CD          Building E-Typical Details II                                                      4/29/2019 0:00
 S-703      Structural-04/29/19100% CD           Building E-Typical Details Ill                                                     4/29/2019 0:00
 502        Architectural-721Clinton             USG Drywall Suspension System Details                                              2/26/2019 0:01



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 SE3.01-CS Shop Drawings Rebar Updates 09/17/19   Bldg-E 3rd Floor Slab & Beam Reinforcement Details                  9/17/2019 0:00
 SP-001.00 MEP-Fire Protection Updates 7/8/19     Fire Protection Notes, Symbols & Details                             7/8/2019 0:04
 SP-002.00 MEP-Fire Protection Updates 7/8/19     Fire Protection Specifications 1-2                                   7/8/2019 0:04
 SP-003.00 MEP-Fire Protection Updates 7/8/19     Fire Protection Specifications 2-2                                   7/8/2019 0:04
 SP-100.00- MEP-Fire Protection                   Fire Protection Notes & Details                                     2/26/2019 0:02
 SP-101,00 MEP-Fire Protection Updates 7/8/19     1st Floor Sprinkler Plan                                             7/8/2019 0:04
 SP-101.00- MEP-Fire Protection                   1st Floor Fire Sprinkler Plan                                       2/26/2019 0:02
 SP-102.00 MEP-Fire Protection Updates 7/8/19     1st Floor Fire Sprinkler Plan                                        7/8/2019 0:04
 SP-102.00- MEP-Fire Protection                   2nd Floor Fire Sprinkler Plan                                       2/26/2019 0:02
 SP-103.00 MEP-Fire Protection Updates 7/8/19     3rd Floor Fire Sprinkler Plan                                        7/8/2019 0:04
 SP-103.00- MEP-Fire Protection                   3rd Floor Fire Sprinkler Plan                                       2/26/2019 0:02
 SP-104.00 MEP-Fire Protection Updates 7/8/19     4th Floor Fire Sprinkler Plan                                        7/8/2019 0:04
 SP-104.00- MEP-Fire Protection                   4th Floor Fire Sprinkler Plan                                       2/26/2019 0:02
 SP-105.00 MEP-Fire Protection Updates 7/8/19     5th Floor Fire Sprinkler Plan                                        7/8/2019 0:04
 SP-105.00- MEP-Fire Protection                   5th Floor Fire Sprinkler Plan                                       2/26/2019 0:02
 SP-106.00 MEP-Fire Protection                    Roof Fire Sprinkler Plan                                            2/26/ 2019 0:02
 SP-106.00- MEP-Fire Protection                   Roof Fire Sprinkler Plan                                            2/26/2019 0:02




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  Sheet Name    Version                                    Description                                                              Date Issued

  A-000         Architectural-731Clinton (Building D)      Title Sheet/Zoning Map/Tax Map/Drawing List/General Notes                2/26/2019 0:00
  A-100         Architectural-731Clinton (Building D)      Site Plans                                                               2/26/2019 0:00
  A-101         Architectural-731Clinton (Building D)      Circulation Lighting & Landscaping Plan Signage/Flood Vent System        2/26/2019 0:00
  A-102         Architectural-731 Clinton (Building 0)     Site Details                                                             2/26/2019 0:00
  A-150         Architectural-731Clinton (Building D)      Wall Partition Types/Floor Assemblies                                    2/26/2019 0:00
  A-151         Architectural-731Clinton (Building D)      Soundproofing/Signage                                                    2/26/2019 0:00
  A-201         Architectural-731Clinton (Building 0)      Architectural Plan Floor 1                                               2/26/2019 0:00
  A-202         Architectural-731Clinton (Building 0)      Architectural Plan Floor 2                                               2/26/2019 0:00
  A-203         Architectural-731Clinton (Building ID)     Architectural Plan Floor 3                                               2/26/2019 0:00
  A-204         Architectural-731 Clinton (Building 0)     Architectural Plan Floor 4                                               2/26/2019 0:00
  A-205         Architectural-731Clinton (Building 0)      Architectural Plan Floor 5                                               2/26/2019 0:00
  A-206         Architectural-731Clinton (Building D)      Architectural Plan Roof                                                  2/ 26/2019 0:00
  A-210         Architectural-731Clinton (Building D)      Roof Details                                                             2/26/2019 0:00
  A-211         Architectural-731Clinton (Building 0)      Green Roof Details/Deck Details                                          2/26/2019 0:00
  A-221         Architectural-731Clinton (Building D)      RCP 1st Floor                                                            2/ 26/2019 0:00
 A-222          Architectural-731Clinton (Building D)      RCP 2nd Floor                                                            2/26/2019 0:00
 A-223          Architectural-731Clinton (Building D)     RCP 3rd Floor                                                             2/26/2019 0:00
 A-224          Architectural-731Clinton (Building ID)    RCP 4th Floor                                                            2/26/2019 0:00
 A-225          Architectural-731Clinton (Building 0)     RCP 5th Floor                                                             2/26/2019 0:00
 A-226          Architectural-731 Clinton (Building ID)   RCP Roof                                                                 2/26/2019 0:00
 A-230          Architectural-731Clinton (Building D)     ANSI Compliant Bathrooms & Details                                       2/26/ 2019 0:00
 A-231          Architectural-731Clinton (Building D)     ANSI Compliant Bathroom & Details Floors 2-4                             2/26/2019 0:00
 A-232          Architectural-731Clinton (Building 13)    ANSI Compliant Bathroom & Details Floors 5-Roof                          2/26/2019 0:00
 A-240          Architectural-731Clinton (Building D)     ICC 117.1Compliant Kitchen Plans                                         2/26/2019 0:00
 A-241          Architectural-731Clinton (Building 0)     1CC/ANSI 117.1 Compliant Kitchen & Details                               2/26/2019 0:00
 A-300         Architectural-731Clinton (Building D)      Building Elevations                                                      2/26/ 2019 0:00
 A-301         Architectural-731Clinton (Building D)      Building Elevations                                                      2/26/2019 0:00
 A-302         Architectural-731Clinton (Building 0)      Building Elevations East (Rear)                                          2/26/2019 0:00
 A-303         Architectural-731Clinton (Building D)      Building Elevations North                                                2/26/2019 0:00
 A-304 -       Architectural-731Clinton (Building 0)      Glazing Schedule-Windows                                                 2/26/2019 0:00
 A-305         Architectural-731Clinton (Building 0)      Glazing Schedule-Hybrid Walls on Clinton Street Facade                   2/ 26/2019 0:00
 A-306         Architectural-731 Clinton (Building D)     Glazing Schedule-Hybrid Walls on 8th Street Facade                       2/26/2019 0:00
 A-400         Architectural-731Clinton (Building 0)      Building Section AA                                                      2/26/2019 0:00
 A-401         Architectural-731 Clinton (Building D)     Building Section BB                                                      2/26/2019 0:00
 A-402         Architectural-731Clinton (Building D)      Wall Sections                                                            2/26/2019 0:00
 A-403         Architectural-731Clinton (Building D)      Wall Sections                                                            2/26/2019 0:00
 A-404         Architectural-731Clinton (Building D)      Wall Section C/Wall Section                                              2/26/2019 0:00
 A-405         Architectural-731Clinton (Building D)      Wall Section E/Wall Section F                                            2/26/2019 0:00
 A-420         Architectural-731Clinton (Building 0)      Staircase Details                                                        2/26/2019 0:00
 A-421         Architectural-731Clinton (Building 0)      Duplex Staircase Plans & Details                                         2/26/2019 0:00
 A-500         Architectural-731 Clinton (Building D)     Door Schedule/Hardware Schedule                                          2/26/2019 0:00
 A-501         Architectural-731Clinton (Building 0)      Door Types/Door Details                                                  2/26/2019 0:00
 A-600         Architectural-731Clinton (Building 0)      Miscellaneous Details                                                    2/26/2019 0:00
 A-603         Architectural-731Clinton (Building 0)      Miscellaneous Details                                                    2/26/2019 0:00
 Cover         Architectural-731Clinton (Building D)      Cover Page                                                               2/26/2019 0:00
 D-444         interior Design                            Lounge Elevations                                                        2/27/2019 0:00
 E-001         MEP-Electrical Updates 7/8/19              Electrical Notes, Legend, Symbols & Abbreviations                          7/8/2019 0:02
 6-002         MEP-Electrical Updates 7/8/19              Electrical General Notes                                                   7/8/2019 0:02
 6-003         MEP-Electrical Updates 7/8/19              Electrical General Notes                                                  7/8/2019 0:02
 E-100         MEP-Electrical Updates 7/8/19              Electrical Lighting General Notes                                         7/8/2019 0:02
 E-101         MEP-Electrical Updates 7/8/19              Electrical Lighting Plan-First Floor                                      7/8/2019 0:02
 6-102         MEP-Electrical Updates 7/8/19              Electrical Lighting Plan-Second Floor                                     7/8/2019 0:02
 E-103         MEP-Electrical Updates 7/8/19              Electrical Lighting Plan-Third Floor                                      7/8/2019 0:02
 E-104         MEP-Electrical Updates 7/8/19              Electrical Lighting Plan-Fourth Floor                                     7/8/2019 0:02
 E-105         MEP-Electrical Updates 7/8/19              Electrical Lighting Plan-Fifth Floor                                      7/8/2019 0:02
 E-106         MEP-Electrical                             Electrical Lighting Plan-Roof Floor                                      2/26/2019 0:01
 E-107         MEP-Electrical                             Electrical Unit Plan-Second Floor                                        2/26/2019 0:01
 E-108         MEP-Electrical                             Electrical Unit Plan-Third Floor                                         2/26/2019 0:01
 E-109         MEP-Electrical                             Electrical Unit Plan-Fourth Floor                                        2/26/2019 0:01
 E-110         MEP-Electrical                             Electrical Unit Plan-Fifth Floor                                         2/26/2019 0:01



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  E-200            MEP-Electrical                   Electrical Power Notes                                                      2/26/2019 0:01
  E-201            MEP-Electrical Updates 7/8/19    Electrical Power Plan-First Floor                                            7/8/2019 0:02
  E-201Part 2      MEP-Electrical Updates 7/8/19    Electrical Power Plan-Second Floor                                           7/8/2019 0:02
  E-201-2          MEP-Electrical-Updated 5/1/19                                                                                 5/1/2019 0:00
  E-202            MEP-Electrical Updates 7/8/19     Electrical Power Plan-Second Floor                                          7/8/2019 0:02
  E-203            MEP-Electrical Updates 7/8/19     Electrical Power Plan-Third Floor                                           7/8/2019 0:02
  E-204            MEP-Electrical Updates 7/8/ 19    Electrical Power Plan-Fourth Floor                                          7/8/2019 0:02
  E-205            MEP-Electrical Updates 7/8/19     Electrical Power Plan-Fifth Floor                                           7/8/2019 0:02
  E-206            MEP-Electrical                    Electrical Power Plan-Roof Floor                                           2/26/2019 0:01
  E-300            MEP-Electrical Updates 7/8/19     Electrical Panel Schedules                                                  7/8/2019 0:02
  E-301            MEP-Electrical Updates 7/8/19     Electrical Panel Schedules                                                  7/8/2019 0:02
  E-302            MEP-Electrical                    Electrical Riser                                                           2/26/2019 0:01
  E-303            MEP-Electrical Updates 7/8/19     Electrical Riser & Details                                                  7/8/2019 0:02
  FA-100           MEP-Electrical Updates 7/8/19     Fire Alarm Riser, Notes & Legend                                            7/8/2019 0:02
  FA-101           MEP-Electrical Updates 7/8/19     Fire Alarm Plan-First Floor                                                 7/8/2019 0:02
  FA-102           MEP-Electrical Updates 7/8119     Fire Alarm Plan-Second Floor                                                7/8/2019 0:02
  FA-103           MEP-Electrical Updates 7/8/19     Fire Alarm Plan-Third Floor                                                 7/8/2019 0:02
  FA-104           MEP-Electrical Updates 7/8/19     Fire Alarm Plan-Fourth Floor                                                7/8/2019 0:02
  FA-105           MEP-Electrical Updates 7/8/19     Fire Alarm Plan-Fifth Floor                                                 7/8/2019 0:02
  FA-106           MEP-Electrical Updates 7/8/19     Fire Alarm Plan-Roof Floor                                                  7/8/2019 0:02
  FP-001.00-720    MEP-Fire Protection               Fire Protection Details & Notes-1                                         2/26/2019 0:04
  FP-002.00-720    MEP-Fire Protection              Fire Protection Details & Notes-2                                          2/26/2019 0:04
  FP-003.00-720    MEP-Fire Protection              Fire Protection Details & Notes-3                                          2/26/2019 0:04
  FP-100.00-720    MEP-Fire Protection              Fire Protection Plan-1st Floor                                             2/26/2019 0:04
  FP-110.00-720    MEP-Fire Protection              Fire Protection Plan-1st Floor & Mezzanine                                 2/26/2019 0:04
  FP-200.00-720    MEP-Fire Protection              Fire Protection Plan-2nd Floor                                             2/26/2019 0:04
  FP-300.00-720    MEP-Fire Protection              Fire Protection Plan-3rd Floor                                             2/26/2019 0:04
  FP-400.00-720    MEP-Fire Protection              Fire Protection Plan-4th Floor                                             2/26/2019 0:04
  FP-500.00-720    MEP-Fire Protection              Fire Protection Plan-5th Floor                                             2/26/2019 0:04
  FP-60a00-720     MEP-Fire,Protection              Fire Protection Plan-6th Floor                                             2/26/2019 0:04
  FP-700.00-720    MEP-Fire Protection              Fire Protection Plan-Penthouse Floor                                       2/26/ 2019 0:04
 FP-800.00-720     MEP-Fire Protection              Fire Protection Plan-Roof                                                  2/26/ 2019 0:04
 FP-901.00-720     MEP-Fire Protection              Fire Protection Riser Diagram & Details-1                                  2/26/2019 0:04
 FP-902.00-720     MEP-Fire Protection              Fire Protection Riser Diagram & Details-2                                  2/26/2019 0:04
 H-100            MEP-HVAC Updates 7/8/19           HVAC Notes, Symbols & Abbreviations                                          7/8/2019 0:03
 H-200            MEP-HVAC Updates 7/8/19           HVAC Ground Floor Plan                                                       7/8/2019 0:03
 H-201            MEP-HVAC Updates 7/8/19           HVAC 2nd Floor Plan                                                          7/8/2019 0:03
 H-202            MEP-HVAC Updates 7/8/19           HVAC 3rd Floor Plan                                                          7/8/2019 0:03
 H-203            MEP-HVAC Updates 7/8/19           HVAC 4th Floor Plan                                                          7/8/2019 0:03
 H-204            MEP-HVAC Updates 7/8/19           HVAC 5th Floor Plan                                                          7/8/2019 0:03
 H-205            MEP-HVAC Updates 7/8/19           HVAC Roof Plan                                                               7/8/2019 0:03
 H-300            MEP-HVAC Updates 7/8/19           HVAC Schedules                                                              7/8/2019 0:03
 H-400            MEP-HVAC Updates 7/8/19           HVAC Detail Sheet 1                                                         7/8/2019 0:03
 H-401            MEP-HVAC Updates 7/8/19           HVAC Detail Sheet 2                                                         7/8/2019 0:03
 ID-000           Interior Design                   Cover Sheet                                                                2/27/2019 0:00
 ID-001           Interior Design                   General Notes                                                              2/27/2019 0:00
 ID-100           interior Design                   731Clinton Lobby Finish Floor/Furniture/RCP/Lighting/Power Plan            2/27/2019 0:00
 ID-110           Interior Design                   731Clinton Typical Corridor Finish Floor/RCP/Lighting/Power Plan           2/27/2019 0:00
 ID-120           Interior Design                   720 Clinton Lobby Finish Floor Plan & Furniture Plan                       2/27/2019 0:00
 ID-121           Interior Design                   720 Clinton Lobby Reflected Ceiling & Power/Lighting Plan                  2/27/2019 0:00
 ID-130           Interior Design                   Typical Corridor Finish Floor Plan/RCP/Lighting/Power Plan                 2/27/2019 0:00
 1D-140           Interior Design                   Lounge & Kids Room Finish Floor Plan & Furniture Plan                      2/27/2019 0:00
 ID-141           Interior Design                   Lounge & Kids Room Reflected Ceiling & Power/Lighting Plan                 2/27/2019 0:00
 ID-150           Interior Design                   Gym Finish Floor Plan & Furniture Plan                                     2/27/2019 0:00
 ID-151           Interior Design                   Gym Reflected Ceiling & Power/Lighting Plan                                2/27/2019 0:00
 ID-160           Interior Design                   Rooftop/Pool Finish Floor Plan & Furniture Plan                            2/27/2019 0:00
 ID-161           Interior Design                   Rooftop/Pool Reflected Ceiling & Power/Lighting Plan                       2/27/2019 0:00
 ID-170           Interior Design                   Model Unit #310 Finish Floor Plan & Furniture Plan                         2/27/2019 0:00
 ID-171           Interior Design                   Model Unit#310 Reflected Ceiling Plan & Power/Lighting Plan                2/27/2019 0:00
 ID-400           Interior Design                   731 Clinton Lobby Elevations                                               2/27/2019 0:00
 ID-410           Interior Design                   731 Clinton Lobby Elevations                                               2/27/2019 0:00
 ID-420           Interior Design                   720 Clinton Lobby Elevations                                               2/27/2019 0:00
 ID-421           Interior Design                   720 Clinton Lobby Elevations                                               2/27/2019 0:00
 ID-422           Interior Design                   720 Clinton Lobby Elevations                                               2/27/2019 0:00




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   10-423          Interior Design                        720 Clinton Lobby Elevations                                             2/27/2019 0:00
   10-430          Interior Design •                      720 Clinton Lobby Elevations                                             2/27/2019 0:00
   ID-431          Interior Design                        720 Clinton Typical Corridor & Elevator Vestibule Elevs                  2/27/2019 0:00
   ID-440         Interior Design                         Lounge Elevations                                                        2/27/2019 0:00
   1D-441         Interior Design                         Lounge Elevations                                                        2/27/2019 0:00
   ID-442         Interior Design                         Lounge Elevations                                                        2/27/2019 0:00
   ID-443         Interior Design                         Lounge Elevations                                                        2/27/2019 0:00
   ID-450         Interior Design                         Gym/Yoga Elevations                                                      2/27/2019 0:00
   ID-451         Interior Design                         Gym/Yoga Elevations                                                      2/27/2019 0:00
   ID-452         interior Design                         Gym/Yoga Elevations                                                      2/27/2019 0:00
   ID-460         Interior Design                         Rooftop/Pool Elevations                                                  2/ 27/2019 0:00
   10-461         Interior Design                         Rooftop/Pool Elevations                                                  2/27/2019 0:00
  1D-470          Interior Design                         Bathroom Plans & Elevations                                              2/27/2019 0:00
  1D-471          Interior Design                         Kitchen Elevations                                                       2/27/2019 0:00
  ID-500          Interior Design                         Schedules-Appliances, Electrical & Lighting                              2/27/2019 0:00
  ID-501          Interior Design                        Schedules-Plumbing                                                        2/27/2019 0:00
  ID-502          Interior Design                        Schedules-Accessories, Cabinetry'Hardware, Door Hardware                  2/27/2019 0:00
  ID-503          interior Design                        Schedules-Finishes                                                        2/27/2019 0:00
  ID-700          Interior Design                         Amenities Detail, Door Schedules, Elevations & Details                   2/27/2019 0:00
  10-701         Interior Design                          Lobby Details                                                            2/27/2019 0:00
  ID-702         Interior Design                          Lounge Details                                                           2/27/2019 0:00      j
  ID-703         Interior Design                         Typical Details-Apartment                                                 2/27/2019 0:00
  1D-704         Interior Design                         Typical Details-Apartment                                                 2/27/2019 0:00
  ID-705         Interior Design                         Bathroom Details                                                          2/27/2019 0:00
  ID-706         Interior Design                         Kitchen Details                                                           2/27/2019 0:00
  P-001.00       MEP-Plumbing Updates                    Plumbing Specifications 1 of 4                                             7/8/2019 0:00
  P-002,00       MEP-Plumbing Updates                    Plumbing Specifications 2 of 4                                             7/8/2019 0:00
  P-003.00       MEP-Plumbing Updates                    Plumbing Specifications 3 of 4                                             7/8/2019 0:00
 P-004.00        MEP-Plumbing Updates                    Plumbing Specifications 4 of 4                                             7/8/2019 0:00
 P-005.00        MEP-Plumbing Updates                    Schedules Plumbing                                                         7/8/2019 0:00
 P-101.00        MEP-Plumbing Updates                    Plumbing 1st Floor Sanitary Plan                                           7/8/2019 0:00
 P-101.01        MEP-Plumbing Updates                    Plumbing 1st Floor Sanitary Plan                                           7/8/2019 0:00
 P-102.00        MEP-Plumbing Updates                    Plumbing 2nd Floor Sanitary Plan                                           7/8/2019 0:00
 P-103.00        MEP-Plumbing Updates                    Plumbing 3rd Floor Sanitary Plan                                           7/8/2019 0:00
 P-104.00        MEP-Plumbing Updates                    Plumbing 4th Floor Sanitary Plan                                           7/8/2019 0:00
 P-105.00        MEP-Plumbing Updates                    Plumbing 5th Floor Sanitary Plan                                           7/8/2019 0:00
 P-106.00        MEP-Plumbing Updates                    Plumbing Roof Sanitary Plan                                                7/8/2019 0:00
 P-200.00        MEP-Plumbing Updates                    Plumbing Details                                                           7/8/2019 0:00
 P-201.00        MEP-Plumbing Updates                    1st Floor Domestic Water and Gas Plan                                      7/8/2019 0:00
 P-202,00        MEP-Plumbing Updates                    1st Floor Domestic Water and Gas Plan                                      7/8/2019 0:00
 P-203.00        MEP-Plumbing Updates                    3rd Floor Domestic Water and Gas Plan                                      7/8/2019 0:00
 P-204.00        MEP-Plumbing Updates                    4th Floor Domestic Water and Gas Plan                                      7/8/2019 0:00
 P-205.00        MEP-Plumbing Updates                    5th Floor Domestic Water and Gas Plan                                      7/8/2019 0:00
 P-206,00        MEP-Plumbing Updates                    Roof Domestic Water and Gas Plan                                           7/8/2019 0:00
 P-300.00        MEP-Plumbing Updates                    Plumbing Sanitary Riser Diagram                                            7/8/2019 0:00
 P-301.00        MEP-Plumbing Updates                    Plumbing Water Riser Diagram                                               7/8/2019 0:00
 P-302.00        MEP-Plumbing Updates                    Gas Supply Riser Diagram                                                   7/8/2019 0:00
 P-303.00        MEP-Plumbing Updates                    Plumbing Storm Riser Diagram                                               7/8/2019 0:00
 S-101           Structural-4/29/19-100% CD.             Building D-Foundation, 1st & 2nd Fir Framing Plans                       4/29/2019 0:00
 5-102           Structural-4/29/19-100% CD              Building 0-3rd & 4th Floor Framing Plans                                 4/29/2019 0:00
 S-103           Structural-4/29/19-100% CD              Building D-5th, Roof & Bulkhead Framing Plans                            4/29/2019 0:00
 5-210           Structural-4/29/19-100% CD              Building D-Pile Cap Details                                              4/29/2019 0:00
 S-300           Structural-4/29/19-100% CD              Building 0-Columns & Beams Schedule                                      4/29/2019 0:00
 S-301           Structural-4/29/19-100% CD              Building 0-Shear Wail Details                                            4/29/2019 0:00
 S-350           Structural-4/29/19-100% CD              Punching Shear Reinforcement Details                                     4/29/2019 0:00
 S-700           Structural-4/29/19-100% CD              Building 0-General Notes & Design Criteria                               4/29/2019 0:00
 S-701           Structural-4/29/19-100% CD              Building D-Typical Details I                                             4/29/2019 0:00
 S-702           Structural-4/29/19-100% CD              Building D-Typical Details 11                                            4/29/2019 0:00
 S-703           Structural-4/29/19400% CD               Building D-Typical Details III                                           4/29/2019 0:00
 S02             Architectural-731Clinton (Building 0)   USG Drywall Suspension System Details                                    2/26/2019 0:00
 SP-001.00-729   MEP-Fire Protection                     Fire Protection Notes, Symbols & Details                                 2/26/2019 0:04
 SP-002.00-729   MEP-Fire Protection                     Fire Protection Specifications 1-2                                       2/26/2019 0:04
 SP-003.00-729   MEP-Fire Protection                     Fire Protection Specifications 2-2                                       2/26/2019 0:04
 SP-100.00       MEP-Fire Protection Updates 7/8/19      Fire Protection Notes '& Details                                          7/8/2019 0:01



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 SP-100,00-731   MEP-Fire Protection                  Fire Protection Notes & Details                  2/26/2019 0:04
 SP-101,00       MEP-Fire Protection Updates 7/8/19   1st Floor Fire Sprinkler Plan                     7/8/2019 0:01
 SP-101,00-729   MEP-Fire Protection                  1st Floor Fire Sprinkler Plan                    2/26/2019 0:04
 SP-101.00-731   MEP-Fire Protection                  1st Floor Fire Sprinkler Plan                    2/26/2019 0:04
 SP-10/00        MEP-Fire Protection Updates 7/8/19   2nd Floor Fire Sprinkler Plan                     7/8/2019 0:01
 SP-102.00-729   MEP-Fire Protection                  2nd Floor Fire Sprinkler Plan                    2/26/2019 0:04
 SP-102.00-731   MEP-Fire Protection                  2nd Floor Fire Sprinkler Plan                    2/26/2019 0:04
 SP-103.00       MEP-Fire Protection Updates 7/8/19   3rd Floor Fire Sprinkler Plan                     7/8/2019 0:01
 SP-103.00-729   MEP-Fire Protection                  3rd Floor Fire Sprinkler Plan                    2/26/2019 0:04
 SP-103.00-731   MEP-Fire Protection                  3rd Floor Fire Sprinkler Plan                    2/26/2019 0:04
 SP-104.00       MEP-Fire Protection Updates 7/8/19   4th Floor Fire Sprinkler Plan                     7/8/2019 0:01
 SP-104.00-729   MEP-Fire Protection                  4th Floor Fire Sprinkler Plan                    2/26/2019 0:04
 SP-104,00-731   MEP-Fire Protection                  4th Floor Fire Sprinkler Plan                    2/26/2019 0:04
 SP-105.00       MEP-Fire Protection Updates 7/8/19   5th Floor Fire Sprinkler Plan                     7/ 8/2019 0:01
 SP-105.00-729   MEP-Fire Protection                  5th Floor Fire Sprinkler Plan                    2/ 26/2019 0:04
 SP-105.00-731   MEP-Fire Protection                  5th Floor Fire Sprinkler Plan                    2/26/2019 0:04
 SP-106,00       MEP-Fire Protection Updates 7/8/19   Roof Fire Sprinkler Plan                          7/8/2019 0:01
 SP-106.00-731   MEP-Fire Protection                  Roof Fire Sprinkler Plan                         2/26/2019 0:04




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ID           "Task Name                                  Duration                'Start            Finish                        1st Quarter          3rd Quarter                  11st Quarter                  I 3rd Quarter                   list Quarter                 3rd Quarter         1st uarter        I
         _                                                          !                                               I Nov         Jan    Mal May        _Ii.               1     , 117n     Mar                yl_ ,it                                i   Mar        May        Jul L.SEp I Nov    Jan   Mar "- May
     1       Design / Budget /Permits                    477.5 days ;Tue 1/2/18                     Thu 10/31/19          4F
     2         Arch, Struct and MEP Drawings -ABC Bldg   301 days :Tue 1/2/18                      ;Tue 2/26/19        1/2•:'      ' =---aiiikaNaawQQ-ziii                     itiagair.4=24,         26                  .•
     7 Shoring Permit                                 3 wks                      1Mon 4/30/18 !Fri 5/18/18                             4/30 ei 5/18                                                                      ,•
     3----
       Footing and Foundation Drawings - ABC Bldg   :,111.5 wks                  ;Tue 5/22/18 ;Thu 3/7/19                                                                           •
     4 Building D & E Design Drawings               ;40 wks                       Mon 6/18/18 1Fri 3/22/19                                   6/ 18 I' =' SK                                 Y„
  5    Set GMP                                      1115 days                    ;Mon 3/25/19 :Fri 8/30/19                                                                                 3/25                         t      8/30
—8__-: Footing and Foundation Permit                14 wks                        Thu 4/4/19 lThu 5/2/19                                                                                     4/4           5/2
     9 Building ABC Full Permits                    118 wks                       Thu 5/2/19       iThu
                                                                                                    9/5/19                                                                                      5/2        •,---= —      • • 9/5
  6    Building D & E Full Permits                  18 wks                        Thu 9/5/19 iThu 10/31/19                                                                                                            9/.8 ,i,o,c7,Fi;, 10/31                                                            £
                                                                                                                                                                                                                          ..
 10 Building ABC                                    :681 days                     Mon 5/21/18 !Mon 12/28/20                                   wawa
                                                                                                                             f
 11- j Scaffolding installation                       6 wks                       Mon 5/21/18 Fri 6/29/18                    i           5/21         6/29
 12    Demolition B-Bldg shafts & slab                3 wks                       Wed 6/13/18 Tue 7/3/18                                   6/13 •     7/3
 19    Shoring A-Bldg at corners                      6 wks                       Wed 6/20/18 Tue 7/31/18                                   6/2       ---- 7/31
     _
 3.8   Environmental Remediation                      18 mons                    !Wed 6/27/18 Tue 11/12/19                                                                                                                          • -       11/12
 13    Demo A Building elevator shafts, water tower 35.5 wks                     1Wed 7/4/18 Fri 3/8/19                                           4                             i i,              3
 17    Load testing B & C buildings                 :6 wks                       !Wed 8/15/18 :Tue 9/25/18                                                 ak:k
 14    Demolition A-Bldg 5th floor                  .3 wks                       !Wed 10/10/1E:Mon 3/18/19                                                10/1 Q,..., . ..„ . ,.„ , '
 22    Parapet demolition                           :9 wks                       1Fri 10/26/18 1Thu 12/27/18                                                10/26 Qw.i, -a 1 127
 23    Load test piles A building                   19 wks                        Wed 12/5/18 1Tue 2/5/19                                                        12/5          •
 20_1 Building C Shoring Foundations                115 wks                       Mon 1/21/19 Fri 5/3/19                                                                1/2      ., -V. • •                 /3
 16    Additional demo for shear walls              17 wks                       !Mon 3/18/19 1Mon 5/6/19                    1                                                3/18                         5/6
 25    Driving Piles                                118 wks                       Wed 5/15/19 ;Tue 9/17/19                                                                              5                                ' , 9/17
 27    Foundations and Pile Caps                     16 wks                      :Mon 6/24/19 1Fri 10/11/19                                                                                                      -- -----      ,Th,:ii 1 /11
 21    Shoring C-Bldg                               :11wks                        Mon 7/8/19 ;Fri 9/20/19                                                                                                    7            --, , 9/2
 29    Structural Concrete / Flat Plate             i6 mons                       Mon 7/15/19 :Fri 12/27/19                                                                                                                 -                12/27
i31    Structural Steel                              10 wks                      :Mon 7/29/19 Fri 10/4/19                                                                                                     7/                      10 4
 26    Misc Concrete Repair                          3 mons                       Wed 8/21/19 Tue 11/12/19                                                                                                         124- -" °ss" , 11/12
 24    Façade Repair                                 40 wks                      !Mon 9/ 2/19 Fri 6/5/20                                                                                                             QM                       _ F                        '' 6/5
 32    Windows (measure, order, install)             6 mons                      !Mon 9/9/19 Fri 2/21/20                                                                                                                ,                             army: 2/21
 15    Demolition A-Bldg 4th floor                   3 wks                       :Mon 9/9/19 Mon 9/30/19                                                                                                              9/0 iii:0 9/ 3
 35    Exterior Framing                              4 mons                       Mon 9/23/19 ;Fri 1/10/20
 31    Masonry / Metal panel                         7 mons                      !Mon 9/30/19 1Fri 4/10/20                                                                                                                                      =calm            ! 4/10
 34    Interior Framing                             16 mons                      ;Tue 10/15/19 ;Man 3/30/20                                                                                                                                                    i 3/30
 28    Roofing                                      18 wks                       IMon 10/21/151Fri 12/13/19                                                                                                                               '    - 12/13
 36    MEP Roughing                                 18 mons                       Tue 11/12/19 !Mon 6/22/20                                                                                                             I       i                  ,                         6/22

                                      Task                                                Project Summary          T'"'"''''"""'w       Inactive Milestone          •,:,                          Manual Summary Rollup ......                                Deadline                 4-
Project: Wonder Lofts Project         Split                   , , , , , , , ,,    ,. ,    External Tasks           VERMA9i027=4
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Date: Aug 23, 2019                    Milestone          4-                               External Milestone                            Manual Task                                                                                  C
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                                                                                                              Nov Jan 1 Mar I May I Jul 1 Sep [ Nov Jan I Mar                      May       Jul          Sep [ Nov Jan riviaT1 May                             Jul          Se.          Nov        Jan J Mar   May
  33   Sales Center                                        10 wks      Fri 12/13/19           ;Thu 2/20/20.      1
                                                                                                                 $---                                                                                           12113 ff, ai \;gi  ,    2/20
  37   Gyp Board                                          :6 mons      Tue 1/21/20            !Mon 7/6/20                                                                                                                1/21 ': •;,Nx=:!,
                                                                                                                                                                                                                                        .,     ;g.;sgtel 7/6
  38   Finish Work                                        141 wks      Tue 3/17/20            1Mon 12/28/20                                                                                                                        q/17w ,,, , x,,,z,x,,,,,,,,,, ,,,,,, ,,,:;;;:z.,;:x„:;;;,;;:.,.4 12/28
  39 Building E                                           ;541 days? Thu 8/15/19              1Thu 12/3/20                                                                                           ,,,...,.....;,,,,,                                                ...........v
  40 I Site Plan approval                                 11 day?      Thu 8/15/19             Thu 8/15/19                                                                                8/15 118/16
  41 I Piles / Foundations                                14 wks       Fri 8/16/19            1Thu 9/12/19                                                                                8116 a.f. ; ?/1.2
_ 42_1 Structure (steel and concrete)                     14 mons      Fri 9/13/19            !Thu 1/2/20                                                                                     9/13 v,i.gliwis::w.,,, 1/2
  43   Roofing                                            !2 wks       Fri 1/3/20             Thu 1/16/20                                                                                                               1/3 p:, i1 1/16
  44   Masonry                                            2 mons       Fri 1/3/20             Thu 2/27/20                                                                                         z                     1/3 mVOzg 2/27
  45   Windows                                            :1mon       :Fri 2/28/20             Thu 3/26/20                                                                                       i                              2/28 . - 3/26
  46 , Interior Framing                                    5 wks      :Fri 3/13/20 Thu 4/16/20                                                                                                    i•                               3/1        4/16
  47   MEP Roughing                                                                                                                                                                              fi
                                                           2 mons     ;Fri 3/27/20 Thu 5/21/20                                                                                                                                       3/    '1020 5/21
  48   Gyp Board                                           2.5 mons iFri 5/22/20 Thu 7/30/20                                                                                                                                                         --,..-71 7/30
                                              . .......
  49   Finish Work                                        i5 mons     1Fri 7/17/20 Thu 12/3/20                                                                                                                                                               fisiii             iiit4d! 12/3
  50 Building D                                            397.5 daysZTLie 9/10/19 iThu 3/18/21
  51   Site plan approval                                  1 day?     ;Tue 9/10/19 !Tue 9/10/19                                                                                           L9/1? ?/3.0
  52   Demolition of existing structure                   14 wks       Wed 9/11/19 ;Tue 10/8/19                                                                                               Ws
  53   Piles / Foundations                                16 wks      iThu 10/31/19 :Thu 12/12/19                      1                                                                       10/31                ..,2 12/12
  54   Structure (steel and concrete)                      4 Mons      Thu 11/28/19 ;Thu 3/19/20                                                                                                          31            Wiaaiaig 3/19
  55   Roofing                                            13 wks       Thu 3/19/20 !Thu 4/9/20                         I                                                                                                        3/19 t 4/9
  56   Masonry                                            3 mons       Thu 3/19/20 Thu 6/11/20                                                                                                                                  3/19 — —g-, , 6/11
  57   Windows                                               mons      Thu 6/11/20 Thu 8/6/20                          j                                                                          I                                     6/11 - -- —1 8/6
 _58   Interior Framing                                   3 mons      :Thu 6/11/20 Thu 9/3/20                                                                                                     1                                     6/11             9/3
  59 I MEP Roughing                                        4 mons     Thu 8/6/20 Thu     11/26/20
                                                                                     .. ..... . ....... .                                                                                         1                                                                                   11/26
  60—I Gyp Board                                           3 mons     Thu 10/1/20 Thu 12/24/20                                                                                                                                                                        il aiatumokz 12/24
                                                                                                                                                                                                  i
  61   Finish Work                                         5 mons     1Thu 10/29/20 :Thu 3/18/21                                                                                                  1                                                                   lo as*                              348




                                Task                                                 Project Summary              ,- ',........., g Inactive Milestone                       Manual Summary Rollup ..... -                              Deadline                          .1

Project: Wonder Lofts Project   Split                      ,,,,,,,,,,,,,,      ,     External Tasks         LVII-ssZk.MM--,125,
                                                                                                                             —.
                                                                                                                             ,,,70.   Inactive Summary   Ki;,-- ---.:—.,,;   Manual Summary                 V                           Progress
Date: Aug 23, 2019              Milestone                 +                          External Milestone     4,                        Manual Task                            Start-only                    lc
                                Summary                   vi.     ........           Inactive Task          i                    I Duration-only                                                            3

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             ATTACH        T
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                                           Attachment C-1

                                   INVOICING REQUIREMENTS


   WITH THE CONTRACTOR:                   Wonder Lofts Owner, LLC
                                          do Prism Construction Management,LILC
                                          200 Broadacres Drive, 1st Floor
                                          Bloomfield, NJ 07003
   PROJECT:



   The consultant or trade vendor signing below is hereby notified of the following:

              In order to be paid as per the terms of the trade contract agreement, invoices for work
              completed up to the 30th of the month must be received in the office of Prism
              Construction Management, LLC by the 20th day of the month. This early cut-off
              date allows us enough time to approve the invoice, requisition for payment, and
              then process your invoice for payment.        Aside from mailing the original invoice,
              email        a        copy        to      dennis.thompson( -.prismpartners.rtet     and
              nanc .m€urray p ismpartners net no later than the 20th of the month.

              INVOICES MUST BE SUBMITTED ON THE ATTACHED APPLICATION FOR
              PAYMENT FORMS. PLEASE BE ADVISED THAT THE APPLICATION FOR PAYMENT
              WILL NOT BE CONSIDERED COMPLETE UNLESS ALL 3 sets (C2,C3,C4) of
              attachments (Requisition, Vendor List, Partial Lien Waivers (both standard &
              lender versions, and Final Affidavit when applicable ARE FILLED OUT IN
              TOTAL INCLUDING "ATTACHMENT C-4" WHICH IS A LISTING OF YOUR
              SUBCONTRACTORS,         MATERIAL    AND     EQUIPMENT      SUPPLIERS,    AND
              CONSULTANTS ON THE PROJECT. IN ADDITION, Requisition, and all Lien Waivers
              must be witnessed and signed by a NOTARY.

              INVOICES RECEIVED AFTER THE 20TH DAY OF THE MONTH WILL NOT BE
              PROCESSED FOR PAYMENT UNTIL THE FOLLOWING MONTH.

              In addition, any change requests must be submitted in writing to Prism Construction,
              Management LLC prior to the 10th of the month. Changes will not be processed
              for payment unless they are fully executed with all appropriate signatures.

   THE ABOVE IS AGREED TO BY:
                                                  CONSULTANT


   PRINT NAME                                     TITLE


   SIGNATURE                                      DATE


                           Please sign and return this form immediately.

   NJConsultants)rnicgrq
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                                                                                                     ATTACHMENT C-2
                                                                                        APPLICATION AND CERTIFICATE FOR PAYMENT

TO:          Prism Construction Management, LLC                     From:      Trade Contractor                                                                          Requisition/Invoice Number :
             200 Broadacres Drive, Suite 180                                   Address:                                                                                            Commitment/P.O.:
             Bloomfield, NJ 07003                                                                                                                                                     Requisition Date:
             Phone: ((973) 562-9580 Fax: (973) 562-9586
                                                                               Phone;                                                                                                         Period To:



             Project Name:     Wonder Lofts




                            CONDITIONAL WAIVER AND RELEASE UPON PROGRESS PAYMENT                                           Contract Amount:

The undersigned represents that neither it or any of its Trade Contractor or materiaimen have filed a Construction Lien,   Amount of Approve Change Orders to Date
Notice of unpaid Balance or Right to File Lien regarding the Project or have taken any action to file or prefect to the
Project for which any labor or materials or both has been furnished.                                                       Adjusted Contract Amount

In consideration of this payment and all previous payments, the undersigned hereby expressly waives, releases and          Work Completed to Date
discharges any and all construction liens and the right to file a notice of Unpaid Balance and/or Right to File Lien
pertaining to the Project for which the aforesaid labor or material or both has been furnished by the undersigned to or    Less Retention(10%)
for the account of Prism Construction Managment,
                                                                                                                           Amount Earned to Date
I have attached hereto as "Attachment C-3" an affidavit listing the names and addresses of all persons or entities
providing services, labor, materials or equipment who may have a right to file a Construction Lien.                        Previous Amounts Requested

                                                                                                                           Net Amount of this Requisition 1retainage credit realease
       By:                                        Title:
             (Signature of Trade Contractor)
                                                                                                                                                                      ittiliOiti04110ha.

Company:            0                            Date:                                                                            Job Number:                              Extra:                                       Initials    Date
State of                                                                                                                                                                                                   Proj. Mgr.
                    ) ss.                                                                                                    Commitment/P.O.:                                CC:                           CA
County of                                                                                                                                                                                                  Acct.
                                                                                                                                 Project Name:                                                             Enter By

BE IT REMEMBERED, that on this                day of              , 20        in the County and State aforesaid,             Current Requisition       Retention     1      Net Requisition            Account                Sub/Act.
personally appeared before me, the subsciber,a Notary Public of the State of
(Name of person signing release) who I am satisfied is the Party Mentioned in the within instrument, to whom I
first made known the contents thereof, and thereupon (he/she) signed, sealed and delivered the same as (his/her)
voluntary act and deed for the uses and purposes therein expressed.



                                       (Notary Public)




                                    NO REQUISITION WILL BE PROCESSED WITHOUT COPIES OF ALL EXECUTED CHANGE ORDERS ATTACHED. IMPROPERLY EXECUTED CERTIFICATIONS WILL BE RETURNED WITHOUT REVIEW,
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             FINAL AFFIDAVIT AND UNCONDITIONAL WAIVER AND RELEASE

PROJECT NAME:

The undersigned, being duly sworn, deposes, certifies and says that:

(I) He(She) is an officer of, and is duly authorized to make this affidavit, waiver and release on behalf of
                                         ("Contractor/ Material Supplier/Consultant").

(ii) Contractor/Material Supplier/Consultant upon payment of the balance currently due through the date of this
     instrument for all labor, services, equipment and materials (sometimes referred to as the "work") furnished
     on the job owned by Wonder Lofts Owner, L.L.C. a Delaware limited liability company c/a Prism
     Construction Management, LLC. located at 200 Broadacres Drive, 1g Floor in the township of
     Bloomfield state of NJ completed for Wonder Lofts (the "Project") states the following:

    a)    Contractor/Consultant has paid in full or otherwise satisfied all of its obligations for labor, materials,
          equipment and services and all other indebtedness associated with the performance of
          Contractor/Material Supplier/Consultant work on the Project, including without limitation payment in
          full to, or other satisfaction of, all persons and entities which have furnished labor, services,
          equipment or materials to Contractor.
    b)    Contractor/Consultant agrees that in consideration of the current payment due in the sum of
                                   doIlars, paid simultaneously herewith, the receipt whereof is hereby
          acknowledged by the undersigned, he will be paid in full and Contractor/Consultant forever waives,
          releases and relinquishes any and all claims and rights to a construction lien, whether previously filed
          or not, bond right, equitable claim or right to any fund, any right to a labor and material bond or other
          bond on the project and all other rights and claims that Contractor/Consultant has on the Project.
          This waiver is expressly contingent and conditioned upon the check in payment of such sum being
          paid upon presentment.
    c)    Contractor/Consultant guarantees to Owner that the work furnished by Contractor/Consultant
          (including work furnished by the Subcontractors) on the Project is and shall be lien free; that the
          Subcontractors have no right to any lien, whether previously filed or not, bond right, equitable claim
          or right to any fund, and right to a labor and material bond or other bond on the Project or other rights
          and claims with respect to the Project and Contractor agrees to indemnify Owner against any claim
          or lien asserted through or under Contractor with respect to the Project, including without limitations
          any claim or lien asserted by any person who has furnished labor, materials, equipment or services
          to Contractor.
          Original Contract Sum
          Net Change By Change Orders
          Contract Sum to Date
          Total Work Completed & Stored To Date
          Retainage Withheld To Date
          Total Amount Billed To Date
          Total Amount Paid To Date
          Payment Currently Due
          Balance After Current Payment

Firm Name                                                         By:

Date:                                                                     Title:

Subscribed and sworn to before me this

          day of                                                 20
Notary Public:
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                               ATTACHMENT C_3 Partial Lien Waiver (Standard)
Conditional Lien Waiver for Current Payment Application / Unconditional Lien Waiver for Payments Received

From:        nac                a

To:     The Owner and Lenders named below

        Period Ending (Date):

Project:         Wonder Lofts, 720 Clinton St, Hoboken, NJ
Owner:           Wonder Lofts Owner L.L.C., a Delaware limited liability company
Lenders:

Contractor Name:
Contract Work:
Contract Date:


Original Contract Amount (A)
Approved Change Orders to Date (B)
Total Revised Contract Amount (C = A +B)
Unconditional Waiver for Previous Payments Received (D)
Retention associated with Previous Payments Received (E)
Conditional Waiver for Current Payment Application (F)
Retention associated with Current Payment Application (G)
Unpaid Balance including Retention after Current Payment (C — D — F)

The undersigned contractor, subcontractor or supplier herby acknowledges receipt in cash, equivalents or other agreement
of aggregate payments equal to the amount stated in D above, and further states that it has currently completed but has not
been paid for work equal to the amount stated in F above. Upon receipt of the amount stated in F above, the above
amounts will represent payment in full (less the retention stated in E and G above), for all amounts due for the contract
work under our contract with the general contractor and/or owner identified above as increased/decreased by the change
order amounts also specified above, as of the date of this lien waiver.

The undersigned hereby certifies that the amounts set forth above are true and correct and acknowledges that there are no
additional costs or claims for any extras or additions for labor and material on the above described Project other than those
included in the Contract Amount and any Change Order Amounts set forth above.

Upon receipt of the amount stated in F above, the undersigned hereby specifically waives, quitclaims and releases any
lien, right to lien or claim of any kind it may have against the Owner, the Contractor, the Owner's Lenders, the Owner's
managers and agents, or any other person or entity with a legal or equitable interest in the Property, relative to the work or
improvements at the Property with respect to the sums set forth in. D and F above.

Duty authorized, executed and delivered by the undersigned this         of

WITNESSED AND NOTARIZED BY
              (1)                                            By:
                                                                     Contractor, Subcontractor or Supplier
              (2)                                            By:
                                                                     Chief Financial Officer

Note: Fill out form completely or it will not be accepted
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                                APPLICATION AND CERTIFICATE FOR PAYMENT

                                                ATTACHMENT C-4


    TO:                                                                 FROM:
         Prism Construction Management, LLC                             Trade Contractor:
         200 Broadacres Drive, Suite 180                                Address:
         Bloomfield, NJ 07003
         Phone: (973) 562-9580 Fax: (973) 562-9586




Owner's Name:                     Wonder Loft Owner, LLC
Commitment/PO Number:
Trade Contractor Payment Requisition No.                               'Period Ending:

List all subcontractors and material or equipment suppliers you have used on the above referenced job.
Include status of payments.


This form must be filled out to receive payment.

                                                                                     Vendor       Amount    Amount
                                                                         Vendor      Contract    Invoiced   Paid to
             Vendor Name                    Vendor Address               Phone #     Amount       to Date    Date




   Attachment C 4 Vendor List                                                                               3/6/2019
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                                     ATTACHMENT C_3 Partial Lien Waiver (LENDER)




                  CONTRACTOR'S PARTIAL WAIVER OF LIEN AND RELEASE

 Contractor:
 Owner: WONDER LOFTS OWNER, LLC
 Premises/Project: WONDER LOFTS
 Contract Date:
 Original Contract Amount: $
 Change Order Amounts: $
 Adjusted Contract Amount: $
 Total Payments Received to Date: $
 Requisition No:
 Date of this Requisition:
 Amount of this Requisition: $

 STATE OF
                                   ) ss.:
 COUNTY OF                         )

         The Contractor, for and in consideration of the payments made to it by Owner, for labor employed in
 and materials furnished for the construction of the above-referenced Project, the receipt and sufficiency of which
 is hereby acknowledged, hereby certifies as follows:

          1..     The Contractor acknowledges receipt of payment from Owner equal to the Total Pay€ments
 Received to Date set forth above, and certifies that, through the date of the above-referenced Requisition,
 and conditional upon receipt of VOCYnX the amount of said Requisition, (a) the aggregate of said amounts
 represents payment in. full, less Contract retainage and claims previously asserted in writing and attached
 hereto; for all amounts due for labor and materials provided by the Contractor and all of its personnel,
 subcontractors and material and equipment suppliers in connection with the improvement of the Premises; and
 (b) the amounts set forth above are true and correct.

                  The Contractor, for itself, its successors and assigns and anyone else acting or claiming by or
through it, hereby releases and waives entirely: (a) any mechanic's lien or other lien, stop notice, or any right
against any labor or material payment bond, or claim to any mechanic's lien or other lien which the Contractor
may now have for all labor, materials, equipment, services and supplies furnished for use in or performed
upon the above-described Premises; (b) any and all claims, except claims regarding Contract retainage and
claims previously asset 1 ed in writing and in accordance with the Contract (copies of such claims, if any,
are annexed. hereto), against Owner, the entities listed on the attached Exhibit I and/or their respective related.,
affiliated and parent persons and entities including, without limitation, the agents, attorneys, employees,
heirs, executors, administrators, members, managers, officers, stockholders, partners (both general and limited),
sureties, successors, and assigns of the foregoing (collectively referred to as "Released Pmlies") on account
of any action or cause of action which now exists relative to the Project, Premises, contracts, labor, materials,
equipment, services and supplies referenced above; and (c) all actions or causes of action, suits, debts, dues,
sums of money, accounts, reckonings, bonds, bills, specialties, covenants, promises, variances, trespasses,
damages, judgments, extents, executions, claims and demands whatsoever, in law or in equity, which Contractor
may now have against the Released Parties and any entity providinR or administering any construction loan to
Owner upon or by reason of any matter, cause, or thing, whatsoever from the beginning of the world to th.e date
of the above-referenced Requisition.

         3.       The Contractor further warrants that: (a) all workmen employed by it or its subcontractors
upon this Project and all materialmen from whom the Contractor or its subcontractors have purchased materials
used in the Project have been fully paid through the date of the above-referenced Requisition; and
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                                      ATTACHMENT C ,3 Partial Lien Waiver (LENDER)




     (b) none of such workmen and materialmen has any claim or demand or right of lien. against the land and
     improvements described above.

              4.                               1 is a duly authorized agent of the Contractor, which has authorized
     him/her to make this affidavit and agrees the Released Pa€ties and. any surety and title insurer may rely upon this
     instrument. With respect to the foregoing representations and warranties, the Contractor does hereby agree
     to indemnify and hold ha€mless the Released Part€es and any others against whom a claim is asse 1 ted by virtue
     of involvement or relationship with them, from any and all claims, damages, losses; expenses, and the like
     incurred by reason of any claim that the Contractor has not fully paid for all labor, materials and expenses
     incurred in connection with its work on the Project, including reasonable attorneys' fees, court or arbitration
     costs, and expert witness and consultant fees expended in connection with the defense of any such claim.

               5.       The Contractor agrees to pay and/or cause to be discharged within fifteen (15) days f€om
    the date of filing of any and all mechanic's liens and other liens filed by others against the Project when
    such liens are claimed to have been filed as a result of the Contractor's failure to make payments for or in
    connection with any labor, materials, appliances, machinery, equipment, fixtures, or furnishings placed
    upon or installed in the Project. After such discharge by bonding, the Contractor shall take all steps necessary
    to effect cancellation, release or satisfaction of the lien. If Contractor fails to comply with the first two
    sentences of this Paragraph, then any or all of the Released Parties may, at their option: (a) directly settle with
    lienor and effect a satisfaction of lieu, (b) post a bond and discharge such lien, (c) defend. any action related
    to the' lien, and/or (d) pay and satisfy any judgment or award in connection with such lien, and the Contractor
    shall be responsible for and pay all of such Released Parties' direct and indirect costs, including without
    limitation attorneys' fees within thir€y (30) days from demand therefor.

              6.      This Partial Waiver of Lien and Release does not include any pending claims against the Released
    Parties asserted by Contractor as a result of third-party claims for death or personal injury or property damage
    arising from or related to Contractor's work.

              I.       The Contractor has not and will not assign any claim against the Released Parties, nor any lien
     or right to perfect a lien against the Project.

            8.     Any signature delivered via facsimile or other electronic means, e.g., Adobe Portable
     Document Pomlat (PDF) sent by electronic mail, shall be deemed an original signature hereto.

1141 WI NESS WHPREOF, this Partial Waiver of Lien and Release has been executed this                day of           20




     Subscribed and sworn. to me this                                By:

             day of                2019.
                                                                     Print Name:


                                                                     Title:
   Notary Public:




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                         Controlled Insurance Program (OCIP)
                                     Wonder Lofts Owner, LLC
                                        720 Clinton Street
                                       Hoboken, NJ 07030




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                                          This Manual is a Contract Document
This Manual Dated: 08/27/2018




Sponsor Name OCIP Insurance Manual Version 08/27/2018            © 2011 Turner Surety and Insurance Brokerage. All rights reserved.
Wonder Lofts Owner, LLC, 720 Clinton Street, Hoboken, NJ 07030
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                             PRISM CONTROLLED INSURANCE PROGRAM


                                    Insur                        ce   a   al




                                          Wonder Lofts Owner, T C
                                             720 CLINTON STREET
                                                 Hoboken, NJ 07030




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                            NOTE:
                            TSIB Enrollment Application and TSIB On-Site Payroll Report are to be completed on-
                            line. Refer to Section S to obtain a User ID and Password. If you have difficulties, contact
                            the Turner Surety and Insurance Brokerage Wrap-Up Service Center.

                            See Section 2 (OCIP PrOject Directory) for the TSIB QAS on this Project.
                            Phone:       (866) 6§4-\7 4P (9727)
                            Email:       Wrapup




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      FREQUENTLY            ASKED       QUESTIONS




                     actor FAQs
       What is a "OCIP"?
       OCIP stands for "Owner Controlled Insurance Program." Once you are enrolled, this program provides your company
       with onsite General Liability and Excess/Umbrella coverage.

       Why do I have to enroll?
       Sponsot has requested your enrollment in the program. All Contractors of all tiers must enroll unless specifically
       excluded from the program by Sponsor. See this OCIP Manual (Section 3) for exclusions, or refer to your Bid
       Documents for additional information.

       Is there a charge for it? I already have insurance!
       Sponsor pays the premium of the insurance(s) provided under the OCIP. You're not "double-covered" — the OCIP is
       onsite General Liability and Excess/Umbrella coverage only, and just for the OCIP job(s) you're enrolled on. You
       should receive credit from your insurance carrier for your OCIP participation; TSIB will provide you with a Certificate
       of Insurance and copies of any payroll reports, if needed. Keep OCIP project payroll (/ym- General Liability ispayroll
       rated) or Construction Volume/Revenue separated from your corporate work for your insurance auditor, and keep a
       copy of your OCIP COI as evidence of enrollment.

       What do I do if I am hiring subcontractors to work for me?
       If you are required to enroll, your lower tier subcontractors must also enroll prior to beginning work on site. Please
       provide TSIB with their contact information, and make sure they receive a copy of the OCIP Manual. The Manual
       contains all of the information and forms.

       Can I enroll online? How do I get a USER ID and Password?
       TSIB has a Contractor Portal that can be used for a variety of tasks — from enrollment, to payroll reporting, to
       monitoring your delinquencies or those of your lower tiers. Please contact your QAS at the Wrap-Up Service Center to
       obtain a USER ID and Password. You can access our portal at https://wraoup.vuewrapup.comicontractorportal.

       I've been awarded a second contract for the same project. Do I need to complete another enrollment form?
       Yes, you need to do a separate enrollment form for each contract you're awarded on a project. Also, on-site payroll
       must be reported separately for each enrollment #2your GeneralLiability ispayroll rated.

       Insurance Cost Worksheet but keep getting a Delinquency Notice. Why?
       You probably missed sending in your insurance policy Rate Pages. .

       What exactly are Rate Pages?
       Rate pages are the policy pages from your General Liability and Excess/Umbrella policies that show your rate(s), credits
       and debits the insurance company used to determine the premium for your policies. They need to be from the policy
       period in which your contract was issued. Also, if your Excess/Umbrella policy is "flat rated", please send the page
       from your policy that states that, along with the exposure base noted on it. Your broker `can often assist you with
       providing these pages.

       How do I report payroll? Do you need certified reports?
       TSIB does not collect certified payroll. 0,4 ifyour GeneralLiabati peyroll rated, you are required to report payroll using
       the on-line, via the Contractor Portal. Please report only your onsite hours and unburdened payroll. Reports are due by
       the 10th of each following month. If you have more than one enrollment on a project, payroll must be separated and
       reported for each enrollment.




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      FREQUENTLY            ASKED       QUESTIONS




       How can I avoid getting a payroll delinquency notice?
       Please be sure to cover all dates in the month from the date your OCIP coverage began — even if it's a weekend or
       holiday, and no work is performed. Make sure your dates run consecutive from report to report. If one report ends on
       12/31/2014, your next report needs to begin on 1/1/2015. Also, if you are not on site in any month, you must submit a
       "ZERO" report for that month (zero dollars in payroll and zero manhours).

       What's the difference between "Gross" and "Reportable" payroll?
       Reportable payroll does not include the premium portion of any overtime pay. Gross payroll includes the overtime pay.
       Please note; If you are reporting payroll in a monopolistic state or Pennsylvania, Delaware, Nevada or Utah, they
       require the entire unburdened overtime payroll to be reported as Reportable payroll. If you are unsure whether to
       include the unburdened overtime portion as Reportable payroll, please consult with the Workers' Compensation Bureau
       in the state where the project is located.

       How do I get a sample Certificate of Insurance?
       You can obtain a sample COI in the OCIP Manual for your project, on the Contractor Portal, or you can call the Wrap
       Up Service Center for assistance.

         keep getting a delinquency for "Missing Physical Copy of Endorsement". What does this mean?
       Excluded Subcontractors are required to provide an Additional Insured Endorsement (CG 20 10 11 85 endorsement,
       or its equivalent). This needs- to be attached to your Certificate of Insurance, and needs to cover both "ongoing" and
       "completed" operations.

       My work on the -project is complete. What do I do now?
       Please complete Notice of Work Completion on line. The work completion must be approved by Sponsor in order to
       be accepted for processing (or by your parent tier, if you are a lower tier subcontractor). Once processed, your OCIP
       contract will be closed, and you won't need to send us anything further.

       I received a notice from TSIB that my OCIP policies are terminating. What does that mean?
       We're letting you know that the OCIP portion of the project is ending. If you have any further work to do at the jobsite,
       you will simply need to provide your own certificate of insurance. The Wrap Up Service Center can provide you with a
       sample Certificate of Insurance that will meet the program requirements.

       Still have questions?
       Please call your QAS directly, or the Wrap Up Service Center at 1.866.684.9727




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    OVERVIEW




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            e ew
    Welcome to Sponsor's Controlled Insurance Program (OCIP).

    You should notify your insurance agent(s) or broker(s) to endorse your coverage to be excess and contingent over the OCIP
    coverage provided under this Program for on-site activities and the related costs.
    Each bidder is required to bid with the cost of their on-site General Liability primary and Excess/Umbrella insurance
    included in their Price. Sponsor may modify this bidding and insurance cost identification as necessary based on the
    specific project requirements. Bidder's completed and verified along with its current Insurance Rate Sheets (see
    Section 6 "Identifying Contractor Insurance Costs") will be the basis for establishing what your corporate insurance
    costs are. Once verified, the Verified Insurance Cost amount will be deducted via Change Order,


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    About This Manual
    Wonder Lofts Owner, LLC ("Sponsor' is Sponsor for this OCIP. Turner Surety and Insurance Brokerage, Inc. ("TSIB") is the
    OCIP Administrator for this OCIP. The Manual is designed to identify, define and assign responsibilities for the administration
    of the OCIP for this project It also outlines the coverages provided by the OCIP, procedures for bidding, OCIP Enrollment
    process, and insurance coverage required of any contractor (both enrolled and excluded) outside of the OCIP.
    This Manual:
    2     Generally describes the structure of the OCIP
    ▪     Identifies responsibilities of the various parties involved in the Project
    ®     Provides a basic description of OCIP coverage (the specifics of the OCIP coverage are governed exclusively by the terms of
          the OCIP insurance policies)
    ▪     Sets forth insurance requirements for contractors associated with the project
    ▪     Sets forth Enrollment requirements
    ▪     Describes audit and administrative procedures
    ▪     Provides answers to basic questions about the OCIP
    This Manual does not
    ■     Provide coverage interpretations
    •     Provide complete information about coverages and exclusions
    ▪     Provide answers to specific claims questions


    Section 2.




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    OCIP     PROJECT         DIRECTORY




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                       OCIP A.4ninistrati n
                              CONTRACTOR CONTACT -
                              Turner Surety and Insurance Brokerage Wrap-up Service
                              35 Nutmeg Drive, Suite 300    Telephone: (866) 684-WRAP
                              Trumbull, CT 06611                       (866) 684-9727

                              Service Center
                              Quality Assurance Specialist           Email: ehobsonQtsibinc.corn.
                              Eva Hobson                             Direct Phone: (203) 6664316

                              SPONSOR STAFF CONTACT -
                              Turner Surety and Insurance Brokerage
                              Regional Program Manager-     Telephone: (201) 574-3885
                              Denise Bianchi                E-mail: dbianchiatsibinc.com




                              Navigators Speciality
                              Insurance Company
                              Loss Control Manager -                 Telephone: TBD
                              TBD                                    Cell: TBD
                                                                     E-mail: TBD

                              Claim/Incident Reporting
                              William H. Connolly & Co. LLC           Telephone.: (973) 744-8500
                              Jim Connolly                            Cell: (201) 704-5529
                                                                      E-mail: jconnoE.y@,whconnolly.com


                              Broker Of Record
                              William H. Connolly & Co. LLC          Telephone: (973) 744.8500
                              Peter Koppisch                         E-mail: pkoppisch@whconnolly.corn




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    OC1P     PROJECT         DIRECTORY




                               Sponsor — Project Team

                               Sponsor Project Manager —             Telephone: (973)-219-5071
                               Dennis Thomason                       Cell: (201) 510-2043
                                                                     E-mail: dalakunlaaca=aarist


                               Site Safety Manager —                 Telephone:
                               Kyle Winsdauh                         Cell: 973-980-3196
                                                                     E-mail: kw@parkwooddev.corn


                              Project Superintendent -               Telephone;
                              Kevin Worthington                      Cell: 973-619-5774
                                                                            KeVill.Worthinzton@pxisranartners.n   et


                              Project Engineer -                     Telephone:
                              TBD                                    Cell:
                                                                     E-mail:


                              Claim Coordinator -                    Telephone: (973) 744-8500
                              Jim Connolly                           Cell: (201) 704-5529
                                                                     E-mail: jconnollv@whconnollv.com


                              OCIP Coordinator—                      Telephone: TBD
                              TBD                                    Cell: TBD
                                                                     E-mail: TBD




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    PROJECT         DEFINITIONS


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    Proi                         nitions
    Thefollowing list includes kg OCIP definitions.

       OCIP:                                  An "OCIP" or Owner Controlled Insurance Program is a coordinated insurance
                                              program providing certain coverages, as dened herein, eligible Enrolled Parties
                                              performing Work at the Project Site.

       AGREEMENT FORM                         Any contractual form between two entities (be they persons, firms, joint venture
                                              entities, corporations, or other parties) to perform services for the Project. For
                                              this Manual, it will be recognized as the contractual form between the General
                                              Contractor and OCIP Sponsor.

       BROICER OF RECORD                      Insurance agency or brokerage responsible for the placement of insurance
                                              policies for the OCIP Project.

       OCIP ADIvaNISTRATOR:                   Turner Surety and Insurance Brokerage, Inc. ("TSIB")

       OCIP INSURER:                          The insurance company(ies) named on a policy or certificate of insurance
                                              providing coverage for the OCIP.

       OCIP SPONSOR:                          Wonder Lofts Owner, LLC ("Sponsor" or "Sponsor Construction")

       CERTIFICATE OF INSURANCE:              A document referencing coverage for a particular insurance policy or policies.

       CONTRACTOR INSURANCE COST              Letter written by the OCIP Administrator identifying the Verified Insurance
       T :RITER                               Costs and Verified Blended Rate.

       CONTRACTOR OF ANY 1• R/                Any entity working on the Project (both on-site and off-site) whether they are
       CONTRACTORS OF ALL TIERS               the General Contractor, Subcontractor or Sub-subcontractor.

       F:T:(GIBLE PARTIES/ELIGIBLE            Patties performing labor or services at the Project Site who are eligible to enroll
       GENERAL CONTRACTOR/                    in the OCIP.
       FT,IGII3LE SUBCONTRACTOR (SUB-
       SUBCONTRACTOR)

       ENROI LED PARTIES/ENROLLED             Those Eligible Subcontractors who have submitted all necessary enrollment
       GENERAL CONTRACTOR/                    information as detailed in Section 6 and have been accepted into the OCIP
       ENROTT :RD SUBCONTRACTOR               receiving a Welcome Letter and Certificate of Insurance.
       (SUB-SUBCONTRACTOR):




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    PROJECT         DEFINITIONS




       EXCLUDED PARIIES/PNCLUDED             At the discretion of Sponsor, or subject to State regulations, the following
       SUBCONTRACTORS:                       parties are excluded from (not eligible for) enrollment in the OCIP:
                                             (1) Hazardous materials remediation, removal and/or transport companies and
                                                 their consultants;
                                             (2) Any Enrolled Contractor of any tier performing Structural Demolition
                                                 (Structural Demolition is the moving or relocating of load bearing beams,
                                                 columns, or walls);
                                             (3) Architects, engineers, soil testing engineers, surveyors, and their consultants;
                                             (4) Vendors, suppliers, fablicators, material dealers, truckers, haulers, drivers
                                                 and others who merely transport, pickup, deliver, or carry materials,
                                                 personnel, parts or equipment or any other items or persons to or from the
                                                 Project Site;
                                             (5) Contractors of any tier who do not perform any actual labor on the Project
                                                 Site;
                                             (6) Third Party Scaffolding Contractors of any tier;
                                             (7) Third Party Crane Contractor of any tier as well as Contractors of any tier
                                                 engaged in the erecting, dismantling or "jumping" of cranes;
                                             (8) Building implosion Contractors of any tier involved with blasting or the use
                                                 of explosives;
                                             (9) Window Washing Systems (davit type systems or equivalent).
                                             (10) Any Subcontractor of any tier involved with Exterior Insulation Finishing
                                                 Systems (EIFS)
                                             (11) Any other Contractor of any tier which Sponsor, at its sole discretion (and
                                                 as permitted by law), seeks to exclude from enrollment.


       GENERAL CONTRACTOR                   Includes only those persons, firms, joint venture entities, corporations, or other
                                            parties that enter into a contractual agreement with the Sponsor to perform
                                            Work at the Project Site.

       PARTY No LONGER COVERED BY           A Party whose OCIP insurance coverage has been terminated. Upon
           OCIP:                            termination of OCIP coverages, the Party is to provide insurance coverage for
                                            both on and off the Project Site activities listed in Section 5 of this Manual and
                                            as otherwise required by their Agreement Form.

       PROJECT SITE:                        The "project location" (designated in this Manual and more fully identified in
                                            the Agreement Form) and adjacent or nearby areas as defined in the project
                                            documents where incidental operations ate performed excluding permanent
                                            locations of any insured party.

       SUBCONTRACTOR:                       Includes only those persons, firms, joint venture entities, corporations, or other
                                            parties that enter into a contractual agreement with the General Contractor to
                                            perform Work at the Project Site

       SUB-SUBCONTRACTOR                    Includes only those persons, firms, joint venture entities, corporations, or other
                                            parties that enter into a contractual agreement with a Subcontractor to perform
                                            Work at the Project Site

      SUBCONTRACT / SUBCONTRACT             A written agreement between the General Contractor and the Subcontractor.
      AGREEMENT:

      SUB-SUBCONTRACT/ SUB-                 A written agreement between the Subcontractor and a Sub-subcontractor(s) of
      SUBCONTRACT AGREEMENT:                any tier.


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     PROJECT        DEFINITIONS




       CONTRACTOR INSURANCE COSTS:           A Contractor's (of any tier) corporate insurance costs that would be required if
                                             the OCIP insurance coverage was not provided.

       VERIFIED BLENDED RATE:               If Contractor's GeneralLiability insurance is contract price based:• Rate determined by
                                            dividing a Contractor's (of any tier) total Verified Insurance Cost by the
                                            Contractor's initial contract price then multiplied by 1,000. The Rate is
                                            expressed as per $1,000 of contract price (a.k.a. contract volume).
                                            Verified Blended Rate = (Verified Insurance Costs / Initial Contract Price) *
                                            1,000
                                            If Contractor's General Liability insurance is payroll based: Rate determined by dividing
                                            a Contractor's (of any tier) total Verified Insurance Cost by the Contractor's
                                            initial estimated payroll then multiplied by 100. The Rate is expressed as per
                                            $100 of payroll.
                                            Verified Blended Rate = (Verified Insurance Costs / Initial Estimated Payroll) *
                                            100.

       VERIFIED INSURANCE COST:             The Contractor's (of any tier) corporate insurance cost that has been verified by
                                            the OCIP Administrator.

       WELCOME LETTER:                      A document issued by the OCIP Administrator that noifies the applicant of
                                            acceptance/ enrollment into the 0 CIP,

       WORK:                                Operations, as fully described in the Agreement Form, performed at the Project
                                            Site.




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     OCIP     INSURANCE           COVERAGE




             IP Insuran                                erage
     This Section provides a brief description of the OCIP Coverage. Contractors of a;y tier should
     refer to the actual OCIP insurance policiesfor details concerning coverage, exclusions and
     limitations

     Overview
     Sponsor has arranged with TSIB (the "OCIP Administrator") for this Project to be insured under its Controlled Insurance

     (-ligible to enroll in the OCIP unless that party is an Excluded Party or a Party No Longer Covered by the OCIP. The OCIP
     will provide Commercial General Liability Insurance, and Excess Liability Insurance for the benefit of Enrolled Parties, as
     summarily described below, in connection with the performance of the Work ("OCIP Coverages").

     Excluded Parties and Parties No Longer Covered by the OCIP
     Excluded Parties are not granted any insurance coverage under the OCIP. Excluded Parties and Parties No Longer
     Covered by the OC/Pmust meet the insurance requirements established in Section 5 and in the Agreement Form, and provide
     evidence of coverage to Sponsor and TSE13.
     Excluded Patties and Faiths No Longer Covered by the OCIP shall require each of its Subcontractors and its Sub-                    ii
     subcontractors to obtain and maintain the insurance coverage specified elsewhere in this Manual and in theAgreement Form.

     Relevant Coverage
     OCIP Coverages shall cover only Enrolled Parties which ate: The General Contractor, Eligible Subcontractors, and
     Eligible Sub-subcontractors who enroll in the OCIP, and such other persons or entities as Sponsor at its sole discretion
     may designate.
                                                                                                                                        0

    The OCIP Administrator        provide a Certificate of Insurance identifying General Liability, and Excess Liability Insurance to
    each Entailed Party, each of who will be added as an Additional Named Insured to the OCIP General Liability insurance policy.
    The Insurance Company will famish other documents including claim forms, and posting notices to each Enroiled. Party. A
    copy of the primary General Liability policy can be obtained upon a Contractor's written request to Sponsor and after signing a
    Confidentiality Agreement Copies ofExcess/Umbrella policies are not available for review.

     Description of OOP Coverages
    The summary descriptions of the OCIP coverages in this Manual are not intended to alter or amend the provisions of the
    actual OCIP coverages. Rather, the OCIP coverages and exclusions summarized in this Manual are set forth in full detail
    in their respective insurance policy forms. In the event any provision of this Manual conflicts with the OCIP insurance
    policies, the provisions of the actual OCIP insurance policies shall govern.
    OCIP coverages shall apply only to Enrolled Parties and only for those operations performed at the Project Site in
    connection with the Work.
    Sponsor will furnish the following coverages to all Enrolled Parties performing Work at the Project Site.



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    OCIP      INSURANCE           COVERAGE




                                                             Summary
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     Commercial General Liability

     A single General Liability policy will be issued for all Enrolled Parties with all Enrolled Parties Named as Insureds.
     Coverage: Third Party Bodily Injury and Property Damage Liability.
                                                                                                         Limits of Liability
         Primary Policy:                                                                      Shared by All Enrolled Parties
         General Aggregate Per Project                                                                            $2,000,000
         Products/Completed Operations Aggregate Per Project                                                      $2,000,000
         Each Occurrence Limit                                                                                    $1,000,000
         Personal Injury/Adversity Injury                                                                            $50,000
         Damage to Rented Premises                                                                                $1,000,000
         Medical Expense Limit (any one person)                                                                       $5,000
     Terms

     ▪    Provides primary coverage for all covered occurrences at the Project Site.
     ▪    Will NOT provide coverage to any insured party, vendor, supplier, off-site fabricator, material dealer or other party
          for any product manufactured, assembled or otherwise worked upon away from the Project Site.
     O    Does not cover off-site operations of any Enrolled Party.
     ▪    Limits re-instate annually except for Products/Completed Operations. Products & Completed Operations
          Extension of the Project with a single non-reinstated aggregate limit for the period beginning from the earliest
          occurrence of (i) when the Project is put to its intended use, (ii) project completion, or (iii) OCIP policy
          termination, and ending after the earlier occurrence of (a) ten (10) years or (b) the expiration of the applicable
          statute of repose established per the civil code of the state where the Project is located.
     ▪    Notable exclusions are: Real & Personal Property in the care, custody or control of the insured; Asbestos; Exterior
          Insulation Finishing Systems (EIFS); Discrimination & Wrongful Termination; Architects & Engineers Errors &
          Omissions; Owned & Non-owned Aircraft, Watercraft, and Automobile Liability; Nuclear Broad Form. Liability;
          Pollution except hostile fire.

     Excess Liability

     Single Excess Liability policies will be issued for all Enrolled Parties,
                                                                                              Minimum Limits of Liability
                                                                                            Shared bb All Enrolled Parties
              Each Occurrence Limit (Combined Single Limit)                                                    $50,000,000
              Products/Completed Operations Aggregate Per Project                                              $50,000,000
              Annual General Aggregate limit Per Project                                                       $50,000,000
    Terms
    O Excess Policies follows provisions and coverages of underlying Commercial General Liability and Employer's
        Liability policy wording.

    Enrolled Party General Liability Obligation
    At Sponsor's discretion, any Contractor of any tier may be required to pay up to the first $5,000 per occurrence to the
    extent losses payable are attributable to that Contractor's Work, or the acts or omissions of its Subcontractors or its
    Sub-subcontractors, or any other party performing any of the Work fox whom the Contractor may be contractually or
    legally responsible.



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    OCIP      INSURANCE          COVERAGE




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    CONTRACTOR               MAINTAINED             COVERAGE



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           nfractor alin                                                   era
    Contractors ofall tiers are required to maintain coverage toprotect against losses that occur awayfilm the Project Site or that are
    othenvise not covered under the OCR All Certificates of Insurance must be submitted to the OCIP Administrator prior to
    mobikation.
    The required coverage must be maintained for the duration of the contract (or for a longer period specified within the Agreement
    Form) and must protect the Contractor, Sponsor, and others as required frorn. liabilities, These liabilities may arise from the Contractor's
    operations performed away from the Project Site, from coverages not provided by the OCIP, or from operations performed by
    Excluded Parties or Parties No Longer Covered by the OCIP
    ®    Enrolled Parties are to provide evidence of Workers' Compensation (both on-site and off-site activities), General Liability and
         Excess/Umbrella Liability insurance fox off-site activities, Automobile Liability (both on-site and off-site activity), and any other

    ®    Excluded Parties and Parties No Longer Covered by the OCIP must provide evidence of Workers' Compensation, General
         Liability, Excess/Umbrella Liability, Automobile Liability, and any other insurance as per the insurance specifications in the
         Agreement Form for all activities both on and off the Project Site,

    Verification of Required Coverages
    Contractors shall provide velification of insurance to the OCIP Administrator by way of an. acceptable Certificate of Insurance prior to
    mobilization on-site and within three (3) days of any renewal, change or replacement of coverage. A sample of an acceptable
    Certificate of Insurance that includes the requirements for waiver of subrogation, primary and non-contributory language
    and additional insured status is provided in Section 9 of this OCIP Insurance Manual.
    Contractors of any tier are responsible for collecting, ,monitoring and retaining. copies of their Subcontractors and Sub-
    subcontractor's Certificates ofinsurance. Sponsor, at its sole discretion, may request copies of lower tier Certificates of Insurance
    to ensure compliance with the requirements of this Manual. Sponsor reserves the tight to disapprove the use of Contractors of any tier
    unable to meet the insurance requirements or who do not meet other Sponsor policy requirements.
    The limits of liability shown for the insurance required of any Contractor of any tier are minimum limits only and are not intended to
    restrict the liability imposed on the Contractors for work performedunder their contract,

    Contractor Maintained Coverages
    Insurance Required
    Contractors of any tier shall obtain and maintain, and shall require each of its Subcontractors to obtain and maintain, the
    insurance coverage specified in this Section and in each Agreement in a form and from insurance companies reasonably
    acceptable to Sponsor. The insurance limits may be provided through a combination of primary and excess policies, including
    the umbrella form of policy, Each policy required under this Section, except for Workers' Compensation and Professional
    Liability (if requited), shall name Sponsor, other additional insured parties, their respective officers, agents and employees, and
    any additional entities as Sponsor may request as additional insureds. Coverage is to be afforded on a primary and non-
    contributory basis with respect to any other insurance available to the additional insured. The additional insured endorsement
    utilized for the General Liability policy must provide coverage as broad as that available under the ISO CG 20 10 11 85 or its
    equivalent endorsement. The insurance obtained by Subcontractor and any Sub-subcontractor shall not contain any wrap-up



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    CONTRACTOR             MAINTAINED            COVERAGE




    exclusion or wrap-up excess endorsement that would bar or limit available coverage where the Named Insured is not enrolled
    in the OCIP, or in instances where liability arises out of work performed by an enrolled Subcontractor away from the OCIP
     jobsite (Le., off-site activities). Such insurance obtained by the Subcontractor and any Sub-subcontractor shall be primary to,
    and not contribute with, any OCIP insurance in any circumstance where the Named Insured is not enrolled in the OCIP or in
    instances where liability arises out of work performed by an enrolled Subcontractor away from the OCIP jobsite (i.e., off-site
    activities).
    In the event that the law of the state in which the project is located (or other applicable law) limits the indemnity
    obligations of any Contractor, en the indemnity obligations of the Contractor shall be enforced to the fullest extent
    permitted by applicable law, and this Manual shall be read to conform to such law.
    The Additional Insured Parties for the Project are:

       Wonder Lofts Owner, LLC                                  Wonder Lofts Manager, Inc.
       Wonder Lofts Parent, LLC                                AG Funds Wonder Lofts Member, LLC
       Prism Capital Partners, LLC                             AG Realty IX Investments (H-1), L.P.
       Prism Property Services, LLC                            AG Realty Fund IX, L.P.
       Prism Construction Management, LLC                      AG Realty Fund IX (A), L.P.
       Prism Wonder Lofts Construction, LLC                    AGR IX LLC
       Prism Wonder Lofts Owner, LLC                           Wonder Lofts, LLC
       AG-Prism Wonder Lofts, LLC                              Parkwood Development, LLC
       WL Owner, LLC (NJ)                                      Bank OZK ISAOA ATIMA
       Prism Capital Services, LLC


     Sponsor may request other entities as may be reasonably requested as additional insureds.
    Waiver of Claim / Waiver of Subrogation. Where permitted by law, Contractors of all tiers hereby waives all rights of
    recovery against Sponsor, the other additional insured parties, the OCIP Administrator, their respective officers, agents, or
    employees, and any other Contractor, Subcontractor, or Sub-subcontractor performing Work or rendering services on behalf
    of Sponsor in connection with the planning, development and construction of the Project because of deductible clauses,
    inadequacy of limits of any insurance policy, limitations or exclusions of coverage, or any other reason. Where permitted by
    law, Contractors of all tiers shall also require that all of its Subcontractor's maintained insurance coverage related to the Work
    include clauses providing that each insurer shall waive all of its tights of recovery by subrogation against the same parties
    referenced immediately above in this Section, Subcontractor shall require similar written express waivers and insurance clauses
    from each of its Sub-subcontractors. A waiver of claim / waiver of subrogation (as the case maybe) shall be effective even if
    the party from the claim against has been waived (a) would otherwise have a duty of indemnification, contractual or otherwise,
    (b) did not pay the insurance premium directly or indirectly, and (c) whether or not such individual or entity has an insurable
    interest in the property damaged.
    As to Eligible and Enrolled Parties, the Workers' Compensation, Employer's Liability, and Commercial General Liability
    insurance required by this Section shall be for on-site and off-site activities or operations not insured under the OCIP
    Coverages. The following insurance coverages are to be provided by an insurance carrier selected by each Contractor of any
    tier and satisfactory to Sponsor. All costs for insurance coverages for off-site activities or operations are included in the
    Agreement Form. Price and are paid by the applicable Contractor.
    (1) Standard Commercial Automobile Liability Insurance covering all owned, non-owned and hired automobiles, trucks, and
        trailers with a combined single limit of not less than $1,000,000.
    (2) Statutory Workers' Compensation Insurance and Employer's Liability insurance, including Maritime coverage, if
        appropriate. Workers' Compensation limits shall comply with the requirements of the governingJurisdiction. Employer's
        liability limits shall be provided of not less than $1,000,000 each accident/31,000,000 each employee/$1,000,000 policy
        limit.



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     CONTRACTOR             MAINTAINED            COVERAGE




    (3) Commercial General Liability Insurance providing coverage on a standard ISO form providing "Occurrence" based
        coverage including Completed Operations and Contractual Liability Insurance against the Liability assumed herein. The
        required insurance shall also indude Independent Contractors Liability Insurance (if the Contractor sublets to another all
        or any portion of the Work), Personal Injury Liability Insurance, and Broad Form Property Damage coverage (including
        Completed Operations, and Explosion, Collapse arid Underground Hazards). The minimum insurance limits required are
        set forth in the "Invitation to Bid", the Agreement Form, or as otherwise instructed by Sponsor. If no indication is given,
        then the minimum required limits will be $5,000,000. Coverage shall be equivalent to the current ISO Occurrence Form.
    (4) If required by Sponsor, Aviation and/or Watercraft Liability Insurance with limits of liability acceptable to Sponsor and
        from an insuring entity reasonably satisfactory to Sponsor.

    (5) If required by Sponsor, Contractor's Pollution Liability Insurance with limits of liability acceptable to Sponsor and from
        an insuring entity reasonably satisfactory to Sponsor.

    If any Contractor of any tier fails to procure and maintain the additional insurance required from Enrolled Parties, Excluded Parties,
    and Parties No Longer Covered by the OCIP, Sponsor shall have the right, but not the obligation, to procure and maintain said
    insurance fox and in the name of the Contractor / Subcontractor and/or Sub-subcontractor and the Contractor / Subcontractor and/or
    Sub-subcontractor shall pay the cost thereof and shall furnish all necessary information to make effective and maintain such insurance.
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    Contractor/Subcontractor and/or Sub-subcontractor hereunder.




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    CONTRACTOR              MAINTAINED             COVERAGE




                                                                 Summary
     Workers' Compensation and Employer's Liability
    •    Enrolled Parties will provide evidence of Workers' Compensation insurance for all on-site and off-site activities at and away from
         the Project Site.
    •    Excluded Parties and Patties No Longer Covered by the OCIP will provide evidence of Workers' Compensation insurance
         for all activities at and away from the Project Site.

                                                                                                                    Limits of Liability
                 Part One -          Workers' Compensation                                                Statutory Limit
                 Part Two -          Employer's Liability                                                 Annual Limits
                                     Bodily Injury by Accident, each accident                                 $1,000,000
                                     Bodily Injury by Disease, each employee                                  $1,000,000
                                     Bodily Injury by Disease, policy limit                                   $1,000,000
    •    Coverage will apply on and off-site for Enrolled Parties, Excluded Parties and Parties No Longer Covered by the
         OCIP.

    Commercial General Liability/Umbrella Liability
    •    Enrolled Parties shall provide evidence of General Liability insurance for off-site activities with Sponsor and other required
         parties named as additional insured (ISO CG 20 10 11 85 version or its equivalent) to the policy. Coverage will apply away from
         the Project Site.
    •    Excluded Parties and Parties No Longer Covered by the OCIP shall provide evidence of General Liability insurance
         applicable to this Project and must name Sponsor and other required parties named as additional insured (ISO CG 20 10 11 85
         version or its equivalent) to their policy. Coverage will apply both on-site and off-site.
    The required Commercial General Liability Insurance shall include Completed Operations, Contractual Liability Insurance against the
    liability assumed herein, and including Independent Contractors Liability Insurance if any Contractor of any tier sublets to another all
    or any portion of the Work, Personal Injury Liabilit3r, BroadForm Property Damage (including completed operations), and Explosion,
    Collapse and UndergroundHazards,'with the following minimum limits: (coverage shall be equivalent to the current ISO Occurrence
    Form. The required Commercial General Liability/Umbrella Liability Insurance shall not contain any wrap-up exclusions or wrap-up
    excess endorsements that would bar or limit coverage in instances where the Named Insured is not enrolled in the OCIP (i.e., is an
    Excluded Party or Party No Longer Covered by the OCIP) or where liability arises out of work performed by an Enrolled Party away
    from the OCIP jobsite (i.e., involving off-site activities).

                                                                                                                 Limits of Liability
                     Combined Single Limit                                            As stipulated in Agreement Form, in the
                                                                                Invitation to Bid, or as otherwise instructed by
                                                                                   Sponsor. If no indication is given, then the
                                                                                       minimum required limits are $6,000,000
    Automobile Liability
    All Contractors of all tiers shall provide evidence of Automobile Liability Insurance with Sponsor and other required parties named as
    additional insureds to the policy. The OCIP does not cover Automobile Liability. For Enrolled Parties, Excluded Parties and
    Parties No Longer Covered by the OCIP, coverage will apply both on and off the Project Site.
    The Commercial Automobile Liability Insurance shall cover all owned, hired and non-owned automobiles, trucks and trailers used in
    connection with the work with the following minimum limits:

                                                                                                             Limits of Liability
                    Combined Single Limit — Each Accident Bodily              As stipulated in the Agreement Form, in the
                    Injury And Property Damage                              Invitation to Bid, or as otherwise instructed by
                                                                               Sponsor. If no indication is given, then the
                                                                                      minimum required limit is $1,000,000




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    Property Insurance
    The OCIP does not provide coverage for any Contractor's personal property. Contractors must provide their own insurance
    for owned, leased, rented and borrowed equipment, whether such equipment is located at a Project Site or "in transit".
    Contractors of any tier are solely responsible for any loss or damage to their personal property including, without limitation,
    property or materials created or provided installed at the Project Site, Contractor tools and equipment, scaffolding and
    temporary structures.

    Watercraft and Aircraft Liability
    The OCIP does not provide Watercraft or Aircraft Liability Insurance. The operator of any watercraft or aircraft of any kind
    must maintain liability insurance naming Sponsor, and others as required, and the respective Contractor as an additional insured
    with primary and non-contributory wording. In addition, the limit of liability must be satisfactory to Sponsor. Such project-
    specific insurance requirements will be indicated in the Agreement Form.

    Professional Liability
    The OCIP does not provide Professional Liability Insurance. All professional service firms must provide professional liability
    insurance appropriate for their profession. Architect and engineering firms must provide insurance covering liability arising
    out of design errors and omissions. Professional Liability insurance requirements will be indicated in the Agreement Form.

    Pollution Liability
    The OCIP does not provide Pollution Liability Insurance. A Contractor of any tier whose Work involves removal or treatment
    of hazardous materials will provide and maintain Contractors Pollution Liability insurance. Such coverage will specifically
    schedule the type of work defined in the Work. Such project-specific insurance requirements will be indicated in the Agreement
    Form.

    Completed Operations Coverage
    Each Enrolled Party will provide Completed Operations coverage from termination of the OCIP provided Completed
    Operations coverage (as shown in Section 4, Commercial General Liability, Terms) through the Statute of Repose applicable
    for the State in which the Project is located. All Enrolling Parties are strongly advised to provide a copy of this Manual
    and this provision to their insurance professional so the proper coverage extension is arranged.




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    CONTRACTOR             RESPONSIBILITIES                 AND      OBLIGATIONS


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                                                 bil            and Obligations
    Throughout the course of the Project, Contractors of any tier will be responsiblefor reporting and maintaining certain
    records as outlined in this Section.
    Contractors of any tier are required to cooperate with Sponsor, the insurance carrier(s), and the OCIP Administratot in all
    aspects of OCIP operation and administration,




    Contractor Bids
    Under the OCIP, Sponsor provides General Liability and Excess Liability insurance only for all Enrolled Parties for Work
    performed at the Project Site (refer to Section 4 OCIP Insurance Coverage) . The section below, "Identifying Contractor
    Insurance Costs," describes the procedures for bidding, and how OCIP insurance amounts ate paid. Section 9 of this
    Manual contains several worksheets that can help you determine your Contractor Insurance Costs for this Project. The
    OCIP Administrator can also help with this calculation.

    Identifying Contractor Insurance Costs
    As part of the enrollment process Eligible Subcontractors of any tier are required to upload insurance policy pages that
    document their coverage and insurance rates using the Contractor Portal on the OCIP website. Required documentation
    includes the following pages from the, general liability and umbrella or excess liability policies as follows:

         Declaration or Information Page
         Rate Page(s)

    Umbrella or excess liability policies that are "flat rated" will be converted to a rating basis that matches the general liability
    policy and pro-rated Lot this project in order to include a value for it in the Insurance Cost calculation. Deductible credits will
    not be allowed for retroactively rated programs, including LRARO programs, in order to reflect the contractor's loss fund for
    the ptogram(s).
    Enrolled Patties must also provide their estimated unburdened payroll for payroll based rates (payroll without taxes, fringes,
    benefits and overtime) for that portion of the work that will be performed at the Project Site (Initial Payroll Estimate) and their
    projected subcontract amount on the Contractor Portal. If the Subcontractors is unable to provide a payroll estimate TSIS
    will add 20% per contract value.




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     CONTRACTOR                RESPONSIBILITIES                      AND      OBLIGATIONS




     Once the Initial Payroll Estimate and all policy documents are submitted and reviewed, the OCIP Administrator will review
     the information to verify the Insurance Cost. The OCIP Administrator will perform an Insurance Cost calculation based
     upon esinaated payroll, contract volume and the rating information from the policy pages. The OCIP Administrator will
     apply discounts and modifiers in the order used by the insurance carrier and shown on the policy pages.
     The OCIP Administrator will provide each Enrolled Party & Prism with a Verified Insurance Cost calculation verification
     letter.
     Until each Subcontractor or Sub-subcontractor submits all required documentation to enable verification and calculation of
     the Subcontractor of any tier's Insurance Cost, an Insurance Cost equal to 3% (three percent) of the contract value may be
     assigned by Prism. Failure to submit the required documentation may result in a higher Final Insurance Cost Adjustment, if
     applicable.


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    Adjustments for Contractor Insurance Costs
    The OCIP Administrator will perform an actual an Insurance Cost calculation based upon actual payroll, contract volume
    and the rating information from the policy pages.


    At Sponsor's sole discretion, a final additional insurance cost for the CONTRACT may be calculated as follows:
                             Contractor's Additional Insurance Cost
                Plus         Sum of all Subcontractor's Additional Insurance Costs,
                Equals       Contractor's Final Additional Insurance Cost
    Sponsor, at its option, may choose to perform an interim insurance cost adjustment should the Contractor's (of any tier) man-
    hours or payroll exceed the estimated man-hours or payroll for the contract. Contractor is solely responsible £or recovering
    insurance costs from its Subcontractors and Sub-subcontractors.

    Withholding of Pays
    In the event Sponsor audits a Contractor's (of any tier) records which reveals a discrepancy in the insurance, payroll, safety, or any other
    information required by the Agreement Form, or reveals the inclusion of "Insurance Cost" amount in any payment for the Work,
    Sponsor shall have the right to withhold or deduct from the Price all such "Insurance Cost" amounts. If any Contractor of any tier fails
    to timely comply with the provisions of this Manual, Sponsor may withhold any payments due that Contractor and its Subcontractors
    until such time as they have performed the requirements of this Manual.

          re to submit •any OCIP insurance forms or, other doeumentS as required ma result in the vtithhol
    P.    ents y. S onsor un re uired documentationis is-received.:



    Enrollments
            The. A 'heat:ton for Enrollment is required to be -completed  6 via. the .Contractor Portal, °:Section 8 of
   ibis. Manual prow s instructions on how to access the Contractor .Portal and complete your of line.entoenrollment::::'::'


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     assistance


     Each Subcontractor and Sub-subcontractor shallprovide details about its Sub-subcontractors as necessary for OCIP enrollment The
     information requested on the online Application for Enrollment is mandatory for enrollment. The online application must be
     completed through the Contractor Portal, and OCIP coverage subsequently confirmed by the OCIP Administrator, prior to
     Mobilization or the start of Work to obtain OCIP Coverage.
     A separate online Application for Enrollment is required for each Eligible Sub-subcontractor of any tier that performs Work at the
     Project Site.
     The OCIP Administrator will issue to each Rritolled Party a Welcome Letter and a OCIP Certificate of Insurance acknowledging
     acceptance of the applicant into the OCIP. The insurance carrier will issue a separate Workers' Compensation policy to each Enrolled
     Party.


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      f..Eligible :Subcontractorsand Sub-subcontractors:;MUST.•:..4oniplete .. e:'.•1?            c . enrollment forms . iiiIMEK 'h. :
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     r.. enrolled. ;There is no OCIP .Coverage tor inieniolled arties; Cluded Partied and .Parties No                   et.. overed      •.
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     . • tepOrting, Prisni reserves the right to assess these fines to: he Subcontractor -   s reservation Of rights,applies
   .- :-. whether fineS and/or penalties are due to a Subeonfractor or any of its Sub-subcontractors;
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      -_:assessed to a Sub-su contractor, the prime tier Subcontractor is solely responsible for recovering the fine or :. -
           enal amount 'OM   • its. ...
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     Assignment of Premiums
     Sponsor pays the cost of the OCIP insurance coverage. All Enrolled Parties-will assign to Sponsor all adjustments, refunds, premium
     discounts, dividends, costs or any other monies due from. the OCIP insurer(s). Contractors of all tiers will ensure that its
     Subcontractor(s) execute such an assignment. The on-line Application for Enrollment Form 1 will be used for this purpose.

     Payroll Reports
     Onlyifyour GeneralLiabilitypolicyls payrollrated:
     By the 10th of each month every Enrolled Party must submit to the OCIP Administrator an on-line On-Site Payroll Report
     Information identifying man-hours and unburdened payroll for all work performed at the Project Site.
     A monthly payroll report must be submitted for each month, including months where there was zero payroll or work hours, until
     completion of the Work under each Subcontract. For those Subcontractors performing Work under multiple Subcontract
     Agreements, a separate monthly payroll report is required for each Subcontract.
     The monthly on-line On-Site Payroll Report Information should include the unburdened "straight-time" payroll and the
     unburdened "straight-time" portion of any "overtime" payroll (except in the states of Pennsylvania, Nevada, Utah, Delaware
     and applicable Workers' Compensation monopolistic States which require the entire unburdened "overtime" payroll to be
     reported) for all OCIP quqlifi.ed employees, including on-site supervisors and on-site clerical personnel.




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     Insurance Company Payroll Audit
    Each Enrolled. Party is required to maintain payroll records for each contract Such records will allocate the payroll by Workers'
    Compensation dassification(s) and exclude the excess or premium paid for overtime (Le., except for projects in the state of Pennsylvania,
    Nevada, Utah, Delaware and applicable Workers' Compensation monopolistic States), only the straight time rate will apply to overtime
    hours worked. Furthermore, such records will bruit the payroll for Executive Ofitcets and Partners/Sole Proprietors to the limitations
    as stated in the applicable State manual rules. his important that you properly classify payrolls, as these are reported to the rating bureau
    for promulgation of future Expefience Modifiers for your firm.


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              or P*011 audit of the OCR', or as required by this Manual .A
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    Claim Reporting
    All Parties (Enrolled, Excluded, or Patties No Longer Covered by the OCIP) must report all injuries, occupational-related
    illnesses or property damage to the Site Safety Manager immediately. All Parties will instruct employees and other personnel
    to report, in writing, within 24 hours all Accidents and Occurrences of any type to the Project Site SafetyManager. Failure to
    report a claim immediately and issue a written report to the Site Safety Manager or Project Superintendent within 24
    hours of an occurrence may result in a $5,000 penalty.


    OCIP Closeout and Audit Pr                                  :a
                                                                      - ures
    When   a Subcontractor has completed its Work at the Project Site and no longer has onsite workers, the Subcontractor must
    complete and submit the Work Completion Form electronically via the Contractor Portal. The Work Completion form should
    be e-signed by Prism for all Subcontractors and e-signed by the Subcontractors for all Sub-subcontractors of any tier. Note:
    Subcontractor electronic Completion Form closes out all Sub-subcontractors. The form will be used to initiate the final audit
    of payroll and man-hours by the OCIP insurance carrier. Should the Subcontractor, or any of its Sub-subcontractors, return
    to the Project Site for any reason, they will not be insured under the OCIP but will be required to be insured under its own
    insurance program. In. order to return to the Project Site a Subcontractor must provide Prism with a Certificate of Insurance
    that meets all requirements in the Subcontract Agreement prior to performing any Work at the Project Site.
    Prism will not release final retention payment until all necessary OCR) forms and documents have been submitted and accepted
    by the OCIP Administrator for Subcontractor and all of its Sub-subcontractors as well as all other requirements of the
    Subcontract Agreement. Any outstanding general liability obligations for which the Subcontractor of any tier is responsible
    but unpaid will be considered at the time of closeout.



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    OCIP Termination or Modffi                                      ion
    Sponsor reserves the right to terminate or modify the OCIP or any portion thereof,or modify this Manual. If Sponsor exercises this
    right Contractors will be provided written notice as required by the terms of their individual contracts. At its option, Sponsor may
    procure alternate coverage or may require the Contractors of every tier to procure and maintain alternate insurance coverage.
    Upon written notice, Sponsor may, for any reason, modify the OCIP coverages, discontinue the OCIP, or request that any Contractor
    of any tier, including its Subcontractors, to withdraw from the OCIP. Upon such notice, Contractor and/or one or more of its
    Subcontractors, shall obtain and thereafter maintain replacement insurance, The form, content, limits of liability, cost, and the insurer
    issuing such replacement insurance shall be subject to Sponsor's approval. The final cost of such insurance shall not exceed the amount
    of the applicable Contractor Insurance Cost, or its pro rata portion, as described elsewhere in this document

    Contractor's OCIP Obligations
     Each Enrolled Contractor of any tier shall:
     (1) Incorporate the terms of this Manual in all Subcontract agreements,
     (2) Within five (5) days of execution of its Agreement or no less than forty five (45) days before mobilization on-site, enroll
          in the OCIP and maintain enrollment in the OCIP, and ensure that eligible Subcontractors enroll in the OCIP and maintain
          enrollment in the OCIP within five (5) days of subcontracting or no less than forty five (45) days before mobilization.
     (3) Comply with all of the administrative, safety, claims management, insurance, and other requirements contained in this
          Manual, the OCIP insurance policies, and the Contract Documents.
     (4) Provide each of its Subcontractors with a copy of this Manual and ensure Subcontractor compliance with the provisions
          of this Manual, the OCIP insurance policies, and the Contract Documents. The failure of (a) Sponsor to include this
          Manual in the bid documents, or (b) Contractor to provide each of its eligible Subcontractors with a copy of it shall not
          relieve Contractor, Subcontractor or any of its Sub-subcontractors from any of the obligations contained therein.
     (5) Provide timely evidence of required insurance to Sponsor's OCIP Administrator (TSIB).
     (6) Subcontractor shall access the Contractor Portal and upload copies of its, general liability and umbrella or excess rates,
          deductible endorsement/page (if applicable), and other requirements set forth in Section 6 to verify the Insurance Cost
          calculation.
     (7) Be solely responsible for the recovery of any Subcontractor or Sub-subcontractor Insurance Cost attributable to such
          Subcontractor's or Sub-subcontractors' eligibility for participation in the OCIP. Hunk pricing is the basis for the Price,
         Sponsor may, at its option, apply a "per unit" Contractor Insurance Cost where appropriate.
    (8) Notify the CCIP Administrator and Prism's Project Site Superintendent of all Sub-subcontracts awarded (first tier and
         subsequent tiers). Accordingly, Subcontractor shall cause all Sub-subcontractors to submit an online Application for
         Enrollment and all documents required to verify their Insurance Cost.
    (9) Acknowledge, and require all of its Subcontractors and Sub-subcontractors to acknowledge in writing that Sponsor and
         the OCIP Administrator are not agents, partners or guarantors of the insurance companies providing coverage under the
         OCIP (each such insurer, a "OCIP Insurer") and that Sponsor is not responsible for any claims or disputes between or
         among Contractor, Subcontractor, its Sub-subcontractors, and any OCIP Insurer(s). Any type of insurance coverage or
         limits of liability in addition to the OCIP coverages that Contractor, Subcontractor or any Sub-subcontractor requires for
         its or their own protection, or that is required by applicable laws or regulations, shall be Contractor's, Subcontractor's or
         its Sub-subcontractor's sole responsibility and expense and shall not be billed to Sponsor.
    (10) Cooperate fully with the OCIP Administrator and the OCIP Insurers, as applicable, in its or their administration of the
         OCIP.
    (11) Notify the OCIP Administratotimmediately of any insurance cancellation or non-renewal of your own and Subcontractor
         and/or Sub-subcontractor required insurance and any subsequent reinstatement of coverage.
    (12) At Sponsor's discretion, be required to pay a sum of up to $5,000 of each occurrence, including court costs,
         attorney's fees and costs of defense for bodily injury or property damage to the extent losses payable under the
         OCIP General Liability Policy are attributable to Contractor's Work, acts or omissions, or the Work, acts or
         omissions of any of Subcontractor's and/or Sub-subcontractors, or any other entity or party for whom Contractor
         may be contractually or legally responsible ("General Liability Obligation"). The GeneralLiability Obligation shall
         remain uninsured by Contractor and will not be covered by the OCIP Coverages.
    (13) Acknowledge that Sponsor shall pay the costs of premiums for the OCIP coverages on behalf of all Enrolled Parties and


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         will receive or pay, as the case may be, all adjustments to such costs, whether by way of dividends, retroactive adjustments,
         return premiums, other moneys due, audits or otherwise. Accordingly, each Contractor and each of its Subcontractors
         and Sub-subcontractors hereby assigns to Sponsor the right to receive all such adjustments.
    (14) If General Liability is payroll rated, Contractor of any tier shall report payroll on a monthly basis using the TSIB on
         line Reporting.

    DISCLAIMER
    Sponsor assumes no obligation to provide insurance other than that specified in. this Manual and the OCIP insurance policies.
    Sponsor's arranging of OCIP coverages shall in no way relieve or limit, or be construed to relieve or limit, Contractor or any
    of its Subcontractors and/or Sub-subcontractors of any responsibility, liability, or obligation imposed by the Contract
    Documents or by law, including without limitation any indemnification obligations which Contractor or any of its
    Subcontractors and/or Sub-subcontractors has to Sponsor thereunder. Sponsor reserves the right at its option, without
    obligation to do so, to arrange other insurance coverage of various types and limits provided that such coverage is not less than
    that specified in the Contract Documents.

    Contractor Representations and Warranties to Sponsor
    Each Contractor of any tier represents and warrants to Sponsor, on behalf of itself and its Subcontractors:
    (1) That all information it submits to Sponsor or the OCIP Administrator shall be accurate and complete.
    (2) That they have had the opportunity to read and analyze copies of the OCIP insurance policies that are on file in Sponsor's
        office and that they understand the OCIP coverages.
    (3) Enrollment is not automatic and must be confirmed by TSIB as evidenced by a Certificate of Insurance
    (4) Premiums for this Program are the responsibility of the Sponsor and they agree that any and all return of premiums,
        dividends, discounts, or other adjustments to any Program policy(ies) is assigned, transferred and set over absolutely to
        the Sponsor. This assignment applies to the Program policy(ies) as now written or as subsequently modified, rewritten or
        replaced.
    (5) Rights of Cancellation for all Program insurance policy(ies) arranged by the Sponsor are assigned to the Sponsor.
    (6) They are responsible for pterniurn(s) for all other insurance coverage specified in the Contract Documents with the
        Sponsor that are not included in the Sponsor's OCIP Program.
    (7) They authorize the release of all claim information fot all insurance policies under this Program.
    (8) They recognize it is their responsibility to notify their insurance agent to exclude all work that is done at the project site
        and covered under the wrap-up program policy(ies).

    Duty of Care
    Nothing contained in this Manual shall relieve any Contractor of any tier or any of its Subcontractors of their respective
    obligations to exercise due care in the performance of their duties in connection with the Work and to complete the Work in
    strict compliance with the Contract Documents.

    Confli
    In the event of a conflict, the provisions of the Agreement Form and its other related Contract Documents shall supersede the
    provisions of this Manual, Likewise, in cases of conflict regarding the OCIP coverages provided, the provisions of the policies
    supersede the provisions of this Manual.



    Please see safety manual issued for this project.




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    CLAIM        PROCEDURES




    Claim Pr                            ur          •




    This Section describes basicproceduresfir reporting various types of Claims: Workers'
    Compensation, Liability, and damage to the Prject.

    General Procedures
    Report all injuries, occupational-related illnesses or property damage to the Site Safety Manager iinmediatek. All Parties will instruct
    employees and other personnel to report, in writing, within 24 hours allAccidents and Occurrences of any type to the Site Safety
    Manager or Project Superintendent.
    The Site Safe* Manager or Project Superintendent contact iqforination can befound in Section 2 of this Manual.
    While all injuries and property damage must be reported immediately, the following list identifies losses which could
    represent substantial exposure. It is essential that the Site Safety Manager or the Project Superintendent be notified
    immediately of the following events so that a comprehensive investigation can be initiated at once:

    •    Any injury for which an ambulance is called
    ®    Injury to head or neck
    ®    Possible injury to back or spinal cord
    ®    Unconscious employee
    •    Possible blindness
    ®    Amputation of limbs
    ▪    Fatality
    •    Heart attack or stroke
    •    Hospitalization
    •    Property damage estimated over $1,000
    Subcontractors may be assessed a $5,000 penalty for any claim not reported immediately and a written report submitted
    within 24 hours of occurrence.

    Investigation                        isLance
    All Parties will assist in the investigation of any accident or occurrenceinvolving injury to persons or property. All Parties will cooperate
    with authorized companies by securing and giving evidence and obtaining the participation and attendance of witnesses required for
    the adjustment, investigation and defense of any claim or suit

    Workers' Compen                               ion Claims
    The main responsibility for any Party is int to see that the injured worker receives immediate medical care. Next, you should
    immediately notify the Site Safety Manager or Project Superintendent




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    CLAIM        PROCEDURES




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    Contractor's (of every tier) on-site personnel will follow these procedures if any employee is involved in an accident or
    occurrence resulting in bodily injury:
    1, Contact designated first aid/medical personnel and transport the injured party to the on-site first aid or medical facility, as
        necessary.
    2.   Report all injuries or occupational-related illnesses immediately to the Site Safety Manager or Project Superintendent.
    3.   Complete an Accident Investigation Deport and return to the Site Safety Manager within 24 hours of employee's notice of
         injury/claim. The Site Safety Manager will fax/mail the completed form to the Claims Manager within 24 hours of receipt.
    4.   Supply the Injured Party with a _Medical Information Claim Folder which shall include a Doctor's Initial Report Form, the
         Modified Alternate Duty Program, Position Description and a Medical Authorization Form which are to be returned by
         the Injured Party to the Site Safety Manager by the end of the business day.
    5.   Provide for Modified Alternate Duty based upon the work abilities given to the Injured Party from the treating physician.
    6.   Immediately send all subsequent medical return to work notes, inquiries or correspondence about an Injured Party to the
         Site Safety Manager. No Injured Party will be allowed on a job site unless they have provided the Site Safety Manager with
         the proper return to work note, either full duty or modified duty.

    Liability Claims
    Every Contractor of every tier must immediately report all Accidents at the Project Site involving death, injury, or damage
    to property of non-employee personnel (the public, tenants, and visitors) to the Site Safety Manager or Project Superintendent.
    As soon as the on-site personnel become aware of the accident or occurrence, they must:
    1. Take appropriate emergency measures to prevent additional injury or damage, including contacting police and fire
         authorities.
    2. Complete and submit an Accident Investigation Deport and General Liability Loss Notice to the Site Safety Manager within 24
         hours of the incident
    3, Immediately send all subsequent inquires or correspondence about an insured loss or claim, including a summons or other
         legal documents, to the Site Safety Manager immediately.

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    Property Claims
    Immediately Report any damages to your Work or the Work of any other Subcontractor to the Project Site Safety Manager.

    Automobile Claims
    No coverage is provided for automobile accidents uncle! the OCIP. It is the sole responsibility of eac.h Patty to report
    accidents/claims involthig theft automobiles to their own insure's,
    HOWEVER, all accidents occurring in or around the Project site must be reported to the Site Safety Manager. Accident investigations
    will occur and focus 011liability arising out ofthe Project construction activities that could result in future claims (i.e. due to the conditions
    of the roads, etc). Each Party shall cooperate in the investigation of all automobile accidents.




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    CLAIM       PROCEDURES




     Pollution Dai s
    The OCIP general liability policy may provide some coverage for sudden and accidental pollution but °idyll the incidents are
    discovered axed tepotted proznpdy it' 2 wilting. Report claims by immediately notifying the Site Safety Manager of any known or
    suspected pollution incidents.

    Joint
     o    epresen x tTon
    In the event legal representation is required to defend parties insured under this OCIP, absent an actual conflict of interest between two
    or more insureds, the insurer shall have the right to retain one counsel to represent all such insureds in any action or proceeding in
    which more than one insured is joined.
    An insured has an actual conflict, and is entitled to separate counsel, only in the following circumstances:
    a.   the OCIP insurer has issued a reservation of its rights to one, but not all, insureds joined in such action or proceeding;
    b.   a OCIP insurer's reservation of rights issued to one insured contains reservations different that a reservation issued to another
         insured(s) joined in such action or proceeding; or
    c.   adequate, unexhausted limits of OCIP insurance are not available for the damages sought in such action or proceeding.
    Any insured with an actual conflict of interest may waive that conflict
    Rnrollment in this OCIP program shall be deemed a waiver of any conflict which does not meet the above definition of an actual
    conflict. As a condition of enrollment in this OCIP program, all insureds agree to perform any additional acts required to effectuate
    the waiver of any conflict which does not meet the above definition of an actual conflict.

         Myer of insur                    Cross-Claims
    As a condition of enrollmentin this 0 CIP program, no insured shall be entitled to make a cross-claim (or any similar legal claim) against
    another insured if that cross-claim arises from "bodily injury", "property damage" or "personal injury" to which this OCIP's insurance
    applies and for which there is adequate unexhausted limits of insurance to pay damages in any such proceeding. Enrollment in this
    OCIP program shall be deemed a waiver of such claims. As a condition of enrollment in this OCIP program, all insureds agree to
    perform any additional acts required to effectuate the waiver of any such claim. This paragraph shall not apply to any suit or claim
    necessary to trigger OCIP coverage.


    Avania HIV                    Claims
    Sponsor has made claims data available to all OCIP Enrolled Parties. Data is accessible through the Contractor Portal of the
    Wrapworks application (program adrninistrationwebsite). Claim data is updated no less than quarterly. Claims are associated with your
    contract.

    If you need a User ID and Password to access the Contractor Portal, please contact the Quality Assurance Specialist listed in Section 2,
    fa send an email to Wraptipetsibinc.cora. Please include your full name, employer's company name, the name of each project,
    and each contract number.

    If you already have a User ID and Password, the address of the Contractor Portal is:
    https://wrarsup.vuewrapuo.comicontractorportal

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    CONTRACTOR                     PORTAL              INSTRUCTIONS
                                                                                                              as




    Contractor Portal Instructions
    Contractor Portal Web Address: https://wrapub,vuewrapub,cornicontractorportal
    Please have your documents in hand and readyto upload This will speed up the process.



    •     Your Rate Pages from your Workers Compensation, General Liability and Excess/Umbrella Policies, and Deductible
          Endorsement (if applicable)
    •     Your Non-CIP Certificate of Insurance (offsite C01) along with required endorsements

    If you know your User ID and Password, then please proceed.
    If you do not have one, then click on "Register Me". You will need to know your Federal ID (with the dash). Your User ID
    and Password information will be emailed to you.



        wrapworks-
        Welcome to VUE Wrap-UpTM Contractor Portal!
        WrapWorks ISMI is customized to allow you to quickly enroll in your CIP
        program and manage all of your current projects.

        You can:

              -Enter Monthly Payroll                                              Enter your User Name
              - Upload your Non-CIP COls
              - Upload your Declaration & Rate Pages
              - Enter Project Close Out                                           Enter your Password
                View your Subcontractor's OP account                                         Y.;
              - View Non-Complient items                                                     is

        Login to get startedI                                                                            ar

        New User? Click Register Me,                                                    ez


                   G     11;


          How to Login/Register




    Sponsor Name OCIP Insurance Manual Version 08/27/2018                                                           30
    Wonder Lofts Owner, LLC, 720 Clinton Street, Hoboken, NJ 07030
Case
Case 2:20-cv-03834-MKB-JMW
     2:21-cv-02407-LDH-ST Document
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    CONTRACTOR             PORTAL       INSTRUCTIONS

                                     Welcome to the 1, 2, 3s of wrapworks

                                             I am on a CIP Project What do l do?
                                              BASIC FLOW CHART— Easy as 1,2,3
                                  Everything is completed online via the Contractor Portal:
                                     https://wrapu p.vuewrapu p.com/contractorportal




                                                           Step 1
                            Complete Enrollment — Coverage will not start until you are enrolled.
                           Answer ALL questions — You must check a Primary Contact and Address.
                                (This is the person who will receive all delinquency letters)
                               Enter any lower tier contractors you will have working for you.




                                                          Step 2
                              Upload ALL Required Documents (Name them appropriately)
                 1. Rate Pages (Declaration pages) for all applicable lines of coverage: Workers'
                    Compensation, General Liability and Excess/Umbrella (This supports your insurance
                    cost entered for this contract).
                 2. Non-CIP Certificate of Insurance (offsite C01) with applicable Endorsements for Ongoing
                    and Completed Operations as per sample in Manual.




                                                             Step 3
                                   Report Payroll Monthly by the due date in the Manual.
                  All days need to be accounted for from the Start of your Enrollment date (Policy Start
                                             Date) until your contract is complete.
                        This is not certified payroll — Only man hours/gross and reportable payroll.



                                                      Got Delinquencies?
                                          Print the Missing Data Report by Contract.
                                This will tell you exactly what is missing from each category:
                                    Enrollment/ ICW / Payroll Non-CIP COI / Closeout
                                                                             iatteilleAgspci
                                                                       •     RIrlOYttWita
                                                                           lavalidkinmPar•
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    Sponsor Name OCIP Insurance Manual Version 08/27/2018                                                  31
    Wonder Lofts Owner, LLC, 720 Clinton Street, Hoboken, NJ 07030
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Case 2:20-cv-03834-MKB-JMW
     2:21-cv-02407-LDH-ST Document
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                    This Section contains theforms neededfor administration of the OOP.




                    Exhibit I.         SA PT F ENROL Fl) PARTY Certificate of Insurance

                    Exhibit 2         SA PT F, EXCLUDED PARTY AND PARTIES_ NO LONGER COVERED BY THE OCIP
                                      Certificate of Insurance

                    GL Claim Form     Report of General. Liability Accident




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Sponsor Name OCIP Insurance Manual Version 08/27/2018                                           32
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            2:20-cv-03834-MKB-JMWDocument
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                                             1265
     EXHIBIT I - SAMPLE ENROLLED PARTY Contractor Certificate of Insurance
                                                                                                                                                                                                       DATE (NIM/DDIYYYY)

                            CERTIFICATE OF LIABILITY INSURANCE
    —1415 CERTIFICATE IS ISSUED AS A MATTER OF INFORMATION ONLY AND CONFERS NO RIGHTS UPON THE CERTIFICATE HOLDER. THIS CERTIFICATE DOES
        T AFFIRMATIVELY OR NEGATIVELY AMEND, EXTEND OR ALTER THE COVERAGE AFFORDED BY THE POLICIES BELOW. THIS CERTIFICATE OF INSURANCE
    ij OES NOT CONSTITUTE A CONTRACT BETWEEN THE ISSUING INSURER(S), AUTHORIZED REPRESENTATIVE OR PRODUCER, AND THE CERTIFICATE HOLDER.
    IMPORTANT: If the certificate holder is an ADDITIONAL INSURED, the policy(ies) must be endorsed. If SUBROGATION IS WAIVED, subject to the
    terms and conditions of the policy, certain policies may require an endorsement. A statement on this certificate does not confer rights to the
    certificate holder In lieu of such endorsement(s).
    PRODUCER                                                                                                            CONTACT
                                                                                                                        NAME:
                                                                                                                        PHONE                                                                   FAX
    Insurance Agency's/Brokerage's Name                                                                                 (A/C, No. Extl:                                                         (NC, No):
                                                                                                                        E-MAIL
    And Address                                                                                                         ADDRESS:
                                                                                                                        PRODUCER
                                                                                                                        CUSTOMER ID#:

                                                                                                                                              INSURERiS) AFk.)121:61G COVERAGE                                         NAIC #
    INSURED
                                                                                                                        INSURER A:

    Contractor's Name and Address                                                                                       INSURER P.'

                                                                                                                        INSURER C:
    Sample Certificate for Enrolled Parties
                                                                                                                        INSLMCII 0:
    Required Insurance
                                                                                                                                   E ,             .      •   0.MM/
                                                                                                                                                                      .
    COVERAGES                                                                     CERTIFICATE NUMBER7:.                             ,    .                                    REVISION NUMBER:
    THIS IS TO CERTIFY THAT THE POLICIES OF INSURANCE LISTED BELOW HAVE BEEN IGUED TO THONSURED NA,NEDABOVE FOR THE POLICY PERIOD INDICATED.
    NU I VVI I 116 I ANUINta ANY Rt t..tUIRtiVIt111, TEKM OR UONOI I IUN Ut- ANY Will kAc."-ii oR L.7t-}F.k c'- 'Yi.. . ,/iENT vviiti RhSPECT TO WHICH THIS CERTIFICATE MAY BE
    ISSUED OR MAY PERTAIN, THE INSURANCE AFFORDED BY THE POLICIES DE.5,CRIBED'ITIEREAN !; : SUBJECT TO ALL THE TERMS, EXCLUSIONS AND CONDITIONS OF
    SUCH POLICIES. LIMITS SHOWN MAY HAVE BEEN REDUCED BY PAID CLADIS, .,                           •     ,.:".:.
    INSR                                                                                  ADDL      'pLro,13,   ,. POLICY      • ; POL!CY EFF           POLICY EXP
     LTR                            TYPE OF INSURANCE                                     !NM —...._• WO.:         NUMBER         i,!MIDE.hvYYY)       (MM/DONYYY1                                UNITS
                                                                                                      .     ,
                                                                                                                :• •                                                                                             $1.000,000
                  COMMERCIAL GENERAL LIABILITY                                                                                                                            EACH OCCURRENCE

                        CLAIMS-MADE                                         x    OCCUR
                                                                                                                                                                          DAMAGE TO RENTED
                                                                                                                                                                          PREMISES (Ea occurrence)
                                                                                                                                                                                                                 $50,050

                                                                                                                                                                          MED EXP (Any one person)               $5,000
                                                                                                                  F9IIcy
                                                                                                          r.,    4N3,ii;;1be                                              PERSONAL & ADV INJURY                  $1.000,000
                  GEM_ AGGRE GATE LIMIT APPLIES PER:                                                                                                                      GENERAL AGGREGATE                      $2,000,000

                  POLICY                        jj(          PROJECT       1_1 LOG                                                                                        PRODUCTS -COMP/OP AGG                  $2,000,000
                  OTHER

              AUTOMOBILE LIABILITY                                                                                                                                        COMBINED SINGLE LIMIT (Ea              $1,000,000
                                                                                                                                                                          accident)
              X   ANY AUTO                                                                                                                                                BODILY INJURY (Per person)
                                                                                                                 Policy
              X   ALL OWNED AUTOS                           .,5r;;HEDLI LED AUTOS `°°`'                          Numbe                                                    BODILY INJURY (Per accident)
                                                          1                                                                                                               PROPERTY DAMAGE (Per
                  HIRED AUTOS                              J • i,i6;`):-OWNED AUTOS..
                                                                                                                                                                          Accident)
                                          , '         •




                                                                                                                                                                                                                 $5,000,000
              x   UMBRELLA LIAB                                                                                                                                           EACH OCCURRENCE
                                                                                                                                                                                                                 $5,00E1,000
                  EXCESS LIAB                                CLAIMS-MADE. •                                      Policy                                                   AGGREGATE
                                                                                                                 Numbe
                  DED                RETENTION $                                                                                                                          PRODUCTS - COMP/OP AGO



              IAIORKERS COMPENSATION                                                                                                                                                                   01-1-•
              AND EMPLOYERS' LIABILITY                                    YIN                                                                                             x    PER STATUTE        x    ER
              ANY PROPRIETOR/PARTNER/F_XECUT1VE                                                                  Policy                                                   EL EACH ACCIDENT                       $1.000,000
               OFFICER/MEMBER EXCLUDED?                                                   N/A                    Numbe
              (Mandatory in NH)
                                                                           N
                                                                                                                                                                          EL, DISEASE EACH EMPLOYEE              $1.000,000
              If yes, describe under
              DESCRIPTION OF OPERATIONS below                                                                                                                             EL. DISEASE POLICY LIMIT               $1.000,000
                                                                                                                  Policy                                                  Limit equal to Full Coverage of Subcontractor's owned or
                                                                                                                                                                          rented machinery, equipment, tools, & temporary
              OTHER: EQUIPMENT FLOATER                                                                           Numbe                                                    structures notdesignedto become a permanent part of the
                                                                                                                                                                          Work
    DESCRIPTION OF OPERATIONS 1LOCATIONS / VEHICLES (Attach Add tiorial Remarks Schedule if more space is required): RE: Work performed at the DGP Urban Renewal, LLC
    project: Wonder Lofts Owner, LLC. Additional Insureds are on a Primary and Non-contributing basis on the General Liability (ISO endorsement CG 20 10 11 85 or its equivalent), Automobile and
    Excess/Umbrella Liability Policies. Waiver of Subrogation in favor of Certificate Holders applies to all policies. GL coverage apply off-site,


    Construction, LLC, Prism Wonder Lofts Owner, LLC, AG-Prism Wonder Lofts, LLC, WL Owner, LLC (NJ), Wonder Lofts Manager, Inc., AG Funds Wonder Lofts Member, LLC, AG Realty IX Investments (H-H,
    L.P., AG Realty Fund IX, LP., AG Realty Fund IX (A), LP., AGR IX LLC, Wonder Lofts, LLC, Porkwood Development, LLC, Prism Capital Services, LLC, Rank OZK ISAOA ATIMA

    CERTIFICATE HOLDER                                                                                                         CANCELLATION
r       ITIFICATE HOLDER
                                                                                                                          SHOULD ANY OF THE ABOVE DESCRIBED POLICIES BE CANCELLED BEFORE THE
         iumer Surety and Insurance Brokerage, Inc.
                                                                                                                          EXPIRATION DATE THEREOF, NOTICE WILL BE DELIVERED IN ACCORDANCE WITH
    36 Nutmeg Drive, Suite 300
                                                                                                                          THE POLICY PROVISIONS.
    Trumbull, CT 06611
    Attention: Eva Hobson                                                                                                  AUTHORIZED REPRESENTATIVE




           Sponsor Name OCIP Insurance Manual Version 08/27/2018                                                                                                                                33
           Wonder Lofts Owner, LLC, 720 Clinton Street, Hoboken, NJ 07030
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 Case 2:21-cv-02407-LDH-ST
      2:20-cv-03834-MKB-JMWDocument
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   Sponsor Name OCIP Insurance Manual Version 08127/2018                                 34
   Wonder Lofts Owner, LLC, 720 Clinton Street, Hoboken, NJ 07030
    Case
    Case 2:21-cv-02407-LDH-ST
         2:20-cv-03834-MKB-JMWDocument
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                                          1267
 EXHIBIT 2 - SAMPLE EXCLUDED PARTY and PARTIES NO LONGER COVERED BY THE OCIP
 Certificate of Insurance
                                                                                                                                                                              DATE (MMODD/YYYY)

                            CERTIFICATE OF LIABILITY INSURANCE
     iS CERTIFICATE IS ISSUED AS A MATTER OF INFORMATION ONLY AND CONFERS NO RIGHTS UPON THE CERTIFICATE HOLDER. THIS CERTIFICATE DOES
 NOT AFFIRMATIVELY OR NEGATIVELY AMEND, EXTEND OR ALTER THE COVERAGE AFFORDED BY THE POLICIES BELOW. THIS CERTIFICATE OF INSURANCE
 DOES NOT CONSTITUTE A CONTRACT BETWEEN THE ISSUING INSURERS), AUTHORIZED REPRESENTATIVE OR PRODUCER, AND THE CERTIFICATE HOLDER.
 IMPORTANT: If the certificate holder is an ADDITIONAL. INSURED, the policy(les) must be endorsed. If SUBROGATION IS WAIVED, subject to the terms and
 conditions of the policy, certain policies may require an endorsement. A statement on this certificate does not confer rights to the certificate holder In lieu of such
 endorsement(s).
 PRODUCER                                                                                              CONTACT
                                                                                                       NAME:
                                                                                                       PHONE                                                           FAX
 Insurance Agency's/Brokerage's Name                                                                   (NC. No, EMI:                                                   (NC, No):
                                                                                                       EMAIL
 And Address                                                                                           ADDRESS:
                                                                                                       PRODUCER
                                                                                                       CUSTOMER ID #:
                                                                                                                                      Ai:Feki316 COVERA(ki';:,' •                              NATO
 INSURED
                                                                                                       INSURER A:
 Contractor's Name and Address                                                                         INSURER B:
 Sample Certificate for Excluded Parties and Parties No                                                I NSURERC,
 Longer Covered by the OCIP                                                                            INSURER 0:
 Required Insurance                                                                                    '   suRERe'                •
 COVERAGES                                         CERTIFICATE NUMBER''        ,-;!;:'  -::; 1
                                                                            --,—.......--,......: ' *: ,, '''. _--- REVISION NUMBER:
 THIS IS TO CERTIFY THAT THE POLICIES OF INSURANCE LISTED BELOW HAVE BEEN ISSUED T0,7HF, INSURED NN:ulaD ABOVE FOR THE POLICY PERIOD INDICATED.
 NOTWITHSTANDING ANY REQUIREMENT, TERM OR CONDITION OF ANY CONTRACT ok 9THEF:DOCUMENT WITH RESPECT TO WHICH THIS CERTIFICATE MAY BE
 ISSUED OR MAY PERTAIN, THE INSURANCE AFFORDED BY THE POLICIES DESCRIBEDKRE!W IF; SUBJECT TO ALL THE TERMS, EXCLUSIONS AND CONDITIONS OF
 SUCH POLICIES. LIMITS SHOWN MAY HAVE BEEN REDUCED BY PAID CLAIM5:: ,
  INSR                                                      ADDL ;•fluoR WW1        ': POLICY EFF     POLICY EXP
I LTR                            TYPE OF INSURANCE                              INSD   ''        DUMBER      , IMMILaYYY      4MM/130/YYM                                LIMITS
           X    COMMERCIAL GENERAL LIABILITY                                                                                                    EACH OCCURRENCE                         $1.000,000

                      CLAIMS-MADE                                 OCCUR                                                                         DAMAGE TO RENTED
                                                             X                                                                                  PREMISES (Ea occurrence)
                                                                                                                                                                                        $50,000

                                                                                                 Volley                                         MED EXP Orly one person)                $5,000
                                                                                                 NWT)be                                         PERSONAL& ADV INJURY                    $1.000,000
                GEN'L AGGREGATE LIMIT APPLIES PER:                                                                                              GENERALAGGREGATE                        $2,000,000
                POLICY                     X    PROJECT            LOC ,                                                                        PRODUCTS -COMP/OP AGG                   $2,000,000
                                                             LI
                OTHER
                                                                                                                                                COMBINED SINGLE LIMIT (Ea
           AUTOMOBILE LIABILITY                                                                                                                 accident)                               $1,000,000

                ANY AUTO                                                                                                                        BODILY INJURY (Per person)
                                                                                                 Policy
           X    ALL OWNED AUTOS                 SCHEDULED AO*                               X    Numbe                                          BODILY INJURY (Per accident)
                                                  ..
                HIRED AUTOS                                                                                                                     PROPERTY DAMAGE (Per
           X                                   . NON-6VVNED AUTOD                                                                               Accident)

                                                                        fiRS,
                                                                                                                                                                                        $5,000,000
           X    UMBRELLA LIAB                   0c:66R                                                                                          EACH OCCURRENCE
                                                                                                                                                                                        $5,000,000
                EXCESS LAB                                                                       Policy                                         AGGREGATE
                                                                                 X          X    Numbe
                DED               RETENTION $                                                                                                   PRODUCTS - COMP/OP AGG


           WORKERS COMPENSATION                                                                                                                                       OTH-
                                                                                                                                                     PER STATUTE I Xi ER
           AND EMPLOYERS' LIABILITY                         YIN                                                                                 X
           ANY PROPRIETORFARINERJEXECUTIVE                                                       Policy                                         E.L. EACH ACCIDENT                      $1.000,000
           OFFICER/MEMBER EXCLUDED?                          N                  NIA         X    Numbs
           (Mandatory in NH)                                                                                                                    E.L. DISEASE EACH EMPLOYEE              $1.000,000
           If yes, describe under
           DESCRIPTION OF OPERATIONS below                                                                                                      EL DISEASE POLICY LIMIT                 $1.000,000
                                                                                                 Policy                                         Limit equal to Full Coverage of Subcontractor's owned or
                                                                                                                                                rented machinery, equipment          & fenWoralY
           OTHER: EQUIPMENT FLOATER                                                              Numbe                                          structures not desigfled to become a permanent part of the
                                                                                                                                                Work
 DESCRIPTION OF OPERATIONS 1LOCATIONS I VEHICLES (Attach Add tional Remarks Schedule if more space Is required): RE: Work performed at the DGP Urban Renewal, LLC
 project: Wonder Lofts Owner, LLC. Additional Insureds are on a Primary and Non-contributing basis on the General Liability (ISO endorsement CG 20 10 11 85 or its equivalent), Automobile and
 Excess/Umbrella Liability Policies. Waiver of Subrogation in favor of Certificate Holders applies to all policies. ALL COVERAGES LISTED APPLY ON-SITE FOR ALL OPERATIONS OF THE INSURED.

 ADDITIONAL INSURED: Wonder Lofts Owner, LLC, Wonder Lofts Parent, !LC, Prism Capital Partners, LLC, Prism PropertyServices, LLC, Prism Construction Management, LLC, Prism Wonder Lofts
 Construction, LLC, Prism Wonder Lofts Owner, LLC, AG-PrismWonderLofts, LLC, WL Owner, LLC (NJ), Wonder Lofts Manager, Inc., AG Funds Wonder Lofts Member, LLC, AG Realty IX Investments (H-1),
 L.P., AG Realty Fund IX, L.P., AG Reek, Fund IX (A), L.P., AGR IX LLC, Wonder Lofts, LLC, Parkwood Development, LLC, Prism Capital Services, LLC, Bank OZK ISAOAATIMA
 CERTIFICATE HOLDER                                                                                           CANCELLATION
     iTIFICATE HOLDER                                                                                      SHOULD ANY OF THE ABOVE DESCRIBED POLICIES BE CANCELLED BEFORE THE
     Turner Surety and Insurance Brokerage, Inc.                                                           EXPIRATION DATE THEREOF, NOTICE WILL BE DELIVERED IN ACCORDANCE WITH
 35 Nutmeg Drive, Suite 300
                                                                                                           THE POLICY PROVISIONS.
 Trumbull, CT 06611
 Attention:    Eva Hobson                                                                                  AUTHORIZED REPRESENTATIVE




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        Wonder Lofts Owner, LLC, 720 Clinton Street, Hoboken, NJ 07030
  Case
  Case 2:21-cv-02407-LDH-ST
       2:20-cv-03834-MKB-JMWDocument
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ACORD 25 (2014/01)                                                      C) 1988-2014 ACORD CORPORATION. All dghts reserved.




             Service Team and Claims Reporting

             The primary servicing responsibility will be by Kathryn Coughlin. We operate on a team approach. Your
             team consists of:

                      Peter Koppisch — Client Advocate
                      Office: 1-973-744-8500 ext. 336
                      Cell #: 1-908-227-7856
                      E-Mail: pkoppisch@whconnolly.com

                      Kathryn Coughlin — Vice President — Account Executive
                      Office: 1-973-744-8500 ext. 317
                      Cell #: 1-201-663-0775
                      E-Mail: kcoup,hlin@whconnolly.com

                      Amanda Conforti — Senior Account Manager
                      Office: 1-973-744-8500 ext. 361
                      E-Mail: aconforti@whconnolly.com

                     Viki Rizos-Vega — Technical Assistant
                     Office: 1-973-744-8500 ext. 339
                     E-Mail: vrizos@whconnolly.com

                      Nancy Peet — Vice President — Claims Director
                      Office: 1-973-744-8500 ext. 326
                      E-Mail: Npeet@whconnolly.com

                      Tom Coticchio — Senior Vice President — Safety / Loss Control
                      Office: 1-973-744-8500 ext. 307
                      E-Mail: Tcotiechiowhconnolly.com

                      Doris Dicristina— Senior Vice President — Claims/Safety/Loss Control
                      Office: 1-973-744-8500 ext. 317
                      E-Mail: Ddicristina@whconnoly.com


             Claims Reporting

             REPORT TO WILLIAM H. CONNOLLY & CO., LLC

                      Jim Connolly_ Claims Specialist
                      Office: 1-973-744-8500 ext. 372
                      E-Mail: iconnolly@whconnolv.com




   Sponsor Name OCIP Insurance Manual Version 08/27/2018                                                   36
   Wonder Lofts Owner, LLC, 720 Clinton Street, Hoboken, NJ 07030
Case
Case 2:21-cv-02407-LDH-ST
     2:20-cv-03834-MKB-JMWDocument
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                                      1269
                             EXHIBIT D-1




                         Wonder Lofs Owner, LLC
      General Liability Owner Controlled Insurance Program (OCIP)
                          Project: Wonder Lofts
     The Owner has implemented a General Liability Owner. Controlled Insurance Program (OCIP) for the
     West Orange Redevelopment project. Bidders are required to INCLUDE their normal insurance costs
     in their bids for this project. Please refer to the OCIP Insurance Manual dated 08/27/2018 for more
     information on the program. The manual is available on the Prism Box.Net website. Please note that
     the OCIP Insurance manual is a contract document.

        1) Upon award of a contract you will be provided with the OCIP enrollment form package. The
           forms are also available on the Box.net site for review. The forms are to be submitted to the
           OCIP administrator, Turner Surety and Insurance Brokerage (TSIB), as noted on the next page.
           You are also to submit your Certificate of Insurance to TSIB for review and processing. TSIB will
           monitor all certificates for compliance with your contractual requirements. The Enrollment
           Form 1GL and Certificate of Insurance are required prior to starting work onsite.

                A. FORM -1GL Application for Enrollment
                The Form-1GL enrolls the Contractor in the OCIP program & provides the Contractor with
                General Liability coverage on site. Please complete the Form prior to working on site.

                B. FORM- 2GL Insurance Cost Worksheet
                The Form 2GL will calculate the cost of insurance that you would have paid your insurance
                carrier if you had not participated in the OCIP. Please contact your insurance broker for
                assistance & copies of your General and Excess/Umbrella rating pages.

                C. FORM- 3GL Quarterly On-Site Payroll Report
                If your General Liability cost is rated on your onsite payroll exposure you will be required to
                submit quarterly payrolls identifying your payroll expended onsite during execution of your
                work. TSIB will follow up for this documentation with all contractors who will be required to
                submit payrolls.

                D. FORM-4GL Work Completion Form
                The Form-4GL is completed when your work is complete on site. This form is to be
                completed then forwarded to Prism Construction Management for approval prior to
                processing by TSIB.

        2) Upon receipt and processing of the Form 1GL, TSIB will issue a welcome letter to each
            participant and include the OCIP GL certificate of insurance. Please keep this certificate as you
            will need it to document your coverage under the OCIP to your Insurance Carriers.

        3) Upon receipt of the Form 2GL and rate pages, TSIB will evaluate the information and issue an
           Insurance Credit letter. The letter will identify the cost of insurance that you would have paid if
Case
Case 2:21-cv-02407-LDH-ST
     2:20-cv-03834-MKB-JMWDocument
                            Document
                                   1-327-1
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                                              04/30/21
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                                      1270




            you were not enrolled in the OCIP. Since this cost is included in your Contract Price, Prism
            Construction management will issue a credit change order to deduct this from your contract
            price.

        4) Change orders: All change orders shall be priced to INCLUDE the cost of your insurance. If your
           general liability is rated on payroll you will also be required to identify your payroll associated
           with the changed work. Insurance Cost adjustments to your contract price associated with
           change orders will be reconciled by Prism Construction Management at close out of your
           contract. The adjustments will be based on your changes in exposure due to change orders and
           the rating information provided with your Form 2 GL.

        5) Form 3GL Payrolls will be collected from all subs whose GL cost is based on their payroll
           exposure. TS1B will capture this information and follow up with the contractors for any missing
           data. The payroll data will be used in conjunction with change order payroll data to determine
           the contractors final credit owed for participation in the OCIP.

        6) Contact Information:

       Forms and OCIP Insurance Manual are available on the Prism Partners Website:
                                 W1ATW Prismpartners.net
                (Please contact Prism Partner for a Username & Password)

                                      Please send all the Forms to the:
                    Turner Surety and Insurance Brokerage Wrap-Up Service (TSIB)
                                  Email: SmartwrapOtsibinc.com
                                          Fax: 1-203-666-4352
                                         Mail: 35 Nutmeg Drive, Suite 300
                                             Trumbull, CT 06611

                                      For assistance please contact TSIB:

           Service Center Quality Assurance Specialist               Regional Wrap-Up Manager
           Eva Hobson                                                Denise Bianchi
           Email: hobsonPtsibinccom                                  Email: dbianchiPtsibinc.com
           Direct Phone: (203) 283-2007                              Direct Phone: (201) 574-3885
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                              EXHIBIT D-31271
EXHIBIT                    - SAMPLE ENROLLED PARTY Contractor Certificate of Insurance
                                                                                                                                                                                                DATE (MMIDDIYYYY)

                              CERTIFICATE OF LIABILITY INSURANCE
THIS CERTIFICATE IS ISSUED AS A MATTER OF INFORMATION ONLY AND CONFERS NO RIGHTS UPON THE CERTIFICATE HOLDER. THIS CERTIFICATE DOES
NOT AFFIRMATIVELY OR NEGATIVELY AMEND, EXTEND OR ALTER THE COVERAGE AFFORDED BY THE POLICIES BELOW. THIS CERTIFICATE OF INSURANCE
DOES NOT CONSTITUTE A CONTRACT BETWEEN THE ISSUING INSURER(S), AUTHORIZED REPRESENTATIVE OR PRODUCER, AND THE CERTIFICATE HOLDER.
IMPORTANT: If the certificate holder is an ADDITIONAL INSURED, the policy(ies) must be endorsed. If SUBROGATION IS WAIVED, subject to the
terms and conditions of the policy, certain policies may require an endorsement. A statement on this certificate does not confer rights to the
certificate holder in lieu of such endorsement(s).
PRODUCER                                                                                                              CONTACT
                                                                                                                      NAME:
                                                                                                                      PHONE                                                              FAX
Insurance Agency's/Brokerage's Name                                                                                   fAJC, No, EA:                                                       AIC, No):
                                                                                                                      E-MAIL
And Address                                                                                                           ADDRESS:
                                                                                                                      PRODUCER
                                                                                                                      CUSTOMER ID #:

                                                                                                                                        INSUOER(St T.FECADING COVET:AG)                                           NAIL #
INSURED
                                                                                                                      INSURER A:

Contractor's Name and Address                                                                                         INSURER B:

                                                                                                                      INSUF,FR C:
Sample Certificate for Enrolled Parties
                                                                                                                      INSURER D:
Required Insurance
                                                                                                                       Imv IRER 7:
                                                                                                                      ....—.........-----
COVERAGES                                                                     CERTIFICATE NUMBErt:                                                                  REVISION NUMBER:
THIS IS TO CERTIFY THAT THE POLICIES OF INSURANCE LISTED BELOW HAVE REEN ISSUED TO THE INSURED NAMED ABOVE FOR THE POLICY PERIOD INDICATED.
NOTWITHSTANDING ANY REQUIREMENT, TERM OR CONDITION OF ANY COWRAC..T OR OTHER DOCUMENT WITH RESPECT TO WHICH THIS CERTIFICATE MAY BE
ISSUED OR MAY PERTAIN, THE INSURANCE AFFORDED BY THE POLICIES DESCRIBED HEr<EIN IS SUBJECT TO ALL THE TERMS, EXCLUSIONS AND CONDITIONS OF
SUCH POLICIES. LIMITS SHOWN MAY HAVE BEEN REDUCED BY PAID CL4IMS.
INSR                                                                                     ADM -         Li,-., t   PCLICY     POLICY EFF           POLICY EXP
 LTR                                 TYPE OF INSURANCE                                   INSD          WVO        NUME:91..HMMIDDIVYYY)          (MMIDDIYYYY)                              LIMITS
            X       COMMERCIAL GENERAL LIABILITY

                          CLAIMS-MADE
                                                          -

                                                                  X           OCCUR
                                                                                                        7                                                       EACH OCCURRENCE
                                                                                                                                                                DAMAGE TO RENTED
                                                                                                                                                                                                           $1.000,000

                                                                                                                                                                                                           $50,000
                                                                                                                                                                PREMISES (Ea occurrence)
                                                                                                                                                                MED EXP (Any one person)                   $5,000
                                                                                           •                       Policy
                                                                                      • ''. • X    i    X                                                       PERSONAL & ADV INJURY                      84=000
                                                                                                                  Number
        -           GEN'L AGGREGATE LIMIT APPLIES PER:                                                                                                          GENERAL AGGREGATE                          $2,000,000

                    POLICY                     X    PROJECT   n   ___
                                                                              LOC                                                                               PRODUCTS - COMP/OP AGO                     $2,000,000
                    OTHER
                                                              —         ...
                                                                                                                                                                COMBINED SINGLE LIMIT (Ea
            AUTOMOBILE LIABILITY
                                                                                                                                                                accident)                                  $1,000,000

            X       ANY AUTO                                                                                                                                    BODILY INJURY (Per person)
                                                   I ..                                                            Policy
            X       ALL OWNED AUTOS        I       I SCHEVLED AUTOS                            X        X                                                       BODILY INJURY (Per accident)
                                                                                                                  Number
            x       HIRED AUTOS            [1(, NON-OWNFn AUTOS                                                                                                 PROPERTY DAMAGE (Per
                                                                                                                                                                Acident)

                '                                                     ...
                                              -                                                                                                                                                            $5,000,000
       ✓ X          UMBRELLA LIAB         7.- =UR                                                                                                               EACH OCCURRENCE
                    EXCESS LIAB                     CLAIMS-MADE                                                                                                 AGGREGATE                                  $5,000,000
                                                                                                                   Policy
                                                                                               X        X
                    QED              RETENTION $                                                                  Number                                        PRODUCTS -COMP/OP AGG



            WORKERS COMPENSATION                                                                                                                                                             OTH-
            AND EMPLOYERS' LIABILITY                          YIN                                                                                               x     PER STATUTE          x ER
            ANY PROPRIETOR/PARTNER/EXECUTIVE                                                                                                                    E.L. EACH ACCIDENT                         $1.000,000
            OFFICER/MEMBER EXCLUDED?                                                     N/A                       Policy
                                                                  N                                     X
            (Mandatory in NH)                                                                                     Number                                        E.L. DISEASE EACH EMPLOYEE                 $T.000,000
            If yes, describe under
            DESCRIPTION OF OPERATIONS below                                                                                                                     E.L. DISEASE POLICY LIMIT                  $1.000,000
                                                                                                                                            ""                  Limit equal to Pull Coverage of Subcontractor's owned or rented
            OTHER: EQUIPMENT FLOATER                                                                               Policy                                       machinery, equipment, tools. & temporary structures not
                                                                                                                  Number                                        designed to become a permanent part of the Work
DESCRIPTION OF OPERATIONS ! LOCATIONS I VEHICLES (Attach Addlional Remarks Schedule if more space is required): RE: Work performed at the Project: Wonder Lofts Owner,
LLC. Additional Insureds are on a Primary and Non-contributing basis on the General Liability (ISO endorsement CG 20 10 11 85 or its equivalent), Automobile and Excess/Umbrella Liability
Policies, Waiver of Subrogation in favor of Certificate Holders applies to all policies, GL coverage apply off-site.

ADDITIONAL INSURED: Wonder Lofts Owner, LLC, Wonder Lofts Parent, LLC, Prism Capital Partners, LLC, Prism Property Services, LLC, Prism Construction Management, LLC, Prism Wonder Lofts
Construction, LLC, Prism Wonder Lofts Owner, LLC, AG-Prism Wonder Lofts, LLC, WL Owner, LLC (NJ), Wonder Lofts Manager, Inc., AG Funds Wonder Lofts Member, LLC, AG Realty IX Investments (H-1),
LP„ AG Realty Fund IX, L.P., AG Realty Fund IX (A), L.P., AGR IX LLC, Wonder Lofts, LLC, Parkwood Development, LLC, Prism Capital Services, LLC, Bank 02K ISAOA ATIMA

CERTIFICATE HOLDER                                                                                                          CANCELLATION
CERTIFICATE HOLDER
                                                                                                                        SHOULD ANY OF THE ABOVE DESCRIBED POLICIES BE CANCELLED BEFORE THE
c/o Turner Surety and Insurance Brokerage, Inc.
                                                                                                                        EXPIRATION DATE THEREOF, NOTICE WILL BE DELIVERED IN ACCORDANCE WITH
35 Nutmeg Drive, Suite 300
                                                                                                                        THE POLICY PROVISIONS.
Trumbull, CT 06611
Attention: Eva Hobson                                                                                                   AUTHORIZED REPRESENTATIVE


ACORD 25 (2014/01)                                                                                                             @ 1988-2014 ACORD CORPORATION. All rights reserved.


       Sponsor Name OCIP Insurance Manual Version 11/16/2018                                                                                                                            33
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                                     ATTACHMENT E
               SUPPLEMENTARY GENERAL CONDITIONS FOR BUILDINGS OWNED BY PRISM
      1. If any of the Work to be performed by Trade Contractor is in or adjacent to a building occupied
         by tenants, the convenience and comfort of the tenants shall take priority over the construction
         operations. While some tenant inconvenience is anticipated, Trade Contractor shall be
         considerate of the tenants in all cases, as more specifically set forth below.

      2. The loading of materials, tools, etc., in common areas, such as the lobby, shall be performed
         cleanly, quietly, and inconspicuously.

      3. Any core drilling, impact fastening, or work in an existing tenant's ceiling plenum shall be
         performed after working hours, when possible. If such operations are attempted during
         regular working hours, and a tenant complaint is registered, the Work shall cease immediately
         and be rescheduled for a time, which is more convenient to the tenant.

      4. Finished areas of the building must be protected and restored to good condition when affected
         by Trade Contractor's construction activity. Clean-up shall be performed on a daily basis, and
         Trade Contractor shall be backcharged if Construction Manager performs the clean -up.

      5. Trade Contractor is responsible for the conduct and attitude of its employees.

      6. Due to the constraints imposed by working in an occupied building, Trade Contractor shall
         perform the Work in a diligent, expeditious fashion, such that working operations shall not be
         prolonged for an unacceptable length of time.

      7. Trade Contractor shall direct its employees to park in an area designated by Construction
         Manager after unloading materials, etc., and Trade Contractor shall not leave vehicles in
         unloading zones or visitor parking areas.

      8. Building's dumpster shall NOT be used to dispose of construction debris.

      9. Key(s) (and all copies thereof) issued or loaned to Trade Contractor for the purpose of locking
         and/or unlocking any part or portion of the Project's site are to be safeguarded at all times and
         returned to the party issuing said key(s) immediately upon demand by said issuing party.

     10. Special working hours (ie, nights, weekends, etc.) shall be arranged in advance with
         Construction Manager.

     11. Trade Contractor shall be CONSCIOUS of other building tenants with regard to noise, debris,
         and disruptions.

     12. Elevator walls and floors shall be protected prior to construction materials being delivered.

     13. Trade Contractor shall protect hallway walls, doors, etc., when delivering materials.

     14. Trade Contractor shall only use designated areas for ingress and egress of construction
         personnel and materials.

     15. . Entry doors shall be properly held open.

     16. Trade Contractor shall NOT use cleaning service's vacuums, etc.




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                                    ATTACHMENT E
              SUPPLEMENTARY GENERAL CONDITIONS FOR BUILDINGS OWNED BY PRISM
     17. Slop sinks may be available by arrangement with Construction Manager. Trade Contractor
         shall NOT use lavatory sinks to wash/clean contracting materials.

     18. Suite doors to lobbies shall be kept closed during construction.

     19. Materials and tools shall not be stored in hallways.

     20. All mechanical and electrical rooms shall be locked at 4:00 PM unless prior arrangements have
         been made.

     21. Any questions arising throughout the day shall be directed to Construction Manager.

     22. Any construction activity that shall take place in a tenant-occupied area shall be pre-arranged
         and scheduled through Construction Manager.

     23. The shut down of any mechanical equipment shall be pre-arranged with Construction
         Manager.

     24. A designated lavatory for Trade Contractor's employees shall be identified by Construction
         Manager and scheduled through same.

     25. The main lobby shall not be used for ingress/egress by Trade Contractor's employees.

     26. Trade Contractor shall be responsible for the appropriate attire of its employees (ie, without
         limitation, no cutoff jeans, shorts and/or sleeveless T-shirts, in a tenant occupied building.




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                                         ATTACHMENT F
                         SUPPLEMENT TO TRADE CONTRACT CONCERNING SAFETY


     PROJECT:                               Wonder Lofts
                                            Clinton Street, Hoboken, NJ


       IN THE EVENT OF ANY INCONSISTENCIES BETWEEN THE ATTACHMENT F AND THE CONTRACT TO
       WHICH THE ATTACHMENT F IS ATTACHED, THEN, THE TERMS OF THE CONTRACT SHALL GOVERN,
                                      PREVAIL AND CONTROL.

     The Trade Contract or is hereby notified that it is the policy of Contractor to provide a safe and healthful
     work environment. The Trade Contractor's signature below indicates acceptance of and agreement to the
     following:

         A.    Adhere to the Safety and Health Policy Statement, which follows as part of
               Attachment F.

         B.    Adhere to the full Project Safety Manual, which is available for review at the Prism
               Construction Management, LLC offices and at the jobsite.

         C.    Adhere to the Contractors Safety Handbook, which follows as part of Attachment
               F.

        D.     Acknowledgment and Acceptance of Safety and Health Enforcement Practices
               (Attachment F-1) by Prism Construction Management, LLC (for completion and
               signature)

         E.    Adhere to the Personal Protective Equipment Safety Guideline that all trade
               contractors and their employees and visitors wear hard hats and Safety glasses
               at all times (Attachment F, page F-5).

         F.    All Trade Contractors and their on site employees are required to attend the
               Prism Construction Management, LLC's job site safety orientation (Attachment
               F. page 3).

        G.     All Trade Contractors are required to provide a copy of the job specific Hazard
               Communication (MSDS, Material Safety Data Sheets) binder to the project site
               superintendent. This information is required before any contractor can start work.

        H.     All Trade Contractors understand that fines of $1,000.00 and or removal from site
               will be the consequence for non-compliance with the project's safety
               requirements, at the sole discretion of Prism Wonder Lofts Construction, LLC or
               the Project Owner.




      Signature of Authorized Company Representative                                    Date




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                                       ATTACHMENT F
                       SUPPLEMENT TO TRADE CONTRACT CONCERNING SAFETY


     SAFETY AND HEALTH POLICY STATEMENT
     It is the policy of Prism Construction Management, LLC to provide a safe and healthful work
     environment for subcontractors' site workers at every level through the awareness
     and prevention of occupational injuries and illness.

     The objective of Prism Construction Management LLC's Build Safe is to eliminate work-related
     accidents (thereby injuries) and illness and to promote safety and health in every
     task undertaken by workers involved with projects managed by Prism Wonder
     Lofts Construction, LLC. To this end, Prism Construction Management, LLC's Build Safe will
     include:
     A.    Implementation of a Trade Contractor safety committee for overseeing all aspects of
           safety and health activities at each project.

     B.   Implementation of a program for conducting routine safety and health inspections to
          identify and eliminate unsafe working conditions or practices and control health hazards.

    C.    A comprehensive list of safety and health training requirements for all contractors and
          subcontractors' personnel.

    D.    Provisions for the use of personal protective equipment by contracted employees as
          identified by their respective job task requirements.

     E.   Provisions for mechanical and physical safeguards to the maximum extent possible.

     F.   Trade Contractor safety and health policies, requiring every site worker of the various
          companies to comply with these policies as a condition of their contract.

    G.    Provisions for a thorough and prompt investigation of every accident to determine its
          cause, correct the problem and reduce the likelihood of it happening again.

    H.    Trade Contractor shall implement a safety incentive program for promoting safety and
          health, encouraging the active participation of all site workers and acknowledging through
          rewards individuals whose safety record exemplifies the standards set forth in this
          program. Trade Contractors shall provide a copy of their safety incentive program to
          Prism Construction Management, LLC upon request.




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     CONTRACTOR'S SAFETY HANDBOOK

     Introduction
     Prism Wonder Lofts Construction, LLC is committed to providing a work environment which
     promotes the health, safety and well-being of employees of our company and those of our
     Trade Contractors. To this end, sound safety practices are the responsibility of every site
     worker working on this project.

     This Safety Handbook outlines the rules and regulations that the employees of Trade
     Contractors must adhere to at all times. Prism Wonder Lofts Construction, LLC does not permit
     nor tolerate unsafe working conditions or practices that might compromise the safety of
     employees, visitors or property.

     It is the responsibility of Trade Contractors and their employees to read this handbook and
     familiarize themselves with the rules and regulations as they apply to the work to be performed
     on this project.

     Site Safety Orientation- It is the responsibility of Trade Contractors and their employees
     to attend the Prism Wonder Lofts Construction Site Safety Orientation. The site
     Superintendent with the support of Prism Wonder Lofts Construction will provide this on
     site training. A form will be signed by each worker to verify the training and a Prism Site
     Safety sticker will be placed on their helmet to show their attendance. The orientation
     provides an overview of the site safety requirements and pertinent OSHA regulations to
     all contractors personnel prior to entry onto our sites.

     Rules of Conduct
     •   Never bring alcoholic beverages, illegal drugs, explosives, guns, knives, ammunition or
         other weapons on the project site.

     •   Comply with all posted notices at all times.

         Always wear protective equipment such as hard hats, safety goggles, gloves or respirators
         if required by the job you are performing.

     •   Never work alone in a hazardous area. Always employ the buddy system.

    Compliance
     •   Trade Contractors must have in place, prior to beginning work on this project, OSHA-
         required and other regulatory agency required written programs as dictated by the work
         they are to perform on this project. Copies of said programs shall be forwarded to Prism
         Wonder Lofts Construction, LLC Project Safety Coordinator upon request.

     •   Trade Contractors shall ensure that their site workers comply with policies and procedures
         outlined in their written programs as well as with the policies and procedures set forth in
         Prism Wonder Lofts Construction, LLC's BuildSafe.

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     Housekeeping
     •   Trade Contractors shall ensure that all aisles and work areas are kept clear of obstructions.
     •   Trade Contractors shall remove or bend all protruding nails.
     •   Trade Contractors shall keep all emergency equipment readily available for use.
         Emergency equipment includes fire extinguishers, SCBA's, blankets, first aid supplies,
         emergency eyewash stations, stairways, fixed ladders and the like.
     •   Trade Contractors shall ensure that all broken glass is swept and discarded in designated
         containers as soon as the breakage occurs.
     •   Trade Contractors shall always store materials, equipment and tools in their designated
         storage areas.
     •   Trade Contractors shall ensure that materials, tools or equipment are never stored in
         stairwells or beneath stairways.
     •   Trade Contractors shall ensure that all scrap, metal, and trash is removed from the site at
         the end of each shift.
     •   Trade Contractors shall ensure that all secondary containers under their control are labeled.

     Fire Safety
     •   Trade Contractors shall ensure that all emergency equipment be inspected on a monthly
         basis.
     •   Trade Contractors shall ensure that site workers have been trained in the selection, use and
         inspection of fire extinguishers including fire classifications.
     •   Trade Contractors shall ensure site workers have been trained in project site evacuation
         and reassembly procedures.
     •   Trade Contractors shall ensure that site workers have been familiarized with Prism Wonder
         Lofts Construction, LLC's Emergency Fire Protection and Prevention Plan.
     •   Trade Contractors shall ensure that they have posted emergency numbers and evacuation
         routes throughout their work area.
     •   Trade Contractors shall ensure that fire extinguishers are kept charged and are inspected
         on a monthly basis by on-site personnel, and annually by an outside source.

     Hazard Communication
     •   Trade Contractors shall ensure that a list of all chemicals brought on site have been
         identified and listed on the form located in Section 7.4 of Prism Wonder Lofts Construction,
         LLC's BuildSafe.


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     •   Trade Contractors shall ensure that a copy of all MSDS's have been forwarded to Prism
         Wonder Lofts Construction, LLC's Project Safety Coordinator for insertion into the Project
         MSDS Control Book.
     •   Trade Contractors shall ensure that site workers maintain a list of all approved chemicals in
         their tool boxes.
     •   Trade Contractors shall ensure that they maintain an MSDS binder with copies of all of their
         MSDS's.
     •   Trade Contractors shall ensure that they compile a list of non-routine tasks that may be
         performed by site workers and submit a copy of this list to Prism Wonder Lofts
         Construction, LLC.
     •   Trade Contractors shall ensure that they adopt Prism Wonder Lofts Construction, LLC's
         Hazard Communication Program or provide a copy of their own program to be maintained
         on the project site for the duration of the project.
     •   Trade Contractors shall ensure that if they do not adopt the NFPA labeling system, they will
         forward a description of their labeling requirements to Prism Wonder Lofts Construction,
         LLC's Project Safety Coordinator.

     Warning Signs
     •   Trade Contractors are required to comply with all warning signs.

     Protective Clothing and Equipment
     It is the responsibility of Trade Contractors to provide their employees with Personal Protective
     Clothing and Equipment as dictated by the job to be performed. Employees are required to
     wear personal protective equipment and clothing required by the job to be performed.

         Hard Hat Requirement
         It is mandatory that all Contractors and their employees wear hard hats on all Prism
         Wonder Lofts Construction, LLC's sites. It is the responsibility of all Trade
         Contractors to provide their employees with helmets and that they are worn at all
         times. Workers are not permitted on Prism Wonder Lofts Construction, LLC's sites
         without this equipment. Protective hats shall be in accordance with the provisions of
         ANSI Z89.31971 Industrial Protective Helmets for Electrical Workers, Class B, and
         shall be worn at the jobsite by employees who are exposed to the hazards of falling
         objects, electric shock, or burns.

         Eye Protection
         It is the responsibility of Trade Contractors to provide their employees with eye
         protection. All workers and visitors are required to wear eye protection that will
         comply with ANSI Z87.1-1989.


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     Hearing Protection
     Hearing protection is required in all posted areas and whenever noise levels exceed 85
     decibels. It is the responsibility of Trade Contractors to provide their employees with hearing
     protection as required.

     Safety Shoes
     Trade Contractors shall ensure that sturdy shoes are worn by all project personnel. Whenever
     there is the potential for injury to toes, safety shoes with toe protection are required.

     Chemical Protective, Chemical Resistant Suits and Rubber Boots
     It is the responsibility of Trade Contractors to provide employees with the necessary protective
     suits, gloves and boots whenever their job requires the handling of chemicals or hazardous
     materials.

     Overhead Work
     Prior to performing any overhead work that requires the use of a ladder, Trade Contractors are
     required to barricade the area, and evacuate the area of all non-essential personnel. Note:
     Prior to barricading an area that restricts aisles or access routes, be sure to provide for
     alternate routes or ensure that the area has been vacated.

     Ladders
     •   Prior to using ladders, Trade Contractors are required to inspect them for defects such as
         broken or loose steps or rungs, cracks or weak side rails, frayed rope on extension ladders,
         and damaged feet on extension ladders.
     •   Prior to using an extension ladders, Trade Contractors are required to secure them from
         slipping, shifting or other potential hazards.
     •   Prior to using step ladders, Trade Contractors are required to prevent them from slipping,
         shifting or other potential hazards.

     •   Trade Contractors are prohibited from separating extension ladders.
     •   Trade Contractors are required to extend ladders a minimum of 36 inches (3 rungs) above
         the level to be reached. If this cannot be accomplished, Trade Contractors shall ensure that
         a grab rail is accessible.
     •   Trade Contractors are prohibited from using stepladders as straight ladders.
     •   Trade Contractors are required to secure unopened ladders, left leaning against a wall, to
         keep from falling.
     •   Trade Contractors shall ensure that site workers always face the ladder when climbing up or
         down.



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     •   Trade Contractors shall ensure that all materials are hoisted or lowered in a safe manner to
         prevent dropping.

     Floor Openings and Stairs
     •   It is the responsibility of Trade Contractors to ensure that all floor openings are guarded with
         barriers on all exposed sides.
     •   Trade Contractors shall ensure that temporary hatchways and floor openings are guarded
         by a hinged cover or a removable standard railing with toe board on no more than two
         sides.
     •   Trade Contractors shall ensure that all stairs with four or more risers be equipped with
         handrails approximately 34 inches from the tread.
     •   Trade Contractors shall ensure that stairs intended for two-way passage be a minimum of
         44 inches wide with maximum 12 feet height between landings.

     Scaffolds
     •   Trade Contractors shall always inspect upright scaffolds to ensure they are plumb, secure
         and have firm footing.
     •   Trade Contractors shall always secure stationary upright scaffolds to a building or other
         structure.
     •   Trade Contractors shall ensure that all portable maintenance staging be outfitted with
         outriggers.
     •   Trade Contractors shall ensure that scaffold planks or platforms be designed to hold a
         minimum of four times the weight they are intended to hold.
     •   Trade Contractors shall ensure that platform planks be overlapped by a minimum of twelve
         inches or secured.
     •   Trade Contractors shall always provide for safe access to work platforms.

         Trade Contractors shall ensure that scaffolds less than 45 inches wide and more than 4 feet
         above the ground be equipped with guardrails.
    •    Trade Contractors shall ensure that scaffolds more than 8 feet above ground be equipped
         with guardrails and toe boards on all open sides and ends.
    •    Trade Contractors are required to provide safety harnesses for all work performed on
         swinging or portable scaffolds and on all scaffolds 8 feet above ground level.
    •    Trade Contractors shall ensure that all swinging scaffolds are anchored and suspension
         ropes be designed to hold a minimum of 6 times the weight intended to hold.



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     •   Trade Contractors are required to provide guardrails, intermediate rails and toe boards on
         all open sides of scaffolds ten feet above ground level.
     •   Trade Contractors shall ensure that strong, secure locations are selected as anchors for
         suspension ropes and lifelines.
     •   Trade Contractors are required to provide safety harnesses whenever employees are
         suspended from lifelines that are anchored independently.

     Compressed Air, Compressed Nitrogen or Other Gases
     •   Eye protection is required for all work performed using compressed air. It is the
         responsibility of Trade Contractors to provide their employees with eye protection.
     •   Trade Contractors when using compressed air for cleaning purposes shall do so only when
         employing the safest work practices.
         Trade Contractors are required to always direct air stream away from face or other
         individuals.
     •   Trade Contractors shall ensure that pressure relief valves on air gun nozzles are never
         blocked.

     Compressed Gas Cylinders
     •   Employees of Trade Contractors are required to immediately report cylinder leaks, to their
         Manager/Supervisor/Foreman, and are prohibited from moving leaking cyli€nders.
     •   Trade Contractors shall ensure that compressed gas cylinders are always maintained in an
         upright position and secured by strap, chain bar or other rigid retaining device.
     •   Trade Contractors shall ensure that compressed gas cylinders are kept free from rust and
         leaks.
     •   Cylinders are outfitted with regulators to reduce compressed gases to safe operating levels.
         Trade Contractors shall ensure that regulators are marked for only one type of gas cylinder
         and will be used for that purpose only.
     •   Trade Contractors shall ensure that all cylinders are permanently labeled in accordance with
         American National Standards Institute (ANSI) to identify the type of gas in the cylinder.
     •   Trade Contractors shall ensure that cylinders are stored in a safe manner in their
         designated storage area only.
     •   Trade Contractors shall ensure that grease or oil is never used to lubricate the valve or
         joints of compressed gas cylinders. Oxygen and oil react violently under pressure. Using
         grease to lubricate an oxygen valve can result in an explosion.
         Trade Contractors shall ensure that oxygen and acetylene cylinders are stored a minimum
         of 20 feet apart in an upright position only.


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     •   Trade Contractors shall ensure that cylinder valves are closed tightly when not in use as
         well as at the end of each work day, and that protective caps are placed on cylinders when
         not in use.

         Trade Contractors shall ensure that prior to moving cylinders, regulators are removed and
         caps are securely fastened.

     •   Trade Contractors shall ensure that cylinders are not subjected to dropping, bumping or to
         atmospheres or cylinder temperatures exceeding 130 degrees.

     Hand and Power Tools
     •   Trade Contractors shall ensure that they have familiarized themselves with Prism Wonder
         Lofts Construction, LI_C's general safety policies set forth in Section 9.1 of the BuildSafe.

         Trade Contractors shall ensure that hand and power tools are inspected prior to use to
         ensure safe operating condition.

     4   Prior to using hand or power tools, Trade Contractors shall ensure that their employees
         have received proper training for safe operation. Certification of training shall be provided
         to Prism Wonder Lofts Construction, LLC upon request.

     •   Trade Contractors shall ensure that tools are not over strained to accomplish work they are
         not intended for.

     •   Trade Contractors shall ensure that tools are not left on stepladders, scaffolds, stairs or any
         place where they may become dislodged and fall.

     •   Trade Contractors shall ensure that only non-sparking tools be used in areas where
         flammables are handled or where sparks could create an explosion.

         Trade Contractors shall ensure that pneumatic or air-powered tools are handled with care
         and that air hoses are turned off when not in use.

     •   When operating a jack-hammer, hearing protection and metal toe guards are required. It is
         the responsibility of Trade Contractors to provide their employees with protective
         equipment.

     •   Trade Contractors shall ensure that all pneumatic impact (percussion) tools be outfitted with
         safety clips or retainers to prevent attachments from being ejected.

    Grinding
    •    Trade Contractors are required to provide their employees with goggles prior to their
         performing grinding, buffing or working with wire brushes.

    •    Trade Contractors are required to provide their employees with face shields whenever the
         potential for flying objects presents itself.



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     •   Trade Contractors shall ensure that grinding wheels or buffers be equipped with safety
         guards prior to operation.

     Smoking and Using Open Flames
     Trade Contractors shall ensure that smoking policies are adhered to and that employees never
     smoke or use open flames in areas where flammable liquids, gases or highly combustible
     materials are stored, handled, or processed.

     Gas Heaters, Burning, Welding, Cutting or Grinding
     •   It is the responsibility of Trade Contractors to ensure that they familiarized themselves with
         the policies set forth in Section 10.1 of Prism Wonder Lofts Construction, LLC's BuildSafe
         entitled Welding, Cutting and Brazing.
     •   it is the responsibility of Trade Contractors to provide their employees with adequate
         training prior to their use of open-flame or spark-producing equipment for the purpose of
         burning, soldering, cutting, grinding or prior to operating gas heaters or salamanders.
         Certification of training shall be provided to Prism Wonder Lofts Construction, LLC upon
         request.
     •   Whenever burning, welding, cutting or grinding operations are performed in and around
         combustible materials, Trade Contractors must first ensure that a fire watch be assigned
         and maintained for a period of one-half hour upon completion of the job.
     •   Prior to welding or cutting operations, Trade Contractors shall ensure that the immediate
         area is wetted down.
     •   Trade Contractors shall ensure that a fire watch is provided on both sides of the roof or wall
         prior to cutting through or welding an existing roof or wall.
    •    Trade Contractors are required to provide welding shields or screens whenever employees
         may be exposed to flash burns, and they shall ensure that this protective equipment is worn
         by employees.
    •    It is the responsibility of Trade Contractors to provide their employees with fire extinguisher
         training including the proper selection and use of fire extinguishers prior to engaging in any
         operation utilizing equipment that produces open flames or sparks. Certification of training
         shall be provided to Prism Wonder Lofts Construction, LLC upon request.

    Mobile Cranes
    •    Trade Contractors shall ensure that proper clearance from overhead electrical power lines
         be maintained prior to operating cranes, derricks, power shovels or similar equipment.
    •    Trade Contractors engaged in crane operations shall ensure that all cranes are certified
         annually. , Copies of certification shall be forwarded to Prism Wonder Lofts
         Construction, LLC upon request.


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     •   Trade Contractors shall ensure that all backhoes and other excavating equipment are
         certified annually whenever this equipment is used as a crane. Copies of certification shall
         be forwarded to Prism Wonder Lofts Construction, LLC upon request.
     •   Trade Contractors shall ensure that loads are not lifted over the front area of a truck-
         mounted crane unless approval is granted by the manufacturer of the crane.

     Excavations and Trenching
     •   Prior to the start of any excavation, Trade Contractors are responsible for identifying the
         location of all underground utilities by calling DIGSAFE (1-800-272-1000), the utility
         companies or other appropriate agency.
     •   Trade Contractors are required to brace or slope holes, when 5 feet deep or more, to
         prevent cave-ins.
     •   Trade Contractors are required to use additional bracing whenever excavations are subject
         to vibration from vehicles or machinery.
     •   Whenever working in trenches more than 4 feet deep, Trade Contractors are required to
         provide for exiting via ladders or steps.
     •   Whenever excavating in or around a structure, Trade Contractors are required to exercise
         caution so as not to weaken the structure.
     •   Trade Contractors are required to barricade and restrict access to excavations.
     •   Trade Contractors are required to use warning lights, outdoors, by excavation and trenches,
     •   Trade Contractors shall ensure that whenever walkways are installed over open trenches,
         the walkways will be strong enough to handle pedestrian traffic, and will be equipped with
         guardrails on both sides which are bevelled to the ground on both ends.

     Safety Harnesses
     •   OSHA and ANSI standards are being revised and may change in the near future. Trade
         Contractor shall strictly abide by all of said revisions and changes.
     •   Trade Contractors shall ensure that employees performing confined space entry are
         provided with and required to wear safety harnesses with 0 rings.
     •   Trade Contractors are required to provide safety harnesses with a minimum of 1/2 inch
         diameter nylon lanyard. Safety harnesses must have a suitable means for adjustment and
         a minimum breaking strength of 5,400 pounds.
     •   Trade Contractors shall ensure that safety harnesses are inspected for damage or worn
         parts prior to each use.




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     •   Trade Contractors are required to provide lifelines for all work performed on roofs within 10
         feet of an unprotected edge and shall ensure that an attendant be present under these
         circumstances. Whenever lifelines are impractical, a safety net must be used.

     Confined Spaces
     •   Prior to performing confined space entry work, Trade Contractors must provide Prism
         Wonder Lofts Construction, LLC with a copy of their Confined Space Safety Program.
     •   Prior to allowing entry into a confined space, Trade Contractors must first secure a permit to
         ensure the atmosphere is safe for entry.
     •   Trade Contractors shall ensure that their site workers have been trained to perform the
         confined space entry operations.
     •   Whenever required, Trade Contractors must provide for atmospheric testing.
     •   Trade Contractors must always use the entry-attendant system when entering confined
         spaces. Trade Contractors must ensure that their entry attendant never enters a confined
         space.
     •   Trade Contractors shall ensure that the entry attendant outside the confined space is
         responsible for maintaining constant verbal communication with his/her coworker inside the
         confined space.
     •   Trade Contractors shall provide a two-way radio or other communication device whenever
         access to a telephone is restricted.
     •   Trade Contractors shall ensure that confined spaces have positive ventilation prior to entry.

    Performing Electrical Work
     •   All electrical work regardless of the nature must be approved by Prism Wonder Lofts
         Construction, LLC or the project electrical Trade Contractor.

     •   Trade Contractors shall ensure that, prior to working on any system greater than 120
         volts, the system be totally de-energized, properly grounded out and tested dead.
    •    Trade Contractors shall ensure that "do not operate" tags are placed on all electrical
         switches or circuit breakers used to de-energize a system.
    •    Trade Contractors are required to make available lockout devices for placement on energy
         isolating devices to hold them in a safe position.
    •    Trade Contractors shall ensure that employees never remove covers or panels from any
         compartment in which there are exposed energized connections greater than 600 volts.

    •    Trade Contractors shall ensure that, prior to working on any system less than 600 volts,
         power is turned off to the maximum extent possible.

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     •   Trade Contractors shall ensure that the scope of work to be performed is approved by
         Prism Wonder Lofts Construction, LLC prior to beginning work.
     •   Trade Contractors shall ensure that only employees who are qualified electricians,
         journeymen or master electricians are permitted to perform electrical work.
     •   Trade Contractors shall ensure that only qualified authorized personnel be allowed in the
         work area.
     •   Trade Contractors are required to barricade the area prior to work commencing.
     •   Trade Contractors are required to provide their employees with safety glasses for all
         electrical work.
     •   Trade Contractors shall ensure that only proper tools that are in good repair are used.
     •   Trade Contractors shall ensure that Prism Wonder Lofts Construction, LLC be notified of
         any changes to the sequence of work prior to implementing the change.
     •   When working in high-voltage rooms, Trade Contractors shall ensure that aisles with
         switches and controls be kept free from tools and equipment at all times.
     •   Trade Contractors are required to provide proper protective equipment and clothing and
         ensure its use by employees working on electrical equipment. Such equipment and clothing
         may include:
          — Rubber Gloves                 — Rubber Blankets           — Safety Glasses
          — Glow Lamp Tester              — Grounding Sets            — Hot Sticks
          — Glow Tector                   — Tags and Lockouts         — High-Dielectric Safety Helmets

     Tarpaulins
     Trade Contractors shall ensure that tarpaulins be flame resistant (asbestos free) and in good
     condition.

     Salamanders
     •   Trade Contractors shall ensure that salamanders be positioned away from all combustible
         materials.
     •   Trade Contractors shall ensure that salamanders are equipped with overheating and tip-
         over protection devices.

     Combustible Trash
     Trade Contractors are required to remove all combustible trash from work areas and store it a
     safe distance from all buildings at the end of each workday.




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     Emergency Equipment
     Trade Contractors are required to label all emergency equipment and store it in a readily
     accessible location.

     Chemicals and Paints
     •   Trade Contractors shall ensure that all containers are properly labeled with the original
         manufacturer's label and includes the chemical name and its hazards.
     f   Trade Contractors shall ensure ₹hat employees take all precautions when handling
         chemicals and that they review the MSDS prior to handling chemicals.
     •   Trade Contractors shall ensure that all chemical waste or empty chemical containers are
         disposed of in accordance with the standards set forth in Prism Wonder Lofts Construction,
         LLC's BuildSafe.
     •   Contractor/Trade Contractor employees must report all chemical spills immediately to their
         Manager/Supervisor/Foreman. Contractor/Trade Contractor Manager/Supervisor/ Foreman
         must report all chemical spills to Prism Wonder Lofts Construction, LLC as soon as
         possible.

     Transporting Material and Equipment
     •   Prism Wonder Lofts Construction, LLC recommends that when carrying pipe or conduit in
         excess of ten feet in length, the services of two men is employed.
     •   Trade Contractors shall ensure that carts, tools, equipment or materials are never left
         unattended in aisles unless providing for a barricade.

    Motor Vehicle Requirements
    •    Trade Contractors are required to park vehicles in designated parking areas.
     •   Trade Contractors shall ensure that vehicles do not block exits, fire hydrants, walkways or
         emergency equipment.
    •    Trade Contractors shall ensure that speed limits are obeyed at all times.
     o   Trade Contractors are required to enforce the wearing of safety belts by employees
         whenever operating a company vehicle on the project premises.

    •    Trade Contractors shall ensure that all vehicles used on the project are equipped with
         emergency equipment.

    SITE SAFETY ENFORCEMENT PRACTICES




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     Policy Statement
     The Occupational Safety and Health Administration (OSHA) establishes minimum regulatory
     requirements under 29 CFR 1926 for the construction industry. Trade Contractor shall adhere
     to these standards during all construction activities, The Environmental Protection Agency
     (EPA) also establishes minimum environmental standards that have been adopted by every
     State in the country. It is the responsibility of every Trade Contractor to be knowledgeable of
     these regulations and know which regulations need to be followed based on the activities of
     their employees. Prism Wonder Lofts Construction provides Trade Contractor with
     guidance documents which are intended to provide compliance assistance and are not
     substitutes for the necessary regulatory knowledge and understanding that each Trade
     Contractor is responsible to have concerning their employees activities.

     Trade Contractor Accountability
     Included with this Contract is the Trade Contractor Project Information Form. This
     document must be filled out for each project and returned to Prism Wonder Lofts
     Construction. When these forms are returned, Prism Wonder Lofts Construction will send you
     the Prism Wonder Lofts Construction Project Information Form which will provide particular site
     specific safety information, about the project. Each Prism Wonder Lofts Construction Project
     Manager will maintain a copy of the Project Safety Manual for your review.

     Enforcement Practices
     As stated previously, each subcontractor is responsible for following the necessary safety and
     health practices specific to OSHA. Trade Contractor shall adhere to these standards. Trade
     Contractor may be requested to furnish written programs, training documentation and records
     as required by OSHA. In addition, subcontractor employees will be expected to comply with
     these requirements and you will be held accountable for their actions.

    Prism Wonder Lofts Construction Job Superintendent may report any violations to the Prism
    Wonder Lofts Construction Project Manager who will be required to take one of two options;
    issue a written warning to the subcontractor Project Manager/Supervisor, or issue a Violation
    Report to Prism Wonder Lofts Construction Corporate Offices where fines will be assessed
    based on frequency and severity. Non-Serious Violations (not an imminent threat to an
    employee(s) health and safety but a violation of OSHA standards or activities that resulted in
    the injury of an employee(s)) will carry a $100.00 fine. Repeat non-serious violations will be
    added to previous fines.

    Serious Violations (an imminent threat to the health and safety of an employee(s) or actions
    which have resulted in the injury of an employee(s)) will carry a fine of $500.00. Repeat
    violations of the same offense will be added to previous fines and may be grounds for dismissal
    from the project. All fines will be subtracted from monies owed to the Trade Contractor
    by Prism Wonder Lofts Construction, LLC.




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     It is sincerely hoped that this course of action is not necessary and we can all work together to
     provide a quality product as safely as possible. Any questions regarding this policy should be
     directed to Prism Wonder Lofts Construction 973-562-9580.




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                                  Prism Wonder Lofts Construction, LLC
                            TRADE CONTRACTOR PROJECT INFORMATION FORM


     Subcontractor Name:                                             Date:
     Address:                                                        Project Number:




     Project Manager Name:
     Telephone Number:


     Chemical List:
                     Product Name                                            Manufacturer
       1.
       2.
       3.
       4.
       5.
       6.
       7.
       8.
       9.
      10.




     ATTENTION:   Provide the Prism Wonder Lofts Construction Site Superintendent with the job specific MSDS
                  Binder, The Binder will be returned at the end of the project.




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                                          ATTACHMENT "G"
                               Performance and Productivity Information



     Provide all of the open items in the box below:

     Submittal Lead Time:
     Indicate the amount of time from notification to proceed, to prepare and furnish all of the required
     shop drawings, cut sheets, specification data sheets, samples, etc. Submit separate lead time
     information for each major component of the work.

     Material Lead Time:
     indicate the days/weeks for fabrication, shipping, and delivery of equipment and materials to the
     job site. Submit separate lead time information is to be submitted for each major component of the
     work.

    Installation Duration:
    Indicate the number of days/weeks that it will take to start and complete the work of each activity.

     Crew Size:
     Indicate the crew size for each specific project activity.

    Quantities:
    List the quantity of materials required for each work activity.

        ACTIVITY         SUBMITTAL        MATERIAL         INSTALL    CREW       QUANTITY       UNIT
                         LEAD TIME        LEAD TIME       DURATION     SIZE
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                                              ATTACHMENT H
                          PRISM CONSTRUCTION MANAGEMENT, LLC

                        GENERAL PROJECT REQUIREMENTS FOR TRADE
                                     CONTRACTORS

          CONTRACT ADMINISTRATION REQUIREMENTS

          A. Contract Documents
             The form of contract shall Wonder Lofts Owner LLC do Prism Construction Management, LLC
             (hereafter referred to as "Contractor") "Form of Trade Contract between Contractor and Trade
             Contractor". By submitting a bid, the trade contractor acknowledges receipt and review of the
             contract form and agrees to be bound by its terms and to satisfy all requirements of the contract
             and its attachments.

          B. Insurance
             Trade contractor shall satisfy the insurance requirements as described in Article 9 and Attachment
             "D"

          C. Invoicing
             All billings are to be in accordance with the "Invoicing Requirements" attachment to the contract,
             and are to be submitted on the forms provided.

    II.   COORDINATION REQUIREMENTS

          A. Design Clarifications
             Any design clarifications and/or supplemental information required to facilitate proper execution of
             the subcontract work are to be requested in writing by the trade contractor in a timely, expeditious,
             and specific manner so as to avoid delays to execution of the work.

          B. Layout
             All trade contractors are responsible for laying out their own work. Start of work by this Trade
             Contractor signifies acceptance of all work in place by others.

          C. Work Hours
             Normal jobsite work hours are 8:00 AM to 4:00 PM Monday through Friday.

          D. Overall Coordination
             Trade contractor shall coordinate its work with the work of all adjoining and interfacing trades.
             Trade contractor is obligated to review and understand the intent of all of the design documents,
             and shall maintain its own complete set of drawings at the jobsite for reference purposes. Any
             questions and clarifications (conflicts of available space, interface discrepancies, etc.) are to be
             requested well in advance of the execution of the work. Any work that proceeds without
             appropriate consideration and coordination of other trades is to be removed and/or modified as
             required at the trade contractor's expense.

          E. Delays
             Any delays to the progress schedule which are caused by a trade contractor's failure to perform or
             satisfy the contract requirements shall be the sole responsibility of that trade contractor, and any
             costs associated with the delays will be assigned to that trade contractor.

          F. Progress Meetings
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             All trade contractors shall attend and participate in the coordination and progress meetings as
             requested and required by Contractor. All contractors are required to have an approved
             representative of the company attend all meetings. The approved individual shall be empowered
             to represent the company and make decisions for the company. The approved individual must
             remain the same throughout the project unless otherwise requested or approved by Contractor.
             Failure to attend any meeting will be considered a delay to the project.

        G. Inspections, Permits, & Approvals
             Trade contractor shall cooperate and coordinate its work with all applicable inspectors and/or
             testing agencies. This includes local code officials and inspectors, and independent testing
             agencies. Trade contractor is responsible for obtaining its own inspections and approvals from
             authorities having jurisdiction. Trade contractor shall provide all necessary documentation relative
             to its work that may be required for permitting, approvals, or inspections. Permit fees will be paid
             by others.

        H. Material & Equipment Storage
             Storage of material and equipment at the site shall be permitted only to the extent approved in
             advance by Contractor. If anything so stored obstructs the progress of any portion of work, it shall
             be promptly removed or relocated by the subcontractor without reimbursement. Facilities for
             storage at the site will be limited and it shall be the subcontractor's responsibility to make
             whatever arrangements may be necessary to ensure proper material availability for maintenance
             of job progress. This includes items furnished by other contractors.

        1.   Trade Contractor Trailers
             The Trade Contractor shall place and relocate its trailers when and where directed by Contractor.
             The Trade Contractor is responsible for the acquisition, maintenance, and removal of all utilities
             and telephone services required for its trailers. All energy charges for same will be the Trade
             Contractors responsibility. The Trade Contractor shall be responsible to replace, at no cost to the
             project, any trailer determined to be in a condition unacceptable for the Project.

     III. MANPOWER AND EQUIPMENT REQUIREMENTS

        A. Field Supervision
             All subcontractors shall provide adequate field supervision.

        B. Tools & Equipment
             All trade contractors are responsible for providing all necessary tools, equipment, scaffolding, etc.
             required to execute the work. Trade contractors are responsible for reasonable safeguarding of
             their own tools, equipment, and materials.

       C. Labor
             All jobsite labor shall be competent and fully qualified to perform the work.

       D. Temporary Power
             Temporary power is to be 110 volt only provided between the hours of 8:00 AM to 4:00 PM
             weekdays. Any other voltage or times of operation will be at the Trade Contractor's expense. Any
             Trade Contractors working at the site prior to the establishment of temporary construction power
             are responsible for providing their own power at their own expense.

       E. Access To Jobsite
             Normal jobsite work hours are 8:00 AM to 4:00 PM Monday to Friday. Trade Contractor is
             responsible for any costs of standby trades should work be performed other than during normal
             working hours or on Saturdays, Sundays, and Holidays. All trade contractors shall keep their
             materials, equipment, workers, and representatives within the limits of the work area only, and
             shall access the site only from the construction entrances provided. Trade contractors are strictly
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                                            ATTACHMENT H
                                      GENERAL PROJECT REQUIREMENTS

            prohibited from accessing adjoining properties. All trade contractors shall comply. Violators will be
            subject to dismissal and banishment from the jobsite,

        F. Schedule
           Contractor shall establish the construction schedule and sequence, which will be updated and
           modified periodically. All trade contractors shall submit specific man-day and proposed crew size
           information for discrete work activities, as determined and requested by Contractor. Trade
           contractor shall supply adequate manpower and supervision, and expedite all materials and
           equipment as necessary, to meet the schedule requirements. All "float" belongs to Contractor.


     IV. PERFORMANCE REQUIREMENTS

        A. Daily Cleanup
           All trade contractors are responsible for clean up of their own work, and shall place their debris on
           a daily basis in dumpsters provided by Contractor. All Hazardous waste must be disposed of from
           the jobsite, by approved methods and personnel, at the expense of the Trade Contractor.

        B. Accessories
           All accessory and appurtenant items necessary for a complete installation of the trade contractor's
           work, and work "normal to the trade", are included in the subcontract price; whether or not such
           items are specifically noted on the contract documents.

        C. Safety
           All trade contractors are to comply with all applicable state and federal safety guidelines and
           regulations. All requirements of Attachment "F" to the contract, "Supplement to Trade Contract
           Concerning Safety', are to be fulfilled and strictly adhered to by the trade contractor.

        D. Existing Conditions
           Trade contractor has visited the site and familiarized himself to all existing conditions that may
           affect the work of this subcontract.

        E. Cutting & Patching
           All subcontractors are responsible for their own cutting, patching, core drilling, and fire stopping.

       F. Finishes
           Subcontractor is to clean and protect all finished surfaces and equipment that are to remain.
           Provide temporary protection of all surfaces installed by this subcontractor for the duration of the
           project. This Trade Contractor is responsible for protecting the work of others from damage due
           to this Trade Contractor's operations,

       G. Deliveries
           Subcontractors are solely responsible for ordering and accepting delivery of their own material.

       H. Workmanship
           All work is to be performed in a professional and workman-like manner.

    V. SUBMITTAL / SHOP DRAWING REQUIREMENTS

       A. Submittals
           All submittals are to be made by the trade contractor expeditiously upon contract award, and in a
           timely, complete, and coordinated manner, so as to avoid delays to material fabrication and
           execution of the work.
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                                           ATTACHMENT H
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        B. Design Clarification
           Any design clarifications and/or supplemental information required to facilitate proper execution of
           the subcontract work are to be requested in writing by the trade contractor in a timely, expeditious,
           and specific manner so as to avoid delays to execution of the work.

        C. Submittals
           Submittals are to be submitted to the Contractor as follows:
           1. Shop Drawings — Reproducible Transparencies and six (6) folded 8%" x 11" size) black line
              prints.
           2. Catalog Cuts, Brochures, etc. — six (6) copies for approvals, ten (10) copies for distribution.
           3. Samples — Four (4) each.

        D. Substitution Process
           1. Submission of request for substitution shall constitute a representation that the entity making
              the request:
               a. Has investigated the proposed product and determined that it is equal to or better than the
                  specified product.
               b. Will provide the same warranty for the proposed product as for the specified product.
               c. Will coordinate the installation and make other changes which may be required for the
                  work to be complete in all respects, including;
                    ➢   Re-design.
                    ➢   Additional components and capacity required by otherwork affected by the change.
                    ➢ Waives all claims for additional costs and time extensions which subsequently may
                      become apparent and which are caused by the change.
                    > Will reimburse the Owner for additional costs for evaluation of the substitution
                      request, redesign by the Architect if required, and re-approval by authorities having
                      jurisdiction if required,
               d. Substitutions will not be considered when acceptance would require substantial revision of
                  the contract documents.
               e. Substitutions will not be considered when they are indicated or implied on shop drawing or
                  product data Submittals without separate written request.
               f.   Substitution requests will not be considered when submitted directly by sub-
                    Subcontractor, supplier or vendor.
               g. Substitution Request Procedure: Submit written request with complete date sustaining
                  compliance of the proposed product with the requirements of the contract documents.
               h. Submit request within 15 days of the issuance of construction documents by Contractor.
               i.   Submit request to Contractor.
               j.   Submittal quantities must be in accordance with the requirements of Section 5.3.
               k. Submit request accompanied by the "Request for Substitution" form included in the
                  Project Manual.
           2. The Architect will determine acceptability of the proposed substitution.

       E. As-Builts
           Provide final as-builts, warranties, guarantees, part lists, owner manuals, maintenance guides,
           instruction manuals, user manuals, etc. for equipment provided and as required by the Contract
           Documents.
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          Wonder Lofts
          729 Clinton Street
          Hoboken, NJ

          Wonder Lofts Owner, LLC
          200 Broadacres Drive, Bloomfield, NJ 07003

          GEIS CONSTRUCTION-MASONRY

                 A. SCOPE OF WORK

                This Trade Contractor shall furnish, deliver and install all necessary labor, material and
                equipment required to complete all Facade repair and brick work in accordance with
                the Project Drawings, Specifications, all
                applicable building codes and as noted herein. Each bidding Trade Contractor is directed
                to visit the Project Site to examine all existing conditions. No additional charges will be
                allowed due to the failure of this Trade Contractor to fully understand all existing
                conditions.

                This Project is the construction of a 64-unit condo building (floors 2 to 7) and ground
                floor retail space and parking. This portion of the project is the Fa9ade repair and brick
                masonry including the demo required for new openings.

                This written scope of work is provided to identify and clarify the major items of work,
                but it is not intended to list every item required to complete this work. Therefore, this
                scope of work shall include, but is in no way limited to, the following:

                   L Brick Repointing
                   2. Brick Replacement
                   3. Cracked Brick Stitching
                   4. Pinning brick to structure at corners
                   5. Pinning brick to structure at interiorcolumns
                  6. Pinning brick to structure at interior columns
                   7. Cracked brick repair at corners
                  8. New angle lintels
                  9. Replace existing I-beam lintels
                   I 0. Reinforcing existing garage window openings
                  11. Reconstruction of corner columns
                  12. Sandblast steel beams and cohimns
                  13. Lower existing bluestone sills
                  14. New sloped brick rowlock at sills
                  15. New ground flood door openings NE corner
                  16. New ground flood garage openings 8' street
                  17. New lintel replacement C building
                  18. Building B parapet reconstruction
                  19. Demolition of new and modified openings
                  20. Demolition of corners

                  21. General Notes:
                         This subcontractor shall be responsible for the clean-up of all debris
                         resulting from this scope of work. All debris and rubbish shall be placed in
                         dumpsters, provided by others. All work areas shall be kept clean on a daily
                         basis. All excess material shall be removed from the jobsite by this
                         Subcontractor upon completion of the work.
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                          This Subcontractor shall comply with all OSHA rules and regulations and
                          applicable state and federal safety guidelines, in addition to the Prism
                          Construction Management Safety Plan requirements. This Subcontractor
                          shall provide appropriate safety protection as required, and will furnish
                          MSDS forms for materials when applicable, attend weekly safety meetings
                          on site, and employ competent personnel at the site as required for the
                          operation of all tools, equipment, scaffolding and lifts.
                     •    This subcontractor shall provide a one-year guarantee on all work
                          performed from the date of final completion and acceptance of the
                          work.




                     •   This Subcontractor shall agree to execute and use the standard Prism
                         Construction Management Subcontract Agreement, Application for
                         Payment Form and Waiver of Lien forms. These forms are available for
                         inspection upon request.
                     •   This Subcontractor shall provide a Certificate of Insurance within five (5)
                         days of contract award and shall maintain coverage throughout the
                         duration of the work in accordance with the Project Documents.
                     •   This subcontractor shall attend job meetings and review information
                         provided by other contractors as necessary to coordinate its own work with
                         other trades. This includes verifying size and location of floor openings for
                         elevator shafts and pits, construction of shafts and pits, sizing of elevator
                         sill angles, coordination with the electrical contractor for wiring, etc.
                         Subcontractor shall provide a project manager and full-time on-site
                         superintendent/foreman.


             B. EXCLUSIONS
                The following items are specifically excluded from this Scope of Work:
                1. Building permit fees
                2.   Furnishings of trash dumpsters.
                3.   Scaffolding except that the moving of planks as required shall be included in this
                     contract.
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                                         ATTACHMENT "K"
                                    SUPPLEMENTAL INFORMATION


     The following supplementary project requirements have been developed to ensure proper
     coordination of the project and apply to all trade contractors. Prism Construction Management,
     LLC reserves the right to amend these requirements as needed:

     1.     Construction activities are only permitted as follows:

              -   Monday through Friday 8:00 AM — 4:00 PM

            No heavy equipment shall be permitted to arrive or depart outside of the above listed
            hours.

     2.     Subcontractor employees shall sign in and out of the site daily.

     3.     Excavation of any kind shall require a permit issued by Prism Construction Management
            LLC.

     4.     Subcontractor employees shall park in areas designated by Prism Construction
           Management LLC. Failure to park in designated areas will result in permanent dismissal
           from the Project.

     5.    All subcontractor invoices/requisitions must be submitted to Prism Construction
           Management LLC by the 20th of each month — no exceptions. See Attachment C
           "Invoicing Requirements" in the contract for detailed information.

     6.     All subcontractors are responsible for hoisting their materials into the building.
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                                       Geis Construction LLC Bid Form
                                  10020 Aurora Hudson Road, Streetsboro OH 44241
                                            Telephone: (330) 528-3500

                                 TRADE CONTRACT BID FORM (Attachment 3)
                                   Cost Code 20-001: Masonry / Brick Repair
                                                        Aug 1, 2019

   Project:                Wonder Lofts
                           729 Clinton Street
                           Hoboken, NJ

   Owner:                  Wonder Lofts Owner, LLC
                           200 Broadacres Drive, Bloomfield, NJ 07003

   Bidding Trade Contractor Information:

   Company Name:                      MDC Inc

   Address:                           151 South list Lindenhurst, New York

   Telephone:                            (862) 684-2078                Fax:

   Bid Estimator:                         Anil Labroo

   E-mail Address:                       a labroo@yahoo.com

   Date Submitted:                       September 19, 2019

   This Bid Form is due in the office of Geis Construction South LLC, Attn: Kevin Watts no later than
   9/15119 Email copies are acceptable to KevinWPGeisco.net This Bid Form must be completed and
   returned in its entirety, including all breakdowns, alternate pricing, unit pricing, labor rates, and
   scheduling information as requested.

   Base Bid Amount:
   This Trade Contractor hereby proposes to furnish all labor, material, equipment and documentation
   necessary for the completion of all Façade Renovation, in accordance with the Project Drawings,
   Specifications and all information contained in this Bid Form for the total amount of:

                      1,013,758.22

   One Million Thirteen Thousand Seven Hundred Fifty Eight Dollars and twenty two cents

   (Print Amount of Bid)



   A. SCOPE OF WORK
      This Trade Contractor shall furnish, deliver and install all necessary labor, material and equipment required to
      complete all Façade repair and brick work in accordance with the Project Drawings, Specifications, all
      applicable building codes and as noted herein. Each bidding Trade Contractor is directed to visit the Project Site



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      to examine all existing conditions. No additional charges will be allowed due to the failure of this Trade
      Contractor to fully understand all existing conditions. Furnish the labor and material to complete the masonry
      scope of work in accordance with drawings A-300, A-301, A-302, A-309 with specifications prepared by
      Minervini Vandermark Architects dated 718/19. 721 and 731 Clinton shall be completed in accordance with
      drawings A300, A301, A302, & A303 dated 2/26/9 and the following specifications

      This Project is the construction of a 64-unit condo building (floors 2 to 7) and ground floor retail space and
      parking. This portion of the project is the Façade repair and brick masonry including the demo required for new
      openings.

      This written scope of work is provided to identify and clarify the major items of work, but it is not intended to
      list every item required to complete this work. Therefore, this scope of work shall include, but is in no way
      limited to, the following:

      1.    Brick Repointing
      2.    Brick Replacement
      3.    Cracked Brick Stitching
      4.    Pinning brick to structure at corners
      5.    Pinning brick to structure at interior columns
      6.    Pinning brick to structure at interior columns
      7.    Cracked brick repair at corners
      8.    New angle lintels
      9.    Replace existing 1-beam lintels
      10.   Reinforcing existing garage window openings
      11.   Reconstruction of corner columns
      12.   Sandblast steel beams and columns
      13.   Lower existing bluestone sills
      14.   New sloped brick rowlock at sills
      15.   New ground flood door openings NE corner
      16.   New ground flood garage openings 8th street
      17.   New lintel replacement C building
      18.   Building B parapet reconstruction
      19.   Demolition of new and modified openings
      20.   Demolition of corners
      21.   Low pressure washing new masonry veneer
      22.   Using cast stone at copings, caps, headers for arched parapets to replicate original (720 Clinton only)
      23.   Re-Construct brick as shown on drawings
      24.   Furnish and Install all Steel Lintels, bolts, & Plates as shown
      25.   Caulking and Joint Sealants
      26_   Pricing based upon parapet walls constructed of CMU in lieu of concrete (720 Clinton only)
      27.   Unit cost for additional repointing beyond contract documents is $12.00/SF (Under 500sf)
      28.   Unit cost for additional repointing beyond contract documents is $11.50/SF (Over 500sf)
      29.   Unit cost for brick replacement beyond contract documents is $45/SF
      30.   Unit cost for Lintels installed is $2.00/LB
      31.   Proposal includes brick work shown on A-304 dated 7/8/19

      32. General Notes:
          o This subcontractor shall be responsible for the clean-up of all debris resulting from this scope of work.
             All debris and rubbish shall be placed in dumpsters, provided by others. All work areas shall be kept
             clean on a daily basis. All excess material shall be removed from the jobsite by this Subcontractor
             upon completion of the work.
            •   This Subcontractor shall comply with all OSHA rules and regulations and applicable state and federal
                safety guidelines, in addition to the Prism Construction Management & Geis Construction South
                Safety Plan requirements. This Subcontractor shall provide appropriate safety protection as required,
                and will furnish MSDS forms for materials when applicable, attend weekly safety meetings on site,
                and employ competent personnel at the site as required for the operation of all tools, equipment,
                scaffolding and lifts.



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            •   This subcontractor shall provide a one-year guarantee on all work performed from the date of final
                completion and acceptance of the work.
            •   This Subcontractor shall agree to execute and use the standard Geis Construction South Subcontract
                Agreement, Application for Payment Form and Waiver of Lien forms. These forms are available for
                inspection upon request.
            •   This Subcontractor shall provide a Certificate of Insurance within five (5) days of contract award and
                shall maintain coverage throughout the duration of the work in accordance with the Project
                Documents.
            •   This subcontractor shall attend job meetings and review information provided by other contractors as
                necessary to coordinate its own work with other trades. This includes verifying size and location of
                floor openings for elevator shafts and pits, construction of shafts and pits, sizing of elevator sill angles,
                coordination with the electrical contractor for wiring, etc. Subcontractor shall provide a project
                manager and full-time on-site superintendent/foreman.
            •   This subcontractor will be responsible for the hoisting of all materials and equipment required.

            •   It is the responsibility of this trade contractor to fully review the contract documents provided and
                bring any discrepancies noted the attention of the Construction Manager immediately.
            •   Proceeding with extra work without receiving written approval from Geis Construction South LLC
                shall constitute a waiver of claims to extra work.
            •   If there is a conflict between the scope of work document and the subcontractors quote, it is agreed and
                understood that this scope of work shall supersede all proposals
   B. EXCLUSIONS
      The following items are specifically excluded from this Scope of Work:
      1. Building permits fees.
      2. Furnishing of trash dumpsters.
      3. Scaffolding except that the moving of planks as required shall be included in this contract

   C. COST BREAKDOWN
      Provide each line item prices as requested. Each price shall include all applicable costs such as labor, material,
      equipment, delivery, taxes, overhead and profit.

       Provide all pricing on the separate Bid Breakdown sheet provided with this Bid Form. This bid is not valid
       without the attachment of the separate Bid Breakdown sheet. Provide the following line item costs here for
       each floor, as taken from the breakdown sheet.

       1.   Mobilization                                                $102,924.24

       2.   Brick Repointing per drawing                                $32,338.34

       3.   Brick Replacement per drawing                               $395,272.87

       4.   Brick Arch Reconstruction                                   $16,161.21

       5.   Pinning brick to structure at corners                       $101,107.06

       6.   Pinning brick to structure at interior columns              $8,757.30

       7.   Cracked brick repair at corners                             $inc with item #5

       8.   New angle lintels                                           $Inc with item #17

       9.   Replace existing 1-beam lintels                         $52,908.71




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       10. Reinforcing existing garage window openings                 $1nc

       11. Reconstruction of corner columns                            $W/item #5

       12. Sandblast steel beams and columns                           $19,047.14

       13. Lower existing Bluestone sills                              $27,864.15

       14. New sloped brick rowlock at sills                           Sine with item #3

       15. New ground flood door openings NE corner                    $Inc in item #19

       16. New ground flood garage openings 8th street                 $1nc with item #19

       17. New lintel replacement C building                           $55,987.04

       18. Building B parapet reconstruction                           $21,805.71

       19. Demolition of new and modified openings                     $179,584.45

       20. Demolition of corners                                       $Inc in item #19

       21. Sales Tax                                                   $1nc above

   Total Base Bid (Enter this Amount on Page 1):                       $1,013,758.22




   D. ALTERNATE PRICES

       Alternate Price No. 1: New brick work at 720 Clinton

       Total Amount of Alternate No. 1:                                $1,013,758.22

       Alternate Price No. 2: New brick work at elevator oven'uns, stair shafts, bulkheads

       Total Amount of Alternate No. 2:                                $45/SF

       Alternate Price No. 3: New brick work at 721 Clinton

       Total Amount of Alternate No. 3:                                $142,501.10

       Alternate Price No. 4: New brick work at 731 Clinton

       Total Amount of Alternate No. 4:                                $204,426.30

       Alternate Price No. 5: Repointing balance or project

       Total Amount of Alternate No. 5:                            $11.50/SF


   E. UNIT PRICES
      The unit prices as indicated below shall be included as part of this proposal. Each price shall include all
      applicable costs such as labor, equipment, materials, delivery, overhead and profit.

        Contract Item                                                                        Unit   Unit Price



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         New brick                                                                            SF     $45.00
         Re Pointing (Under 500 SF)                                                           SF     $12.00
         Re Pointing (Over 500 SF)                                                            SF     $11.50
         Lintel replacement                                                                   LB     $2.00




   F. LABOR RATES (HOURLY WAGE RATES)
      The hourly wage rates indicated below shall be included as part of this proposal, and shall be applied in the
      event of additional work performed on a T&M basis. Each rate shall include all costs, applicable taxes,
      overhead and profit. These rates shall remain fixed for the duration of the project.

                    Labor Type            Total Straight Time         Total Overtime         Premium Time Only
        Foreman
        Mason
        Laborer



   G. PROJECT SCHEDULE AND PERFORMANCE INFORMATION
      This Project is anticipated to commence work on site on or about Fall 2019 and be completed Summer 2020.




   H. SIGNATURE
      The undersigned individual acknowledges that he has read and understands all of the Bid Documents and is
      authorized to submit this Bid Folin on behalf of the Trade Contractor. This Bid shall remain valid for not less
      than 90 days from the date of submission.

       Trade Contractor Name:

       Submitted by (Print Name):

       Signature:

       Title:

       Date:




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                                                                                                                                             WONDER LOFTS
                                                                                                                                                           Hoboken, NJ
ID                                            Task Name                                      Duration     Start            Finish                1st uarter         l3rd quarter                  1st uarter               3rd 8 art              1.524101ter       3rd uarter          1st r uarter
                                                                                                                                         —Nov     Jan    Mar May       Jul 1 Sep           Nov     Jan    Mar        May     Jul ' Sep ' Nov        Jan ! Mar l May   Jut   Se•   Nov    Jan      Mar
     1 Design / Budget /Permits                                                              397.5 days   Tue 1/2/18 Thu 7/11/19          ---- P
_2       Arch, Struct and MEP Drawings -ABC Bldg                                             301 days     Tue 1/2/18 Tue 2/26/19           1/2.,                           iilil                         u- 2/26
     7   Shoring Permit                                                                      3 wks        Mon 4/30/18 Fri 5/18/18                        4/30 I. 5/18
     3   Footing and Foundation Drawings - ABC Bldg                                          41.5 wks     Tue 5/22/18 Thu 3/7/19                            cm),                                         IP
    4    Building D & E Design Drawings                                                      35 wks       Mon 6/18/18 Fri 2/15/19                               6/18 r
     5   Set Internal GMP                                                                    56 days      Wed 2/27/19 Wed 5/15/19                                                                 2/27
     8   Footing and Foundation Permit                                                       4 wks        Thu 4/4/19 Thu 5/2/19                                                                          4/4     5/2
     9   Building ABC Full Permits                                                           5 wks        Thu 5/2/19 Thu 6/6/19                                                                             5/2      /6
    6    Building D & E Full Permits                                                         5 wks        Thu 6/6/19 Thu 7/11/19                                                                                6/6 cop 7/1
    10 Building ABC                                                                          741days      Mon 2/26/18 Mon 12/28/20                   iiim . -
    11   Lead Paint remediation                                                              10 wks       Mon 2/26/18 Fri 5/4/18                 2/26 goomi 5/4
    12   Asbestos removal                                                                    6 wks        Mon 4/9/18 Fri 5/18/18                        4/        5/18
    13   Scaffolding installation                                                            6 wks        Mon 5/21/18 Fri 6/29/18                          5/21        6/29
    14   Demolition B-Bldg shafts & slab                                                     3 wks        Wed 6/13/18 Tue 7/3/18                              6/13     7/3
    21   Shoring A-Bldg at corners                                                           6 wks        Wed 6/20/18 Tue 7/31/18                              6/2         7/31
    20   Environmental Remediation                                                           12 mons      Wed 6/27/18 Tue 5/28/19                               6/11of                                                  5/28
    15   Demo A Building elevator shafts, water tower                                        35.5 wks     Wed 7/4/18 Fri 3/8/19                                   7/4                                     )3/8
    19   Load testing B & C buildings                                                        6 wks        Wed 8/15/18 Tue 9/25/18                                   —144
    16   Demolition A-Bldg 5th floor                                                         3 wks        Wed 10/10/1E Mon 3/18/19                                              74
                                                                                                                                                                                1      25—            a ''-118
    24   Parapet demolition                                                                  9 wks        Fri 10/26/18 Thu 12/27/18                                               10/26 BM= 12/27
    25   Load test piles A building                                                          9 wks        Wed 12/5/18 Tue 2/5/19                                                        12/ST     S /im
    22   Building C Shoring Foundations                                                      15 wks       Mon 1/21/19 Fri 5/3/19                                                            1/21 ---             1/3
    18   Additional demo for shear walls                                                     7 wks        Mon 3/18/19 Mon 5/6/19                                                                  3/18 ii    iii 5/6
    26   Facade Repair                                                                       40 wks       Wed 5/1/19 Tue 2/4/20
    27   Driving Piles                                                                       10 wks       Wed 5/15/19 Tue 7/23/19                                                                             5/15             7/23
    29   Foundations and Pile Caps                                                           16 wks       Mon 6/24/19 Fri 10/11/19                                                                                    6/24,1iiiMilliail 10/11
    28   Misc Concrete Repair                                                                3 mons       Wed 6/26/19 Tue 9/17/19                                                                                     -81-2,11=11111= 9/17
... 23   Shoring C-Bldg                                                                      11wks        Mon 7/8/19 Fri 9/20/19                                                                                           7/4MINN= 9/20
    31   Structural Concrete / Flat Plate                                                    6 mom        Mon 7/15/19 Fri 12/27/19                                                                                 .---7011.5.4                   12/27
    17   Demolition A-Bldg 4th floor                                                         3 wks        Mon 7/8/19 Mon 7/29/19                                                                                           7/18.% 7/29
    32   Structural Steel                                                                    8 wks        Mon 7/29/19 Fri 9/20/19                                                                                           2/ 261IMMI 9/20
    34   Windows                                                                             6 mons       Mon 8/12/19 Fri 1/24/20                                                                                              8 /120              ' 1/24
    35   Sales Center                                                                        10 wks       Mon 8/12/19 Fri 10/18/19                                                                                             8/12       10/18
    37   Exterior Framing                                                                    4 mons       Mon 9/23/19 Fri 1/10/20                                                                                              `11211              1/10
    33   Masonry / Metal pane                                                                7 mons       Mon 9/30/19 Fri 4/10/20                                                                                                lii •u—                        4/10

                                                                            Task                                  Project Summary      4.---Y              Inactive Milestone                            Manual Summary Rollup                       Deadline            +
Project: Wonder Lofts Project                                               Split                                 External Tasks       lim....=mi.,        Inactive Summary          I-,          - )    Manual Summary               VI'         9 Progress
Date: May 3, 2019                                                           Milestone        .                    External Milestone   •i>                 Manual Task               Milillilli    iii   Start-only                   E
                                                                            Summary          wiliei               Inactive Task                       __   Duration-only                                 Finish-only                  3

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                                                                                                                                             WONDER LOFTS
                                                                                                                                                              Hoboken, NJ
ID                                                Task Name                                   Duration   Start            Finish                   1st uarter               3rd uarte           1st arter                     3rd Quarter               1st Quarter      13rd quarter                               1st Quarter
                                                                                                                                             Nov    Jan    Mar      May       Jul   Sep   Nov    Jan   Mar      May             Jul    Sep      Nov      Jan     Mar May    Jul    Sep                     Nov       Jan    Mar
                                                                                                                                                                                                                                   in ificof                        3/30
 36   Interior Framing                                                                        6 mans     Tue 10/15/19 Mon 3/30/20
 30   Roofing                                                                                 8 wks      Mon 10/21/15 Fri 12/13/19                                                                                                   1°/211, 12/13
 38   MEP Roughing                                                                            7 mans     Tue 11/12/19 Mon 5/25/20                                                                                                      11 r               5/25
                                                                                              6 mons                                                                                                                                      I ¶ 1-14,424r__      7/6
 39   Gyp Board                                                                                          Tue 1/21/20 Mon 7/6/20
 40   Finish Work                                                                             41wks      Tue 3/17/20 Mon 12/28/20
 41 Building E                                                                                340 days   Mon 7/8/19 Fri 10/23/20                                                                                          ►
 42   Piles / Foundations                                                                     4 wks      Mon 7/8/19 Fri 8/2/19                                                                                       7     — 82
 43   Structure (steel and concrete)                                                          4 mons     Mon 8/5/19 Fri 11/22/19                                                                                          8/5                        11/22
 44   Roofing                                                                                 2 wks      Mon 11/25/15Fri 12/6/19                                                                                                           11/25      12/6
 45   Masonry                                                                                 2 mons     Mon 11/25/15 Fri 1/17/20                                                                                                          11/25             1/17
 46   Windows                                                                                 1mon       Mon 1/20/20 Fri 2/14/20                                                                                                                     1/20       2/14
 47   Interior Framing                                                                        5 wks      Mon 2/3/20 Fri 3/6/20                                                                                                                          2          3/6
 48   MEP Roughing                                                                            2 mons     Mon 2/17/20 Fri 4/10/20                                                                                                                        2/                4/10
 49   Gyp Board                                                                               2.5 mons   Mon 4/13/20 Fri 6/19/20                                                                                                                                 4/1
 50   Finish Work                                                                             5 mons     Mon 6/8/20 Fri 10/23/20                                                                                                                                                                      10/23
 51 Building D                                                                                410 days   Mon 7/29/19 Fri 2/19/21                                                                                               ►
 52 _ Demolition of existing structure                                                        4 wks      Mon 7/29/19 Fri 8/23/19                                                                                         7/          8/23
—53   Piles / Foundations                                                                     6 wks      Mon 8/26/19      Fri 10/4/19                                                                                         8/26           10/4
 54   Structure (steel and concrete)                                                          4 mons     Mon 9/23/19      Fri 1/10/20                                                                                            9            ------ - 1/10
 55   Roofing                                                                                 3 wks      Mon 1/13/20      Fri 1/31/20                                                                                                             1/13   1/31
 56   Masonry                                                                                 3 mons     Mon 1/13/20      Fri 4/3/20                                                                                                              1/13          4/3
 57   Windows                                                                                 2 mons     Mon 4/6/20       Fri 5/29/20                                                                                                                       4/6                  5/29
 58   Interior Framing                                                                        3 mons     Mon 4/6/20       Fri 6/26/20                                                                                                                       4/6                     6/26
 59   MEP Roughing                                                                            4 mons     Mon 6/1/20       Fri 9/18/20                                                                                                                            6/                             9/11
 60   Gyp Board                                                                               3 mons     Mon 7/27/20      Fri 10/16/20                                                                                                                                                             10/16
 61   Finish Work                                                                             6 mons     Mon 9/7/20       Fri 2/19/21                                                                                                                                                 Q/ 701111111111111                1 2/19




                                                                             Task             r                  Project Summary         V               V    Inactive Milestone                       Manual Summary Rollup 1...              ...           , Deadline                    4-
                                                                             Split                               External Tasks          ". ......m........   Inactive Summary       , ----- - - —'a manual Summary                   g        ola=,           Progress                    .        ,=,..........
Project Wonder Lofts Project
Date: May 3, 2019                                                            Milestone        •                  External Milestone      v                    Manual Task                 illaiii=1111 Start-only                     C
                                                                             Summary          •            4, Inactive Task                               . Duration-only                              Finish-only                     3

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                             AFFIDAVIT OF (SUB ORIGINAL) CONTRACTOR

                                                                       Ohio,                               20

  STATE OF OHIO,                                 COUNTY, ss:

                                                                       being first duly sworn, says that he is
                                                 of                                                              the
  Sub
  Original   Contractor having a contract with

  the

  for
  situated on or around or in front of the following described property:


  whereof                                                              was the owner, part owner or lessee.

  Affiant further says that the following shows the names of every sub-contractor in employ of said
                                     Giving the amount, if any, which is due, or to become due, to them, or any of
  them, for work done or machinery, material or fuel furnished to date hereof, under said contracts.

  NOTE: This statement must be accompanied by a similar sworn statement signed by each of the sub-
  contractors listed below.
                                           SUB-CONTRACTORS
                                                                   Amount due or to become due for work
               NAME                         TRADE
                                                                    and material furnished to date hereof.




  Said affiant further says that the following shows the names of every person furnishing machinery, material or
  fuel, to
  Giving the amount, if any, which is due, or to become due, to them or any of them, for machinery, material or
  Fuel furnished to date hereof, under said contracts.
                                                    MATERIAL MEN
                                                                       Amount due or to become due for work
                NAME                              TRADE
                                                                       and material furnished to date hereof.
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  Said affiant further says that the following shows the names of every unpaid laborer in the employ of
                                                  Furnishing labor under said contract, giving the amount, if any.
  which is due, or to become due for labor done to date hereof:

                                                       LABOR
                                                Amount due or to become due for labor
         NAME                   HOURS
                                                furnished to date hereof.




 That the amounts due or to become due to said sub-contractors, material men and laborers, for work done, or

  machinery, material or fuel furnished to the date hereof, to
  Is fully and correctly set forth opposite their names, respectively, in the aforesaid statements, and further by
  certificates of every person furnishing machinery, material or fuel, hereto attached, and made a part hereof.

  Affiant further says that
  has not employed or purchased or procured machinery, material or fuel from, or sub-contracted with any
  person, firm or corporation, other than those above mentioned, and owes for no labor performed, or
  machinery, material or fuel furnished under said contracts, other than above set forth.




  SWORN TO BEFORE ME AND SUBSCRIBED IN MY PRESENCE, at
  Ohio, this           day of                                       A.D., 20


                                                                        Notary Public

                                            CERTIFICTE OF MATERIAL MEN

                                                                        Ohio                     20

 The undersigned certify that to the date hereof they have furnished machinery, material or fuel as set out herein
 to                                                                                                            for



  Situated on or around or in front of the property described I the foregoing affidavit; that the nature of said
  machinery, material or fuel furnished, the date when they commenced furnishing the same and the amount
  now due or owing to each of them, is correctly stated and set opposite their respective names or they have
  been paid in full, if so acknowledged hereon.

                                    Machinery, materials or fuel     Commenced          Amount due or to become
              NAME
                                     and nature of the same.          Furnishing          due to date hereof.
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                         CONTRACTUAL INSURANCE REQUIREMENTS
The information contained herein is to describe the contractual requirements that Geis Companies has indicated to myCOl. These contractual requirements
should NOT be used to provide inaccurate information regarding current insurance policies. Questions regarding interpretation of this document can be
directed to our support team at 888-692-6448 x105.


 INSURED NAME                                                                                       CARRIER REQUIREMENTS




                   POLICY LINE                     POLICY LIMITS REQ D BY CONTRACT                                  OTHER CONTRACTUAL REQUIREMENTS
                                                  EACH OCCURRENCE                      $1,000,000        Ad0011111111Atired applies to General Liability. Waiver of
                                                  DAMAGE TO RENTED                                       Subrogation is required for General Liability. General Liability is
                                                  PREMISES (Ea occurrence)             $100,000
                                                                                                         Primary and Non-contributory.
                 CLAIMS MADE                      MED EXP (Any one person)             $5,000
GENERAL
LIABILITY X      OCCUR                            PERSONAL & ADV INJURY                $1,000,000
                                                  GENERAL AGGREGATE                    $2,000,000
             GEN'L AGGREGATE LIMIT APPLIES PER:   PRODUCTS - COMP/OP AGG               $2,000,000
                 POLICY X      !zRET-      LOC

                                                  COMBINED SINGLE LIMIT                $ 1,00            Additional Insured applies to Automobile. Waiver of Subrogation is
             X   ANY AUTO                         (Ea accident)
                                                                                                         required for Automobile.
                 ALL OVVNED
                          AUTOS                   BODILY INJURY
AUTO             SCHEDULED AUTOS                  (Per person)
LIABILITY
                 HIRED AUTOS
                                                  BODILY INJURY
                                                                                       S
                 NON-OWNED AUTOS                  (Per accident)

                                                  PROPERTY OAMAQE                      $
                                                  (Per accident)
                                                                        -..
                                                  AUTO ONLY - EA ACCIDENT              $
GARAGE
                 ANY AUTO                                                     EA ACC   $ ,
LIABILITY                                         OTHER      !
                                                                                        -1
                                                  AUTO                          AGG    $
                                                  EACH   WIRRENCE                      12,000,000        Additional Insured applies to Umbrella. Waiver of Subrogation is
             X                                                                                           required for Umbrella. Umbrella Liability is Primary and Non
                 OCCUR                            ADOREC',ATE                          $ 2,000,000
EXCESS/                                                                                                  contributory.
UMBRELLA         CLAIMS MADE
LIABILITY



                                                  #7               .8           OTH-
                                                                                 ER
                                                                                                         Waiver of Subrogation is required for Workers Comp.
WORK COMP
AND                                                        ACCIDENT                    $500,000
EMPLOYERS'
LIABILITY                                         E.L. DISEASE - EA EMPLOYEE $500,000
                                                  E.L. DISEASE - POLICY LIMIT          $500,000




                                        CERTIFICATE HOLDER

                                        Geis Construction South, LLC

                                        C/0: myCOl
                                        1075 Broad Ripple Ave, Suite 313
                                        Indianapolis, IN 46220
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                  CONTRACTUAL INSURANCE REQUIREMENTS
The information contained herein is to describe the contractual requirements that Geis Companies has indicated to myCOl. These contractual requirements
should NOT be used to provide inaccurate information regarding current insurance policies. Questions regarding interpretation of this document can be
directed to our support team at 888-692-6448 x105.


Division Name: [Template - Geis Construction South, LLC]. Endorsement(s) required: CG 2010 10 01 or its equivalent; CG
2037 10 01 or its equivalent. Additional Insured Names: Geis Construction South, LLC, owners, lessees or contractors.. 30
Days Notice of Cancellation Required. Waiver of Subrogation applies in favor of: Geis Construction South, LLC, Owner and
Architect and their agents, officers, directors and employees..

General Liability: Additional Insured Endorsement Forms (CG 2010 07/04 and CG 2037 07/04 or their equivalent) are
required.
Umbrella/Excess: Coverage must extend over general liability, automobile liability and employers liability.
GEIS PAYMENT APPLICATION
JOB:                                                                    Contract No:                                  Period From:                               CONTRACTOR
JOB #:                                                              Invoice Number:                                          Thru:                                  ADDRESS

             1
            ORIGINAL CONTRACT SUM                                                                      $0.00                                                               PHONE
             2
            Net change by Change Orders                                                                $0.00                                                                   FAX
             3
            CONTRACT SUM TO DATE (Line 1 +/- 2)                                                        $0.00                                                                E-MAIL
                                                                                                                                                                                                                    Case



             4
            TOTAL COMPLETED & STORED TO DATE                                                           $0.00
             5
            RETAINAGE:
            a. _________ % of Completed Work                                 $0.00
            (Columns D + E)
            b._________% of Stored Material                                  $0.00
            (Column F)
            Total in Column I
          6 TOTAL EARNED LESS RETAINAGE                                                                $0.00
            (Line 4 less Line 5 Total)
          7 LESS PREVIOUS CERTIFICATES FOR PAYMENT                                                     $0.00
            (Line 6 from prior Certificate)
          8 CURRENT PAYMENT DUE                                                                        $0.00
          9 BALANCE TO FINISH, INCLUDING RETAINAGE                                                     $0.00
            (Line 3 less Line 6)
GENERAL NOTES:
            Breakdown of contract needs to be submitted to the Geis office within one week of receiving purchase order. Failure to do so will result in the purchase order being voided.
                                                                                                                                                                                                                    Case 2:21-cv-02407-LDH-ST




            Only concern yourself with the items that pertain to your scope of work. This form is intended to be a supplement to your proposal which list items that are included and excluded.
            Invoices MUST be received in our office no later than the 25th of the month in order to be processed the following month.
            Conditional Lien Waivers and Affidavits must be submitted with each draw request.
            We must have a current insurance certificate and workers compensation certificate on file in our office.
     A                               B                                   C                       D                      E                     F                        G                              H
   ITEM                                                                                      WORK PERFORMED                               Materials                 TOTAL                  %      BALANCE
    NO                 DESCRIPTION OF WORK                        SCHEDULED            FROM PREVIOUS                                  Presently Stored          COMPLETED                         TO FINISH
                                                                      VALUE              APPLICATION              THIS PERIOD          (Not IN D OR E)          AND STORED
                                                                                                                                                                                                                         2:20-cv-03834-MKB-JMWDocument




                                                                                                                                                                   (D+E+F)               (G/C)      (C-G)
         1                                                                   $0.00                     $0.00                $0.00                   $0.00                    $0.00      #DIV/0!             $0.00
                                                                                                                                                                                                                                                Document




         2                                                                   $0.00                     $0.00                $0.00                   $0.00                    $0.00      #DIV/0!             $0.00
         3                                                                   $0.00                     $0.00                $0.00                   $0.00                    $0.00      #DIV/0!             $0.00
         4                                                                   $0.00                     $0.00                $0.00                   $0.00                    $0.00      #DIV/0!             $0.00
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         5                                                                   $0.00                     $0.00                $0.00                   $0.00                    $0.00      #DIV/0!             $0.00
         6                                                                   $0.00                     $0.00                $0.00                   $0.00                    $0.00      #DIV/0!             $0.00
         7                                                                   $0.00                     $0.00                $0.00                   $0.00                    $0.00      #DIV/0!             $0.00
         8                                                                   $0.00                     $0.00                $0.00                   $0.00                    $0.00      #DIV/0!             $0.00
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         9                                                                   $0.00                     $0.00                $0.00                   $0.00                    $0.00      #DIV/0!             $0.00
        10                                                                   $0.00                     $0.00                $0.00                   $0.00                    $0.00      #DIV/0!             $0.00
        11                                                                   $0.00                     $0.00                $0.00                   $0.00                    $0.00      #DIV/0!             $0.00
                                                                                                                                                                                                                                                                  04/30/21




        12                                                                   $0.00                     $0.00                $0.00                   $0.00                    $0.00      #DIV/0!             $0.00
        13                                                                   $0.00                     $0.00                $0.00                   $0.00                    $0.00      #DIV/0!             $0.00
                                                                                                                                                                                                                                                                       04/11/22




        14                                                                   $0.00                     $0.00                $0.00                   $0.00                    $0.00      #DIV/0!             $0.00
        15                                                                   $0.00                     $0.00                $0.00                   $0.00                    $0.00      #DIV/0!             $0.00
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        16                                                                   $0.00                     $0.00                $0.00                   $0.00                    $0.00      #DIV/0!             $0.00
        17                                                                   $0.00                     $0.00                $0.00                   $0.00                    $0.00      #DIV/0!             $0.00
        18                                                                   $0.00                     $0.00                $0.00                   $0.00                    $0.00      #DIV/0!             $0.00
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        19                                                                   $0.00                     $0.00                $0.00                   $0.00                    $0.00      #DIV/0!             $0.00
        20                                                                   $0.00                     $0.00                $0.00                   $0.00                    $0.00      #DIV/0!             $0.00
                                                                                                                                                                                                                                                                                  151 267




        21                                                                   $0.00                     $0.00                $0.00                   $0.00                    $0.00      #DIV/0!             $0.00
        22                                                                   $0.00                     $0.00                $0.00                   $0.00                    $0.00      #DIV/0!             $0.00
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        23                                                                   $0.00                     $0.00                $0.00                   $0.00                    $0.00      #DIV/0!             $0.00
        24                                                                   $0.00                     $0.00                $0.00                   $0.00                    $0.00      #DIV/0!             $0.00
                                                                                                                                                                                                                                                                                          of 392




        25                                                                   $0.00                     $0.00                $0.00                   $0.00                    $0.00      #DIV/0!             $0.00
            Total Base Contract                                              $0.00                     $0.00                $0.00                   $0.00                    $0.00      #DIV/0!             $0.00
CHANGES                   CHANGES ORDERS
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                                                                             $0.00                     $0.00                $0.00                                            $0.00      #DIV/0!             $0.00
                                                                             $0.00                     $0.00                $0.00                                            $0.00      #DIV/0!             $0.00
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                                              Total Changes
                                                      $0.00                                                                 $0.00                   $0.00
                                                                                                                                                                                                                                                                                                        #:
                                                                                                                                                                                                                                                                                                    #: 553




             TOTAL CONTRACT                                                  $0.00                     $0.00                $0.00                   $0.00                    $0.00      #DIV/0!             $0.00
                         Case
                         Case 2:21-cv-02407-LDH-ST
                              2:20-cv-03834-MKB-JMWDocument
                                                     Document
                                                            1-327-1
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                                                                                                             #:
                                                               1317
Form
(Rev. December 2014)
                                       W-9                                             Request for Taxpayer
                                                                              Identification Number and Certification
                                                                                                                                                                                        Give Form to the
                                                                                                                                                                                        requester. Do not
Department of the Treasury                                                                                                                                                              send to the IRS.
Internal Revenue Service
                                       1 Name (as shown on your income tax return). Name is required on this line; do not leave this line blank.


                                       2 Business name/disregarded entity name, if different from above
See Specific Instructions on page 2.




                                       3 Check appropriate box for federal tax classification; check only one of the following seven boxes:                            4 Exemptions (codes apply only to
                                                                                                                                                                       certain entities, not individuals; see
                                        11111 Individual/sole proprietor or      •    C Corporation      . S Corporation •        Partnership       I. Trust/estate    instructions on page 3):
           Print or type




                                              single-member LLC
                                                                                                                                                                       Exempt payee code (if any)
                                        IIII Limited liability company. Enter the tax classification (C=C corporation, S=S corporation, P=partnership)lo-
                                            Note. For a single-member LLC that is disregarded, do not check LLC; check the appropriate box in the line above for       Exemption from FATCA reporting
                                            the tax classification of the single-member owner.                                                                         code (if any)
                                        III Other (see instructions) IP-                                                                                               (Applies to accounts maintained outside the U.S.)

                                       5 Address (number, street, and apt. or suite no.)                                                           Requester's name and address (optional)


                                       6 City, state, and ZIP code


                                       7 List account number(s) here (optional)


        Part I                                  Taxpayer Identification Number (TIN)
Enter your TIN in the appropriate box. The TIN provided must match the name given on line 1 to avoid                                                       Social security number
backup withholding. For individuals, this is generally your social security number (SSN). However, for a
resident alien, sole proprietor, or disregarded entity, see the Part I instructions on page 3. For other
entities, it is your employer identification number (EIN). If you do not have a number, see How to get a
TIN on page 3.                                                                                                                                            or
Note. If the account is in more than one name, see the instructions for line 1 and the chart on page 4 for                                                 Employer identification number
guidelines on whose number to enter.


   Part II                                      Certification
Under penalties of perjury, I certify that:
1. The number shown on this form is my correct taxpayer identification number (or I am waiting for a number to be issued to me); and
2. I am not subject to backup withholding because: (a) I am exempt from backup withholding, or (b) I have not been notified by the Internal Revenue
   Service (IRS) that I am subject to backup withholding as a result of a failure to report all interest or dividends, or (c) the IRS has notified me that I am
   no longer subject to backup withholding; and

3. I am a U.S. citizen or other U.S. person (defined below); and
4. The FATCA code(s) entered on this form (if any) indicating that I am exempt from FATCA reporting is correct.
Certification instructions. You must cross out item 2 above if you have been notified by the IRS that you are currently subject to backup withholding
because you have failed to report all interest and dividends on your tax return. For real estate transactions, item 2 does not apply. For mortgage
interest paid, acquisition or abandonment of secured property, cancellation of debt, contributions to an individual retirement arrangement (IRA), and
generally, payments other than interest and dividends, you are not required to sign the certification, but you must provide your correct TIN. See the
instructions on page 3.
Sign                                        Signature of
Here                                        U.S. person 0-                                                                                    Date 0-

General Instructions                                                                                                     • Form 1098 (home mortgage interest), 1098-E (student loan interest), 1098-T
                                                                                                                         (tuition)
Section references are to the Internal Revenue Code unless otherwise noted.                                              • Form 1099-C (canceled debt)
Future developments. Information about developments affecting Form W-9 (such                                             • Form 1099-A (acquisition or abandonment of secured property)
as legislation enacted after we release it) is at www.irs.gov/fw9.
                                                                                                                           Use Form W-9 only if you are a U.S. person (including a resident alien), to
Purpose of Form                                                                                                          provide your correct TIN.
An individual or entity (Form W-9 requester) who is required to file an information                                        If you do not return Form W-9 to the requester with a TIN, you might be subject
return with the IRS must obtain your correct taxpayer identification number (TIN)                                        to backup withholding. See What is backup withholding? on page 2.
which may be your social security number (SSN), individual taxpayer identification                                        By signing the filled-out form, you:
number (ITIN), adoption taxpayer identification number (ATIN), or employer
                                                                                                                          1. Certify that the TIN you are giving is correct (or you are waiting for a number
identification number (EIN), to report on an information return the amount paid to
                                                                                                                        to be issued),
you, or other amount reportable on an information return. Examples of information
returns include, but are not limited to, the following:                                                                    2. Certify that you are not subject to backup withholding, or
• Form 1099-INT (interest earned or paid)                                                                                 3. Claim exemption from backup withholding if you area U.S. exempt payee. If
                                                                                                                        applicable, you are also certifying that as a U.S. person, your allocable share of
• Form 1099-DIV (dividends, including those from stocks or mutual funds)
                                                                                                                        any partnership income from a U.S. trade or business is not subject to the
• Form 1099-MISC (various types of income, prizes, awards, or gross proceeds)                                           withholding tax on foreign partners' share of effectively connected income, and
• Form 1099-B (stock or mutual fund sales and certain other transactions by                                               4. Certify that FATCA code(s) entered on this form (if any) indicating that you are
brokers)                                                                                                                exempt from the FATCA reporting, is correct. See What is FATCA reporting? on
• Form 1099-S (proceeds from real estate transactions)                                                                  page 2 for further information.
• Form 1099-K (merchant card and third party network transactions)

                                                                                                             Cat. No. 10231X                                                         Form W-9 (Rev. 12-2014)
     Case
     Case 2:21-cv-02407-LDH-ST
          2:20-cv-03834-MKB-JMWDocument
                                 Document
                                        1-327-1
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Note. If you are a U.S. person and a requester gives you a form other than Form              3. The IRS tells the requester that you furnished an incorrect TIN,
W-9 to request your TIN, you must use the requester's form if it is substantially
                                                                                             4. The IRS tells you that you are subject to backup withholding because you did
similar to this Form W-9.
                                                                                           not report all your interest and dividends on your tax return (for reportable interest
Definition of a U.S. person. For federal tax purposes, you are considered a U.S.           and dividends only), or
person if you are:
                                                                                              5. You do not certify to the requester that you are not subject to backup
• An individual who is a U.S. citizen or U.S. resident alien;                              withholding under 4 above (for reportable interest and dividend accounts opened
• A partnership, corporation, company, or association created or organized in the          after 1983 only).
United States or under the laws of the United States;                                        Certain payees and payments are exempt from backup withholding. See Exempt
• An estate (other than a foreign estate); or                                              payee code on page 3 and the separate Instructions for the Requester of Form
                                                                                           W-9 for more information.
• A domestic trust (as defined in Regulations section 301.7701-7).
                                                                                             Also see Special rules for partnerships above.
Special rules for partnerships. Partnerships that conduct a trade or business in
the United States are generally required to pay a withholding tax under section            What is FATCA reporting?
1446 on any foreign partners' share of effectively connected taxable income from
such business. Further, in certain cases where a Form W-9 has not been received,           The Foreign Account Tax Compliance Act (FATCA) requires a participating foreign
the rules under section 1446 require a partnership to presume that a partner is a          financial institution to report all United States account holders that are specified
foreign person, and pay the section 1446 withholding tax. Therefore, if you are a          United States persons. Certain payees are exempt from FATCA reporting. See
U.S. person that is a partner in a partnership conducting a trade or business in the       Exemption from FATCA reporting code on page 3 and the Instructions for the
United States, provide Form W-9 to the partnership to establish your U.S. status           Requester of Form W-9 for more information.
and avoid section 1446 withholding on your share of partnership income.
   In the cases below, the following person must give Form W-9 to the partnership
                                                                                           Updating Your Information
for purposes of establishing its U.S. status and avoiding withholding on its               You must provide updated information to any person to whom you claimed to be
allocable share of net income from the partnership conducting a trade or business          an exempt payee if you are no longer an exempt payee and anticipate receiving
in the United States:                                                                      reportable payments in the future from this person. For example, you may need to
• In the case of a disregarded entity with a U.S. owner, the U.S. owner of the             provide updated information if you are a C corporation that elects to be an S
disregarded entity and not the entity;                                                     corporation, or if you no longer are tax exempt. In addition, you must furnish a new
                                                                                           Form W-9 if the name or TIN changes for the account; for example, if the grantor
• In the case of a grantor trust with a U.S. grantor or other U.S. owner, generally,       of a grantor trust dies.
the U.S. grantor or other U.S. owner of the grantor trust and not the trust; and
• In the case of a U.S. trust (other than a grantor trust), the U.S. trust (other than a   Penalties
grantor trust) and not the beneficiaries of the trust.
                                                                                           Failure to furnish TIN. If you fail to furnish your correct TIN to a requester, you are
Foreign person. If you are a foreign person or the U.S. branch of a foreign bank           subject to a penalty of $50 for each such failure unless your failure is due to
that has elected to be treated as a U.S. person, do not use Form W-9. Instead, use         reasonable cause and not to willful neglect.
the appropriate Form W-8 or Form 8233 (see Publication 515, Withholding of Tax
                                                                                           Civil penalty for false information with respect to withholding. If you make a
on Nonresident Aliens and Foreign Entities).
                                                                                           false statement with no reasonable basis that results in no backup withholding,
Nonresident alien who becomes a resident alien. Generally, only a nonresident              you are subject to a $500 penalty.
alien individual may use the terms of a tax treaty to reduce or eliminate U.S. tax on
                                                                                           Criminal penalty for falsifying information. Willfully falsifying certifications or
certain types of income. However, most tax treaties contain a provision known as
                                                                                           affirmations may subject you to criminal penalties including fines and/or
a "saving clause." Exceptions specified in the saving clause may permit an
                                                                                           imprisonment.
exemption from tax to continue for certain types of income even after the payee
has otherwise become a U.S. resident alien for tax purposes.                               Misuse of TINs. If the requester discloses or uses TINs in violation of federal law,
                                                                                           the requester may be subject to civil and criminal penalties.
   If you are a U.S. resident alien who is relying on an exception contained in the
saving clause of a tax treaty to claim an exemption from U.S. tax on certain types
of income, you must attach a statement to Form W-9 that specifies the following            Specific Instructions
five items:
  1. The treaty country. Generally, this must be the same treaty under which you           Line 1
claimed exemption from tax as a nonresident alien.                                         You must enter one of the following on this line; do not leave this line blank. The
  2. The treaty article addressing the income.                                             name should match the name on your tax return.
  3. The article number (or location) in the tax treaty that contains the saving             If this Form W-9 is for a joint account, list first, and then circle, the name of the
clause and its exceptions.                                                                 person or entity whose number you entered in Part I of Form W-9.
  4. The type and amount of income that qualifies for the exemption from tax.                a. Individual. Generally, enter the name shown on your tax return. If you have
                                                                                           changed your last name without informing the Social Security Administration (SSA)
  5. Sufficient facts to justify the exemption from tax under the terms of the treaty      of the name change, enter your first name, the last name as shown on your social
article.                                                                                   security card, and your new last name.
   Example. Article 20 of the U.S.-China income tax treaty allows an exemption             Note. ITIN applicant: Enter your individual name as it was entered on your Form
from tax for scholarship income received by a Chinese student temporarily present          W-7 application, line la. This should also be the same as the name you entered on
in the United States. Under U.S. law, this student will become a resident alien for        the Form 1040/1040A/1040EZ you filed with your application.
tax purposes if his or her stay in the United States exceeds 5 calendar years.
However, paragraph 2 of the first Protocol to the U.S.-China treaty (dated April 30,         b. Sole proprietor or single-member LLC. Enter your individual name as
1984) allows the provisions of Article 20 to continue to apply even after the              shown on your 1040/1040A/1040EZ on line 1. You may enter your business, trade,
Chinese student becomes a resident alien of the United States. A Chinese student           or "doing business as" (DBA) name on line 2.
who qualifies for this exception (under paragraph 2 of the first protocol) and is            c. Partnership, LLC that is not a single-member LLC, C Corporation, or S
relying on this exception to claim an exemption from tax on his or her scholarship         Corporation. Enter the entity's name as shown on the entity's tax return on line 1
or fellowship income would attach to Form W-9 a statement that includes the                and any business, trade, or DBA name on line 2.
information described above to support that exemption.
                                                                                             d. Other entities. Enter your name as shown on required U.S. federal tax
  If you are a nonresident alien or a foreign entity, give the requester the               documents on line 1. This name should match the name shown on the charter or
appropriate completed Form W-8 or Form 8233.                                               other legal document creating the entity. You may enter any business, trade, or
                                                                                           DBA name on line 2.
Backup Withholding                                                                            e. Disregarded entity. For U.S. federal tax purposes, an entity that is
What is backup withholding? Persons making certain payments to you must                    disregarded as an entity separate from its owner is treated as a "disregarded
under certain conditions withhold and pay to the IRS 28% of such payments. This            entity." See Regulations section 301.7701-2(c)(2)(1i1). Enter the owner's name on
is called "backup withholding." Payments that may be subject to backup                     line 1. The name of the entity entered on line 1 should never be a disregarded
withholding include interest, tax-exempt interest, dividends, broker and barter            entity. The name on line 1 should be the name shown on the income tax return on
exchange transactions, rents, royalties, nonemployee pay, payments made in                 which the income should be reported. For example, if a foreign LLC that is treated
settlement of payment card and third party network transactions, and certain               as a disregarded entity for U.S. federal tax purposes has a single owner that is a
payments from fishing boat operators. Real estate transactions are not subject to          U.S. person, the U.S. owner's name is required to be provided on line 1. If the
backup withholding.                                                                        direct owner of the entity is also a disregarded entity, enter the first owner that is
  You will not be subject to backup withholding on payments you receive if you             not disregarded for federal tax purposes. Enter the disregarded entity's name on
                                                                                           line 2, "Business name/disregarded entity name." If the owner of the disregarded
give the requester your correct TIN, make the proper certifications, and report all
your taxable interest and dividends on your tax return.                                    entity is a foreign person, the owner must complete an appropriate Form W-8
                                                                                           instead of a Form W-9. This is the case even if the foreign person has a U.S. TIN.
Payments you receive will be subject to backup withholding if:
  1. You do not furnish your TIN to the requester,
   2. You do not certify your TIN when required (see the Part II instructions on page
3 for details),
    Case
    Case 2:21-cv-02407-LDH-ST
         2:20-cv-03834-MKB-JMWDocument
                                Document
                                       1-327-1
                                            FiledFiled
                                                  04/30/21
                                                       04/11/22
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                                          1319
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Line 2                                                                                2 However, the following payments made to a corporation and reportable on Form
If you have a business name, trade name, DBA name, or disregarded entity name,          1099-MISC are not exempt from backup withholding: medical and health care
you may enter it on line 2.                                                             payments, attorneys' fees, gross proceeds paid to an attorney reportable under
                                                                                        section 6045(f), and payments for services paid by a federal executive agency.
Line 3                                                                                Exemption from FATCA reporting code. The following codes identify payees
Check the appropriate box in line 3 for the U.S. federal tax classification of the    that are exempt from reporting under FATCA. These codes apply to persons
person whose name is entered on line 1. Check only one box in line 3.                 submitting this form for accounts maintained outside of the United States by
                                                                                      certain foreign financial institutions. Therefore, if you are only submitting this form
Limited Liability Company (LLC). If the name on line 1 is an LLC treated as a
                                                                                      for an account you hold in the United States, you may leave this field blank.
partnership for U.S. federal tax purposes, check the "Limited Liability Company"      Consult with the person requesting this form if you are uncertain if the financial
box and enter "P" in the space provided. If the LLC has filed Form 8832 or 2553 to
                                                                                      institution is subject to these requirements. A requester may indicate that a code is
be taxed as a corporation, check the "Limited Liability Company" box and in the       not required by providing you with a Form W-9 with "Not Applicable" (or any
space provided enter "C" for C corporation or "S" for S corporation. If it is a
                                                                                      similar indication) written or printed on the line for a FATCA exemption code.
single-member LLC that is a disregarded entity, do not check the "Limited Liability
Company" box; instead check the first box in line 3 "Individual/sole proprietor or       A—An organization exempt from tax under section 501(a) or any individual
single-member LLC."                                                                   retirement plan as defined in section 7701(a)(37)
                                                                                        B —The United States or any of its agencies or instrumentalities
Line 4, Exemptions
                                                                                        C —A state, the District of Columbia, a U.S. commonwealth or possession, or
If you are exempt from backup withholding and/or FATCA reporting, enter in the
                                                                                      any of their political subdivisions or instrumentalities
appropriate space in line 4 any code(s) that may apply to you.
                                                                                        D—A corporation the stock of which is regularly traded on one or more
Exempt payee code.
                                                                                      established securities markets, as described in Regulations section
• Generally, individuals (including sole proprietors) are not exempt from backup      1.1472-1(c)(1)(i)
withholding.
                                                                                        E —A corporation that is a member of the same expanded affiliated group as a
• Except as provided below, corporations are exempt from backup withholding           corporation described in Regulations section 1.1472-1(c)(1)(1)
for certain payments, including interest and dividends.
                                                                                         F—A dealer in securities, commodities, or derivative financial instruments
• Corporations are not exempt from backup withholding for payments made in            (including notional principal contracts, futures, forwards, and options) that is
settlement of payment card or third party network transactions.                       registered as such under the laws of the United States or any state
• Corporations are not exempt from backup withholding with respect to attorneys'        G —A real estate investment trust
fees or gross proceeds paid to attorneys, and corporations that provide medical or
                                                                                        H—A regulated investment company as defined in section 851 or an entity
health care services are not exempt with respect to payments reportable on Form
1099-MISC.                                                                            registered at all times during the tax year under the Investment Company Act of
                                                                                      1940
  The following codes identify payees that are exempt from backup withholding.
Enter the appropriate code in the space in line 4.                                      I —A common trust fund as defined in section 584(a)
                                                                                        J—A bank as defined in section 581
  1—An organization exempt from tax under section 501(a), any IRA, or a
custodial account under section 403(b)(7) if the account satisfies the requirements     K —A broker
of section 401(f)(2)                                                                    L—A trust exempt from tax under section 664 or described in section 4947(a)(1)
  2 —The United States or any of its agencies or instrumentalities                      M —A tax exempt trust under a section 403(b) plan or section 457(g) plan
  3—A state, the District of Columbia, a U.S. commonwealth or possession, or          Note. You may wish to consult with the financial institution requesting this form to
any of their political subdivisions or instrumentalities                              determine whether the FATCA code and/or exempt payee code should be
  4—A foreign government or any of its political subdivisions, agencies, or           completed.
instrumentalities
                                                                                      Line 5
  5—A corporation
                                                                                      Enter your address (number, street, and apartment or suite number). This is where
  6—A dealer in securities or commodities required to register in the United
                                                                                      the requester of this Form W-9 will mail your information returns.
States, the District of Columbia, or a U.S. commonwealth or possession
  7—A futures commission merchant registered with the Commodity Futures               Line 6
Trading Commission                                                                    Enter your city, state, and ZIP code.
  8—A real estate investment trust
 9 —An entity registered at all times during the tax year under the Investment        Part I. Taxpayer Identification Number (TIN)
Company Act of 1940                                                                   Enter your TIN in the appropriate box. If you area resident alien and you do not
  10—A common trust fund operated by a bank under section 584(a)                      have and are not eligible to get an SSN, your TIN is your IRS individual taxpayer
                                                                                      identification number (ITIN). Enter it in the social security number box. If you do not
  11—A financial institution
                                                                                      have an ITIN, see How to get a TIN below.
  12—A middleman known in the investment community as a nominee or
                                                                                        If you are a sole proprietor and you have an EIN, you may enter either your SSN
custodian                                                                             or EIN. However, the IRS prefers that you use your SSN.
  13—A trust exempt from tax under section 664 or described in section 4947
                                                                                         If you are a single-member LLC that is disregarded as an entity separate from its
  The following chart shows types of payments that may be exempt from backup          owner (see Limited Liability Company (LLC) on this page), enter the owner's SSN
withholding. The chart applies to the exempt payees listed above, 1 through 13.       (or EIN, if the owner has one). Do not enter the disregarded entity's EIN. If the LLC
                                                                                      is classified as a corporation or partnership, enter the entity's EIN.
IF the payment is for ...                   THEN the payment is exempt for ...        Note. See the chart on page 4 for further clarification of name and TIN
                                                                                      combinations.
Interest and dividend payments              All exempt payees except                  How to get a TIN. If you do not have a TIN, apply for one immediately. To apply
                                            for 7                                     for an SSN, get Form SS-5, Application for a Social Security Card, from your local
                                                                                      SSA office or get this form online at www.ssa.gov. You may also get this form by
Broker transactions                         Exempt payees 1 through 4 and 6           calling 1-800-772-1213. Use Form W-7, Application for IRS Individual Taxpayer
                                            through 11 and all C corporations. S      Identification Number, to apply for an ITIN, or Form SS-4, Application for Employer
                                            corporations must not enter an exempt     Identification Number, to apply for an EIN. You can apply for an EIN online by
                                            payee code because they are exempt        accessing the IRS website at www.irs.govibusinesses and clicking on Employer
                                            only for sales of noncovered securities   Identification Number (EIN) under Starting a Business. You can get Forms W-7 and
                                            acquired prior to 2012.                   SS-4 from the IRS by visiting IRS.gov or by calling 1-800-TAX-FORM
                                                                                      (1-800-829-3676).
Barter exchange transactions and            Exempt payees 1 through 4                   If you are asked to complete Form W-9 but do not have a TIN, apply for a TIN
patronage dividends
                                                                                      and write "Applied For" in the space for the TIN, sign and date the form, and give it
                                                                                      to the requester. For interest and dividend payments, and certain payments made
Payments over $600 required to be           Generally, exempt payees
reported and direct sales over $5,0001      1 through e                               with respect to readily tradable instruments, generally you will have 60 days to get
                                                                                      a TIN and give it to the requester before you are subject to backup withholding on
                                                                                      payments. The 60-day rule does not apply to other types of payments. You will be
Payments made in settlement of              Exempt payees 1 through 4                 subject to backup withholding on all such payments until you provide your TIN to
payment card or third party network                                                   the requester.
transactions                                                                          Note. Entering "Applied For" means that you have already applied for a TIN or that
                                                                                      you intend to apply for one soon.
1See Form 1099-MISC, Miscellaneous Income, and its instructions.
                                                                                      Caution: A disregarded U.S. entity that has a foreign owner must use the
                                                                                      appropriate Form W-8.
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Form W-9 (Rev. 12-2014)                                                                                                                                                                          Page 4

Part II. Certification                                                                             3 You must show your individual name and you may also enter your business or DBA name on
                                                                                                     the "Business name/disregarded entity" name line. You may use either your SSN or EIN (if you
To establish to the withholding agent that you are a U.S. person, or resident alien,                 have one), but the IRS encourages you to use your SSN.
sign Form W-9. You may be requested to sign by the withholding agent even if
items 1, 4, or 5 below indicate otherwise.                                                           List first and circle the name of the trust, estate, or pension trust. (Do not furnish the TIN of the
                                                                                                     personal representative or trustee unless the legal entity itself is not designated in the account
  For a joint account, only the person whose TIN is shown in Part I should sign                      title.) Also see Special rules for partnerships on page 2.
(when required). In the case of a disregarded entity, the person identified on line 1              *Note. Grantor also must provide a Form W-9 to trustee of trust.
must sign. Exempt payees, see Exempt payee code earlier.                                           Note. If no name is circled when more than one name is listed, the number will be
Signature requirements. Complete the certification as indicated in items 1                         considered to be that of the first name listed.
through 5 below.
  1. Interest, dividend, and barter exchange accounts opened before 1984
                                                                                                   Secure Your Tax Records from Identity Theft
and broker accounts considered active during 1983. You must give your                              Identity theft occurs when someone uses your personal information such as your
correct TIN, but you do not have to sign the certification.                                        name, SSN, or other identifying information, without your permission, to commit
   2. Interest, dividend, broker, and barter exchange accounts opened after                        fraud or other crimes. An identity thief may use your SSN to get a job or may file a
1983 and broker accounts considered inactive during 1983. You must sign the                        tax return using your SSN to receive a refund.
certification or backup withholding will apply. If you are subject to backup                          To reduce your risk:
withholding and you are merely providing your correct TIN to the requester, you
                                                                                                   • Protect your SSN,
must cross out item 2 in the certification before signing the form.
                                                                                                   • Ensure your employer is protecting your SSN, and
   3. Real estate transactions. You must sign the certification. You may cross out
item 2 of the certification.                                                                       • Be careful when choosing a tax preparer.
   4. Other payments. You must give your correct TIN, but you do not have to sign                    If your tax records are affected by identity theft and you receive a notice from
the certification unless you have been notified that you have previously given an                  the IRS, respond right away to the name and phone number printed on the IRS
incorrect TIN. "Other payments" include payments made in the course of the                         notice or letter.
requester's trade or business for rents, royalties, goods (other than bills for                      If your tax records are not currently affected by identity theft but you think you
merchandise), medical and health care services (including payments to                              are at risk due to a lost or stolen purse or wallet, questionable credit card activity
corporations), payments to a nonemployee for services, payments made in                            or credit report, contact the IRS Identity Theft Hotline at 1-800-908-4490 or submit
settlement of payment card and third party network transactions, payments to                       Form 14039.
certain fishing boat crew members and fishermen, and gross proceeds paid to
attorneys (including payments to corporations).                                                      For more information, see Publication 4535, Identity Theft Prevention and Victim
                                                                                                   Assistance.
  5. Mortgage interest paid by you, acquisition or abandonment of secured
property, cancellation of debt, qualified tuition program payments (under                            Victims of identity theft who are experiencing economic harm or a system
section 529), IRA, Coverdell ESA, Archer MSA or HSA contributions or                               problem, or are seeking help in resolving tax problems that have not been resolved
distributions, and pension distributions. You must give your correct TIN, but you                  through normal channels, may be eligible for Taxpayer Advocate Service (TAS)
do not have to sign the certification.                                                             assistance. You can reach TAS by calling the TAS toll-free case intake line at
                                                                                                   1-877-777-4778 or TTY/TDD 1-800-829-4059.
What Name and Number To Give the Requester                                                         Protect yourself from suspicious emails or phishing schemes. Phishing is the
                                                                                                   creation and use of email and websites designed to mimic legitimate business
         For this type of account:                         Give name and SSN of:                   emails and websites. The most common act is sending an email to a user falsely
                                                                                                   claiming to be an established legitimate enterprise in an attempt to scam the user
  1. Individual                                    The individual                                  into surrendering private information that will be used for identity theft.
  2. Two or more individuals (joint                The actual owner of the account or,
      account)                                     if combined funds, the first                      The IRS does not initiate contacts with taxpayers via emails. Also, the IRS does
                                                                                                   not request personal detailed information through email or ask taxpayers for the
                                                   individual on the account'                      PIN numbers, passwords, or similar secret access information for their credit card,
  3. Custodian account of a minor                  The minor'                                      bank, or other financial accounts.
     (Uniform Gift to Minors Act)                                                                    If you receive an unsolicited email claiming to be from the IRS, forward this
  4. a. The usual revocable savings                The grantor-trustee'                            message to phishing@irs.gov. You may also report misuse of the IRS name, logo,
     trust (grantor is also trustee)                                                               or other IRS property to the Treasury Inspector General for Tax Administration
     b. So-called trust account that is            The actual owner'                               (TIGTA) at 1-800-366-4484. You can forward suspicious emails to the Federal
     not a legal or valid trust under                                                              Trade Commission at: spam@uce.gov or contact them at www.ftc.goyficitheft or
     state law                                                                                     1-877-IDTHEFT (1-877-438-4338).
  5. Sole proprietorship or disregarded            The owner'                                        Visit IRS.gov to learn more about identity theft and how to reduce your risk.
     entity owned by an individual
  6. Grantor trust filing under Optional           The grantor*                                    Privacy Act Notice
     Form 1099 Filing Method 1 (see
     Regulations section 1.671-4(b)(2)(i)                                                          Section 6109 of the Internal Revenue Code requires you to provide your correct
     (A))                                                                                          TIN to persons (including federal agencies) who are required to file information
                                                                                                   returns with the IRS to report interest, dividends, or certain other income paid to
         For this type of account:                         Give name and EIN of:                   you; mortgage interest you paid; the acquisition or abandonment of secured
 7. Disregarded entity not owned by an             The owner                                       property; the cancellation of debt; or contributions you made to an IRA, Archer
    individual                                                                                     MSA, or HSA. The person collecting this form uses the information on the form to
 8. A valid trust, estate, or pension trust        Legal entity4                                   file information returns with the IRS, reporting the above information. Routine uses
                                                                                                   of this information include giving it to the Department of Justice for civil and
 9. Corporation or LLC electing                    The corporation                                 criminal litigation and to cities, states, the District of Columbia, and U.S.
    corporate status on Form 8832 or                                                               commonwealths and possessions for use in administering their laws. The
    Form 2553                                                                                      information also may be disclosed to other countries under a treaty, to federal and
10. Association, club, religious,                  The organization                                state agencies to enforce civil and criminal laws, or to federal law enforcement and
    charitable, educational, or other tax-                                                         intelligence agencies to combat terrorism. You must provide your TIN whether or
    exempt organization                                                                            not you are required to file a tax return. Under section 3406, payers must generally
                                                                                                   withhold a percentage of taxable interest, dividend, and certain other payments to
11. Partnership or multi-member LLC                The partnership
                                                                                                   a payee who does not give a TIN to the payer. Certain penalties may also apply for
12. A broker or registered nominee                 The broker or nominee                           providing false or fraudulent information.
13. Account with the Department of                 The public entity
    Agriculture in the name of a public
    entity (such as a state or local
    government, school district, or
    prison) that receives agricultural
    program payments
14. Grantor trust filing under the Form            The trust
    1041 Filing Method or the Optional
    Form 1099 Filing Method 2 (see
    Regulations section 1.671-4(b)(2)(i)
    (B))
  List first and circle the name of the person whose number you furnish. If only one person on a
  joint account has an SSN, that person's number must be furnished.
2 Circle the minor's name and furnish the minor's SSN.
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M.D.C. 1900290-002
Final Audit Report                                                                               2019-10-29

     Created:             2019-10-24

     By:                 Debra Gipson (debra@gelsco.net)

     Status:             Signed

     Transaction ID:     CI3JCHBCAABAA3wWx2N51xyo0-iHNZI5M5XzpajPW1-wtK




"M.D.C. 1900290-002" History
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de. Document e-signed by Kevin Watts (kevinw@geisco.net)
      Signature Date: 2019-10-29 - 5:57:54 PM GMT - lime Source: server- IP address: 70.62.248.227


      Signed document emailed to Kevin Watts (kevinw@geisco.net), Jaime Delahunt (jaimemdcinc@gmail.com),
      Debra Gipson (debra@geisco.net), and Jeff Martin (jm@geisco.net)
      2019-10-29 - 5:57:54 PM GMT



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                   EXHIBIT C
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                          AMERICAN ARBITRATION ASSOCIATION
                     CONSTRUCTION INDUSTRY ARBITRATION TRIBUNAL


   GEIS CONSTRUCTION SOUTH, LLC                         AAA CASE NO, 01-20-0005-2715

                           Claimant

             vs.                                        FINAL AWARD

   MDC HOME IMPROVEMENTS, INC.

                           Respondent



             We, THE UNDERSIGNED ARBITRATORS, having been designated in accordance

   with the arbitration agreement provisions contained within the subcontracts, dated June 18,

   2019 and October 22, 2019, entered into between Claimant, Geis Construction South, LLC,

   represented by Aaron Evenchik, Esq. of the firm of Hahn, Loeser & Parks, LLP, and

   Respondent, unrepresented, having been duly sworn, and having duly heard the proofs and

   allegations of Claimant and the Respondent having failed to appear after due notice by mail in

   accordance with the Rules of the American Arbitration Association, hereby AWARD as

   follows:

                                            INTRODUCTION

            On or about May 15, 2020, Claimant, Geis Construction South, LLC, filed its Demand

   for Arbitration, pursuant to the Construction Arbitration Rules of the American Arbitration

   Association. Respondent, MDC Home Improvements, Inc., never responded to the Demand.

            A Preliminary Hearing Scheduling Order was entered on August 14, 2020. It provides

   for the Award to be in the Standard form containing a concise written breakdown.

            The hearing in this matter was held on March 11, 2021. Respondent did not appear at the

   hearing and the Panel proceeded to hear testimony after a sufficient period of time to allow


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   Respondent's representatives to appear. Claimant offered numerous and extensive exhibits in

   support of its claims at the hearing, all of which were admitted into evidence. Exhibit G

   established that Respondent was properly served with Claimant's Demand for Arbitration.

                                    II. FACTUAL BACKGROUND

            This dispute is about a project in Hoboken, NJ referred to as The Wonder Lofts ("the

   Project"). In connection with the Project, Claimant and Respondent entered into two

   subcontracts (Exhs. A-1, A-2), one with a scope including concrete, CMU, masonry, and site

   work/earth work, and the other with a scope of masonry/brick repair. Eventually, Respondent,

   according to the testimony of Mr_ Kevin Watts, Claimant's Project Manager, abandoned its work

   on the Project, leaving Claimant to complete it. To this day, the Project continues.

           There is no question that Respondent breached the subcontracts it entered into with

   Claimant causing it substantial damage, and the Panel so finds. As to damages suffered by

   Claimant resulting from Respondent's breach of the two subcontracts, Claimant presented

   testimony from Mr. Watts and extensive documentary evidence, summarized in Exhibit D as

   follows:

   MDC Concrete Summary                  2/24/2021

   MDC Contract Amount                                                            $7,678,660.00

   MDC Change Orders                                                            ($11,163,439.51)

   Revised Contract Value                                                        ($3,484,779.51)

   MDC Previously Paid                                                            $5,536,775.19

   Current Amount owed to Geis from MDC                                          ($9,021,554.70)

   Projected Amount to Complete                                                     $977,355.88
   (Sitework, D & E Roof, Punchlist Work)

   Projected MDC Deficit                                                         ($9,998,910.58)
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   Masonry Summary               2/24/2021

   MDC Contract Value                                                             $1,013,758.22

   MDC Change Orders - Cost to Complete                                            ($774,114.36)

    Revised Contract Value                                                          $239,643.86

   MDC Previously Paid                                                              $130,447.14

   Projected Amount to Complete (Balance of J&G Contract)                            $65,000.00

   MDC Deficit                                                                       $44,196.72


   Total Deficit Between Contracts                                               ($9,954,713.86)


           The Panel finds that Claimant proved it was damaged in the amount of $9,954,713.86, as

   shown on Exhibit D.

           Claimant has also made a claim for attorney's fees, pursuant to Sections 9.17 and 18.3 of

   the subcontracts. Exhibit D and written exhibits supported by oral testimony from Claimant's

   counsel were admitted into evidence establishing that Claimant's attorney's fees total

   $45,139.75. The Panel finds that both the hourly rates charged and the amount of work done by

   Claimant's law firm were reasonable and necessary. Claimant, therefore, is entitled to recover

   its attorney's fees.

                                             III. AWARD

           The Panel awards Claimant damages plus attorney's fees in the total amount of

   $9,999,853.61.

           The administrative fees of the American Arbitration Association totaling $14,700.00

   and the compensation of the Arbitrators totaling $7,277.50, shall be borne by Respondent.

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    Therefore, Respondent shall reimburse Claimant the sum of $21,977.50, representing that

    portion of said fees and expenses in excess of the apportioned costs previously incurred by

    Claimant.

            The above sums are to be paid on or before ten (10) days from the date of this Award.

    Thereafter, interest shall accrue at the statutory rate then in effect.

            This Award is in full settlement of all claims submitted to this Arbitration. All claims

    not expressly granted herein are hereby denied.




         ITRATOR, DONALD W. GAG°                                              DATE




   ARBITRATOR, JOSEPH B. JEROME                                               DATE




   ARBITRATOR, DAVID A. SCHAEFER                                              DATE




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          Therefore, Respondent shall reimburse Claimant the sum of $21,977.50, representing that

          portion of said fees and expenses in excess of the apportioned costs previously incurred by

          Claimant.

                  The above sums are to be paid on or before ten (10) days from the date of this Award.

          Thereafter, interest shall accrue at the statutory rate then in effect.

                  This Award is in full settlement of all claims submitted to this Arbitration. All claims

          not expressly granted herein are hereby denied.




         ARBITRATOR, DONALD W. GREGORY                                              DATE




        'ARB RATO , JOSEP               . JEROME                                    ,DATE



         AkBITRATOR, AVID A. SCHAEFER                                               DATE




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IS 44          (Rev. 02/19)                        CIVIL COVER SHEET
The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

I. (a) PLAINTIFFS                                                                                                       DEFENDANTS

    Geis Construction South, LLC                                                                                       MDC Home Improvements, Inc.

         (b) County of Residence of First Listed Plaintiff Portage                           County, OH                  County of Residence of First Listed Defendant    Nassau County,                    NY
                                (EXCEPT IN U.S. PLAINTIFF CASES)                                                                                (IN U.S. PLAINTIFF CASES ONLY)
                                                                                                                         NOTE: IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                                 THE TRACT OF LAND INVOLVED,


         (c) Attorneys (Firm Name, Addre.u, and Telephone Number)                                                        Attorneys (If Known)
    Chris Nucifora, Kaufman Dolowich Voluck LLP
    25 Main Street, Suite 500, Hackensack, NJ 07601
    cnucifora@kdvlaw.com 201.488.6655

II. BASIS OF JURISDICTION (Place an "X" in One Box Only)                                                   III, CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" in One Boxfor Plaintiff
                                                                                                                     (For Diversity Cases Only)                                          and One Box for Defendant)
0 1            U.S. Government                0 3   Federal Question                                                                          PTF         DEF                                           PTF      DEF
                  Plaintiff                           (U.S. Government Not a Party)                            Citizen of This State          01          X 1       Incorporated or Principal Place      0 4      0 4
                                                                                                                                                                      of Business In This State

                                                    Diversity                                                  Citizen of Another State          114 2     0    2   Incorporated and Principal Place    0   5    0 5
0 2            U.S. Government             7 4
                 Defendant                            (Indicate Citizenship of Parties in Item III)                                                                    of Business In Another State

                                                                                                               Citizen or Subject of a           0 3       0    3   Foreign Nation                      0   6    0 6
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                AT RE OF SUIT (Place an "X" in One Box Onl
                  CONTRACT                                                  TORTS                                FORFEITURE/PENALTY                            BANKRUPTCY                    QTHER STATUTES
I
    0    110 Insurance                         PERSONAL INJURY                    PERSONAL INJURY              0 625 Drug Related Seizure           0 422 Appeal 28 USC 158             0 375 False Claims Act
    0    120 Marine                       Cl   310 Airplane                    Cl 365 Personal Injury -               of Property 21 USC 881        Cl 423 Withdrawal                   Cl 376 Qui Tam (31 USC
    Cl   130 Miller Act                   Cl   315 Airplane Product                   Product Liability        Cl 690 Other                                28 USC 157                          3729(a))
    Cl   140 Negotiable Instrument                  Liability                  Cl 367 Health Care/                                                                                      Cl 400 State Reapportionment
    0    150 Recovery of Overpayment      0    320 Assault, Libel &                   Pharmaceutical                                                   PROPERTY RIGHTS                  Cl 410 Antitrust
             & Enforcement of Judgment              Slander                           Personal Injury                                               Cl 820 Copyrights                   Cl 430 Banks and Banking
    0    151 Medicare Act                 Cl   330 Federal Employers'                 Product Liability                                             Cl 830 Patent                       Cl 450 Commerce
    0    152 Recovery of Defaulted                  Liability                  0 368 Asbestos Personal                                              Cl 840 Trademark                    Cl 460 Deportation
             Student Loans                0    340 Marine                             Injury Product                                                                                    Cl 470 Racketeer Influenced and
             (Excludes Veterans)          0    345 Marine Product                     Liability                            LABOR                         SOCIAL SECURITY                       Corrupt Organizations
    0    153 Recovery of Overpayment                Liability                    PERSONAL PROPERTY             Cl 710 Fair Labor Standards          Cl   861 HIA (1395ff)               0 480 Consumer Credit
             of Veteran's Benefits        0    350 Motor Vehicle               Cl 370 Other Fraud                      Act                          Cl   862 Black Lung (923)           0 490 Cable/Sat TV
    0    160 Stockholders' Suits          0    355 Motor Vehicle               Cl 371 Truth in Lending         Cl 720 Labor/Management              Cl   863 DIWC/DIWW (405(g))         0 850 Securities/Commodities/
    0    190 Other Contract                        Product Liability           0 380 Other Personal                    Relations                    0    864 SSID Title XVI                    Exchange
    0    195 Contract Product Liability   0    360 Other Personal                     Property Damage          Cl 740 Railway Labor Act             0    865 RSI (405(g))               CI 890 Other Statutory Actions
    0    196 Franchise                             Injury                      Cl 385 Property Damage          0 751 Family and Medical                                                 Cl 891 Agricultural Acts
                                          0    362 Personal Injury -                  Product Liability                Leave Act                                                        0 893 Environmental Matters
                                                   Medical Malpractice                                         0 790 Other Labor Litigation                                             0 895 Freedom of Information
             REAL PROPERTY                       CIVIL RIGHTS-                  PRISONER PETITIONS             0 791 Employee Retirement               FEDERAL TAX SUITS                       Act
    0    210 Land Condemnation            0    440 Other Civil Rights             Habeas Corpus:                      income Security Act           0 870 Taxes (U.S. Plaintiff         X 896 Arbitration
    Cl   220 Foreclosure                  0    441 Voting                      Cl 463 Alien Detainee                                                        or Defendant)               0 899 Administrative Procedure
    Cl   230 Rent Lease & Ejectment       0    442 Employment                  Cl 510 Motions to Vacate                                             Cl 871 IRS—Third Party                     Act/Review or Appeal of
    0    240 Torts to Land                Cl   443 Housing/                           Sentence                                                              26 USC 7609                        Agency Decision
    0    245 Tort Product Liability                Accommodations              0 530 General                                                                                            0 950 Constitutionality of
    0    290 All Other Real Property      0    445 Amer. w/Disabilities -      0 535 Death Penalty                   IMMIGRATION                                                               State Statutes
                                                   Employment                     Other:                       0 462 Naturalization Application
                                          0    446 Amer. w/Disabilities -      0 540 Mandamus & Other          0 465 Other Immigration
                                                   Other                       0 550 Civil Rights                    Actions
                                          0    448 Education                   0 555 Prison Condition
                                                                               0 560 Civil Detainee -
                                                                                      Conditions of
                                                                                      Confinement

V. ORIGIN (Place an "X" in One Box Only)
X1             Original          0 2 Removed from                0      3    Remanded from                0 4 Reinstated or       0      5 Transferred from         0 6 Multidistrict
               Proceeding            State Court                             Appellate Court                  Reopened                     Another District             Litigation
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                                                         suditiihsralt iu)nder which you are filing (Do not cite jurisdictional statutes unless diversity):
VI. CAUSE OF ACTION
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VII, REQUESTED IN     0                              CHECK IF THIS IS A CLASS ACTION                             DEMAND $                                       CHECK YES only if demanded in complaint:

     COMPLAINT:                                      UNDER RULE 23, F.R.Cv P.                                                                                   JURY DEMAND:                0 Yes       XNo

VIII. RELATED CASE(S)
                                                    (See instructions):                       Judge Denis R. Hurley                                                               2:20-cv-03834
      IF ANY                                                                  JUDGE                                                                      DOCKET NUMBER

    DATE                                                                            SIGNATURE OF ATTORNEY OF RECORD
                  4/30/2021                                                       /s/ Mr. Christopher Nucifora, Esq.
    FOR OFFICE USE ONLY

         RECEIPT 6                     AMOUNT                                              APPLYING 1FP                                  JUDGE                             MAG, JUDGE
        Case
          Case             CERTIFICATION
             2:20-cv-03834-MKB-JMW
               2:21-cv-02407-LDH-ST      OF ARBITRATION
                                    Document
                                    Document 1-5
                                             27-1 Filed       ELIGIBILITY
                                                    Filed04/30/21
                                                          04/11/22 Page
                                                                    Page2 280
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                                                                                       #: 566 #:
Local Arbitration Rule 83.7 provides that with certain exceptions, actions seeking money damages only in an amount not in excess of $150,000,
                                                                                  1329
exclusive of interest and costs, are eligible for compulsory arbitration. The amount of damages is presumed to be below the threshold amount unless a
certification to the contrary is filed.

Case is Eligible for Arbitration

I, __________________________________________,
    Christopher Nucifora                            counsel for____________________________,
                                                                     Geis Construction South, LLC do hereby certify that the above captioned civil action is ineligible for
compulsory arbitration for the following reason(s):

          ✔             monetary damages sought are in excess of $150,000, exclusive of interest and costs,

                        the complaint seeks injunctive relief,

                        the matter is otherwise ineligible for the following reason


                                   DISCLOSURE STATEMENT - FEDERAL RULES CIVIL PROCEDURE 7.1
                                   Identify any parent corporation and any publicly held corporation that owns 10% or more or its stocks:

Geis Construction South, LLC is 100% owned by Geis Construction, Inc.

There is no publicly-held corporation owning 10% or more of Geis Construction South, LLC.

                                   RELATED CASE STATEMENT (Section VIII on the Front of this Form)
Please list all cases that are arguably related pursuant to Division of Business Rule 50.3.1 in Section VIII on the front of this form. Rule 50.3.1 (a) provides that “A civil case is “related”
to another civil case for purposes of this guideline when, because of the similarity of facts and legal issues or because the cases arise from the same transactions or events, a
substantial saving of judicial resources is likely to result from assigning both cases to the same judge and magistrate judge.” Rule 50.3.1 (b) provides that “ A civil case shall not be
deemed “related” to another civil case merely because the civil case: (A) involves identical legal issues, or (B) involves the same parties.” Rule 50.3.1 (c) further provides that
“Presumptively, and subject to the power of a judge to determine otherwise pursuant to paragraph (d), civil cases shall not be deemed to be “related” unless both cases are still
pending before the court.”

                                                           NY-E DIVISION OF BUSINESS RULE 50.1(d)(2)


1.)         Is the civil action being filed in the Eastern District removed from a New York State Court located in Nassau or Suffolk
            County?                     Yes         ✔    No

2.)         If you answered “no” above:
            a) Did the events or omissions giving rise to the claim or claims, or a substantial part thereof, occur in Nassau or Suffolk
            County?                 Yes         ✔     No

            b) Did the events or omissions giving rise to the claim or claims, or a substantial part thereof, occur in the Eastern
            District?               Yes         ✔     No

            c) If this is a Fair Debt Collection Practice Act case, specify the County in which the offending communication was
            received:______________________________.

If your answer to question 2 (b) is “No,” does the defendant (or a majority of the defendants, if there is more than one) reside in Nassau or
Suffolk County, or, in an interpleader action, does the claimant (or a majority of the claimants, if there is more than one) reside in Nassau or
                       ✔      Yes               No
Suffolk County?___________________________________
          (Note: A corporation shall be considered a resident of the County in which it has the most significant contacts).

                                                                                        BAR ADMISSION

            I am currently admitted in the Eastern District of New York and currently a member in good standing of the bar of this court.

                                          ✔                  Yes                                                          No

            Are you currently the subject of any disciplinary action (s) in this or any other state or federal court?

                                                             Yes       (If yes, please explain                  ✔         No




            I certify the accuracy of all information provided above.

            Signature: ____________________________________________________
                                                                                                                                                                       Last Modified: 11/27/2017
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    Defendant’s Exhibit 2
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           SUPREME                    COURT            OF THE            STATE                 OF      NEW YORK
           COUNTY                OF NASSAU
           ------------------------------------------------------------------X

          JOSE         VELAZQUEZ,                                                                                                                      Index      No.:        605528/2019



                                                                                          Plaintiff,                                                   STATEMENT                           PURSUANT
                                                                                                                                                       TO CPLR                3042(b)
                                                         - against          -



          MOXEY               RIGBY             LLC,        and      JOBCO,               INC.            and

          THE        FREEPORT                   AFFORDABLE                             HOUSING
          DEVELOPMENT                            FUND             CORP.,
                                                                                          Defendants.
          -------------------------                                 -----------------------------X



          MOXEY               RIGBY             LLC,        JOBCO,               INC.,          and

          THE         FREEPORT                  AFFORDABLE                             HOUSING
          DEVELOPMENT                            FUND            CORP.,


                                                                                          Third-Party               Plaintiffs,


                                                        - against           -



          MDC          HOME             IMPROVEMENTS,                                  INC.



                                                                                          Third-Party               Defendant


          ----------------------------------------------------------------X

          COUNSEL:


                          PLEASE               TAKE             NOTICE,                  that       the     Defendants/Third-Party                       Plaintiffs,            MOXEY              RIGBY


          LLC,          JOBCO,               INC.         and       THE            FREEPORT                       AFFORDABLE                      HOUSING                     DEVELOPMENT


          FUND,              CORP.,             have          impleaded                  the        above-named                   Third-Party             Defendant,                   MDC          HOME


          IMPROVEMENTS,                               INC.,        and          that     henceforth,                the     caption       of    this     action         shall         be    set    forth     as



          above.


                         PLEASE                TAKE             FURTHER                         NOTICE,              that     this     action      has      not        been       placed          upon     the



          trial     calendar            of    this     Court.           A        copy          of    this       statement         is   being      served          upon          all    parties       to    this



          action.




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               Dated:          Mineola,             New       York
                           November                   13,    2019


                                                                                       HAVKINS                   ROSENFELD                  RITZERT
                                                                                       &     VARRIALE,                    LLP




                                                                                       By:
                                                                                                                         Richard         Harms,   Esq.
                                                                                       .     torneys       for     Defendants/Third-Party
                                                                                       Plaintiffs
                                                                                       MOXEY               RIGBY              LLC,   JOBCO,       INC.    and
                                                                                       THE          FREEPORT                  AFFORDABLE              HOUSING
                                                                                       DEVELOPMENT                             FUND       CORP.
                                                                                       114        Old     Country         Road

                                                                                       Mineola,            New         York      11501
                                                                                       Telephone:                (516)        620-1700
                                                                                       HRRV             File     No.     10310-000442



            TO:


           Kenneth             Klein
           GORAYEB                      & ASSOCIATES,                   P.C.

           Attorney             for     Plaintiff
           JOSE         VELAZQUEZ
           100     William              Street,       Suite      1900
           New         York,          New      York          10038

           (212)        257-9222/A10287-LL/JV

           (212)        962-5418-Facsimile



           MDC HOME                         IMPROVEMENTS,                      INC.
                         11th
           151     S.                 Street

           Lindenhurst,                 New         York       11757

           Via     (Personal              Service)
           &     Via     Secretary             of    State




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           SUPREME                   COURT             OF THE             STATE               OF        NEW YORK
           COUNTY                 OF NASSAU
           ------------------------------------------------------------------X

           JOSE          VELAZQUEZ,                                                                                                                      Index          No.:     605528/2019



                                                                                           Plaintiff,                                                    THIRD-PARTY
                                                                                                                                                         SUMMONS


           MOXEY               RIGBY            LLC,        and       JOBCO,               INC.,        and

           THE        FREEPORT                   AFFORDABLE                           HOUSING
           DEVELOPMENT                            FUND              CORP.,
                                                                                           Defendants.
           ----------------------------------------------------------------------X



           MOXEY               RIGBY            LLC,        JOBCO,               INC.        and

           THE        FREEPORT                   AFFORDABLE                           HOUSING
           DEVELOPMENT                            FUND              CORP.,


                                                                                           Third-Party              Plaintiffs,


                                                         - against         -



           MDC           HOME           IMPROVEMENTS,                                 INC.



                                                                                           Third-Party              Defendant


           -----------------------------------------------------------------------X

          TO MDC                 HOME             IMPROVEMENTS,                                     INC.:


                          YOU          ARE         HEREBY                 SUMMONED                            and     required           to   answer           the      Third-Party               Complaint


          of       the        Defendants/Third-Party                                  Plaintiffs,             MOXEY                    RIGBY                 LLC,           JOBCO,               INC.          and


          THE          FREEPORT                    AFFORDABLE                              HOUSING                  DEVELOPMENT                               FUND             CORP.,             a    copy      of



          which          is    hereby         served          upon        you,         and      to      serve       copies        of     your         Answer            upon          the     undersigned,


          Havkins             Rosenfeld             Ritzert          &   Varriale,              LLP,          114     Old      Country               Road,          Suite      300,         Mineola,          New


          York           11501,         attorneys             for     defendants/third-party                            plaintiffs,           MOXEY                   RIGBY             LLC,           JOBCO,


          INC.        and      THE          FREEPORT                  AFFORDABLE                            HOUSING               DEVELOPMENT                                 FUND           CORP.,           ; and


          upon         Plaintiff's            counsel,              Gorayeb            &      Associates,              P.C.,          100     William               Street,      Suite          1900,         New


          York,          New         York      10038,          within          twenty          (20)      days       after      service          of    this     summons,                exclusive         of     the




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           day        of     service,           or     within            thirty         (30)      days            after         service         is    complete              if     this     summons         is   not



          personally                delivered               to    you      within          the        State         of       New       York.          In     case      of        your     failure   to    answer,


          judgment                will      be taken             against          you    by      default            for      the   relief      demanded               in    the     complaint.




              Dated:         Mineola,                New         York
                             November                  13,       2019


                                                                                                              HAVKINS                     ROSE              FELD            RITZERT
                                                                                                              &     VARRIA
                                                                                                              By:
                                                                                                                                               Richard            Harms,           Esq.

                                                                                                              Defendants/Third-Party                               Plaintiffs,            MOXEY          RIGBY
                                                                                                              LLC,           JOBCO,            1NC.         and     THE          FREEPORT
                                                                                                              AFFORDABLE                             HOUSING                DEVELOPMENT
                                                                                                              FUND              CORP.,
                                                                                                              114         Old      Country           Road

                                                                                                              Mineola,             New         York         11501
                                                                                                              Telephone:                    (516)          620-1700
                                                                                                              HRRV              File    No.      10310-000442



          TO:


          Kenneth             Klein

          GORAYEB                        & ASSOCIATES,                              P.C.

          Attorney            for        Plaintiff
          JOSE             VELAZQUEZ
           100    William                Street,       Suite         1900

          New         York,         New         York             10038

          (212)        257-9222/A10287-LL/JV

          (212)        962-5418-Facsimile



          MDC HOME                          IMPROVEMENTS,                                      INC.
                           11th
           151    S.                Street

          Lindenhurst,                   New         York          11757

          Via     (Personal                Service)
          &     Via        Secretary            of    State




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           SUPREME                   COURT              OF THE            STATE             OF        NEW YORK
           COUNTY                   OF NASSAU
           -------------------------------------------------------------------X
           JOSE         VELAZQUEZ,                                                                                                               Index        No.:       605528/2019



                                                                                         Plaintiff,                                              THIRD-PARTY
                                                                                                                                                 COMPLAINT


           MOXEY               RIGBY            LLC,        and      JOBCO,              INC.,
           THE        FREEPORT                   AFFORDABLE                           HOUSING
           DEVELOPMENT                            FUND           CORP.,
                                                                                         Defendants.
           ---------------------------------------------------------------X


           MOXEY               RIGBY            LLC,        JOBCO,                INC.      and
           THE        FREEPORT                   AFFORDABLE                          HOUSING
           DEVELOPMENT                            FUND           CORP.,


                                                                                         Third-Party           Plaintiffs,


                                                          - against           -



           MDC          HOME            IMPROVEMENTS,                                INC.



                                                                                         Third-Party           Defendant


           --------------------------------------------------------------------X



                          Defendants/Third-Party                                  Plaintiffs,           MOXEY                  RIGBY             LLC,          JOBCO,                    INC.        and


           THE          FREEPORT                    AFFORDABLE                              HOUSING               DEVELOPMENT                           FUND            CORP.,              by     their



           attorneys,           HAVKINS                   ROSENFELD                      RITZERT               & VARRIALE,                  LLP,         as and        for    its    Third-Party


           Complaint             against         MDC          HOME                IMPROVEMENTS,                        INC.,     respectfully             allege,        upon       information


           and     belief,       as follows:


                          1.             That        at    all     times           mentioned            herein,       Defendant/Third-Party                           Plaintiff,           MOXEY


           RIGBY             LLC,       is a domestic               limited           liability       company          organized           and     existing          under         and     by    virtue


           of the      laws         of the      State      of New          York,         and      authorized         to do      business         in the       State      of New           York.




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                           2.             That               at         all      times             mentioned              herein,             defendant/third-party                                plaintiff,             JOBCO


           INCORPORATED                                  ("JOBCO")                          is and      was        a domestic                 corporation                organized             and          existing         under


           and       by    virtue        of    the        laws            of     the        State      of New           York,         and        authorized              to    do     business               in the       State         of


           New        York.


                           3.             At       all         times            mentioned                herein,         defendant/third-party                             plaintiff,              THE           FREEPORT


           AFFORDABLE                             HOUSING                              DEVELOPMENT                               FUND                CORP.               ("FAHDF")                      is       and       was               a


           domestic              not    for      profit           corporation                      organized            and      existing           under          and        by     virtue        of      the     laws      of    the


           State      of New            York,            authorized                    to do        business           in the         State       of New           York.


                           4.             At             all            times               mentioned                  herein,              third-party                  defendant,                     MDC               HOME


           IMPROVEMENTS,                                       INC.             (hereinafter              "MDC")                 is     and        was        a    domestic               business               corporation


           organized              and     existing                under              and      by     virtue      of     the     laws        of     the    State         of New            York,            and     authorized


           to do      business            in the          State               of New           York.


                           5.             That            at      all          times         mentioned                herein,          third-party                defendant,                  MDC            was       and        is     a


           foreign         corporation                  authorized                     to    do     business           under          and     by     virtue        of    the       laws       of     the      State       of New


           York.


                           6.             At      all        times             mentioned               herein,         third-party               defendant,              MDC            did    domestic                business


           under          and    by     virtue          of      the           laws     of the         State      of New           York.


                           7.             That           at       all         times          mentioned                herein,          third-party                defendant               MDC              maintained                  its


          principal             place     of     business                     at 17B           Seaman            Avenue,              Bethpage,           New            York         11714.


                           8.             That           at       all         times          mentioned             herein,            third-party                 defendant               MDC              maintained                  its


                                                                                                          11*
          principal             place     of     business                     at 151         South                 Street,        Lindenhurst,                    New         York        11751.




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                          9.              At     all        times         mentioned                    herein,             third-party                 defendant                 MDC             transacted                   business



           within       the      State      of New                York.


                          10.             That          without                admitting                any         of       the        allegations                 contained                 therein,             the        plaintiff


           JOSE        VELAZQUEZ                            commenced                      an action           in the             Supreme              Court,         State           of     New          York,             County           of



           Nassau,         against             MOXEY                    and      JOBCO                 by     the        filing         of     a Summons                    and            Verified              Complaint,                  to


           recover        for     personal             injuries,               a copy        of which               is annexed                     hereto       as Exhibit                   "A".


                          11.             That         without            admitting               any        of the          allegations                contained                therein,             the      plaintiff          JOSE



           VELAZQUEZ,                          commenced                       an     action           in     the        Supreme                   Court,          State         of        New           York,          County               of


           Nassau          against             FAHDF                by         the      filing          of     a     summons                   and          complaint                 to     recover              for        personal



           injuries,       a copy          of    which             is annexed                hereto           as Exhibit                  "B".


                          12.             That     MOXEY                       and      JOBCO                      interposed                  an     Answer               on         or     about             November                     13,



           2018,       a copy        of    which             is annexed                 hereto          as Exhibit                 "C".



                          13.             That     FAHDF                   interposed                  an Answer                   on     or       about      May          29,        2019,         a copy             of    which           is


           annexed         hereto          as Exhibit                   "D".


                                                                                                                                                                   Ordered"
                         14.              That         both         actions             were           consolidated                      by        a "So                                    Stipulation                  signed             by


           Judge       Libert       on     October                29,     2019          under          index         #605528/2019.


                        15.               That         without            admitting                   any     of     the      allegations                   contained                 therein,            in     the     plaintiff's


           Verified            Complaints,                  he     claims             to     have           been         injured              on     August           16,        2018            while           working               at     a


           construction             project            at 12 Buffalo                    Avenue,              Freeport,              New             York.



                        16.               That         in    or     about             July       of     2018,            MDC             entered            into      a contract                    or      agreement                with



           JOBCO           wherein              MDC           agreed             to     provide              contracting                  services            for     the        construction                    project          at        12



           Buffalo        Avenue,              Freeport,             New             York.




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                         17.                 That       in      or     about        July         of     2018,            MDC           contracted              with          Commercial                Contracting


           Services,           Inc.     for     work            at the        construction               project           at     12 Buffalo             Avenue,             Freeport,           New        York.


                         18.                 That      without            admitting               any      of    the       plaintiff's               allegations,             the    plaintiff         alleges         that


           he was        injured             performing                work        at 12 Buffalo                  Avenue,              Freeport,              New      York.


                         19.                 That      the       contract          or     agreement               between              Jobco          and      MDC,           referenced              in paragraph


           "16"
                     was       in     full      force           and     effect          at all        relevant           times,          and        applied       to    the     work        that      the      plaintiff


           was      performing                when           the      alleged          accident           occurred.


                         20.                 That       without                admitting                any       of      the         plaintiff's             allegations,               the       plaintiff           was



           performing               work        in     accordance                 with      the        terms       of     the        contracts          or agreements                  between           Jobco         and


           MDC         referenced               in paragraph                   "16".


                         21.                 That       without               admitting                 any       of      the         plaintiff's             allegations,               the       plaintiff          was



           performing               work        in     accordance                 with      the        terms       of     the        contracts          or    agreements               between           MDC           and


           Commercial                 Contracting                    referenced            in paragraph                   "16".




                         22.             That          at all         times      mentioned                herein,          including                August          16,      2018,       MDC          was       present


           at the     construction                   project           at 12 Buffalo                  Avenue,            Freeport,             New        York.


                         23.             That          at    all      times       mentioned                   herein,           including             August           16,     2018,       MDC           controlled


          the     work         that      the        plaintiff           was       allegedly               engaged               in    at    the       construction              project          at    12      Buffalo



           Avenue,         Freeport,                New         York.


                         24.             That         at all          times      mentioned                 herein,          including                August         16,      2018,        MDC           supervised


          the     work         that      the        plaintiff           was       allegedly               engaged               in    at    the       construction              project          at    12      Buffalo



          Avenue,          Freeport,                New         York.




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                         25.                 That            at all            times         mentioned                herein,          including              August             16,    2018,           MDC            managed           the


           work        that     the        plaintiff                was             allegedly              engaged         in    at the            construction              project              at    12 Buffalo            Avenue,


           Freeport,           New           York.




                         26.                 That             at         all         times          mentioned                herein,               including              August                  16,       2018,        MDC           was



           responsible                for         maintaining                          and         did       maintain            the        construction                  project            at        12    Buffalo          Avenue,


           Freeport,           New           York.


                         27.                 That             at         all         times          mentioned                herein,               including              August               16,          2018,        MDC           was


           responsible               for         site        safety             at the           construction              project            at     12 Buffalo             Avenue,                Freeport,            New          York,



           including           but         not      limited                to the            safety         of plaintiff             JOSE           VELAZQUEZ.


                         28.                 That             at         all        times          mentioned               herein,                including            August                16,        2018,          the     contract


           between            JOBCO                 and        MDC                   was      in    full      force      and        effect.



                                            AS AND                        FOR           A FIRST                    CAUSE              OF         ACTION               AGAINST                          MDC

                         29.                MOXEY                         RIGBY                  LLC,        JOBCO,              INC.         and         THE        FREEPORT                          AFFORDABLE


           HOUSING                DEVELOPMENT                                              FUND             CORP.          repeat,            reiterate         and       reallege            each           and      every

                                                                                                    "1"                         "27"
           allegation           contained                     in paragraphs                                  through                        inclusive           and        with        the        same        force      and     effect


           as if the          same         were           more             fully           set forth          at length             herein.


                         30.                If      the        plaintiff                   sustained               damages             and/or             injuries          in    the         manner               alleged       in     the


           Verified           Complaints,                          all         of     which           is    denied         by        the      third-party             plaintiffs,                 such        damages            and/or



           injuries       were             caused              by         reason              of    the       negligence,                  acts      and/or          omissions                MDC,             and      not     by     any


          negligence             or culpable                        conduct                 of     the      part    of the          third-party             plaintiffs.


                         31.                That             without                 admitting               the      existence             of      the    same,          the     plaintiff             sustained             a "grave


          injury"                                                                                            Workers'
                         as defmed                      by     Section                 11 of the                                    Compensation                     Law.




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                         32.           By       reason            of       the     foregoing,              the        third-party                  plaintiffs              are      entitled        to     common              law



          indemnification                   from,         and         to    have         judgment             over           and        against           MDC              for     all    or part         of    any     verdict



          or judgment               that     plaintiff           may          recover            against          the       third-party               plaintiffs.



                                     _A_S AND              FOR             A SECOND                     CAUSE                    OF      ACTION                   AGAINST                      MDC

                         33.           MOXEY                    RIGBY                   LLC,        JOBCO,                   INC.            and      THE             FREEPORT                     AFFORDABLE


          HOUSING                   DEVELOPMENT                                   FUND              CORP.                 repeat,            reiterate,            and           reallege          each           and        every

                                                                                         "1"                          "31"
          allegation           contained             in       paragraphs                          through                          inclusive              and      with           the     same      force         and     effect



          as if the          same     were          more         fully        set forth            at length              herein.



                         34.           If     the        plaintiff               sustained             damages                and/or            injuries              in     the         manner          alleged         in     the



          Verified            Complaints,                 all    of        which          is    denied           by        the      third-party                 plaintiffs,               such      damages             and/or



          injuries           were     caused             by     reason             of     the     negligence,                    acts        and/or         omissions                    MDC        and         not     by     any


          negligence               or culpable             conduct                of the        third-party               plaintiffs.



                         35.           That         without                admitting             the      existence               of     the       same,         the        plaintiff           sustained             a "grave


          injury"                                                                                 Workers'
                         as defined            by     Section                11 of the                                    Compensation                      Law.



                         36.           By       reason            of       the      foregoing,              the       third-party                  plaintiffs               are      entitled        to        contribution



          from,        and     to have        judgment                     over     and         against       MDC                for    all     or part          of        any     verdict        or judgment                  that



          plaintiff          may     recover          against               the    third-party              plaintiffs,                for     Common                  Law         contribution.



                                      AS AND                    FOR          A THIRD                   CAUSE                OF         ACTION                   AGAINST                     MDC

                         37.           MOXEY                    RIGBY                   LLC,        JOBCO,                  INC.             and      THE           FREEPORT                      AFFORDABLE


          HOUSING                   DEVELOPMENT                                   FUND             CORP.                repeat,              reiterate,            and           reallege          each          and     every

                                                                                         "1"                       "35"
          allegation           contained             in    paragraphs                            through                          inclusive               and      with          the      same      force         and    effect



          as if       same     were         more      fully           set forth           at length           herein.




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                         38.                    That          on         or     before         August              16,     2018,          third-party                 defendant               MDC           entered             into         a



          contract            and/or             agreement                    with         JOBCO.                 See Exhibit               "C".



                         39.                    That          pursuant                to     said     contract             and/or           agreement,                  third-party                defendant               MDC            is



          obligated                to      defend,                  indemnify                and      hold           harmless               defendants/third-party                             plaintiffs                from          and



          against        the         claims             asserted                in plaintiff's           Verified                Complaints.



                         40.                    That          said        contract           and/or       agreement                   was       in     effect      on     August             16,      2018.


                         41.                    That           if        plaintiff           sustained               any         of       the        injuries           and/or           damages                   alleged             and



          complained                      of,      in       the         manner             alleged           in     the    Verified                  Complaints,               all      of     which           is        denied         by



          defendants/third-party                                       plaintiffs,           such       injuries           and        damages                were         caused             wholly           and         solely        by


          reason          of        the          negligence,                       recklessness,                   carelessness                 and/or           culpable               conduct               of     third-party


          defendant                 MDC,                its         agents,           servants          and/or             employees,                    without           any        negligence                    or     culpable



          conduct             on     the         part       of the            defendants/third-party                            plaintiffs.



                         42.                    By       reason                 of     the       foregoing,                defendants/third-party                                plaintiffs             are          entitled             to


          contractual                    indemnification                           from,        and     to        have     judgment                   over       and      against            third-party                 defendant



          MDC           for        all      or       part         of      any        judgment           that         plaintiff            may         recover           against          defendants/third-party


          plaintiffs.


                                          AS AND                    FOR            A FOURTH                       CAUSE               OF        ACTION                 AGAINST                     MDC

                         43.                    MOXEY                      RIGBY              LLC,           JOBCO,               INC.          and          THE         FREEPORT                      AFFORDABLE


          HOUSING                        DEVELOPMENT                                       FUND          CORP.               repeat,             reiterate,             and       reallege             each          and          every

                                                                                                "1"                        "41"
          allegation               contained                  in paragraphs                            through                         inclusive                and     with      the        same       force            and    effect



          as if the           same          were            more           fully       set forth        at length               herein.




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                        44.                That         on       or     before           August              16,      2018,           third-party                 defendant                MDC            entered             into         a



          contract       and/or            agreement                   with         JOBCO.              See Exhibit                     "C".



                        45.               That          pursuant               to      said     contract              and/or            agreement,                 third-party                   defendant               MDC            is



          obligated           to      defend,                 indemnify                and      hold           harmless                 defendants/third-party                               plaintiffs                from          and



          against       the    claims             asserted              in the         plaintiff's             Verified            Complaints.



                        46.               That          said      contract             and/or          agreement                  was      in     effect        on    August               16,     2018.



                        47.               That           if     plaintiff              sustained                any          of    the           injuries            and/or           damages                   alleged              and



          complained                of,      in     the         manner              alleged            in    the       Verified                 Complaints,                  all     of     which           is        denied          by



          defendants/third-party                               plaintiffs              such      injuries              and        damages                were         caused              wholly           and         solely         by


          reason        of     the         negligence,                       recklessness,                  carelessness                   and/or            culpable                conduct               of     third-party


          defendant           MDC,                its         agents,          servants               and/or           employees,                   without            any         negligence                    or      culpable



          conduct        on    the         part     of        defendants/third-party                               plaintiffs.



                        48.               By       reason                of     the        foregoing,                  defendants/third-party                                 plaintiffs             are          entitled              to



          contractual              contribution                  from,          and      to have            judgment               over          and     against            third-party              defendant                MDC


          for   all    or part        of     any        judgment                that      plaintiff          may         recover               against        defendants/third-party                                  plaintiffs.



                                          AS AND                 FOR           A FIFTH                 CAUSE                 OF        ACTION                 AGAINST                       MDC

                        49.               MOXEY                   RIGBY                 LLC,           JOBCO,                 INC.         and         THE           FREEPORT                       AFFORDABLE


          HOUSING                   DEVELOPMENT                                     FUND              CORP.              repeat,               reiterate,            and       reallege             each          and           every

                                                                                          "1"                          "47"
          allegation          contained                 in paragraphs                                through                       inclusive                and      with      the        same       force            and     effect



          as if the      same         were          more             fully      set forth            at length              herein.



                        50.               That          on      or      before          August              16,       2018,           third-party                 defendant                MDC         entered                into       a



          contract       and/or            agreement                   with         JOBCO.              See        Exhibit              "C".




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                         51.             That         pursuant               to    said      contract          and/or            agreement,              third-party              defendant            MDC             was


          obligated            to     procure           insurance                 coverage          in     favor          of     defendants/third-party                           plaintiffs          that      would



          have         covered          the     defendants/third-party                              plaintiffs             for     the        claims          asserted          in     plaintiff's           Verified



          Complaints.


                         52.             That         said      contract             and/or        agreement               was         in    effect      at all       relevant          times.



                         53.             That          third-party                  defendant             MDC             breached                said        contract           and/or          agreement              by



          failing        to procure             the     requisite                insurance         coverage.



                         54.             By     reason              of the         foregoing,            defendants/third-party                             plaintiffs          are     entitled       to recover



          damages              from      third-party                  defendant              MDC         including               but        not   limited           to    all   sums        expended             in     the



          defense         of     this    action         and/or              in    satisfaction           of    any       settlement               or judgment.



                                        LLS     AND            FOR               A SIXTH           CAUSE                 OF       ACTION                 AGAINST                     MDC

                         55.             MOXEY                   RIGBY                LLC,         JOBCO,                INC.           and       THE          FREEPORT                    AFFORDABLE


          HOUSING                     DEVELOPMENT                                  FUND           CORP.                repeat,           reiterate,           and         reallege          each       and       every

                                                                                       "1"                       "53"
          allegation             contained             in paragraphs                             through                       inclusive              and     with        the    same        force      and      effect



          as if the        same         were      more              fully        set forth       at length             herein.



                         56.             That         on       or      before         August             16,     2018,           third-party                defendant            MDC            entered         into         a



          contract         and/or        agreement                    with        JOBCO.            See Exhibit                   "C".



                         57.            That          said      contract             and/or       agreement                was         in    effect      on     August           16,    2018.


                         58.            In       said          contract               and/or         agreement                    MDC             agreed             to     defend             and     indemnify


          defendants/third-party                             plaintiffs             and       otherwise            fully         reimburse               defendants/third-party                           plaintiffs



          for    all    costs,        fees     and      expenses                  incurred        in this        lawsuit           including             but      not      limited        to     satisfaction            of




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                                                                                                                                                                       attorneys'
          any      judgment,                    payment                      of        any     settlement                 and          payment                 of                              fees        and      other          costs         and


          expenses                incurred.


                            59.                That               MDC                   agreed               to       procure                   insurance                     coverage                 for        the         benefit               of



          defendants/third-party                                   plaintiffs                  on     a primary,                non-contributory                             basis.


                            60.                That          if        plaintiff              sustained              damages                   in      the        manner             alleged          in     plaintiff's             Verified



          Complaints,                    all        of     which                  is    denied          by        defendants/third-party                                    plaintiffs           and         should         the      plaintiff


          recover           judgment                      against             the        defendants/third-party                                 plaintiffs                 then      the     third-party                plaintiffs           shall


          be      entitled           to         full        indemnification                             from             MDC             for          all      claims             asserted          in       plaintiff's             Verified


          Complaints.



                           WHEREFORE,                                        defendants/third-party                                plaintiffs,                  MOXEY                 RIGBY                LLC,         JOBCO,               INC.


          and       THE            FREEPORT                              AFFORDABLE                                 HOUSING                          DEVELOPMENT                                  FUND              CORP.,             hereby


          demand             judgment                     as follows:


                                               a.                  For            common-law                      indemnification                            against          third-party                defendant,             MDC,             for
          its    proportional                   share             of     liability             as determined                      in     accordance                    with        the     relative      culpability                  of     each
                                                                                                                                                                                              attorneys'
          party          including              costs,            disbursements                         and        expenses                  including                reasonable                               fees;


                                               b.                 For             common              law         contribution                      against           third-party                defendant,                MDC         for       the
          full     amount                of         any      recovery,                       judgment               or        verdict           obtained                   against         the      defendants/third-party
          plaintiffs,               MOXEY                         RIGBY                      LLC,            JOBCO,                 INC.               and          THE            FREEPORT                       AFFORDABLE
          HOUSING                     DEVELOPMENT                                             FUND                CORP.,                by      reason                of     the      allegations                 set      forth        in       the
          plaintiff's              Verified                  Complaints,                            together             with           all         costs,          disbursements,                         expenses,               including
          attorneys'
                                  fees         incurred                 by        the    defendants/third-party                                     plaintiffs;             and


                                               c.                 For             contractual                indemnification                                against          third-party               defendant,               MDC              for
          the     full      amount                  of    any          recovery,               judgment                  or     verdict              obtained               against        the      defendants/third-party
          plaintiffs,              MOXEY                          RIGBY                      LLC,         JOBCO,                   INC.                and          THE            FREEPORT                       AFFORDABLE
          HOUSING                    DEVELOPMENT                                              FUND                CORP.,                by      reason                of     the      allegations                 set      forth        in       the
          plaintiff's              Verified                  Complaints,                         together                with           all         costs,          disbursements,                         expenses,               including
          attorneys'
                                  fees        incurred                  by        the    defendants/third-party                                 plaintiffs;                 and


                                               d.                 For             contractual                contribution                      against              third-party              defendant,                 MDC           for      the

          full     amount                of         any      recovery,                       judgment               or        verdict           obtained                   against         the      defendants/third-party




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           plaintiffs,             MOXEY                RIGBY            LLC,         JOBCO,                INC.            and       THE             FREEPORT                  AFFORDABLE
           HOUSING                 DEVELOPMENT                          FUND              CORP.,            by          reason         of      the      allegations             set    forth        in      the
           plaintiff's           Verified            Complaints,              together          with        all         costs,        disbursements,                     expenses,             including
           attorneys'
                                fees   incurred           by   the    defendants/third-party                            plaintiffs;


                                         e.            For     breach         of    contract           against              third-party               defendant,           MDC          for      the       full
           amount          of      any        recovery,            judgment              or    verdict             obtained               against            the     defendants/third-party
          plaintiffs,            MOXEY                RIGBY            LLC,         JOBCO,               INC.              and        THE            FREEPORT                 AFFORDABLE
           HOUSING                 DEVELOPMENT                          FUND             CORP.,             by          reason         of     the       allegations           set      forth       in      the
          plaintiff's            Verified            Complaints,            together            with        all         costs,        disbursements,                     expenses,             including
          attorneys'
                             fees      incurred           by   the    defendants/third-party                            plaintiffs;


                                       f.              For      indemnification                  against                third-party                 defendant,            MDC         for        the       full

          amount           of      any        recovery,          judgment              or      verdict            obtained               against             the     defendants/third-party
          plaintiffs,            MOXEY                RIGBY            LLC,         JOBCO,               INC.              and        THE            FREEPORT                 AFFORDABLE
          HOUSING                  DEVELOPMENT                          FUND             CORP.,             by          reason         of     the       allegations           set     forth        in      the
          plaintiff's            Verified            Complaints,           together            with         all         costs,        disbursements,                     expenses,            including
          attorneys'
                             fees      incurred           by   the    defendants/third-party                            plaintiffs;          and


                                       g.              For     such     other      relief      as this       Court            deems          just      and     proper.


          Dated:         Mineola,             New      York
                         November              13,     2019


                                                                                                                  HAVKINS                    ROSENFELD                      RITZERT
                                                                                                                  &      VARRIALE,                      LLP




                                                                                                                                                       Richard         Harms,         Esq.
                                                                                                                  Att       rneys      for      Defendants/Third-Party                           Plaintiffs
                                                                                                                  MOXEY                RIGBY               LLC,      JOBCO,           INC.        and       THE
                                                                                                                  FREEPORT                     AFFORDABLE                       HOUSING
                                                                                                                  DEVELOPMENT                                FUND         CORP.
                                                                                                                  114       Old       Country           Road

                                                                                                                  Mineola,            New           York       11501
                                                                                                                  Telephone:                          (516)        620-1700
                                                                                                                  HRRV            File       No.       10310-000442




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                                                                  ATTORNEY                     CERTIFICATION
                                                            PURSUANT                    TO      22    NYCRR            130-1.1a




                        Pursuant        to   22    NYCRR          130-1.1a,            the    undersigned,           an attorney            admitted          to practice         in    the


          Courts        of      New     York       State,     certifies        that,         upon      information          and         belief,       and     after     reasonable



          inquiry,       the     contentions         contained            in   the      annexed          document(s)          are        not      frivolous       as    defined         by


          Section        130-1.1(c)          and   was      not   obtained           through         illegal   conduct,           nor     was      it obtained         in   violation


          of   22    NYCRR            1200.41-a.




          Dated:                                                   November                  13)19


          Signature.


          Print      Signer's      Name:                              ichard         Harms,          Esq.




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    Defendant’s Exhibit 3
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         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF NASSAU
         ------------------------------------------------------------------------x

         GERSON VASQUEZ,
                                                                                     SUMMONS
                                                                      Plaintiff,

                                       -against-                                     Index No.:

         MOXEY RIGBY LLC; G&G MOXEY RIGBY LLC;                                       Date Filed:
         MOXEY RIGBY DEVELOPER LLC; G&G MOXEY
         RIGBY    DEVELOPER   LLC;  MOXEY    RIGBY
         MANAGERS LLC; JOBCO INC.; MDC HOME
         IMPROVEMENTS, INC.; K-SQUARE DEVELOPERS,
         INC.; COMMERCIAL CONTRACTING SERVICES INC.;
         FREEPORT        AFFORDABLE       HOUSING
         DEVELOPMENT FUND CORP.; THE FREEPORT
         HOUSING AUTHORITY; THE INCORPORATED
         VILLAGE OF FREEPORT; and THE COUNTY OF
         NASSAU,

                                                                   Defendants.
         ------------------------------------------------------------------------X


         TO THE ABOVE-NAMED DEFENDANTS:

                 YOU ARE HEREBY SUMMONED to answer the Complaint in this action, and to serve
         a copy of your Answer, or if the Complaint is not served with this Summons, to serve a Notice of
         Appearance on the their attorney within twenty days after the service of this Summons exclusive
         of the day of service, where service is made by delivery upon you personally within the state, or
         within thirty days after completion of service where service is made in any other manner. In case
         of your failure to appear or answer, judgment will be taken against you by default for the relief
         demanded in the Complaint.

             This basis of venue is the residence of Defendant, THE FREEPORT HOUSING
         AUTHORITY.




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                               Defendant,                   THE           FREEPORT             HOUSING       AUTHORITY,                                resides

             principal            office           at   240    South        Main     Street,    Freeport,   NY       11520.



             Dated:            New         York,         New       York

                               May         3,    2019



                                                                                                            Yours,         etc.,




                                                                                                            Ernest        N.       Reece,              Esq.

                                                                                                            MILLER,                      LEIBY                &    ASSO
                                                                                                            Attorneys              for     Plaintiff

                                                                                                            Gerson          Vasquez

                                                                                                            32      Breadwây,                13th          Floor

                                                                                                            New         York,            NY10004

                                                                                                            (212)        227-4200


             Defendants'
                                           Addresses:




             Moxey             Rigby            LLC
             Pro         Se

             50     Jericho           Quadrangle,                 Suite     200

             Jericho,           NY          11753



             G&G              Moxey             Rigby       LLC
             Pro         Se

             50     Jericho           Quadrangle,                 Suite     200

             Jericho,           NY          11753




             Moxey             Rigby            Developer            LLC
             Pro         Se

             50     Jericho           Quadrangle,                 Suite     200

             Jericho,           NY          11753
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         Jobco Inc.
         Pro Se
         277 Northern Blvd, Suite 203
         Great Neck, NY 11021

         MDC Home Improvements, Inc.
         Pro Se
         17B Seaman Avenue
         Bethpage, NY 11714

         MDC Home Improvements, Inc.
         Pro Se
         13 Baldwin Place
         Bethpage, NY 11714-3703

         MDC Home Improvements, Inc.
         Pro Se
         57 Brenner Avenue
         Bethpage, NY 11714

         K-Square Developers, Inc.
         Pro Se
         118 49th Street
         Brooklyn, NY 11232

         Commercial Contracting Services Inc.
         Pro Se
         15 Sherman Avenue
         Bethpage, NY 11714

         Freeport Affordable Housing Development Fund Corp.
         Pro Se
         c/o Freeport Housing Authority
         240 South Main Street
         Freeport, NY 11520

         The Freeport Housing Authority
         Pro Se
         240 South Main Street
         Freeport, NY 11520

         The Incorporated Village of Freeport
         Pro Se

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         46 North Ocean Avenue
         Freeport, NY 11520

         County of Nassau
         Pro Se
         240 Old Country Road
         Mineola, NY 11501




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         SUPREME COURT OF THE STATE OF NEW YORK
         COUNTY OF NASSAU
         ------------------------------------------------------------------------X

         GERSON VASQUEZ,
                                                                                     COMPLAINT
                                                                     Plaintiff,
                                                                                     Index No.:
                                       -against-
                                                                                     Date Filed:
         MOXEY RIGBY LLC; G&G MOXEY RIGBY LLC;
         MOXEY RIGBY DEVELOPER LLC; G&G MOXEY
                                                                                     JURY TRIAL DEMANDED
         RIGBY    DEVELOPER   LLC;  MOXEY    RIGBY
         MANAGERS LLC; JOBCO INC.; MDC HOME
         IMPROVEMENTS, INC.; K-SQUARE DEVELOPERS,
         INC.; COMMERCIAL CONTRACTING SERVICES INC.;
         FREEPORT        AFFORDABLE       HOUSING
         DEVELOPMENT FUND CORP.; THE FREEPORT
         HOUSING AUTHORITY; THE INCORPORATED
         VILLAGE OF FREEPORT; and THE COUNTY OF
         NASSAU,

                                                                   Defendants.
         ------------------------------------------------------------------------X

                 GERSON VASQUEZ, by his attorneys, MILLER, LEIBY & ASSOCIATES, P.C.,

         complaining of the Defendants herein, respectfully show to the Court, and allege as follows:

                                                 NATURE OF THE ACTION

                 1.       This is an action to recover money damages arising out of negligence and violations

         of Labor Law §§ 200, 240(1), and 241(6) resulting in personal injuries to Plaintiff, GERSON

         VASQUEZ, while at the interior of the first floor of the building(s) under the

         construction/replacement/installation project occurring at, within and about the northernmost of

         the three buildings located at 12 Buffalo Avenue/195 East Merrick Road in Freeport, New York

         11520 (hereinafter collectively referred to as “the Subject Location”).




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                                         JURISDICTION AND VENUE

                2.     Defendant, THE FREEPORT HOUSING AUTHORITY, resides and maintains its

         principal office at 240 South Main Street, Freeport, NY 11520.

                3.     This action falls within one or more of the exemptions set forth in N.Y. Civ. Proc.

         L. & R. § 1602.



                                                 JURY DEMAND

                4.     Plaintiff demands a trial by jury in this action.



                                               NOTICE OF CLAIM

                5.     On or about October 9, 2018, Plaintiff served upon, presented, and filed with

         Defendant, THE COUNTY OF NASSAU, a Notice of Claim in writing.

                6.     Defendant, THE COUNTY OF NASSAU, was provided with the opportunity to

         hold a hearing pursuant to General Municipal Law § 50-h on or about March 15, 2019.

                7.     Defendant, THE COUNTY OF NASSAU, has refused or neglected to make any

         adjustment or payment.

                8.     On or about October 10, 2018, Plaintiff served upon, presented, and filed with

         Defendant, THE INCORPORATED VILLAGE OF FREEPORT, a Notice of Claim in writing.

                9.     Defendant, THE INCORPORATED VILLAGE OF FREEPORT, was provided

         with the opportunity to hold a hearing pursuant to General Municipal Law § 50-h on or about

         December 10, 2018.




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                 10.     Defendant, THE INCORPORATED VILLAGE OF FREEPORT, has refused or

         neglected to make any adjustment or payment.

                 11.     On or about October 11, 2018, Plaintiff served upon, presented, and filed with

         Defendant, THE FREEPORT HOUSING AUTHORITY, a Notice of Claim in writing.

                 12.     Defendant, THE FREEPORT HOUSING AUTHORITY, was provided with the

         opportunity to hold a hearing pursuant to General Municipal Law § 50-h on or about December

         10, 2018.

                 13.     Defendant, THE FREEPORT HOUSING AUTHORITY, has refused or neglected

         to make any adjustment or payment.



                                  AS AND FOR A FIRST CAUSE OF ACTION
                                ON BEHALF OF PLAINTIFF, GERSON VASQUEZ

                 14.     Plaintiff, GERSON VASQUEZ, repeats and re-alleges each and every preceding

         allegation as if fully set forth herein.

                 15.     Plaintiff, GERSON VASQUEZ is a resident of the County of Bronx, State of New

         York.

                 16.     Defendant, MOXEY RIGBY LLC, is a domestic limited liability company duly

         organized and existing pursuant to the laws of the State of New York.

                 17.     Defendant, G&G MOXEY RIGBY LLC, is a domestic limited liability company

         duly organized and existing pursuant to the laws of the State of New York.

                 18.     Defendant, MOXEY RIGBY DEVELOPER LLC, is a domestic limited liability

         company duly organized and existing pursuant to the laws of the State of New York.



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                 19.   Defendant, G&G MOXEY RIGBY DEVELOPER LLC, is a domestic limited

         liability company duly organized and existing pursuant to the laws of the State of New York.

                 20.   Defendant, MOXEY RIGBY MANAGERS LLC, is a domestic limited liability

         company duly organized and existing pursuant to the laws of the State of New York.

                 21.   Defendant, JOBCO INC., is a domestic business corporation authorized to do

         business in the State of New York.

                 22.   Defendant, JOBCO INC., is a corporation organized under the laws of the State of

         New York.

                 23.   Defendant, JOBCO INC., is a duly authorized corporation, duly organized and

         existing under and by virtue of the laws of the State of New York.

                 24.   Defendant, JOBCO INC., is a duly authorized domestic corporation doing business

         in the State of New York.

                 25.   Defendant, JOBCO INC., is a duly organized foreign corporation authorized to do

         business in the State of New York.

                 26.   Defendant, JOBCO INC., is a duly organized foreign corporation transacting

         business in the State of New York.

                 27.   Defendant, JOBCO INC., does and/or solicits business within the State of New

         York.

                 28.   Defendant, JOBCO INC., derives substantial revenues from goods used or

         consumed or services rendered in the State of New York.

                 29.   Defendant, JOBCO INC., is a duly organized partnership existing and doing

         business under the laws of the State of New York.


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                30.    Defendant, JOBCO INC., is a duly organized proprietorship existing and doing

         business under the laws of the State of New York.

                31.    Defendant, MDC HOME IMPROVEMENTS, INC., is                a    domestic    business

         corporation duly organized and existing pursuant to the laws of the State of New York.

                32.    Defendant, K-SQUARE DEVELOPERS, INC., is a domestic business corporation

         duly organized and existing pursuant to the laws of the State of New York.

                33.    Defendant, COMMERCIAL CONTRACTING SERVICES INC., is a domestic

         business corporation duly organized and existing pursuant to the laws of the State of New York.

                34.    Defendant, FREEPORT AFFORDABLE HOUSING DEVELOPMENT FUND

         CORP., is a domestic not-for-profit corporation duly organized and existing pursuant to the laws

         of the State of New York.

                35.    Defendant, THE FREEPORT HOUSING AUTHORITY, is a municipal

         organization organized under the laws of the State of New York.

                36.    Defendant, THE FREEPORT HOUSING AUTHORITY, is a domestic municipal

         public authority, department, or agency of Defendant, THE INCORPORATED VILLAGE OF

         FREEPORT.

                37.    Defendant, THE FREEPORT HOUSING AUTHORITY, is a domestic municipal

         public authority, department, or agency of Defendant, THE COUNTY OF NASSAU.

                38.    Defendant, THE INCORPORATED VILLAGE OF FREEPORT, is a municipal

         organization organized under the laws of the State of New York.

                39.    Defendant, THE INCORPORATED VILLAGE OF FREEPORT, is a domestic

         municipal public authority, department, or agency of Defendant, THE COUNTY OF NASSAU.


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                40.     Defendant, THE COUNTY OF NASSAU, is a municipal organization organized

         under the laws of the State of New York.

                41.     That at all times hereinafter mentioned, there existed a premises located at 12

         Buffalo Avenue/195 East Merrick Road in Freeport, New York 11520 (hereinafter referred to as

         “the premises”).

                42.     Defendant, MOXEY RIGBY LLC, owned the premises.

                43.     Defendant, MOXEY RIGBY LLC, operated the premises.

                44.     Defendant, MOXEY RIGBY LLC, maintained the premises.

                45.     Defendant, MOXEY RIGBY LLC, managed the premises.

                46.     Defendant, MOXEY RIGBY LLC, supervised the premises.

                47.     Defendant, MOXEY RIGBY LLC, controlled the premises.

                48.     Defendant, MOXEY RIGBY LLC, managed, supervised, directed and controlled

         the work being performed at the premises.

                49.     On or before August 10, 2018, Defendant, MOXEY RIGBY LLC, was retained to

         perform construction, excavation, demolition, repair or alteration work at the premises.

                50.     Defendant, MOXEY RIGBY LLC, performed construction, excavation,

         demolition, repair and/or alteration work on the premises.

                51.     Defendant, MOXEY RIGBY LLC, performed construction, excavation,

         demolition, repair and/or alteration work on the premises, pursuant to a contract.

                52.     On August 10, 2018, Defendant, MOXEY RIGBY LLC, managed, supervised,

         directed and controlled the construction, renovation, alteration and/or repair work at the premises.

                53.     On August 10, 2018, Defendant, MOXEY RIGBY LLC, was the general contractor


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         for the construction work at the premises.

                54.     On or before August 10, 2018, Defendant, MOXEY RIGBY LLC, retained

         contractors to perform construction, excavation, demolition, repair or alteration work at the

         premises.

                55.     On or before August 10, 2018, Defendant, MOXEY RIGBY LLC, retained

         Defendant, G&G MOXEY RIGBY LLC, to perform construction, excavation, demolition, repair

         or alteration work at the premises.

                56.     On or before August 10, 2018, Defendant, MOXEY RIGBY LLC, retained

         Defendant, MOXEY RIGBY DEVELOPER LLC, to perform construction, excavation,

         demolition, repair or alteration work at the premises.

                57.     On or before August 10, 2018, Defendant, MOXEY RIGBY LLC, retained

         Defendant, G&G MOXEY RIGBY DEVELOPER LLC, to perform construction, excavation,

         demolition, repair or alteration work at the premises.

                58.     On or before August 10, 2018, Defendant, MOXEY RIGBY LLC, retained

         Defendant, MOXEY RIGBY MANAGERS LLC, to perform construction, excavation, demolition,

         repair or alteration work at the premises.

                59.     On or before August 10, 2018, Defendant, MOXEY RIGBY LLC, retained

         Defendant, JOBCO INC., to perform construction, excavation, demolition, repair or alteration

         work at the premises.

                60.     On or before August 10, 2018, Defendant, MOXEY RIGBY LLC, retained

         Defendant, MDC HOME IMPROVEMENTS, INC., to perform construction, excavation,

         demolition, repair or alteration work at the premises.


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                61.     On or before August 10, 2018, Defendant, MOXEY RIGBY LLC, retained

         Defendant, K-SQUARE DEVELOPERS, INC., to perform construction, excavation, demolition,

         repair or alteration work at the premises.

                62.     On or before August 10, 2018, Defendant, MOXEY RIGBY LLC, retained

         Defendant, COMMERCIAL CONTRACTING SERVICES INC., to perform construction,

         excavation, demolition, repair or alteration work at the premises.

                63.     On or before August 10, 2018, Defendant, MOXEY RIGBY LLC, retained

         Defendant, FREEPORT AFFORDABLE HOUSING DEVELOPMENT FUND CORP., to

         perform construction, excavation, demolition, repair or alteration work at the premises.

                64.     On or before August 10, 2018, Defendant, MOXEY RIGBY LLC, retained

         Defendant, THE FREEPORT HOUSING AUTHORITY, to perform construction, excavation,

         demolition, repair or alteration work at the premises.

                65.     On or before August 10, 2018, Defendant, MOXEY RIGBY LLC, retained

         Defendant, THE INCORPORATED VILLAGE OF FREEPORT, to perform construction,

         excavation, demolition, repair or alteration work at the premises.

                66.     On or before August 10, 2018, Defendant, MOXEY RIGBY LLC, retained

         Defendant, THE COUNTY OF NASSAU, to perform construction, excavation, demolition, repair

         or alteration work at the premises.

                67.     Defendant, G&G MOXEY RIGBY LLC, owned the premises.

                68.     Defendant, G&G MOXEY RIGBY LLC, operated the premises.

                69.     Defendant, G&G MOXEY RIGBY LLC, maintained the premises.

                70.     Defendant, G&G MOXEY RIGBY LLC, managed the premises.


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                71.      Defendant, G&G MOXEY RIGBY LLC, supervised the premises.

                72.      Defendant, G&G MOXEY RIGBY LLC, controlled the premises.

                73.      Defendant, G&G MOXEY RIGBY LLC, managed, supervised, directed and

         controlled the work being performed at the premises.

                74.      On or before August 10, 2018, Defendant, G&G MOXEY RIGBY LLC, was

         retained to perform construction, excavation, demolition, repair or alteration work at the premises.

                75.      Defendant, G&G MOXEY RIGBY LLC, performed construction, excavation,

         demolition, repair and/or alteration work on the premises.

                76.      Defendant, G&G MOXEY RIGBY LLC, performed construction, excavation,

         demolition, repair and/or alteration work on the premises, pursuant to a contract.

                77.      On August 10, 2018, Defendant, G&G MOXEY RIGBY LLC, managed,

         supervised, directed and controlled the construction, renovation, alteration and/or repair work at

         the premises.

                78.      On August 10, 2018, Defendant, G&G MOXEY RIGBY LLC, was the general

         contractor for the construction work at the premises.

                79.      On or before August 10, 2018, Defendant, G&G MOXEY RIGBY LLC, retained

         contractors to perform construction, excavation, demolition, repair or alteration work at the

         premises.

                80.      On or before August 10, 2018, Defendant, G&G MOXEY RIGBY LLC, retained

         Defendant, MOXEY RIGBY LLC, to perform construction, excavation, demolition, repair or

         alteration work at the premises.




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                81.     On or before August 10, 2018, Defendant, G&G MOXEY RIGBY LLC, retained

         Defendant, MOXEY RIGBY DEVELOPER LLC, to perform construction, excavation,

         demolition, repair or alteration work at the premises.

                82.     On or before August 10, 2018, Defendant, G&G MOXEY RIGBY LLC, retained

         Defendant, G&G MOXEY RIGBY DEVELOPER LLC, to perform construction, excavation,

         demolition, repair or alteration work at the premises.

                83.     On or before August 10, 2018, Defendant, G&G MOXEY RIGBY LLC, retained

         Defendant, MOXEY RIGBY MANAGERS LLC, to perform construction, excavation, demolition,

         repair or alteration work at the premises.

                84.     On or before August 10, 2018, Defendant, G&G MOXEY RIGBY LLC, retained

         Defendant, JOBCO INC., to perform construction, excavation, demolition, repair or alteration

         work at the premises.

                85.     On or before August 10, 2018, Defendant, G&G MOXEY RIGBY LLC, retained

         Defendant, MDC HOME IMPROVEMENTS, INC., to perform construction, excavation,

         demolition, repair or alteration work at the premises.

                86.     On or before August 10, 2018, Defendant, G&G MOXEY RIGBY LLC, retained

         Defendant, K-SQUARE DEVELOPERS, INC., to perform construction, excavation, demolition,

         repair or alteration work at the premises.

                87.     On or before August 10, 2018, Defendant, G&G MOXEY RIGBY LLC, retained

         Defendant, COMMERCIAL CONTRACTING SERVICES INC., to perform construction,

         excavation, demolition, repair or alteration work at the premises.




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                88.     On or before August 10, 2018, Defendant, G&G MOXEY RIGBY LLC, retained

         Defendant, FREEPORT AFFORDABLE HOUSING DEVELOPMENT FUND CORP., to

         perform construction, excavation, demolition, repair or alteration work at the premises.

                89.     On or before August 10, 2018, Defendant, G&G MOXEY RIGBY LLC, retained

         Defendant, THE FREEPORT HOUSING AUTHORITY, to perform construction, excavation,

         demolition, repair or alteration work at the premises.

                90.     On or before August 10, 2018, Defendant, G&G MOXEY RIGBY LLC, retained

         Defendant, THE INCORPORATED VILLAGE OF FREEPORT, to perform construction,

         excavation, demolition, repair or alteration work at the premises.

                91.     On or before August 10, 2018, Defendant, G&G MOXEY RIGBY LLC, retained

         Defendant, THE COUNTY OF NASSAU, to perform construction, excavation, demolition, repair

         or alteration work at the premises.

                92.     Defendant, MOXEY RIGBY DEVELOPER LLC, owned the premises.

                93.     Defendant, MOXEY RIGBY DEVELOPER LLC, operated the premises.

                94.     Defendant, MOXEY RIGBY DEVELOPER LLC, maintained the premises.

                95.     Defendant, MOXEY RIGBY DEVELOPER LLC, managed the premises.

                96.     Defendant, MOXEY RIGBY DEVELOPER LLC, supervised the premises.

                97.     Defendant, MOXEY RIGBY DEVELOPER LLC, controlled the premises.

                98.     Defendant, MOXEY RIGBY DEVELOPER LLC, managed, supervised, directed

         and controlled the work being performed at the premises.

                99.     On or before August 10, 2018, Defendant, MOXEY RIGBY DEVELOPER LLC,

         was retained to perform construction, excavation, demolition, repair or alteration work at the


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         premises.

                100.     Defendant, MOXEY RIGBY DEVELOPER LLC, performed construction,

         excavation, demolition, repair and/or alteration work on the premises.

                101.     Defendant, MOXEY RIGBY DEVELOPER LLC, performed construction,

         excavation, demolition, repair and/or alteration work on the premises, pursuant to a contract.

                102.     On August 10, 2018, Defendant, MOXEY RIGBY DEVELOPER LLC, managed,

         supervised, directed and controlled the construction, renovation, alteration and/or repair work at

         the premises.

                103.     On August 10, 2018, Defendant, MOXEY RIGBY DEVELOPER LLC, was the

         general contractor for the construction work at the premises.

                104.     On or before August 10, 2018, Defendant, MOXEY RIGBY DEVELOPER LLC,

         retained contractors to perform construction, excavation, demolition, repair or alteration work at

         the premises.

                105.     On or before August 10, 2018, Defendant, MOXEY RIGBY DEVELOPER LLC,

         retained Defendant, MOXEY RIGBY LLC, to perform construction, excavation, demolition,

         repair or alteration work at the premises.

                106.     On or before August 10, 2018, Defendant, MOXEY RIGBY DEVELOPER LLC,

         retained Defendant, G&G MOXEY RIGBY LLC, to perform construction, excavation,

         demolition, repair or alteration work at the premises.

                107.     On or before August 10, 2018, Defendant, MOXEY RIGBY DEVELOPER LLC,

         retained Defendant, G&G MOXEY RIGBY DEVELOPER LLC, to perform construction,

         excavation, demolition, repair or alteration work at the premises.


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                108.    On or before August 10, 2018, Defendant, MOXEY RIGBY DEVELOPER LLC,

         retained Defendant, MOXEY RIGBY MANAGERS LLC, to perform construction, excavation,

         demolition, repair or alteration work at the premises.

                109.    On or before August 10, 2018, Defendant, MOXEY RIGBY DEVELOPER LLC,

         retained Defendant, JOBCO INC., to perform construction, excavation, demolition, repair or

         alteration work at the premises.

                110.    On or before August 10, 2018, Defendant, MOXEY RIGBY DEVELOPER LLC,

         retained Defendant, MDC HOME IMPROVEMENTS, INC., to perform construction, excavation,

         demolition, repair or alteration work at the premises.

                111.    On or before August 10, 2018, Defendant, MOXEY RIGBY DEVELOPER LLC,

         retained Defendant, K-SQUARE DEVELOPERS, INC., to perform construction, excavation,

         demolition, repair or alteration work at the premises.

                112.    On or before August 10, 2018, Defendant, MOXEY RIGBY DEVELOPER LLC,

         retained Defendant, COMMERCIAL CONTRACTING SERVICES INC., to perform

         construction, excavation, demolition, repair or alteration work at the premises.

                113.    On or before August 10, 2018, Defendant, MOXEY RIGBY DEVELOPER LLC,

         retained Defendant, FREEPORT AFFORDABLE HOUSING DEVELOPMENT FUND CORP.,

         to perform construction, excavation, demolition, repair or alteration work at the premises.

                114.    On or before August 10, 2018, Defendant, MOXEY RIGBY DEVELOPER LLC,

         retained Defendant, THE FREEPORT HOUSING AUTHORITY, to perform construction,

         excavation, demolition, repair or alteration work at the premises.




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                115.    On or before August 10, 2018, Defendant, MOXEY RIGBY DEVELOPER LLC,

         retained Defendant, THE INCORPORATED VILLAGE OF FREEPORT, to perform

         construction, excavation, demolition, repair or alteration work at the premises.

                116.    On or before August 10, 2018, Defendant, MOXEY RIGBY DEVELOPER LLC,

         retained Defendant, THE COUNTY OF NASSAU, to perform construction, excavation,

         demolition, repair or alteration work at the premises.

                117.    Defendant, G&G MOXEY RIGBY DEVELOPER LLC, owned the premises.

                118.    Defendant, G&G MOXEY RIGBY DEVELOPER LLC, operated the premises.

                119.    Defendant, G&G MOXEY RIGBY DEVELOPER LLC, maintained the premises.

                120.    Defendant, G&G MOXEY RIGBY DEVELOPER LLC, managed the premises.

                121.    Defendant, G&G MOXEY RIGBY DEVELOPER LLC, supervised the premises.

                122.    Defendant, G&G MOXEY RIGBY DEVELOPER LLC, controlled the premises.

                123.    Defendant, G&G MOXEY RIGBY DEVELOPER LLC, managed, supervised,

         directed and controlled the work being performed at the premises.

                124.    On or before August 10, 2018, Defendant, G&G MOXEY RIGBY DEVELOPER

         LLC, was retained to perform construction, excavation, demolition, repair or alteration work at the

         premises.

                125.    Defendant, G&G MOXEY RIGBY DEVELOPER LLC, performed construction,

         excavation, demolition, repair and/or alteration work on the premises.

                126.    Defendant, G&G MOXEY RIGBY DEVELOPER LLC, performed construction,

         excavation, demolition, repair and/or alteration work on the premises, pursuant to a contract.

                127.    On August 10, 2018, Defendant, G&G MOXEY RIGBY DEVELOPER LLC,


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         managed, supervised, directed and controlled the construction, renovation, alteration and/or repair

         work at the premises.

                128.    On August 10, 2018, Defendant, G&G MOXEY RIGBY DEVELOPER LLC, was

         the general contractor for the construction work at the premises.

                129.    On or before August 10, 2018, Defendant, G&G MOXEY RIGBY DEVELOPER

         LLC, retained contractors to perform construction, excavation, demolition, repair or alteration

         work at the premises.

                130.    On or before August 10, 2018, Defendant, G&G MOXEY RIGBY DEVELOPER

         LLC, retained Defendant, MOXEY RIGBY LLC, to perform construction, excavation, demolition,

         repair or alteration work at the premises.

                131.    On or before August 10, 2018, Defendant, G&G MOXEY RIGBY DEVELOPER

         LLC, retained Defendant, G&G MOXEY RIGBY LLC, to perform construction, excavation,

         demolition, repair or alteration work at the premises.

                132.    On or before August 10, 2018, Defendant, G&G MOXEY RIGBY DEVELOPER

         LLC, retained Defendant, MOXEY RIGBY DEVELOPER LLC, to perform construction,

         excavation, demolition, repair or alteration work at the premises.

                133.    On or before August 10, 2018, Defendant, G&G MOXEY RIGBY DEVELOPER

         LLC, retained Defendant, MOXEY RIGBY MANAGERS LLC, to perform construction,

         excavation, demolition, repair or alteration work at the premises.

                134.    On or before August 10, 2018, Defendant, G&G MOXEY RIGBY DEVELOPER

         LLC, retained Defendant, JOBCO INC., to perform construction, excavation, demolition, repair

         or alteration work at the premises.


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                135.    On or before August 10, 2018, Defendant, G&G MOXEY RIGBY DEVELOPER

         LLC, retained Defendant, MDC HOME IMPROVEMENTS, INC., to perform construction,

         excavation, demolition, repair or alteration work at the premises.

                136.    On or before August 10, 2018, Defendant, G&G MOXEY RIGBY DEVELOPER

         LLC, retained Defendant, K-SQUARE DEVELOPERS, INC., to perform construction,

         excavation, demolition, repair or alteration work at the premises.

                137.    On or before August 10, 2018, Defendant, G&G MOXEY RIGBY DEVELOPER

         LLC, retained Defendant, COMMERCIAL CONTRACTING SERVICES INC., to perform

         construction, excavation, demolition, repair or alteration work at the premises.

                138.    On or before August 10, 2018, Defendant, G&G MOXEY RIGBY DEVELOPER

         LLC, retained Defendant, FREEPORT AFFORDABLE HOUSING DEVELOPMENT FUND

         CORP., to perform construction, excavation, demolition, repair or alteration work at the premises.

                139.    On or before August 10, 2018, Defendant, G&G MOXEY RIGBY DEVELOPER

         LLC, retained Defendant, THE FREEPORT HOUSING AUTHORITY, to perform construction,

         excavation, demolition, repair or alteration work at the premises.

                140.    On or before August 10, 2018, Defendant, G&G MOXEY RIGBY DEVELOPER

         LLC, retained Defendant, THE INCORPORATED VILLAGE OF FREEPORT, to perform

         construction, excavation, demolition, repair or alteration work at the premises.

                141.    On or before August 10, 2018, Defendant, G&G MOXEY RIGBY DEVELOPER

         LLC, retained Defendant, THE COUNTY OF NASSAU, to perform construction, excavation,

         demolition, repair or alteration work at the premises.

                142.    Defendant, MOXEY RIGBY MANAGERS LLC, owned the premises.


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                143.     Defendant, MOXEY RIGBY MANAGERS LLC, operated the premises.

                144.     Defendant, MOXEY RIGBY MANAGERS LLC, maintained the premises.

                145.     Defendant, MOXEY RIGBY MANAGERS LLC, managed the premises.

                146.     Defendant, MOXEY RIGBY MANAGERS LLC, supervised the premises.

                147.     Defendant, MOXEY RIGBY MANAGERS LLC, controlled the premises.

                148.     Defendant, MOXEY RIGBY MANAGERS LLC, managed, supervised, directed

         and controlled the work being performed at the premises.

                149.     On or before August 10, 2018, Defendant, MOXEY RIGBY MANAGERS LLC,

         was retained to perform construction, excavation, demolition, repair or alteration work at the

         premises.

                150.     Defendant, MOXEY RIGBY MANAGERS LLC, performed construction,

         excavation, demolition, repair and/or alteration work on the premises.

                151.     Defendant, MOXEY RIGBY MANAGERS LLC, performed construction,

         excavation, demolition, repair and/or alteration work on the premises, pursuant to a contract.

                152.     On August 10, 2018, Defendant, MOXEY RIGBY MANAGERS LLC, managed,

         supervised, directed and controlled the construction, renovation, alteration and/or repair work at

         the premises.

                153.     On August 10, 2018, Defendant, MOXEY RIGBY MANAGERS LLC, was the

         general contractor for the construction work at the premises.

                154.     On or before August 10, 2018, Defendant, MOXEY RIGBY MANAGERS LLC,

         retained contractors to perform construction, excavation, demolition, repair or alteration work at

         the premises.


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                155.    On or before August 10, 2018, Defendant, MOXEY RIGBY MANAGERS LLC,

         retained Defendant, MOXEY RIGBY LLC, to perform construction, excavation, demolition,

         repair or alteration work at the premises.

                156.    On or before August 10, 2018, Defendant, MOXEY RIGBY MANAGERS LLC,

         retained Defendant, G&G MOXEY RIGBY LLC, to perform construction, excavation,

         demolition, repair or alteration work at the premises.

                157.    On or before August 10, 2018, Defendant, MOXEY RIGBY MANAGERS LLC,

         retained Defendant, MOXEY RIGBY DEVELOPER LLC, to perform construction, excavation,

         demolition, repair or alteration work at the premises.

                158.    On or before August 10, 2018, Defendant, MOXEY RIGBY MANAGERS LLC,

         retained Defendant, G&G MOXEY RIGBY DEVELOPER LLC, to perform construction,

         excavation, demolition, repair or alteration work at the premises.

                159.    On or before August 10, 2018, Defendant, MOXEY RIGBY MANAGERS LLC,

         retained Defendant, JOBCO INC., to perform construction, excavation, demolition, repair or

         alteration work at the premises.

                160.    On or before August 10, 2018, Defendant, MOXEY RIGBY MANAGERS LLC,

         retained Defendant, MDC HOME IMPROVEMENTS, INC., to perform construction, excavation,

         demolition, repair or alteration work at the premises.

                161.    On or before August 10, 2018, Defendant, MOXEY RIGBY MANAGERS LLC,

         retained Defendant, K-SQUARE DEVELOPERS, INC., to perform construction, excavation,

         demolition, repair or alteration work at the premises.




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                162.    On or before August 10, 2018, Defendant, MOXEY RIGBY MANAGERS LLC,

         retained Defendant, COMMERCIAL CONTRACTING SERVICES INC., to perform

         construction, excavation, demolition, repair or alteration work at the premises.

                163.    On or before August 10, 2018, Defendant, MOXEY RIGBY MANAGERS LLC,

         retained Defendant, FREEPORT AFFORDABLE HOUSING DEVELOPMENT FUND CORP.,

         to perform construction, excavation, demolition, repair or alteration work at the premises.

                164.    On or before August 10, 2018, Defendant, MOXEY RIGBY MANAGERS LLC,

         retained Defendant, THE FREEPORT HOUSING AUTHORITY, to perform construction,

         excavation, demolition, repair or alteration work at the premises.

                165.    On or before August 10, 2018, Defendant, MOXEY RIGBY MANAGERS LLC,

         retained Defendant, THE INCORPORATED VILLAGE OF FREEPORT, to perform

         construction, excavation, demolition, repair or alteration work at the premises.

                166.    On or before August 10, 2018, Defendant, MOXEY RIGBY MANAGERS LLC,

         retained Defendant, THE COUNTY OF NASSAU, to perform construction, excavation,

         demolition, repair or alteration work at the premises.

                167.    Defendant, JOBCO INC., owned the premises.

                168.    Defendant, JOBCO INC., operated the premises.

                169.    Defendant, JOBCO INC., maintained the premises.

                170.    Defendant, JOBCO INC., managed the premises.

                171.    Defendant, JOBCO INC., supervised the premises.

                172.    Defendant, JOBCO INC., controlled the premises.




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                173.    Defendant, JOBCO INC., managed, supervised, directed and controlled the work

         being performed at the premises.

                174.    On or before August 10, 2018, Defendant, JOBCO INC., was retained to perform

         construction, excavation, demolition, repair or alteration work at the premises.

                175.    Defendant, JOBCO INC., performed construction, excavation, demolition, repair

         and/or alteration work on the premises.

                176.    Defendant, JOBCO INC., performed construction, excavation, demolition, repair

         and/or alteration work on the premises, pursuant to a contract.

                177.    On August 10, 2018, Defendant, JOBCO INC., managed, supervised, directed and

         controlled the construction, renovation, alteration and/or repair work at the premises.

                178.    On August 10, 2018, Defendant, JOBCO INC., was the general contractor for the

         construction work at the premises.

                179.    On or before August 10, 2018, Defendant, JOBCO INC., retained contractors to

         perform construction, excavation, demolition, repair or alteration work at the premises.

                180.    On or before August 10, 2018, Defendant, JOBCO INC., retained Defendant,

         MOXEY RIGBY LLC, to perform construction, excavation, demolition, repair or alteration work

         at the premises.

                181.    On or before August 10, 2018, Defendant, JOBCO INC., retained Defendant, G&G

         MOXEY RIGBY LLC, to perform construction, excavation, demolition, repair or alteration work

         at the premises.




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                182.    On or before August 10, 2018, Defendant, JOBCO INC., retained Defendant,

         MOXEY RIGBY DEVELOPER LLC, to perform construction, excavation, demolition, repair or

         alteration work at the premises.

                183.    On or before August 10, 2018, Defendant, JOBCO INC., retained Defendant, G&G

         MOXEY RIGBY DEVELOPER LLC, to perform construction, excavation, demolition, repair or

         alteration work at the premises.

                184.    On or before August 10, 2018, Defendant, JOBCO INC., retained Defendant,

         MOXEY RIGBY MANAGERS LLC, to perform construction, excavation, demolition, repair or

         alteration work at the premises.

                185.    On or before August 10, 2018, Defendant, JOBCO INC., retained Defendant, MDC

         HOME IMPROVEMENTS, INC., to perform construction, excavation, demolition, repair or

         alteration work at the premises.

                186.    On or before August 10, 2018, Defendant, JOBCO INC., retained Defendant, K-

         SQUARE DEVELOPERS, INC., to perform construction, excavation, demolition, repair or

         alteration work at the premises.

                187.    On or before August 10, 2018, Defendant, JOBCO INC., retained Defendant,

         COMMERCIAL CONTRACTING SERVICES INC., to perform construction, excavation,

         demolition, repair or alteration work at the premises.

                188.    On or before August 10, 2018, Defendant, JOBCO INC., retained Defendant,

         FREEPORT AFFORDABLE HOUSING DEVELOPMENT FUND CORP., to perform

         construction, excavation, demolition, repair or alteration work at the premises.




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                189.    On or before August 10, 2018, Defendant, JOBCO INC., retained Defendant, THE

         FREEPORT HOUSING AUTHORITY, to perform construction, excavation, demolition, repair or

         alteration work at the premises.

                190.    On or before August 10, 2018, Defendant, JOBCO INC., retained Defendant, THE

         INCORPORATED VILLAGE OF FREEPORT, to perform construction, excavation, demolition,

         repair or alteration work at the premises.

                191.    On or before August 10, 2018, Defendant, JOBCO INC., retained Defendant, THE

         COUNTY OF NASSAU, to perform construction, excavation, demolition, repair or alteration

         work at the premises.

                192.    Defendant, MDC HOME IMPROVEMENTS, INC., owned the premises.

                193.    Defendant, MDC HOME IMPROVEMENTS, INC., operated the premises.

                194.    Defendant, MDC HOME IMPROVEMENTS, INC., maintained the premises.

                195.    Defendant, MDC HOME IMPROVEMENTS, INC., managed the premises.

                196.    Defendant, MDC HOME IMPROVEMENTS, INC., supervised the premises.

                197.    Defendant, MDC HOME IMPROVEMENTS, INC., controlled the premises.

                198.    Defendant, MDC HOME IMPROVEMENTS, INC., managed, supervised, directed

         and controlled the work being performed at the premises.

                199.    On or before August 10, 2018, Defendant, MDC HOME IMPROVEMENTS, INC.,

         was retained to perform construction, excavation, demolition, repair or alteration work at the

         premises.

                200.    Defendant, MDC HOME IMPROVEMENTS, INC., performed construction,

         excavation, demolition, repair and/or alteration work on the premises.


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                201.     Defendant, MDC HOME IMPROVEMENTS, INC., performed construction,

         excavation, demolition, repair and/or alteration work on the premises, pursuant to a contract.

                202.     On August 10, 2018, Defendant, MDC HOME IMPROVEMENTS, INC.,

         managed, supervised, directed and controlled the construction, renovation, alteration and/or repair

         work at the premises.

                203.     On August 10, 2018, Defendant, MDC HOME IMPROVEMENTS, INC., was the

         general contractor for the construction work at the premises.

                204.     On or before August 10, 2018, Defendant, MDC HOME IMPROVEMENTS, INC.,

         retained contractors to perform construction, excavation, demolition, repair or alteration work at

         the premises.

                205.     On or before August 10, 2018, Defendant, MDC HOME IMPROVEMENTS, INC.,

         retained Defendant, MOXEY RIGBY LLC, to perform construction, excavation, demolition,

         repair or alteration work at the premises.

                206.     On or before August 10, 2018, Defendant, MDC HOME IMPROVEMENTS, INC.,

         retained Defendant, G&G MOXEY RIGBY LLC, to perform construction, excavation,

         demolition, repair or alteration work at the premises.

                207.     On or before August 10, 2018, Defendant, MDC HOME IMPROVEMENTS, INC.,

         retained Defendant, MOXEY RIGBY DEVELOPER LLC, to perform construction, excavation,

         demolition, repair or alteration work at the premises.

                208.     On or before August 10, 2018, Defendant, MDC HOME IMPROVEMENTS, INC.,

         retained Defendant, G&G MOXEY RIGBY DEVELOPER LLC, to perform construction,

         excavation, demolition, repair or alteration work at the premises.


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                209.    On or before August 10, 2018, Defendant, MDC HOME IMPROVEMENTS, INC.,

         retained Defendant, MOXEY RIGBY MANAGERS LLC, to perform construction, excavation,

         demolition, repair or alteration work at the premises.

                210.    On or before August 10, 2018, Defendant, MDC HOME IMPROVEMENTS, INC.,

         retained Defendant, JOBCO INC., to perform construction, excavation, demolition, repair or

         alteration work at the premises.

                211.    On or before August 10, 2018, Defendant, MDC HOME IMPROVEMENTS, INC.,

         retained Defendant, K-SQUARE DEVELOPERS, INC., to perform construction, excavation,

         demolition, repair or alteration work at the premises.

                212.    On or before August 10, 2018, Defendant, MDC HOME IMPROVEMENTS, INC.,

         retained Defendant, COMMERCIAL CONTRACTING SERVICES INC., to perform

         construction, excavation, demolition, repair or alteration work at the premises.

                213.    On or before August 10, 2018, Defendant, MDC HOME IMPROVEMENTS, INC.,

         retained Defendant, FREEPORT AFFORDABLE HOUSING DEVELOPMENT FUND CORP.,

         to perform construction, excavation, demolition, repair or alteration work at the premises.

                214.    On or before August 10, 2018, Defendant, MDC HOME IMPROVEMENTS, INC.,

         retained Defendant, THE FREEPORT HOUSING AUTHORITY, to perform construction,

         excavation, demolition, repair or alteration work at the premises.

                215.    On or before August 10, 2018, Defendant, MDC HOME IMPROVEMENTS, INC.,

         retained Defendant, THE INCORPORATED VILLAGE OF FREEPORT, to perform

         construction, excavation, demolition, repair or alteration work at the premises.




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                216.     On or before August 10, 2018, Defendant, MDC HOME IMPROVEMENTS, INC.,

         retained Defendant, THE COUNTY OF NASSAU, to perform construction, excavation,

         demolition, repair or alteration work at the premises.

                217.     Defendant, K-SQUARE DEVELOPERS, INC., owned the premises.

                218.     Defendant, K-SQUARE DEVELOPERS, INC., operated the premises.

                219.     Defendant, K-SQUARE DEVELOPERS, INC., maintained the premises.

                220.     Defendant, K-SQUARE DEVELOPERS, INC., managed the premises.

                221.     Defendant, K-SQUARE DEVELOPERS, INC., supervised the premises.

                222.     Defendant, K-SQUARE DEVELOPERS, INC., controlled the premises.

                223.     Defendant, K-SQUARE DEVELOPERS, INC., managed, supervised, directed and

         controlled the work being performed at the premises.

                224.     On or before August 10, 2018, Defendant, K-SQUARE DEVELOPERS, INC., was

         retained to perform construction, excavation, demolition, repair or alteration work at the premises.

                225.     Defendant,   K-SQUARE        DEVELOPERS,        INC.,    performed    construction,

         excavation, demolition, repair and/or alteration work on the premises.

                226.     Defendant,   K-SQUARE        DEVELOPERS,        INC.,    performed    construction,

         excavation, demolition, repair and/or alteration work on the premises, pursuant to a contract.

                227.     On August 10, 2018, Defendant, K-SQUARE DEVELOPERS, INC., managed,

         supervised, directed and controlled the construction, renovation, alteration and/or repair work at

         the premises.

                228.     On August 10, 2018, Defendant, K-SQUARE DEVELOPERS, INC., was the

         general contractor for the construction work at the premises.


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                229.     On or before August 10, 2018, Defendant, K-SQUARE DEVELOPERS, INC.,

         retained contractors to perform construction, excavation, demolition, repair or alteration work at

         the premises.

                230.     On or before August 10, 2018, Defendant, K-SQUARE DEVELOPERS, INC.,

         retained Defendant, MOXEY RIGBY LLC, to perform construction, excavation, demolition,

         repair or alteration work at the premises.

                231.     On or before August 10, 2018, Defendant, K-SQUARE DEVELOPERS, INC.,

         retained Defendant, G&G MOXEY RIGBY LLC, to perform construction, excavation,

         demolition, repair or alteration work at the premises.

                232.     On or before August 10, 2018, Defendant, K-SQUARE DEVELOPERS, INC.,

         retained Defendant, MOXEY RIGBY DEVELOPER LLC, to perform construction, excavation,

         demolition, repair or alteration work at the premises.

                233.     On or before August 10, 2018, Defendant, K-SQUARE DEVELOPERS, INC.,

         retained Defendant, G&G MOXEY RIGBY DEVELOPER LLC, to perform construction,

         excavation, demolition, repair or alteration work at the premises.

                234.     On or before August 10, 2018, Defendant, K-SQUARE DEVELOPERS, INC.,

         retained Defendant, MOXEY RIGBY MANAGERS LLC, to perform construction, excavation,

         demolition, repair or alteration work at the premises.

                235.     On or before August 10, 2018, Defendant, K-SQUARE DEVELOPERS, INC.,

         retained Defendant, JOBCO INC., to perform construction, excavation, demolition, repair or

         alteration work at the premises.




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                236.    On or before August 10, 2018, Defendant, K-SQUARE DEVELOPERS, INC.,

         retained Defendant, MDC HOME IMPROVEMENTS, INC., to perform construction, excavation,

         demolition, repair or alteration work at the premises.

                237.    On or before August 10, 2018, Defendant, K-SQUARE DEVELOPERS, INC.,

         retained Defendant, COMMERCIAL CONTRACTING SERVICES INC., to perform

         construction, excavation, demolition, repair or alteration work at the premises.

                238.    On or before August 10, 2018, Defendant, K-SQUARE DEVELOPERS, INC.,

         retained Defendant, FREEPORT AFFORDABLE HOUSING DEVELOPMENT FUND CORP.,

         to perform construction, excavation, demolition, repair or alteration work at the premises.

                239.    On or before August 10, 2018, Defendant, K-SQUARE DEVELOPERS, INC.,

         retained Defendant, THE FREEPORT HOUSING AUTHORITY, to perform construction,

         excavation, demolition, repair or alteration work at the premises.

                240.    On or before August 10, 2018, Defendant, K-SQUARE DEVELOPERS, INC.,

         retained Defendant, THE INCORPORATED VILLAGE OF FREEPORT, to perform

         construction, excavation, demolition, repair or alteration work at the premises.

                241.    On or before August 10, 2018, Defendant, K-SQUARE DEVELOPERS, INC.,

         retained Defendant, THE COUNTY OF NASSAU, to perform construction, excavation,

         demolition, repair or alteration work at the premises.

                242.    Defendant, COMMERCIAL CONTRACTING SERVICES INC., owned the

         premises.

                243.    Defendant, COMMERCIAL CONTRACTING SERVICES INC., operated the

         premises.


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                244.    Defendant, COMMERCIAL CONTRACTING SERVICES INC., maintained the

         premises.

                245.    Defendant, COMMERCIAL CONTRACTING SERVICES INC., managed the

         premises.

                246.    Defendant, COMMERCIAL CONTRACTING SERVICES INC., supervised the

         premises.

                247.    Defendant, COMMERCIAL CONTRACTING SERVICES INC., controlled the

         premises.

                248.    Defendant, COMMERCIAL CONTRACTING SERVICES INC., managed,

         supervised, directed and controlled the work being performed at the premises.

                249.    On or before August 10, 2018, Defendant, COMMERCIAL CONTRACTING

         SERVICES INC., was retained to perform construction, excavation, demolition, repair or

         alteration work at the premises.

                250.    Defendant, COMMERCIAL CONTRACTING SERVICES INC., performed

         construction, excavation, demolition, repair and/or alteration work on the premises.

                251.    Defendant, COMMERCIAL CONTRACTING SERVICES INC., performed

         construction, excavation, demolition, repair and/or alteration work on the premises, pursuant to a

         contract.

                252.    On August 10, 2018, Defendant, COMMERCIAL CONTRACTING SERVICES

         INC., managed, supervised, directed and controlled the construction, renovation, alteration and/or

         repair work at the premises.

                253.    On August 10, 2018, Defendant, COMMERCIAL CONTRACTING SERVICES


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         INC., was the general contractor for the construction work at the premises.

                254.    On or before August 10, 2018, Defendant, COMMERCIAL CONTRACTING

         SERVICES INC., retained contractors to perform construction, excavation, demolition, repair or

         alteration work at the premises.

                255.    On or before August 10, 2018, Defendant, COMMERCIAL CONTRACTING

         SERVICES INC., retained Defendant, MOXEY RIGBY LLC, to perform construction,

         excavation, demolition, repair or alteration work at the premises.

                256.    On or before August 10, 2018, Defendant, COMMERCIAL CONTRACTING

         SERVICES INC., retained Defendant, G&G MOXEY RIGBY LLC, to perform construction,

         excavation, demolition, repair or alteration work at the premises.

                257.    On or before August 10, 2018, Defendant, COMMERCIAL CONTRACTING

         SERVICES INC., retained Defendant, MOXEY RIGBY DEVELOPER LLC, to perform

         construction, excavation, demolition, repair or alteration work at the premises.

                258.    On or before August 10, 2018, Defendant, COMMERCIAL CONTRACTING

         SERVICES INC., retained Defendant, G&G MOXEY RIGBY DEVELOPER LLC, to perform

         construction, excavation, demolition, repair or alteration work at the premises.

                259.    On or before August 10, 2018, Defendant, COMMERCIAL CONTRACTING

         SERVICES INC., retained Defendant, MOXEY RIGBY MANAGERS LLC, to perform

         construction, excavation, demolition, repair or alteration work at the premises.

                260.    On or before August 10, 2018, Defendant, COMMERCIAL CONTRACTING

         SERVICES INC., retained Defendant, JOBCO INC., to perform construction, excavation,

         demolition, repair or alteration work at the premises.


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                261.    On or before August 10, 2018, Defendant, COMMERCIAL CONTRACTING

         SERVICES INC., retained Defendant, MDC HOME IMPROVEMENTS, INC., to perform

         construction, excavation, demolition, repair or alteration work at the premises.

                262.    On or before August 10, 2018, Defendant, COMMERCIAL CONTRACTING

         SERVICES INC., retained Defendant, K-SQUARE DEVELOPERS, INC., to perform

         construction, excavation, demolition, repair or alteration work at the premises.

                263.    On or before August 10, 2018, Defendant, COMMERCIAL CONTRACTING

         SERVICES       INC.,    retained    Defendant,     FREEPORT          AFFORDABLE        HOUSING

         DEVELOPMENT FUND CORP., to perform construction, excavation, demolition, repair or

         alteration work at the premises.

                264.    On or before August 10, 2018, Defendant, COMMERCIAL CONTRACTING

         SERVICES INC., retained Defendant, THE FREEPORT HOUSING AUTHORITY, to perform

         construction, excavation, demolition, repair or alteration work at the premises.

                265.    On or before August 10, 2018, Defendant, COMMERCIAL CONTRACTING

         SERVICES INC., retained Defendant, THE INCORPORATED VILLAGE OF FREEPORT, to

         perform construction, excavation, demolition, repair or alteration work at the premises.

                266.    On or before August 10, 2018, Defendant, COMMERCIAL CONTRACTING

         SERVICES INC., retained Defendant, THE COUNTY OF NASSAU, to perform construction,

         excavation, demolition, repair or alteration work at the premises.

                267.    Defendant, FREEPORT AFFORDABLE HOUSING DEVELOPMENT FUND

         CORP., owned the premises.




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                268.    Defendant, FREEPORT AFFORDABLE HOUSING DEVELOPMENT FUND

         CORP., operated the premises.

                269.    Defendant, FREEPORT AFFORDABLE HOUSING DEVELOPMENT FUND

         CORP., maintained the premises.

                270.    Defendant, FREEPORT AFFORDABLE HOUSING DEVELOPMENT FUND

         CORP., managed the premises.

                271.    Defendant, FREEPORT AFFORDABLE HOUSING DEVELOPMENT FUND

         CORP., supervised the premises.

                272.    Defendant, FREEPORT AFFORDABLE HOUSING DEVELOPMENT FUND

         CORP., controlled the premises.

                273.    Defendant, FREEPORT AFFORDABLE HOUSING DEVELOPMENT FUND

         CORP., managed, supervised, directed and controlled the work being performed at the premises.

                274.    On or before August 10, 2018, Defendant, FREEPORT AFFORDABLE

         HOUSING DEVELOPMENT FUND CORP., was retained to perform construction, excavation,

         demolition, repair or alteration work at the premises.

                275.    Defendant, FREEPORT AFFORDABLE HOUSING DEVELOPMENT FUND

         CORP., performed construction, excavation, demolition, repair and/or alteration work on the

         premises.

                276.    Defendant, FREEPORT AFFORDABLE HOUSING DEVELOPMENT FUND

         CORP., performed construction, excavation, demolition, repair and/or alteration work on the

         premises, pursuant to a contract.

                277.    On August 10, 2018, Defendant, FREEPORT AFFORDABLE HOUSING


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         DEVELOPMENT FUND CORP., managed, supervised, directed and controlled the construction,

         renovation, alteration and/or repair work at the premises.

                278.     On August 10, 2018, Defendant, FREEPORT AFFORDABLE HOUSING

         DEVELOPMENT FUND CORP., was the general contractor for the construction work at the

         premises.

                279.     On or before August 10, 2018, Defendant, FREEPORT AFFORDABLE

         HOUSING DEVELOPMENT FUND CORP., retained contractors to perform construction,

         excavation, demolition, repair or alteration work at the premises.

                280.     On or before August 10, 2018, Defendant, FREEPORT AFFORDABLE

         HOUSING DEVELOPMENT FUND CORP., retained Defendant, MOXEY RIGBY LLC, to

         perform construction, excavation, demolition, repair or alteration work at the premises.

                281.     On or before August 10, 2018, Defendant, FREEPORT AFFORDABLE

         HOUSING DEVELOPMENT FUND CORP., retained Defendant, G&G MOXEY RIGBY LLC,

         to perform construction, excavation, demolition, repair or alteration work at the premises.

                282.     On or before August 10, 2018, Defendant, FREEPORT AFFORDABLE

         HOUSING DEVELOPMENT FUND CORP., retained Defendant, MOXEY RIGBY

         DEVELOPER LLC, to perform construction, excavation, demolition, repair or alteration work at

         the premises.

                283.     On or before August 10, 2018, Defendant, FREEPORT AFFORDABLE

         HOUSING DEVELOPMENT FUND CORP., retained Defendant, G&G MOXEY RIGBY

         DEVELOPER LLC, to perform construction, excavation, demolition, repair or alteration work at

         the premises.


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                284.     On or before August 10, 2018, Defendant, FREEPORT AFFORDABLE

         HOUSING DEVELOPMENT FUND CORP., retained Defendant, MOXEY RIGBY

         MANAGERS LLC, to perform construction, excavation, demolition, repair or alteration work at

         the premises.

                285.     On or before August 10, 2018, Defendant, FREEPORT AFFORDABLE

         HOUSING DEVELOPMENT FUND CORP., retained Defendant, JOBCO INC., to perform

         construction, excavation, demolition, repair or alteration work at the premises.

                286.     On or before August 10, 2018, Defendant, FREEPORT AFFORDABLE

         HOUSING         DEVELOPMENT         FUND      CORP.,     retained   Defendant,     MDC     HOME

         IMPROVEMENTS, INC., to perform construction, excavation, demolition, repair or alteration

         work at the premises.

                287.     On or before August 10, 2018, Defendant, FREEPORT AFFORDABLE

         HOUSING DEVELOPMENT FUND CORP., retained Defendant, K-SQUARE DEVELOPERS,

         INC., to perform construction, excavation, demolition, repair or alteration work at the premises.

                288.     On or before August 10, 2018, Defendant, FREEPORT AFFORDABLE

         HOUSING         DEVELOPMENT         FUND      CORP.,    retained    Defendant,     COMMERCIAL

         CONTRACTING SERVICES INC., to perform construction, excavation, demolition, repair or

         alteration work at the premises.

                289.     On or before August 10, 2018, Defendant, FREEPORT AFFORDABLE

         HOUSING DEVELOPMENT FUND CORP., retained Defendant, THE FREEPORT HOUSING

         AUTHORITY, to perform construction, excavation, demolition, repair or alteration work at the

         premises.


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                290.    On or before August 10, 2018, Defendant, FREEPORT AFFORDABLE

         HOUSING DEVELOPMENT FUND CORP., retained Defendant, THE INCORPORATED

         VILLAGE OF FREEPORT, to perform construction, excavation, demolition, repair or alteration

         work at the premises.

                291.    On or before August 10, 2018, Defendant, FREEPORT AFFORDABLE

         HOUSING DEVELOPMENT FUND CORP., retained Defendant, THE COUNTY OF NASSAU,

         to perform construction, excavation, demolition, repair or alteration work at the premises.

                292.    Defendant, THE FREEPORT HOUSING AUTHORITY, owned the premises.

                293.    Defendant, THE FREEPORT HOUSING AUTHORITY, operated the premises.

                294.    Defendant, THE FREEPORT HOUSING AUTHORITY, maintained the premises.

                295.    Defendant, THE FREEPORT HOUSING AUTHORITY, managed the premises.

                296.    Defendant, THE FREEPORT HOUSING AUTHORITY, supervised the premises.

                297.    Defendant, THE FREEPORT HOUSING AUTHORITY, controlled the premises.

                298.    Defendant, THE FREEPORT HOUSING AUTHORITY, managed, supervised,

         directed and controlled the work being performed at the premises.

                299.    On or before August 10, 2018, Defendant, THE FREEPORT HOUSING

         AUTHORITY, was retained to perform construction, excavation, demolition, repair or alteration

         work at the premises.

                300.    Defendant, THE FREEPORT HOUSING AUTHORITY, performed construction,

         excavation, demolition, repair and/or alteration work on the premises.

                301.    Defendant, THE FREEPORT HOUSING AUTHORITY, performed construction,

         excavation, demolition, repair and/or alteration work on the premises, pursuant to a contract.


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                302.    On August 10, 2018, Defendant, THE FREEPORT HOUSING AUTHORITY,

         managed, supervised, directed and controlled the construction, renovation, alteration and/or repair

         work at the premises.

                303.    On August 10, 2018, Defendant, THE FREEPORT HOUSING AUTHORITY, was

         the general contractor for the construction work at the premises.

                304.    On or before August 10, 2018, Defendant, THE FREEPORT HOUSING

         AUTHORITY, retained contractors to perform construction, excavation, demolition, repair or

         alteration work at the premises.

                305.    On or before August 10, 2018, Defendant, THE FREEPORT HOUSING

         AUTHORITY, retained Defendant, MOXEY RIGBY LLC, to perform construction, excavation,

         demolition, repair or alteration work at the premises.

                306.    On or before August 10, 2018, Defendant, THE FREEPORT HOUSING

         AUTHORITY, retained Defendant, G&G MOXEY RIGBY LLC, to perform construction,

         excavation, demolition, repair or alteration work at the premises.

                307.    On or before August 10, 2018, Defendant, THE FREEPORT HOUSING

         AUTHORITY, retained Defendant, MOXEY RIGBY DEVELOPER LLC, to perform

         construction, excavation, demolition, repair or alteration work at the premises.

                308.    On or before August 10, 2018, Defendant, THE FREEPORT HOUSING

         AUTHORITY, retained Defendant, G&G MOXEY RIGBY DEVELOPER LLC, to perform

         construction, excavation, demolition, repair or alteration work at the premises.




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                309.    On or before August 10, 2018, Defendant, THE FREEPORT HOUSING

         AUTHORITY, retained Defendant, MOXEY RIGBY MANAGERS LLC, to perform

         construction, excavation, demolition, repair or alteration work at the premises.

                310.    On or before August 10, 2018, Defendant, THE FREEPORT HOUSING

         AUTHORITY, retained Defendant, JOBCO INC., to perform construction, excavation,

         demolition, repair or alteration work at the premises.

                311.    On or before August 10, 2018, Defendant, THE FREEPORT HOUSING

         AUTHORITY, retained Defendant, MDC HOME IMPROVEMENTS, INC., to perform

         construction, excavation, demolition, repair or alteration work at the premises.

                312.    On or before August 10, 2018, Defendant, THE FREEPORT HOUSING

         AUTHORITY, retained Defendant, K-SQUARE DEVELOPERS, INC., to perform construction,

         excavation, demolition, repair or alteration work at the premises.

                313.    On or before August 10, 2018, Defendant, THE FREEPORT HOUSING

         AUTHORITY, retained Defendant, COMMERCIAL CONTRACTING SERVICES INC., to

         perform construction, excavation, demolition, repair or alteration work at the premises.

                314.    On or before August 10, 2018, Defendant, THE FREEPORT HOUSING

         AUTHORITY, retained Defendant, FREEPORT AFFORDABLE HOUSING DEVELOPMENT

         FUND CORP., to perform construction, excavation, demolition, repair or alteration work at the

         premises.

                315.    On or before August 10, 2018, Defendant, THE FREEPORT HOUSING

         AUTHORITY, retained Defendant, THE INCORPORATED VILLAGE OF FREEPORT, to

         perform construction, excavation, demolition, repair or alteration work at the premises.


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                316.    On or before August 10, 2018, Defendant, THE FREEPORT HOUSING

         AUTHORITY, retained Defendant, THE COUNTY OF NASSAU, to perform construction,

         excavation, demolition, repair or alteration work at the premises.

                317.    Defendant, THE INCORPORATED VILLAGE OF FREEPORT, owned the

         premises.

                318.    Defendant, THE INCORPORATED VILLAGE OF FREEPORT, operated the

         premises.

                319.    Defendant, THE INCORPORATED VILLAGE OF FREEPORT, maintained the

         premises.

                320.    Defendant, THE INCORPORATED VILLAGE OF FREEPORT, managed the

         premises.

                321.    Defendant, THE INCORPORATED VILLAGE OF FREEPORT, supervised the

         premises.

                322.    Defendant, THE INCORPORATED VILLAGE OF FREEPORT, controlled the

         premises.

                323.    Defendant, THE INCORPORATED VILLAGE OF FREEPORT, managed,

         supervised, directed and controlled the work being performed at the premises.

                324.    On or before August 10, 2018, Defendant, THE INCORPORATED VILLAGE OF

         FREEPORT, was retained to perform construction, excavation, demolition, repair or alteration

         work at the premises.

                325.    Defendant, THE INCORPORATED VILLAGE OF FREEPORT, performed

         construction, excavation, demolition, repair and/or alteration work on the premises.


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                326.    Defendant, THE INCORPORATED VILLAGE OF FREEPORT, performed

         construction, excavation, demolition, repair and/or alteration work on the premises, pursuant to a

         contract.

                327.    On August 10, 2018, Defendant, THE INCORPORATED VILLAGE OF

         FREEPORT, managed, supervised, directed and controlled the construction, renovation, alteration

         and/or repair work at the premises.

                328.    On August 10, 2018, Defendant, THE INCORPORATED VILLAGE OF

         FREEPORT, was the general contractor for the construction work at the premises.

                329.    On or before August 10, 2018, Defendant, THE INCORPORATED VILLAGE OF

         FREEPORT, retained contractors to perform construction, excavation, demolition, repair or

         alteration work at the premises.

                330.    On or before August 10, 2018, Defendant, THE INCORPORATED VILLAGE OF

         FREEPORT, retained Defendant, MOXEY RIGBY LLC, to perform construction, excavation,

         demolition, repair or alteration work at the premises.

                331.    On or before August 10, 2018, Defendant, THE INCORPORATED VILLAGE OF

         FREEPORT, retained Defendant, G&G MOXEY RIGBY LLC, to perform construction,

         excavation, demolition, repair or alteration work at the premises.

                332.    On or before August 10, 2018, Defendant, THE INCORPORATED VILLAGE OF

         FREEPORT, retained Defendant, MOXEY RIGBY DEVELOPER LLC, to perform construction,

         excavation, demolition, repair or alteration work at the premises.




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                333.    On or before August 10, 2018, Defendant, THE INCORPORATED VILLAGE OF

         FREEPORT, retained Defendant, G&G MOXEY RIGBY DEVELOPER LLC, to perform

         construction, excavation, demolition, repair or alteration work at the premises.

                334.    On or before August 10, 2018, Defendant, THE INCORPORATED VILLAGE OF

         FREEPORT, retained Defendant, MOXEY RIGBY MANAGERS LLC, to perform construction,

         excavation, demolition, repair or alteration work at the premises.

                335.    On or before August 10, 2018, Defendant, THE INCORPORATED VILLAGE OF

         FREEPORT, retained Defendant, JOBCO INC., to perform construction, excavation, demolition,

         repair or alteration work at the premises.

                336.    On or before August 10, 2018, Defendant, THE INCORPORATED VILLAGE OF

         FREEPORT, retained Defendant, MDC HOME IMPROVEMENTS, INC., to perform

         construction, excavation, demolition, repair or alteration work at the premises.

                337.    On or before August 10, 2018, Defendant, THE INCORPORATED VILLAGE OF

         FREEPORT, retained Defendant, K-SQUARE DEVELOPERS, INC., to perform construction,

         excavation, demolition, repair or alteration work at the premises.

                338.    On or before August 10, 2018, Defendant, THE INCORPORATED VILLAGE OF

         FREEPORT, retained Defendant, COMMERCIAL CONTRACTING SERVICES INC., to

         perform construction, excavation, demolition, repair or alteration work at the premises.

                339.    On or before August 10, 2018, Defendant, THE INCORPORATED VILLAGE OF

         FREEPORT, retained Defendant, FREEPORT AFFORDABLE HOUSING DEVELOPMENT

         FUND CORP., to perform construction, excavation, demolition, repair or alteration work at the

         premises.


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                340.    On or before August 10, 2018, Defendant, THE INCORPORATED VILLAGE OF

         FREEPORT, retained Defendant, THE FREEPORT HOUSING AUTHORITY, to perform

         construction, excavation, demolition, repair or alteration work at the premises.

                341.    On or before August 10, 2018, Defendant, THE INCORPORATED VILLAGE OF

         FREEPORT, retained Defendant, THE COUNTY OF NASSAU, to perform construction,

         excavation, demolition, repair or alteration work at the premises.

                342.    Defendant, THE COUNTY OF NASSAU, owned the premises.

                343.    Defendant, THE COUNTY OF NASSAU, operated the premises.

                344.    Defendant, THE COUNTY OF NASSAU, maintained the premises.

                345.    Defendant, THE COUNTY OF NASSAU, managed the premises.

                346.    Defendant, THE COUNTY OF NASSAU, supervised the premises.

                347.    Defendant, THE COUNTY OF NASSAU, controlled the premises.

                348.    Defendant, THE COUNTY OF NASSAU, managed, supervised, directed and

         controlled the work being performed at the premises.

                349.    On or before August 10, 2018, Defendant, THE COUNTY OF NASSAU, was

         retained to perform construction, excavation, demolition, repair or alteration work at the premises.

                350.    Defendant, THE COUNTY OF NASSAU, performed construction, excavation,

         demolition, repair and/or alteration work on the premises.

                351.    Defendant, THE COUNTY OF NASSAU, performed construction, excavation,

         demolition, repair and/or alteration work on the premises, pursuant to a contract.

                352.    On August 10, 2018, Defendant, THE COUNTY OF NASSAU, managed,

         supervised, directed and controlled the construction, renovation, alteration and/or repair work at


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         the premises.

                353.     On August 10, 2018, Defendant, THE COUNTY OF NASSAU, was the general

         contractor for the construction work at the premises.

                354.     On or before August 10, 2018, Defendant, THE COUNTY OF NASSAU, retained

         contractors to perform construction, excavation, demolition, repair or alteration work at the

         premises.

                355.     On or before August 10, 2018, Defendant, THE COUNTY OF NASSAU, retained

         Defendant, MOXEY RIGBY LLC, to perform construction, excavation, demolition, repair or

         alteration work at the premises.

                356.     On or before August 10, 2018, Defendant, THE COUNTY OF NASSAU, retained

         Defendant, G&G MOXEY RIGBY LLC, to perform construction, excavation, demolition, repair

         or alteration work at the premises.

                357.     On or before August 10, 2018, Defendant, THE COUNTY OF NASSAU, retained

         Defendant, MOXEY RIGBY DEVELOPER LLC, to perform construction, excavation,

         demolition, repair or alteration work at the premises.

                358.     On or before August 10, 2018, Defendant, THE COUNTY OF NASSAU, retained

         Defendant, G&G MOXEY RIGBY DEVELOPER LLC, to perform construction, excavation,

         demolition, repair or alteration work at the premises.

                359.     On or before August 10, 2018, Defendant, THE COUNTY OF NASSAU, retained

         Defendant, MOXEY RIGBY MANAGERS LLC, to perform construction, excavation, demolition,

         repair or alteration work at the premises.




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                360.    On or before August 10, 2018, Defendant, THE COUNTY OF NASSAU, retained

         Defendant, JOBCO INC., to perform construction, excavation, demolition, repair or alteration

         work at the premises.

                361.    On or before August 10, 2018, Defendant, THE COUNTY OF NASSAU, retained

         Defendant, MDC HOME IMPROVEMENTS, INC., to perform construction, excavation,

         demolition, repair or alteration work at the premises.

                362.    On or before August 10, 2018, Defendant, THE COUNTY OF NASSAU, retained

         Defendant, K-SQUARE DEVELOPERS, INC., to perform construction, excavation, demolition,

         repair or alteration work at the premises.

                363.    On or before August 10, 2018, Defendant, THE COUNTY OF NASSAU, retained

         Defendant, COMMERCIAL CONTRACTING SERVICES INC., to perform construction,

         excavation, demolition, repair or alteration work at the premises.

                364.    On or before August 10, 2018, Defendant, THE COUNTY OF NASSAU, retained

         Defendant, FREEPORT AFFORDABLE HOUSING DEVELOPMENT FUND CORP., to

         perform construction, excavation, demolition, repair or alteration work at the premises.

                365.    On or before August 10, 2018, Defendant, THE COUNTY OF NASSAU, retained

         Defendant, THE FREEPORT HOUSING AUTHORITY, to perform construction, excavation,

         demolition, repair or alteration work at the premises.

                366.    On or before August 10, 2018, Defendant, THE COUNTY OF NASSAU, retained

         Defendant, THE INCORPORATED VILLAGE OF FREEPORT, to perform construction,

         excavation, demolition, repair or alteration work at the premises.

                367.    On or before August 10, 2018, Plaintiff, GERSON VASQUEZ, was an employee


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         of Defendant, COMMERCIAL CONTRACTING SERVICES INC.

                 368.      On or before August 10, 2018, Plaintiff, GERSON VASQUEZ, was not afforded,

         covered by, and/or provided with Workers’ Compensation Insurance while employed with and/or

         by Defendant, COMMERCIAL CONTRACTING SERVICES INC.

                 369.      On or after August 10, 2018, Plaintiff, GERSON VASQUEZ, was not afforded,

         covered by, and/or provided with Workers’ Compensation Insurance through and/or from

         Defendant, COMMERCIAL CONTRACTING SERVICES INC.

                 370.      On August 10, 2018, while Plaintiff, GERSON VASQUEZ, was performing

         construction, renovation, repair and/or alteration work as aforesaid at the premises, he was working

         at an elevated work location.

                 371.      On August 10, 2018, while Plaintiff, GERSON VASQUEZ, was performing

         construction, renovation, repair and/or alteration work as aforesaid at the premises, he was working

         on a ladder.

                 372.      On August 10, 2018, while Plaintiff, GERSON VASQUEZ, was performing

         construction, excavation, demolition, repair or alteration work on the premises, when he was

         caused to fall.

                 373.      On August 10, 2018, while Plaintiff, GERSON VASQUEZ, was performing

         construction, excavation, demolition, repair or alteration work on the premises, when an object

         was caused to fall onto his person.

                 374.      Plaintiff, GERSON VASQUEZ, was injured.

                 375.      Plaintiff, GERSON VASQUEZ, was seriously injured.

                 376.      Said injuries were caused by the negligence of the defendants, their agents,


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         servants, contractors and/or employees.

                   377.   The premises and work area were in a dangerous condition, hazardous to the

         workers thereat.

                   378.   The dangerous conditions were caused and created by the defendants, and their

         agents, servants and/or employees.

                   379.   The limitations on liability set forth in CPLR Section 1601 do not apply to this

         action.

                   380.   The limitations on liability set forth in CPLR Section 1601 do not apply to this

         action by reason of one or more of the exemptions set forth in CPLR Section 1602, including, but

         not limited to, Sections 1602(2)(iv), 1602(4), 1602(7) and 1602(8).

                   381.   As a result of the foregoing, Plaintiff, GERSON VASQUEZ, has been damaged in

         an amount in excess of the jurisdictional limits of all lower courts in which this matter might

         otherwise have been brought.



                                 AS AND FOR A SECOND CAUSE OF ACTION
                                ON BEHALF OF PLAINTIFF, GERSON VASQUEZ

                   382.   Plaintiff, GERSON VASQUEZ, repeats and re-alleges each and every preceding

         allegation as if fully set forth herein.

                   383.   On August 10, 2018, Defendants failed to furnish or erect or cause to be furnished

         or erected, for the performance of plaintiff's labor, scaffolding, hoists, stays, ladders, slings,

         hangers, blocks, pulleys, braces, irons, ropes and other devices, which were so constructed, placed

         and operated as to give proper protection to Plaintiff, GERSON VASQUEZ.

                   384.   Defendants were in violation of Sections 200, 240 and 241(6) of the Labor Law of

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         the State of New York, Rule 23 of the Industrial Code of the State of New York.

                 385.    The defendants’ violation of the above sections of the Labor Law the Industrial

         Code and OSHA were substantial factors in causing this occurrence.

                 386.    Plaintiff, GERSON VASQUEZ, was injured.

                 387.    Plaintiff, GERSON VASQUEZ, was seriously injured.

                 388.    The serious injuries were due to the defendants’ violations of Labor Law §§200,

         240, and 241(6) and the provisions of the Industrial Code and OSHA regulations.

                 389.    As a result of the foregoing, defendants are liable or strictly liable to plaintiff for

         his injuries.

                 390.    The limitations on liability set forth in CPLR §1601 do not apply to this action.

                 391.    The limitations on liability set forth in CPLR §1601 do not apply to this action by

         reason of one or more of the exemptions set forth in CPLR §1602, including, but not limited to

         Sections 1602(2)(iv), 1602(4), 1602(7) and 1602(8).

                 392.    As a result of the foregoing, Plaintiff, GERSON VASQUEZ, has been damaged in

         an amount in excess of the jurisdictional limits of all lower courts in which this matter might

         otherwise have been brought.



                                               PRAYER FOR RELIEF

                 WHEREFORE, Plaintiff, GERSON VASQUEZ demands judgment against each of the

         Defendants on each of the causes of action alleged herein, each separately in a sum of money

         having a present value that exceeds the jurisdictional limits of all lower courts which would




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             otherwise           have        jurisdiction                 of    this   matter;    the   costs      and       disburcements                         of    this




             other       and   further          relief      as     this        Court    deems    just   and     proper.




             Dated:        New       York,          New          York

                           May       3,   2019



                                                                                                                 Yours,         etc.,




                                                                                                                 Ernest        N.       Reece,              Esq.

                                                                                                                 MILLER,                      LEIBY                &    ASSO
                                                                                                                Attorneys               for     Plaintiff

                                                                                                                 Gerson          Vasquez

                                                                                                                 32       Broadway,               13th         Floor

                                                                                                                 New         York,            NY10004

                                                                                                                 (212)        227-4200




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                                                                                       ATTORNEY                        VERIFICATION




                            ERNEST                   N.         REECE,                an      attorney                      at          law,            duly              admitted


              in      the         Courts                   of        the         State              of         New         York,                 affirms                   under


              of      perjury                    that:



                            He      is          the             attorney                   for           the           plaintiff(s)                                  in       the        ab


              action.                     That                  he        has          read              the           foregoing                          COMPLAINT                       an


              contents                     thereof,                             and           upon                   information                                and            belief,


             believes                    the              matters                  alleged                     therein                     to       be         true.



                            The          reason                      this             Verification                                 is      made            by             deponent


              the        plaintiff(s)                                     is      that           the                plaintiff(s)                                herein               resid


              county               other                    than                the           one              in         which                   the           plaintiff's


             maintain                    their                  office.



                            The          source                      of         deponent's                           information                               and          the          gro


             belief                 are                   communication,                                       papers,                          reports                      and           i


              contained                    in             the         file.




             DATED:               New            York,                New          York

                                  May           3,          2019


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                                                                        Index         No.




                                   SUPREME            COURT       OF THE               STATE        OF    NEW YORK
                                                          COUNTY                OF NASSAU




                                                              GERSON            VASQUEZ,


                                                                         Plaintiff,


                                                                         -against-



           MOXEY         RIGBY    LLC;         G&G   MOXEY           RIGBY            LLC;     MOXEY           RIGBY     DEVELOPER           LLC;
           G&G     MOXEY         RIGBY         DEVELOPER             LLC;       MOXEY           RIGBY          MANAGERS       LLC;     JOBCO
                 INC.;    MDC     HOME         IMPROVEMENTS,                    INC.;        K-SQUARE           DEVELOPERS,          INC.;
          COMMERCIAL             CONTRACTING                  SERVICES              INC.;    FREEPORT            AFFORDABLE          HOUSING
              DEVELOPMENT                 FUND       CORP.;      THE        FREEPORT                HOUSING         AUTHORITY;         THE
               INCORPORATED                    VILLAGE         OF FREEPORT;                   and   THE    COUNTY         OF NASSAU,


                                                                     Defendants.




                                                SUMMONS          &      VERIFIED             COMPLAINT




                                    MILLER,              LEIBY                        ASSOCIATEs,                 P.C.

                                                          ATTORNEYS                     AT     LAW


                                                32 Broadway,     I3th       Floor      • New    York,     NY   10004

                                         Tel   212.227.4200      • Fax       2 l 2.504.8369         • MillerLeiby.com




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           SUPREME              COURT           OF THE               STATE            OF      NEW YORK
           COUNTY             OF NASSAU
                                                                                                                                      X
           GERSON          VASQUEZ,                                                                                                             Index     No.:     606124/2019


                                                               Plaintiff,


                                       - against         -                                                                                      VERIFIED             ANSWER               TO
                                                                                                                                                COMPLAINT
           MOXEY         RIGBY           LLC;       G&G             MOXEY               RIGBY                LLC;      MOXEY
          RIGBY        DEVELOPER                   LLC;            G&G         MOXEY                 RIGBY
          DEVELOPER                 LLC;        MOXEY                RIGBY            MANAGERS                        LLC;
           JOBCO                    MDC HOME                                                                            K-
                       INC.;                                      IMPROVEMENTS,                               INC.;
           SQUARE         DEVELOPERS,                           INC.;        COMMERCIAL
           CONTRACTING                     SERVICES                  INC.;          FREEPORT
          AFFORDABLE                    HOUSING                  DEVELOPMENT                             FUND           CORP.;
          THE       FREEPORT              HOUSING                   AUTHORITY;                        THE
          INCORPORATED                       VILLAGE                   OF FREEPORT;                          and THE
          COUNTY           OF NASSAU,


                                                             Defendants.
                                                                                                                                      X


                      PLEASE            TAKE             NOTICE                that      Defendant                    MDC          HOME             IMPROVEMENTS,                           INC.,       by     its



         attorneys,        The         Chartwell                 Law         Offices,           LLP,           as     and     for      Defendant's                Answer          to      the       Verified



        Complaint,            states      upon           information                  and      belief,         as follows:


                                                                                      NATURE                   OF ACTION


                           1.       No     response                is required                for      Paragraph              "1"to         plaintiff's          Complaint.            To       the    extent


        that    a response             is required,                defendant                denies            each      and        every         allegation        contained           in     Paragraph


        "1"
               of Plaintiff's           Verified             Complaint,                 and         refers      all    questions                of law    to the       Court.


                                                                             JURISDICTION                             AND          VENUE


                           2.       Denies         knowledge                   or     information                     sufficient           to    form     a belief        as to    the       allegations


                                                         "2"
        contained        in     Paragraph                          of Plaintiff's              Verified              Complaint.


                                                                                                                                                                 "3"
                          3.        Denies         each          and        every       allegation              contained             in Paragraph                       of Plaintiff's             Verified



        Complaint,            and      refers      all       questions              of law           to the         Court.




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                                                                               [URY         DEMAND

                                                                                                          "4"
                           4.      No response            is required          for     Paragraph                  to plaintiffs          Complaint.


                                                                            NOTICE              OF CLAIM


                           5.      Denies    knowledge              or      information            sufficient        to   form     a belief         as to   the    allegations


                                                  "5"
         contained     in Paragraph                       of Plaintiff's         Verified         Complaint.


                           6.      Denies    knowledge              or      information            sufficient        to   form     a belief         as to   the    allegations


                                                  "6"
         contained     in Paragraph                       of Plaintiffs          Verified         Complaint.


                           7.     Denies     knowledge              or      information            sufficient        to   form    a belief          as to   the    allegations


                                                  "7"
         contained    in        Paragraph                 of Plaintiff's         Verified         Complaint.


                       8.         Denies    knowledge               or      information            sufficient        to form      a belief          as to   the    allegations


                                                  "8"
         contained    in        Paragraph                 of Plaintiffs          Verified         Complaint.


                       9.         Denies    knowledge               or      information            sufficient        to form      a belief          as to   the    allegations


                                                  "9"
         contained    in        Paragraph                 of Plaintiffs          Verified        Complaint.


                       10.        Denies    knowledge               or     information             sufficient        to   form    a belief          as to   the    allegations


                                                  "10"
         contained    in Paragraph                         of Plaintiffs             Verified       Complaint.


                       11.        Denies    knowledge               or     information             sufficient        to   form    a belief          as to   the    allegations


                                                  "11"
         contained    in        Paragraph                  of Plaintiff's            Verified       Complaint.


                       12.        Denies    knowledge               or     information            sufficient         to   form    a belief          as to   the    allegations


                                                  "12"
         contained    in        Paragraph                  of Plaintiffs             Verified       Complaint.


                       13.        Denies    knowledge               or     information            sufficient         to   form    a belief      as to       the    allegations


                                                "13"
         contained    in        Paragraph                  of Plaintiff's            Verified       Complaint.


                                                         AS TO THE              FIRST           CAUSE           OF ACTION

                                                                                                                                                                   "14"
                       14.        In response           to the   allegations            contained          in the     paragraph           designated          as           of the


        Verified     Complaint,             the         answering            Defendant             repeats          and     reiterates        all     responses           to     the




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                                                                                                       "1"                     "13"
         allegations        contained           in the    paragraphs             designated       as          through                 of the    Verified     Complaint


         as if fully   set forth            at length     herein.


                            15.     Denies       knowledge           or      information       sufficient        to     form      a belief     as to the     allegations


                                                   "15"
         contained      in        Paragraph                 of Plaintiff's          Verified     Complaint.


                            16.     Denies       knowledge           or      information       sufficient        to form          a belief     as to   the   allegations


                                                   "16"
         contained     in     Paragraph                     of Plaintiff's          Verified    Complaint.


                            17.     Denies      knowledge            or      information       sufficient        to form         a belief      as to   the   allegations


                                                   "17"
         contained     in     Paragraph                     of Plaintiff's          Verified    Complaint.


                            18.     Denies      knowledge            or     information        sufficient        to form         a belief      as to   the   allegations


                                                   "18"
         contained     in     Paragraph                     of Plaintiff's          Verified    Complaint.


                        19.         Denies      knowledge            or     information        sufficient        to   form       a belief      as to   the   allegations


                                                   "19"
         contained     in     Paragraph                     of Plaintiff's          Verified    Complaint.


                        20.         Denies      knowledge            or   information          sufficient       to    form       a belief      as to   the   allegations


                                                   "20"
         contained     in Paragraph                         of Plaintiff's          Verified    Complaint.


                        21.        Denies       knowledge           or    information          sufficient       to    form       a belief      as to   the   allegations


                                                   "21"
         contained     in     Paragraph                     of Plaintiff's         Verified     Complaint.


                        22.        Denies       knowledge           or    information          sufficient       to    form       a belief      as to   the   allegations


                                                  "22"
        contained      in     Paragraph                     of Plaintiff's         Verified     Complaint.


                        23.        Denies       knowledge           or    information          sufficient       to    form       a belief      as to   the   allegations


                                                  "23"
        contained      in     Paragraph                     of Plaintiff's         Verified     Complaint.


                        24.        Denies       knowledge           or    information          sufficient       to    form       a belief      as to   the   allegations


                                                  "24"
        contained      in     Paragraph                    of Plaintiff's          Verified     Complaint.


                        25.        Denies       knowledge           or    information          sufficient       to    form       a belief      as to   the   allegations


                                                  "25"
        contained      in     Paragraph                    of Plaintiff's          Verified     Complaint.




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                          26.   Denies   knowledge               or      information         sufficient      to   form   a belief        as to    the    allegations


                                           "26"
         contained   in     Paragraph                   of Plaintiff's          Verified      Complaint.


                          27.   Denies   knowledge               or      information         sufficient      to   form   a belief        as to    the    allegations


                                           "27"
         contained   in     Paragraph                   of Plaintiff's          Verified      Complaint.


                          28.   Denies   knowledge               or      information         sufficient      to   form   a belief        as to    the    allegations


                                           "28"
         contained   in     Paragraph                   of Plaintiff's          Verified      Complaint.


                      29.       Denies   knowledge               or      information         sufficient      to   form   a belief        as to    the    allegations


                                           "29"
         contained   in     Paragraph                   of Plaintiff's          Verified      Complaint.


                      30.       Denies   knowledge               or      information         sufficient      to   form   a belief        as to    the    allegations


                                           "30"
         contained   in     Paragraph                   of Plaintiff's          Verified      Complaint.


                                                                                                                          "31"
                      31.       Admits    to      the      allegations           contained          in    Paragraph                 of    Plaintiff's        Verified


        Complaint.


                      32.       Denies   knowledge               or   information            sufficient      to   form   a belief        as to    the    allegations


                                           "32"
        contained    in     Paragraph                   of Plaintiff's          Verified      Complaint.


                      33.       Denies   knowledge               or   information            sufficient      to   form   a belief        as to    the    allegations


                                           "33"
        contained    in     Paragraph                   of Plaintiff's          Verified      Complaint.


                      34.       Denies   knowledge              or    information            sufficient      to   form   a belief        as to   the     allegations


                                           "34"
        contained    in     Paragraph                   of Plaintiff's          Verified      Complaint.


                      35.       Denies   knowledge              or    information            sufficient      to   form   a belief        as to   the     allegations


                                           "35"
        contained    in     Paragraph                   of Plaintiff's          Verified      Complaint.


                      36.       Denies   knowledge              or    information            sufficient      to   form   a belief        as to   the     allegations


                                           "36"
        contained    in     Paragraph                   of Plaintiff's          Verified      Complaint.


                      37.       Denies   knowledge              or    information            sufficient      to   form   a belief        as to   the     allegations


                                           "37"
        contained    in     Paragraph                   of Plaintiff's         Verified       Complaint.




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                          38.   Denies     knowledge            or     information           sufficient        to   form     a belief        as to   the     allegations


                                               "38"
         contained    in Paragraph                    of Plaintiff's          Verified        Complaint.


                       39.      Denies     knowledge            or     information           sufficient        to   form     a belief    as to       the     allegations


                                               "39"
         contained    in     Paragraph                of Plaintiff's          Verified        Complaint.


                       40.      Denies    knowledge             or     information           sufficient        to   form     a belief    as to       the     allegations


                                               "40"
         contained    in     Paragraph                of Plaintiff's          Verified        Complaint.


                       41.      Denies    knowledge             or     information           sufficient        to   form     a belief    as to       the     allegations


                                               "41"
         contained    in    Paragraph                 of Plaintiff's          Verified        Complaint.


                       42.      Denies    knowledge             or   information             sufficient        to   form     a belief    as to       the     allegations


                                               "42"
         contained   in     Paragraph                 of Plaintiff's          Verified        Complaint.


                       43.      Denies    knowledge             or   information             sufficient        to   form     a belief    as to       the     allegations


                                               "43"
         contained   in     Paragraph                 of Plaintiff's          Verified        Complaint.


                      44.       Denies    knowledge             or   information             sufficient        to   form     a belief    as to       the     allegations


                                               "44"
        contained    in Paragraph                     of Plaintiff's          Verified        Complaint.


                      45.       Denies    knowledge             or   information             sufficient        to   form     a belief    as to       the     allegations


                                               "45"
        contained    in     Paragraph                 of Plaintiff's          Verified        Complaint.


                      46.       Denies    knowledge             or   information             sufficient        to   form     a belief    as to       the     allegations


                                               "46"
        contained    in     Paragraph                 of Plaintiff's          Verified        Complaint.


                      47.       Denies    knowledge             or   information             sufficient        to   form     a belief    as to       the     allegations


                                               "47"
        contained    in     Paragraph                 of Plaintiff's          Verified        Complaint.


                      48.       Denies    knowledge             or   information             sufficient        to   form     a belief    as to       the     allegations


                                               "48"
        contained    in     Paragraph                 of Plaintiff's          Verified        Complaint.            Denies     knowledge             or information


                                                                                                                                 "2"
        sufficient   to form        a belief      as to   the    allegations             contained        in   Paragraph                of    Plaintiff's        Verified


        Complaint.




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                         49.     Denies    knowledge            or    information       sufficient     to form        a belief   as to   the    allegations


                                             "49"
         contained      in     Paragraph               of Plaintiff's        Verified    Complaint.


                         50.     Denies    knowledge            or    information       sufficient     to form        a belief   as to   the    allegations


                                             "50"
         contained      in     Paragraph               of Plaintiff's        Verified    Complaint.


                         51.     Denies    knowledge           or     information       sufficient     to form        a belief   as to   the    allegations


                                             "51"
         contained      in    Paragraph                of Plaintiff's        Verified    Complaint.


                         52.     Denies    knowledge           or     information       sufficient     to   form      a belief   as to   the    allegations


                                             "52"
         contained      in    Paragraph                of Plaintiff's        Verified    Complaint.


                         53.     Denies    knowledge           or     information       sufficient     to   form      a belief   as to   the    allegations


                                             "53"
         contained     in     Paragraph                of Plaintiff's        Verified    Complaint.


                        54.      Denies    knowledge           or     information       sufficient     to form       a belief    as to   the    allegations


                                             "54"
         contained     in     Paragraph                of Plaintiff's        Verified    Complaint.


                        55.      Denies    knowledge           or     information       sufficient     to   form     a belief    as to   the    allegations


                                             "55"
         contained     in     Paragraph                of Plaintiff's        Verified    Complaint.


                        56.      Denies    knowledge           or    information        sufficient     to form       a belief    as to   the    allegations


                                             "56"
         contained     in     Paragraph                of Plaintiff's        Verified    Complaint.


                        57.      Denies    knowledge           or    information        sufficient     to form       a belief    as to   the    allegations


                                             "57"
        contained      in    Paragraph              of Plaintiff's           Verified    Complaint.


                        58.      Denies    knowledge           or    information        sufficient     to   form     a belief    as to   the    allegations


                                             "58"
        contained      in    Paragraph              of Plaintiff's           Verified    Complaint.


                        59.      Denies    knowledge           or    information        sufficient     to   form     a belief    as to   the    allegations


                                             "59"
        contained      in    Paragraph              of Plaintiff's           Verified    Complaint.


                                                                                                                                  "60"
                        60,     Denies     each     and       every        allegation      contained        in     Paragraph               of    Plaintiff's


        Verified     Complaint.




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                           61.   Denies   knowledge            or     information       sufficient     to   form   a belief   as to   the   allegations


                                             "61"
          contained   in     Paragraph                of Plaintiffs          Verified     Complaint.


                           62.   Denies   knowledge           or      information       sufficient     to   form   a belief   as to   the   allegations


                                            "62"
         contained    in     Paragraph                of Plaintiffs          Verified     Complaint.


                       63.       Denies   knowledge           or      information       sufficient     to   form   a belief   as to   the   allegations


                                            "63"
         contained    in Paragraph                    of Plaintiffs          Verified     Complaint.


                       64.       Denies   knowledge           or      information       sufficient     to   form   a belief   as to   the   allegations


                                            "64"
         contained    in Paragraph                    of Plaintiffs          Verified    Complaint.


                       65.       Denies   knowledge           or      information       sufficient     to   form   a belief   as to   the   allegations


                                            "65"
         contained    in Paragraph                    of Plaintiffs          Verified    Complaint.


                       66.       Denies   knowledge           or      information       sufficient     to   form   a belief   as to   the   allegations


                                            "66"
         contained    in     Paragraph                of Plaintiffs          Verified    Complaint.


                       67.       Denies   knowledge           or      information       sufficient     to   form   a belief   as to   the   allegations


                                            "67"
         contained    in     Paragraph                of Plaintiffs          Verified    Complaint.


                       68.       Denies   knowledge           or      information       sufficient     to form     a belief   as to   the   allegations


                                            "68"
         contained    in Paragraph                    of Plaintiffs          Verified    Complaint.


                       69.       Denies   knowledge           or    information         sufficient     to form     a belief   as to   the   allegations


                                            "69"
         contained    in     Paragraph                of Plaintiffs          Verified    Complaint.


                       70.       Denies   knowledge           or    information         sufficient     to form     a belief   as to   the   allegations


                                            "70"
         contained    in Paragraph                  of Plaintiffs            Verified    Complaint.


                       71.       Denies   knowledge           or    information         sufficient     to form     a belief   as to   the   allegations


                                            "71"
         contained    in Paragraph                  of Plaintiff's           Verified    Complaint.


                      72.        Denies   knowledge           or    information         sufficient     to   form   a belief   as to   the   allegations


                                            "72"
        contained     in Paragraph                  of Plaintiffs           Verified     Complaint.




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                          73.   Denies   knowledge            or      information       sufficient    to form     a belief   as to   the   allegations


                                           "73"
         contained   in     Paragraph                of Plaintiff's          Verified    Complaint.


                          74.   Denies   knowledge            or   information          sufficient    to form     a belief   as to   the   allegations


                                           "74"
         contained   in     Paragraph                of Plaintiff's          Verified    Complaint.


                          75.   Denies   knowledge            or   information          sufficient    to   form   a belief   as to   the   allegations


                                           "75"
         contained   in     Paragraph                of Plaintiff's          Verified    Complaint.


                          76.   Denies   knowledge            or   information          sufficient    to form     a belief   as to   the   allegations


                                           "76"
         contained   in     Paragraph                of Plaintiff's          Verified    Complaint.


                      77.       Denies   knowledge           or    information          sufficient    to form     a belief   as to   the   allegations


                                           "77"
         contained   in     Paragraph                of Plaintiff's          Verified    Complaint.


                      78.       Denies   knowledge           or    information          sufficient    to form     a belief   as to   the   allegations


                                           "78"
         contained   in     Paragraph                of Plaintiff's          Verified    Complaint.


                      79.       Denies   knowledge           or    information          sufficient    to   form   a belief   as to the     allegations


                                           "79"
         contained   in     Paragraph                of Plaintiff's          Verified    Complaint.


                      80.       Denies   knowledge           or    information          sufficient    to form     a belief   as to   the   allegations


                                           "80"
         contained   in     Paragraph                of Plaintiff's         Verified     Complaint.


                      81.       Denies   knowledge           or    information          sufficient    to form     a belief   as to   the   allegations


                                           "81"
         contained   in     Paragraph             of Plaintiff's            Verified     Complaint.


                      82.       Denies   knowledge           or    information          sufficient    to   form   a belief   as to   the   allegations


                                           "82"
        contained    in     Paragraph             of Plaintiff's            Verified     Complaint.


                      83.       Denies   knowledge           or    information          sufficient    to form     a belief   as to   the   allegations


                                           "83"
        contained    in     Paragraph             of Plaintiff's            Verified     Complaint.


                      84.       Denies   knowledge           or    information          sufficient    to form     a belief   as to   the   allegations


                                           "84"
        contained    in     Paragraph             of Plaintiff's            Verified     Complaint.




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                                                                                                                                       "85"
                           85.     Denies     each       and     every         allegation       contained         in    Paragraph                   of     Plaintiff's


         Verified    Complaint.


                           86.     Denies    knowledge            or      information       sufficient      to   form     a belief   as to    the        allegations


                                               "86"
         contained     in        Paragraph               of Plaintiff's          Verified     Complaint.


                           87.     Denies    knowledge            or      information       sufficient      to   form     a belief   as to    the        allegations


                                               "87"
         contained     in        Paragraph               of Plaintiff's          Verified     Complaint.


                           88.     Denies    knowledge            or      information       sufficient      to   form     a belief   as to    the        allegations


                                               "88"
        contained      in     Paragraph                  of Plaintiff's          Verified    Complaint.


                           89.     Denies    knowledge            or   information          sufficient      to   form     a belief   as to    the        allegations


                                               "89"
        contained      in     Paragraph                  of Plaintiff's          Verified    Complaint.


                        90.        Denies    knowledge           or    information          sufficient      to   form     a belief   as to    the        allegations


                                               "90"
        contained      in    Paragraph                   of Plaintiff's          Verified    Complaint.


                        91.        Denies    knowledge           or    information          sufficient      to   form     a belief   as to    the        allegations


                                               "91"
        contained     in     Paragraph                   of Plaintiff's          Verified    Complaint.


                        92.        Denies    knowledge           or    information          sufficient      to   form     a belief   as to    the        allegations


                                               "92"
        contained     in     Paragraph                   of Plaintiff's         Verified     Complaint.


                       93.        Denies     knowledge           or    information          sufficient      to   form     a belief   as to    the        allegations


                                               "93"
        contained     in     Paragraph                of Plaintiff's            Verified     Complaint.


                       94.        Denies     knowledge           or    information          sufficient      to   form     a belief   as to    the        allegations


                                               "94"
        contained     in     Paragraph                of Plaintiff's            Verified     Complaint.


                       95.        Denies     knowledge           or    information          sufficient      to   form     a belief   as to    the        allegations


                                               "95"
        contained     in     Paragraph                of Plaintiff's            Verified     Complaint.


                       96.        Denies     knowledge           or    information          sufficient      to   form     a belief   as to    the        allegations


                                               "96"
        contained     in     Paragraph                of Plaintiff's            Verified     Complaint.




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                        97.    Denies        knowledge         or     information            sufficient        to form    a belief     as to   the   allegations


                                               "97"
          contained    in   Paragraph                 of Plaintiffs          Verified         Complaint.


                        98.    Denies        knowledge         or     information            sufficient        to form    a belief     as to   the   allegations


                                               "98"
         contained     in   Paragraph                 of Plaintiffs          Verified         Complaint.


                        99.    Denies    knowledge            or     information             sufficient        to form    a belief     as to   the   allegations


                                               "99"
         contained     in   Paragraph                 of Plaintiffs          Verified         Complaint.


                        100.             Denies          knowledge            or    information            sufficient      to   form     a belief      as   to     the


                                                                "100"
         allegations    contained       in     Paragraph                    of Plaintiffs           Verified       Complaint.


                        101.             Denies          knowledge            or    information            sufficient      to   form     a belief      as   to     the


                                                                "101"
         allegations    contained       in     Paragraph                    of Plaintiff's          Verified       Complaint.


                       102.              Denies          knowledge            or    information            sufficient      to   form     a belief      as   to     the


                                                                "102"
         allegations    contained       in     Paragraph                    of Plaintiff's          Verified       Complaint.


                       103.              Denies          knowledge            or    information            sufficient      to   form     a belief      as   to     the


                                                                "103"
         allegations    contained       in     Paragraph                    of Plaintiff's          Verified      Complaint.


                       104.              Denies          knowledge           or     information            sufficient      to   form     a belief      as   to     the


                                                                "104"
         allegations    contained       in Paragraph                        of Plaintiff's          Verified      Complaint.


                       105.              Denies          knowledge           or     information            sufficient      to   form     a belief     as    to     the


                                                                "105"
         allegations    contained       in     Paragraph                    of Plaintiff's          Verified      Complaint.


                       106.             Denies           knowledge           or     information            sufficient      to   form     a belief     as    to     the


                                                                "106"
         allegations   contained        in     Paragraph                    of Plaintiff's          Verified      Complaint.


                       107.             Denies           knowledge           or     information            sufficient      to   form     a belief     as    to     the


                                                                "107"
        allegations    contained        in    Paragraph                     of Plaintiffs           Verified      Complaint.


                       108.             Denies           knowledge           or     information            sufficient      to   form    a belief      as    to     the


                                                                "108"
        allegations    contained        in    Paragraph                     of Plaintiffs           Verified      Complaint.




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                          109.             Denies       knowledge        or     information          sufficient       to   form      a belief    as   to   the


                                                               "109"
         allegations       contained       in Paragraph                of Plaintiff's         Verified       Complaint.


                                                                                                                                                 "110"
                          110.             Denies       each     and    every        allegation          contained         in     Paragraph                  of


         Plaintiff     s Verified      Complaint.


                          111.             Denies       knowledge       or      information          sufficient       to   form      a belief    as   to   the


                                                               "111"
         allegations       contained       in   Paragraph              of Plaintiffs          Verified       Complaint.


                          112.             Denies       knowledge       or      information          sufficient       to   form      a belief    as   to   the


                                                               "112"
         allegations      contained        in Paragraph                of Plaintiffs          Verified       Complaint.


                          113.             Denies       knowledge       or      information          sufficient       to   form      a belief    as   to   the


                                                               "113"
         allegations      contained        in Paragraph                of Plaintiffs          Verified       Complaint.


                          114.             Denies      knowledge        or      information          sufficient      to    form      a belief    as   to   the


                                                               "114"
         allegations      contained        in Paragraph                of Plaintiffs          Verified       Complaint.


                          115.             Denies      knowledge        or    information            sufficient      to    form      a belief    as   to   the


                                                               "115"
         allegations      contained       in    Paragraph              of Plaintiffs          Verified       Complaint.


                          116.             Denies      knowledge        or    information            sufficient      to    form      a belief   as    to   the


                                                               "116"
         allegations      contained       in    Paragraph              of Plaintiffs          Verified      Complaint.


                          117.             Denies      knowledge        or    information            sufficient      to    form      a belief   as    to   the


                                                               "117"
         allegations      contained       in    Paragraph              of Plaintiffs          Verified      Complaint.


                          118.             Denies      knowledge        or    information            sufficient      to    form      a belief   as    to   the


                                                               "118"
        allegations       contained       in Paragraph                 of Plaintiffs          Verified      Complaint.


                          119.             Denies      knowledge        or    information            sufficient      to    form      a belief   as    to   the


                                                               "119"
        allegations       contained       in Paragraph                 of Plaintiffs          Verified      Complaint.


                         120.              Denies      knowledge        or    information            sufficient      to    form      a belief   as    to   the


                                                               "120"
        allegations       contained       in Paragraph                 of Plaintiffs          Verified      Complaint.




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                       121.          Denies      knowledge        or   information              sufficient      to   form   a belief   as   to   the


                                                        "121"
         allegations    contained   in   Paragraph              of Plaintiffs        Verified          Complaint.


                       122.          Denies      knowledge       or    information              sufficient      to   form   a belief   as   to   the


                                                        "122"
         allegations    contained   in   Paragraph              of Plaintiffs        Verified          Complaint.


                       123.          Denies      knowledge       or    information          sufficient          to   form   a belief   as   to   the


                                                        "123"
         allegations    contained   in   Paragraph              of Plaintiffs        Verified          Complaint.


                       124.          Denies      knowledge       or    information          sufficient          to   form   a belief   as   to   the


                                                        "124"
         allegations   contained    in   Paragraph              of Plaintiffs        Verified          Complaint.


                       125.          Denies      knowledge       or    information          sufficient          to   form   a belief   as   to   the


                                                        "125"
         allegations   contained    in   Paragraph              of Plaintiffs        Verified          Complaint.


                       126.          Denies      knowledge       or    information          sufficient          to   form   a belief   as   to   the


                                                        "126"
         allegations   contained    in Paragraph                of Plaintiffs        Verified          Complaint.


                       127.          Denies      knowledge       or    information          sufficient          to   form   a belief   as   to   the


                                                       "127"
         allegations   contained    in Paragraph                of Plaintiffs        Verified          Complaint.


                       128.         Denies      knowledge        or    information          sufficient          to   form   a belief   as   to   the


                                                       "128"
         allegations   contained    in Paragraph                of Plaintiffs        Verified          Complaint.


                       129.         Denies      knowledge        or    information          sufficient         to    form   a belief   as   to   the


                                                       "129"
         allegations   contained    in   Paragraph              of Plaintiffs        Verified          Complaint.


                       130.         Denies      knowledge        or    information          sufficient         to    form   a belief   as   to   the


                                                       "130"
        allegations    contained    in   Paragraph              of Plaintiffs        Verified          Complaint.


                       131.         Denies      knowledge        or    information          sufficient         to    form   a belief   as   to   the


                                                       "131"
        allegations    contained    in   Paragraph              of Plaintiffs        Verified          Complaint.


                       132.         Denies      knowledge        or    information          sufficient         to    form   a belief   as   to   the


                                                       "132"
        allegations    contained    in Paragraph                of Plaintiffs        Verified         Complaint.




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                        133.              Denies      knowledge        or     information          sufficient       to   form       a belief   as   to   the


                                                             "133"
         allegations     contained       in   Paragraph              of Plaintiff's         Verified       Complaint.


                        134.              Denies      knowledge        or     information          sufficient      to    form      a belief    as   to   the


                                                             "134"
         allegations     contained       in Paragraph                of Plaintiffs          Verified       Complaint.


                                                                                                                                               "135"
                        135.             Denies       each     and    every        allegation          contained         in     Paragraph                 of


         Plaintiff's   Verified      Complaint.


                        136.             Denies       knowledge       or      information          sufficient      to    form      a belief    as   to   the


                                                             "136"
         allegations    contained        in Paragraph                of Plaintiff's         Verified       Complaint.


                        137.             Denies       knowledge       or      information          sufficient      to    form      a belief    as   to   the


                                                             "137"
         allegations    contained        in   Paragraph              of Plaintiff's         Verified       Complaint.


                        138.             Denies       knowledge       or      information          sufficient      to    form      a belief    as   to   the


                                                             "138"
         allegations    contained        in   Paragraph              of Plaintiff's         Verified       Complaint.


                        139.             Denies       knowledge       or      information          sufficient      to    form      a belief    as   to   the


                                                             "139"
         allegations    contained       in    Paragraph              of Plaintiff's         Verified      Complaint.


                        140.             Denies       knowledge       or    information            sufficient      to    form      a belief    as   to   the


                                                             "140"
         allegations    contained       in    Paragraph              of Plaintiff's         Verified      Complaint.


                        141.             Denies      knowledge        or    information            sufficient      to    form      a belief    as   to   the


                                                             "141"
        allegations     contained       in    Paragraph              of Plaintiff's         Verified      Complaint.


                        142.             Denies      knowledge        or    information            sufficient      to    form      a belief    as   to   the


                                                             "142"
        allegations     contained       in    Paragraph              of Plaintiff's         Verified      Complaint.


                       143.              Denies      knowledge        or    information            sufficient      to    form      a belief    as   to   the


                                                             "143"
        allegations     contained       in    Paragraph              of Plaintiff's         Verified      Complaint.


                       144.              Denies      knowledge        or    information            sufficient      to    form      a belief    as   to   the


                                                             "144"
        allegations     contained       in    Paragraph              of Plaintiff's         Verified      Complaint.




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                        145.             Denies    knowledge        or   information              sufficient      to   form   a belief   as   to   the


                                                          "145"
         allegations    contained    in Paragraph                  of Plaintiffs       Verified          Complaint.


                       146.          Denies        knowledge        or   information              sufficient      to   form   a belief   as   to   the


                                                          "146"
         allegations    contained    in    Paragraph              of Plaintiffs        Verified          Complaint.


                       147.          Denies        knowledge        or   information          sufficient          to   form   a belief   as   to   the


                                                          "147"
         allegations    contained    in Paragraph                 of Plaintiffs        Verified          Complaint.


                       148.          Denies        knowledge        or   information          sufficient          to   form   a belief   as   to   the


                                                          "148"
         allegations    contained   in Paragraph                  of Plaintiffs        Verified          Complaint.


                       149.          Denies        knowledge       or    information          sufficient          to   form   a belief   as   to   the


                                                         "149"
         allegations    contained   in Paragraph                  of Plaintiffs        Verified          Complaint.


                       150.          Denies        knowledge       or    information          sufficient          to   form   a belief   as   to   the


                                                         "150"
         allegations   contained    in     Paragraph              of Plaintiffs        Verified          Complaint.


                       151.          Denies       knowledge        or    information          sufficient          to   form   a belief   as   to   the


                                                         "151"
         allegations   contained    in     Paragraph              of Plaintiffs        Verified          Complaint.


                       152.          Denies       knowledge        or    information          sufficient         to    form   a belief   as   to   the


                                                         "152"
         allegations   contained    in Paragraph                  of Plaintiffs        Verified          Complaint.


                       153.          Denies       knowledge        or    information          sufficient         to    form   a belief   as   to   the


                                                         "153"
        allegations    contained    in Paragraph                  of Plaintiffs        Verified          Complaint.


                       154.          Denies       knowledge        or    information          sufficient         to    form   a belief   as   to   the


                                                         "154"
        allegations    contained    in     Paragraph              of Plaintiffs        Verified         Complaint.


                       155.         Denies        knowledge        or    information          sufficient         to    form   a belief   as   to   the


                                                         "155"
        allegations    contained    in Paragraph                  of Plaintiffs        Verified         Complaint.


                       156.         Denies        knowledge        or    information          sufficient         to    form   a belief   as   to   the


                                                         "156"
        allegations    contained    in    Paragraph               of Plaintiffs        Verified         Complaint.




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                        157.              Denies     knowledge        or     information          sufficient       to   form       a belief   as   to   the


                                                            "157"
         allegations     contained       in Paragraph               of Plaintiff's         Verified       Complaint.


                        158.             Denies      knowledge        or     information          sufficient       to   form      a belief    as   to   the


                                                            "158"
         allegations     contained       in Paragraph               of Plaintiff's         Verified       Complaint.


                        159.             Denies      knowledge       or      information          sufficient       to   form      a belief    as   to   the


                                                            "159"
         allegations     contained       in Paragraph               of Plaintiffs          Verified       Complaint.


                                                                                                                                              "160"
                        160.             Denies      each     and    every        allegation          contained         in     Paragraph                  of


         Plaintiff's   Verified      Complaint.


                        161.             Denies      knowledge       or      information          sufficient      to    form      a belief    as   to   the


                                                            "161"
         allegations    contained        in Paragraph               of Plaintiff's         Verified       Complaint.


                        162.             Denies      knowledge       or      information          sufficient      to    form      a belief    as   to   the


                                                            "162"
         allegations    contained        in Paragraph               of Plaintiff's         Verified       Complaint.


                        163.             Denies      knowledge       or      information          sufficient      to    form      a belief    as   to   the


                                                            "163"
         allegations    contained       in   Paragraph              of Plaintiff's         Verified       Complaint.


                        164.             Denies      knowledge       or      information          sufficient      to    form      a belief    as   to   the


                                                            "164"
         allegations    contained       in   Paragraph              of Plaintiff's         Verified      Complaint.


                        165.             Denies     knowledge        or      information          sufficient.to         form      a belief    as   to   the


                                                            "165"
        allegations     contained       in   Paragraph              of Plaintiff's         Verified      Complaint.


                        166.             Denies     knowledge        or    information            sufficient      to    form      a belief    as   to   the


                                                            "166"
        allegations     contained       in Paragraph                of Plaintiff's         Verified      Complaint.


                       167.              Denies     knowledge        or    information            sufficient      to    form      a belief    as   to   the


                                                            "167"
        allegations     contained       in Paragraph                of Plaintiff's         Verified      Complaint.


                       168.              Denies     knowledge        or    information            sufficient      to    form      a belief    as   to   the


                                                            "168"
        allegations     contained       in   Paragraph              of Plaintiff's         Verified      Complaint.




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                        169.             Denies    knowledge        or    information              sufficient      to   form   a belief   as   to   the


                                                          "169"
         allegations    contained    in    Paragraph              of Plaintiff's        Verified          Complaint.


                       170.          Denies        knowledge        or    information              sufficient      to   form   a belief   as   to   the


                                                          "170"
         allegations    contained    in    Paragraph              of Plaintiff's        Verified          Complaint.


                       171.          Denies        knowledge        or    information              sufficient      to   form   a belief   as   to   the


                                                          "171"
         allegations    contained   in     Paragraph              of Plaintiff's        Verified          Complaint.


                       172.          Denies        knowledge        or    information          sufficient          to   form   a belief   as   to   the


                                                          "172"
         allegations    contained   in     Paragraph              of Plaintiff's        Verified          Complaint.


                       173.          Denies        knowledge       or     information          sufficient          to   form   a belief   as   to   the


                                                          "173"
         allegations    contained   in     Paragraph              of Plaintiff's        Verified          Complaint.


                       174.          Denies        knowledge       or     information          sufficient          to   form   a belief   as   to   the


                                                          "174"
         allegations   contained    in     Paragraph              of Plaintiff's        Verified          Complaint.


                       175.          Denies        knowledge       or     information          sufficient          to   form   a belief   as   to   the


                                                          "175"
        allegations    contained    in Paragraph                  of Plaintiff's        Verified          Complaint.


                       176.          Denies        knowledge       or     information          sufficient         to    form   a belief   as   to   the


                                                         "176"
        allegations    contained    in     Paragraph              of Plaintiff's        Verified          Complaint.


                       177.          Denies       knowledge        or     information          sufficient         to    form   a belief   as   to   the


                                                         "177"
        allegations    contained    in     Paragraph              of Plaintiff's        Verified          Complaint.


                       178.          Denies       knowledge        or     information          sufficient         to    form   a belief   as   to   the


                                                         "178"
        allegations    contained    in     Paragraph              of Plaintiff's        Verified          Complaint.


                       179.         Denies        knowledge        or     information          sufficient         to    form   a belief   as   to   the


                                                         "179"
        allegations    contained    in    Paragraph               of Plaintiff's        Verified         Complaint.


                       180.         Denies        knowledge        or     information          sufficient         to    form   a belief   as   to   the


                                                         "180"
        allegations    contained    in    Paragraph               of Plaintiff's        Verified         Complaint.




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                         181.              Denies       knowledge        or    information              sufficient      to    form       a belief   as   to   the


                                                               "181"
         allegations      contained        in   Paragraph              of Plaintiff's        Verified          Complaint.


                         182.              Denies       knowledge        or    information          sufficient          to    form       a belief   as   to   the


                                                               "182"
         allegations     contained         in Paragraph                of Plaintiff's        Verified          Complaint.


                         183.              Denies       knowledge       or     information          sufficient          to    form       a belief   as   to   the


                                                               "183"
         allegations     contained        in    Paragraph              of Plaintiff's        Verified          Complaint.


                         184.              Denies       knowledge       or     information          sufficient          to    form       a belief   as   to   the


                                                               "184"
         allegations     contained        in Paragraph                 of Plaintiff's        Verified          Complaint.


                                                                                                                                                    "185"
                         185.              Denies       each     and   every        allegation            contained          in      Paragraph                  of


         Plaintiffs    Verified       Complaint.


                         186.              Denies       knowledge       or     information          sufficient         to     form       a belief   as   to   the


                                                               "186"
         allegations     contained        in    Paragraph              of Plaintiffs         Verified          Complaint.


                         187.              Denies       knowledge       or     information          sufficient         to     form       a belief   as   to   the


                                                               "187"
         allegations     contained        in Paragraph                 of Plaintiffs         Verified          Complaint.


                         188.              Denies       knowledge       or     information          sufficient         to     form       a belief   as   to   the


                                                               "188"
         allegations     contained        in    Paragraph              of Plaintiffs         Verified          Complaint.


                        189.               Denies       knowledge       or     information          sufficient         to     form       a belief   as   to   the


                                                               "189"
         allegations     contained        in    Paragraph              of Plaintiffs         Verified         Complaint.


                        190.               Denies      knowledge        or     information          sufficient         to    form        a belief   as   to   the


                                                               "190"
        allegations      contained        in    Paragraph              of Plaintiffs         Verified         Complaint.


                        191.              Denies       knowledge        or     information          sufficient         to    form        a belief   as   to   the


                                                               "191"
        allegations      contained        in    Paragraph              of Plaintiffs         Verified         Complaint.


                                                                                                                                                    "192"
                        192.              Denies        each    and    every        allegation           contained           in      Paragraph                 of


        Plaintiffs     Verified       Complaint.




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                                                                                                                    "193"
                           193.          Denies   each   and   every   allegation   contained   in   Paragraph              of


         Plaintiff'sVerifiedComplaint.


                                                                                                                    "194"
                           194.          Denies   each   and   every   allegation   contained   in   Paragraph              of


         Plaintiff'sVerifiedComplaint.


                                                                                                                    "195"
                           195.          Denies   each   and   every   allegation   contained   in   Paragraph              of


         Plaintiff'sVerifiedComplaint.


                                                                                                                    "196"
                           196.          Denies   each   and   every   allegation   contained   in   Paragraph              of


         Plaintiff'sVerifiedComplaint.


                                                                                                                    "197"
                           197.          Denies   each   and   every   allegation   contained   in   Paragraph              of


         Plaintiff'sVerifiedComplaint.


                                                                                                                    "198"
                           198.          Denies   each   and   every   allegation   contained   in   Paragraph              of


         Plaintiff'sVerifiedComplaint.


                                                                                                                    "199"
                           199.          Denies   each   and   every   allegation   contained   in   Paragraph              of


         Plaintiff'sVerifiedComplaint.


                                                                                                                   "200"
                           200.          Denies   each   and   every   allegation   contained   in   Paragraph              of


        Plaintiff'sVerifiedComplaint.


                                                                                                                   "201"
                           201.          Denies   each   and   every   allegation   contained   in   Paragraph              of


        Plaintiff'sVerifiedComplaint.


                                                                                                                   "202"
                           202.          Denies   each   and   every   allegation   contained   in   Paragraph              of


        Plaintiff'sVerifiedComplaint.


                                                                                                                   "203"
                           203.          Denies   each   and   every   allegation   contained   in   Paragraph              of


        Plaintiff'sVerifiedComplaint.


                                                                                                                   "204"
                           204.          Denies   each   and   every   allegation   contained   in   Paragraph              of


        Plaintiff'sVerifiedComplaint.




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                                                                                                                    "205"
                            205.         Denies   each   and   every   allegation   contained   in   Paragraph              of


         Plaintiff'sVerifiedComplaint.


                                                                                                                    "206"
                           206.          Denies   each   and   every   allegation   contained   in   Paragraph              of


         Plaintiff'sVerifiedComplaint.


                                                                                                                    "207"
                           207.          Denies   each   and   every   allegation   contained   in   Paragraph              of


         Plaintiff'sVerifiedComplaint.


                                                                                                                    "208"
                           208.          Denies   each   and   every   allegation   contained   in   Paragraph              of


         Plaintiff'sVerifiedComplaint.


                                                                                                                    "209"
                           209.          Denies   each   and   every   allegation   contained   in   Paragraph              of


         Plaintiff'sVerifiedComplaint.


                                                                                                                    "210"
                           210.          Denies   each   and   every   allegation   contained   in   Paragraph              of


         Plaintiff'sVerifiedComplaint.


                                                                                                                    "211"
                           211.          Denies   each   and   every   allegation   contained   in   Paragraph              of


         Plaintiff'sVerifiedComplaint.


                                                                                                                    "212"
                           212.          Denies   each   and   every   allegation   contained   in   Paragraph              of


        Plaintiff'sVerifiedComplaint.


                                                                                                                    "213"
                           213.          Denies   each   and   every   allegation   contained   in   Paragraph              of


        Plaintiff'sVerifiedComplaint.


                                                                                                                    "214"
                           214.          Denies   each   and   every   allegation   contained   in   Paragraph              of


        Plaintiff'sVerifiedComplaint.


                                                                                                                   "215"
                           215.          Denies   each   and   every   allegation   contained   in   Paragraph              of


        Plaintiff'sVerifiedComplaint.


                                                                                                                   "216"
                           216.          Denies   each   and   every   allegation   contained   in   Paragraph              of


        Plaintiff'sVerifiedComplaint.




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                       217.          Denies      knowledge        or   information              sufficient      to   form   a belief   as   to   the


                                                        "217"
         allegations    contained   in   Paragraph              of Plaintiffs        Verified          Complaint.


                       218.          Denies      knowledge        or   information          sufficient          to   form   a belief   as   to   the


                                                        "218"
         allegations    contained   in   Paragraph              of Plaintiffs        Verified          Complaint.


                       219.          Denies      knowledge       or    information          sufficient          to   form   a belief   as   to   the


                                                        "219"
         allegations    contained   in   Paragraph              of Plaintiffs        Verified          Complaint.


                       220.          Denies      knowledge       or    information          sufficient          to   form   a belief   as   to   the


                                                       "220"
         allegations    contained   in   Paragraph              of Plaintiffs        Verified          Complaint.


                       221.          Denies      knowledge       or    information          sufficient          to   form   a belief   as   to   the


                                                       "221"
         allegations   contained    in   Paragraph              of Plaintiffs        Verified          Complaint.


                       222.         Denies      knowledge        or    information          sufficient          to   form   a belief   as   to   the


                                                       "222"
         allegations   contained    in   Paragraph              of Plaintiffs        Verified          Complaint.


                       223.         Denies      knowledge        or    information          sufficient         to    form   a belief   as   to   the


                                                       "223"
         allegations   contained    in   Paragraph              of Plaintiffs        Verified          Complaint.


                       224.         Denies      knowledge        or    information          sufficient         to    form   a belief   as   to   the


                                                       "224"
         allegations   contained    in   Paragraph              of Plaintiffs        Verified          Complaint.


                       225.         Denies      knowledge        or    information          sufficient         to    form   a belief   as   to   the


                                                       "225"
        allegations    contained    in Paragi·aph               of Plaintiffs        Verified          Complaint.


                       226.         Denies      knowledge        or    information          sufficient         to    form   a belief   as   to   the


                                                       "226"
        allegations    contained    in Paragraph                of Plaintiffs        Verified         Complaint.


                       227.         Denies      knowledge        or    information          sufficient         to    form   a belief   as   to   the


                                                       "227"
        allegations    contained    in Paragraph                of Plaintiffs        Verified         Complaint.


                       228.         Denies      knowledge        or    information          sufficient         to    form   a belief   as   to   the


                                                       "228"
        allegations    contained    in Paragraph                of Plaintiffs        Verified         Complaint.




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                           229.         Denies      knowledge             or    information          sufficient         to   form   a belief        as   to     the


                                                           "229"
         allegations       contained   in Paragraph                   of Plaintiff's          Verified       Complaint.


                          230.          Denies      knowledge             or    information          sufficient         to   form   a belief        as   to     the


                                                           "230"
         allegations       contained   in Paragraph                   of Plaintiff's          Verified       Complaint.


                          231.          Denies      knowledge             or    information          sufficient         to   form   a belief       as    to     the


                                                           "231"
         allegations       contained   in   Paragraph                 of Plaintiff's          Verified       Complaint.


                          232.          Denies      knowledge             or    information          sufficient         to   form   a belief       as    to     the


                                                           "232"
         allegations       contained   in Paragraph                   of Plaintiff's          Verified       Complaint.


                          233.          Denies      knowledge             or    information          sufficient         to   form   a belief       as    to     the


                                                           "233"
         allegations       contained   in   Paragraph                of Plaintiff's           Verified       Complaint.


                          234.          Denies      knowledge             or    information          sufficient         to   form   a belief       as    to     the


                                                           "234"
         allegations       contained   in   Paragraph                of Plaintiff's           Verified      Complaint.


                          235.          Denies      knowledge             or    information          sufficient         to   form   a belief       as    to     the


                                                           "235"
         allegations      contained    in   Paragraph                of Plaintiff's           Verified      Complaint.


                                                                                                                                     "36"
                          236.          Denies     each   and     every        allegation      contained          in   Paragraph               of Plaintiff's


         Verified      Complaint.


                          237.          Denies      knowledge          or       information          sufficient         to   form   a belief       as    to     the


                                                          "237"
         allegations      contained    in   Paragraph                of Plaintiff's           Verified      Complaint.


                          238.         Denies      knowledge          or        information          sufficient         to   form   a belief       as    to     the


                                                          "238"
        allegations       contained    in   Paragraph                of Plaintiff's           Verified      Complaint.


                          239.         Denies      knowledge          or        information          sufficient         to   form   a belief       as    to     the


                                                          "239"
        allegations       contained    in   Paragraph                of Plaintiff's           Verified      Complaint.


                          240.         Denies      knowledge          or        information          sufficient        to    form   a belief       as    to     the


                                                          "240"
        allegations       contained    in   Paragraph                of Plaintiff's           Verified      Complaint.




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                       241.          Denies    knowledge        or   information          sufficient       to   form   a belief   as   to   the


                                                      "241"
         allegations    contained   in Paragraph              of Plaintiffs        Verified       Complaint.


                       242.          Denies    knowledge        or   information          sufficient       to   form   a belief   as   to   the


                                                      "242"
         allegations    contained   in Paragraph              of Plaintiffs        Verified       Complaint.


                       243.          Denies    knowledge       or    information          sufficient       to   form   a belief   as   to   the


                                                      "243"
         allegations    contained   in Paragraph              of Plaintiff's       Verified       Complaint.


                       244.          Denies    knowledge       or    information          sufficient       to   form   a belief   as   to   the


                                                      "244"
         allegations    contained   in Paragraph              of Plaintiff's       Verified       Complaint.


                       245.          Denies    knowledge       or    information          sufficient      to    form   a belief   as   to   the


                                                      "245"
         allegations   contained    in Paragraph              of Plaintiffs        Verified       Complaint.


                       246.         Denies     knowledge       or    information          sufficient      to    form   a belief   as   to   the


                                                      "246"
         allegations   contained    in Paragraph              of Plaintiff's       Verified       Complaint.


                       247.         Denies     knowledge       or    information          sufficient      to    form   a belief   as   to   the


                                                      "247"
         allegations   contained    in Paragraph              of Plaintiff's       Verified       Complaint.


                       248.         Denies     knowledge       or    information          sufficient      to    form   a belief   as   to   the


                                                     "248"
         allegations   contained    in Paragraph              of Plaintiff's       Verified       Complaint.


                       249.         Denies    knowledge        or    information          sufficient      to    form   a belief   as   to   the


                                                     "249"
         allegations   contained    in Paragraph              of Plaintiff's       Verified      Complaint.


                       250.         Denies    knowledge        or    information          sufficient      to    form   a belief   as   to   the


                                                     "250"
        allegations    contained    in Paragraph              of Plaintiff's       Verified      Complaint.


                       251.         Denies    knowledge        or    information          sufficient      to    form   a belief   as   to   the


                                                     "251"
        allegations    contained    in Paragraph              of Plaintiff's       Verified      Complaint.


                       252.         Denies    knowledge        or    information          sufficient      to    form   a belief   as   to   the


                                                     "252"
        allegations    contained    in Paragraph              of Plaintiffs        Verified      Complaint.




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                           253.             Denies      knowledge        or     information            sufficient       to    form      a belief   as   to   the


                                                               "253"
         allegations       contained       in   Paragraph               of Plaintiffs         Verified         Complaint.


                           254.             Denies      knowledge        or     information            sufficient       to    form      a belief   as   to   the


                                                               "254"
         allegations       contained       in   Paragraph               of Plaintiffs         Verified         Complaint.


                           255.             Denies      knowledge        or     information            sufficient      to     form      a belief   as   to   the


                                                               "255"
         allegations       contained       in   Paragraph               of Plaintiffs         Verified         Complaint.


                           256.             Denies      knowledge        or     information            sufficient      to     form      a belief   as   to   the


                                                               "256"
         allegations       contained       in   Paragraph               of Plaintiffs         Verified         Complaint.


                           257.             Denies      knowledge        or     information            sufficient      to     form      a belief   as   to   the


                                                               "257"
         allegations       contained       in   Paragraph               of Plaintiffs         Verified         Complaint.


                           258.             Denies      knowledge        or     information            sufficient      to    form       a belief   as   to   the


                                                               "258"
         allegations       contained       in   Paragraph               of Plaintiffs         Verified         Complaint.


                          259.              Denies      knowledge        or     information            sufficient      to    form       a belief   as   to   the


                                                               "2259"
         allegations       contained       in   Paragraph                 of Plaintiffs           Verified      Complaint.


                          260.              Denies     knowledge         or     information            sufficient      to    form       a belief   as   to   the


                                                               "260"
         allegations       contained       in   Paragraph               of Plaintiffs         Verified        Complaint.


                                                                                                                                                   "261"
                          261.             Denies       each    and     every        allegation           contained          in     Paragraph                 of


         Plaintiff     s Verified      Complaint.


                          262.             Denies      knowledge         or     information            sufficient      to    form      a belief    as   to   the


                                                               "262"
        allegations        contained       in   Paragraph               of Plaintiffs         Verified        Complaint.


                          263.             Denies      knowledge         or     information            sufficient      to    form      a belief    as   to   the


                                                               "263"
        allegations        contained       in   Paragraph               of Plaintiffs         Verified        Complaint.


                          264.             Denies      knowledge         or     information            sufficient      to    form      a belief    as   to   the


                                                               "264"
        allegations       contained        in   Paragraph               of Plaintiffs         Verified        Complaint.




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                       265.          Denies      knowledge        or   information          sufficient       to   form   a belief   as   to   the


                                                        "265"
         allegations    contained   in Paragraph                of Plaintiff's       Verified       Complaint.


                       266.          Denies      knowledge        or   information          sufficient       to   form   a belief   as   to   the


                                                        "266"
         allegations    contained   in Paragraph                of Plaintiff's       Verified       Complaint.


                       267.          Denies      knowledge        or   information          sufficient      to    form   a belief   as   to   the


                                                        "267"
         allegations    contained   in Paragraph                of Plaintiff's       Verified       Complaint.


                       268.          Denies      knowledge       or    information          sufficient      to    form   a belief   as   to   the


                                                        "268"
         allegations   contained    in Paragraph                of Plaintiff's       Verified       Complaint.


                       269.          Denies      knowledge       or    information          sufficient      to    form   a belief   as   to   the


                                                        "269"
         allegations   contained    in   Paragraph              of Plaintiff's       Verified       Complaint.


                       270.          Denies      knowledge       or    information          sufficient      to    form   a belief   as   to   the


                                                        "270"
         allegations   contained    in   Paragraph              of Plaintiff's       Verified       Complaint.


                       271.          Denies      knowledge       or    information          sufficient      to    form   a belief   as   to   the


                                                        "271"
         allegations   contained    in Paragraph                of Plaintiff's       Verified       Complaint.


                       272.          Denies      knowledge       or    information          sufficient      to    form   a belief   as   to   the


                                                        "272"
         allegations   contained    in   Paragraph              of Plaintiff's       Verified      Complaint.


                       273.          Denies      knowledge       or    information          sufficient      to    form   a belief   as   to   the


                                                       "273"
        allegations    contained    in   Paragraph              of Plaintiff's       Verified      Complaint.


                       274.         Denies      knowledge        or    information          sufficient      to    form   a belief   as   to   the


                                                       "274"
        allegations    contained    in   Paragraph              of Plaintiff's       Verified      Complaint.


                       275.         Denies      knowledge        or    information          sufficient      to    form   a belief   as   to   the


                                                       "275"
        allegations    contained    in   Paragraph              of Plaintiff's       Verified      Complaint.


                       276.         Denies      knowledge        or    information          sufficient      to    form   a belief   as   to   the


                                                       "276"
        allegations    contained    in   Paragraph              of Plaintiff's       Verified      Complaint.




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                         277.             Denies      knowledge        or    information              sufficient      to    form       a belief   as   to   the


                                                             "277"
         allegations     contained       in Paragraph                of Plaintiff's        Verified          Complaint.


                         278.             Denies      knowledge        or    information          sufficient          to    form       a belief   as   to   the


                                                             "278"
         allegations     contained       in   Paragraph              of Plaintiff's        Verified          Complaint.


                         279.             Denies      knowledge        or    information          sufficient          to    form       a belief   as   to   the


                                                             "279"
         allegations     contained       in   Paragraph              of Plaintiffs         Verified          Complaint.


                         280.             Denies      knowledge        or    information          sufficient          to    form       a belief   as   to   the


                                                             "280"
         allegations     contained       in Paragraph                of Plaintiffs         Verified          Complaint.


                         281.             Denies     knowledge        or     information          sufficient          to    form       a belief   as   to   the


                                                             "281"
         allegations     contained       in   Paragraph              of Plaintiff's        Verified          Complaint.


                         282.             Denies     knowledge        or     information          sufficient          to    form       a belief   as   to   the


                                                             "282"
         allegations     contained       in Paragraph                of Plaintiff's        Verified          Complaint.


                        283.              Denies     knowledge        or     information          sufficient          to   form        a belief   as   to   the


                                                             "283"
         allegations     contained       in   Paragraph              of Plaintiff's        Verified          Complaint.


                        284.              Denies     knowledge        or     information          sufficient         to    form        a belief   as   to   the


                                                             "284"
         allegations     contained       in Paragraph                of Plaintiff's        Verified          Complaint.


                        285.             Denies      knowledge        or     information          sufficient         to    form        a belief   as   to   the


                                                             "285"
         allegations     contained       in Paragraph                of Plaintiff's        Verified          Complaint.


                                                                                                                                                  "286"
                        286.             Denies       each    and    every        allegation            contained          in      Paragraph                 of


        Plaintiffs     Verified      Complaint.


                        287.             Denies      knowledge        or     information          sufficient         to    form       a belief    as   to   the


                                                             "287"
        allegations     contained        in Paragraph                of Plaintiffs         Verified         Complaint.


                        288.             Denies      knowledge        or     information          sufficient         to    form       a belief    as   to   the


                                                             "288"
        allegations     contained        in Paragraph                of Plaintiff's        Verified         Complaint.




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                       289.          Denies    knowledge        or   information              sufficient      to   form   a belief   as   to   the


                                                      "289"
         allegations    contained   in Paragraph              of Plaintiffs        Verified          Complaint.


                       290.          Denies    knowledge        or   information          sufficient          to   form   a belief   as   to   the


                                                      "290"
         allegations    contained   in Paragraph              of Plaintiffs        Verified          Complaint.


                       291.          Denies    knowledge        or   information          sufficient          to   form   a belief   as   to   the


                                                      "291"
         allegations    contained   in Paragraph              of Plaintiff's       Verified          Complaint.


                       292.          Denies    knowledge       or    information          sufficient          to   form   a belief   as   to   the


                                                      "292"
         allegations    contained   in Paragraph              of Plaintiff's       Verified          Complaint.


                       293.          Denies    knowledge       or    information          sufficient          to   form   a belief   as   to   the


                                                      "293"
         allegations   contained    in Paragraph              of Plaintiff's       Verified          Complaint.


                       294.         Denies     knowledge       or    information          sufficient          to   form   a belief   as   to   the


                                                      "294"
         allegations   contained    in Paragraph              of Plaintiffs        Verified          Complaint.


                       295.         Denies     knowledge       or    information          sufficient          to   form   a belief   as   to   the


                                                      "295"
         allegations   contained    in Paragraph              of Plaintiffs        Verified          Complaint.


                       296.         Denies     knowledge       or    information          sufficient         to    form   a belief   as   to   the


                                                     "296"
         allegations   contained    in Paragraph              of Plaintiffs        Verified          Complaint.


                       297.         Denies     knowledge       or    information          sufficient         to    form   a belief   as   to   the


                                                     "297"
        allegations    contained    in Paragraph              of Plaintiff's       Verified          Complaint.


                       298.         Denies    knowledge        or    information          sufficient         to    form   a belief   as   to   the


                                                     "298"
        allegations    contained    in Paragraph              of Plaintiff's       Verified          Complaint.


                       299.         Denies    knowledge        or    information          sufficient         to    form   a belief   as   to   the


                                                     "299"
        allegations    contained    in Paragraph              of Plaintiffs        Verified          Complaint.


                       300.         Denies    knowledge        or    information          sufficient         to    form   a belief   as   to   the


                                                     "300"
        allegations    contained    in Paragraph              of Plaintiff's       Verified         Complaint.




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                         301.              Denies       knowledge        or    information              sufficient      to    form       a belief   as   to   the


                                                               "301"
         allegations      contained        in   Paragraph              of Plaintiff's        Verified          Complaint.


                         302.              Denies       knowledge        or    information          sufficient          to    form       a belief   as   to   the


                                                               "302"
         allegations     contained         in   Paragraph              of Plaintiff's        Verified          Complaint.


                         303.              Denies       knowledge        or    information          sufficient          to    form       a belief   as   to   the


                                                               "303"
         allegations     contained         in Paragraph                of Plaintiff's        Verified          Complaint.


                         304.              Denies       knowledge        or    information          sufficient          to    form       a belief   as   to   the


                                                               "304"
         allegations     contained        in Paragraph                 of Plaintiff's        Verified          Complaint.


                         305.              Denies       knowledge       or     information          sufficient          to    form       a belief   as   to   the


                                                               "305"
         allegations     contained        in    Paragraph              of Plaintiff's        Verified          Complaint.


                         306.              Denies       knowledge       or     information          sufficient          to    form       a belief   as   to   the


                                                               "306"
         allegations     contained        in    Paragraph              of Plaintiff's        Verified          Complaint.


                         307.              Denies      knowledge        or     information          sufficient          to    form       a belief   as   to   the


                                                               "307"
         allegations     contained        in    Paragraph              of Plaintiff's        Verified          Complaint.


                        308.               Denies      knowledge        or     information          sufficient         to     form       a belief   as   to   the


                                                               "308"
         allegations     contained        in Paragraph                 of Plaintiff's        Verified          Complaint.


                        309.               Denies      knowledge        or     information          sufficient         to    form        a belief   as   to   the


                                                               "309"
        allegations      contained        in    Paragraph              of Plaintiff's        Verified          Complaint.


                        310.               Denies      knowledge        or     information          sufficient         to    form        a belief   as   to   the


                                                               "310"
        allegations      contained        in    Paragraph              of Plaintiff's        Verified         Complaint.


                                                                                                                                                    "311"
                        311.              Denies        each    and    every        allegation            contained          in      Paragraph                 of


        Plaintiff's    Verified       Complaint.


                        312.              Denies       knowledge        or     information          sufficient         to    form       a belief    as   to   the


                                                               "312"
        allegations     contained         in Paragraph                 of Plaintiff's        Verified         Complaint.




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                           313.             Denies      knowledge             or   information   sufficient   to   form   a belief   as   to   the


         allegationscontainedinParagraph"313"ofPlaintiffsVerifiedComplaint.


                          314.              Denies      knowledge            or    information   sufficient   to   form   a belief   as   to   the


         allegationscontainedinParagraph"314"ofPlaintiffsVerifiedComplaint.


                          315.              Denies      knowledge            or    information   sufficient   to   form   a belief   as   to   the


         allegationscontainedinParagraph"315"ofPlaintiffsVerifiedComplaint.


                          316.              Denies      knowledge            or    information   sufficient   to   form   a belief   as   to   the


         allegationscontainedinParagraph"316"ofPlaintiff'sVerifiedComplaint.


                          317.              Denies      knowledge            or    information   sufficient   to   form   a belief   as   to   the


         allegationscontainedinParagraph"317"ofPlaintiffsVerifiedComplaint.


                          318.             Denies       knowledge            or    information   sufficient   to   form   a belief   as   to   the


         allegationscontainedinParagraph"318"ofPlaintiffsVerifiedComplaint.


                          319.             Denies       knowledge            or    information   sufficient   to   form   a belief   as   to   the


         allegationscontainedinParagraph"319"ofPlaintiff'sVerifiedComplaint.


                          320.             Denies       knowledge            or    information   sufficient   to   form   a belief   as   to   the


         allegationscontainedinParagraph"320"ofPlaintiff'sVerifiedComplaint.


                          321.             Denies       knowledge            or    information   sufficient   to   form   a belief   as   to   the


        allegationscontainedinParagraph"321"ofPlaintiff'sVerifiedComplaint.


                          322.             Denies       knowledge          or      information   sufficient   to   form   a belief   as   to   the


        allegationscontainedinParagraph"322"ofPlaintiffsVerifiedComplaint.


                          323.             Denies       knowledge          or      information   sufficient   to   form   a belief   as   to   the


        allegationscontainedinParagraph"323"ofPlaintiffsVerifiedComplaint.


                          324.             Denies      knowledge           or      information   sufficient   to   form   a belief   as   to   the


        allegationscontainedinParagraph"324"ofPlaintiffsVerifiedComplaint.




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                         325.              Denies       knowledge        or    information          sufficient       to    form       a belief   as   to   the


                                                               "325"
         allegations      contained        in   Paragraph              of Plaintiff's        Verified       Complaint.


                         326.              Denies       knowledge        or    information          sufficient       to    form       a belief   as   to   the


                                                               "326"
         allegations     contained         in   Paragraph              of Plaintiff's        Verified       Complaint.


                         327.              Denies       knowledge       or     information          sufficient       to    form       a belief   as   to   the


                                                               "327"
         allegations     contained        in    Paragraph              of Plaintiff's        Verified       Complaint.


                         328.              Denies       knowledge       or     information          sufficient       to    form       a belief   as   to   the


                                                               "328"
         allegations     contained        in    Paragraph              of Plaintiff's        Verified       Complaint.


                         329.              Denies       knowledge       or     information          sufficient       to    form       a belief   as   to   the


                                                               "329"
         allegations     contained        in    Paragraph              of Plaintiff's        Verified       Complaint.


                         330.              Denies       knowledge       or     information          sufficient       to    form       a belief   as   to   the


                                                               "330"
         allegations     contained        in    Paragraph              of Plaintiff's        Verified       Complaint.


                         331.              Denies       knowledge       or     information          sufficient       to    form       a belief   as   to   the


                                                               "331"
         allegations     contained        in    Paragraph              of Plaintiff's        Verified       Complaint.


                        332.               Denies      knowledge        or     information          sufficient       to    form       a belief   as   to   the


                                                               "332"
         allegations     contained        in    Paragraph              of Plaintiff's        Verified       Complaint.


                        333.               Denies      knowledge        or     information          sufficient      to     form       a belief   as   to   the


                                                               "333"
        allegations      contained        in    Paragraph              of Plaintiff's        Verified       Complaint.


                        334.               Denies      knowledge        or     information          sufficient      to    form        a belief   as   to   the


                                                               "334"
        allegations      contained        in    Paragraph              of Plaintiff's        Verified       Complaint.


                        335.              Denies       knowledge        or     information          sufficient      to    form       a belief    as   to   the


                                                               "335"
        allegations      contained        in    Paragraph              of Plaintiff's        Verified       Complaint.


                                                                                                                                                 "336"
                        336.              Denies        each    and    every        allegation          contained         in      Paragraph                 of


        Plaintiff's    Verified       Complaint.




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                       337.          Denies      knowledge        or   information          sufficient       to   form   a belief   as   to   the


                                                        "337"
         allegations    contained   in Paragraph                of Plaintiff's       Verified       Complaint.


                       338.          Denies      knowledge        or   information          sufficient       to   form   a belief   as   to   the


                                                        "338"
         allegations    contained   in Paragraph                of Plaintiff's       Verified       Complaint.


                       339.          Denies      knowledge       or    information          sufficient       to   form   a belief   as   to   the


                                                        "339"
         allegations    contained   in Paragraph                of Plaintiff's       Verified       Complaint.


                       340.          Denies      knowledge       or    information          sufficient      to    form   a belief   as   to   the


                                                        "340"
         allegations    contained   in Paragraph                of Plaintiffs        Verified       Complaint.


                       341.          Denies      knowledge       or    information          sufficient      to    form   a belief   as   to   the


                                                        "341"
         allegations   contained    in Paragraph                of Plaintiffs        Verified       Complaint.


                       342.          Denies      knowledge       or    information          sufficient      to    form   a belief   as   to   the


                                                        "342"
         allegations   contained    in   Paragraph              of Plaintiff's       Verified       Complaint.


                       343.          Denies      knowledge       or    information          sufficient      to    form   a belief   as   to   the


                                                       "343"
         allegations   contained    in   Paragraph              of Plaintiff's       Verified       Complaint.


                       344.          Denies      knowledge       or    information          sufficient      to    form   a belief   as   to   the


                                                       "344"
        allegations    contained    in   Paragraph              of Plaintiff's       Verified       Complaint.


                       345.          Denies     knowledge        or    information          sufficient      to    form   a belief   as   to   the


                                                       "345"
        allegations    contained    in   Paragraph              of Plaintiff's       Verified      Complaint.


                       346.         Denies      knowledge        or    information          sufficient      to    form   a belief   as   to   the


                                                       "346"
        allegations    contained    in   Paragraph              of Plaintiff's       Verified      Complaint.


                       347.         Denies      knowledge        or    information          sufficient      to    form   a belief   as   to   the


                                                       "347"
        allegations    contained    in   Paragraph              of Plaintiff's       Verified      Complaint.


                       348.         Denies      knowledge        or    information          sufficient      to    form   a belief   as   to   the


                                                       "348"
        allegations    contained    in   Paragraph              of Plaintiff's       Verified      Complaint.




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                          349.              Denies      knowledge             or   information   sufficient   to   form   a belief   as   to   the


         allegationscontainedinParagraph"349"ofPlaintiff'sVerifiedComplaint.


                          350.              Denies      knowledge             or   information   sufficient   to   form   a belief   as   to   the


         allegationscontainedinParagraph"350"ofPlaintiff'sVerifiedComplaint.


                          351.              Denies      knowledge             or   information   sufficient   to   form   a belief   as   to   the


         allegationscontainedinParagraph"351"ofPlaintiffsVerifiedComplaint.


                          352.              Denies      knowledge             or   information   sufficient   to   form   a belief   as   to   the


         allegationscontainedinParagraph"352"ofPlaintiff'sVerifiedComplaint.


                          353.              Denies      knowledge             or   information   sufficient   to   form   a belief   as   to   the


         allegationscontainedinParagraph"353"ofPlaintiff'sVerifiedComplaint.


                          354.              Denies      knowledge             or   information   sufficient   to   form   a belief   as   to   the


         allegationscontainedinParagraph"354"ofPlaintiff'sVerifiedComplaint.


                          355.             Denies       knowledge             or   information   sufficient   to   form   a belief   as   to   the


         allegationscontainedinParagraph"355"ofPlaintiffsVerifiedComplaint.


                          356.             Denies       knowledge            or    information   sufficient   to   form   a belief   as   to   the


         allegationscontainedinParagraph"356"ofPlaintiff'sVerifiedComplaint.


                          357.             Denies       knowledge            or    information   sufficient   to   form   a belief   as   to   the


         allegationscontainedinParagraph"357"ofPlaintiff'sVerifiedComplaint.


                          358.             Denies       knowledge          or      information   sufficient   to   form   a belief   as   to   the


         allegationscontainedinParagraph"358"ofPlaintiffsVerifiedComplaint.


                          359.             Denies      knowledge           or      information   sufficient   to   form   a belief   as   to   the


         allegationscontainedinParagraph"359"ofPlaintiffsVerifiedComplaint.


                         360.              Denies      knowledge           or      information   sufficient   to   form   a belief   as   to   the


        allegationscontainedinParagraph"360"ofPlaintiffsVerifiedComplaint.




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                                                                                                                                                        "361"
                           361.              Denies           each     and    every        allegation          contained         in      Paragraph                  of


         Plaintiffs       Verified      Complaint.


                           362.              Denies       knowledge            or     information          sufficient       to    form       a belief   as   to   the


                                                                     "362"
         allegations        contained        in   Paragraph                  of Plaintiffs          Verified       Complaint.


                           363.              Denies       knowledge           or      information          sufficient       to    form       a belief   as   to   the


                                                                     "363"
         allegations        contained        in   Paragraph                  of Plaintiffs          Verified       Complaint.


                           364.              Denies       knowledge           or      information          sufficient       to    form       a belief   as   to   the


                                                                     "364"
         allegations        contained       in Paragraph                     of Plaintiffs          Verified       Complaint.


                           365.              Denies       knowledge           or      information          sufficient       to    form       a belief   as   to   the


                                                                     "365"
         allegations       contained        in    Paragraph                  of Plaintiffs          Verified       Complaint.


                           366.              Denies       knowledge           or     information           sufficient       to    form       a belief   as   to   the


                                                                     "366"
         allegations       contained        in Paragraph                     of Plaintiff's         Verified       Complaint.


                           367.              Denies       knowledge           or     information           sufficient       to    form       a belief   as   to   the


                                                                     "367"
         allegations       contained        in    Paragraph                  of Plaintiffs          Verified       Complaint.


                           368.              Denies       knowledge           or     information           sufficient      to     form       a belief   as   to   the


                                                                     "368"
         allegations       contained        in    Paragraph                  of Plaintiffs          Verified       Complaint.


                           369.              Denies      knowledge            or     information           sufficient      to    form        a belief   as   to   the


                                                                     "369"
        allegations        contained        in    Paragraph                  of Plaintiffs          Verified       Complaint.


                          370.               Denies      knowledge            or     information           sufficient      to    form        a belief   as   to   the


                                                                     "370"
        allegations        contained        in    Paragraph                  of Plaintiffs          Verified       Complaint.


                          371.               Denies      knowledge            or     information           sufficient      to    form       a belief    as   to   the


                                                                     "371"
        allegations        contained        in Paragraph                     of Plaintiffs          Verified      Complaint.


                                                                                                                                                        "372"
                          372.              Denies        each        and    every        allegation           contained         in      Paragraph                 of


        Plaintiff      s Verified       Complaint.




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                                                                                                                                                                                "373"
                                373.                 Denies        each         and       every        allegation          contained               in    Paragraph                          of


         Plaintiff's        Verified           Complaint.


                                                                                                                                                                                "374"
                                374.                 Denies        each        and        every        allegation          contained               in    Paragraph                          of


         Plaintiff's        Verified           Complaint.


                                                                                                                                                                                "375"
                                375.                 Denies       each         and        every        allegation          contained               in    Paragraph                          of


         Plaintiff's        Verified           Complaint.


                                376.                 Denies,      as to the           answering         defendant,         each        and     every      allegation           contained


                                       "376"
         in   Paragraph                         of Plaintiff's         Verified          Complaint.


                                                                                                                                                                                "377"
                                377.                 Denies       each         and        every        allegation          contained               in    Paragraph                          of


         Plaintiff's        Verified           Complaint.


                                378.                 Denies,      as to the           answering         defendant,         each        and     every      allegation           contained


                                    "378"
         in   Paragraph                         of Plaintiff's         Verified          Complaint.


                                                                                                                                                                                "379"
                                379.                 Denies       each         and        every        allegation          contained               in    Paragraph                          of


         Plaintiff's        Verified           Complaint,         and        refers      all    questions       of law      to the        Court.


                                                                                                                                                                               "380"
                                380.                 Denies       each         and        every        allegation          contained               in    Paragraph                          of


         Plaintiff's        Verified           Complaint,         and        refers      all    questions       of law      to the        Court.


                                                                                                                                                                               "381"
                                381.                 Denies       each         and        every        allegation          contained               in    Paragraph                          of


        Plaintiff's         Verified           Complaint,         and        refers      all    questions       of law      to the        Court.


                                                          AS TO THE                SECOND              CAUSE         OF ACTION


                                382.                 In   response        to      the    allegations           contained          in     the     paragraph             designated           as


        "382"
                       of the    Verified         Complaint,           the     answering            Defendant         repeats           and      reiterates      all     responses          to


                                                                                                                           "1"                          "381"
        the     allegations              contained          in   the    paragraphs                designated         as                through                   of      the     Verified


        Complaint               as if fully       set forth      at length            herein.




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                             383.                  Denies,         as to the          answering         defendant,              each      and   every       allegation       contained


                                    "383"
         in Paragraph                          of Plaintiff's         Verified            Complaint.


                             384.                 Denies,          as to the          answering         defendant,              each      and   every       allegation      contained


                                    "384"
         in   Paragraph                       of Plaintiff's          Verified           Complaint,             and     refers      all    questions         of law      to the     Court.


                             385.                 Denies,          as to the          answering         defendant,            each        and   every       allegation      contained


                                    "385"
         in Paragraph                         of Plaintiff's          Verified           Complaint,             and     refers      all    questions         of law      to the     Court.


                                                                                                                                                                              "386"
                             386.                 Denies           each        and        every        allegation            contained              in     Paragraph                         of


         Plaintiff's      Verified           Complaint.


                                                                                                                                                                             "387"
                             387.                 Denies           each        and        every        allegation            contained              in     Paragraph                         of


         Plaintiff's      Verified           Complaint.


                             388.                 Denies,          as to the          answering         defendant,           each         and   every       allegation      contained


                                  "388"
         in Paragraph                         of Plaintiff's          Verified           Complaint,            and      refers     all     questions         of law      to the     Court.


                             389.                 Denies,          as to the          answering         defendant,           each         and   every       allegation      contained


                                  "389"
        in Paragraph                          of Plaintiff's          Verified           Complaint,            and     refers      all     questions         of law      to the     Court.


                             390.                 Denies,          as to the          answering         defendant,           each         and   every       allegation      contained


                                "390"
        in Paragraph                          of Plaintiff's          Verified           Complaint,            and     refers      all     questions         of law      to the     Court.


                             391.                 Denies,          as to the          answering         defendant,           each         and   every       allegation      contained


                                "391"
        in    Paragraph                       of Plaintiff's          Verified           Complaint,            and     refers      all     questions         of law      to the     Court.


                                                                                                                                                                             "392"
                           392.                   Denies           each        and        every        allegation           contained               in    Paragraph                          of


        Plaintiff's       Verified           Complaint.


                                                 AS AND              FOR        A      FIRST         AFFIRMATIVE                   DEFENSE


                           393.                   In     the    event          that      plaintiff       recovers           a verdict            or      judgment         against          the



        answering          defendant,             then      said     verdict           or judgment             must     be reduced              pursuant         to CPLR          4545     by


        those      amounts           which       have      been,      or will,         with       reasonable          certainty,          replace        or indemnify         plaintiff,




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         in whole            or in part,             for        any     past        or future               claimed            medical              expenses              or other           such         economic            loss,

                                                                                                                                                                           Workers'
         paid        from         any         collateral           source            such            as insurance,                   Social         Security,                                   Compensation                      or



         employee                benefit         program.


                                                      AS AND                   FOR          A SECOND                         AFFIRMATIVE                           DEFENSE


                                  394.                     If plaintiff              suffered               the     injuries          complained                   of, all      of which              are      denied,        said



         injuries          were         caused         in whole                or in        part       by     the       conduct             of one      or more              parties           for    whose          conduct



         the     answering                 defendant                  is not         responsible,                   has       no      control         over,          or     with      whom                it has     no     legal



         relation.


                                                           AS AND                  FOR           A THIRD                  AFFIRMATIVE                         DEFENSE


                                  395.                     The         liability            of       the     answering                 defendant                is    limited           to      the       percentage              of



         culpability              found            against             it     and      it    shall          not         be     responsible              for          any      percentage                  of    culpability


         attributed              to other          individuals                 and/or                entities           whether             named         or unnamed,                       over      whom           plaintiff


         could        have         obtained            personal                jurisdiction                  by     use        of     due     diligence               pursuant               to the         provisions            of


         Articles          14 and          16 of the             CPLR.


                                                      AS AND                   FOR          A FOURTH                         AFFIRMATIVE                           DEFENSE


                                 396.                      That         all    the     alleged               dangers            and         risks     incident              to the          situation           mentioned


        in     the    Verified             Complaint                  were          open,         obvious               and     apparent,              and         were       assumed                by     plaintiff.


                                                           AS AND                   FOR          A    FIFTH             AFFIRMATIVE                          DEFENSE


                                 397.                      The        liability             of       the     answering                 defendant               is     limited           by      the        provisions             of


        CPLR           Article          16.


                                                           AS AND                  FOR           A    SIXTH             AFFIRMATIVE                           DEFENSE


                                 398.                      If    plaintiff            sustained                   the     injuries           alleged          in      the     Verified               Complaint,               said



        injuries           were          proximately                   caused           by           independent,                    intervening                and         superseding                   causes          which


        could        not     have          reasonably                 been          foreseen               and      for       which         defendant                is not        liable       or responsible.




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                                                   AS AND                    FOR         AN SEVENTH                              AFFIRMATIVE                          DEFENSE


                                  399.                        That         whatever              injuries            and/or             damages               were       sustained                 by   plaintiff              at the


         time       and      place         alleged             were          the     result          of plaintiff's                assumption                 of risk,         in    realizing               and        knowing


         the     hazards            and      dangers                 thereof,            and         that     plaintiff            assumed              all    the     risk     necessarily                  incidental             to


         such       an undertaking.


                                                        AS AND                  FOR           A EIGHTH                      AFFIRMATIVE                         DEFENSE


                                  400.                     That            answering                 defendant                   lacked        actual         or constructive                       notice         of    the     acts


         or occurrences                    alleged            in     the      Verified            Complaint.


                                                         AS AND                    FOR          A NINTH                    AFFIRMATIVE                         DEFENSE


                                  401.                     Plaintiff               was        a recalcitrant                 worker.


                                                         AS AND                    FOR          A TENTH                    AFFIRMATIVE                         DEFENSE


                                  402.                     That         any         injuries            and/or             damages             sustained               by     plaintiff,             as alleged             in     the


         Verified           Complaint                  herein,         were          caused             in whole            or in part           by     the     comparative                   negligence                  and/or


         culpable            conduct              of     plaintiff             and        not        as result             of     the     comparative                   negligence                  and/or              culpable


         conduct            on     the     part        of the         answering                  defendant.


                                                   AS AND                    FOR          A ELEVENTH                             AFFIRMATIVE                         DEFENSE


                                  403.                     The         plaintiff              failed         to   properly                mitigate            his     damages                so     as to       prevent             or


         reduce        the        extent      of the            injuries            sustained.


                                                       AS AND                 FOR          A TWELFTH                         AFFIRMATIVE                            DEFENSE


                                  404.                     That         if    the        plaintiff           shall         have         a judgment                   and/or              verdict        entered             in     his


         favor       over        and      against             the     answering                 defendant,                  the     judgment              and/or             verdict          shall      be precluded,



         modified,               offset      and/or                 reduced              by     any         and      all    sums          or    consideration                   paid          or     promised               to    the


        plaintiff           by      any       person,                corporation,                      or    parties             claimed          to      be        liable      for         the      injuries            and/       or


         damages             alleged          in        the        Verified           Complaint                   to       the     extent        of     the     greater             of     either       of      the      sum        or




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         consideration                  paid            or      promised                  to     the       plaintiff,                or     the        amount           of     the        released           tortfeasor's


         equitable            share          of    the         liability            and        the      damages                 in        accordance             with         Article         15     of     the      General


         Obligations              Law         §§ 15-105                  and     15-108.


                                                  AS AND                  FOR        A THIRTEENTH                                AFFIRMATIVE                            DEFENSE


                               405.                          The      answering                  defendant                did         not         breach        any       duties          owed       to the          plaintiff


         or    other        parties,          neither               contractually                    nor     by     common                       law    duty         and/or          any       alleged             breach           of


                                                                                                                                                 parties'
         duties        were       not    the        proximate                   cause           of plaintiff            or other                                alleged         damages.


                                              AS AND                     FOR        A FOURTEENTH                                     AFFIRMATIVE                        DEFENSE


                               406.                          Plaintiff's            injuries,           if any,         were              increased            or caused             by    plaintiff's             failure       or


         neglect          to properly              utilize           safety         equipment                  at the         time          of the          occurrence,             and,     therefore,              plaintiff



         may       not     recover           for     those           injuries          which            would           not          otherwise               have      been        sustained.


                                                   AS AND                   FOR       A FIFTEENTH                           AFFIRMATIVE                               DEFENSE


                               407.                          The         Verified              Complaint                fails         to     state          a claim          upon          which          relief       can       be


        granted            as against              the       answering               defendant.


                                                   AS AND                  FOR        A SIXTEENTH                             AFFIRMATIVE                             DEFENSE


                               408.                          Plaintiff          is not           entitled          to    protection                    under         any      section          of    the      New            York


        Labor          Law     for      he        was         not     engaged              in     the       type        of work              covered            by    the     applicable              statutes             at the


        time       that     the      alleged             incident              occurred.


                                             AS AND                   FOR           A SEVENTEENTH                                    AFFIRMATIVE                          DEFENSE


                               409.                          Liability           cannot           be imposed                    on         the     answering               defendant             because             the      sole


        proximate             cause          of     plaintiff's                injuries           as alleged              in         the     Verified           Complaint,                 was       plaintiff's             own


        acts      and/or          omissions.




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                                         AS AND               FOR       A EIGHTEENTH                             AFFIRMATIVE                          DEFENSE


                          410.                    Plaintiff           cannot            maintain             a    Labor         Law           §§     240       and        241     action        against



         defendant,        as      defendant             is   not      an      owner,          general            contractor             or        agent       of    an    owner           or   general


         contractor       to which          sections           240     and        241     apply.


                                        AS AND                FOR       A NINETEENTH                             AFFIRMATIVE                         DEFENSE


                          411.                    Plaintiff          cannot        maintain             a Labor            Law        §§ 200,            240    and        241     action       against



         answering        defendant,              as the       plaintiff          was       not      a worker             as defined                under           New     York       State      Labor


         Law    §§ 200,      240      and      241.


                                        AS AND                FOR       A NINETEENTH                             AFFIRMATIVE                         DEFENSE


                          412.                    Plaintiff          cannot         maintain                 a    Labor         Law           §§     240       and        241     action        against



         answering        defendant,              as the       alleged         work         is not       protected              under         these         provisions.


              AS AND         FOR     A FIRST CROSS-CLAIM      AGAINST      MOXEY RIGBY   LLC, G&G MOXEY
          RIGBY       LLC,        MOXEY RIGBY    DEVELOPER      LLC,   G&G MOXEY RIGBY     DEVELOPER       LLC,
                MOXEY            RIGBY   MANAGERS     LLC, JOBCO     INC., K-SQUARE  DEVELOPERS,     INC.,
         COMMERCIAL                     CONTRACTING                            SERVICES                  INC.,            FREEPORT                   AFFORDABLE                        HOUSING
                 DEVELOPMENT                          FUND            CORP.,            THE        FREEPORT                     HOUSING                    AUTHORITY,                   THE
                                                  INCORPORATED                             VILLAGE      OF FREEPORT,    and
                      THE          COUNTY                OF NASSAU                      FOR        COMMON   LAW   INDEMNIFICATION



                          413.                    Upon        information                and       belief,       that     if and        in the        event         the   Plaintiff         sustained



        any     damages          as     alleged        in     the     Verified            Complaint,                all    of    which             are     denied          by    the    answering


        Defendant,         TOP          CITY          CONTRACTING                          CORPORATION,                            said        damages               were        caused         by      the



        negligence,        culpable            conduct,             intentional            and/or            wrongful             acts        of    Defendants,                 MOXEY           RIGBY



        LLC;     G&G       MOXEY                RIGBY          LLC,           MOXEY               RIGBY             DEVELOPER                       LLC,        G&G             MOXEY           RIGBY


        DEVELOPER                LLC,       MOXEY             RIGBY           MANAGERS                       LLC,        JOBCO          INC.,         K-SQUARE                   DEVELOPERS,


        INC.,    COMMERCIAL                       CONTRACTING                           SERVICES                 INC.,      FREEPORT                     AFFORDABLE                    HOUSING


        DEVELOPMENT                         FUND               CORP.,               THE              FREEPORT                      HOUSING                          AUTHORITY,                       THE




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         INCORPORATED                         VILLAGE                 OF FREEPORT,                       and       THE        COUNTY                   OF NASSAU,                 and       not     through



         any    acts   of negligence,                  culpable             or wrongful              conduct             on      the      part    of the        answering             Defendant.


                              414.                    109.            By    reason         of     the      foregoing,              the     answering              Defendant                is entitled             to


         common-law                  indemnity               from,         and      to     have         judgment                 over      and         against,         Defendants,                 MOXEY


         RIGBY         LLC;          G&G          MOXEY               RIGBY            LLC,          MOXEY               RIGBY             DEVELOPER                     LLC,        G&G            MOXEY


         RIGBY         DEVELOPER                       LLC,           MOXEY                RIGBY             MANAGERS                         LLC,            JOBCO          INC.,          K-SQUARE


         DEVELOPERS,                        INC.,          COMMERCIAL                             CONTRACTING                                SERVICES                   INC.,               FREEPORT


         AFFORDABLE                         HOUSING                  DEVELOPMENT                               FUND               CORP.,               THE        FREEPORT                   HOUSING


         AUTHORITY,                    THE           INCORPORATED                             VILLAGE                    OF       FREEPORT,                     and      THE         COUNTY                       OF


         NASSAU,           for        all    or     part       of     any        verdict        of      judgment                 that      Plaintiff           may      recover            against            said



         answering         Defendant.


                                                  AS ANDFOR A SECOND    CROSS-CLAIM     AGAINST
          MOXEY RIGBY                       LLC,       G&G
                                                        MOXEY   RIGBY LLC, MOXEY    RIGBY   DEVELOPER                                                                                      LLC,         G&G
           MOXEY RIGBY                        DEVELOPER          MOXEY RIGBY    MANAGERS      LLC, JOBCO                                                                                                     K-
                                                           LLC,                                                                                                                              INC.,
                 SQUARE               DEVELOPERS,                          INC.,       COMMERCIAL                             CONTRACTING                              SERVICES               INC.,
           FREEPORT                  AFFORDABLE                        HOUSING                    DEVELOPMENT                              FUND               CORP.,         THE      FREEPORT
                  HOUSING                   AUTHORITY,     THE INCORPORATED    VILLAGE    OF FREEPORT,                                                                                            and
                              THE           COUNTY    OF NASSAU   FOR COMMON-LAW       CONTRIBUTION




                           415.                      Upon           information             and         belief,     that         if and      in the       event        the   Plaintiff            sustained



        any      damages             as     alleged          in     the     Verified            Complaint,                 all     of     which          is    denied        by      the      answering


        Defendant,            TOP           CITY       CONTRACTING                              CORPORATION,                              said         damages          were         caused             by        the



        negligence,           culpable              conduct,           intentional              and/or            wrongful               acts     of    Defendants,                MOXEY                RIGBY



        LLC;      G&G          MOXEY                RIGBY            LLC,          MOXEY              RIGBY              DEVELOPER                       LLC,         G&G         MOXEY                 RIGBY


        DEVELOPER                 LLC,        MOXEY                 RIGBY          MANAGERS                       LLC,      JOBCO             INC.,       K-SQUARE                 DEVELOPERS,


        INC.,     COMMERCIAL                         CONTRACTING                           SERVICES                 INC.,          FREEPORT                   AFFORDABLE                     HOUSING


        DEVELOPMENT                               FUND               CORP.,                THE            FREEPORT                        HOUSING                      AUTHORITY,                            THE




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                                                                             NYSCEF:  #:
                                           1439


         INCORPORATED                             VILLAGE            OF FREEPORT,                 and     THE          COUNTY                   OF NASSAU,              and      not    through



         any     acts     of negligence,                culpable           or wrongful          conduct          on         the    part      of the      answering          Defendant.


                                416.                   By     reason         of    the     foregoing,                the      answering                Defendant            is     entitled       to


         common-law                    contribution             from,       and    to    have        judgment               over      and         against,     Defendants,             MOXEY


         RIGBY           LLC;          G&G          MOXEY            RIGBY         LLC,         MOXEY           RIGBY               DEVELOPER                   LLC,        G&G        MOXEY


         RIGBY           DEVELOPER                       LLC,        MOXEY              RIGBY           MANAGERS                       LLC,          JOBCO         INC.,         K-SQUARE


         DEVELOPERS,                          INC.,          COMMERCIAL                     CONTRACTING                               SERVICES                 INC.,              FREEPORT


         AFFORDABLE                           HOUSING                DEVELOPMENT                         FUND               CORP.,              THE          FREEPORT              HOUSING


         AUTHORITY,                      THE          INCORPORATED                        VILLAGE               OF          FREEPORT,                   and     THE         COUNTY                OF


         NASSAU,               for      all    or     part      of   any     verdict       of    judgment                  that     Plaintiff          may     recover           against      said



         answering             Defendant.


        Dated:         White         Plains,          New     York

                        January          3, 2020




                                                                                                Yours,        etc.


                                                                                                THE      CHAR                        LL      LAW        OF             ,    LP




                                                                                  By:           Ca      men     Nicolaou,                  Esq.
                                                                                                Attorneys             for     Defendant
                                                                                                MDC         HOME              IMPROVEMENTS,                          INC.
                                                                                                81 Main         Street,            Suite      100
                                                                                                White       Plains,           New          York      10601

                                                                                                (212)     968-2300
        TO:



        MILLER,            LEIBY              &     ASSOCIATES,                P.C.
        Attorneys        for     Plaintiff
        32 Broadway,              13th Floor
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         HAVKINS             ROSENFELD                   RITZERT       &   VARRIALE,          LLP
         Attorneys     for    Defendants
         MOXEY        RIGBY          LLC,    G&G         MOXEY       RIGBY      LLC,
         MOXEY        RIGBY          DEVELOPER               LLC,
         MOXEY        RIGBY      MANAGERS,   JOBCO                     INC.,
         FREEPORT            AFFORDABLE    HOUSING
         DEVELOPMENT                      FUND      CORP.,
         THE    FREEPORT              HOUSING             AUTHORITY,           and
         THE    INCORPORATED                      VILLAGE           OF FREEPORT
         114   Old   County          Road,       Suite    300

         Mineola,     New          York     11501
         P: (516)    620-1700
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         COMMERCIAL                   CONTRACTING                    SERVICES          INC.
         15 Sherman          Ave

         Bethpage,      New         York     11714




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                                                                             ATTORNEY                     VERIFICATION
                                                                        PURSUANT                     TO      CPLR            § 3020(d)(3)


                       CARMEN                 A.      NICOLAOU,                         ESQ.,          an    attorney           at law,           duly        admitted              to   practice        in     the


          Courts      of     the     State    of New            York,         affirms          under        penalties           of perjury           that:


                       I am a Partner               with      The       Chartwell             Law       Offices,         LLP,          the    attorneys              for     the     Defendant,          MDC


         HOME          IMPROVEMENTS,                                  INC.     in the         above-entitled                 action.         I have           read         the     foregoing         Verified


         Answer            and      know      the      contents              thereof,          and     upon        information                 and        belief,           I believe          the     matters


         alleged       therein         to be true.


                      The          reason     this         verification             is    made          by     me        and        not      by     the        Defendant,                MDC           HOME


         IMPROVEMENTS,                             INC.        is     because           the     Defendant               is    not      located           in    the         county        in    which      their


         attorneys          maintain         their         offices.


                      The        source      of my          information             and       the    grounds            of my       beliefs         are privileged                    communications


         and/or       a review          of   the     documents                contained              in the     file.


        Dated:       White         Plains,      New          York

                     January          3, 2020




                                                                                                                                    CARMEN                    A.     NICOLAOU




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